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                                      Exhibit 7

                                ST 308 Bond Form




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                                      Exhibit 8

                            Standby Loan Agreement




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                          STANDBY LOAN AGREEMENT

                                    dated as of

                                 __________, 2021

                                     between

                           FIELDWOOD ENERGY I LLC,
                                     and
                                GOM SHELF LLC

                                   as Borrowers,

                                       and

                            APACHE CORPORATION,

                                    as Lender




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Schedule 3.11 – Insurance
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                               STANDBY LOAN AGREEMENT

      STANDBY LOAN AGREEMENT dated as of __________, 2021 (as it may be amended,
supplemented or otherwise modified from time to time, this “Agreement”), among
FIELDWOOD ENERGY I LLC, a Texas limited liability company (“Fieldwood”), GOM
SHELF LLC, a Delaware limited liability company (“GOM”, together with Fieldwood, the
“Borrowers”) and APACHE CORPORATION, a Delaware corporation, as Lender.

        The parties hereto agree as follows:

                                           ARTICLE I

                                               Definitions

      Section 1.01 Defined Terms. As used in this Agreement, the following terms have the
meanings specified below:

        “Affiliate” means, with respect to a specified Person, another Person that directly, or
indirectly through one or more intermediaries, Controls or is Controlled by or is under common
Control with the specified Person. For the avoidance of doubt, no Co-Borrower shall constitute
an Affiliate of Lender nor shall Lender constitute an Affiliate of any Co-Borrower.

        “Anti-Corruption Laws” means all state or federal laws, rules, and regulations of any
jurisdiction applicable to the Borrowers from time to time concerning or relating to bribery or
corruption.

        “Apache Bond Rate” means the stated per annum rate of interest charged on the debt
securities most recently issued under an indenture of Apache Corporation or successor thereto as
of the date immediately preceding each Borrowing Request, and if two series of such debt
securities are issued on the same day, the stated per annum rate of interest on the series with a
tenor most comparable to the remaining tenor hereof.

       “Availability Period” means the period from and including the Effective Date to but
excluding the earlier of the Maturity Date and the date of termination of the Commitment.

      “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy”, as
now and hereafter in effect, or any successor statute.

        “BOC” means the Texas Business Organizations Code, as amended and in effect at the
time of this Agreement.

      “Borrower Guarantee” means each certain Guarantee, dated as of the date hereof, by each
Co-Borrower of the other Borrower’s Secured Obligations for the benefit of the Lender, as each
such Guarantee may be amended, restated, supplemented, or otherwise modified from time to
time.




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       “Borrowing Request” means a request by any Co-Borrower for a Loan in accordance
with Section 2.03.

     “Business Day” means any day that is not a Saturday, Sunday or other day on which
commercial banks in Houston, Texas are authorized or required by law to remain closed.

        “Change in Control” means __________ 1 shall cease to own, free and clear of all Liens
or other encumbrances, 100% of the outstanding voting Equity Interests of Fieldwood and
indirectly through Fieldwood, 100% of the outstanding voting Equity Interests of GOM Shelf, in
each case, on a fully diluted basis.

        “Change in Law” means the occurrence after the date of this Agreement of any of the
following: (a) the adoption or taking effect of any law, rule, regulation or treaty or (b) any
change in any law, rule, regulation or treaty or in the administration, interpretation or application
thereof by any Governmental Authority.

           “Co-Borrower” means any one of the Borrowers.

           “Code” means the Internal Revenue Code of 1986, as amended from time to time.

        “Collateral” means any and all property owned by any Co-Borrower, whether now
existing or hereafter acquired, that may at any time be, become or intended to be, subject to a
security interest or Lien in favor of the Lender, on behalf of the Secured Parties, to secure the
Secured Obligations.

        “Collateral Documents” means, collectively, the Mortgages, the Security Agreement, the
Deposit Account Control Agreement, and any other agreements, instruments, and documents
executed and delivered by the Borrowers in connection with this Agreement that are intended to
create, perfect or evidence Liens to secure the Secured Obligations, including, without limitation,
all other security agreements, pledge agreements, mortgages, deeds of trust, pledges, collateral
assignments, and financing statements, now or hereafter executed by the Borrowers and
delivered to the Lender.

       “Commitment” means the commitment of the Lender to make Loans hereunder in an
aggregate principal amount at any time outstanding up to $200,000,000, as such amount may be
increased pursuant to Section 2.01(b).

           “Compliance Certificate” has the meaning assigned to such term in Section 5.01(c).

        “Confirmation Order” means the confirmation order entered in Chapter 11 Case 20-
33948, In re: Fieldwood Energy LLC, et al, in the United States Bankruptcy Court for the
Southern District of Texas, Houston Division, which, if and to the extent such confirmation order
directly affects the Lender in its capacity as such or pertains to any of the Loan Documents or
other Apache Definitive Documents (as defined in that certain Apache Term Sheet
Implementation Agreement, dated January 1, 2021, by and among Borrowers, Lender, Apache
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    To be completed in a manner mutually agreeable to all parties as a condition to Apache’s execution.



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Shelf, Inc., and Apache Deep Water LLC), shall be in form and substance reasonably acceptable
to the Lender.

         “Consolidated EBITDA” means for the Borrowers, for any period, the sum of
(a) Consolidated Net Income for such period, plus (b) without duplication and to the extent
deducted in determining such Consolidated Net Income (i) interest expense for such period, plus
(ii) income tax expense for such period, plus (iii) consolidated depreciation and amortization for
such period.

        “Consolidated Net Income” means, for any period, the consolidated net income (or loss)
of Fieldwood and its consolidated subsidiaries for such period, as determined in accordance with
GAAP.

       “Contractor” means a Person which is a party in the capacity as prime contractor under
the Decommissioning Contract with any Co-Borrower.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the
direction of the management or policies of a Person, whether through the ability to exercise
voting power, by contract or otherwise. “Controlling” and “Controlled” have meanings
correlative thereto.

      “Credit Bid Purchaser” means [___________________] 2, a Delaware limited liability
company, and its successors and assigns.

      “Decommissioning” has the meaning given to such term in the Decommissioning
Agreement.

         “Decommissioning Agreement” means that certain Decommissioning Agreement dated
as of September 30, 2013 by and among Apache Corporation, a Delaware corporation, Apache
Shelf, Inc., a Delaware corporation, and Apache Deepwater LLC, a Delaware limited liability
company, Apache Shelf Exploration LLC, a Delaware limited liability company, Fieldwood
Energy LLC, a Delaware limited liability company, and GOM Shelf LLC, a Delaware limited
liability company, as amended by (i) that certain First Amendment to Decommissioning
Agreement dated as of September 30, 2013, (ii) that certain Second Amendment to
Decommissioning Agreement dated as of September 30, 2013, (iii) that certain Third
Amendment to Decommissioning Agreement dated effective as of April 25, 2017, (iv) that
certain Fourth Amendment to Decommissioning Agreement dated effective as of September 1,
2017 (as such Fourth Amendment to Decommissioning Agreement was amended by that certain
Letter Agreement by and among the Parties dated January 3, 2018), and (v) that certain Fifth
Amendment to Decommissioning Agreement dated effective as of April 11, 2018.

       “Decommissioning Contract” means each services contract in effect from time to time by
and between either or both of the Co-Borrower and any Contractor for all or any portion of the
Decommissioning remaining to be conducted on or after the Effective Date.

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    NTD: Name to be confirmed.



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       “Decommissioning Plan” has the meaning assigned to such term in Section 4.02(l).

       “Debtor” means Fieldwood Energy LLC.

      “Default” means any event or condition which constitutes an Event of Default or which
upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

        “Divisive Merger Documents” means the certificate of division, the plan of division, the
certificate of merger and all other documents filed with respect to the Borrowers with the Texas
Secretary of State related to the divisive merger pursuant to the Plan of Merger and the formation
of Fieldwood Energy I LLC.

       “Document” has the meaning assigned to such term in the UCC.

       “dollars” or “$” refers to lawful money of the U.S.

        “Effective Date” means the date on which the conditions specified in Section 4.01 are
satisfied (or waived in accordance with Section 8.02), which shall also be the date on which the
plan of reorganization confirmed by the Confirmation Order becomes effective.

       “Environmental Laws” means all laws, rules, regulations, codes, ordinances, orders,
decrees, judgments, injunctions, notices or binding agreements issued, promulgated or entered
into by any Governmental Authority, relating in any way to the environment, preservation or
reclamation of natural resources, the management, Release or threatened Release of any
Hazardous Material or to health and safety matters.

         “Environmental Liability” means any liability, contingent or otherwise (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of any
Co-Borrower, directly or indirectly, resulting from or based upon (a) any violation of any
Environmental Law, (b) the generation, use, handling, transportation, storage, treatment or
disposal of any Hazardous Materials, (c) any exposure to any Hazardous Materials, (d) the
Release or threatened Release of any Hazardous Materials into the environment or (e) any
contract, agreement or other consensual arrangement pursuant to which liability is assumed or
imposed with respect to any of the foregoing.

       “Equipment” has the meaning assigned to such term in the Security Agreement.

        “Equity Interests” means shares of capital stock, partnership interests, membership
interests in a limited liability company, beneficial interests in a trust or other equity ownership
interests in a Person, and any warrants, options or other rights entitling the holder thereof to
purchase or acquire any of the foregoing.

       “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
from time to time.

       “ERISA Affiliate” means any trade or business (whether or not incorporated) that,
together with any Co-Borrower, is treated as a single employer under Section 414(b) or (c) of the



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Code or, solely for purposes of Section 302 of ERISA and Section 412 of the Code, is treated as
a single employer under Section 414 of the Code.

       “Event of Default” has the meaning assigned to such term in Article VII.

        “Excess Cash Flow” means for any fiscal quarter of the Borrowers, the sum, without
duplication, of (a) Consolidated EBITDA for such period, minus (b) voluntary payments on
Indebtedness made by any Co-Borrower minus (c) interest expense paid in cash by any Co-
Borrower during such period, minus (d) the amount of taxes paid in cash by any Co-Borrower
for such period, minus (e) the aggregate amount of interest payments and operating expenditures
estimated for the following three (3) month period, minus (f) the amount of working capital
needed by the Borrowers for the following three (3) months for performance of Borrowers’
obligations under the Decommissioning Agreement, and (g) minus, during 2021 and 2022 only,
the amount (up to an aggregate amount of $80,000,000 during each such year) actually spent by
Borrowers on Decommissioning of the Applicable Properties (as defined in the
Decommissioning Agreement) during each of calendar year 2021 and calendar year 2022.

       “Farmout Agreement” means that certain Farmout Agreement of even date herewith by
and between Fieldwood Energy I LLC and the Credit Bid Purchaser in the form attached to the
Implementation Agreement.

       “Financial Statements” has the meaning assigned to such term in Section 5.01.

       “Funding Account” has the meaning assigned to such term in Section 4.01(g).

        “GAAP” means generally accepted accounting principles in the U.S in effect from time
to time; provided, that, notwithstanding any term or provision contained in this Agreement or
any other Loan Document, GAAP will be deemed for all purposes hereof to treat leases that
would have not been considered to be Indebtedness in accordance with GAAP as in effect on
December 31, 2017 (whether such leases were in effect on such date or are entered into
thereafter), in a manner consistent with the treatment of such leases under GAAP as in effect on
December 31, 2017, notwithstanding any modification or interpretative changes thereto or
implementations of any such modifications or interpretative changes that may have occurred
thereafter.

     “GOM Shelf Properties” has the meaning given to such term in the Limited Liability
Company Agreement of Fieldwood.

        “Governmental Authority” means the government of the U.S., any other nation or any
political subdivision thereof, whether state or local, and any agency, authority, instrumentality,
regulatory body, court, central bank or other entity exercising executive, legislative, judicial,
taxing, regulatory or administrative powers or functions of or pertaining to government.

       “Guarantee” of or by any Person (the “guarantor”) means any obligation, contingent or
otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any
Indebtedness or other obligation of any other Person (the “primary obligor”) in any manner,
whether directly or indirectly, and including any obligation of the guarantor, direct or indirect,


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(a) to purchase or pay (or advance or supply funds for the purchase or payment of) such
Indebtedness or other obligation or to purchase (or to advance or supply funds for the purchase
of) any security for the payment thereof, (b) to purchase or lease property, securities or services
for the purpose of assuring the owner of such Indebtedness or other obligation of the payment
thereof, (c) to maintain working capital, equity capital or any other financial statement condition
or liquidity of the primary obligor so as to enable the primary obligor to pay such Indebtedness
or other obligation or (d) as an account party in respect of any letter of credit or letter of guaranty
issued to support such Indebtedness or obligation; provided that the term Guarantee shall not
include endorsements for collection or deposit in the ordinary course of business.

        “Hazardous Materials” means: (a) any substance, material, or waste that is included
within the definitions of “hazardous substances,” “hazardous materials,” “hazardous waste,”
“toxic substances,” “toxic materials,” “toxic waste,” or words of similar import in any
Environmental Law; (b) those substances listed as hazardous substances by the United States
Department of Transportation (or any successor agency) (49 C.F.R. 172.101 and amendments
thereto) or by the Environmental Protection Agency (or any successor agency) (40 C.F.R. Part
302 and amendments thereto); and (c) any substance, material, or waste that is petroleum,
petroleum-related, or a petroleum by-product, asbestos or asbestos-containing material,
polychlorinated biphenyls, flammable, explosive, radioactive, freon gas, radon, or a pesticide,
herbicide, or any other agricultural chemical.

      “Implementation Agreement” means the [Second Amended Apache Term Sheet
Implementation Agreement].

        “Indebtedness” of any Person means, without duplication, (a) all obligations of such
Person for borrowed money, (b) all obligations of such Person evidenced by bonds, debentures,
notes or similar instruments, (c) all obligations of such Person upon which interest charges are
customarily paid, (d) all obligations of such Person under conditional sale or other title retention
agreements relating to property acquired by such Person, (e) all obligations of such Person in
respect of the deferred purchase price of property or services (excluding current accounts
payable incurred in the ordinary course of business), (f) all Indebtedness of others secured by (or
for which the holder of such Indebtedness has an existing right, contingent or otherwise, to be
secured by) any Lien on property owned or acquired by such Person, whether or not the
Indebtedness secured thereby has been assumed (to the extent of the value of the property of
such Person securing such Indebtedness), (g) all Guarantees by such Person of Indebtedness of
others, (h) all capital lease obligations of such Person, (i) all obligations, contingent or otherwise,
of such Person as an account party in respect of letters of credit and letters of guaranty, (j) all
obligations, contingent or otherwise, of such Person in respect of bankers’ acceptances and (k)
obligations under any liquidated earn-out.

       “Indemnitee” has the meaning assigned to such term in Section 8.03(b).

       “Inventory” has the meaning assigned to such term in the UCC.

      “JOA” means each and every Joint Operating Agreement in effect from time to time by
and among the Borrowers, Credit Bid Purchaser, and third parties, if any.



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       “Leases” has the meaning given to such term in the Decommissioning Agreement.

      “LC Drawing Amount” has the meaning given to such term in the Decommissioning
Agreement.

     “Legacy Apache Properties” has the meaning given to such term in the Limited Liability
Company Agreement of Fieldwood.

       “Lender” means Apache Corporation, its successors and permitted assigns.

      “Letters of Credit” has the meaning given to such term in the Decommissioning
Agreement and includes all letters of credit outstanding from time to time pursuant to the
Decommissioning Agreement.

        “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge,
hypothecation, encumbrance, charge or security interest in, on or of such asset, (b) the interest of
a vendor or a lessor under any conditional sale agreement, capital lease or title retention
agreement (or any financing lease having substantially the same economic effect as any of the
foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
similar right of a third party with respect to such securities.

        “Limited Liability Company Agreement of Fieldwood” or “Fieldwood’s Limited
Liability Company Agreement” means that certain Limited Liability Company Agreement of
Fieldwood dated as of the date hereof, as may be amended, supplemented, or otherwise modified
from time to time with the prior written approval of Lender.

        “Loan Documents” means, collectively, this Agreement, the promissory note issued
pursuant to this Agreement, each Collateral Document, each Borrower Guarantee, and each other
agreement, instrument, document and certificate identified in Section 4.01 executed and
delivered by the Borrowers to, or in favor of, the Lender and including each other pledge, power
of attorney, consent, assignment, contract, notice, and each other agreement, now or hereafter
executed by or on behalf of the Borrowers and delivered to the Lender in connection with this
Agreement. Any reference in this Agreement or any other Loan Document to a Loan Document
shall include all appendices, exhibits or schedules thereto, and all amendments, restatements,
supplements or other modifications thereto, and shall refer to this Agreement or such Loan
Document as the same may be in effect at any and all times such reference becomes operative.

       “Loans” means any loan made pursuant to Section 2.01.

     “Manager” has the meaning given to such term in Fieldwood’s Limited Liability
Company Agreement.

       “Master Facilities Agreement” means the Master Facilities Use, Access, Production
Handling and Transportation Agreement dated as of September 30, 2013 by and among Lender,
Apache Shelf, Inc., Apache Deepwater LLC, Apache Shelf Exploration LLC, Fieldwood Energy
LLC and GOM.



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       “Material Adverse Effect” means a circumstance or condition that could, individually or
in the aggregate, materially adversely affect the business, assets, operations, properties, or
condition (financial or otherwise) of the Borrowers and their subsidiaries, taken as a whole.

       “Material Contract” means each of (i) the Decommissioning Agreement, (ii) the
Decommissioning Contract, (iii) the JOA, (iv) the Farmout Agreement, (v) the Turnkey Removal
Contract, (vi) the Trust A Trust Agreement, (vii) the Trust A NPI Conveyance, (viii) the Trust A-
1 NPI Conveyance (ix) the Letters of Credit, (x) the Permitted Surety Bonds, (xi) the
Recharacterization Mortgages, (xii) the PSA, (xiii) the Master Facilities Agreement and (xiv)
other Transaction Documents, in each case, as in effect from time to time.

        “Maturity Date” means the earliest to occur of (a) termination of the Decommissioning
Agreement, (b) expiration of the period comprised of the fifth (5th) anniversary of the Effective
Date (the “Initial Period”) and automatic successive 12-month periods thereafter until the tenth
(10th) anniversary of the Effective Date, each expiring on the next anniversary of the Effective
Date (each an “Annual Period”), unless no later than 60 days before expiration of the Initial
Period or the then Annual Period, as applicable, Lender has delivered written notice to
Borrowers that the Maturity Date will occur upon expiration of the Initial Period or the then
Annual Period, respectively (if the same is a Business Day, or if not then the immediately next
succeeding Business Day), and (c) any date on which the Commitment is reduced to zero or
otherwise terminated pursuant to the terms of Article VII.

       “Maximum Rate” means the maximum rate of nonusurious interest permitted from day to
day by applicable law, including Chapter 303 of the Texas Finance Code (the “Finance Code”)
(and as the same may be incorporated by reference in other Texas statutes). To the extent that
Chapter 303 of the Finance Code is relevant to Lender for the purposes of determining the
Maximum Rate, the Lender may elect to determine such applicable legal rate pursuant to the
“weekly ceiling,” from time to time in effect, as referred to and defined in Chapter 303 of the
Code; subject, however, to the limitations on such applicable ceiling referred to and defined in
the Finance Code, and further subject to any right the Lender may have subsequently, under
applicable law, to change the method of determining the Maximum Rate.

      “Mortgages” means, collectively, the mortgages or deed of trust executed by the
Borrowers to the Lender providing a Lien on all Real Property owned or leased by such
Borrowers.

     “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
ERISA.

        “Note” means the promissory note executed by the Borrowers payable to the Lender, in
substantially the form of Exhibit A attached hereto, as same may be amended, extended or
modified and all promissory notes executed in renewal, extension, modification or substitution
thereof.

        “Permitted Liens” means, with respect to any Person, (a) pledges or deposits by such
Person under workmen’s compensation laws, unemployment insurance laws or similar
legislation, or good faith deposits in connection with bids, tenders, contracts (other than for the


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payment of Indebtedness) or leases to which such Person is a party, or deposits to secure
plugging and abandonment obligations or public or statutory obligations of such Person or
deposits of cash or U.S. government bonds to secure surety or appeal bonds to which such
Person is a party, or deposits as security for contested taxes or import duties or for the payment
of rent, in each case incurred in the ordinary course of business; (b) Liens imposed by law, such
as landlords’, carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s, construction
or other like Liens securing obligations that are not overdue by more than 30 days or that are
being contested in good faith by appropriate proceedings or other Liens arising out of judgments
or awards against such Person with respect to which such Person shall then be proceeding with
an appeal or other proceedings for review; (c) Liens for taxes, assessments or other governmental
charges not yet due or payable or that are being contested in good faith by appropriate
proceedings and for which adequate reserves in accordance with GAAP shall have been set aside
on its books; (d) Liens pursuant to partnership agreements, oil, gas and/or mineral leases, farm-
out agreements, division orders, contracts for the sale, delivery, purchase, exchange, or
processing of oil, gas and/or other hydrocarbons, unitization and pooling declarations and
agreements, operating agreements, development agreements, area of mutual interest agreements,
forward sales of oil, natural gas and natural gas liquids, and other agreements which are
customary in the oil, gas and other mineral exploration, development and production business
and in the business of processing of gas and gas condensate production for the extraction of
products therefrom; (e) any easements, rights of way, restrictions, defects or other exceptions to
title and other similar encumbrances incurred in the ordinary course of business which, in the
aggregate, are not substantial in amount, are not incurred to secure Indebtedness, and which do
not in any case materially detract from the value of the property subject thereto or interfere with
the ordinary conduct of the businesses of the Borrowers; (f) Liens existing by operation of law
that cannot be abrogated by contract for rights of setoff in a depository relationship with banks
and non-negotiable contractual rights of setoff in customary documentation establishing a
depository account with a bank, in each case, not granted in connection with the issuance of
Indebtedness, and bankers Liens and rights and remedies as to deposit accounts, (g) Liens
created under the Recharacterization Mortgages, and (h) Liens subordinate in all respects to
Liens under the Loan Documents and the Secured Obligations if and to the extent expressly
permitted by Section 7.06(d) of Fieldwood’s Limited Liability Company Agreement to secure
Indebtedness expressly permitted under Section 7.06(d) thereof and Section 6.01(ii) hereof.

      “Permitted Surety Bonds” has the meaning given to such term in the Decommissioning
Agreement.

       “Person” means any natural person, corporation, limited liability company, trust, joint
venture, association, company, partnership, Governmental Authority or other entity.

       “Plan” means any employee pension benefit plan (other than a Multiemployer Plan)
subject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of
ERISA, and in respect of which any Co-Borrower or any ERISA Affiliate is (or, if such plan
were terminated, would under Section 4069 of ERISA be deemed to be) an “employer” as
defined in Section 3(5) of ERISA.




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        “Plan of Merger” means the Agreement and Plan of Merger of Fieldwood Energy LLC
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by Fieldwood Energy LLC.

       “Projections” has the meaning assigned to such term in Section 3.09.

       “PSA” has the meaning given to such term in the Decommissioning Agreement.

        “Real Property” means all real property that was, is now, or may hereafter be owned,
occupied, or otherwise controlled by any Co-Borrower pursuant to any contract of sale, lease or
other conveyance of any legal interest in any real property to any Co-Borrower.

     “Recharacterization Mortgages” has the meaning given to such term in the
Decommissioning Agreement.

        “Related Parties” means, with respect to any specified Person, such Person’s Affiliates
and the respective directors, officers, partners, members, trustees, employees, agents,
administrators, managers, representatives and advisors of such Person and such Person’s
Affiliates.

        “Related Party Agreement” means any agreement, arrangement, or understanding
between or among any Co-Borrower or any of its Affiliates, on the one hand, and the
independent director of Fieldwood, the sole manager of Fieldwood or any member or officer of
any Co-Borrower or any of its Affiliates, or any Affiliate of the independent director of
Fieldwood, the sole manager of Fieldwood or any member or officer of a Co-Borrower or any of
its Affiliates, on the other.

       “Release” means any releasing, spilling, leaking, pumping, pouring, emitting, emptying,
discharging, injecting, escaping, leaching, migrating, disposing, or dumping of any Hazardous
Materials into the environment.

     “Remaining Decommissioning” has the meaning given to such term in the
Decommissioning Agreement.

       “Requirement of Law” means, with respect to any Person, any statute, law (including
common law), treaty, rule, regulation, code, ordinance, order, decree, writ, judgment, injunction
or determination of any arbitrator or court or other Governmental Authority (including
Environmental Laws), in each case applicable to or binding upon such Person or any of its
property or to which such Person or any of its property is subject.

        “Restricted Payment” means any dividend or other distribution (whether in cash,
securities or other property) with respect to any Equity Interests, or any payment (whether in
cash, securities or other property) including any sinking fund or similar deposit, on account of
the purchase, redemption, retirement, acquisition, cancellation or termination of any such Equity
Interests or any option, warrant or other right to acquire any such Equity Interests.




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       “Restructuring Support Agreement” means the Restructuring Support Agreement, dated
as of August 4, 2020, by and among (a) Fieldwood Energy LLC, a Delaware limited liability
company, and including the Fieldwood PSA Parties (as defined therein); (b) the Consenting
FLTL Lenders (as defined therein); (c) the Consenting SLTL Lenders (as defined therein); and
(d) Lender.

         “Sanctioned Country” means, at any time, a country or territory which is the subject or
target of any Sanctions.

        “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related
list of designated Persons maintained by the Office of Foreign Assets Control of the U.S.
Department of the Treasury or the U.S. Department of State, (b) any Person operating, organized
or resident in a Sanctioned Country or (c) any Person controlled by any such Person.

       “Sanctions” means economic or financial sanctions or trade embargoes imposed,
administered or enforced from time to time by the U.S. government, including those
administered by the Office of Foreign Assets Control of the U.S. Department of the Treasury or
the U.S. Department of State.

        “Secured Obligations” means (a) all unpaid principal of and accrued and unpaid interest
on the Loans, (b) all accrued and unpaid fees and all expenses, reimbursements, indemnities and
other obligations and indebtedness (including interest and fees accruing during the pendency of
any bankruptcy, insolvency, receivership or other similar proceeding, regardless of whether
allowed or allowable in such proceeding), (c) all costs and expenses, including all attorneys’ fees
and legal expenses, incurred by Lender to preserve and maintain the Collateral, collect the
obligations described herein or described in the other Loan Documents, and enforce this
Agreement, the Security Agreement, the Mortgage or any rights under any other Loan
Documents, (d) the obligation to reimburse any amount that Lender (in its sole and absolute
discretion) elects to pay or advance on behalf of any Co-Borrower following the occurrence of
an Event of Default, (e) obligations and liabilities of the Borrowers to the Lender, any Secured
Party or any indemnified party, individually or collectively, existing on the Effective Date or
arising thereafter, direct or indirect, joint or several, absolute or contingent, matured or
unmatured, liquidated or unliquidated, secured or unsecured, arising by contract, operation of
law or otherwise, in all cases arising or incurred under this Agreement, under any of the other
Loan Documents, under the Decommissioning Agreement or in respect of any of the Loans made
or any reimbursement or other obligations incurred under any of the foregoing, (f) all amounts
owed under any extension, renewal, or modification of any of the foregoing and (g) any of the
foregoing that arises after the filing of a petition by or against any Co-Borrower under the
Bankruptcy Code, even if the obligations due do not accrue because of the automatic stay under
Bankruptcy Code § 362 or otherwise; in each case with respect to clauses (a) through (e) above,
whether or not (i) such Secured Obligations arise or accrue before or after the filing by or against
any Co-Borrower of a petition under the Bankruptcy Code, or any similar filing by or against any
Co-Borrower under the laws of any jurisdiction, or any bankruptcy, insolvency, receivership or
other similar proceeding, (ii) such Secured Obligations are allowable under Section 502(b)(2) of
the Bankruptcy Code or under any other insolvency proceedings, (iii) the right of payment in
respect of such Secured Obligations is reduced to judgment, or (iv) such Secured Obligations are
liquidated, unliquidated, similar, dissimilar, related, unrelated, direct, indirect, fixed, contingent,

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primary, secondary, joint, several, or joint and several, matured, disputed, undisputed, legal,
equitable, secured, or unsecured.

      “Secured Parties” means (a) the Lender, (b) Apache Shelf, Inc., Apache Deepwater LLC
and Apache Shelf Exploration LLC, and (c) the successors and assigns of each of the foregoing.

        “Security Agreement” means that certain Security Agreement (including any and all
supplements thereto), dated as of the date hereof, among the Borrowers and the Lender, for the
benefit of the Secured Parties, and any other pledge or security agreement entered into, after the
date of this Agreement by any Co-Borrower (as required by this Agreement or any other Loan
Document) or any other Person for the benefit of the Lender, on behalf of the Secured Parties, as
the same may be amended, restated, supplemented or otherwise modified from time to time.

        “Service Provider” means, collectively, any service provider hired by the sole manager of
Fieldwood pursuant to Section 7.04 of the Limited Liability Company Agreement of Fieldwood
to perform all operations and plugging and abandonment and decommissioning activities with
respect to the Borrowers’ properties or assets.

        “subsidiary” means, with respect to any Person (the “parent”) at any date, any
corporation, limited liability company, partnership, association or other entity of which securities
or other ownership interests representing more than 50% of the equity or more than 50% of the
ordinary voting power or, in the case of a partnership, more than 50% of the general partnership
interests are, as of such date, owned, controlled or held by the parent or one or more subsidiaries
of the parent or by the parent and one or more subsidiaries of the parent.

      “Suspension Period” has the meaning given to such term in the Decommissioning
Agreement.

       “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions,
withholdings (including backup withholding), assessments, or other charges in the nature of a tax
imposed by any Governmental Authority, including any interest, additions to tax or penalties
applicable thereto.

      “Texas Divided LLC” means any Texas LLC which has been formed upon
consummation of a Texas LLC Division.

        “Texas LLC” means any limited liability company organized or formed under the laws of
the State of Texas.

       “Texas LLC Division” means the statutory division of any Texas LLC into two or more
Texas LLC’s pursuant to the BOC.

      “Transaction Documents” has the meaning given to such term in the Decommissioning
Agreement.

        “Transactions” means the execution, delivery and performance by the Borrowers of this
Agreement and the other Loan Documents, the borrowing of Loans and the use of the proceeds
thereof.

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       “Trust A” has the meaning given to such term in the Decommissioning Agreement.

      “Trust A Account” has the meaning given to such term in the Decommissioning
Agreement.

     “Trust A Funding Default” means the Funding Default (as defined in the
Decommissioning Agreement) in respect of January 2021 in the amount of [$50 million].

       “Trust A Funding Default Loan” means a Loan in an amount up to and sufficient to cure
the Trust A Funding Default.

      “Trust A NPI Conveyance” has the meaning given to such term in the Decommissioning
Agreement.

     “Trust A-1 NPI Conveyance” has the meaning given to such term in the
Decommissioning Agreement.

      “Trust A Trust Agreement” has the meaning given to such term in the Decommissioning
Agreement.

     “Turnkey Removal Contract” has the meaning given to such term in the
Decommissioning Agreement.

        “UCC” means the Uniform Commercial Code as in effect from time to time in the State
of Texas or in any other state, the laws of which are required to be applied in connection with the
issue of perfection of security interests.

       “U.S.” means the United States of America.

        Section 1.02 Terms Generally. The definitions of terms herein shall apply equally to
the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words
“include”, “includes” and “including” shall be deemed to be followed by the phrase “without
limitation”. The word “law” shall be construed as referring to all statutes, rules, regulations,
codes and other laws (including official rulings and interpretations thereunder having the force of
law or with which affected Persons customarily comply) and all judgments, orders and decrees
of all Governmental Authorities. The word “will” shall be construed to have the same meaning
and effect as the word “shall”. Unless the context requires otherwise (a) any definition of or
reference to any agreement, instrument or other document herein shall be construed as referring
to such agreement, instrument or other document as from time to time amended, restated,
supplemented or otherwise modified (subject to any restrictions on such amendments,
restatements, supplements or modifications set forth herein), (b) any definition of or reference to
any statute, rule or regulation shall be construed as referring thereto as from time to time
amended, supplemented or otherwise modified (including by succession of comparable successor
laws), (c) any reference herein to any Person shall be construed to include such Person’s
successors and assigns (subject to any restrictions on assignments set forth herein) and, in the
case of any Governmental Authority, any other Governmental Authority that shall have


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succeeded to any or all functions thereof, (d) the words “herein”, “hereof” and “hereunder”, and
words of similar import, shall be construed to refer to this Agreement in its entirety and not to
any particular provision hereof, (e) all references herein to Articles, Sections, Exhibits and
Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
this Agreement, (f) any reference in any definition to the phrase “at any time” or “for any period”
shall refer to the same time or period for all calculations or determinations within such definition,
and (g) the words “asset” and “property” shall be construed to have the same meaning and effect
and to refer to any and all tangible and intangible assets and properties, including cash,
securities, accounts and contract rights.

        Section 1.03 Accounting Terms; GAAP. Except as otherwise expressly provided
herein, all terms of an accounting or financial nature shall be construed in accordance with
GAAP; provided that, if after the date hereof there occurs any change in GAAP or in the
application thereof on the operation of any provision hereof and the Borrowers notify the Lender
that the Borrowers request an amendment to any provision hereof to eliminate the effect of such
change in GAAP or in the application thereof (or if the Lender notifies the Borrowers that the
Lender requests an amendment to any provision hereof for such purpose), regardless of whether
any such notice is given before or after such change in GAAP or in the application thereof, then
such provision shall be interpreted on the basis of GAAP as in effect and applied immediately
before such change shall have become effective until such notice shall have been withdrawn or
such provision amended in accordance herewith. Notwithstanding any other provision contained
herein, all terms of an accounting or financial nature used herein shall be construed, and all
computations of amounts and ratios referred to herein shall be made (a) without giving effect to
any election under Financial Accounting Standards Board Accounting Standards Codification
825-10-25 (or any other Accounting Standards Codification or Financial Accounting Standard
having a similar result or effect) to value any Indebtedness or other liabilities of the Borrowers at
“fair value”, as defined therein and (b) without giving effect to any treatment of Indebtedness in
respect of convertible debt instruments under Financial Accounting Standards Board Accounting
Standards Codification 470-20 (or any other Accounting Standards Codification or Financial
Accounting Standard having a similar result or effect) to value any such Indebtedness in a
reduced or bifurcated manner as described therein, and such Indebtedness shall at all times be
valued at the full stated principal amount thereof.

                                           ARTICLE II

                                           The Advances

       Section 2.01 Loans; Commitment Increase.

        (a)     Subject to the terms and conditions set forth herein, the Lender agrees to make
one or more revolving loans to the Borrowers from time to time during the Availability Period in
an aggregate principal amount at any time outstanding up to but not exceeding the Commitment.
The Lender shall have no obligation to make any Loan if a Default or Event of Default has
occurred and is continuing. Within the foregoing limits and subject to the terms and conditions
set forth herein, the Borrowers may borrow, prepay and reborrow hereunder.



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        (b)     At any time prior to the Maturity Date, the Borrowers, acting jointly, may request
an increase in the Commitment (the “Commitment Increase”); provided that the Commitment
Increase shall be subject to Lender’s approval and satisfaction of each of the following
conditions, all in Lender’s sole discretion: (i) the Commitment Increase shall not cause the
Commitment to exceed $400,000,000, (ii) at the time of such request and on the effective date of
the Commitment Increase, both before and after giving effect thereto, no Default or Event of
Default shall exist, (iii) the Borrowers shall deliver to Lender a joint written request for the
Commitment Increase at least ten (10) Business Days prior to the desired effective date thereof,
and (iv) together with such request, Borrowers shall deliver (A) a certificate of the Manager of
each Co-Borrower stating that (1) the representations and warranties of such Co-Borrower
contained in the Loan Documents are true and correct as though made on and as of the effective
date of such Commitment Increase (it being understood and agreed that any representation or
warranty which by its terms is made as of a specified date shall be required to be true and correct
only as of such specified date, and (2) on the effective date of the Commitment Increase and after
giving effect thereto, no Default or Event of Default shall have occurred and be continuing, and
(B) resolutions of each Co-Borrower authorizing the Commitment Increase, in form and
substance reasonably satisfactory to Lender. Upon Lender’s approval of the Commitment
Increase in its sole discretion, satisfaction of each of the foregoing conditions in Lender’s sole
discretion, and delivery to Lender of a duly executed amended and restated Revolving Note in
the amount of the Commitment (upon giving effect to the Commitment Increase), the
Commitment Increase shall become effective.

        Section 2.02 The Note. The obligation of the Borrowers to repay the Loans shall be
evidenced by the Note executed by the Borrowers, payable to the Lender, in the principal amount
of the Commitment.

        Section 2.03 Borrowing Procedures; Requests for Borrowings. To request a Loan, any
Co-Borrower shall notify the Lender of such request in writing (delivered by hand, fax or e-mail)
in the form attached hereto as Exhibit B and signed by such Co-Borrower not later than 10:00
a.m., Houston time, five (5) Business Days before the date of the proposed Loan. Each such
Borrowing Request shall be irrevocable. Each such written Borrowing Request shall specify the
following information:

       (a)     the aggregate amount of the requested Loan, which amount shall be consistent
with the applicable Borrowing Package;

       (b)     the date of such Loan, which shall be a Business Day; and

       (c)     the aggregate principal amount of all Loans then outstanding.

        Section 2.04 Funding of Borrowings. The Lender shall make each Loan to be made by
it hereunder on the proposed date thereof available to the requesting Co-Borrower by wire
transfer to the Funding Account.

       Section 2.05 Repayment of Loans.




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       (a)    Borrowers, jointly and severally, hereby unconditionally promises to pay the
Lender the then unpaid principal amount of each Loan on the Maturity Date.

          (b)    Repayments of Loans shall be accompanied by accrued interest on the amounts
repaid.

          Section 2.06 Prepayment of Loans.

      (a)    The Borrowers shall have the right at any time and from time to time to prepay
any Loan in whole or in part, without penalty or premium.

        (b)      Within five (5) Business Days after the quarterly financial statements have been
delivered pursuant to Section 5.01(b), the Borrowers shall prepay the Loans in an amount equal
to 100% of Excess Cash Flow for the immediately preceding fiscal quarter. Each Excess Cash
Flow payment shall be accompanied by a certificate signed by the Manager certifying the
manner in which Excess Cash Flow and the resulting prepayment were calculated, which
certificate shall be in form and substance reasonably satisfactory to Lender.

          Section 2.07 Interest.

      (a)     Each Loan shall bear interest at a rate per annum equal to the applicable Apache
Bond Rate plus 4%. Following receipt of any Borrowing Request, Lender shall promptly notify
Borrowers of the Apache Bond Rate that will be applicable to the requested Loan.

       (b)     Notwithstanding the foregoing, during the occurrence and continuance of an
Event of Default, the Lender may, at its option, by notice to the Borrowers, declare that all Loans
shall bear interest at a rate per annum equal to 2% plus the rate otherwise applicable to such
Loans as provided in the preceding paragraph of this Section.

        (c)     All accrued unpaid interest on each Loan shall be payable semiannually on
January 31st and July 31st of each year during the term of this Agreement (unless such date is
not a Business Day in which the payment is due on the next succeeding Business Day) and on
the Maturity Date, with the first installment of interest due and payable on the first such date
following the making of the initial Loan hereunder until the principal amount of each such Loan
is paid in full. Notwithstanding the forgoing, interest accrued pursuant to paragraph (b) of this
Section shall be payable on demand and in the event of any repayment or prepayment of any
Loan, accrued interest on the principal amount repaid or prepaid shall be payable on the date of
such repayment or prepayment.

         (d)    All interest hereunder shall be computed on the basis of a year of 365 days (or
366 days in a leap year), and shall be payable for the actual number of days elapsed (including
the first day but excluding the last day).

          Section 2.08 Payments Generally; Allocation of Proceeds.

      (a)     Each Borrower shall make each payment required to be made by it hereunder
(whether of principal, interest, fees, or otherwise) prior to 5:00 p.m., Houston time, on the date
when due, in immediately available funds, without set-off or counterclaim, and each Borrower

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shall be jointly and severally liable for all such payment obligations. Any amounts received after
such time on any date may, in the discretion of the Lender, be deemed to have been received on
the next succeeding Business Day for purposes of calculating interest thereon. All such
payments shall be made to the Lender to such account as the Lender shall from time to time
specify in a notice to the Borrowers. If any payment hereunder shall be due on a day that is not a
Business Day, the date for payment shall be extended to the next succeeding Business Day, and,
in the case of any payment accruing interest, interest thereon shall be payable for the period of
such extension. All payments hereunder shall be made in dollars.

        (b)     Any proceeds of Collateral received by the Lender after an Event of Default has
occurred and is continuing and if the Lender so elects, such funds shall be applied ratably first, to
pay any fees, indemnities, or expense reimbursements including amounts then due to the Lender,
in its capacity as such, from the Borrowers, second, to pay interest then due and payable on the
Loans ratably, third, to prepay principal on the Loans, and fourth, to the payment of any other
Secured Obligation due to the Secured Parties from the Borrowers, and finally, to the Borrowers
or otherwise as required by law or court order. The Lender shall have the continuing and
exclusive right to apply and reverse and reapply any and all proceeds and payments received
pursuant to the first sentence of this clause (b) to any portion of the Secured Obligations.

        Section 2.09 Indemnity for Returned Payments. If after receipt of any payment which
is applied to the payment of all or any part of the Secured Obligations (including a payment
effected through exercise of a right of setoff), the Lender is for any reason compelled to
surrender such payment or proceeds to any Person because such payment or application of
proceeds is invalidated, declared fraudulent, set aside, determined to be void or voidable as a
preference, impermissible setoff, or a diversion of trust funds, or for any other reason (including
pursuant to any settlement entered into by the Lender in its discretion), then the Secured
Obligations or part thereof intended to be satisfied shall be revived and continued and this
Agreement shall continue in full force as if such payment or proceeds had not been received by
the Lender. The provisions of this Section 2.09 shall be and remain effective notwithstanding
any contrary action which may have been taken by the Lender in reliance upon such payment or
application of proceeds. The provisions of this Section 2.09 shall survive the termination of this
Agreement.

                                           ARTICLE III

                                  Representations and Warranties

       To induce Lender to enter into this Agreement, each Co-Borrower represents and
warrants to the Lender that:

        Section 3.01 Organization; Powers. Each Co-Borrower (i) is duly organized, validly
existing and in good standing under the laws of the jurisdiction of its organization, (ii) has all
requisite power and authority to carry on its business as now conducted and is qualified to do
business in, and (iii) is in good standing in every jurisdiction where such qualification is
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        Section 3.02 Authorization; Enforceability. The Transactions are within each Co-
Borrower’s organizational powers and have been duly authorized by all necessary organizational
actions and, if required, actions by equity holders. Each Loan Document to which such Co-
Borrower is a party has been duly executed and delivered by such Co-Borrower and constitutes a
legal, valid and binding obligation of such Co-Borrower, enforceable in accordance with its
terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium or other laws
affecting creditors’ rights generally and subject to general principles of equity, regardless of
whether considered in a proceeding in equity or at law.

        Section 3.03 Governmental Approvals; No Conflicts. The Transactions (a) do not
require any consent or approval of, registration or filing with, or any other action by, any
Governmental Authority, except such as have been obtained or made and are in full force and
effect and except for filings necessary to perfect Liens created pursuant to the Loan Documents,
(b) will not violate such Co-Borrower’s organizational documents or any Requirement of Law
applicable to such Co-Borrower, (c) will not violate or result in a default under any indenture,
agreement or other instrument binding upon a Co-Borrower or the assets of such Co-Borrower,
or give rise to a right thereunder to require any payment to be made by such Co-Borrower, and
(d) will not result in the creation or imposition of any Lien on any asset of such Co-Borrower,
except Liens created pursuant to the Loan Documents.

       Section 3.04 Properties.

         (a)    As of the date of this Agreement, Schedule 3.04(a) sets forth the address of each
parcel of Real Property that is owned or leased by any Co-Borrower. Each of the leases and
subleases listed on Schedule 3.04(a) is valid and enforceable in accordance with its terms and is
in full force and effect, and no default by any party to any such lease or sublease exists. Each
Co-Borrower has good and indefeasible title to, or valid leasehold interests in, all of its real and
personal property.

        (b)     Each Co-Borrower owns, or is licensed to use, all trademarks, tradenames,
copyrights, patents and other intellectual property necessary to its business as currently
conducted, a correct and complete list of which, as of the date of this Agreement, is set forth on
Schedule 3.04(b), and the use thereof by such Co-Borrower does not infringe in any material
respect upon the rights of any other Person, and each Co-Borrower’s rights thereto are not
subject to any licensing agreement or similar arrangement.

       Section 3.05 Litigation and Environmental Matters.

       (a)    Except as disclosed to the Lender in writing, there are no actions, suits or
proceedings by or before any arbitrator or Governmental Authority pending against or to the
knowledge of any Co-Borrower, threatened against or affecting such Co-Borrower or that
involve any Loan Document or the Transactions.

       (b)     Except as disclosed to the Lender in writing, no Co-Borrower (1) has received
notice of any claim with respect to any Environmental Liability or knows of any basis for any
Environmental Liability, and (2) no Co-Borrower (i) has failed to comply with any
Environmental Law or to obtain, maintain or comply with any permit, license or other approval


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required under any Environmental Law or (ii) has become subject to any Environmental
Liability, except, in the case of each of (1) and (2)(i) and (ii), as would not reasonably be
expected to have a Material Adverse Effect.

       Section 3.06 Compliance with Laws and Agreements; No Default. Except as disclosed
to the Lender in writing, each Co-Borrower is in compliance in all material respects with all
Requirements of Law applicable to it or its property, except for Decommissioning obligations for
which Lender has received notice of such Co-Borrower’s non-compliance from the applicable
Governmental Authority. No Default has occurred and is continuing.

       Section 3.07 Taxes. Each Co-Borrower has timely filed or caused to be filed all income
and other material Tax returns and reports required to have been filed and has paid or caused to
be paid all income and other material Taxes required to have been paid by it, except Taxes that
are not yet delinquent or that are being contested in good faith by appropriate proceedings and
for which adequate reserves in accordance with GAAP shall have been set aside by such Co-
Borrower on its books. No Tax liens have been filed on the assets of any Co-Borrower, and no
claims are being asserted in writing by any Governmental Authority with respect to any unpaid
Taxes of such Co-Borrower (other than those being contested in good faith by appropriate
proceedings).

       Section 3.08 ERISA. No Co-Borrower nor any ERISA Affiliate maintains or
contributes to, or has any obligation under, any Plan.

        Section 3.09 Disclosure. The reports, financial statements, certificates and other
information (other than forward-looking information (the “Projections”) or information of a
general economic or industry specific nature) furnished in writing by or on behalf of the
Borrowers to the Lender in connection with the negotiation of this Agreement or any other Loan
Document (as modified or supplemented by other information so furnished), taken as a whole, do
not contain any material misstatement of fact or omit to state any material fact necessary to make
the statements therein, taken as a whole, in the light of the circumstances under which they were
made, not materially misleading; provided that, with respect to Projections, the Borrowers
represent only that such information was prepared in good faith based upon assumptions
believed to be reasonable at the time delivered.

        Section 3.10 Material Contracts. No Co-Borrower is in default in the performance,
observance or fulfillment of any of the obligations, covenants or conditions contained in any
Material Contract (excluding any default resulting from such Co-Borrower’s failure to comply
with the reimbursement obligations in Section 2.7 of the Decommissioning Agreement). Except
as disclosed on Schedule 3.10, no Co-Borrower is obligated by more than (i) $100,000 under any
individual contract, commitment, or other liability or obligation or (ii) $500,000 in the aggregate
under all such contracts, commitments, liabilities, or obligations, and in the case of (i) and (ii),
excluding Material Contracts, this Agreement, and any other contract to which Co-Borrower is a
party or by which it or its properties are bound and which was entered into in the ordinary course
of business, is not material to Co-Borrower, and will not adversely affect its ability to perform its
obligations under the Loan Documents.




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        Section 3.11 Insurance. Schedule 3.11 sets forth a description of all insurance
maintained by or on behalf of the Borrowers as of the Effective Date. As of the Effective Date,
all premiums in respect of such insurance have been paid. Each Co-Borrower believes that the
insurance maintained by it is adequate and is customary for companies engaged in the same or
similar businesses operating in the same or similar locations.

        Section 3.12 Security Interest in Collateral. The provisions of this Agreement and the
other Loan Documents create legal and valid Liens on all the Collateral in favor of the Lender
and such Liens constitute (or will constitute upon completion of the filings and other actions
required pursuant to the Loan Documents) perfected and continuing Liens on the Collateral to
the extent required to be perfected pursuant to the Loan Documents, securing the Secured
Obligations, (a) enforceable against the Borrowers and all third parties in accordance with the
terms hereof and thereof, subject only to applicable bankruptcy, insolvency, reorganization,
moratorium or other laws affecting creditors’ rights generally and subject to general principles of
equity, regardless of whether considered in a proceeding in equity or at law, and (b) having
priority over all other Liens (other than Permitted Liens) on the Collateral.

       Section 3.13 Use of Proceeds. The proceeds of the Loans have been used and will be
used, whether directly or indirectly as set forth in Section 5.08.

       Section 3.14 Anti-Corruption Laws and Sanctions. Each Co-Borrower is in compliance
with Anti-Corruption Laws and applicable Sanctions in all material respects. No Borrowing, use
of proceeds, Transaction or other transaction contemplated by this Agreement or the other Loan
Documents will violate Anti-Corruption Laws or applicable Sanctions.

        Section 3.15 Affiliate Transactions. Other than any transaction permitted pursuant to
Section 6.09, there are no existing or proposed agreements, arrangements, understandings or
transactions between or among any Co-Borrower and any Affiliates of a Co-Borrower, or
between or among any Affiliate of a Co-Borrower or any subsidiary of any Co-Borrower.

       Section 3.16 Solvency. The fair market value of each Co-Borrower’s assets exceeds,
and after giving effect to each Loan will exceed, such Co-Borrower’s total liabilities (including
subordinated, liquidated, unliquidated, disputed, and contingent liabilities and commitments
excepting only asset retirement obligations). The fair saleable value of each Co-Borrower’s
property exceeds, and after giving effect to each Loan will exceed, the amount required to pay its
debts and other liabilities (including subordinated, liquidated, unliquidated, disputed, and
contingent liabilities and commitments excepting only asset retirement obligations) as such debts
and other liabilities mature. Each Co-Borrower is, and after giving effect to each Loan will be,
able to pay its debts and liabilities (including subordinated, liquidated, unliquidated, disputed,
and contingent liabilities and commitments excepting only asset retirement obligations) as such
debts and other liabilities mature. Each Co-Borrower’s assets do not, after giving effect to each
Loan will not, constitute unreasonably small capital to carry out its business as conducted or as
proposed to be conducted, excluding only asset retirement obligations from such determination.
For purposes of this Section, each reference to asset retirement obligations mean those which
would be reflected on a balance sheet conforming with the requirements of Section 5.01 hereof.




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                                          ARTICLE IV

                                           Conditions

        Section 4.01 Effective Date. The obligations of the Lender to make Loans hereunder
shall not become effective until the date on which each of the following conditions is satisfied
(or waived in accordance with Section 8.02) and, subject thereto, shall become effective
simultaneously with confirmation of the plan of reorganization pursuant to the Confirmation
Order:

       (a)     Credit Agreement and Loan Documents. The Lender (or its counsel) shall have
received (i) a counterpart of this Agreement signed by the Borrowers and (ii) duly executed
copies of the other Loan Documents in form and substance satisfactory to Lender.

        (b)    Certificates; Certified Certificate of Incorporation; Good Standing Certificates.
The Lender shall have received (i) a certificate of each Co-Borrower, dated the Effective Date
and executed by an authorized Person of such Co-Borrower, which shall (A) certify the
resolutions adopted by written consent of the Manager of such Co-Borrower authorizing the
execution, delivery and performance of the Loan Documents to which it is a party, (B) identify
by name and title and bear the signature of each Person authorized to sign on behalf of such Co-
Borrower the Loan Documents to which it is a party, and (C) contain appropriate attachments,
including the Divisive Merger Documents certified by the Texas Secretary of State and a true
and correct copy of its limited liability company agreement, and (ii) a certificate of fact for of
such Co-Borrower from the Texas Secretary of State.

       (c)     Manager’s Certificate. The Lender shall have received a certificate, signed by the
Manager or other appropriately authorized Person of each Co-Borrower, dated as of the Effective
Date (i) stating that no Default has occurred and is continuing, and (ii) stating that the
representations and warranties contained in the Loan Documents are true and correct as of such
date.

        (d)    Fees and Expenses. The Lender shall have received all fees required to be paid
and all expenses required to be reimbursed for which invoices have been submitted on or prior to
the Effective Date (including the reasonable fees and expenses of legal counsel).

       (e)     Confirmation Order. The Lender or its counsel shall have received a signed copy
of the Confirmation Order and notice that the effective date of the plan of reorganization
contained therein has occurred.

       (f)    Lien Releases. The Lender shall have received satisfactory evidence that all
Liens granted upon any of the property of the Borrowers constituting Collateral (other than
Permitted Liens) are terminated as of the Effective Date.

       (g)    Funding Account. The Lender shall have received a notice setting forth the
deposit account of each Co-Borrower (each a “Funding Account”, collectively, the “Funding
Accounts”) to which the Lender is authorized by such Co-Borrower to transfer the proceeds of
any Borrowings requested or authorized pursuant to this Agreement.


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       (h)    Control Agreements. The Lender shall have received deposit account control
agreements for the Funding Accounts and each operating account of Borrowers required to be
provided pursuant to the Security Agreement.

        (i)     Filings, Registrations and Recordings. Each document (including any Uniform
Commercial Code financing statement) required by the Collateral Documents or under law or
reasonably requested by the Lender to be filed, registered or recorded in order to create in favor
of the Lender, for the benefit of the Secured Parties, a perfected Lien on the Collateral described
therein, prior and superior in right to any other Person (other than with respect to Liens expressly
permitted by Section 6.02), shall be in proper form for filing, registration or recordation.

       (j)     Insurance. The Lender shall have received evidence of insurance coverage in
form, scope, and substance reasonably satisfactory to the Lender and otherwise in compliance
with the terms of Section 5.10 of this Agreement.

       (k)     [Intentionally Blank]

        (l)    Capitalization. Lender shall have received written evidence, in form and
substance satisfactory to Lender, that the capitalization funds received by the Borrowers upon
their formation in the amount of $50,000,000 has been fully utilized under the Decommissioning
Plan during the bankruptcy of the Debtor or any unused amount has been funded to the Funding
Account.

       (m)     Material Contracts. Lender shall have received copies of all Material Contracts.

        (n)     Financial Information. The Lender shall have received (i) an unaudited
consolidated balance sheet of Borrowers and their subsidiaries as of the Effective Date and (ii)
historical lease operating statements for the assets of each Co-Borrower and its subsidiaries for
each month during the 24-month period immediately preceding the Effective Date, and in the
case of (i) and (ii), in form and substance reasonably satisfactory to Lender and after giving
effect to the divisive merger that is part of the plan of reorganization confirmed by the
Confirmation Order.

       (o)     Other Documents. The Lender shall have received such other documents as the
Lender or its counsel may have reasonably requested, including a customary written opinion or
opinions of the Borrowers’ counsel as to due authorization, execution and delivery, and
enforceability of the Loan Documents and perfection of the security interests granted thereby,
addressed to the Lender, in form and substance satisfactory to the Lender, and rendered by Weil
Gotshal & Manges LLP or a comparable law firm satisfactory to Lender.

The Lender shall notify the Borrowers of the Effective Date, and such notice shall be conclusive
and binding.

        Section 4.02 Each Credit Event. The obligation of the Lender to make (i) each Loan
under Article II hereof (other than a Trust A Funding Default Loan) is subject to the satisfaction
of the following conditions and (ii) the Trust A Funding Default Loan is subject to the
satisfaction of the following conditions except conditions (c), (e), (k), and (l):


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        (a)     The representations and warranties of each Co-Borrower set forth in the Loan
Documents shall be true and correct with the same effect as though made on and as of the date of
such Borrowing (it being understood and agreed that any representation or warranty which by its
terms is made as of a specified date shall be required to be true and correct only as of such
specified date.

       (b)    At the time of and immediately after giving effect to such Loan, no Default shall
have occurred and be continuing.

       (c)   All amounts in the Trust A Account, the Letters of Credit, and the Permitted
Surety Bonds have been fully exhausted or are not available to pay or reimburse Lender for
Decommissioning.

       (d)    The Decommissioning Agreement is in full force and effect, has not been
terminated and has become the obligation of the Borrowers under the Confirmation Order and/or
the Divisive Merger Documents.

        (e)    Other than any Co-Borrower’s failure to comply with the reimbursement
obligations in Section 2.7 of the Decommissioning Agreement, there are no uncured events that
constitute or would result in the nonperformance, default, or breach by any Co-Borrower under
the Decommissioning Agreement.

        (f)    Since the Effective Date, none of the events set forth in Article VII of the
Decommissioning Agreement have occurred, nor has any Co-Borrower assigned, conveyed, sold,
farmed out or otherwise transferred any of the Leases other than with respect to (i) farmout
transactions consummated in accordance with Section 7.06 of the Limited Liability Company
Agreement of Fieldwood and (ii) conveyances or other transfers consummated in accordance
with the JOA or Farmout Agreement.

      (g)     Since the Effective Date, no Co-Borrowers has received cash from the Trust A
Account, including, but not limited to, pursuant to Section 4.3(b) and Section 4.5 of the
Decommissioning Agreement.

      (h)  Since the Effective Date, no Co-Borrowers has caused a reduction in the LC
Drawing Amount, including, not limited to, pursuant to Section 4.3(b) of the Decommissioning
Agreement.

       (i)    A Suspension Period shall not have commenced and be continuing.

       (j)     Lender has received a copy of the Decommissioning Contract, in form and
substance satisfactory to the Lender, for the Decommissioning to be funded with a borrowing,
together with a schedule showing (i) all subcontracts awarded as of the Borrowing Request,
including names, types of work, subcontract amounts and percentage retainage provided in said
subcontracts, (ii) the amount of general conditions and an estimate of value for each subcontract
not awarded as of such date, and (iii) a total overall schedule of value.




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        (k)     Lender shall have received the following in form and substance reasonably
satisfactory to Lender (collectively, a “Borrowing Package”, together with any amendments,
modifications or supplements of the same) at least ten (10) Business Days prior to the date of the
requested Loan (which, for the avoidance of doubt, may be submitted in advance of the
identification of a proposed borrowing date):

               (i)    a certification from Borrowers in favor of Lender that (i) the
       Decommissioning to be made with the proceeds of a proposed Borrowing Request is
       contemplated by the Decommissioning Plan then in effect (both as to amount of such
       requested Loan and as to the timing of such requested Loan), (ii) that the proposed use of
       the proceeds therefrom is for cost and expenses in compliance with the Decommissioning
       Plan then in effect and (iii) Borrowers shall have sufficient funds (on a pro forma basis
       (reasonably projected, on a good faith basis) after giving effect to the Loan requested) to
       pay all accrued interest due under Section 2.07(c) for the following six (6) month period;

               (ii)   a certification from the Contractor in the form acceptable to Lender with
       respect to the requested Loan, detailing the Decommissioning covered or to be covered
       by the Borrowing, itemizing any estimated costs and expenses of such Decommissioning
       and/or including copies of invoices itemizing costs and expenses incurred with respect to
       such Decommissioning, as applicable;

               (iii) partial lien waivers or releases of lien for all lienable work done and
       materials delivered with respect to such Decommissioning covered in the request, to the
       extent applicable (for purposes of clarity, this only applies to work performed prior to the
       date of the Borrowing Package);

               (iv)    to the extent not previously delivered to Lender, copies of all permits,
       orders, certificates, licenses and approvals required under applicable Requirements of
       Law for the Decommissioning (collectively, the “Required Approvals”) as of the date of
       the requested Loan and copies of all subcontracts; provided, however, with respect to any
       Required Approvals that have not been issued as of the date of submission of a
       Borrowing Package, Co-Borrower shall include with the Borrowing Package Co-
       Borrower’s certification and covenant in form and substance reasonably satisfactory to
       Lender that (i) Co-Borrower has received from the applicable Governmental Authority
       indication that such Required Approvals will be issued to Co-Borrower, specifying the
       expected time of issuance thereof, (ii) Co-Borrower diligently shall pursue such Required
       Approvals, and (iii) Co-Borrower promptly shall deliver to Lender copies of such
       Required Approvals upon receipt thereof; provided further, however, Lender shall have
       discretion to decline any Borrowing Request that is not preceded or accompanied by
       copies of all Required Approvals; and

               (v)    such additional documentation reasonably requested by Lender.

      (l)    Decommissioning Plan. Lender and Borrowers shall have agreed to a
decommissioning plan in form and substance reasonably acceptable to Lender (the
“Decommissioning Plan”).



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                                          ARTICLE V

                                     Affirmative Covenants

        Until the Commitment shall have expired or been terminated and the principal of and
interest on each Loan and all fees payable hereunder shall have been paid in full, in each case
without any pending draw, each Co-Borrower covenants and agrees with the Lender that:

       Section 5.01 Financial Statements and Other Information. Fieldwood will furnish to
the Lender:

        (a)    within 105 days after the end of each fiscal year, its audited consolidated balance
sheet and related consolidated statements of operations, members’ equity and cash flows as of
the end of and for such year prepared under AICPA auditing standards, setting forth in each case
in comparative form the figures for the previous fiscal year, all reported on by independent
public accountants acceptable to the Lender (without a “going concern” or like qualification,
commentary, or exception (except to the extent that any such qualification, commentary, or
exception expressly indicates that after giving effect to the exclusion of asset retirement
obligations reflected on the accompanying balance sheet, there would be no such qualification,
commentary, or exception), and without any qualification or exception as to the scope of such
audit) to the effect that such consolidated financial statements present fairly in all material
respects the consolidated financial condition and results of operations of the Borrowers in
accordance with GAAP consistently applied;

       (b)     within 50 days after the end of each of its fiscal quarters (including the fourth
quarter), its consolidated balance sheet and related consolidated statements of operations,
members’ equity and cash flows as of the end of and for such fiscal quarter and the then elapsed
portion of such fiscal year, setting forth in each case in comparative form the figures for the
corresponding period or periods of (or, in the case of the balance sheet, as of the end of) the
previous fiscal year, all certified by Fieldwood as presenting fairly in all material respects the
consolidated financial condition and results of operations of the Borrowers in accordance with
GAAP consistently applied, subject to normal year-end audit adjustments and the absence of
footnotes;

        (c)      concurrently with any delivery of financial statements under clause (a) or
(b) above (collectively or individually, as the context requires, the “Financial Statements”), a
certificate of the Manager of Fieldwood in substantially the form of Exhibit C (the “Compliance
Certificate”) (i) certifying as to whether a Default has occurred and, if a Default has occurred,
specifying the details thereof and any action taken or proposed to be taken with respect thereto,
and (ii) to the extent any Loan has been advanced hereunder, certifying that Borrowers have
sufficient funds to pay all accrued interest due under Section 2.07(c) for the following six (6)
month period;

        (d)     as soon as available, but in any event no later than 60 days after the end of each
fiscal year, commencing with the fiscal year ending December 31, 2021, a detailed operating
budget for the next fiscal year forecasting revenue, operating costs, and capital expenses for each
fiscal quarter in form reasonably satisfactory to the Lender;

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       (e)     as soon as available, but in no event later than 15 Business Days after the end of
each calendar month, a statement in a form reasonably satisfactory to Lender showing all
operating data including operating expenses and revenue for each Co-Borrower for such calendar
month; and

       (f)     promptly following any request therefor, such other information regarding the
operations, business affairs and financial condition of each Co-Borrower, or compliance with the
terms of this Agreement, as the Lender may reasonably request, including, without limitation,
Decommissioning cost estimates and calculations.

      Section 5.02 Notices of Material Events. Each Co-Borrower will furnish to the Lender
prompt (but in any event within five (5) Business Days) after each Co-Borrower obtains
knowledge thereof) written notice of the following:

       (a)     the occurrence of any Default;

          (b)    receipt of any notice of any investigation by a Governmental Authority or any
litigation or proceeding commenced or threatened against any Co-Borrower that (i) seeks
damages in excess of $250,000, (ii) alleges criminal misconduct by any Co-Borrower,
(iii) alleges the violation of, or seeks to impose remedies under any Environmental Law or
related Requirement of Law, or seeks to impose Environmental Liability, or (iv) asserts liability
on the part of any Co-Borrower in excess of $250,000 in respect of any tax, fee, assessment, or
other governmental charge; or

        (c)     a breach by any Co-Borrower of any covenant under the Decommissioning
Agreement (other than Borrowers’ failure to comply with the reimbursement obligations in
Section 2.7 of the Decommissioning Agreement); provided that, if a written notice of such
breach has been given to Lender in connection with the Decommissioning Agreement, such
notice shall not be required to be provided under this Section 5.02.

Each notice delivered under this Section shall be accompanied by a statement of the applicable
authorized Person of each Co-Borrowers setting forth the details of the event or development
requiring such notice and any action taken or proposed to be taken with respect thereto.

        Section 5.03 Existence; Conduct of Business. Each Co-Borrower will (a) do or cause
to be done all things necessary to preserve, renew and keep in full force and effect its legal
existence and the rights, qualifications, licenses, permits, franchises, governmental
authorizations, intellectual property rights, licenses and permits material to the conduct of its
business, and maintain all requisite authority to conduct its business in each jurisdiction in which
its business is conducted and (b) carry on and conduct its business in substantially the same
manner and in substantially the same fields of enterprise as it is presently conducted.

       Section 5.04 Payment of Obligations. Each Co-Borrower will pay or discharge all
other material liabilities and obligations, including Taxes, before the same shall become
delinquent or in default, except those which are being contested by Borrowers in good faith by
appropriate proceedings and for which adequate reserves in accordance with GAAP shall have
been set aside on its books.


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       Section 5.05 Maintenance of Properties. The Borrowers will keep and maintain all
property material to the conduct of its business in good working order and condition, ordinary
wear and tear and performance of its obligations under the Decommissioning Agreement
excepted; provided, however, that nothing in this Agreement shall provided, however, that
nothing in this Agreement shall prevent the Borrowers from relinquishing or allowing any
Leases to expire or terminate, in each case in the ordinary course of the Borrowers’ business.

        Section 5.06 Books and Records; Inspection Rights. Each Co-Borrower will (a) keep
proper books of record and account in which full, true and correct entries are made of all
dealings and transactions in relation to its business and activities and (b) permit any
representatives designated by the Lender (including employees of the Lender or any consultants,
accountants, lawyers, agents and appraisers retained by the Lender), upon reasonable prior
notice, during normal business hours, to visit and inspect its properties, conduct at such Co-
Borrower’s premises field examinations of such Co-Borrower’s assets, liabilities, books and
records, including examining and making extracts from its books and records, and to discuss its
affairs, finances and condition with its officers and independent accountants, all at such
reasonable times, as often as reasonably requested at the Borrowers’ expense.

        Section 5.07 Compliance with Laws and Material Contractual Obligations. Each Co-
Borrower will (a) comply with each Requirement of Law applicable to it or its property
(including, without limitation, Environmental Laws) in all material respects and (b) perform in
all material respects its obligations under material agreements to which it is a party. Each Co-
Borrower will enforce policies and procedures designed to ensure compliance by such Co-
Borrower, and its directors, officers, employees and agents with Anti-Corruption Laws and
applicable Sanctions.

       Section 5.08 Use of Proceeds.

      (a)     The proceeds of the Loans (except the Trust A Funding Default Loan) will be
used only for payment or reimbursement of costs associated with plugging, facility and well
removal and abandonment, and other actions permitted or required by the Decommissioning
Agreement. The proceeds of the Trust A Funding Default Loan will be used only to fund Trust
A.

        (b)     No Co-Borrower will request or use any Borrowing and shall procure that its
directors, officers, employees and agents shall not use, the proceeds of any Borrowing (i) in
furtherance of an offer, payment, promise to pay, or authorization of the payment or giving of
money, or anything else of value, to any Person in violation of any Anti-Corruption Laws, (ii) for
the purpose of funding, financing or facilitating any activities, business or transaction of or with
any Sanctioned Person, or in any Sanctioned Country or (iii) in any manner that would result in
the violation of any Sanctions applicable to any party hereto.

        Section 5.09 Accuracy of Information. Each Co-Borrower will ensure that, other than
the Projections described below, any information, including financial statements or other
documents, material to the Loan Documents or the transactions contemplated thereby, furnished
in writing to the Lender by the Manager of such Co-Borrower in connection with this Agreement
or any other Loan Document or any amendment or modification hereof or thereof or waiver


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hereunder or thereunder contains no material misstatement of fact or omits to state any material
fact, in each case necessary to make the statements therein, in the light of the circumstances
under which they were made and taken as a whole, not misleading; provided that, with respect to
the Projections, each Co-Borrower will cause the Projections to be prepared in good faith based
upon assumptions believed to be reasonable at the time.

        Section 5.10 Insurance. Each Co-Borrower will maintain with financially sound and
reputable carriers having a financial strength rating of at least A- by A.M. Best Company (a)
insurance in such amounts (with no greater risk retention) and against such risks and such other
hazards, as is customarily maintained by companies of established repute engaged in the same or
similar businesses operating in the same or similar locations and (b) all insurance required
pursuant to the Collateral Documents. Each Co-Borrower will furnish to the Lender information
in reasonable detail as to the insurance so maintained.

        Section 5.11 Further Assurances. Each Co-Borrower will execute and deliver such
further instruments as may be reasonably requested by Lender to carry out the provisions and
purposes of this Agreement and the other Loan Documents and to preserve and perfect the Liens
of Lender in the Collateral.

                                         ARTICLE VI

                                      Negative Covenants

        Until the Commitment shall have expired or been terminated and the principal of and
interest on each Loan and all fees, expenses and other amounts payable under any Loan
Document shall have been paid in full, each Co-Borrower covenants and agrees with the Lender
that:

        Section 6.01 Indebtedness. No Co-Borrower will create, incur, assume or suffer to
exist any Indebtedness, except (i) the Secured Obligations and (ii) when there is no Default and
no Default would result therefrom, Indebtedness subordinate in all respects to Indebtedness
under the Loan Documents and the Secured Obligations if and to the extent permitted by Section
7.06(d) of Fieldwood’s Limited Liability Company Agreement.

       Section 6.02 Liens. No Co-Borrowers will create, incur, assume or permit to exist any
Lien on any property or asset now owned or hereafter acquired by it, or assign or sell any income
or revenues (including Accounts) or rights in respect of any thereof, except for Permitted Liens.

       Section 6.03 Fundamental Changes.

       (a)     No Co-Borrower will enter into a fundamental business transaction (as defined in
the BOC) including a merger, consolidation, interest exchange, conversion or sale of all or
substantially all of such Co-Borrower’s Real Property or other assets (including, in each case,
pursuant to a Texas LLC Division).

      (b)      No Co-Borrower will wind-up, dissolve, liquidate, or terminate or initiate any
bankruptcy, insolvency or similar proceeding.


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       (c)    No Co-Borrower will file any motion seeking to amend, modify or alter, in any
way, the Confirmation Order.

       (d)     No Co-Borrower will (i) revoke any voluntary decision to wind-up or cancel the
required winding up of such Co-Borrower due to an event specified in Section 11.051 of the
BOC or (ii) reinstate such Co-Borrower after termination.

        (e)      No Co-Borrower will (i) conduct or be involved in any business or operations
other than operating or plugging and abandoning and decommissioning the Legacy Apache
Properties or the GOM Shelf Properties or (ii) engage in any activity or take any action with
respect to its properties or assets, other than in the ordinary course of business.

        (f)     No Co-Borrower will change its fiscal year or any fiscal quarter from the basis in
effect on the date hereof.

       (g)     No Co-Borrowers will change the accounting basis upon which its financial
statements are prepared.

       Section 6.04 Investments, Loans, Advances, Guarantees and Acquisitions. No Co-
Borrower will form any subsidiary or enter into any joint venture or similar business
arrangement after the date hereof, or purchase, hold or acquire any Equity Interests, evidences of
Indebtedness or other securities (including any option, warrant or other right to acquire any of
the foregoing) of, make or permit to exist any loans, advances or capital contributions to,
Guarantee (except for the Borrower Guarantees) any obligations of, or make or permit to exist
any investment or any other interest in, any other Person, or purchase, farm-in or otherwise
acquire any assets of any other Person, except:

       (a)     farm-in or farmout transactions consummated in accordance with Section 7.06 of
the Limited Liability Company Agreement of Fieldwood; and

      (b)    conveyances or other transfers consummated in accordance with the JOA or
Farmout Agreement.

       Section 6.05 Asset Sales. No Co-Borrower will sell, transfer (including any disposition
of property to a Texas Divided LLC pursuant to a Texas LLC Division), farmout, lease or
otherwise dispose of any asset, including any Equity Interest owned by it, except:

       (a)     farmout transactions consummated in accordance with Section 7.06 of the
Limited Liability Company Agreement of Fieldwood; and

      (b)    conveyances or other transfers consummated in accordance with the JOA or
Farmout Agreement.

        Section 6.06 Sale and Leaseback Transactions. No Co-Borrower will enter into any
arrangement, directly or indirectly, whereby it shall sell or transfer any property, real or personal,
used or useful in its business, whether now owned or hereafter acquired, and thereafter rent or
lease such property or other property that it intends to use for substantially the same purpose or
purposes as the property sold or transferred.

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        Section 6.07 Swap Agreements. No Co-Borrower will enter into any swap agreement
(other than for physical swaps of less than one year in duration) without the Lender’s prior
consent in its sole discretion.

        Section 6.08 Restricted Payments; Certain Payments of Indebtedness. No Co-
Borrower will declare or make, directly or indirectly, any Restricted Payment, or incur any
obligation (contingent or otherwise) to do so.

        Section 6.09 Transactions with Affiliates. No Co-Borrower will (a) enter into, amend,
waive any provision of, or any of its rights under, or terminate any Related Party Agreement or
(b) sell, lease or otherwise transfer any property or assets to, or purchase, lease or otherwise
acquire any property or assets from, or otherwise engage in any other transactions with, any of its
Affiliates, except (i) farmout transactions consummated in accordance with Section 7.06 of the
Limited Liability Company Agreement of Fieldwood, (ii) conveyances or other transfers
consummated in accordance with the JOA or Farmout Agreement and (iii) the transition services
agreement entered into between any Co-Borrower and the Credit Bid Purchaser as of even date
herewith, as may be amended or replaced in its entirety.

        Section 6.10 Restrictive Agreements. No Co-Borrower will enter into, incur or permit
to exist any agreement or other arrangement that prohibits, restricts or imposes any condition
upon the ability of such Co-Borrower to create, incur or permit to exist any Lien upon any of its
property or assets securing the Secured Obligations.

       Section 6.11 Amendment of Organizational Documents; Material Contracts. (a) No
Co-Borrower will (i) amend, modify, supplement or waive any provision of, or any of its rights
under, its certificate of formation or organization, as applicable, its limited liability company
agreement or any other organizational document of such Co-Borrower or (ii) issue additional
Equity Interests or admit additional Persons as members under the limited liability company
agreement of such Co-Borrower.

        (b)      No Co-Borrower will (i) amend, modify, supplement, or waive any provision of,
or any of its rights under, or terminate any Material Contract, or (ii) enter into any joint operating
agreement with respect to the operatorship of the Real Properties or any joint development
agreement relating to the Real Properties except as otherwise permitted in Sections 6.04 or 6.05
hereof.

        Section 6.12 Amendment or Termination of Material Relationships. No Co-Borrower
will (a) remove, replace or materially change the work to be performed by the Service Provider
or (b) remove, replace or materially change the powers, rights or responsibilities of the sole
manager or independent director of Fieldwood.

       Section 6.13 Excess Cash Flow. No Co-Borrower shall use Excess Cash Flow for any
purpose other than (i) fulfilling its Secured Obligations and obligations under the
Decommissioning Agreement and (ii) if and to the extent expressly permitted by Section 7.06(d)
of Fieldwood’s Limited Liability Company Agreement, to repay Indebtedness expressly
permitted by Section 7.06(d) thereof and Section 6.01(ii) hereof when there is no Default and no
Default would result from such repayment.


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                                          ARTICLE VII

                                         Events of Default

       If any of the following events (“Events of Default”) shall occur:

        (a)   the Borrowers shall fail to pay (i) any principal of any Loan or (ii) any interest on
any Loan or other amount payable under this Agreement or any other Loan Document when and
as the same shall become due and payable, whether at the due date thereof or at a date fixed for
prepayment thereof or otherwise and, in the case of clause (ii), such failure shall continue for five
(5) Business Days;

        (b)      any representation or warranty made or deemed made by or on behalf of any Co-
Borrower in or in connection with this Agreement or any other Loan Document or any
amendment or modification hereof or thereof or waiver hereunder or thereunder, or in any report,
certificate, financial statement or other document furnished by any Co-Borrower pursuant to or
in connection with this Agreement or any other Loan Document or any amendment or
modification hereof or thereof or waiver hereunder or thereunder, shall prove to have been
materially incorrect when made or deemed made;

      (c)     any Co-Borrower shall fail to observe or perform any covenant, condition or
agreement contained in Sections 5.01, 5.02(a), 5.03, 5.08 or 5.10 or in Article VI;

        (d)    any Co-Borrower shall fail to observe or perform any covenant, condition or
agreement contained in this Agreement or any other Loan Document (other than those specified
in clause (a) or (c) of this Article), and such failure shall continue unremedied for a period of
thirty (30) days after the earlier of such Co-Borrower’s knowledge of such breach or notice
thereof from the Lender if such breach relates to terms or provisions of any other Section of this
Agreement or of any other Loan Document;

        (e)     an involuntary proceeding shall be commenced or an involuntary petition shall be
filed seeking (i) liquidation, reorganization or other relief in respect of any Co-Borrower or its
debts, or of a substantial part of its assets, under any federal, state or foreign bankruptcy,
insolvency, receivership or similar law now or hereafter in effect or (ii) the appointment of a
receiver, trustee, custodian, sequestrator, conservator or similar official for any Co-Borrower or
for a substantial part of its assets, and, in any such case, such proceeding or petition shall
continue undismissed for sixty (60) days or an order or decree approving or ordering any of the
foregoing shall be entered;

         (f)    any Co-Borrower shall (i) voluntarily commence any proceeding or file any
petition seeking liquidation, reorganization or other relief under any federal, state or foreign
bankruptcy, insolvency, receivership or similar law now or hereafter in effect, (ii) consent to the
institution of, or fail to contest in a timely and appropriate manner, any proceeding or petition
described in clause (e) of this Article, (iii) apply for or consent to the appointment of a receiver,
trustee, custodian, sequestrator, conservator or similar official for any Co-Borrower or for a
substantial part of its assets, (iv) file an answer admitting the material allegations of a petition



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filed against it in any such proceeding, (v) make a general assignment for the benefit of creditors
or (vi) take any action for the purpose of effecting any of the foregoing;

       (g)      any Co-Borrower shall become unable, admit in writing its inability, or publicly
declare its intention not to, or fail generally, to pay its debts as they become due;

       (h)    one or more judgments for the payment of money in an aggregate amount in
excess of $250,000 (to the extent not covered by insurance) shall be rendered against any Co-
Borrower and the same shall remain undischarged for a period of thirty (30) consecutive days
during which execution shall not be effectively stayed, or any action shall be legally taken by a
judgment creditor to attach or levy upon any assets of any Co-Borrower to enforce any such
judgment or any Co-Borrower shall fail within thirty (30) days to discharge one or more non-
monetary judgments or orders;

       (i)     a Change in Control shall occur;

       (j)       except as permitted by the terms of any Collateral Document, (i) any Collateral
Document shall for any reason fail to create a valid security interest in any Collateral purported
to be covered thereby, or (ii) any Lien securing any Secured Obligation shall cease to be a
perfected, first priority Lien;

       (k)     any Collateral Document or any Borrower Guarantee shall (other than pursuant to
the terms thereof) fail to remain in full force or effect or any action shall be taken by any Co-
Borrower to discontinue or to assert the invalidity or unenforceability of any Collateral
Document or any Borrower Guarantee;

        (l)     any material provision of any Loan Document for any reason ceases to be valid,
binding and enforceable in accordance with its terms (or any Co-Borrower shall challenge the
enforceability of any Loan Document or shall assert in writing, or engage in any action or
inaction that evidences its assertion, that any provision of any of the Loan Documents has ceased
to be or otherwise is not valid, binding and enforceable in accordance with its terms);

       (m)    any default (other than a failure to comply with the reimbursement obligations in
Section 2.7 of the Decommissioning Agreement) by any Co-Borrower shall occur under the
Decommissioning Agreement;

      (n)     any default under a Material Contract which could result in the termination of
such Material Contract;

       (o)     any breach of Article VII (Management) of Fieldwood’s Limited Liability
Company Agreement or any failure to obtain Lender’s prior written consent in accordance with
any provision of Fieldwood’s Limited Liability Company Agreement; and

       (p)     any breach or default by any Co-Borrower under any agreement, document, or
instrument evidencing Indebtedness;

then, and in every such event (other than an event with respect to a Co-Borrower described in
clause (e) or (f) of this Article), and at any time thereafter during the continuance of such event,

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the Lender may, by notice to the Borrowers, take either or both of the following actions, at the
same or different times: (i) terminate the Commitment, whereupon the Commitment shall
terminate immediately, and (ii) declare the Loans then outstanding to be due and payable,
together with accrued interest thereon and all fees and other obligations of the Borrowers accrued
hereunder, shall become due and payable immediately, in each case without presentment,
demand, protest or other notice of any kind, all of which are hereby waived by the Borrowers;
and in the case of any event with respect to a Co-Borrower described in clause (e) or (f) of this
Article, the Commitment shall automatically terminate and the principal of the Loans then
outstanding, together with accrued interest thereon and all fees and other obligations of the
Borrowers accrued hereunder, shall automatically become due and payable, in each case without
presentment, demand, protest or other notice of any kind, all of which are hereby waived by the
Borrowers. Upon the occurrence and during the continuance of an Event of Default, the Lender
may increase the rate of interest applicable to the Loans and other Secured Obligations as set
forth in this Agreement and exercise any rights and remedies provided to the Lender under the
Loan Documents or at law or equity, including all remedies provided under the UCC.

                                            ARTICLE VIII

                                             Miscellaneous

       Section 8.01 Notices.

        (a)    Except in the case of notices and other communications expressly permitted to be
given by telephone (and subject to paragraph (b) below), all notices and other communications
provided for herein shall be in writing and shall be delivered by hand or overnight courier
service, mailed by certified or registered mail or sent by fax or electronic communication (to the
extent provided in clause (b) below), as follows:

               (i)    if to Borrowers at:

                      ______________________________
                      ______________________________
                      ______________________________
                      Attention: _____________________

               (ii)   if to the Lender at:

                      Apache Corporation
                      2000 Post Oak Boulevard, Suite 100
                      Houston, Texas 77056
                      Attention: Treasurer and Nora Dobin
                      e-mails: ben.rodgers@apachecorp.com and nora.dobin@apachecorp.com

All such notices and other communications (i) sent by hand or overnight courier service, or
mailed by certified or registered mail, shall be deemed to have been given when received,
(ii) sent by fax shall be deemed to have been given when sent, provided that if not given during
normal business hours for the recipient, such notice or communication shall be deemed to have


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been given at the opening of business on the next Business Day of the recipient, or (iii) delivered
through electronic communication to the extent provided in paragraph (b) below shall be
effective as provided in such paragraph.

        (b)    Notices and other communications to the Lender hereunder may be delivered or
furnished by electronic communications (including e-mail); provided that the foregoing shall not
apply to notices pursuant to Article II unless otherwise agreed by the Lender. Each of the Lender
or the Borrowers may, in its discretion, agree to accept notices and other communications to it
hereunder by electronic communications pursuant to procedures approved by it; provided that
approval of such procedures may be limited to particular notices or communications. All such
notices and other communications sent to an e-mail address shall be deemed received upon the
sender’s receipt of an acknowledgement from the intended recipient (such as by the “return
receipt requested” function, as available, return e-mail or other written acknowledgement),
provided that if not given during the normal business hours of the recipient, such notice or
communication shall be deemed to have been given at the opening of business on the next
Business Day for the recipient.

       (c)    Any party hereto may change its address, facsimile number or e-mail address for
notices and other communications hereunder by notice to the other parties hereto. All notices
and other communications given to any party hereto in accordance with the provisions of this
Agreement shall be deemed to have been given on the date of receipt.

       Section 8.02 Waivers; Amendments.

        (a)    No failure or delay by the Lender in exercising any right or power hereunder or
under any other Loan Document shall operate as a waiver thereof, nor shall any single or partial
exercise of any such right or power, or any abandonment or discontinuance of steps to enforce
such a right or power, preclude any other or further exercise thereof or the exercise of any other
right or power. The rights and remedies of the Lender hereunder and under any other Loan
Document are cumulative and are not exclusive of any rights or remedies that they would
otherwise have. No waiver of any provision of any Loan Document or consent to any departure
by any Co-Borrower therefrom shall in any event be effective unless the same shall be permitted
by paragraph (b) of this Section, and then such waiver or consent shall be effective only in the
specific instance and for the purpose for which given. Without limiting the generality of the
foregoing, the making of a Loan shall not be construed as a waiver of any Default, regardless of
whether the Lender may have had notice or knowledge of such Default at the time.

        (b)    Neither this Agreement nor any other Loan Document nor any provision hereof or
thereof may be waived, amended or modified except pursuant to an agreement or agreements in
writing entered into by the Borrowers and the Lender.

       Section 8.03 Expenses; Indemnity; Damage Waiver.

        (a)    Borrowers shall pay or reimburse Lender for any and all out-of-pocket expenses
(including attorneys’, auditors’, and accountants’ fees, charges, and disbursements) incurred or
paid by Lender in connection with the preparation, execution, and delivery of the Loan
Documents, subject to the $4,000,000 cap specified in the Restructuring Support Agreement or


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the Confirmation Order for fees and expenses of Lender related to the formation of Borrowers
and restructuring of Debtor. Borrowers also shall pay or reimburse Lender for any and all out-
of-pocket expenses and internal charges (including attorneys’, auditors’, and accountants’ fees,
and time charges of attorneys, paralegals, auditors, and accountants who may be employees of
Lender) incurred or paid by Lender in connection with the administration of the Loan Documents
and the enforcement, collection, or protection of its rights in connection with the Loan
Documents, including its rights under this Section, or in connection with the Loans made
hereunder, including all such out-of pocket expenses incurred during any workout, restructuring,
or negotiations in respect of such Loans.

        (b)      The Borrowers, jointly and severally, shall indemnify the Lender, and each
Related Party of the Lender (each such Person being called an “Indemnitee”) against, and hold
each Indemnitee harmless from, any and all losses, claims, damages, penalties, incremental
taxes, liabilities and related expenses, including the fees, charges and disbursements of any
counsel for any Indemnitee, incurred by or asserted against any Indemnitee arising out of, in
connection with, or as a result of (i) the execution or delivery of the Loan Documents or any
agreement or instrument contemplated thereby, the performance by the parties hereto of their
respective obligations thereunder or the consummation of the Transactions or any other
transactions contemplated hereby, (ii) any Loan or the use of the proceeds therefrom, (iii) any
actual or alleged presence or Release of Hazardous Materials on or from any property owned or
operated by any Co-Borrower, or any Environmental Liability related in any way to any Co-
Borrower, or (iv) any actual or prospective claim, litigation, investigation or proceeding relating
to any of the foregoing, whether based on contract, tort or any other theory and regardless of
whether any Indemnitee is a party thereto; provided that such indemnity shall not, as to any
Indemnitee, be available to the extent that such losses, claims, damages, penalties, liabilities or
related expenses are determined by a court of competent jurisdiction by final and nonappealable
judgment to have resulted from the gross negligence or willful misconduct of such Indemnitee.
WITHOUT LIMITATION OF THE FOREGOING, IT IS THE INTENTION OF THE
BORROWERS AND EACH CO-BORROWER AGREES THAT THE FOREGOING
INDEMNITIES SHALL APPLY TO EACH INDEMNITEE WITH RESPECT TO LOSSES,
CLAIMS, DAMAGES, PENALTIES, LIABILITIES AND RELATED EXPENSES
(INCLUDING, WITHOUT LIMITATION, ALL EXPENSES OF LITIGATION OR
PREPARATION THEREFOR), WHICH IN WHOLE OR IN PART ARE CAUSED BY OR
ARISE OUT OF THE NEGLIGENCE OF SUCH (AND/OR ANY OTHER) INDEMNITEE.

        (c)    To the extent permitted by applicable law, each of the Co-Borrower and the
Lender agrees that it shall not assert, and hereby waives, any claim against the other, (i) for any
damages arising from the use by others of information or other materials obtained through
telecommunications, electronic or other information transmission systems (including the
Internet), or (ii) on any theory of liability, for special, indirect, consequential or punitive
damages (as opposed to direct or actual damages) arising out of, in connection with, or as a result
of, this Agreement, any other Loan Document, or any agreement or instrument contemplated
hereby or thereby, the Transactions, any Loan or the use of the proceeds thereof; provided that,
nothing in this paragraph (c) shall relieve any Co-Borrower of any obligation it may have to
indemnify an Indemnitee against special, indirect, consequential or punitive damages asserted
against such Indemnitee by a third party.


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      (d)     All amounts due under this Section shall be payable promptly after written
demand therefor.

       Section 8.04 Successors and Assigns.

        (a)    The provisions of this Agreement shall be binding upon and inure to the benefit of
the parties hereto and their respective successors and assigns permitted hereby, except that no
Co-Borrower may assign or otherwise transfer any of its rights or obligations hereunder without
the prior written consent of the Lender (and any attempted assignment or transfer by any Co-
Borrower without such consent shall be null and void). Nothing in this Agreement, expressed or
implied, shall be construed to confer upon any Person (other than the parties hereto, their
respective successors and assigns permitted hereby) and, to the extent expressly contemplated
hereby, the Related Parties of the Lender) any legal or equitable right, remedy or claim under or
by reason of this Agreement.

        (b)     The Lender may assign to one or more assignees all or a portion of its rights and
obligations under this Agreement (including all or a portion of its Commitment and the Loans at
the time owing to it) with the prior written consent (such consent not to be unreasonably
withheld, conditioned, or delayed) of the Borrowers, provided that the Borrowers shall be
deemed to have consented to any such assignment unless it shall object thereto by written notice
to the Lender within five (5) Business Days after having received notice thereof, and provided
further that no consent of the Borrowers shall be required if an Event of Default has occurred and
is continuing.

       (c)       The Lender may at any time pledge or assign a security interest in all or any
portion of its rights under this Agreement to secure obligations of the Lender.

        Section 8.05 Survival. All covenants, agreements, representations, and warranties
made by the Borrowers in the Loan Documents and in the certificates or other instruments
delivered in connection with or pursuant to this Agreement or any other Loan Document shall be
considered to have been relied upon by the other parties hereto and shall survive the execution
and delivery of the Loan Documents and the making of any Loans, regardless of any
investigation made by any such other party or on its behalf and notwithstanding that the Lender
may have had notice or knowledge of any Default or incorrect representation or warranty at the
time any credit is extended hereunder, and shall continue in full force and effect as long as the
principal of or any accrued interest on any Loan or any fee or any other amount payable under
this Agreement is outstanding and so long as the Commitment has not expired or terminated.
The provisions of Section 8.03 shall survive and remain in full force and effect regardless of the
consummation of the transactions contemplated hereby, the repayment of the Loans and the
Commitment or the termination of this Agreement or any other Loan Document or any provision
hereof or thereof.

       Section 8.06 Counterparts; Integration; Effectiveness.

        (a)    This Agreement may be executed in counterparts (and by different parties hereto
on different counterparts), each of which shall constitute an original, but all of which when taken
together shall constitute a single contract. This Agreement and the other Loan Documents


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constitute the entire contract among the parties relating to the subject matter hereof and
supersede any and all previous agreements and understandings, oral or written, relating to the
subject matter hereof. Except as provided in Section 4.01, this Agreement shall become
effective when it shall have been executed by the Lender and when the Lender shall have
received counterparts hereof which, when taken together, bear the signatures of each of the other
parties hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto
and their respective successors and assigns.

       (b)    Delivery of an executed counterpart of a signature page of this Agreement by fax,
emailed pdf. or any other electronic means that reproduces an image of the actual executed
signature page shall be effective as delivery of a manually executed counterpart of this
Agreement. THIS WRITTEN AGREEMENT REPRESENTS THE FINAL AGREEMENT
BETWEEN THE PARTIES AND MAY NOT BE CONTRADICTED BY EVIDENCE OF
PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL AGREEMENTS OF THE
PARTIES. THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
PARTIES.

        Section 8.07 Severability. Any provision of any Loan Document held to be invalid,
illegal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the
extent of such invalidity, illegality or unenforceability without affecting the validity, legality and
enforceability of the remaining provisions thereof; and the invalidity of a particular provision in
a particular jurisdiction shall not invalidate such provision in any other jurisdiction.

        Section 8.08 Right of Setoff. If an Event of Default shall have occurred and be
continuing, the Lender is hereby authorized at any time and from time to time, to the fullest
extent permitted by law, to set off and apply any and all deposits at any time held and other
obligations at any time owing by the Lender, to or for the credit or the account of any Co-
Borrower against any of and all the Secured Obligations, irrespective of whether or not the
Lender shall have made any demand under the Loan Documents and although such obligations
may be unmatured. The rights of the Lender under this Section are in addition to other rights and
remedies (including other rights of setoff) which the Lender may have.

       Section 8.09 Governing Law; Jurisdiction; Consent to Service of Process.

       (a)     The Loan Documents (other than those containing a contrary express choice of
law provision) shall be governed by and construed in accordance with the internal laws (and not
the law of conflicts) of the State of Texas, but giving effect to federal laws applicable to national
banks.

        (b)     Each party hereto hereby irrevocably and unconditionally submits, for itself and
its property, to the nonexclusive jurisdiction of any U.S. federal or Texas State court sitting in
Houston, Texas in any action or proceeding arising out of or relating to any Loan Documents, or
for recognition or enforcement of any judgment, and each of the parties hereto hereby
irrevocably and unconditionally agrees that all claims in respect of any such action or proceeding
may be heard and determined in such state court or, to the extent permitted by law, in such
federal court. Each of the parties hereto agrees that a final judgment, non-appealable in any such
action or proceeding may be enforced in other jurisdictions by suit on the judgment or in any


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other manner provided by law. Nothing in this Agreement or any other Loan Document shall
affect any right that the Lender may otherwise have to bring any action or proceeding relating to
this Agreement or any other Loan Document against any Co-Borrower or its properties in the
courts of any jurisdiction.

        (c)    Each party hereto hereby irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection which it may now or hereafter have to
the laying of venue of any suit, action or proceeding arising out of or relating to this Agreement
or any other Loan Document in any court referred to in paragraph (b) of this Section. Each of
the parties hereto hereby irrevocably waives, to the fullest extent permitted by law, the defense
of an inconvenient forum to the maintenance of such action or proceeding in any such court.

      (d)     Each party to this Agreement irrevocably consents to service of process in the
manner provided for notices in Section 8.01. Nothing in this Agreement or any other Loan
Document will affect the right of any party to this Agreement to serve process in any other
manner permitted by law.

      Section 8.10 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT
IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY OTHER
LOAN DOCUMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY OR
THEREBY (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY).
EACH PARTY HERETO (A) CERTIFIES THAT NO REPRESENTATIVE OR OTHER
AGENT (INCLUDING ANY ATTORNEY) OF ANY OTHER PARTY HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE
EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND
(B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE BEEN
INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

       Section 8.11 Headings. Article and Section headings and the Table of Contents used
herein are for convenience of reference only, are not part of this Agreement and shall not affect
the construction of, or be taken into consideration in interpreting, this Agreement.

        Section 8.12 Interest Rate Limitation. No provision of this Agreement or of any other
Loan Documents shall require the payment or the collection of interest in excess of the
Maximum Rate. If any excess of interest in such respect is hereby provided for, or shall be
adjudicated to be so provided, in any other Loan Documents or otherwise in connection with this
Agreement, the provisions of this Section shall govern and prevail and no Co-Borrower or the
sureties, guarantors, successors or assigns of such Co-Borrower shall be obligated to pay the
excess amount of such interest or any other excess sum paid for the use, forbearance or detention
of sums loaned pursuant hereto. In the event Lender ever receives, collects or applies as interest
any such sum, such amount which would be in excess of the maximum amount permitted by
applicable law shall be applied as a payment and reduction of the principal of the indebtedness
evidenced by the Note; and, if the principal of the Note been paid in full, any remaining excess
shall forthwith be paid to Borrowers. In determining whether or not the interest paid or payable

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exceeds the Maximum Rate, Borrowers and Lender shall, to the extent permitted by applicable
law, (a) characterize any non-principal payment as an expense, fee or premium rather than as
interest, (b) exclude voluntary prepayments and the effects thereof and (c) amortize, prorate,
allocate and spread in equal or unequal parts the total amount of interest throughout the entire
contemplated term of the indebtedness evidenced by the Note so that interest for the entire term
does not exceed the Maximum Rate

        Section 8.13 No Advisory or Fiduciary Responsibility. In connection with all aspects
of each transaction contemplated hereby (including in connection with any amendment, waiver
or other modification hereof or of any other Loan Document), each Co-Borrower acknowledges
and agrees that: (a) (i) the arranging and other services regarding this Agreement provided by
the Lender are arm’s-length commercial transactions between the Borrowers, on the one hand,
and the Lender, on the other hand, (ii) the Borrowers have consulted their own legal, accounting,
regulatory and tax advisors to the extent it has deemed appropriate, and (iii) the Borrowers are
capable of evaluating, and understands and accepts, the terms, risks and conditions of the
transactions contemplated hereby and by the other Loan Documents; (b) (i) the Lender is and has
been acting solely as a principal and, except as expressly agreed in writing by the relevant
parties, has not been, is not, and will not be acting as an advisor, agent or fiduciary for the
Borrowers, or any other Person and (ii) the Lender has no obligation to the Borrowers with
respect to the transactions contemplated hereby except those obligations expressly set forth
herein and in the other Loan Documents; and (c) the Lender may be engaged in a broad range of
transactions that involve interests that differ from those of the Borrowers, and the Lender has no
obligation to disclose any of such interests to the Borrowers. To the fullest extent permitted by
law, each Co-Borrower hereby waives and releases any claims that it may have against the
Lender with respect to any breach or alleged breach of agency or fiduciary duty in connection
with any aspect of any transaction contemplated hereby.

       Section 8.14 Joint and Several Liability.

        (a)     Each Co-Borrower acknowledges and agrees that it is the intent of the parties that
each Co-Borrower be primarily liable for the Secured Obligations as a joint and several obligor.
It is the intention of the parties that, with respect to liability of any Co-Borrower hereunder
arising solely by reason of its being jointly and severally liable for Loans and other Secured
Obligations by other Borrower, the obligations of such Co-Borrower shall be absolute,
unconditional, and irrevocable irrespective of:

             (i)   any lack of validity, legality, or enforceability of this Agreement or any
       Loan Document as to any other Co-Borrower;

              (ii)    the failure of the Lender: (A) to enforce any right or remedy against any
       Co-Borrower or any other Person (including any surety) under the provisions of this
       Agreement or otherwise, or (B) to exercise any right or remedy against any surety of, or
       Collateral securing, any obligations;

              (iii) any change in the time, manner, or place of payment of, or in any other
       term of, all or any of the Secured Obligations, or any other extension, compromise, or
       renewal of any Secured Obligations;


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              (iv)    any reduction, limitation, impairment, or termination of any Secured
       Obligations with respect to any other Co-Borrower for any reason, including any claim of
       waiver, release, surrender, alteration, or compromise, and shall not be subject to (and
       each Co-Borrower hereby waives any right to or claim of) any defense (other than the
       defense of payment in full of the Secured Obligations) or setoff, counterclaim,
       recoupment, or termination whatsoever by reason of the invalidity, illegality,
       nongenuineness, irregularity, compromise, unenforceability of, or any other event or
       occurrence affecting, any Secured Obligations with respect to any other Co-Borrower;

              (v)     any addition, exchange, release, surrender, or nonperfection of any
       Collateral, or any amendment to, or waiver or release or addition of, or consent to
       departure from, any guaranty held by the Lender securing any of the Secured Obligations;
       or

              (vi)    any other circumstance which might otherwise constitute a defense (other
       than the defense of payment in full of the Secured Obligations) available to, or a legal or
       equitable discharge of, any other Co-Borrower, any surety or any guarantor.

        (b)   Each Co-Borrower agrees that its liability hereunder and its liability under any of
the Loan Documents shall continue to be effective or be reinstated, as the case may be, if at any
time any payment (in whole or in part) of any of the Secured Obligations is rescinded or must be
restored by Lender upon the insolvency, bankruptcy, or reorganization of any Co-Borrower as
though such payment had not been made.

        (c)    Each Co-Borrower hereby expressly waives: (i) notice of the Lender’s acceptance
of this Agreement; (ii) notice of the existence or creation or non-payment of all or any of the
Secured Obligations other than notices expressly provided for in this Agreement; (iii)
presentment, demand, notice of dishonor, protest, acceleration and the notice of intent to
accelerate, and all other notices whatsoever other than notices expressly provided for in this
Agreement; and (iv) all diligence in collection or protection of, or realization upon, the Secured
Obligations or any part thereof, any obligation hereunder, or any security for or Guarantee of any
of the foregoing, subject, however, in the case of Collateral in the possession of Lender to such
Person’s duty to use reasonable care in the custody and preservation of such Collateral.

      (d)     No delay on the Lender’s part in the exercise of any right or remedy shall operate
as a waiver thereof, and no single or partial exercise by any of the Lenders of any right or
remedy shall preclude other or further exercise thereof or the exercise of any other right or
remedy. No action of Lender permitted hereunder shall in any way affect or impair any such
Lender’s rights or any Co-Borrower’s Secured Obligations under this Agreement or the other
Loan Documents.

     Section 8.15 NOTICE OF FINAL AGREEMENT. THIS AGREEMENT AND THE
OTHER LOAN DOCUMENTS REPRESENT THE FINAL AGREEMENT BETWEEN THE
PARTIES RELATING TO THE SUBJECT MATTER HEREOF AND THEREOF AND MAY
NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR
SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES. THERE ARE NO UNWRITTEN
ORAL AGREEMENTS BETWEEN THE PARTIES.


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       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed by their respective authorized officers as of the day and year first above written.

                                          BORROWERS:

                                          FIELDWOOD ENERGY I LLC,
                                          a Texas limited liability company



                                          By:_______________________________________
                                          Name: ____________________________________
                                          Title: _____________________________________

                                          GOM SHELF LLC,
                                          a Delaware limited liability company



                                          By:_______________________________________
                                          Name: ____________________________________
                                          Title: _____________________________________




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                                     LENDER:

                                     APACHE CORPORATION,
                                     a Delaware corporation, as Lender



                                     By:_______________________________________
                                     Name: ____________________________________
                                     Title: _____________________________________




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                                                SCHEDULE 3.04 3

                                                      Properties




3
    To be completed in a manner mutually agreeable to all parties as a condition to Apache’s execution.


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                                                SCHEDULE 3.11 4

                                                      Insurance




4
    To be completed in a manner mutually agreeable to all parties as a condition to Apache’s execution.


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                                                SCHEDULE 3.16 5

                                               Affiliate Transactions




5
    To be completed in a manner mutually agreeable to all parties as a condition to Apache’s execution.


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                                           EXHIBIT A

                                           Form of Note



                                               NOTE


$200,000,000                                                                    BBBBBBBBBBB>Ɣ@


        FOR VALUE RECEIVED, each of the undersigned, FIELDWOOD ENERGY I LLC, a
Texas limited liability company (“Fieldwood”) and GOM SHELF LLC, a Delaware limited liability
company (“GOM” together with Fieldwood, the “Borrowers”), jointly and severally, promises to
pay to APACHE CORPORATION, a Delaware corporation (the “Lender”), at the place and times
provided in the Loan Agreement referred to below, the principal sum of TWO HUNDRED
MILLION DOLLARS ($200,000,000) or, if less, the unpaid principal amount of all Loans made by
the Lender from time to time pursuant to that certain Standby Loan Agreement, dated as of
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time to time, the “Loan Agreement”) by and among the Borrowers and the Lender. Capitalized
terms used herein and not defined herein shall have the meanings assigned thereto in the Loan
Agreement.

       The unpaid principal amount of this Note from time to time outstanding is subject to
mandatory repayment from time to time as provided in the Loan Agreement and shall bear interest
as provided in Section 2.07 of the Loan Agreement. All payments of principal and interest on this
Note shall be payable in lawful currency of the United States in immediately available funds to the
Lender in accordance with the Loan Agreement.

        This Note is entitled to the benefits of, and evidences the Secured Obligations incurred
under, the Loan Agreement, to which reference is made for a statement of the terms and conditions
on which each Borrower is permitted and required to make prepayments and repayments of
principal of the Secured Obligations evidenced by this Note and under which such Secured
Obligations may be declared to be immediately due and payable.

        This Note and any claim, controversy, dispute or cause of action (whether in contract or tort
or otherwise) based upon, arising out of or relating to this Note shall be governed by, and construed
in accordance with, the law of the State of Texas.

        The Borrowers hereby waive all requirements as to diligence, presentment, demand of
payment, protest and, except as required by the Loan Agreement, notice of any kind with respect to
this Note.

        This Note may be transferred or assigned solely in accordance with the terms and provisions
of the Loan Agreement.


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       This Note may be executed in multiple counterparts, each of which, for all purposes, shall
be deemed an original, and all of which taken together shall constitute but one and the same
instrument.

         IN WITNESS WHEREOF, the undersigned have executed this Note as of the day and year
first above written.


                                            FIELDWOOD ENERGY I LLC,
                                            a Texas limited liability company

                                                By:___________________________________
                                                Name:_________________________________
                                                Title:__________________________________


                                            GOM SHELF LLC,
                                            a Delaware limited liability company

                                                By:___________________________________
                                                Name:_________________________________
                                                Title:__________________________________




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                                                    EXHIBIT B 6

                                            Form of Borrowing Request



                                            BORROWING REQUEST
                                                                                         _______________, 20__

Apache Corporation
2000 Post Oak Boulevard, Suite 100
Houston, Texas 77056
Attention:    Treasurer and Nora Dobin
Email: ben.rodgers@apachecorp.com and nora.dobin@apachecorp.com


Apache Corporation,

       Reference is made to that certain Loan Agreement, dated as of _________ (the “Loan
Agreement”), among Fieldwood Energy I LLC (“Fieldwood”), GOM Shelf LLC (“GOM”,
together with Fieldwood, the “Borrowers” and each individually, a “Co-Borrower”) and Apache
Corporation (“Lender”). Terms defined in the Loan Agreement are used herein with the same
meanings. This notice constitutes a Borrowing Request and Borrowers hereby request a Loan
under the Loan Agreement, and in that connection Borrowers specify the following information
with respect to the Loan requested hereby:

           (A)      Principal amount of the requested Loan:

           (B)      Effective date of such requested Loan (which is a Business Day):

           (C)      the aggregate principal amount of all Loans then outstanding:

      Borrowers hereby represent and warrant that all conditions in Section 4.02 of the Loan
Agreement are satisfied.

      Borrowers have caused this Borrowing Request to be executed and delivered by its
[Authorized Officer/Manager] this ___ day of ________________, 20__.

                                                        Very truly yours,

                                                        [FIELDWOOD ENERGY I LLC]


                                                        By:
                                                        Name:

6
    Form to be mutually agreeable to all parties as a condition to Apache’s execution.


                                                     Exhibit B - 1
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                                   Title:


                                   [GOM SHELF LLC]


                                   By:
                                   Name:
                                   Title:




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                                                 EXHIBIT C 7

                                      Form of Compliance Certificate



                                      COMPLIANCE CERTIFICATE

       In connection with that certain Standby Loan Agreement, dated as of __________ (the
“Loan Agreement”), among Fieldwood Energy I, LLC (“Fieldwood”), GOM Shelf LLC
(“GOM”, together with Fieldwood, the “Borrowers”) and Apache Corporation (“Lender”), the
undersigned, the Manager of Fieldwood does hereby certify, pursuant to Section 5.01(c) of the
Loan Agreement, as follows (capitalized terms hereinafter used having the meaning specified in
the Loan Agreement):

        1.      In accordance with Sections 5.01(a) or (b) of the Loan Agreement, the
consolidated balance sheet and related consolidated statements of operations, members’ equity
and cash flows financial statements of Fieldwood and its consolidated Subsidiaries as of
_________, 20__ present fairly in all material respects their consolidated financial condition and
results of operations in accordance with GAAP at such date.

        2.       No Default has occurred and is continuing [other than ____________]. 8

       3.     As of the date hereof, the outstanding principal balance of all Loan advanced
under the Loan Agreement is $__________. The Borrowers have sufficient funds to pay all
accrued interest due under Section 2.07(c) of the Loan Agreement for the following six (6)
month period.

      IN WITNESS WHEREOF, I have hereunto set my hand as of this ___ day of
___________, _____.




                                                     Name:
                                                     Title: Manager




77
    Form to be mutually agreeable to all parties as a condition to Apache’s execution.
8
  If Default has occurred, Borrower shall specify details thereof and any action taken or proposed to be taken with
respect thereto.



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                                     Exhibit 9

                              Security Agreement




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                                    Exhibit 10

                    Guarantee (Fieldwood Energy I LLC)




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                         Guarantee (GOM Shelf LLC)




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                               Form of Mortgages




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                                    Exhibit 13

             Form of Amendment to Unit Operating Agreement




               [Exhibit to Apache Term Sheet Implementation Agreement]
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         (     (Optional Provision – Forfeiture Penalties)
               If the Non-Operators fail to meet the deadline in Section I.5.C, any unresolved exceptions that were not addressed by the Non-
               Operators within one (1) year following receipt of the last substantive response of the Operator shall be deemed to have been
               withdrawn by the Non-Operators. If the Operator fails to meet the deadlines in Section I.5.B or I.5.C, any unresolved exceptions that
               were not addressed by the Operator within one (1) year following receipt of the audit report or receipt of the last substantive response
               of the Non-Operators, whichever is later, shall be deemed to have been granted by the Operator and adjustments shall be made,
               without interest, to the Joint Account.
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           Facilities Furnished by Operator  ,I WKH FRPPXQLFDWLRQ IDFLOLWLHV RU V\VWHPV VHUYLQJ WKH -RLQW 3URSHUW\ DUH RZQHG E\ WKH 2SHUDWRU¶V
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             ZULWWHQQRWLFHWKDWDPDMRULW\LQLQWHUHVWRIWKH1RQ2SHUDWRUVKDVUHTXHVWHGWKHLQYHQWRU\$OO3DUWLHVVKDOOEHJRYHUQHGE\WKHUHVXOWVRI
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                                    Exhibit 14

                              Farmout Agreement




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                                  EXHIBIT “D”

Attached to and made a part of that certain Farmout Agreement dated effective
__, 202_, by and between ____________, as Operator, and ____________, as Non-
Operators


               OFFSHORE OPERATING AGREEMENT


                        ____________________
                               (OPERATOR)


                                    AND


                        ____________________,
          ____________________, and ____________________
                           (NON-OPERATORS)


                                COVERING
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                     EFFECTIVE                    , 20__




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                               OFFSHORE OPERATING AGREEMENT

This Offshore Operating Agreement (the “Agreement’), made effective the___ day of                    , 20__,
by the signers hereof, their respective heirs, successors, legal representatives, and assigns, herein
referred to collectively as the “Parties” and individually as a “Party”.


WHEREAS, the Parties own or control a leasehold interest in the Lease identified in Exhibit “A” and
desire to explore, develop, produce, and operate the Lease pursuant to this Agreement.


NOW, THEREFORE, in consideration of the foregoing premises and the mutual covenants in this
Agreement, along with other good and valuable consideration, the receipt of which is hereby
acknowledged, the Parties agree as follows:



                                                 ARTICLE 1
                                                APPLICATION

1.1       Application to Each Lease
          This Agreement applies separately to each oil and gas Lease or portion thereof described in
          Exhibit “A”.



                                                 ARTICLE 2
                                                DEFINITIONS

2.1       Additional Testing
          An operation not previously approved in the AFE and proposed for the specific purpose of
          obtaining additional subsurface data.
2.2       Affiliate
          For a person, another person that controls, is controlled by, or is under common control with that
          person. In this definition, (a) “control” means the ownership by one (1) person, directly or
          indirectly, of more than fifty percent (50%) of the voting securities of a corporation or, for other
          persons, the equivalent ownership interest (such as partnership interests), and (b) “person”
          means an individual, corporation, partnership, trust, estate, unincorporated organization,
          association, or other legal entity.
2.3       Authorization for Expenditure (AFE)
          An authority to expend funds prepared by a Party to estimate the costs to be incurred in
          conducting an operation under this Agreement.
2.4      BOEMRE
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          The Bureau of Ocean Energy Management and/or Bureau of Safety and Environmental
          Enforcement, United States Department of Interior, or their successor agency.                   Where
          appropriate, the reference to BOEMRE shall include the appropriate state agency.
2.5      Complete, Completing, Completion
          An operation to complete a well for initial Hydrocarbon production in one (1) or more Producible
          Reservoirs, including but not limited to setting production casing, perforating the casing,
          stimulating the well, installing Completion Equipment, and/or conducting production tests.
2.6      Completion Equipment
          That certain equipment on an Exploratory Well or a Development Well required to be installed
          before the movement of a well-completion rig off that well:
          (a)      under 30 CFR 250.502, or any succeeding order or regulation issued by the BOEMRE,
                   up to and including the tree, and
          (b)      by any other regulatory agency having jurisdiction, including but not limited to a caisson
                   and navigational aids.
2.7      Confidential Data
          The information and data obtained under this Agreement, including but not limited to geological,
          geophysical, and reservoir information; originals and copies of logs; core and core analysis; and
          other well information including but not limited to the progress, tests, or results of a well drilled or
          an operation conducted under this Agreement, except data or information that becomes public
          other than by breach of this Agreement or as agreed to in writing by the Participating Parties.
2.8      Contract Area
          The “Contract Area” described in Exhibit “A”.
2.9      Deepen, Deepening
          A drilling operation conducted in an existing wellbore below the Objective Depth to which the well
          was previously drilled.
2.9       Development Facilities
          Production equipment other than Completion Equipment that is installed on or outside the Lease
          in order to handle or process Hydrocarbon production. Development Facilities include, but are not
          limited to:
          (a)      compression, separation, dehydration, generators, treaters, skimmers, bunkhouses, and
                   metering equipment;
          (b)      the flowlines, gathering lines, or lateral lines that deliver Hydrocarbons and water
                   1       from the Completion Equipment to the Platform or to Offsite Host Facilities, or
                   2       from the Platform to Export Pipelines; and
          (c)      injection and disposal wells.
2.10     Development Operation
          An operation on the Lease other than an Exploratory Operation.

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2.11      Development Well
          A well or portion of a well proposed as a Development Operation.
2.12     Exploratory Operation
          An operation that is conducted on the Lease and that is any of the following:
          (a)     proposed to Complete an Exploratory Well;
          (b)     proposed for an Objective Horizon that is not a Producible Reservoir; or
          (c)     proposed for an Objective Horizon that has a Producible Well, but that will be penetrated
                  at a location where the distance between the midpoint of the Objective Horizon to be
                  penetrated by the proposed operation and the midpoint of the same Objective Horizon
                  where it is actually penetrated by a Producible Well will be at least two thousand (2,000)
                  feet for a gas Completion and at least one thousand (1,000) feet for an oil Completion.
2.13      Exploratory Well
          A well or portion of a well proposed as an Exploratory Operation.
2.14     Export Pipelines
          Pipelines to which a gathering line or lateral line downstream of the Platform and/or Development
          Facilities or, if there is no Platform, the Completion Equipment, is connected and that are used to
          transport Hydrocarbons or produced water to shore.
2.15      Force Majeure
          An event or cause that is reasonably beyond the control of the Party claiming the existence of
          such event or cause and that reasonably prevents such Party from fulfilling its obligations under
          this Agreement, including, but not limited to, a flood, a storm, a hurricane, a loop current/eddy, or
          other act of God, a fire, loss of well control, an oil spill, or other environmental catastrophe, a war,
          a terrorist act, a civil disturbance, a labor dispute, a strike, a lockout, compliance with a law,
          order, rule, or regulation, governmental action or delay in granting necessary permits or permit
          approvals, and the inability to secure materials or a rig.
2.16      Hydrocarbons
          Oil and/or gas and associated liquid and gaseous by-products (except helium) that may be
          produced from a wellbore located on the Lease.
2.17      Joint Account
          This term has the same definition as the defined term “Joint Account” in Exhibit “C” (Accounting
          Procedure).
2.18      Lease
          Each oil and gas lease identified in Exhibit “A” and the lands covered by that lease.
2.19      Non-consent Operation
          An operation conducted on the Lease by fewer than all Parties, which subjects the Non-
          participating Party to Article 13 (Non-Consent Operations).
2.20      Non-consent Platform

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          A Platform owned by fewer than all Parties.
2.21      Non-consent Well
          An Exploratory Well or a Development Well owned by fewer than all Parties.
2.22      Non-operator(s)
          A Party other than Operator.
2.23      Non-participating Party
          A Party other than a Participating Party.
2.24      Non-participating Party’s Share
          The Participating Interest that a Non-participating Party would have had if all Parties had
          participated in the operation.
2.25      Objective Depth
          A depth sufficient to test the lesser of the Objective Horizon or the specific footage depth stated in
          the AFE and approved by the Participating Parties.
2.26      Objective Horizon
          The interval consisting of the deepest zone, formation, or horizon to be tested in an Exploratory
          Well, Development Well, Deepening operation, or Sidetracking operation, as stated in the AFE
          and approved by the Participating Parties.
2.27      Offsite Host Facilities
          Development and handling facilities that (a) are located off the Lease and (b) are either owned by
          one (1) or more third parties or by one (1) or more Participating Parties in a well, whose interests
          in the development and handling facilities differ from their respective Working Interest shares in
          the well.
2.28      Operator
          The Party designated as Operator pursuant to Article 4 of this Agreement.
2.29      Participating Interest
          The percentage of the costs and risks of conducting an operation under this Agreement that a
          Participating Party agrees, or is otherwise obligated, to pay and bear.
2.30      Participating Party
          A Party that executes an AFE for a proposed operation or otherwise agrees, or becomes liable, to
          pay and bear a share of the costs and risks of conducting an operation under this Agreement.
2.31      Platform
          An offshore structure on the Lease that supports Wells, Completion Equipment, or Development
          Facilities, whether fixed, compliant, or floating, and the components of that structure, including but
          not limited to caissons or well protectors to the extent that same are not Completion Equipment,
          rising above the water line and used for the exploration, development, or production of
          Hydrocarbons.     The term “Platform” shall also mean any offshore equipment or template
          (excluding templates used for drilling operations) and any component thereof, other than

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          Completion Equipment (including but not limited to flow lines and control systems), that is resting
          on or attached to the sea floor and used to obtain production of Hydrocarbons.
2.32      Producible Reservoir
          An underground accumulation of Hydrocarbons (a) in a single and separate natural pool
          characterized by a distinct pressure system, (b) not in Hydrocarbon communication with another
          accumulation of Hydrocarbons, and (c) into which a Producible Well has been drilled.
2.33      Producible Well
          A well that is drilled under this Agreement and that (a) is producing Hydrocarbons; (b) is
          determined to be, or meets the criteria for being determined to be, capable of producing
          Hydrocarbons in paying quantities under an applicable order or regulation issued by the
          governmental authority having jurisdiction; or (c) is determined to be a Producible Well by one (1)
          or more Participating Parties having a combined Working Interest of fifty percent (50%) or more,
          even if the well has been plugged and permanently or temporarily abandoned.
2.34      Production Interval
          A zone or interval producing or capable of producing Hydrocarbons from a well without
          Reworking operations.
2.35      Recomplete, Recompleting, Recompletion
          An operation whereby a Completion in one (1) Producible Reservoir is abandoned in order to
          attempt a Completion in a different Producible Reservoir within the existing wellbore.
2.36      Rework, Reworking
          An operation conducted in a well, after it has been Completed in one (1) or more Producible
          Reservoirs, to restore, maintain, or improve Hydrocarbon production from one (1) or more of
          those Producible Reservoirs, but specifically excluding drilling, Sidetracking, Deepening,
          Completing, or Recompleting the well.
2.37      Sidetrack, Sidetracking
          The directional control and intentional deviation of a well to change the bottom-hole location,
          whether it be to the original Objective Depth or formation or another bottom-hole location not
          deeper than the stratigraphic equivalent of the initial Objective Depth, unless the intentional
          deviation is done to straighten the hole or to drill around junk in the hole or to overcome other
          mechanical difficulties.
2.38      Take-in-Kind Facilities
          Facilities that (i) are not paid for by the Joint Account and (ii) are installed for the benefit and use
          of a particular Party or Parties to take its or their share of Hydrocarbon production in kind.
2.39      Transfer of Interest
          A conveyance, assignment, transfer, farmout, exchange, or other disposition of all or part of a
          Party’s Working Interest.
2.40      Working Interest

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          The record title interest, or where applicable, the operating rights of each Party in and to each
          Lease (expressed as the percentage provided in Exhibit “A”). If a Party’s record title interest is
          different from its operating rights, the Working Interest of each Party is the interest provided in
          Exhibit “A”.
Any capitalized terms used herein, but not defined herein, shall have the meaning attributable to them in
that certain Farmout Agreement dated effective ____________ __, 20__, by and between
____________, ____________, ____________, ____________ and ____________ (the “Farmout
Agreement”).



                                                    ARTICLE 3
                                                    EXHIBITS

3.1       Exhibits
          The following exhibits are attached to this Agreement and incorporated into this Agreement by
          reference:
          3.1.1    Exhibit “A”
                            Operator, Description of Lease, Division of Interests, and Notification Addresses


         3.1.2    Exhibit “B”
                            Insurance provisions.
          3.1.3    Exhibit “C”
                            Accounting procedure.
          3.1.4    Exhibit “D”
                            Non-discrimination Provisions.
          3.1.5    Exhibit “E”
                            Gas Balancing Agreement.
          3.1.6    Exhibit “F”
                            Memorandum of Operating Agreement and Financing Statement.
3.2       Conflicts
          If a provision of an exhibit, except Exhibits “D” or “E” is inconsistent with a provision in the body of
          this Agreement, the provision in the body of this Agreement shall prevail. If a provision of Exhibit
          “D” or “E” is inconsistent with a provision in the body of this Agreement, the provision of the
          exhibit shall prevail.




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                                               ARTICLE 4
                                               OPERATOR

4.1       Operator
          ____________ is designated as Operator of the Lease. The Parties shall promptly execute and
          provide Operator with all documents required by the BOEMRE in connection with the designation
          of ____________ as Operator or with the designation of any other Party as a substitute or
          successor Operator. Unless agreed to the contrary by all Parties hereto, Operator shall also be
          classified as the designated applicant for oil spill financial responsibility purposes and each Non-
          operator Party shall promptly execute the appropriate documentation reflecting this designation
          and promptly provide same to Operator for filing with BOEMRE.
4.2       Circumstances Under Which Operator Must Conduct a Non-Consent Operation
          If:
          (a)     a drilling rig is on location and Operator becomes a Non-participating Party in a
                  supplemental AFE for an Exploratory Operation, or Development Operation, or
          (b)     Operator becomes a Non-participating Party in an operation to be conducted from a
                  Platform operated by Operator,
          Operator, as a Non-participating Party, shall conduct the Non-consent Operation on behalf of the
          Participating Parties and at the Participating Parties’ sole cost and risk under Article 13 (Non-
          Consent Operations).
4.3       Operator’s Conduct of a Non-Consent Operation in Which it is a Non-participating Party
          When, under Article 4.2 (Circumstances Under Which Operator Must Conduct a Non-Consent
          Operation), Operator conducts a Non-consent Operation in which it is a Non-participating Party, it
          shall follow the practices and standards in Article 5 (Exclusive Right to Operate). Notwithstanding
          anything to the contrary in Exhibit “C”, Operator shall not be required to proceed with the Non-
          consent Operation until the Participating Parties have advanced the total estimated costs of the
          Non-consent Operation to Operator. Operator shall never be obligated to expend any of its own
          funds for the Non-consent Operation in which it is a Non-participating Party.
4.4       Resignation of Operator
          Subject to Article 4.6 (Selection of Successor), Operator may resign at any time by giving written
          notice to the Parties, except that Operator may not without the other Parties’ consent resign
          during a Force Majeure or an emergency that poses a threat to life, safety, property, or the
          environment. If Operator or its Affiliates cease to own a Working Interest, Operator automatically
          shall be deemed to have resigned as Operator without any action by the Non-operator(s).
4.5       Removal of Operator
          Operator may be removed by an affirmative vote of the Parties owning a combined Working
          Interest of fifty percent (50%) or more of the remaining Working Interest after excluding

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          Operator’s Working Interest if:
          (a)     Operator becomes insolvent or unable to pay its debts as they mature, makes an
                  assignment for the benefit of creditors, commits an act of bankruptcy, or seeks relief
                  under laws providing for the relief of debtors;
          (b)     a receiver is appointed for Operator or for substantially all its property or affairs;
          (c)     a Transfer of Interest by Operator (excluding an interest assigned to an Affiliate) reduces
                  Operator’s Working Interest to less than the Working Interest of any Non-operator,
                  whether accomplished by one (1) or more Transfer of Interest.
          (d)     Operator commits a substantial breach of a material provision of this Agreement and fails
                  to cure the breach within thirty (30) days after notice of the breach.
4.6       Selection of Successor
          On resignation or removal of Operator, a successor Operator shall be selected from among the
          Parties by an affirmative vote of one (1) or more Parties having a combined Working Interest of
          fifty percent (50%) or more. If the resigned or removed Operator is not entitled to vote, fails to
          vote, or votes only to succeed itself, the successor Operator shall be selected by the affirmative
          vote of the Parties owning a combined Working Interest of fifty percent (50%) or more of the
          remaining Working Interest after excluding the Working Interest of the resigned or removed
          Operator. If Operator assigns all or a part of its Working Interest, under Article 4.4 (Resignation
          of Operator) or Article 4.5(c), the Party that acquired all or a part of the former Operator’s Working
          Interest shall not be excluded from voting for a successor Operator. If there are only two (2)
          Parties to this Agreement when Operator resigns or is removed, the Non-operator automatically
          has the right, but not the obligation, to become Operator.          If no Party is willing to become
          Operator, this Agreement shall terminate under Article 27.1 (Term).
4.7       Effective Date of Resignation or Removal
          The resignation or removal of Operator shall become effective as soon as practical but no later
          than 7:00 a.m. on the first day of the month following a period of ninety (90) days after the date of
          resignation or removal, unless a longer period is required for the Parties to obtain approval of the
          designation of the successor Operator, and designated applicant for oil spill financial
          responsibility purposes, by the BOEMRE; however, in no event shall the resignation or removal of
          Operator become effective until a successor Operator has assumed the duties of Operator. The
          resignation or removal of the outgoing Operator shall not prejudice any rights, obligations, or
          liabilities resulting from its operatorship. The successor Operator may charge the Joint Account
          for reasonable costs incurred in connection with copying or obtaining the former Operator’s
          records, information, or data except when the change of Operator results from a merger,
          consolidation, reorganization, or sale or transfer to an Affiliate of Operator.
4.8       Delivery of Property
          On the effective date of resignation or removal of Operator, the outgoing Operator shall deliver or

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          transfer to the successor Operator custodianship of the Joint Account and possession of all items
          purchased for the Joint Account under this Agreement, all Hydrocarbons that are not the separate
          property of a Party, and all equipment, materials, and appurtenances purchased for the Joint
          Account under this Agreement, which are not already in the possession of the successor
          Operator.   The outgoing Operator shall further use its reasonable efforts to transfer to the
          successor Operator, as of the effective date of the resignation or removal, its rights as Operator
          under all contracts exclusively relating to the activities or operations conducted under this
          Agreement, and the successor Operator shall assume all obligations of Operator that are
          assignable under the contracts.     The Parties may audit the Joint Account and conduct an
          inventory of all property and all Hydrocarbons that are not the separate property of a Party, and
          the inventory shall be used in the accounting to all Parties by the outgoing Operator of the
          property and the Hydrocarbons that are not the separate property of a Party. The inventory and
          audit shall be conducted under Exhibit “C”.



                                        ARTICLE 5
                            AUTHORITY AND DUTIES OF OPERATOR

5.1       Exclusive Right to Operate
          Unless otherwise provided in this Agreement, Operator shall have the exclusive right and duty to
          conduct operations (or cause them to be conducted) under this Agreement.            In performing
          services under this Agreement for the Non-operators, Operator shall be an independent
          contractor, not subject to the control or direction of Non-operators, except for the type of
          operation to be undertaken in accordance with the voting and election procedures in this
          Agreement. No Party shall be deemed to be, or hold itself out as, the agent or fiduciary of
          another Party.
5.2       Workmanlike Conduct
          Operator shall timely commence and conduct all operations in a good and workmanlike manner,
          as would a prudent operator under the same or similar circumstances. OPERATOR SHALL NOT
          BE LIABLE TO NON-OPERATORS FOR LOSSES SUSTAINED OR LIABILITIES INCURRED,
          EXCEPT AS MAY RESULT FROM OPERATOR’S GROSS NEGLIGENCE OR WILLFUL
          MISCONDUCT. Operator shall never be required under this Agreement to conduct an operation
          that it believes would be unsafe or would endanger persons, property, or the environment.
          Unless otherwise provided in this Agreement, Operator shall consult with Non-operators and keep
          them informed of all important matters.
5.3       Liens and Encumbrances
          Operator shall endeavor to keep the Lease, wells, Platforms, Development Facilities, and other
          equipment free from all liens and other encumbrances occasioned by operations hereunder,

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          except those provided in Article 8.6 (Security Rights).
5.4       Employees and Contractors
          Operator shall select employees and contractors and determine their number, hours of labor, and
          compensation.
5.5       Records
          Operator shall keep or cause to be kept accurate books, accounts, and records of activities or
          operations under this Agreement in compliance with the Accounting Procedure in Exhibit “C”.
          Unless otherwise provided in this Agreement, all records of the Joint Account shall be available to
          a Non-operator as provided in Exhibit “C”. Operator shall use good-faith efforts to ensure that the
          settlements, billings, and reports rendered to each Party under this Agreement are complete and
          accurate.
5.6       Compliance
          Operator shall comply, and shall require all agents and contractors to comply, with all applicable
          laws, rules, regulations, and orders of governmental authorities having jurisdiction. Each Non-
          operator Party shall take all action, including the execution of all documents and forms, as
          necessary for Operator to comply with all applicable laws, rules, regulations, and orders of
          governmental authorities having jurisdiction.
5.7       Contractors
          Operator may enter into contracts with qualified and responsible independent contractors for the
          design, construction, installation, drilling, production, or operation of wells, Platforms, and
          Development Facilities. Operator shall, in its discretion, use competitive bidding to procure goods
          and services for the benefit of the Parties. All drilling operations conducted under this Agreement
          shall be conducted by properly qualified and responsible drilling contractors under current
          competitive contracts. A drilling contract will be presumed to be a current competitive contract if it
          (a) was made within twelve (12) months before the commencement of the well and (b) contains
          terms, rates, and provisions that, when the contract was made, did not exceed those generally
          prevailing in the area for operations involving substantially equivalent rigs that are capable of
          conducting the drilling operation. At its election, Operator may use its own or an Affiliate’s drilling
          equipment, derrick barge, tools, or machinery to conduct drilling operations, but the work shall be
          (i) performed by Operator or its Affiliate acting as an independent contractor, (ii) approved by
          written agreement with the Participating Parties before commencement of operations, and (iii)
          conducted under the same terms and conditions and at the same rates as are customary and
          prevailing in competitive contracts of third parties doing work of similar nature.
5.8       Governmental Reports
          Operator shall make reports to governmental authorities it has a duty to make as Operator and
          shall furnish copies of the reports to the Participating Parties. Each Non-operator Party shall take
          all action, including the execution of all documents and forms, as necessary for Operator to make

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          such reports to governmental authorities.
5.9       Information to Participating Parties
          Except as provided in Article 8.7.1, Operator shall furnish each Participating Party at its request
          the following information, if applicable, for each activity or operation conducted by Operator:
          5.9.1   A copy of the application for permit to drill and all amendments thereto.
          5.9.2   A daily drilling report (or Reworking report or Recompletion report, if applicable), giving
                  the depth, corresponding lithological information, data on drilling fluid characteristics,
                  information about drilling or operational difficulties or delays, if any, and other pertinent
                  information, by facsimile transmission or electronic mail within forty-eight (48) hours
                  (excluding Saturdays, Sundays, and federal holidays) for well operations conducted in
                  the preceding twenty-four (24)-hour period.
          5.9.3   A complete report of each core analysis.
          5.9.4   A copy of each electrical survey, currently as it is run; all data for each radioactivity log,
                  temperature survey, deviation or directional survey, caliper log, and other log or survey
                  obtained during the drilling of the well; and, on completion of the well, a composite of all
                  electrical-type logs, insofar as is reasonable and customary.
          5.9.5   A copy of all well test results, bottom-hole pressure surveys, and fluid analyses.
          5.9.6   On written request received by Operator before commencement of drilling, samples of
                  cuttings and cores taken from the well (if sufficient cores are retrieved), packaged in
                  containers furnished by Operator at the expense of the requesting Party, marked as to
                  the depths from which they were taken, and shipped at the expense of the requesting
                  Party by express courier to the address designated by the requesting Party.
          5.9.7   To the extent possible, twenty-four (24) hours’ advance notice of, and access to, logging,
                  coring, and testing operations.
          5.9.8   A monthly report on the volume of Hydrocarbons and water produced from each well.
          5.9.9   A copy of each report made to a governmental authority having jurisdiction.
          5.9.10 On written request, other pertinent information available to Operator, including but not
                  limited to those portions of the contracts to be used for the benefit of the Joint Account
                  and that pertain to the Lease, but excluding Operator’s proprietary or secret information
                  and its subsurface interpretations.
5.10      Information to Non-participating Parties
          Operator shall furnish each Non-participating Party a copy of each Operator’s governmental
          report that is available to the public and associated with the applicable Non-consent Operation.
          Until the applicable recoupment under Article 13 (Non-consent Operations) is complete, a Non-
          participating Party shall not receive or review any other information specified by Article 5.9
          (Information to Participating Parties), except as may be necessary for a payout audit of the Non-
          consent Operation.

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                                         ARTICLE 6
                               VOTING AND VOTING PROCEDURES

6.1       Voting Procedures
          Unless otherwise provided in this Agreement, each matter requiring approval of the Parties shall
          be determined as follows:
          6.1.1   Voting Interest
                  Subject to Article 8.6 (Security Rights), each Party shall have a voting interest equal to its
                  Working Interest or its Participating Interest, as applicable.
          6.1.2   Vote Required
                  Unless expressly stated to the contrary herein, a matter requiring approval of the Parties
                  shall be decided by the affirmative vote of one (1) or more Parties having a combined
                  voting interest of more than fifty percent (50%). If there are only two (2) Parties to this
                  Agreement, the matter shall be determined by the Party having a majority voting interest
                  or, if the interests are equal, the matter shall require unanimous consent.
          6.1.3   Votes
                  The Parties may vote at a meeting; by telephone, promptly confirmed in writing to
                  Operator; by electronic mail; or by facsimile transmission. Operator shall give each Party
                  prompt notice of the results of the voting.
          6.1.4   Meetings
                  Meetings of the Parties may be called by Operator on its own motion or at the request of
                  one or more Parties having a collective voting interest of not less than twenty-five percent
                  (25%). Except in an emergency, no meeting shall be called on less than ten (10) days’
                  advance written notice, and the notice of meeting shall include the meeting agenda
                  prepared by Operator or the requesting Party. The representative of Operator shall be
                  chairman of each meeting. Only matters included in the agenda may be discussed at a
                  meeting, but the agenda and items included in the agenda may be amended before or
                  during the meeting by unanimous agreement of all Parties.



                                                 ARTICLE 7
                                                  ACCESS

7.1       Access to Lease
          Except as provided in Article 8.7.1, each Party shall have access, at its sole risk and expense and
          at all reasonable times, to the Lease, Platform, Development Facilities, and Joint Account assets
          to inspect activities, operations, and wells in which it participates, and to pertinent records and
          data. A Non-operator shall give Operator at least twenty-four (24) hours’ notice of the Non-
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          operator’s intention to visit the Lease. To protect Operator and the Non-operators from lawsuits,
          claims, and legal liability, if it is necessary for a person who is not performing services for
          Operator directly related to the joint operations, but is performing services solely for a Non-
          operator or pertaining to the business or operations of a Non-operator, to visit, use, or board a rig,
          well, Platform, or Development Facilities subject to this Agreement, the Non-operator shall give
          Operator advance notice of the visit, use, or boarding, and shall secure from that person an
          agreement, in a form satisfactory to Operator, indemnifying and holding Operator and Non-
          operators harmless, or shall itself provide the same hold harmless and indemnification in favor of
          Operator and other Non-operators before the visit, use, or boarding.
7.2       Reports
          On written request, Operator shall furnish a requesting Party any information not otherwise
          furnished under Article 5 (Authority and Duties of Operator) to which that Party is entitled under
          this Agreement. The costs of gathering and furnishing information not furnished under Article 5
          shall be charged to the requesting Party. Operator is not obligated to furnish interpretative data
          that was generated by Operator at its sole cost.
7.3       Confidentiality
          Except as otherwise provided in Article 7.4 (Limited Disclosure), Article 7.5 (Limited Releases to
          Offshore Scout Association), Article 7.6 (Media Releases), and Article 21.1 (Notice of
          Contributions Other Than Advances for Sale of Production), and except for necessary disclosures
          to governmental authorities having jurisdiction, or except as agreed in writing by all Participating
          Parties, no Party or Affiliate shall disclose Confidential Data to a third party. This Article 7.3 shall
          remain in force and effect during the term of this Agreement and for one (1) year after termination
          of this Agreement.
7.4       Limited Disclosure
          A Party may make Confidential Data to which it is entitled under this Agreement available to:
          (a)     outside professional consultants and reputable engineering firms for the purpose of
                  evaluations and/or submitting bids;
          (b)     gas transmission companies for Hydrocarbon reserve or other technical evaluations;
          (c)     reputable financial institutions for study before commitment of funds;
          (d)     governmental authorities having jurisdiction or the public, to the extent required by
                  applicable laws or by those governmental authorities;
          (e)     the public, to the extent required by the regulations of a recognized stock exchange;
          (f)     third parties with which a Party is engaged in a bona fide effort to effect a merger or
                  consolidation, sell all or a controlling part of that Party’s stock, or sell all or substantially
                  all assets of that Party or an Affiliate of that Party;
          (g)     an Affiliate of a Party;
          (h)     such limited well information that is typically disclosed by Operator’s representative

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                  during meetings of the Offshore Oil Scouts Association; and
          (i)     third parties with which a Party is engaged in a bona fide effort to sell, farm out, or trade
                  all or a portion of its interest in the Lease.
          Confidential Data made available under Articles 7.4(f) and 7.4(h) shall not be removed from the
          custody or premises of the Party making the Confidential Data available to third parties described
          in those Articles. A third party permitted access under Articles 7.4, (a), (b), (c), (f), and (h) shall
          first agree in writing neither to disclose the Confidential Data to others nor to use the Confidential
          Data, except for the purpose for which it was disclosed. The disclosing Party shall give prior
          notice to the other Parties that it intends to make the Confidential Data available.
7.5       Limited Releases to Offshore Scout Association
          Operator may disclose Confidential Data to the Offshore Oil Scouts Association at their regularly
          scheduled meetings.      The Confidential Data that may be disclosed is limited to information
          concerning well locations, well operations, and well completions to the extent reasonable and
          customary in industry practice or required under the by-laws of the Offshore Oil Scouts
          Association.
7.6       Media Releases
          Except as unanimously agreed by the Participating Parties or otherwise permitted by this Article,
          no Party shall issue a news or media release about operations on the Lease. In an emergency
          involving extensive property or environmental damage, operations failure, loss of human life, or
          other clear emergency, and for which there is insufficient time to obtain the prior approval of the
          Parties, Operator may furnish the minimum, strictly factual, information necessary to satisfy the
          legitimate public interest of the media and governmental authorities having jurisdiction. Operator
          shall then promptly advise the other Parties of the information furnished in response to the
          emergency.



                                                 ARTICLE 8
                                               EXPENDITURES

8.1       Basis of Charge to the Parties
          Subject to the other provisions of this Agreement, Operator shall pay all costs incurred under this
          Agreement, and each Party shall reimburse Operator in proportion to its Participating Interest. All
          charges, credits, and accounting for expenditures shall be made and done pursuant to Exhibit
          “C”.
8.2       AFEs
          Before undertaking an operation or making a single expenditure to be in excess of Two Hundred
          Thousand Dollars ($200,000.00), and before conducting an activity or operation to drill, Sidetrack,
          Deepen, Complete, Rework, or Recomplete a well (regardless of the estimated cost), Operator

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          shall submit an AFE for the operation or expenditure to the Parties for approval. Operator shall
          also furnish an informational AFE to all Parties for an operation or single expenditure estimated to
          cost Two Hundred Thousand Dollars ($200,000.00) or less, but in excess of Fifty Thousand
          Dollars ($50,000.00).      Operator shall notify the Participating Parties as soon as reasonably
          possible when it appears that the cost of an ongoing activity or operation, before its completion,
          will exceed the original AFE by more than one hundred twenty-five percent (125%).                 This
          overexpenditure notice shall be furnished to the Participating Parties as a supplemental AFE for
          informational purposes only and is not subject to an election by any of the Parties.
8.3       Emergency and Required Expenditures
          Notwithstanding anything in this Agreement to the contrary, Operator is hereby authorized to
          conduct operations and incur expenses that in its opinion are reasonably necessary to safeguard
          life, property, and the environment in case of an actual or imminently threatened blowout,
          explosion, accident, fire, flood, storm, hurricane, catastrophe, or other emergency, and the
          expenses shall be borne by the Participating Parties in the affected operation. Operator shall
          report to the Participating Parties, as promptly as practical, the nature of the emergency and the
          action taken. Operator is also authorized to conduct operations and incur expenses reasonably
          required by statute, regulation, order, or permit condition or by a governmental authority having
          jurisdiction, which expenses shall be borne by the Participating Parties in the affected operation,
          subject to Exhibit “C”.
8.4       Advance Billings
          Operator may require each Party to advance its respective share of estimated expenditures
          pursuant to Exhibit “C”.
8.5       Commingling of Funds
          Funds received by Operator under this Agreement may be commingled with its own funds.
8.6       Security Rights
          In addition to any other security rights and remedies provided by law with respect to services
          rendered or materials and equipment furnished under this Agreement, for and in consideration of
          the covenants and mutual undertakings of Operator and the Non-operator(s) herein, the Parties
          shall have the following security rights:
          8.6.1   Mortgage in Favor of Operator
                  Each Non-operator(s) hereby grants to Operator a mortgage, hypothecate, and pledge of
                  and over all its rights, titles, and interests in and to (a) the Lease, (b) the oil and gas in,
                  on, under, and that may be produced from the lands within the Lease, and (c) all other
                  immovable property or other property susceptible of mortgage situated within the Lease.
                  (i)      This mortgage is given to secure the complete and timely performance of and
                           payment by each Non-operator(s) of all obligations and indebtedness of every
                           kind and nature, whether now owed by such Non-operator(s) or hereafter arising,

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                         pursuant to this Agreement. To the extent susceptible under applicable law, this
                         mortgage and the security interests granted in favor of Operator herein shall
                         secure the payment of all costs and other expenses properly charged to such
                         Party, together with (a) interest on such indebtedness, costs, and other expenses
                         at the rate set forth in Exhibit “C” attached hereto (the “Accounting Procedure”) or
                         the maximum rate allowed by law, whichever is the lesser, (b) reasonable
                         attorneys’ fees, (c) court costs, and (d) other directly related collection costs. If
                         any Non-operator(s) Party does not pay any such uncontested costs and other
                         expenses or perform its obligations under this Agreement when due, Operator
                         shall have the additional right to notify the purchaser or purchasers of the
                         defaulting Non-operator’s(s’) production and collect such costs and other
                         expenses out of the proceeds from the sale of the defaulting Non-operator’s(s’)
                         share of production until the amount owed has been paid. Operator shall have
                         the right to offset the amount owed against the proceeds from the sale of such
                         defaulting Non-operator’s(s) share of production if the amount owing is
                         uncontested.    Any purchaser of such production shall be entitled to rely on
                         Operator’s statement concerning the amount of costs and other expenses owed
                         by the defaulting Non-operator(s) and payment made to Operator by any
                         purchaser shall be binding and conclusive as between such purchaser and such
                         defaulting Non-operator(s).
                  (ii)   The maximum amount for which the mortgage herein granted by each Non-
                         operator(s) shall be deemed to secure the obligations and indebtedness of such
                         Non-operator(s) to Operator as stipulated herein is hereby fixed in an amount
                         equal to Twenty-Five Million Dollars ($25,000,000.00) (the “Limit of the Mortgage
                         of each Non-operator(s)”). Except as provided in the previous sentence (and
                         then only to the extent that such limitations are required by law), the entire
                         amount of obligations and indebtedness of each Non-operator(s) to Operator is
                         secured hereby without limitation. Notwithstanding the foregoing Limit of the
                         Mortgage of each Non-operator(s), the liability of each Non-operator(s) under this
                         Agreement and the mortgage and security interest granted hereby shall be
                         limited to (and Operator shall not be entitled to enforce the same against such
                         Non-operator(s) for an amount exceeding) the actual obligations and
                         indebtedness (including all interest charges, costs, attorneys’ fees, and other
                         charges provided for in this Agreement or in the attached Exhibit “F”) outstanding
                         and unpaid and that are attributable to or charged against the interest of such
                         Non-operator(s) pursuant to this Agreement.
          8.6.2   Security Interest in Favor of Operator

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              To secure the complete and timely performance of and payment by each Non-operator(s)
              of all obligations and indebtedness of every kind and nature, whether now owed by such
              Non-operator(s) or hereafter arising, pursuant to this Agreement, each Non-operator
              Party hereby grants to Operator a continuing security interest in and to all its rights, titles,
              interests, claims, general intangibles, proceeds, and products thereof, whether now
              existing or hereafter acquired, in and to (a) all oil and gas produced from the lands or
              offshore blocks covered by the Lease or attributable to the Lease when produced, (b) all
              accounts receivable accruing or arising as a result of the sale of such oil and gas
              (including, without limitation, accounts arising from gas imbalances or from the sale of oil
              and gas at the wellhead), (c) all cash or other proceeds from the sale of such oil and gas
              once produced, and (d) all Platforms, wells, facilities, fixtures, other corporeal property,
              whether movable or immovable, whether now or hereafter placed on the lands or offshore
              blocks covered by the Lease or maintained or used in connection with the ownership,
              use, or exploitation of the Lease, and other surface and sub-surface equipment of any
              kind or character located on or attributable to the Lease and the cash or other proceeds
              realized from the sale, transfer, disposition, or conversion thereof. The interest of the
              Non-operator(s) in and to the oil and gas produced from or attributable to the Lease when
              extracted and the accounts receivable accruing or arising as the result of the sale thereof
              shall be financed at the wellhead of the well or wells located on the Lease. To the extent
              susceptible under applicable law, the security interest granted by each Non-operator(s)
              hereunder covers: (a) all substitutions, replacements, and accessions to the property of
              such Non-operator(s) described herein and is intended to cover all the rights, titles, and
              interests of such Non-operator(s) in all movable property now or hereafter located on or
              used in connection with the Lease, whether corporeal or incorporeal; (b) all rights under
              any gas balancing agreement, farmout rights, option farmout rights, acreage and cash
              contributions, and conversion rights of such Non-operator(s) in connection with the
              Lease, or the oil and gas produced from or attributable to the Lease, whether now owned
              and existing or hereafter acquired or arising, including, without limitation, all interests of
              each Non-operator(s) in any partnership, tax partnership, limited partnership, association,
              joint venture, or other entity or enterprise that holds, owns, or controls any interest in the
              Lease; and (c) all rights, claims, general intangibles, and proceeds, whether now existing
              or hereafter acquired, of each Non-operator(s) in and to the contracts, agreements,
              permits, licenses, rights-of-way, and similar rights and privileges that relate to or are
              appurtenant to the Lease, including the following:
              (i)     all its rights, titles, and interests, whether now owned and existing or hereafter
                      acquired or arising, in, to, and under or derived from any present or future
                      operating,    farmout,    bidding,   pooling,    unitization,   and   communitization

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                          agreements, assignments, and subleases, whether or not described in Exhibit
                          “A”, to the extent, and only to the extent, that such agreements, assignments,
                          and subleases cover or include any of its rights, titles, and interests, whether now
                          owned and existing or hereafter acquired or arising, in and to all or any portion of
                          the Lease, and all units created by any such pooling, unitization, and
                          communitization agreements and all units formed under orders, regulations,
                          rules, or other official acts of any governmental authority having jurisdiction, to
                          the extent and only to the extent that such units cover or include all or any portion
                          of the Lease;
                  (ii)    all its rights, titles, and interests, whether now owned and existing or hereafter
                          acquired or arising, in, to, and under or derived from all presently existing and
                          future advance payment agreements, and oil, casinghead gas, and gas sales,
                          exchange, and processing contracts and agreements, including, without
                          limitation, those contracts and agreements that are described on Exhibit “A”, to
                          the extent, and only to the extent, that those contracts and agreements cover or
                          include all or any portion of the Lease; and
                  (iii)   all its rights, titles, and interests, whether now owned and existing or hereafter
                          acquired or arising, in, to, and under or derived from all existing and future
                          permits, licenses, rights of way, and similar rights and privileges that relate to or
                          are appurtenant to any of the Lease(s).
          8.6.3   Mortgage in Favor of the Non-operator Parties
                  Operator hereby grants to each Non-operator(s) a mortgage, hypothecate, and pledge of
                  and over all its rights, titles, and interests in and to (a) the Lease; (b) the oil and gas in,
                  on, under, and that may be produced from the lands within the Lease; and (c) all other
                  immovable property or other property susceptible of mortgage situated within the Lease.
                  (i)     This mortgage is given to secure the complete and timely performance of and
                          payment by Operator of all obligations and indebtedness of every kind and
                          nature, whether now owed by Operator or hereafter arising, pursuant to this
                          Agreement. To the extent susceptible under applicable law, this mortgage and
                          the security interests granted in favor of each Non-operator(s) herein shall secure
                          the payment of all costs and other expenses properly charged to Operator,
                          together with (a) interest on such indebtedness, costs, and other expenses at the
                          rate set forth in the Accounting Procedure or the maximum rate allowed by law,
                          whichever is the lesser, (b) reasonable attorneys’ fees, (c) court costs, and (d)
                          other directly related collection costs.       If Operator does not pay any such
                          uncontested costs and other expenses or perform its obligations under this
                          Agreement when due, the Non-operator(s) shall have the additional right to notify

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                          the purchaser or purchasers of Operator’s production and collect such costs and
                          other expenses out of the proceeds from the sale of Operator’s share of
                          production until the amount owed has been paid. The Non-operator(s) shall have
                          the right to offset the amount owed against the proceeds from the sale of
                          Operator’s share of production if the amount owing is uncontested.                Any
                          purchaser of such production shall be entitled to rely on the Non-operator(s)’
                          statement concerning the amount of costs and other expenses owed by Operator
                          and payment made to the Non-operator(s) by any purchaser shall be binding and
                          conclusive as between such purchaser and Operator.
                  (ii)    The maximum amount for which the mortgage herein granted by Operator shall
                          be deemed to secure the obligations and indebtedness of Operator to all Non-
                          operator(s) as stipulated herein is hereby fixed in an amount equal to Twenty-
                          Five Million Dollars ($25,000,000) in the aggregate (the “Limit of the Mortgage of
                          Operator”). Except as provided in the previous sentence (and then only to the
                          extent such limitations are required by law), the entire amount of obligations and
                          indebtedness of Operator to the Non-operator(s) is secured hereby without
                          limitation. Notwithstanding the foregoing Limit of the Mortgage of Operator, the
                          liability of Operator under this Agreement and the mortgage and security interest
                          granted hereby shall be limited to (and the Non-operator(s) shall not be entitled
                          to enforce the same against Operator for an amount exceeding) the actual
                          obligations and indebtedness (including all interest charges, costs, attorneys’
                          fees, and other charges provided for in this Agreement or in Exhibit “F”)
                          outstanding and unpaid and that are attributable to or charged against the
                          interest of Operator pursuant to this Agreement.
          8.6.4   Security Interest in Favor of the Non-operator(s)
                  To secure the complete and timely performance of and payment by Operator of all
                  obligations and indebtedness of every kind and nature, whether now owed by Operator or
                  hereafter arising, pursuant to this Agreement, Operator hereby grants to each Non-
                  operator(s) a continuing security interest in and to all its rights, titles, interests, claims,
                  general intangibles, proceeds, and products thereof, whether now existing or hereafter
                  acquired, in and to (a) all oil and gas produced from the lands or offshore blocks covered
                  by the Lease or attributable to the Lease when produced, (b) all accounts receivable
                  accruing or arising as a result of the sale of such oil and gas (including, without limitation,
                  accounts arising from gas imbalances or from the sale of oil and gas at the wellhead), (c)
                  all cash or other proceeds from the sale of such oil and gas once produced, and (d) all
                  Platforms, wells, facilities, fixtures, other corporeal property whether movable or
                  immovable, whether now or hereafter placed on the offshore blocks covered by the

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              Lease or maintained or used in connection with the ownership, use, or exploitation of the
              Lease, and other surface and sub-surface equipment of any kind or character located on
              or attributable to the Lease and the cash or other proceeds realized from the sale,
              transfer, disposition, or conversion thereof. The interest of Operator in and to the oil and
              gas produced from or attributable to the Lease when extracted and the accounts
              receivable accruing or arising as the result of the sale thereof shall be financed at the
              wellhead of the well or wells located on the Lease. To the extent susceptible under
              applicable law, the security interest granted by Operator hereunder covers: (a) all
              substitutions, replacements, and accessions to the property of Operator described herein
              and is intended to cover all the rights, titles and interests of Operator in all movable
              property now or hereafter located on or used in connection with the Lease, whether
              corporeal or incorporeal; (b) all rights under any gas balancing agreement, farmout rights,
              option farmout rights, acreage and cash contributions, and conversion rights of Operator
              in connection with the Lease, the oil and gas produced from or attributable to the Lease,
              whether now owned and existing or hereafter acquired or arising, including, without
              limitation, all interests of Operator in any partnership, tax partnership, limited partnership,
              association, joint venture, or other entity or enterprise that holds, owns, or controls any
              interest in the Lease; and (c) all rights, claims, general intangibles, and proceeds,
              whether now existing or hereafter acquired, of Operator in and to the contracts,
              agreements, permits, licenses, rights-of-way, and similar rights and privileges that relate
              to or are appurtenant to the Lease, including the following:
              (i)     all its rights, titles, and interests, whether now owned and existing or hereafter
                      acquired or arising, in, to, and under or derived from any present or future
                      operating,    farmout,   bidding,    pooling,   unitization,   and   communitization
                      agreements, assignments, and subleases, whether or not described in Exhibit
                      “A”, to the extent, and only to the extent, that such agreements, assignments,
                      and subleases cover or include any of its rights, titles, and interests, whether now
                      owned and existing or hereafter acquired or arising, in and to all or any portion of
                      the Lease, and all units created by any such pooling, unitization, and
                      communitization agreements and all units formed under orders, regulations,
                      rules, or other official acts of any governmental authority having jurisdiction, to
                      the extent and only to the extent that such units cover or include all or any portion
                      of the Lease;
              (ii)    all its rights, titles, and interests, whether now owned and existing or hereafter
                      acquired or arising, in, to, and under or derived from all presently existing and
                      future advance payment agreements, and oil, casinghead gas, and gas sales,
                      exchange, and processing contracts and agreements, including, without

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                          limitation, those contracts and agreements that are described on Exhibit “A”, to
                          the extent, and only to the extent that those contracts and agreements cover or
                          include all or any portion of the Lease; and
                  (iii)   all its rights, titles, and interests, whether now owned and existing or hereafter
                          acquired or arising, in, to, and under or derived from all existing and future
                          permits, licenses, rights-of-way, and similar rights and privileges that relate to or
                          are appurtenant to any of the Lease.
          8.6.5   Recording
                  To provide evidence of, and to further perfect the Parties’ security rights created
                  hereunder, on request, each Party shall execute and acknowledge the attached Exhibit
                  “F” (the “Memorandum of Operating Agreement and Financing Statement”) in multiple
                  counterparts as appropriate. The Parties authorize Operator to file the Memorandum of
                  Operating Agreement and Financing Statement in the public records set forth below to
                  serve as notice of the existence of this Agreement as a burden on the title of Operator
                  and the Non-operator(s) to their interests in the Lease and for purposes of satisfying
                  otherwise relevant recording and filing requirements of applicable law and to attach an
                  original of the Memorandum of Operating Agreement and Financing Statement to a
                  standard UCC-1 for filing in the UCC records set forth below to perfect the security
                  interests created by the Parties in this Agreement. Such Memorandum of Operating
                  Agreement and Financing Statement shall be amended from time to time on acquisition
                  of additional leasehold interests in the Lease, and the Parties shall, within five (5)
                  business days following request by one (1) of the Parties hereto, execute and furnish to
                  the requesting Party for recordation any such amendment.
          8.6.6   The Memorandum of Operating Agreement and Financing Statement
                  The Memorandum of Operating Agreement and Financing Statement is to be filed or
                  recorded, as the case may be, in (a) the conveyance records of the parish or parishes
                  adjacent to the lands or offshore blocks covered by the Lease pursuant to La. R.S.
                  9:2731 et seq., (b) the mortgage records of such parish(es) or county(ies), (c) the
                  appropriate Uniform Commercial Code records, and (d) the records of the BOEMRE as a
                  non–required filing. A copy of such filed or recorded instrument(s) shall be furnished to
                  Non-operator(s) once received by Operator.
8.7       Unpaid Charges and Default
          8.7.1   If a Party fails to pay the charges due under this Agreement within sixty (60) days after
                  receipt of Operator’s statement, and if Operator then issues a notice of default and the
                  default is not cured in the time and manner provided below, the other Participating
                  Parties shall, on Operator’s request, pay the unpaid amount in proportion to their
                  Participating Interests.   Each Party paying its share of the unpaid amount shall be

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                  subrogated to Operator’s security rights, to the extent of the payment. In addition to other
                  remedies provided by this Agreement or by law, if a Party does not pay, when due, its
                  share of the charges under this Agreement, Operator may give that Party notice that
                  unless payment is made within thirty (30) days after receipt of Operator’s notice, the
                  Party shall be in default if the amount owing is uncontested. A Party in default shall have
                  no further access to the Lease, maps, records, data, or other information obtained in
                  connection with operations. If a Party believes that Operator’s charges, or a portion
                  thereof, are incorrect, that Party shall nevertheless pay the charges claimed by Operator
                  and may notify Operator that the charges are in dispute. Thereafter, Operator and the
                  Non-operator(s) shall attempt to resolve the issue within sixty (60) days after receipt of
                  payment. A defaulting Party shall not be entitled to vote or exercise an election on any
                  matter until that Party’s payments are current. The voting interest of each non-defaulting
                  Party shall be in the proportion its Participating Interest bears to the total Participating
                  Interests of all non-defaulting Parties. For each operation approved while a Party is in
                  default, the defaulting Party shall be deemed to have voted not to participate in that
                  operation.
          8.7.2   The first sentence of Article 8.6.1(ii) of this Agreement shall be applicable only when both
                  of the following conditions have been met: (i) Operator has fully complied with the
                  provisions of this Agreement that are intended for the prevention of such a default,
                  including, without limitation, timely advance billings, reasonable efforts to timely collect
                  payment for advance billings as well as all monthly billings, providing due notice of
                  default to a party that fails to make timely payment as required and recording of a fully
                  executed Memorandum of Operating Agreement and Financing Statement as set forth in
                  Exhibit “F”, and (ii) the defaulting party is any Party other than Operator or its assigns.
8.8       Confession of Judgment; Executory Process
          To the extent the Contract Area is located adjacent to Louisiana and to the extent allowed under
          La. C.C.P. art. 2631 et seq., each Party may use executory process to enforce the mortgage and
          security rights granted hereunder as to any property subject hereto.           Therefore, each Non-
          operator Party hereby confesses judgment in favor of the Operator up to the full amount secured
          hereunder as set forth in Article 8.6.1 (Mortgage in Favor of the Operator), and does by these
          present, consent, agree, and stipulate that, in the event the mortgage or security interests or any
          charges thereon not being promptly and fully paid when the same becomes due and payable, or
          in the event of failure to comply with any of the obligations herein set forth, or the breach of this
          Agreement in any of its parts by such Non-operator Party, the mortgage or security interests
          shall, at the option of the Operator, become due and payable, anything therein contained to the
          contrary notwithstanding, and it shall be lawful for the Operator, as holder or the mortgage or
          security interests, without making a demand and without notice or putting in default, the same

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          being hereby expressly waived, to cause all and singular the property herein mortgaged or
          secured to be seized and sold without appraisal, which is hereby expressly waived, by executory
          process issued by a competent court or to proceed with enforcement of its mortgage or security
          interest in any other manner provided by law. Furthermore, the Operator hereby confesses
          judgment in favor of each Non-operator Party up to the full amount secured hereunder as set
          forth in Article 8.6.3 (Mortgage in Favor of the Non-operator Parties), and does by these present,
          consent, agree, and stipulate that, in the event the mortgage or security interests or any charges
          thereon not being promptly and fully paid when the same becomes due and payable, or in the
          event of failure to comply with any of the obligations herein set forth, or the breach of this
          Agreement in any of its parts by such Operator, the mortgage or security interests shall, at the
          option of such Non-operator Party, become due and payable, anything therein contained to the
          contrary notwithstanding, and it shall be lawful for such Non-operator Party, as holder or the
          mortgage or security interests, without making a demand and without notice or putting in default,
          the same being hereby expressly waived, to cause all and singular the property herein mortgaged
          or secured to be seized and sold by executory process issued by a competent court or to proceed
          with enforcement of its mortgage or security interest in any other manner provided by law.



                                                 ARTICLE 9
                                                 NOTICES

9.1       Giving and Receiving Notices
          Except as otherwise provided in this Agreement, all AFEs and notices required or permitted by
          this Agreement shall be in writing and shall be delivered in person or by mail, courier service, or
          electronic mail, or facsimile transmission, with postage and charges prepaid, addressed to the
          Parties at the addresses in Exhibit “A”. When a drilling rig is on location and standby charges are
          accumulating, however, notices pertaining to the rig shall be given orally or by telephone. All
          telephone or oral notices permitted by this Agreement shall be confirmed as soon as reasonably
          practical thereafter by written notice. A notice shall be deemed to have been delivered only when
          received by the Party to which it was directed, and the period for a Party to deliver a response
          thereto begins on the date the notice is received. “Receipt”, for oral or telephone notice, means
          actual and immediate communication to the Party to be notified, and for written notice, means
          actual delivery of the notice to the address of the Party to be notified, as specified in this
          Agreement, or to the facsimile machine of that Party. A responsive notice shall be deemed to
          have been delivered when the Party to be notified is in receipt of same. When a response is
          required in forty-eight (48) hours or less, however, the response shall be given orally or by
          telephone, electronic mail, or facsimile transmission within that period. If a Party is unavailable to
          accept delivery of a notice required to be given orally or by telephone, the notice may be

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          delivered by any other method specified in this Article 9.1. A message left on an answering
          machine or with an answering service or other third person shall not be deemed to be adequate
          telephonic or oral notice.


9.2       Content of Notice
          An AFE or a notice requiring a response shall indicate the maximum response time specified in
          Article 9.3 (Response to Notices). A proposal for a Platform and/or Development Facilities shall
          include an AFE containing a description of the Platform and/or Development Facilities, including
          but not limited to location and the estimated costs of design, fabrication, transportation, and
          installation.    A proposal for a well operation shall include an AFE describing the estimated
          commencement date, the proposed depth, the objective formation or formations to be penetrated
          or tested, the Objective Horizon, the surface and bottom-hole locations, proposed directional or
          horizontal drilling operations, the type of equipment to be used, and the estimated costs of the
          operation, including but not limited to the estimated costs of drilling, testing, and Completing or
          abandoning the well. If a proposed operation is subject to Article 13.11 (Lease Maintenance
          Operations), the notice shall specify that the proposal is a Lease Maintenance Operation. A
          proposal for multiple operations on more than one (1) well location by the same rig shall contain
          separate AFEs or notices for each operation and shall specify in writing in what order the
          operations will be conducted. Each Party shall respond to each proposed multiple operation in the
          manner provided in Article 9.3.3 (Proposal for Multiple Operations).
9.3       Response to Notices
          Except as provided in Article 9.1, each Party’s response to a proposal shall be in writing to the
          proposing Party. Unless otherwise provided in this Agreement, the response time shall be as
          follows:
          9.3.1      Platform and/or Development Facilities Proposals
                     Each Party shall respond within sixty (60) days after its receipt of the AFE or notice for a
                     Platform and/or Development Facilities.
          9.3.2      Well Proposals
                     Except as provided in Article 9.3.3 (Proposal for Multiple Operations), each Party shall
                     respond within thirty (30) days after receipt of the well, Rework, or Recompletion
                     proposal, but if (a) a drilling rig is on location, (b) the proposal relates to the same well or
                     its substitute, and (c) standby charges are accumulating, a response shall be made within
                     forty-eight (48) hours after receipt of the proposal, including Saturdays, Sundays, and
                     federal holidays.
          9.3.3      Proposal for Multiple Operations
                     When a proposal is made to conduct multiple Development Operations at separate well
                     locations using the same rig, each Party shall respond (a) to the well operation taking

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                  precedence, within thirty (30) days after receipt of the proposal; and (b) to each
                  subsequent well location, within forty-eight (48) hours after completion of approved
                  operations at the prior location and notification thereof by Operator.
          9.3.4   Other Matters
                  For all other matters requiring notice, each Party shall respond within thirty (30) days
                  after receipt of notice.
9.4       Failure to Respond
          Failure of a Party to respond to a proposal or notice, to vote, or to elect to participate within the
          period required by this Agreement shall be deemed to be a negative response, vote, or election.
9.5       Response to Counterproposals
          Should a counterproposal be allowed under this Agreement, responses to that counterproposal
          must be made within the response period for the original proposal.
9.6       Timely Well Operations
          Unless otherwise provided, an approved well shall be commenced within one hundred eighty
          (180) days after the date when the last applicable election on that well may be made. Wells shall
          be deemed to have commenced on the day charges commence under the drilling contract for that
          well. Subject to Exhibit “C”, if a proposal for a well is deemed to have been withdrawn, all costs
          incurred in the preparation for or in furtherance of that well will be chargeable to the Parties that
          voted to participate in the well proposal for that well.
9.7       Timely Platform / Development Facilities Operations
          Unless otherwise provided, Operator shall commence, or cause to commence, the construction,
          acquisition, or refurbishment of an approved proposal for a Platform and/or Development
          Facilities within one hundred eighty (180) days after the date when the last applicable election on
          that Platform and/or Development Facilities may be made.          The construction, acquisition, or
          refurbishment of an approved Platform and/or Development Facilities proposal shall be deemed
          to have commenced on the date the contract is awarded for the design, acquisition, fabrication, or
          refurbishment of the Platform and/or Development Facilities. Subject to Exhibit “C”, regardless of
          whether or not the construction, acquisition, or refurbishment of a Platform and/or Development
          Facilities is commenced, all costs incurred by Operator, attributable to that activity, shall be paid
          by the Participating Parties.


                                           ARTICLE 10
                                     EXPLORATORY OPERATIONS

10.1      Proposing Operations
          A Party may propose an Exploratory Operation in accordance with Article 9 (Notices) to the other
          Parties that are entitled to vote or make an election in regard to that operation

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10.2      Counterproposals
          When an Exploratory Operation is proposed, a Party may, within seven (7) days (exclusive of
          Saturdays, Sundays, and federal holidays) after receipt of the AFE or notice for the original
          proposal, make a counterproposal to conduct an alternative Exploratory Operation by sending an
          AFE or notice to such Parties in accordance with Article 9 (Notices). The AFE or notice shall
          indicate that the proposal is a counterproposal to the original proposal.        If one (1) or more
          counterproposals are made, such Parties shall elect to participate in either the original proposal,
          one (1) counterproposal, or neither the original proposal nor a counterproposal. If two (2) or more
          proposals receive the approval of the number of Parties and combined Working Interests required
          by Article 10.5 (Operations by Fewer Than All Parties), the proposal receiving the largest
          percentage of Working Interest approval shall take precedence, and in the event of a tie between
          two (2) or more approved proposals, the proposal first received by the Parties shall take
          precedence. Except for the response period provided in this Article 10.2, a counterproposal shall
          be subject to the same terms and conditions as the original proposal.
10.3      Operations by All Parties
          If all Parties elect to participate in the proposed operation, Operator shall conduct the operation at
          their cost and risk.
10.4      Second Opportunity to Participate
          If there are more than two (2) Parties to this Agreement and if fewer than all but one (1) or more
          Parties elect to participate, the proposing Party shall notify the Parties of the elections made,
          whereupon a Party originally electing not to participate may then elect to participate by notifying
          the proposing Party within forty-eight (48) hours, including Saturdays, Sundays, and federal
          holidays, after receipt of such notice. If all Parties elect to participate in the proposed operation,
          Operator shall conduct the operation at their cost and risk. If there are only two (2) Parties to this
          Agreement, there shall not be a second opportunity to elect to participate, and if the Participating
          Party agrees to pay and bear one hundred percent (100%) of the costs and risks of the operation,
          Operator shall conduct the operation as a Non-consent Operation for the benefit of the
          Participating Party, and the provisions of Article 13 (Non-consent Operations) shall apply.


10.5      Operations by Fewer Than All Parties
          If there are more than two (2) Parties to this Agreement and if, after the election made under
          Article 10.4 (Second Opportunity to Participate), fewer than all but one (1) or more Parties having
          the requisite Working Interest to approve the operation have elected to participate in the
          proposed operation, the proposing Party shall notify the Participating Parties, and each
          Participating Party shall have forty-eight (48) hours, including Saturdays, Sundays, and federal
          holidays, after receipt of the notice to notify the proposing Party of the portion of costs and risks
          attributable to the total Non-participating Parties’ interests it elects to pay and bear. Unless

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          otherwise agreed by the Participating Parties, each Participating Party may, but shall not be
          obligated to, pay and bear that portion of the costs and risks attributable to the total Non-
          participating Parties’ interests in the ratio that the Participating Party’s interest bears to the total
          interests of all Participating Parties that elect to pay and bear a portion of costs and risks
          attributable to the total Non-participating Parties’ interests. Failure to respond shall be deemed to
          be an election not to pay or bear any additional costs or risks. If the Participating Parties agree to
          pay and bear one hundred percent (100%) of the costs and risks of the operation, Operator shall
          conduct the operation as a Non-consent Operation for the benefit of the Participating Parties, and
          the provisions of Article 13 (Non-consent Operations) shall apply.          If such agreement is not
          obtained, however, the operation shall not be conducted and the effect shall be as if the proposal
          had not been made.
          10.5.1 First Exploratory Well
                  If a Party elects to be a Non-participating Party in the drilling of the first Exploratory Well
                  on the Lease, then, as of the last applicable election date, each Non-participating Party
                  shall be deemed to have relinquished its entire Working Interest in the Lease to the
                  Participating Party. If such first Exploratory Well is commenced timely after the last
                  applicable election date and is drilled to the proposed Objective Depth or deepest
                  Objective Horizon, whichever is lesser, in accordance with this Agreement, each Non-
                  participating Party shall execute an assignment of its entire Working Interest in the Lease
                  to the Participating Party(ies) in proportion to their interests in such first Exploratory Well.
10.6      Expenditures Approved
          Approval of an Exploratory Operation shall cover all necessary expenditures associated with the
          operation proposed in the AFE or notice that are incurred by Operator in connection with (a)
          preparations for drilling; (b) the actual drilling; (c) evaluations, such as testing, coring, and
          logging; and (d) plugging and abandonment.
10.7      Conduct of Operations
          After commencement of drilling an Exploratory Well, Operator shall diligently conduct the
          operation without unreasonable delay until the well reaches the Objective Depth, unless the well
          encounters, at a lesser depth, impenetrable conditions or mechanical difficulties that cannot be
          overcome by reasonable and prudent operations and that render further operations impracticable.
          If a well does not reach its Objective Depth as a result of the conditions mentioned in this Article
          10.7, the operation shall be deemed to have been completed and Article 13 (Non-consent
          Operations) shall apply to each Non-participating Party for the portion of the well drilled.
10.8      Course of Action After Reaching Objective Depth
          When an Exploratory Well has been drilled to its Objective Depth and reasonable testing, coring,
          and logging have been completed as set forth in the approved AFE and the results have been
          furnished to the Participating Parties, Operator shall notify the Participating Parties of Operator’s

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          recommendation for further operations in the well, and the following provisions shall apply:
          10.8.1 Election by Participating Parties
                  A Participating Party shall have the right to propose another operation by notifying
                  Operator and the other Participating Parties of its proposed operation within twenty-four
                  (24) hours, including Saturdays, Sundays, and federal holidays, of receipt of Operator’s
                  notice.   The Participating Parties shall notify Operator within forty-eight (48) hours,
                  including Saturdays, Sundays, and federal holidays, of receipt of Operator’s proposal
                  whether the Participating Parties elect to (a) participate in a recommended operation, or
                  (b) not participate in a recommended operation. Failure to respond shall be deemed to
                  be an election not to participate in any of the recommended operations.
          10.8.2 Priority of Operations
                  If all Participating Parties elect to participate in the same proposed operation, Operator
                  shall conduct the operation at their cost and risk. If more than one (1) operation is
                  approved by one (1) or more Participating Parties having a combined Working Interest of
                  fifty percent (50%) or more, the approved operation with the lowest number as indicated
                  below shall take precedence:
                  1     Additional Testing, coring, or logging. (If conflicting proposals are approved, the
                        proposal receiving the largest percentage of Working Interest approval shall take
                        precedence, and in the event of a tie between two (2) or more approved proposals,
                        the approved proposal first received by the Parties shall take precedence.)
                  2     Deepen.    (If conflicting proposals are approved, the operation proposed to the
                        deepest depth shall take precedence.)
                  3     Sidetrack. (If conflicting proposals are approved, the proposal receiving the largest
                        percentage Working Interest approval shall take precedence, and in the event of a
                        tie between two (2) or more approved proposals, the approved proposal first
                        received by the Parties shall take precedence.)
                  4     Complete at the Objective Horizon.
                  5     Complete above the Objective Horizon. (If conflicting proposals are approved, the
                        operation proposed at the deepest depth shall take precedence.)
                  6     Other operations. (If conflicting proposals are approved, the proposal receiving the
                        largest percentage Working Interest approval shall take precedence, and in the
                        event of a tie between two (2) or more approved proposals, the approved proposal
                        first received by the Parties shall take precedence.)
                  7     Temporarily abandon.
                  8     Plug and abandon.
          10.8.3 Second Opportunity to Participate
                  If there are more than two (2) Participating Parties and fewer than all but one (1) or more

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                 Participating Parties elect to participate in an operation, the proposing Party shall notify
                 the Participating Parties of the elections made, whereupon a Party originally electing not
                 to participate in the proposed operation may then elect to participate by notifying the
                 proposing Party within forty-eight (48) hours, including Saturdays, Sundays, and federal
                 holidays, after receipt of such notice. If all Parties elect to participate in the proposed
                 operation, Operator shall conduct the operation at their cost and risk. If there are only two
                 (2) Participating Parties, there shall not be a second opportunity to elect to participate.
          10.8.4 Operations by Fewer Than All Parties
                 If, after the election (if applicable) made under Article 10.8.3 (Second Opportunity to
                 Participate), fewer than all but one (1) or more Parties having the requisite Working
                 Interest to approve the operation elect to participate in the proposed operation that takes
                 precedence, the proposing Party shall notify the Participating Parties and each
                 Participating Party shall have forty-eight (48) hours, including Saturdays, Sundays, and
                 federal holidays, after receipt of the notice to notify the proposing Party of the portion of
                 the costs and risks attributable to the total Non-participating Parties’ interests it elects to
                 pay and bear. Unless otherwise agreed by the Participating Parties, each Participating
                 Party may, but shall not be obligated to, pay and bear that portion of the costs and risks
                 attributable to the total Non-participating Parties’ interests in the ratio that the
                 Participating Party’s interest bears to the total interests of all Participating Parties that
                 elect to pay and bear a portion of costs and risks attributable to the Non-participating
                 Parties’ interests. Failure to respond shall be deemed to be an election not to pay or
                 bear any additional costs or risks. If the Participating Parties agree to bear one hundred
                 percent (100%) of the costs and risks of the operation, Operator shall conduct the
                 operation as a Non-consent Operation for the benefit of the Participating Parties, and the
                 provisions of Article 13 (Non-consent Operations) shall apply. If such agreement is not
                 obtained, however, the operation shall not be conducted and the effect shall be as if the
                 proposal had not been made. If a Participating Party in a well elects not to participate in
                 the Deepening or Sidetracking operation in the well, such non-consenting Party shall
                 become a Non-participating Party in all operations conducted in the Deepened or
                 Sidetracked portion of the well after that election.
          10.8.5 Subsequent Operations
                 On completion of an operation conducted under Article 10.8 (Course of Action After
                 Reaching Objective Depth), if the well is not either (a) Completed as a Producible Well, or
                 (b) temporarily abandoned or permanently plugged and abandoned, Operator shall notify
                 the Participating Parties of Operator’s recommendation for further operations in the well
                 under Articles 10.8.1 through 10.8.4, which again shall apply. If sufficient approval is not
                 obtained to conduct a subsequent operation in a well or if all Participating Parties elect to

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                  plug and abandon the well, subject to Article 14 (Abandonment and Salvage), Operator
                  shall permanently plug and abandon the well at the cost and risk of all Participating
                  Parties. Each Participating Party shall be responsible for its proportionate share of the
                  plugging and abandonment costs associated with the operation in which it participated.
10.9      Wells Proposed Below Deepest Producible Reservoir
          If a proposal is made to conduct an Exploratory Operation involving the drilling of a well to an
          Objective Horizon below the base of the deepest Producible Reservoir, a Party may elect within
          the applicable period to limit its participation in the operation down to the base of the deepest
          Producible Reservoir. For purposes of this Article 10.9, a Party that elects to limit its participation
          in the operation down to the base of the deepest Producible Reservoir shall be referred to as
          “Shallow Participant” and a Party that elects to participate in the entire operation shall be referred
          to as “Deep Participant”. If a Party elects to limit its participation to the base of the deepest
          Producible Reservoir, Operator shall prepare and submit to the Shallow Participant, for
          informational purposes, a separate AFE covering operations down to the deepest Producible
          Reservoir. The Shallow Participant shall be a Participating Party in, and shall pay and bear the
          costs and risks of, each operation to the base of the deepest Producible Reservoir, according to
          its Participating Interest.   The Shallow Participant shall be a Non-participating Party in each
          operation below the deepest Producible Reservoir, and the operation shall be considered a Non-
          consent Operation, and the provisions of Article 13 (Non-consent Operations) shall apply. If the
          well is Completed and produces Hydrocarbons from a horizon below the deepest Producible
          Reservoir, the Deep Participant shall reimburse the Shallow Participant for its share of the actual
          well costs to the base of the deepest Producible Reservoir. Payment shall be due within thirty
          (30) days after receipt of notice of the well being completed below the deepest Producible
          Reservoir.   If the well is Completed and produces Hydrocarbons from a horizon below the
          deepest Producible Reservoir, the Shallow Participant shall reimburse the Deep Participant for its
          Working Interest share of the actual well costs to the base of the deepest Producible Reservoir in
          accordance with Article 13.4 (Deepening or Sidetracking Cost Adjustments), on the earlier of the
          time that (a) the well is plugged back to a horizon above the base of the deepest Producible
          Reservoir, as determined when the original well was proposed, (b) the well is plugged and
          abandoned, or (c) the amount to be recouped by the Deep Participant under Article 13 (Non-
          consent Operations) is recovered.
                                          ARTICLE 11
                                    DEVELOPMENT OPERATIONS

11.1      Proposing Operations
          A Party may propose a Development Operation in accordance with Article 9 (Notices) to the other
          Parties that are entitled to vote or make an election in regard to that operation.

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11.2      Counterproposals
          When a Development Operation is proposed, a Party may, within seven (7) days (exclusive of
          Saturdays, Sundays, and federal holidays) after receipt of the AFE or notice for the original
          proposal, make a counterproposal to conduct an alternative Development Operation by sending
          an AFE or notice to such Parties in accordance with Article 9 (Notices). The AFE or notice shall
          indicate that the proposal is a counterproposal to the original proposal.        If one (1) or more
          counterproposals are made, such Parties shall elect to participate in either the original proposal,
          one (1) counterproposal, or neither the original proposal nor a counterproposal. If two (2) or more
          proposals receive the approval of the number of Parties and combined Working Interests required
          by Article 11.5 (Operations By Fewer Than All Parties), the proposal receiving the largest
          percentage Working Interest approval shall take precedence, and in the event of a tie between
          two (2) or more approved proposals, the approved proposal first received by the Parties shall
          prevail. Except for the response period provided in this Article 11.2, a counterproposal shall be
          subject to the same terms and conditions as the original proposal.
11.3      Operations by All Parties
          If all Parties elect to participate in the proposed operation, Operator shall conduct the operation at
          their cost and risk.
11.4      Second Opportunity to Participate
          If there are more than two (2) Parties to this Agreement and if fewer than all but one (1) or more
          Parties elect to participate, the proposing Party shall notify the Parties of the elections made,
          whereupon a Party originally electing not to participate may then elect to participate by notifying
          the proposing Party within forty-eight (48) hours, including Saturdays, Sundays, and federal
          holidays, after receipt of such notice. If all Parties elect to participate in the proposed operation,
          Operator shall conduct the operation at their cost and risk. If there are only two (2) Parties to this
          Agreement, there shall not be a second opportunity to elect to participate, and if the Participating
          Party agrees to pay and bear one hundred percent (100%) of the costs and risks of the operation,
          Operator shall conduct the operation as a Non-consent Operation for the benefit of the
          Participating Party, and the provisions of Article 13 (Non-consent Operations) shall apply.
11.5      Operations by Fewer Than All Parties
          If there are more than two (2) Parties to this Agreement and if, after the election made under
          Article 11.4 (Second Opportunity to Participate), fewer than all but one (1) or more Parties having
          the requisite Working Interest to approve the operation have elected to participate in the
          proposed operation, the proposing Party shall notify the Participating Parties, and each
          Participating Party shall have forty-eight (48) hours, including Saturdays, Sundays, and federal
          holidays, after receipt of the notice to notify the proposing Party of the portion of the costs and
          risks attributable to the total Non-participating Parties’ interests it elects to pay and bear. Unless
          otherwise agreed by the Participating Parties, each Participating Party may, but shall not be

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          obligated to, pay and bear that portion of costs and risks attributable to the total Non-participating
          Parties’ interests in the ratio that the Participating Party’s interest bears to the total interests of all
          Participating Parties that elect to pay and bear a portion of the costs and risks attributable to the
          total Non-participating Parties’ interests. Failure to respond shall be deemed to be an election not
          to pay or bear any additional costs or risks. If the Participating Parties agree to pay and bear one
          hundred percent (100%) of the costs and risks of the operation, Operator shall conduct the
          operation as a Non-consent Operation for the benefit of the Participating Parties, and the
          provisions of Article 13 (Non-consent Operations) shall apply. If such agreement is not obtained,
          however, the operation shall not be conducted and the effect shall be as if the proposal had not
          been made.
11.6      Expenditures Approved
          Approval of a Development Operation shall cover all necessary expenditures associated with the
          operation proposed in the AFE or notice that are incurred by Operator in connection with (a)
          preparations for drilling; (b) the actual drilling; (c) evaluations, such as testing, coring, and
          logging; and (d) plugging and abandonment.
11.7      Conduct of Operations
          After commencement of a Development Well, Operator shall diligently conduct the operation
          without unreasonable delay until the well reaches the Objective Depth, unless the well
          encounters, at a lesser depth, impenetrable conditions or mechanical difficulties that cannot be
          overcome by reasonable and prudent operations and render further operations impracticable. If a
          well does not reach its Objective Depth as a result of the conditions mentioned in this Article 11.7,
          the operation shall be deemed to have been completed and Article 13 (Non-consent Operations)
          shall apply to each Non-participating Party for the portion of the well drilled.
11.8      Course of Action After Reaching Objective Depth
          When a Development Well has been drilled to its Objective Depth and reasonable testing, coring,
          and logging have been completed and the results have been furnished to the Participating
          Parties, Operator shall notify the Participating Parties of Operator’s recommendation for further
          operations in the well and the following provisions shall apply:
          11.8.1 Election by Fewer Than All Parties
                  A Participating Party shall have the right to propose another operation by notifying
                  Operator and the other Participating Parties of its proposed operation within twenty-four
                  (24) hours, including Saturdays, Sundays, and federal holidays, of receipt of Operator’s
                  notice.    The Participating Parties shall notify Operator within forty-eight (48) hours,
                  including Saturdays, Sundays, and federal holidays, of receipt of Operator’s proposal
                  whether the Participating Parties elect to (a) participate in a recommended operation, or
                  (b) not participate in a recommended operation. Failure to respond shall be deemed to
                  be an election not to participate in any of the recommended operations.

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          11.8.2 Priority of Operations
                 If all Participating Parties elect to participate in the same proposed operation, Operator
                 shall conduct the operation at their cost and risk. If more than one (1) operation is
                 approved by one (1) or more Participating Parties having a combined Working Interest of
                 fifty percent (50%) or more, the approved operation with the lowest number as indicated
                 below shall take precedence:
                 1       Additional Testing, coring, or logging. (If conflicting proposals are approved, the
                         proposal receiving the largest percentage of Working Interest approval shall take
                         precedence, and in the event of a tie between two (2) or more approved
                         proposals, the approved proposal first received by the Parties shall take
                         precedence.)
                 2       Complete at the Objective Horizon.
                 3       Complete above the Objective Horizon. (If conflicting proposals are approved,
                         the operation proposed to the deepest depth shall take precedence.)
                 4       Deepen. (If conflicting proposals are approved, the operation proposed to the
                         deepest depth shall take precedence.)
                 5       Sidetrack.   (If conflicting proposals are approved, the proposal receiving the
                         largest percentage of Working Interest approval shall take precedence, and in
                         the event of a tie between two (2) or more approved proposals, the approved
                         proposal first received by the Parties shall take precedence.)
                 6       Other operations. (If conflicting proposals are approved, the proposal receiving
                         the largest percentage of Working Interest approval shall take precedence, and
                         in the event of a tie between two (2) or more approved proposals, the approved
                         proposal first received by the Parties shall take precedence.)
                 7       Temporarily abandon.
                 8       Plug and abandon.
          11.8.3 Second Opportunity to Participate
                 If there are more than two (2) Participating Parties and if fewer than all but one (1) or
                 more Participating Parties elect to participate in an operation, the proposing Party shall
                 notify the Participating Parties of the elections made, whereupon a Party originally
                 electing not to participate in the proposed operation may then elect to participate by
                 notifying the proposing Party within forty-eight (48) hours, including Saturdays, Sundays,
                 and federal holidays, after receipt of such notice. If all Parties elect to participate in the
                 proposed operation, Operator shall conduct the operation at their cost and risk. If there
                 are only two (2) Participating Parties, there shall not be a second opportunity to elect to
                 participate.
          11.8.4 Operations by Fewer Than All Parties

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                If, after the election (if applicable) made under Article 11.8.3 (Second Opportunity to
                Participate), fewer than all but one (1) or more Parties having the requisite Working
                Interest to approve the operation elect to participate in the proposed operation that takes
                precedence, the proposing Party shall notify the Participating Parties and each
                Participating Party shall have forty-eight (48) hours, including Saturdays, Sundays, and
                federal holidays, after receipt of the notice to notify the proposing Party of the portion of
                the costs and risks attributable to the total Non-participating Parties’ interests that it elects
                to pay and bear. Unless otherwise agreed by the Participating Parties, each Participating
                Party may, but shall not be obligated to, pay and bear that portion of the costs and risks
                attributable to the total Non-participating Parties’ interests in the ratio that the
                Participating Party’s interest bears to the total interests of all Participating Parties that
                elect to pay and bear a portion of costs and risks attributable to the Non-participating
                Parties’ interests. Failure to respond shall be deemed to be an election not to pay or
                bear any additional costs or risks. If the Participating Parties agree to pay and bear one
                hundred percent (100%) of the costs and risks of the operation, Operator shall conduct
                the operation as a Non-consent Operation for the benefit of the Participating Parties, and
                the provisions of Article 13 (Non-consent Operations) shall apply. If such agreement is
                not obtained, however, the operation shall not be conducted and the effect shall be as if
                the proposal had not been made. If a Participating Party in a well elects not to participate
                in the Deepening or Sidetracking operation in the well, such non-consenting Party shall
                become a Non-participating Party in all operations conducted in the Deepened or
                Sidetracked portion of the well after that election.
          11.8.5 Subsequent Operations
                On the completion of an operation conducted under Article 11.8 (Course of Action After
                Reaching Objective Depth), if the well is not either (a) Completed as a well capable of
                producing Hydrocarbons in paying quantities, or (b) temporarily abandoned or
                permanently plugged and abandoned, Operator shall notify the Participating Parties of
                Operator’s recommendation for operations in the well under Articles 11.8.1 through
                11.8.4, which again shall apply.       If sufficient approval is not obtained to conduct a
                subsequent operation in a well, or if all Participating Parties elect to plug and abandon
                the well, subject to Article 14 (Abandonment, Salvage, and Surplus), Operator shall
                permanently plug and abandon the well at the expense of all Participating Parties. Each
                Participating Party shall be responsible for its proportionate share of the plugging and
                abandonment costs associated with the operation in which it participated.



                                   ARTICLE 12
                       PLATFORM AND DEVELOPMENT FACILITIES
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12.1      Proposals
          A Party may propose the fabrication or acquisition and installation of a Platform and/or
          Development Facilities by sending an AFE or notice to the other Parties in accordance with
          Article 9 (Notices).
12.2      Counterproposals
          When a Platform and/or Development Facilities is proposed under Article 12.1, a Party may,
          within seven (7) days after receipt of the AFE or notice for the original proposal, make a
          counterproposal to fabricate or otherwise acquire and install said Platform and/or Development
          Facilities by sending an AFE or notice to the other Parties in accordance with Article 9 (Notices).
          The AFE or notice shall indicate that the proposal is a counterproposal to the original proposal. If
          one (1) or more counterproposals are made, each Party shall elect to participate in either the
          original proposal, one (1) counterproposal, or neither the original proposal nor a counterproposal.
          If two (2) or more proposals receive the approval of the number of Parties and combined Working
          Interests required by Article 12.5 (Operations By Fewer Than All Parties), the proposal receiving
          the largest percentage Working Interest approval shall be deemed approved, and if two (2) or
          more approved proposals receive the same Working Interest approval, the approved proposal
          first received by the Parties shall be deemed approved.
          12.2.1 Operations by All Parties
                  If all Parties elect to participate in the proposed operation, Operator shall conduct the
                  operation at their cost and risk.
          12.2.2 Second Opportunity to Participate
                  If there are more than two (2) Parties and if fewer than all but one (1) or more Parties
                  elect to participate in the Platform and/or Development Facilities, the proposing Party
                  shall notify the Parties of the elections made, whereupon a Party originally electing not to
                  participate may then elect to participate by notifying the proposing Party within forty-eight
                  (48) hours, including Saturdays, Sundays, and federal holidays, after receipt of such
                  notice. If all Parties elect to participate in the Platform and/or Development Facilities,
                  Operator shall timely commence the fabrication and installation of the Platform and/or
                  Development Facilities at their cost and risk. If there are only two (2) Parties to this
                  Agreement, there shall not be a second opportunity to elect to participate, and if the
                  Participating Party agrees to pay and bear one hundred percent (100%) of the costs and
                  risks of the operation, Operator shall conduct the operation as a Non-consent Operation
                  for the benefit of the Participating Party, and the provisions of Article 13 (Non-consent
                  Operations) shall apply.
          12.2.3 Operations by Fewer Than All Parties
                  If there are more than two (2) Parties to this Agreement and if, after the election made

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                  under Article 12.2.2 (Second Opportunity to Participate), fewer than all but one (1) or
                  more Parties having the requisite Working Interest to approve the operation elect to
                  participate in the Platform and/or Development Facilities, the proposing Party shall notify
                  the Participating Parties, and each Participating Party shall have forty-eight (48) hours,
                  including Saturdays, Sundays, and federal holidays, after receipt of the notice to notify
                  the proposing Party of the portion of the costs and risks attributable to the total Non-
                  participating Parties’ interests it elects to pay and bear. Unless otherwise agreed by the
                  Participating Parties, each Participating Party may, but shall not be obligated to, pay and
                  bear that portion of costs and risks attributable to the total Non-participating Parties’
                  interests in the ratio that the Participating Party’s interest bears to the total interests of all
                  Participating Parties that elect to pay and bear a portion of the costs and risks attributable
                  to the total Non-participating Parties’ interests. Failure to respond shall be deemed to be
                  an election not to pay or bear any additional costs or risks. If the Participating Parties
                  agree to pay and bear one hundred percent (100%) of the costs and risks of the
                  operation, Operator shall conduct the operation as a Non-consent Operation for the
                  benefit of the Participating Parties, and except as provided in Article 12.4 (Rights to Take
                  in Kind), the provisions of Article 13.2.1.(b) shall apply.         If such agreement is not
                  obtained, however, the fabrication and installation of the Platform and/or Development
                  Facilities shall not be commenced, and the effect shall be as if the proposal had not been
                  made.
12.3      Ownership and Use of the Platform and Development Facilities
          The Participating Parties in the Development Facilities own all the excess capacity of the
          Development Facilities and the excess weight, space, and buoyancy of the Platform.                  Each
          Participating Party in the Development Facilities does not have the right to use its Participating
          Interest share of the excess capacity, weight, space, and buoyancy for hydrocarbon production
          from outside the Lease. Each Participating Party in the Development Facilities or Platform must
          obtain the unanimous approval of the other Participating Parties in the Development Facilities or
          Platform in order to utilize any portion of the excess capacity, weight, space, and buoyancy. It
          must negotiate the payment of a fee with the Participating Parties in the Development Facilities or
          Platform in order to utilize any portion of the excess capacity, weight, space, and buoyancy.
          Each of the Participating Parties in the Development Facilities or Platform shall receive its
          Participating Interest share of all fees derived from the utilization of the excess capacity, weight,
          space, and buoyancy. All hydrocarbon production from outside the Lease shall be processed
          under a “Facilities Use and Production Handling Agreement” unanimously agreed to by the
          Participating Parties in the Development Facilities.
12.4      Rights to Take in Kind
          Nothing in this Article 12 shall act to limit a Party’s rights under Article 22 (Disposition of

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          Production), or to otherwise separately dispose of its share of Hydrocarbon production. If a Party
          elects (a) not to participate in an approved Development Facilities proposal and (b) to separately
          dispose of its share of Hydrocarbon production (the “Separately Disposing Party”), the Separately
          Disposing Party (c) shall not be subject to the provisions of Article 13.2.1.(b), but must provide
          proof to the Participating Parties in the approved Development Facilities proposal, within seven
          (7) days from the last applicable response date to the Development Facilities proposal, that it has
          entered into fabrication and transportation contracts to separately dispose of its own share of
          Hydrocarbon production. If a Separately Disposing Party fails to provide such proof by that
          deadline and if there is sufficient capacity for the Development Facilities to accommodate the
          Separately Disposing Party’s share of the Hydrocarbons, it shall immediately (i) become a
          Participating Party in the Development Facilities and utilize the Development Facilities for its
          share of Hydrocarbon production, (ii) pay to the Participating Parties in the approved
          Development Facilities proposal an amount equal to two hundred percent (200%) of what would
          have been the Separately Disposing Party’s share of the costs and expense of the Development
          Facilities had it elected to participate in the Development Facilities under Article 12.1 or 12.2, and
          (iii) assume its share of the risks and liabilities associated with the construction and ownership of
          the Development Facilities as of the date of commencement of the operations to construct same.
          The Participating Parties in the original Development Facilities and the Separately Disposing
          Party, which becomes a Participating Party in the original Development Facilities under this
          Article 12.4, shall own the original Development Facilities based on their Participating Interest
          share in the original Development Facilities. If a Separately Disposing Party fails to provide such
          proof by that deadline and if there is insufficient capacity for the Development Facilities to
          accommodate the Separately Disposing Party’s share of the Hydrocarbons, the Separately
          Disposing Party shall (i) become a Participating Party in the original Development Facilities and
          utilize the available capacity in the original Development Facilities, if any, for its share of
          Hydrocarbon production, (ii) pay one hundred percent (100%) of the costs of an expansion or
          modification of the Development Facilities, which is required to accommodate all or a portion of its
          share of the Hydrocarbons, and assume one hundred percent (100%) of the risks and liabilities
          associated with (a) the construction, installation and commissioning of the expanded or modified
          Development Facilities and (b) the utilization of the expanded or modified Development Facilities
          for thirty (30) days after the commencement of Hydrocarbon production through same, (iii) pay to
          the Participating Parties in the approved Development Facilities proposal an amount equal to two
          hundred percent (200%) of what would have been the Separately Disposing Party’s share of the
          costs and expense of the original Development Facilities had it elected to participate in the
          original Development Facilities under Article 12.1 or 12.2, and (iv) assume its share of the risks
          and liabilities associated with the construction and ownership of the original Development
          Facilities as of the date of commencement of the operations to construct the original

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          Development Facilities. The Participating Parties in the original Development Facilities and the
          Separately Disposing Party, which becomes a Participating Party in the original Development
          Facilities under Article 12.4(i), shall own the expanded or modified Development Facilities based
          on their Participating Interest share in the original Development Facilities, and the Participating
          Parties in the original Development Facilities shall assume their Participating Interest share of the
          risks and liabilities associated with the ownership of the expanded or modified Development
          Facilities thirty (30) days after that the expanded or modified Development Facilities have been
          utilized.
12.5      Expansion or Modification of a Platform and/or Development Facilities
          After installation of a Platform and/or Development Facilities, any Participating Party in that
          Platform and/or Development Facilities may propose the expansion or modification of that
          Platform and/or Development Facilities by written notice (along with its associated AFE) to the
          other Participating Parties in that Platform and/or Development Facilities. That proposal requires
          approval by one (1) or more of the Participating Parties in the Platform and/or Development
          Facilities with more than fifty percent (50%) of the Participating Interest in the Platform and/or
          Development Facilities. If approved, that proposal will be binding on all Participating Parties in
          that Platform and/or Development Facilities, and Operator shall commence that expansion or
          modification at the sole cost and risk of all the Participating Parties in that Platform and/or
          Development Facilities unless otherwise agreed.
12.6      Offsite Host Facilities
          If one (1) or more Parties with more than fifty percent (50%) of the Participating Interest in
          Hydrocarbon production agree that Hydrocarbon production can most effectively be processed
          and handled by an Offsite Host Facilities, Operator, on behalf of the Participating Parties, shall
          use reasonable efforts to secure a formal “Facilities Use and Production Handling Agreement”
          from the owners of the Offsite Host Facilities. If Operator does secure access to Offsite Host
          Facilities in a Facilities Use and Production Handling Agreement, each Participating Party shall
          have the right, but not the obligation, to utilize its Participating Interest share of the capacity so
          secured. This Article 12.6 shall not constitute a limit on a Party’s right to install its own Take-in-
          Kind Facilities under Article 22 (Disposition of Production).




                                          ARTICLE 13
                                    NON-CONSENT OPERATIONS


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13.1      Non-consent Operations
          Operator shall conduct Non-consent Operations at the sole cost and risk of the Participating
          Parties in accordance with the following provisions:
          13.1.1 Non-interference
                  Non-consent Operations shall not interfere unreasonably with operations approved by all
                  the Parties.
          13.1.2 Multiple Completion Limitation
                  Subject to Article 10.9, a Non-consent Operation shall not be conducted in a well having
                  multiple Completions unless (a) each Completion is owned by the same Parties in the
                  same proportions; (b) the well is incapable of producing from any Completion; or (c) all
                  Participating Parties in the well consent to the operation.
          13.1.3 Metering
                  In Non-consent Operations, Hydrocarbon production shall be determined on the basis of
                  appropriate well tests, unless separate metering devices are required by a governmental
                  authority having jurisdiction.
          13.1.4 Non-consent Well
                  Operations on a Non-consent Well shall not be conducted in a Producible Reservoir
                  without approval of all Parties unless (a) the Producible Reservoir is designated in the
                  notice as a Completion objective; (b) Completion of the well in the Producible Reservoir
                  will not increase the rates of Hydrocarbon production that are prescribed and approved
                  for the Producible Reservoir by the governmental authority having jurisdiction; and (c) the
                  horizontal distance between the vertical projections of the midpoint of the Producible
                  Reservoir in the well and an existing well currently completed in and producing from the
                  same Producible Reservoir will be at least one thousand (1,000) feet for an oil-well
                  Completion or two thousand (2,000) feet for a gas-well Completion.
          13.1.5 Cost Information
                  Operator shall, within one hundred twenty (120) days after completion of a Non-consent
                  Operation, furnish the Parties either (a) an inventory and an itemized statement of the
                  cost of the Non-consent Operation and equipment pertaining thereto, or (b) a detailed
                  statement of the monthly billings. Each quarter thereafter, while the Participating Parties
                  are being reimbursed under Article 13.2.1 (Production Reversion Recoupment), Operator
                  shall furnish the Non-participating Parties a quarterly statement detailing all costs and
                  liabilities incurred in the Non-consent Operation, together with a statement of the
                  quantities of Hydrocarbons produced from it and the amount of the proceeds from the
                  sale of the Non-participating Parties’ relinquished Hydrocarbon production from the Non-
                  consent Operation for the preceding quarter.         Operator shall prepare the monthly
                  statement of the quantities of Hydrocarbons produced and the amounts of the proceeds

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                  from the sale of Non-participating Parties’ relinquished Hydrocarbon production based on
                  the proceeds received for Operator’s share of Hydrocarbon production. When Operator’s
                  payout calculation indicates that payout has occurred, Operator shall promptly notify all
                  Parties. The Participating Parties that assumed a portion of the Non-participating Parties’
                  relinquished interest shall then provide Operator all information pertaining to the
                  cumulative proceeds received from the sale of the Non-participating Parties’ relinquished
                  Hydrocarbon production. Operator shall revise the payout date using the actual proceeds
                  from the sale of the Non-participating Parties’ relinquished Hydrocarbon production and
                  administer any subsequent adjustments between the Parties.


          13.1.6 Completions
                  For determinations under Article 13.1 (Non-consent Operations), each Non-consent
                  Operation in a single wellbore shall be accounted for separately.
13.2      Relinquishment of Interest
          On commencement of Non-consent Operations, other than Non-consent Operations governed by
          Article 10.5 (Operations by Fewer Than All Parties) or Article 13.7 (Operations Utilizing a Non-
          consent Platform and/or Development Facilities), each Non-participating Party’s interest and
          leasehold operating rights in the Non-consent Operation and title to Hydrocarbon production
          resulting therefrom; and if Article 13.8 (Discovery or Extension from Non-consent Drilling) is
          effective, one-half (1/2) of each Non-participating Party’s interest and leasehold operating rights
          and title to Hydrocarbon production from wells mentioned in Article 13.8 (Discovery or Extension
          from Non-consent Drilling), shall be owned by and vested in each Participating Party in proportion
          to its Participating Interest, or in the proportions otherwise agreed by the Participating Parties, for
          as long as the Non-Consent Operation is being conducted or Hydrocarbon production is obtained
          therefrom, subject to the following:
          13.2.1 Production Reversion Recoupment
                  When the Participating Parties have recouped out of Hydrocarbon production from the
                  Non-consent Operations attributable to the Non-participating Party’s interest an amount,
                  which when added to amounts received under Article 13.3 (Deepening or Sidetracking of
                  Non-consent Well), equals the sum of the following:
                  (a)      Eight hundred percent (800%) of the Non-participating Party’s share of the costs
                           of the following Non-consent Exploratory Operations, or six hundred percent
                           (600%) of the Non-participating Party’s share of the costs of the following Non-
                           consent Development Operations: drilling, testing, Completing, Recompleting,
                           Deepening, Sidetracking, Reworking, plugging back, and temporarily abandoning
                           a well, reduced by the Non-participating Party’s Share of a cash contribution
                           received under Article 21.2 (Cash Contributions);

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                  (b)     If applicable, three hundred percent (300%) of Non-participating Party’s Share of
                          the cost of Platforms and/or Development Facilities approved under Article 12.1
                          (Proposal) or Article 12.2 (Counterproposals); such recoupment is limited to the
                          Non-participating Party’s Share of the Hydrocarbon production that utilize such
                          Platform and/or Development Facilities;
                  (c)     Two hundred percent (200%) of the Non-participating Party’s Share of the cost
                          charged in accordance with Article 13.9 (Allocation of Platform / Development
                          Facilities Costs to Non-consent Operations) of using an existing Platform /
                          Development Facilities; and
                  (d)     the Non-participating Party’s Share of the costs of operation, maintenance,
                          treating, processing, gathering, and transportation, including but not limited to an
                          Offsite Host Facilities’ handling fees, as well as lessor’s royalties and severance,
                          Hydrocarbon production, and excise taxes,
                  the relinquished interests of the Non-participating Party shall automatically revert to the
                  Non-participating Party as of 7:00 a.m. of the day after the recoupment occurs.
                  Thereafter, the Non-participating Party shall own the same interest in the Non-consent
                  Well, equipment pertaining thereto, including but not limited to any Platform or
                  Development Facilities, and the Hydrocarbon production therefrom as the Non-
                  participating Party would have owned or been entitled to if it had participated in the Non-
                  consent Operation. On reversion, the Non-participating Party shall become a
                  Participating Party and, as such, shall become liable for its proportionate share of the
                  further costs of the operation as set forth in this Agreement and Exhibit “C”.


          13.2.2 Non-production Reversion
                  If the Non-consent Operation fails to obtain Hydrocarbon production or if the operation
                  results in Hydrocarbon production that ceases before complete recoupment by the
                  Participating Parties under Article 13.2.1 (Production Reversion Recoupment), such
                  leasehold operating rights shall revert to each Non-participating Party, except that all
                  Non-consent Wells, Platforms, and Development Facilities shall remain vested in the
                  Participating Parties (but the salvage value in excess of the sum remaining under Article
                  13.2.1 shall be credited to all Parties).
13.3      Deepening or Sidetracking of Non-consent Well
          If a Participating Party proposes to Deepen or Sidetrack a Non-consent Well, a Non-participating
          Party may then elect to participate in the Deepening or Sidetracking operation by notifying
          Operator within thirty (30) days, or within forty-eight (48) hours, including Saturdays, Sundays,
          and federal holidays, if a rig is on location and standby charges are being incurred, after receiving
          notice of the proposal.    A Non-participating Party that elects to participate in Deepening or

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          Sidetracking the well, as proposed, shall immediately pay the Participating Parties, in accordance
          with Article 13.4 (Deepening or Sidetracking Cost Adjustments), its Working Interest share of
          actual well costs (excluding logging, coring, testing, and Completion costs other than the cost of
          setting any casing or Completion Equipment that is used in the Deepening or Sidetracking), less
          all amounts recovered by the Participating Parties from the proceeds of Hydrocarbon production
          from the well, as if the Non-participating Party had originally participated to the initial objective
          depth or formation, in the case of a Deepening operation, or the depth at which the Sidetracking
          operation is initiated.   Thereafter, the Non-participating Party shall be deemed to be a
          Participating Party for the Deepening or Sidetracking operations, and Article 13.2.1(a) shall not
          apply to that Party for the Deepened or Sidetracked portion of the well. The initial Participating
          Parties, however, shall continue to recoup out of the proceeds of Hydrocarbon production from
          the non-consent portion of the well any balance for the Non-consent Well remaining to be
          recovered under Article 13.2.1 (Production Reversion Recoupment), less the amounts paid by the
          Non-participating Party under this Article 13.3.
13.4      Deepening or Sidetracking Cost Adjustments
          If a proposal is made to Deepen or Sidetrack a Non-consent Well, a well cost adjustment will be
          performed as follows:
          (a)     Intangible drilling will be valued at the actual cost incurred by the Participating Parties.
          (b)     Tangible materials will be valued in accordance with the provisions of Exhibit “C”.
          (c)     For Sidetracking operations, the values determined in Articles 13.4(a) and 13.4(b) shall
                  be reduced by the amount allocated to that portion of the well from the surface to one
                  hundred feet (100’) below the point at which the Sidetracking was initiated.              Such
                  allocations shall be consistent with the guidelines recommended by the applicable
                  Council of Petroleum Accountants Societies (“COPAS”) Guideline, as amended from time
                  to time.
          (d)     Amortization/depreciation shall be applied to both intangible and tangible values at the
                  rate of ten percent (10%) per annum from the date the well commenced Hydrocarbon
                  production to the date operations commence to Deepen or Sidetrack the well, provided,
                  however, that the value of tangible materials after applying depreciation shall never be
                  less than fifty percent (50%) of the value determined in Article 13.4(b).
13.5      Subsequent Operations in Non-consent Well
          Except as provided in Article 13.3 (Deepening or Sidetracking of Non-consent Well), an election
          not to participate in the drilling, Sidetracking, or Deepening of a well shall be deemed to be an
          election not to participate in any subsequent operations in the well before full recovery by the
          Participating Parties of the Non-participating Party’s recoupment amount.


13.6      Operations in a Production Interval

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          A Participating Party in a Production Interval may propose Rework or Sidetrack operations within
          that Production Interval, or to permanently plug and abandon that Production Interval in a well;
          however, no Production Interval in a well shall be abandoned without the unanimous approval of
          the Participating Parties in the Production Interval. If a proposal, estimated to exceed the amount
          specified in Article 8.2 (Authorization), is made to Rework or Sidetrack a Production Interval and
          the Participating Parties elect to participate in the proposed operation, Operator shall conduct the
          operation at their sole cost and risk. If fewer than all but one (1) or more Parties having a
          combined Participating Interest of fifty percent (50%) or more elect to participate in the proposed
          operation, Operator shall conduct the Reworking or Sidetracking operation at the cost and risk of
          the Participating Parties owning an interest in the Production Interval. A proposal to Rework an
          interval, other than a Production Interval, shall be made and approved in accordance with Article
          11.5 (Operations by Fewer Than All Parties).
13.7      Operations Utilizing a Non-consent Platform and/or Development Facilities
          Except as otherwise provided in Article 12.4 (Rights to Take in Kind) and this Article 13.7, if
          applicable, a Party that did not originally participate in a Platform and/or Development Facilities
          shall be a Non-participating Party for all operations utilizing the Platform and/or Development
          Facilities and shall be subject to Article 13.2 (Relinquishment of Interest). Notice, in accordance
          with Article 9 (Notices), shall be given to the Non-participating Party for all wells proposed to be
          drilled from or tied back to the Non-consent Platform and/or handled by non-consent
          Development Facilities.       If a Non-participating Party in a Non-consent Platform and/or
          Development Facilities desires to participate in the drilling of any such well proposed by the
          Participating Parties in the Platform and/or Development Facilities, the Non-participating Party
          desiring to join in the proposed well shall first pay the Participating Parties in the Platform and/or
          Development Facilities its proportionate share of the cost of the Platform and/or Development
          Facilities, including but not limited to costs of material, fabrication, transportation, and installation
          plus any remaining amounts to be recouped under Article 13.2.1(b). The Non-participating Party
          shall remit payment to Operator and Operator shall (a) reimburse the Participating Parties in the
          Platform and/or Development Facilities in the same proportions they are sharing in the Platforms
          and/or Development Facilities recoupment account, and (b) credit the applicable payout account.
          On payment of that amount, the original Non-participating Party shall become an owner and a
          Participating Party in the Platform and/or Development Facilities in the same manner as if
          recoupment had occurred under Article 13.2.1 (Production Reversion Recoupment), and may
          participate in all future wells drilled from or tied back to the Platform. As to well operations
          conducted from the Platform and/or Development Facilities before payment under this Article
          13.7, the original Non-participating Party shall remain a Non-participating Party in such Non-
          consent Operations until such time as the entire recoupment balance applicable to all such Non-
          consent Operations in the aggregate has occurred, as provided for in Articles 13.2.1(a) and

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          13.2.1(d).
13.8      Discovery or Extension from Non-consent Drilling
          If a Non-consent Well (a) discovers a new Producible Reservoir or (b) extends an existing
          Producible Reservoir beyond its recognized boundaries, as unanimously agreed by the
          Participating Parties in all existing wells currently producing from the existing Producible
          Reservoir before commencement of drilling operations, the recoupment of costs for the well shall
          be governed by Article 13.2 (Relinquishment of Interest) and shall be recovered by the
          Participating Parties in one (1) of the following ways:
          (a)     if the Non-consent Well is not completed and produced, recoupment shall be out of one-
                  half (1/2) of each Non-participating Party’s interest in Hydrocarbon production from all
                  subsequently drilled and completed wells on the Lease that are completed in the
                  Producible Reservoir discovered, or in that portion extended, by the Non-consent Well
                  and in which the Non-participating Party has a Participating Interest; or
          (b)     if the Non-consent Well is completed and produced, recoupment shall be out of the Non-
                  participating Party’s Share of all Hydrocarbon production from the Non-consent Well and
                  one-half (1/2) of the Non-participating Party’s interest in Hydrocarbon production from all
                  subsequently drilled and completed wells on the Lease that are completed in the
                  Producible Reservoir discovered, or in that portion extended, by the Non-consent Well
                  and in which the Non-participating Party has a Participating Interest.
13.9      Allocation of Platform / Development Facilities Costs to Non-consent Operations
          Non-consent Operations shall be subject to further conditions as follows:
          13.9.1 Charges
                  If a well is drilled or produced from a Platform and/or is produced through Development
                  Facilities whose Participating Parties are different from the Participating Parties in that
                  well or if the Participating Parties’ Participating Interest shares in that Platform and/or
                  Development Facilities are different from their Participating Interest shares in that well,
                  the rights of the Participating Parties in that well and the costs to use the Platform and/or
                  Development Facilities for that well shall be determined as follows:
                  (a)      The Participating Parties in that well shall pay to Operator a one-time slot usage
                           fee for the use of a slot on the Platform equal to two percent (2%) of the cost of
                           the Platform. Within fifteen (15) days of its receipt of that fee, Operator shall
                           distribute to the Participating Parties in the Platform their Participating Interest
                           share of that payment. For purposes of calculating the slot usage fee, the total
                           cost of the Platform shall be reduced by one-half percent (0.5%) per month,
                           commencing on the date the Platform was installed and continuing every month
                           thereafter until the month actual drilling operations on that well is commenced;
                           however, the total cost of the Platform shall not be reduced by more than fifty

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                      percent (50%) of the total Platform’s costs. The cost of additions to the Platform
                      shall be reduced in the same manner commencing the first month after the
                      addition is installed.    If that well is abandoned having never produced
                      Hydrocarbons, the right of the Participating Parties in that well to use the
                      Platform slot through which the well was drilled shall terminate unless those
                      Parties commence drilling a substitute well for the abandoned well through the
                      same slot within ninety (90) days of the abandonment. If that substitute well is
                      abandoned having never produced Hydrocarbons, the right of the Participating
                      Parties in that well to use the Platform slot through which the well was drilled
                      shall terminate.   The slot usage fee shall not apply to a slot deemed to be
                      “surplus”. A slot may be deemed surplus only by the unanimous agreement of
                      the Participating Parties in the Platform.
              (b)     The Participating Parties in that well shall pay to the owners of the Development
                      Facilities a lump sum equal to that portion of the total cost of those Development
                      Facilities that the throughput volume of the Non-consent Operation bears to the
                      current total design throughput volume of the Development Facilities.
                      Throughput volume shall be estimated by Operator in barrels produced per day
                      (with 1 barrel of oil equaling 5.8 mcf of gas), using an average daily volume of the
                      first three (3) months of Hydrocarbon production from the Non-consent
                      Operation. For purposes of calculating the Development Facilities lump sum
                      payment, the total cost of the Development Facilities shall be reduced by one-
                      half percent (0.5%) per month, commencing from the date when the
                      Development Facilities were installed and continuing every month thereafter until
                      the first month during which Hydrocarbon production from the Non-consent
                      Operation commences, but the total cost of the Development Facilities shall not
                      be reduced more than fifty percent (50%) of the total Development Facilities’
                      cost. If a modification, expansion, or addition to the Development Facilities is
                      made after commencing first Hydrocarbon production and before connection of
                      the Non-consent Operation to the Development Facilities, the Development
                      Facilities lump sum payment shall be reduced in the same manner described
                      above, from the month in which the Development Facilities modification,
                      expansion, or addition is completed until the first month during which
                      Hydrocarbon production from the Non-consent Operation is commenced.
              Payment of sums under this Article 13.9.1 is not a purchase of an additional interest in
              the Platform or the Development Facilities. Such payment shall be included in the total
              amount that the Participating Parties are entitled to recoup out of Hydrocarbon production
              from the Non-consent Well.

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          13.9.2 Operating and Maintenance Charges
                  The Participating Parties shall pay all costs necessary to connect a Non-consent Well to
                  the Platform and/or Development Facilities and that proportionate part of the costs of
                  operating and maintaining the Platform and/or Development Facilities applicable to the
                  Non-consent Well. Platform operating and maintenance costs that are costs not directly
                  attributable to a wellbore shall be allocated equally to all actively producing Completions.
                  Operating and maintenance costs for the Development Facilities shall be allocated on a
                  volume throughput basis, that is, in the proportion that the volume throughput of the well
                  bears to the total volume throughput of all wells connected to the Development Facilities.
                  Volume throughput, as used in this Article 13.9.2, shall be determined by considering all
                  Hydrocarbons and water volumes.
13.10     Allocation of Costs Between Zones
          Except as provided in Article 10.9 (Wells Proposed Below Deepest Producible Reservoir), if for
          any reason the Participating Interests of the Parties in a well are not the same for the entire depth
          or the Completion thereof, the costs of drilling, Completing, and equipping the well shall be
          allocated in an equitable manner, as agreed by the Parties, based on the value and allocation
          recommended in the applicable COPAS Guideline, as amended from time to time.
13.11     Lease Maintenance Operations
          An operation proposed within the last one (1) year of the primary term or, subsequent thereto, an
          operation proposed to perpetuate the Lease or portion thereof at its expiration date or otherwise,
          including but not limited to well operations, regulatory relief (for example, course of action
          necessary to satisfy the statutory or regulatory requirements of the governmental authority having
          jurisdiction), and other Lease operations, shall be deemed to be a “Lease Maintenance
          Operation.” To invoke this Article 13.11, a notice or an AFE that proposes an operation must
          state that the proposed operation is a Lease Maintenance Operation.
          13.11.1 Participation in Lease Maintenance Operations
                  A Party may propose a Lease Maintenance Operation by giving notice to the other
                  Parties. If fewer than all Parties elect to participate in the proposed Lease Maintenance
                  Operation, the proposing Party shall notify the Parties of the elections made. Each Party
                  electing not to participate shall then have a second opportunity to participate in the
                  proposed operation by notifying the other Parties of its election within forty-eight (48)
                  hours after receipt of the notice.    A Lease Maintenance Operation shall not require
                  minimum approval, either of the number of Parties or the percentage of the voting
                  interests of the Parties otherwise required in Article 6.1.2 (Vote Required). For a Lease
                  Maintenance Operation to be conducted, the Participating Parties must agree to pay and
                  bear one hundred percent (100%) of the costs and risks of the operation. If more than
                  one (1) Lease Maintenance Operation is proposed, the operation with the greatest

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                  percentage approval shall be conducted. Notwithstanding the recoupment provisions of
                  this Agreement, a Party electing not to participate in a well operation proposed as a
                  Lease Maintenance Operation shall promptly assign, effective as of the date the
                  operation commences, to the Participating Parties all its right, title, and interest in and to
                  that portion of the Lease that would otherwise expire and the property and equipment
                  attributable thereto, in accordance with Article 26 (Successors, Assigns). In the event of
                  such assignment, the assigning Party shall retain all obligations and liabilities incurred
                  before the effective date of such assignment, and the Participating Parties that are
                  assigned such interest may require the assigning Party to provide reasonable financial
                  assurances including but not limited to posting a performance bond (in an amount, form
                  and with a surety acceptable to the Participating Parties) for the retained liabilities for
                  such assigned interest. If more than one (1) Lease Maintenance Operation is proposed
                  and there is a tie between two (2) proposed operations, both operations shall be
                  conducted and the costs and risks of conducting both operations shall be paid and borne
                  by the Participating Parties. If the drilling of a well is undertaken as a Lease Maintenance
                  Operation, further operations conducted by the Participating Parties in the well shall be
                  governed by Article 10.9 (Course of Action After Reaching Objective Depth) or Article
                  11.9 (Course of Action After Reaching Objective Depth), whichever applies. If more than
                  one (1) well operation is conducted, any of which would perpetuate the Lease or such
                  portion thereof, an assignment shall not be required from a Party participating in any such
                  well operation.
          13.11.2 Accounting for Non-participation
                  If, after one (1) year from completion of a well operation conducted as a Lease
                  Maintenance Operation, the Lease or portion thereof is being perpetuated by a Lease
                  Maintenance Operation, as provided in Article 13.11.1 (Participation in Lease
                  Maintenance Operations), Operator shall render a final statement, if applicable, to the
                  assigning Party for its share of all expenses attributed to the assigned interest before the
                  effective date of the assignment, plus any credit or deficiency in salvage value calculated
                  under Article 15.3.1 (Prior Expenses). The assigning Party shall settle any deficiency
                  owed the non-assigning Parties within thirty (30) days after receipt of Operator’s
                  statement.
13.12     Retention of Lease by Non-consent Well
          If, at the expiration of the primary term of the Lease, one (1) or more Non-consent Wells, except
          wells drilled under Article 10.5.1 (First Exploratory Well) provision of Article 10.5 (Operations by
          Fewer Than All Parties), if selected, are the only wells perpetuating the Lease, Operator shall
          give written notice to each Non-participating Party that the Non-consent Wells are serving to
          perpetuate the Lease. Each Non-participating Party shall, within thirty (30) days after receipt of

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          Operator’s written notice, elect one (1) of the following:
          (a)     to assign its entire interest in the Lease to the Participating Parties in the proportions in
                  which the Non-consent Wells are owned subject to the assignor’s retained obligations
                  under Article 15.3.1 (Prior Expenses); or
          (b)     to pay the Participating Parties, within sixty (60) days after its election, the lesser of its
                  proportionate share of the actual well costs of the wells, as if the Non-participating Party
                  had originally participated, or the balance of the recoupment account. The payment shall
                  be made to Operator and credited to the account of each Participating Party. The Non-
                  participating Party shall remain as a Non-participating Party until full recoupment is
                  obtained, but the payment shall be credited against the total amount to be recouped by
                  the Participating Parties.
          A Non-participating Party that fails to make the required election shall be deemed to have elected
          under Article 13.12(a) to relinquish its entire interest in the Lease. If a Non-participating Party
          elects to make payment under Article 13.12(b) but fails to make the required payment within sixty
          (60) days after its election, the Non-participating Party shall either remain liable for the obligation
          to pay or, by unanimous vote of the Participating Parties, be deemed to have elected under
          Article 13.12(a) to relinquish its entire interest in the Lease. Each relinquishing Non-participating
          Party shall promptly execute and deliver an assignment of its interest to the Participating Parties,
          in accordance with Article 26 (Successors and Assigns) subject to the assignor’s retained
          obligations under Article 15.3.1 (Prior Expenses).
13.13     Non-Consent Premiums
          A non-consent premium paid by a Non-Participating Party to the Participating Parties shall be
          allocated to the Participating Parties based on their original Participating Interest share in the
          Non-consent Operation that generated the non-consent premium.



                                      ARTICLE 14
                           ABANDONMENT, SALVAGE, AND SURPLUS

14.1      Platform Salvage and Removal Costs
          When the Parties owning wells, Platforms, and/or Development Facilities unanimously agree to
          dispose of the wells, Platforms, and/or Development Facilities, it shall be disposed of by Operator
          in the time and manner approved by the Parties. The costs, risks, and net proceeds, if any, for the
          disposal shall be shared by the Parties in proportion to their Participating Interests therein.
14.2      Abandonment of Platforms, Development Facilities, or Wells
          Except as provided in Article 10 (Exploratory Operations) and Article 11 (Development
          Operations), a Participating Party may propose the abandonment of a Platform and Development
          Facilities or wells by notifying the other Participating Parties. No Platform and Development

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          Facilities or wellbore shall be abandoned without the unanimous approval of the Participating
          Parties. If the Participating Parties do not approve abandoning the Platform and Development
          Facilities or wells, Operator shall prepare a statement of the abandoning Party’s share of
          estimated abandonment costs, less its share of estimated salvage value, as determined by
          Operator pursuant to Exhibit “C”. The Party desiring to abandon it shall pay Operator, on behalf
          of the Participating Parties for that Party’s share of the estimated abandonment costs, less its
          share of estimated salvage value, within thirty (30) days after receipt of Operator’s statement. If
          the Party that shall serve as Operator after a Party abandons its interest does not qualify by
          BOEMRE as exempt from supplemental bonding requirements, then the Party desiring to
          abandon its interest may place its share of the estimated abandonment costs, less its estimated
          salvage value, in escrow, with such escrowed funds made available to Operator upon
          abandoning Party’s receipt of all necessary end of operations reports and site clearance and
          restoration report. If an abandoning Party’s respective share of the estimated salvage value is
          greater than its share of the estimated costs, Operator, on behalf of the Participating Parties, shall
          pay a sum equal to the deficiency to the abandoning Party within thirty (30) days after the
          abandoning Party’s receipt of Operator’s statement.
14.3      Assignment of Interest
          Each Participating Party desiring to abandon a Platform and Development Facilities or wells
          under Article 14.2 (Abandonment of Platforms, Development Facilities, or Wells) shall assign,
          effective as of the last applicable election date, to the non-abandoning Parties, in proportion to
          their Participating Interests, its interest in the Platform and Development Facilities or wells and
          the equipment therein and its ownership in the Hydrocarbon production from the wells. A Party
          so assigning shall be relieved from further liability for the Platform and Development Facilities or
          wells, except liability for payments under Article 14.2 (Abandonment of Platforms, Development
          Facilities, or Wells).
14.4      Abandonment Operations Required by Governmental Authority
          A well abandonment or Platform and Development Facilities removal required by a governmental
          authority having jurisdiction shall be accomplished by Operator with the costs, risks, and net
          proceeds, if any, to be shared by the Parties owning the well or Platform and Development
          Facilities in proportion to their Participating Interests therein. No approval by the Parties will be
          necessary for Operator to proceed with the government-required well abandonment, or Platform
          and Development Facilities removal. Operator shall provide the Parties with an informational AFE
          before commencing such an abandonment or removal.
14.5      Disposal of Surplus Material
          Material and equipment acquired hereunder may be classified as surplus by Operator when
          deemed no longer needed in present or foreseeable operations. Operator shall determine the
          value and cost of disposing of the materials in accordance with Exhibit “C”. If the material is

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          classified as junk or if the value, less cost of disposal, is less than or equal to Fifty Thousand
          Dollars ($50,000), Operator shall dispose of the surplus materials in any manner it deems
          appropriate. If the value, less the cost of disposal of the surplus material, is greater than Fifty
          Thousand Dollars ($50,000), Operator shall give written notice thereof to the Parties owning the
          material. Unless purchased by Operator, the surplus material shall be disposed of in accordance
          with the method of disposal approved by the Parties owning the material. Proceeds from the sale
          or transfer of surplus material shall be promptly credited to each Party in proportion to its
          ownership of the material at the time of retirement or disposition.



                                                ARTICLE 15
                                               WITHDRAWAL

15.1      Right to Withdraw
          Subject to this Article 15.1, any Party may withdraw from this Agreement as to the Lease (the
          “Withdrawing Party”) by giving prior written notice to all other Parties stating its decision to
          withdraw (“the withdrawal notice”).      The withdrawal notice shall specify an effective date of
          withdrawal that is at least sixty (60) days, but not more than ninety (90) days, after the date of the
          withdrawal notice. Within thirty (30) days of receipt of the withdrawal notice, the other Parties
          may join in the withdrawal by giving written notice of that fact to Operator (“written notice to join in
          the withdrawal”) and on giving written notice to join in the withdrawal are “Other Withdrawing
          Parties”. The withdrawal notice and the written notice to join in the withdrawal are unconditional
          and irrevocable offers by the Withdrawing Party and the Other Withdrawing Parties to convey to
          the Parties that do not join in the withdrawal (“the Remaining Parties”) the Withdrawing Party’s
          and the Other Withdrawing Parties’ entire Working Interest in the Lease, Hydrocarbon production,
          and other property and equipment owned under this Agreement.
15.2      Response to Withdrawal Notice
          Failure to respond to a withdrawal notice is deemed a decision not to join in the withdrawal.
          15.2.1 Unanimous Withdrawal
                  If all the other Parties join in the withdrawal,
                  (a)      no assignment of Working Interests shall take place;
                  (b)      subject to Article 14.4, no further operations may be conducted under this
                           Agreement unless agreed to by all Parties;
                  (c)      the Parties shall abandon all activities and operations within the Lease and
                           relinquish all of their Working Interests to the BOEMRE within one hundred
                           twenty (120) days of the conclusion of the thirty (30) day joining period; and
                  (d)      notwithstanding anything to the contrary in Article 14 (Abandonment, Salvage
                           and Surplus), Operator shall:

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                         1)      furnish all Parties a detailed abandonment plan, if applicable, and a
                                 detailed cost estimate for the abandonment within one hundred eighty
                                 (180) days after the conclusion of the thirty (30) day joining period; and
                         2)      cease operations and begin to permanently plug and abandon all wells
                                 and remove all Facilities in accordance with the abandonment plan.
          15.2.2 No Additional Withdrawing Parties
                 If none of the other Parties join in the withdrawal, the Remaining Parties must accept an
                 assignment of their Participating Interest share of the Withdrawing Party’s Working
                 Interest.
          15.2.3 Acceptance of the Withdrawing Parties’ Interests
                 If one (1) or more but not all of the other Parties join in the withdrawal and become Other
                 Withdrawing Parties, within forty-eight (48) hours (excluding Saturdays, Sundays, and
                 federal holidays) of the conclusion of the thirty (30) day joining period, each of the
                 Remaining Parties shall submit to Operator a written rejection or acceptance of its
                 Participating Interest share of the Withdrawing Party’s and Other Withdrawing Parties’
                 Working Interest. Failure to make that written rejection or acceptance shall be deemed a
                 written acceptance. If the Remaining Parties are unable to select a successor Operator,
                 if applicable, or if a Remaining Party submits a written rejection and the other Remaining
                 Parties do not agree to accept one hundred percent (100%) of the Withdrawing Party’s
                 and Other Withdrawing Parties’ Working Interest within fifteen (15) days of the conclusion
                 of the forty-eight- (48-) hour period to submit a written rejection or acceptance, the
                 Remaining Parties will be deemed to have joined in the withdrawal, and Article 15.2.1
                 (Unanimous Withdrawal) will apply.
          15.2.4 Effects of Withdrawal
                 Except as otherwise provided in this Agreement, after giving a withdrawal notice or a
                 written notice to join in the withdrawal, the Withdrawing Party and Other Withdrawing
                 Parties are not entitled to approve or participate in any activity or operation in the Lease,
                 other than those activities or operations for which they retain a financial responsibility.
                 The Withdrawing Party and Other Withdrawing Parties shall take all necessary steps to
                 accomplish their withdrawal by the effective date referred to in Article 15.1 (Right to
                 Withdraw) and shall execute and deliver to the Remaining Parties all necessary
                 instruments to assign their Working Interest to the Remaining Parties. A Withdrawing
                 Party and Other Withdrawing Parties shall bear all expenses associated with their
                 withdrawal and the transfer of their Working Interest.
15.3      Limitation on and Conditions of Withdrawal
          15.3.1 Prior Expenses
                 The Withdrawing Party and Other Withdrawing Parties remain liable for their Participating

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                 Interest share of the costs of all activities, operations, rentals, royalties, taxes, damages,
                 Hydrocarbon imbalances, or other liability or expense accruing or relating to (i)
                 obligations existing as of the effective date of the withdrawal, (ii) operations conducted
                 before the effective date of the withdrawal, (iii) operations approved by the Withdrawing
                 Party and Other Withdrawing Parties before the effective date of the withdrawal, or (iv)
                 operations commenced by Operator under one (1) of its discretionary powers under this
                 Agreement before the effective date of the withdrawal. Before the effective date of the
                 withdrawal, Operator shall provide a statement to the Withdrawing Party and Other
                 Withdrawing Parties for (1) their respective shares of all identifiable costs under this
                 Article 15.3.1 and (2) their respective Participating Interest shares of the estimated
                 current costs of plugging and abandoning all wells and removing all Platforms,
                 Development Facilities, and other material and equipment owned by the Joint Account,
                 less their respective Participating Interest Shares of the estimated salvage value of the
                 assets at the time of abandonment, as approved by vote. This statement of expenses,
                 costs, and salvage value shall be prepared by Operator under Exhibit “C”. Before
                 withdrawing, the Withdrawing Party and Other Withdrawing Parties shall pay Operator,
                 for the benefit of the Remaining Parties, the amounts allocated to them as shown in the
                 statement for all obligations and liabilities they have incurred and all obligations and
                 liabilities attributable to them before the effective date of the withdrawal.        All liens,
                 charges, and other encumbrances, including but not limited to overriding royalties, net
                 profits interest, and production payments, that the Withdrawing Party and Other
                 Withdrawing Parties placed (or caused to be placed) on their Working Interest shall be
                 fully satisfied or released before the effective date of its withdrawal (unless the
                 Remaining Parties are willing to accept the Working Interest subject to those liens,
                 charges, and other encumbrances).
          15.3.2 Confidentiality
                 The Withdrawing Party and Other Withdrawing Parties will continue to be bound by the
                 confidentiality provisions of Article 7.3 (Confidentiality) after the effective date of the
                 withdrawal but will have no further access to technical information relating to activities or
                 operations under this Agreement. The Withdrawing Party and Other Withdrawing Parties
                 are not required to return to the Remaining Parties Confidential Data acquired before the
                 effective date of the withdrawal.
          15.3.3 Emergencies and Force Majeure
                 No Party may withdraw during a Force Majeure or emergency that poses a threat to life,
                 safety, property, or the environment but may withdraw from this Agreement after
                 termination of the Force Majeure or emergency.          The Withdrawing Party and Other
                 Withdrawing Parties remain liable for their share of all costs and liabilities arising from the

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                  Force Majeure or emergency, including but not limited to the drilling of relief wells,
                  containment and clean-up of oil spills and pollution, and all costs of debris removal made
                  necessary by the Force Majeure or emergency.



                                     ARTICLE 16
                       RENTALS, ROYALTIES, AND OTHER PAYMENTS

16.1      Overriding Royalty and Other Burdens
          If the Working Interest or Participating Interest of a Party is subject to an overriding royalty,
          Hydrocarbon production payment, net profits interest, mortgage, lien, security interest, or other
          burden or encumbrance, other than lessor’s royalty and other burdens listed in Exhibit “A”, the
          Party so burdened shall pay and bear all liabilities and obligations created or secured by the
          burden or encumbrance and shall indemnify and hold the other Parties harmless from all claims
          and demands for payment asserted by the owners of the burdens or encumbrances. If a Party
          becomes entitled to an assignment under this Agreement, or as a result of Non-consent
          Operations hereunder becomes entitled to receive a relinquished interest, as provided in Article
          13.2 (Relinquishment of Interest), otherwise belonging to a Non-participating Party whose
          Working Interest in the operations is so burdened or encumbered, the Party entitled to receive the
          assignment from the Non-participating Party or the relinquished interest of the Non-participating
          Party’s Hydrocarbon production shall receive same free and clear of all such burdens and
          encumbrances, and the Non-participating Party whose interest is subject to the burdens and
          encumbrances shall hold the Participating Parties harmless for the burdens and encumbrances,
          and will bear same at its own expense.
16.2      Subsequently Created Interest
          Notwithstanding anything in this Agreement to the contrary, if a Party, after execution of this
          Agreement, creates an overriding royalty, Hydrocarbon production payment, net profits interest,
          carried interest, or any other interest out of its Working Interest that the Parties do not
          unanimously agree to list on Exhibit “A” (hereinafter called “Subsequently Created Interest”), the
          Subsequently Created Interest shall be made specifically subject to this Agreement. If the Party
          owning the interest from which the Subsequently Created Interest was established fails to pay,
          when due, its share of costs, and if the proceeds from the sale of Hydrocarbon production under
          Articles 8.6 (Security Rights) are insufficient for that purpose, or elects to abandon a well, or
          elects to relinquish its interest in the Lease, the Subsequently Created Interest shall be
          chargeable with a pro rata portion of all costs in the same manner as if the Subsequently Created
          Interest were a Working Interest, and Operator may enforce against the Subsequently Created
          Interest the lien and other rights granted or recognized under this Agreement to secure and
          enforce collection of costs chargeable to the Subsequently Created Interest. The rights of the
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          owner of the Subsequently Created Interest shall be, and hereby are, subordinated to the rights
          granted or recognized by Article 8.6 (Security Rights).
16.3      Payment of Rentals and Minimum Royalties
          Operator shall pay in a timely manner, for the joint account of the Parties, all rental, minimum
          royalties, and other similar payments accruing under the Lease and shall, on request, submit
          evidence of each such payment to the Parties. Operator shall not be held liable to the other
          Parties in damages for loss of the Lease or interest therein if, through mistake or oversight, a
          rental, minimum royalty, or other payment is not paid or is erroneously paid. The loss of a Lease
          or interest therein resulting from Operator’s failure to pay, or erroneous payment of rental or
          minimum royalty shall be a joint loss, and there shall be no readjustment of interests.           For
          Hydrocarbon production delivered in kind by Operator to a Non-operator or to another for the
          account of a Non-operator, the Non-operator shall provide Operator with information about the
          Non-operator’s proceeds received or the value of the Hydrocarbon production taken in kind in
          order that Operator may make payments of minimum royalties due.
16.4      Non-participation in Payments
          A Party that desires not to pay its share of a rental, minimum royalty, or similar payment shall
          notify the other Parties in writing at least sixty (60) days before the payment is due. Operator shall
          then make the payment for the benefit of the Parties that do desire to maintain the Lease. In
          such event, the Non-participating Party shall assign to the Participating Parties, on their request,
          the portions of its interest in the Lease maintained by the payment. The assigned interest shall
          be owned by each Participating Party in proportion to its Participating Interest. The assignment
          shall be made in accordance with Article 27 (Successors and Assigns) and shall be subject to the
          assignor’s retained obligations under Article 15.3.1 (Prior Expenses).
16.5      Royalty Payments
          Each Party shall be responsible for and shall separately bear and properly pay or cause to be
          paid all royalty and other amounts due on its share of Hydrocarbon production taken in
          accordance with state or federal regulations, as may be amended from time to time. Adjustments
          shall be made among the Parties in accordance with Exhibit “E” (Gas Balancing Agreement).
          During a period when Participating Parties in a Non-consent Operation are receiving a Non-
          participating Party’s share of Hydrocarbon production, the Participating Parties shall bear and
          properly pay, or cause to be paid, the Lease royalty on the Hydrocarbon production taken, and
          shall hold the Non-participating Parties harmless from liability for the payment.



                                                ARTICLE 17
                                                  TAXES

17.1      Property Taxes

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          Operator shall render property covered by this Agreement for ad valorem taxation, if applicable,
          and shall pay the property taxes for the benefit of each Party. Operator shall charge each Party
          its share of the tax payments. If the ad valorem taxes are based in whole or in part on separate
          valuations of each Party’s Working Interest, notwithstanding anything in this Agreement to the
          contrary, each Party’s share of property taxes shall be in proportion to the tax value generated by
          that Party’s Working Interest.
17.2      Contest of Property Tax Valuation
          Operator shall timely and diligently protest to a final determination each tax valuation it deems
          unreasonable. Pending such determination, Operator may elect to pay under protest. On final
          determination, Operator shall pay the taxes and the interest, penalties, and costs accrued as a
          result of the protest. In either event, Operator shall charge each Party its share of any amounts
          due, and each Party shall be responsible for reimbursing Operator for any such amounts paid.
17.3      Production and Severance Taxes
          Each Party shall pay, or cause to be paid, all production and severance taxes due on
          Hydrocarbon production that it receives under this Agreement.
17.4      Other Taxes and Assessments
          Operator shall pay other applicable taxes (other than income taxes, excise taxes, or other similar
          types of taxes) or assessments and charge each Party its share.


                                                 ARTICLE 18
                                                 INSURANCE

18.1      Insurance
          Operator shall provide and maintain the insurance prescribed in Exhibit “B” and charge those
          costs to the Joint Account. No other insurance shall be carried for the benefit of the Parties under
          this Agreement, except as provided in Exhibit “B”.
18.2      Bonds
          Operator shall obtain and maintain all bonds or financial guarantees required by an applicable
          law, regulation, or rule. The costs of those bonds or financial guarantees acquired exclusively for
          the conduct of activities and operations under this Agreement shall be charged to the Joint
          Account, including an amount equivalent to the reasonable cost of that bond or financial
          guarantee if Operator provides that bond or guarantee itself and does not engage a third party to
          do so. Operator shall require all contractors to obtain and maintain all bonds required by an
          applicable law, regulation, or rule.



                                            ARTICLE 19
                                LIABILITY, CLAIMS, AND LAWSUITS
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19.1      Individual Obligations
          The obligations, duties, and liabilities of the Parties under this Agreement are several, not joint or
          collective. Nothing in this Agreement shall ever be construed as creating a partnership of any
          kind, joint venture, agency relationship, association, or other character of business entity
          recognizable in law for any purpose. In their relations with each other under this Agreement, the
          Parties shall not be considered to be fiduciaries or to have established a confidential relationship,
          except as specifically provided in Article 7.3 (Confidentiality) and Article 7.4 (Limited Disclosure),
          but rather shall be free to act at arm’s length in accordance with their own respective self-
          interests. Each Party shall hold all other Parties harmless from liens and encumbrances on the
          Lease arising as a result of its acts.
19.2      Notice of Claim or Lawsuit
          If, on account of a matter involving activities or operations under this Agreement, or affecting the
          Lease, a claim is made against a Party, or if a party outside this Agreement files a lawsuit against
          a Party, or if a Party files a lawsuit, or if a Party receives notice of a material administrative or
          judicial hearing or other proceeding, that Party shall give written notice of the claim, lawsuit,
          hearing, or proceeding (“Claim”) to the other Parties as soon as reasonably practical.


19.3      Settlements
          Operator may settle a Claim, or multiple Claims arising out of the same incident, involving
          activities or operations under this Agreement or affecting the Lease, if the aggregate expenditure
          does not exceed five hundred thousand dollars ($500,000.00) and if the payment is in complete,
          or substantially complete, settlement of these Claims. If the amount required for settlement
          exceeds this amount, the Parties shall determine the further handling of the Claims under Article
          19.4 (Defense of Claims and Lawsuits).
19.4      Defense of Claims and Lawsuits
          Operator shall supervise the handling, conduct, and prosecution of all Claims involving activities
          or operations under this Agreement or affecting the Lease. Claims may be settled in excess of
          the amount specified in Article 19.3 (Settlements) if the settlement is approved by vote in
          accordance with Article 6.1.2 of the Participating Parties in the activity or operation out of which
          the Claim arose, but a Party may independently settle a Claim or the portion of a Claim that is
          attributable to its Participating Interest share alone as long as that settlement does not directly
          adversely affect the interest or rights of the other Participating Parties. Legal expenses shall be
          handled in accordance with Exhibit “C”.
19.5      Liability for Damages
          UNLESS SPECIFICALLY PROVIDED OTHERWISE IN THIS AGREEMENT, LIABILITY FOR
          LOSSES, DAMAGES, COSTS, EXPENSES OR CLAIMS INVOLVING ACTIVITIES OR

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          OPERATIONS UNDER THIS AGREEMENT OR AFFECTING THE LEASE THAT ARE NOT
          COVERED BY OR IN EXCESS OF THE INSURANCE CARRIED FOR THE JOINT ACCOUNT
          SHALL BE BORNE BY EACH PARTY IN PROPORTION TO ITS PARTICIPATING INTEREST
          SHARE IN THE ACTIVITY OR OPERATION OUT OF WHICH THAT LIABILITY ARISES,
          EXCEPT TO THE EXTENT THAT LIABILITY RESULTS FROM THE GROSS NEGLIGENCE OR
          WILLFUL MISCONDUCT OF A PARTY, IN WHICH CASE THAT PARTY SHALL BE SOLELY
          RESPONSIBLE FOR LIABILITY RESULTING FROM ITS GROSS NEGLIGENCE OR WILLFUL
          MISCONDUCT.
19.6      Indemnification for Non-consent Operations
          TO THE EXTENT ALLOWED BY LAW, THE PARTICIPATING PARTIES WILL HOLD THE
          NON-PARTICIPATING      PARTIES    (AND     THEIR   AFFILIATES,   AGENTS,   INSURERS,
          DIRECTORS, OFFICERS, AND EMPLOYEES) HARMLESS AND RELEASE, DEFEND, AND
          INDEMNIFY THEM AGAINST ALL CLAIMS, DEMANDS, LIABILITIES, REGULATORY
          DECREES, AND LIENS FOR ENVIRONMENTAL POLLUTION AND PROPERTY DAMAGE OR
          PERSONAL INJURY, INCLUDING SICKNESS AND DEATH, CAUSED BY OR OTHERWISE
          ARISING OUT OF NON-CONSENT OPERATIONS, AND ANY LOSS AND COST SUFFERED
          BY A NON-PARTICIPATING PARTY AS AN INCIDENT THEREOF, EXCEPT WHERE THAT
          LOSS OR COST RESULTS FROM THE SOLE, CONCURRENT, OR JOINT NEGLIGENCE,
          FAULT, OR STRICT LIABILITY OR WILLFUL MISCONDUCT OF THAT NON-PARTICIPATING
          PARTY, IN WHICH CASE EACH PARTY SHALL PAY OR CONTRIBUTE TO THE
          SETTLEMENT OR SATISFACTION OF JUDGMENT IN THE PROPORTION THAT ITS
          NEGLIGENCE, FAULT, OR STRICT LIABILITY OR WILLFUL MISCONDUCT CAUSED OR
          CONTRIBUTED TO THE INCIDENT. IF AN INDEMNITY IN THIS AGREEMENT IS
          DETERMINED TO VIOLATE LAW OR PUBLIC POLICY, THAT INDEMNITY SHALL THEN BE
          ENFORCEABLE ONLY TO THE MAXIMUM EXTENT ALLOWED BY LAW.
19.7      Damage to Reservoir, Loss of Reserves and Profit
          NOTWITHSTANDING ANY CONTRARY PROVISION OF THIS AGREEMENT, NO PARTY IS
          LIABLE   TO   ANY   OTHER     PARTY    FOR   SPECIAL,   INDIRECT,   CONSEQUENTIAL,
          EXEMPLARY OR PUNITIVE DAMAGES RESULTING FROM OR ARISING OUT OF THIS
          AGREEMENT, INCLUDING WITHOUT LIMITATION DAMAGE TO A RESERVOIR, LOSS OF
          HYDROCARBONS, LOSS OF PROFITS, OR BUSINESS INTERRUPTIONS, HOWSOEVER
          THE SAME MAY BE CAUSED.
19.8      Non-essential Personnel
          A NON-OPERATOR THAT REQUESTS TRANSPORTATION OR ACCESS TO A DRILLING
          RIG, PLATFORM, VESSEL, OR OTHER FACILITY USED FOR ACTIVITIES OR OPERATIONS
          UNDER THIS AGREEMENT SHALL HOLD THE OTHER PARTIES HARMLESS AND SHALL
          RELEASE, DEFEND, AND INDEMNIFY THEM AGAINST (I) ALL CLAIMS, DEMANDS, AND

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          LIABILITIES FOR PROPERTY DAMAGE AND (II) ALL CLAIMS, DEMANDS, AND
          LIABILITIES FOR ANY LOSS OR COST SUFFERED BY A PARTY AS AN INCIDENT
          THEREOF, INCLUDING BUT NOT LIMITED TO INJURY, SICKNESS, AND DEATH, CAUSED
          BY OR OTHERWISE ARISING OUT OF THAT TRANSPORTATION OR ACCESS, OR BOTH,
          EXCEPT TO THE EXTENT THAT LOSS OR COST RESULTS FROM THE GROSS
          NEGLIGENCE OR WILLFUL MISCONDUCT OF THE PARTY SO INDEMNIFIED AND
          PROTECTED.


                                          ARTICLE 20
                                  INTERNAL REVENUE PROVISION

20.1      Internal Revenue Provision
          Notwithstanding any provision in this Agreement to the effect that the rights and liabilities of the
          Parties are several, not joint or collective, and that the Agreement and the activities and
          operations under this Agreement do not constitute a partnership under state law, each Party
          elects to be excluded from the application of all or any part of the provisions of Subchapter K,
          Chapter 1, Subtitle A, of the Internal Revenue Code of 1986, as amended, or similar provisions of
          applicable state laws regardless of whether for federal income tax purposes this Agreement and
          the activities and operations under this Agreement are regarded as a partnership.


                                               ARTICLE 21
                                             CONTRIBUTIONS

21.1      Notice of Contributions Other Than Advances for Sale of Production
          Each Party shall promptly notify the other Parties of all offers of contributions that it may obtain, or
          contributions it is attempting to obtain, for the drilling of a well or the conducting of an operation
          on the Lease. Payments received as consideration for entering into a contract for the sale of
          Hydrocarbon production from the Lease, loans, and other financial arrangements shall not be
          considered contributions for the purpose of this Article 21. No Party shall release or obligate itself
          to release Confidential Data in return for a contribution from a third party without prior written
          consent of the Participating Parties or Parties having the right to participate in the well.
21.2      Cash Contributions
          If a Party receives a cash contribution for drilling a well on the Lease or conducting an activity or
          operation on the Lease, the cash contribution shall be paid to Operator, and Operator shall credit
          the amount thereof to the Parties in proportion to their Participating Interests in the well or the
          Platform and/or Development Facilities. If the well is a Non-consent Well, the amount of the
          contribution shall be deducted from the cost specified in Article 13.2.1(a) before computation of
          the amount to be recouped out of Hydrocarbon production.
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21.3      Acreage Contributions
          If a Party receives an acreage contribution for the drilling of a well on the Lease, the acreage
          contribution shall be shared by each Participating Party that accepts it in proportion to its
          Participating Interest in the well. As between the Participating Parties, this Agreement shall apply
          separately to the acreage.




                                            ARTICLE 22
                                    DISPOSITION OF PRODUCTION

22.1      Take-in-Kind Facilities
          Subject to Article 22.2, a Party may, at its sole cost and risk, construct Take-in-Kind Facilities to
          take its share of Hydrocarbon production in kind.
22.2      Duty to Take in Kind
          Each Party shall own and, at its own cost and risk, shall take in kind or separately dispose of its
          share of the oil, gas, and condensate produced and saved from the Lease, excluding
          Hydrocarbon production used by Operator in activities or operations conducted under this
          Agreement, subject to this Article 22.      In order to avoid interference with operations on or
          regarding the Platform, the Development Facilities, and the Lease, a Party exercising its right to
          construct Take-in Kind Facilities (“the Take in Kind Party”) shall provide Operator with a list of
          equipment it deems necessary for its Take in Kind Facilities (“the components”) along with its
          notice informing Operator of its election to take in kind. If Operator, in its sole discretion, agrees
          to install and operate the Take-in Kind Facilities, Operator shall purchase the components and
          install it on behalf of the Take in Kind Party at the Take in Kind Party’s sole risk and cost,
          including but not limited to any fees, penalties or other costs incurred as a result of any
          cancellation of placed orders as may be requested by the Take in Kind Party. Operator shall
          provide the Take in Kind Party with monthly updates on the progress of the ordering and
          installation of the Take in Kind Facilities. Operator, based on the instructions of the Take in Kind
          Party, shall install and operate all the components. Operator shall not be responsible for any
          losses or damages to the components or the Take in Kind Party’s Hydrocarbon production
          metered, treated, processed, or transported by the components unless such losses or damages
          are the result of Operator’s gross negligence or willful misconduct. If Operator refuses or fails to
          install the Take-in Kind Facilities by one hundred twenty (120) days before the deadline provided
          in Section 12.4, the Take-in Kind Party shall have the right to install and operate the Take-in Kind
          Facilities providing that such operations do not interfere with existing operations or proposed
          operations that have been approved under terms of this Agreement.

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22.3      Failure to Take Oil and Condensate in Kind
          Notwithstanding Article 22.2 (Duty to Take in Kind), if a Party fails to take in kind or dispose of its
          share of the oil or condensate, Operator shall have the right, but not the obligation, subject to
          revocation at will by the Party owning the Hydrocarbon production, to purchase for its own
          account, sell to others, or otherwise dispose of all or part of the Hydrocarbon production at the
          same price at which Operator calculates and pays lessor’s royalty on its own portion of the oil or
          condensate. Operator shall notify the non-taking Party when the option is exercised. A purchase
          or sale by Operator of any other Party’s share of the oil or condensate shall be for such
          reasonable periods of time as are consistent with the minimum needs of the industry under the
          circumstances, but in no event shall a contract be for a period in excess of one (1) year.
          Proceeds of the oil or condensate purchased, sold, or otherwise disposed of by Operator under
          this Article 22.3 shall be paid to the Party that had, but did not exercise, the right to take in kind
          and separately dispose of the oil or condensate. Operator, in disposing of another Party’s oil or
          condensate, shall not be responsible for making any filing with regulatory agencies not required
          by law to be made by it in respect to another Party’s share of oil or condensate. Unless required
          by governmental authority having jurisdiction or by judicial process, no Party shall be forced to
          share an available market with a non-taking Party.
22.4      Failure to Take Gas in Kind
          Article 22.3 (Failure to Take Oil and Condensate in Kind) shall not apply to gas produced from the
          Lease. In no event shall Operator be responsible for, or obligated to dispose of, another Party’s
          share of gas production. If for any reason a Party fails to take or market its full share of gas as
          produced, that Party may later take, market, or receive a cash accounting for its full share in
          accordance with Exhibit “E”.
22.5      Expenses of Delivery in Kind
          A cost that is incurred by Operator in making delivery of a Party’s share of Hydrocarbons or
          disposing of same shall be paid by the Party.



                                      ARTICLE 23
                        APPLICABLE LAW, JURISDICTION, AND VENUE

23.1      Applicable Law
          THIS AGREEMENT AND THE RELATIONSHIP OF THE PARTIES UNDER THIS AGREEMENT
          SHALL BE GOVERNED BY AND INTERPRETED IN ACCORDANCE WITH THE GENERAL
          MARITIME LAW, OR IF THE GENERAL MARITIME LAW IS NOT APPLICABLE, THE LAWS
          OF THE STATE OF TEXAS, WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OF LAWS
          THAT WOULD OTHERWISE REFER THE MATTER TO THE LAWS OF ANOTHER
          JURISDICTION; PROVIDED HOWEVER, THAT NO LAW THEORY OR PUBLIC POLICY

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          SHALL BE GIVEN EFFECT THAT WOULD UNDERMINE, DIMINISH, OR REDUCE THE
          EFFECTIVENESS OF THE WAIVER DAMAGES PROVIDED IN THE PRECEDING ARTICLE
          19.7, IT BEING THE EXPRESS INTENT, UNDERSTANDING, AND AGREEMENT OF THE
          PARTIES      THAT      SUCH      WAIVER       IS    TO   BE     GIVEN     THE       FULLEST   EFFECT,
          NOTWITHSTANDING THE NEGLIGENCE (WHETHER SOLE, JOINT, OR CONCURRENT),
          GROSS NEGLIGENCE, WILLFUL MISCONDUCT, STRICT LIABILITY, OR OTHER LEGAL
          FAULT OF A PARTY HERETO.
23.2      Jurisdiction and Venue
          For every dispute that arises under this Agreement, including any claim of breach of this
          Agreement, the Parties hereby consent to the exclusive jurisdiction and venue of a Federal court
          or Texas state court sitting in Houston, Texas.



                                     ARTICLE 24
                      LAWS, REGULATIONS, AND NONDISCRIMINATION

24.1      Laws and Regulations
          This Agreement and operations under this Agreement are subject to all applicable laws, rules,
          regulations, and orders by all governmental authorities claiming jurisdiction now and in the future.
          A provision of this Agreement found to be contrary to or inconsistent with any such law, rule,
          regulation, or order shall be deemed to have been modified accordingly.
24.2      Nondiscrimination
          In performing work under this Agreement, the Parties shall comply and Operator shall require
          each independent contractor to comply with the governmental requirements in Exhibit “D” and
          with Articles 202(1) to (7), including Executive Order 11246, as amended.


                                                ARTICLE 25
                                              FORCE MAJEURE

25.1      Force Majeure
          If a Party is unable, wholly or in part because of a Force Majeure, to carry out its obligations
          under this Agreement, other than the obligation to make money payments, that Party shall give
          the other Parties prompt written notice of the Force Majeure with sufficient particulars about it.
          Effective on the date notice is given, the obligations of the Party, so far as they are affected by
          the Force Majeure, shall be suspended during, but no longer than, the continuance of the Force
          Majeure. Time is of the essence in the performance of this Agreement, and every reasonable
          effort will be made by the Party to avoid delay or suspension of any work or acts to be performed
          under this Agreement. The requirement that the Force Majeure be remedied with all reasonable
          dispatch shall not require a Party to settle strikes or other labor difficulties.
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                                          ARTICLE 26
                                    SUCCESSORS AND ASSIGNS

26.1      Transfer of Interest
          Except as provided in 26.1.1 (Exceptions to Transfer Notice), a Transfer of Interest shall be
          provided by written notice to Operator and the other Parties (“the Transfer Notice”). Any Transfer
          of Interest shall be made to a party qualified by the BOEMRE to own leases in the Gulf of Mexico,
          and is financially capable of assuming the corresponding obligations under this Agreement. The
          non-transferring Parties’ consent can be conditioned on requiring the proposed transferee to
          provide (i) replacement financial assurances for any financial assurances previously provided by
          the transferring Party and (ii) additional reasonable financial assurances of the party to which the
          working interest is to be transferred and its ability to perform its obligations under this Agreement,
          after giving due consideration to the replacement financial assurances to be provided pursuant to
          clause (i). All Transfers of Interest to any Person must be approved by and consented to in
          writing by the non-transferring Parties for any assignment made hereunder to be valid and
          binding upon the non-transferring Parties. Any Transfer of Interest shall contain a provision in the
          assignment requiring that the non-transferring Parties’ written consent must also be obtained
          before any future Transfer of Interest under this Agreement in whole or in part to any Person, and
          shall also include a provision that the party to which the working interest is transferred to be
          bound by all the terms and conditions of this Agreement. No Transfer of Interest shall release a
          Party from its obligations and liabilities under this Agreement, and the security rights under Article
          8.6 (Security Rights) shall continue to burden the Working Interest transferred and to secure the
          payment of those obligations and liabilities.
          26.1.1 Exceptions to Transfer Notice
                  Notwithstanding any contrary provision of this Agreement, the Transfer Notice is not
                  required when a Party proposes to mortgage, pledge, hypothecate, or grant a security
                  interest in all or a portion of its Working Interest (including Assignments of Hydrocarbon
                  production executed as further security for the debt secured by that security device), in
                  any wells, Platforms, Development Facilities, or other equipment.              However, an
                  encumbrance arising from the financing transaction shall be expressly made subject and
                  subordinated to this Agreement.
          26.1.2 Effective Date of Transfer of Interest
                  A Transfer of Interest becomes effective twenty (20) days after the day all Parties are in
                  receipt of the Transfer Notice. No Transfer of Interest, other than those provided in
                  Article 15.1 (Right to Withdraw) and Article 26.1.1 (Exceptions to Prior Written Notice), is
                  binding on the Parties unless and until (i) the assignor or assignee provides all remaining

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                  Parties with a photocopy of a fully executed Transfer of Interest, an executed BOEMRE
                  “Designation of Operator” form and a designation of oil spill responsibility form, and (ii)
                  evidence of receipt of all necessary approvals by the BOEMRE.              The Parties shall
                  promptly undertake all reasonable actions necessary to secure those approvals and shall
                  execute and deliver all documents necessary to effectuate that Transfer of Interest. All
                  costs attributable to a Transfer of Interest are the sole obligation of the assigning Party.
          26.1.3 Form of Transfer of Interest
                  Any Transfer of Interest shall incorporate provisions that the Transfer of Interest is
                  subordinate to and made expressly subject to this Agreement and provide for the
                  assumption by the assignee of the performance of all the assigning Party’s obligations
                  under this Agreement. Any Transfer of Interest not in compliance with this provision is
                  voidable by the non-assigning Parties.


          26.1.4 Warranty
                  Any Transfer of Interest, vesting, or relinquishment of Working Interest between the
                  Parties under this Agreement shall be made without warranty of title, except as provided
                  in the next sentence. All liens, charges, and other encumbrances, including but not
                  limited to overriding royalties, net profits interest, and production payments, which a Party
                  placed (or caused to be placed) on its Working Interest shall be fully satisfied or released
                  before the effective date of a Transfer of Interest, vesting, or relinquishment of Working
                  Interest between that Party and another Party under this Agreement (unless the other
                  Party is willing to accept the Working Interest subject to those liens, charges, and other
                  encumbrances).



                                           ARTICLE 27
                                   ADMINISTRATIVE PROVISIONS

27.1      Term
          This Agreement shall remain in effect so long as a Lease remains in effect and thereafter until (a)
          all wells have been abandoned and plugged or turned over to the Parties owning an interest in
          the Lease on which the wells are located; (b) all Platforms, Development Facilities, and
          equipment have been disposed of by Operator in accordance with Article 14 (Abandonment,
          Salvage, and Surplus); (c) all Claims as defined in Article 19 (Liability, Claims, and Lawsuits)
          have been settled or otherwise disposed of; and (d) there has been a final accounting and
          settlement by all Parties. In accordance with Article 4.5 (Selection of Successor Operator), this
          Agreement will terminate if no Party is willing to become Operator, effective after all conditions in
          clauses (a) through (d) above have been completed.              In accordance with Article 15.2.1

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          (Unanimous Withdrawal), this Agreement will terminate if all Parties elect to withdraw, effective
          after all conditions in clauses (a) through (d) above have been completed. Termination of this
          Agreement shall not relieve a Party of a liability or obligation accrued or incurred before
          termination and is without prejudice to all continuing confidentiality obligations or other obligations
          in this Agreement.
27.2      Waiver
          A term, provision, covenant, representation, warranty, or condition of this Agreement may be
          waived only by written instrument executed by the Party waiving compliance. The failure or delay
          of a Party in the enforcement or exercise of the rights granted under this Agreement shall not
          constitute a waiver of said rights nor shall it be considered as a basis for estoppel. Time is of the
          essence in the performance of this Agreement and all time limits shall be strictly construed and
          enforced.
27.3      Waiver of Right to Partition
          Each Party waives the right to bring an action for partition of its interest in the Lease, wells,
          Platform, Development Facilities, and other equipment held under this Agreement, and covenants
          that during the existence of this Agreement it shall not resort at any time to an action at law or in
          equity to partition any or all of the Lease and lands or personal property subject to this
          Agreement.
27.4      Compliance with Laws and Regulations
          This Agreement, and all activities or operations conducted by the Parties under this Agreement,
          are expressly subject to, and shall comply with, all laws, orders, rules, and regulations of all
          federal, state, and local governmental authorities having jurisdiction over the Lease.
          27.4.1 Severance of Invalid Provisions
                   If, for any reason and for so long as, a clause or provision of this Agreement is held by a
                   court of competent jurisdiction to be illegal, invalid, unenforceable, or unconscionable
                   under a present or future law or interpretation thereof, the remainder of this Agreement
                   will not be affected by that illegality or invalidity. An illegal or invalid provision will be
                   deemed severed from this Agreement, as if this Agreement had been executed without
                   the illegal or invalid provision. The surviving provisions of this Agreement will remain in
                   full force and effect unless the removal of the illegal or invalid provision destroys the
                   legitimate purposes of this Agreement, in which event this Agreement shall be null and
                   void.
          27.4.2 Fair and Equal Employment
                   Each of the Parties is an Equal Opportunity Employer, and the equal opportunity
                   provisions of 30 CFR 270 and 41 CFR 60-1, as amended or modified, are incorporated in
                   this Agreement by reference.        The affirmative-action clauses concerning disabled
                   veterans and veterans of the Vietnam era (41 CFR 60-250) and the affirmative-action

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                    clauses concerning employment of the handicapped (41 CFR 60-741) are also
                    incorporated in this Agreement by reference. In performing work under this Agreement,
                    the Parties shall comply with (and Operator shall require each independent contractor to
                    comply with) the governmental requirements in Exhibit “D” that pertain to non-segregated
                    facilities.
27.5          Construction and Interpretation of This Agreement
              27.5.1 Headings for Convenience
                    Except for the definition headings in Article 2 (Definitions), all the table of contents,
                    captions, numbering sequences, and paragraph headings in this Agreement are inserted
                    for convenience only and do not define, expand, or limit the scope, meaning, or intent of
                    this Agreement.
          27.5.2 Article References
                    Except as otherwise provided in this Agreement, each reference to an article of this
                    Agreement includes all the referenced article and its sub-articles.
          27.5.3 Gender and Number
                    The use of pronouns in whatever gender or number is a proper reference to the Parties to
                    this Agreement though the Parties may be individuals, business entities, or groups
                    thereof. Reference in this Agreement to the singular of a noun or pronoun includes the
                    plural and vice versa.
          27.5.4 Future References
                    A reference to a Party includes such Party’s successors and assigns and, in the case of
                    governmental bodies, persons succeeding to their respective functions and capacities.
          27.5.5 Currency
                    Any amounts due or payable under this Agreement shall be paid in United States
                    currency.
          27.5.6 Optional Provisions
                    If any “Optional” provision of this Agreement is not adopted by the Parties to this
                    Agreement by a typed, printed, or handwritten indication, such provision shall not form a
                    part of this Agreement, and no inference shall be made concerning the intent of the
                    Parties in regard to the subject matter of the “Optional” provision.
          27.5.7 Joint Preparation
                    This Agreement shall be deemed for all purposes to have been prepared through the joint
                    efforts of the Parties and shall not be construed for or against one (1) Party or the other
                    as a result of the preparation, submittal, drafting, execution, or other event of negotiation
                    hereof.
          27.5.8 Integrated Agreement
                    This Agreement contains the final and entire agreement of the Parties for the matters

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                  covered by this Agreement and, as such, supersedes all prior written or oral
                  communications and agreements. This Agreement may not be modified or changed
                  except by written amendment signed by the Parties.
          27.5.9 Binding Effect
                  To the extent that it is assignable, this Agreement shall bind and inure to the benefit of
                  the Parties and their respective successors and assigns, and shall constitute a covenant
                  running with the land comprising the Lease. This Agreement does not benefit or create
                  any rights in a person or entity that is not a Party to this Agreement.
          27.5.10 Further Assurances
                  Each Party will take all actions necessary and will sign all documents necessary to
                  implement this Agreement. Except as otherwise provided in this Agreement, within thirty
                  (30) days after their receipt of a valid written request for those documents from a Party,
                  all other Parties shall prepare and execute the documents.
          27.5.11 Counterpart Execution
                  This Agreement may be executed by signing the original or a counterpart.                If this
                  Agreement is executed in counterparts, all counterparts taken together shall have the
                  same effect as if all Parties had signed the same agreement. No Party shall be bound to
                  this Agreement until all Parties have executed a counterpart or the original of this
                  Agreement. This Agreement may also be ratified by a separate instrument that refers to
                  this Agreement and adopts by reference all provisions of this Agreement. A ratification
                  shall have the same effect as an execution of this Agreement.
27.6      Restricted Bidding
          If more than one (1) Party is ever on the list of restricted joint bidders for Outer Continental Shelf
          (“OCS”) lease sales, as issued by the BOEMRE under 30 CFR 256.44, as amended, the Parties
          shall comply with all statutes and regulations regarding restricted joint bidders on the OCS.
27.7      Governing Agreement
          The Parties to this Agreement are also Parties to that certain Farmout Agreement dated effective
                            __, 20__, by and between ____________, ____________, ____________,
          ____________, and ____________.          The Parties agree that should any conflict arise between
          the terms and conditions of this Agreement and the terms and conditions of the Farmout
          Agreement, the terms and conditions of the Farmout Agreement shall govern.


IN WITNESS WHEREOF, this Agreement has been executed by the Parties as of the day and year first
above written.




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WITNESSES:                                [________________]


______________________________________    By: ____________________________________


______________________________________    Title:


WITNESSES:                                [________________]


______________________________________    By: _____________________________________


______________________________________    Title:


WITNESSES:                                [________________]


______________________________________    By: _____________________________________


______________________________________    Title:


WITNESSES:                                [________________]


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                                     EXHIBIT “A”

Attached to and made a part of that certain Offshore Operating Agreement dated effective
        __, 20__, by and between ____________, as Operator, and ____________, as Non-
Operators.

I.        OPERATOR

         [________________]

II.       NON-OPERATOR(S)

         [________________]
          [________________]
          [________________]
          [________________]

III.      DESCRIPTION OF CONTRACT AREA

IV.       WORKING INTEREST OF THE PARTIES

          PARTY                          WI %

          [________________]            X
          [________________]            X
          [________________]            X
          [________________]            X
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V.        ADDRESSES AND CONTACT NUMBERS


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VI.       BURDENS AND CONTRACTS IN CONTRACT AREA




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                                            EXHIBIT “B”

Attached to and made a part of that certain Offshore Operating Agreement dated effective
        __, 20__, by and between ____________, as Operator, and ____________, as Non-
Operators.



                                     INSURANCE PROVISIONS

I.        Operator shall carry the insurance specified in Section I with the limits stipulated below
          for the joint account. Operator shall have the right to charge the joint account premiums
          for the insurance coverage required by this Exhibit “B.” Such premiums shall be
          allocated to the joint account using a fair and reasonable method based on the nature of
          the operations covered by this Agreement.

          A.     Workers' Compensation and Employer's Liability.

                 1.      Workers' Compensation and Employer's Liability Insurance covering the
                         employees of Operator engaged in operations hereunder in compliance
                         with all applicable State and Federal Laws.

                 2.      Coverage under U. S. Longshore and Harbor Worker's Compensation
                         Act, extended to include the Outer Continental Shelf.

                 3.      Extension of Coverage B of policy to provide for not less than $1,000,000
                         (“for assured’s interest”) for death or bodily injury to one person in any
                         one accident; coverage also to include Employer's Liability under
                         Admiralty Jurisdiction, including the Jones Act, with Marine and Voluntary
                         Compensation Endorsement providing for a limit of liability of not less
                         than $1,000,000 per accident and an endorsement for transportation,
                         maintenance, wages and cure, all with same limits, as well as an
                         endorsement to the effect that a claim “in rem” shall be treated as a claim
                         against the insured.

II.       Operator shall not be obligated or authorized to obtain or carry on behalf of the joint
          account any additional insurance covering the Parties or the operations to be conducted
          hereunder. Each Party, at its own expense, must carry its own coverage for the types of
          insurance and with the minimum limits as set forth in each of Paragraphs A-G below.
          Each Party must provide Operator prior to commencement of operations a certificate of
          insurance or other evidence of coverage demonstrating coverage with the required limits
          of liability. All losses and all damages to jointly owned property, except losses covered
          by insurance carried for the joint account, shall be borne by the Parties in proportion to
          their respective interests, unless the loss is caused by the gross negligence or willful
          misconduct of a Party hereto. The insurance coverages required herein represent
          minimum requirements and do not limit or invalidate any indemnity or other obligation of
          the Parties under this Agreement. A Party’s failure to secure the required insurance
          coverages or the required endorsements on the policies or any denial of coverage by
          underwriters does not relieve such Party or limit its liabilities or obligations under this
          Agreement.

          Any Party, at its own expense, may acquire such additional insurance as it may deem
          necessary to protect its own interest against claims, losses, damages or destruction to
          property arising out of operations hereunder.


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          Each Party hereby waives its rights of recovery against all other Parties to this
          agreement and agrees that all insurance covering its interest in the jointly owned
          property will be suitably endorsed to affect a waiver of subrogation as per the indemnity
          and obligations assumed within the agreement.

          A.     Commercial General Liability and Business Automobile Liability. Coverage for all
                 operations conducted hereunder with a combined single limit each occurrence,
                 and in the aggregate, of $1,000,000 (“for assured’s interest”). Said Commercial
                 General Liability Insurance shall also include contractual liability coverage,
                 sudden and accidental pollution coverage. Automobile liability insurance shall
                 include coverage for owned, hired and non-owned vehicles and mobile
                 equipment licensed for highway use.

          B.     Vessels. All vessels chartered by any Party shall be covered Protection and
                 Indemnity coverage, with limits of $1,000,000 (“for assured’s interest”) per
                 occurrence and in the aggregate.

          C.     Aircraft. All aircraft owned or chartered by any Party shall be covered by Aircraft
                 Liability Insurance with limits of $5,000,000 (“for assured’s interest”) per
                 occurrence and in the aggregate.

          D.     Excess Liability. Each Party shall carry Excess Liability insurance in the amount
                 of $50,000,000 per occurrence and in the aggregate (“for assured’s interest”),
                 excess of all primary liability limits in the insurance specified in Sections A-C.

          E.     Extra Expense Liability. Extra expense liability coverage including control of well,
                 seepage, pollution and contamination coverage, cleanup and/or containment
                 coverage, re-drilling and/or restoring, and care, custody and control shall be
                 carried by each Party with limits of liability of $75,000,000 per occurrence and in
                 the aggregate and $5,000,000 per occurrence and in the aggregate for Care,
                 Custody and Control coverage.

          F.     Financial Responsibility Insurance: Operator shall demonstrate coverage, as
                 required by the Bureau of Ocean Energy Management pursuant to the Oil
                 Pollution Act of 1990 as per CFR Part 253 “Final Rule for Oil Spill Financial
                 Responsibility”, according to the applicable governmental guidelines.

          G.     Contractors: Operator shall use reasonable efforts to require all contractors
                 working or performing services hereunder to comply with the workers'
                 compensation and employer's liability laws, both State and Federal, and said
                 contractors or others performing services shall be required to procure and
                 maintain appropriate insurance coverage as deemed by Operator for the types of
                 operations undertaken. All insurance shall be endorsed to include the Operator
                 and the Parties as additional insureds, except for Worker’s Compensation. All
                 such policies shall be endorsed with a Waiver of Subrogation in favor of Operator
                 and the Parties.



                                       END OF EXHIBIT “B”




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           VFKHGXOLQJDQGGLVSDWFKLQJFHQWHUDQGRWKHUDVVRFLDWHGIXQFWLRQVVHUYLQJWKH-RLQW3URSHUW\
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           2SHUDWLRQVSURYLGHGKRZHYHU7HFKQLFDO6HUYLFHVVKDOOQRWLQFOXGHWKRVHIXQFWLRQVVSHFLILFDOO\LGHQWLILHGDV RYHUKHDGXQGHUWKHVHFRQG
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           and Payments by the Parties YLDHPDLOHOHFWURQLFGDWDLQWHUFKDQJHLQWHUQHWZHEVLWHVRURWKHUHTXLYDOHQWHOHFWURQLFPHGLDLQOLHXRISDSHU
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                 GLVFRQWLQXHVSXEOLVKLQJDSULPHUDWHWKHXQSDLGEDODQFHVKDOOEHDULQWHUHVWFRPSRXQGHGPRQWKO\DWWKHSULPHUDWHSXEOLVKHGE\WKH
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                 ZDV GXH 3D\PHQW VKDOO QRW EH UHGXFHG RU GHOD\HG DV D UHVXOW RI LQTXLULHV RU DQWLFLSDWHG FUHGLWV XQOHVV WKH 2SHUDWRU KDV DJUHHG
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                 SHULRGD3DUW\WDNHVVSHFLILFGHWDLOHGZULWWHQH[FHSWLRQWKHUHWRPDNLQJDFODLPIRUDGMXVWPHQW7KH2SHUDWRUVKDOOSURYLGHDUHVSRQVH
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                 1RQ2SHUDWRU SDUWLFLSDQWV WKURXJKRXW WKH UHVROXWLRQ SURFHVV KRZHYHU HDFK 1RQ2SHUDWRU VKDOO KDYH WKH ULJKW WR UHSUHVHQW LWVHOI
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           E.     (Optional Provision – Forfeiture Penalties)
                 If the Non-Operators fail to meet the deadline in Section I.5.C, any unresolved exceptions that were not addressed by the Non-
                 Operators within one (1) year following receipt of the last substantive response of the Operator shall be deemed to have been
                 withdrawn by the Non-Operators. If the Operator fails to meet the deadlines in Section I.5.B or I.5.C, any unresolved exceptions that
                 were not addressed by the Operator within one (1) year following receipt of the audit report or receipt of the last substantive response
                 of the Non-Operators, whichever is later, shall be deemed to have been granted by the Operator and adjustments shall be made,
                 without interest, to the Joint Account.
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          $OOWD[HVDQGSHUPLWWLQJIHHVRIHYHU\NLQGDQGQDWXUHDVVHVVHGRUOHYLHGXSRQRULQFRQQHFWLRQZLWKWKH-RLQW3URSHUW\RUWKHSURGXFWLRQ
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          WKHUHIURPDQGZKLFKKDYHEHHQSDLGE\WKH2SHUDWRUIRUWKHEHQHILWRIWKH3DUWLHVLQFOXGLQJSHQDOWLHVDQGLQWHUHVWH[FHSWWRWKHH[WHQWWKH
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          SHQDOWLHVDQGLQWHUHVWUHVXOWIURPWKH2SHUDWRU¶VJURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFW
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          QRWZLWKVWDQGLQJDQ\FRQWUDU\SURYLVLRQVWKHFKDUJHVWRWKH3DUWLHVZLOOEHPDGHLQDFFRUGDQFHZLWKWKHWD[YDOXHJHQHUDWHGE\HDFK3DUW\¶V
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           WD[FKDUJHVDQGWRGHWHUPLQHWKDWWKHFRUUHFWDPRXQWRIWD[HVZHUHFKDUJHGWRWKH-RLQW$FFRXQW,IWKH1RQ2SHUDWRULVQRWSHUPLWWHGWR
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           Facilities Furnished by Operator  ,I WKH FRPPXQLFDWLRQ IDFLOLWLHV RU V\VWHPV VHUYLQJ WKH -RLQW 3URSHUW\ DUH RZQHG E\ WKH 2SHUDWRU¶V
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           UHVSRQVLELOLWLHV RI RLO DQG RWKHU VSLOOV DV ZHOO DV GLVFKDUJHV IURP SHUPLWWHG RXWIDOOV DV UHTXLUHG E\ DSSOLFDEOH /DZV RU RWKHU SROOXWLRQ
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                 UHVWULFWLRQVRURWKHUXQXVXDOFDXVHV RYHUZKLFKWKH2SHUDWRUKDVQRFRQWUROIRUGLUHFWSXUFKDVHWKH2SHUDWRU PD\FKDUJHWKH -RLQW
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                 PRYLQJLWWRWKH-RLQW3URSHUW\0DWHULDOWUDQVIHUUHGRUGLVSRVHGRIGXULQJSUHPLXPSULFLQJVLWXDWLRQVVKDOOEHYDOXHGLQDFFRUGDQFH
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     PRQWKVIROORZLQJWKHWDNLQJRIWKHLQYHQWRU\RUUHFHLSWRI1RQ2SHUDWRULQYHQWRU\UHSRUW&KDUJHVDQGFUHGLWVIRURYHUDJHVRUVKRUWDJHVZLOOEH
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     SK\VLFDOLQYHQWRU\XQOHVVWKHLQYHQWRU\LQJ3DUWLHVFDQSURYLGHVXIILFLHQWHYLGHQFHDQRWKHU0DWHULDOFRQGLWLRQDSSOLHV
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                                    Exhibit 15

                        Transition Services Agreement




               [Exhibit to Apache Term Sheet Implementation Agreement]
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                                    Exhibit 16

                          SEMS Bridging Agreement




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                                    Exhibit 17

                        Amended BriarLake Sublease




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                                                                                    Execution Version

                                    FOURTH AMENDMENT
                                  TO SUBLEASE AGREEMENT


       THIS FOURTH AMENDMENT TO SUBLEASE AGREEMENT (this “Amendment”) is
made and entered into as of the __ day of _______, 202_, by and between APACHE CORPORATION,
a Delaware corporation (“Sublessor”), and FIELDWOOD ENERGY LLC, a Delaware limited liability
company (“Sublessee”).

         WHEREAS, Sublessor and Sublessee entered into that certain Sublease Agreement, dated as
of September 30, 2013, pertaining to certain space in the building known as One BriarLake Plaza
located at 2000 West Sam Houston Parkway South, Houston, Texas (the “Original Sublease”), as
amended by that certain First Amendment to Sublease Agreement, dated as of January 2, 2014,
between Sublessor and Sublessee (the “First Amendment”), as further amended by that certain Second
Amendment to Sublease Agreement, dated as of September 7, 2017, between Sublessor and Sublessee
(the “Second Amendment”), and as further amended by that certain Third Amendment to Sublease
Agreement, dated as of May 21, 2018, between Sublessor and Sublessee (the “Third Amendment”, and
the Original Sublease, the First Amendment, the Second Amendment, and the Third Amendment
collectively, the “Sublease”);

         WHEREAS, commencing August 3, 2020, Sublessee and certain affiliates of Sublessee filed
voluntary petitions with the United States Bankruptcy Court for the Southern District of Texas,
Houston Division (the “Bankruptcy Court”) initiating their respective cases pending under chapter 11
of title 11 of the United States Code styled In re Fieldwood Energy LLC, et al., jointly administered
under Case No. 20-33948 (MI) (the “Chapter 11 Case”); and

      WHEREAS, Sublessor and Sublessee desire to further amend the Sublease pursuant to this
Amendment.

         NOW, THEREFORE, for and in consideration of the foregoing and for other good and
valuable consideration and of the mutual agreements hereinafter set forth, Sublessor and Sublessee
stipulate, covenant, and agree as follows:

         1.      All undefined capitalized terms used in this Amendment shall have the meaning given
to them in the Sublease. The term “Effective Date” means the first day of the month after occurrence
of each of (i) Sublessee’s express assumption of the Sublease, as amended by this Amendment, with
approval of such assumption by order of the Bankruptcy Court in form and substance reasonably
acceptable to Sublessor, (ii) Sublessee’s payment in full to Sublessor of all amounts owed by Sublessee
to Sublessor pursuant to the Sublease, which, as of the date hereof, are indicated on Schedule 1 attached
hereto, and (iii) Prime Lessor’s execution and delivery to Sublessor of its written consent to this
Amendment.

         2.     On and as of the Effective Date, expiration of the Sublease Term pursuant to Section
3.01 of the Original Sublease is hereby amended as follows:




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              (a)      The Sublease Term shall expire on October 31, 2024, unless terminated earlier
        pursuant to the terms of the Sublease, as amended by this Amendment.

                (b)    Sublessee shall have the right and option to terminate the Sublease Term as to
        any of (i) all of floor 12 of the Subleased Premises, (ii) all of floor 15 of the Subleased
        Premises, or (iii) Suite B0300 in the basement level of the Subleased Premises, with any such
        termination in the case of (i), (ii), and (iii) being effective no earlier than after occurrence of
        each of (1) effectiveness of Sublessee’s Plan of Reorganization (defined below), (2)
        consummation of the Credit Bid Transaction, (3) consummation of the transactions
        contemplated by the Divisive Merger Documents (defined below), (4) the second anniversary
        of the Effective Date, and (5) timely delivery of Requisite Notice (defined below).

                 (c)      Sublessee shall have the right and option to terminate the Sublease Term as to
       any of (i) all of floor 16 of the Subleased Premises, (ii) all of floor 17 of the Subleased Premises,
       (iii) all of floor 18 of the Subleased Premises, (iv) Suite B0150 in the basement level of the
       Subleased Premises, or (v) Suite B0200 in the basement level of the Subleased Premises, with
       any such termination in the case of (i), (ii), (iii), and (iv) being effective no earlier than after
       occurrence of each of (1) effectiveness of Sublessee’s Plan of Reorganization, (2)
       consummation of the Credit Bid Transaction, (3) consummation of the transactions
       contemplated by the Divisive Merger Documents, (4) termination of the Transition Services
       Agreement (defined below), (5) termination of the Service Provider Agreement (defined
       below), if any, and (6) timely delivery of Requisite Notice.

                (d) To exercise any option under Section 2(b) or 2(c) of this Amendment, Sublessee
       must deliver to Sublessor no later than six months before the date on which the termination is
       to be effective a written notice of such exercise, specifying the eligible whole floor or whole
       floors or basement Suite or Suites in respect of which such early termination of the Sublease
       Term is to apply, certifying that such exercise complies with the requirements of Section 2(b)
       or 2(c) hereof, as applicable, and specifying the effective date of such termination, which can
       be no earlier than six months after the date on which such notice is delivered to Sublessor
       (“Requisite Notice”).

As used in this Amendment, the following terms have the indicated meaning:

“Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended.

“Confirmation Order” means the confirmation order entered in the Bankruptcy Case which, if and to
the extent such confirmation order directly affects Sublessor in its capacity as such or pertains to
the Sublease, as amended by this Amendment, or other Apache Definitive Documents (as defined
in that certain Apache Term Sheet Implementation Agreement, dated as of the date hereof, by and
among Sublessee, GOM Shelf LLC, Sublessor, Apache Shelf, Inc., and Apache Deep Water
LLC), shall be in form and substance reasonably acceptable to Sublessor.

“Credit Bid Transaction” means the sale of certain of the Sublessee’s deepwater assets and other assets
to FWII, which sale may be effectuated through the Plan of Reorganization or as a standalone sale
outside of the Plan of Reorganization pursuant to section 363 of the Bankruptcy Code with approval
by order of the Bankruptcy Court in form and substance reasonably acceptable to Sublessor with
respect to provisions affecting the Sublease or this Amendment.
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“Divisive Merger Documents” means the certificate of division, the plan of division, the certificate of
merger, and other documents included in, and confirmed by, the Confirmation Order and filed by or
on behalf of Sublessee with the Texas Secretary of State.

“Fieldwood Energy I LLC” or “FWI” means a Texas limited liability company resulting from
implementation of the Divisive Merger Documents, with the composition and structure of the
ownership, management, assets, and liabilities of such company being satisfactory to Sublessor.

“FWII” means an entity to be formed and organized under the laws of a state of the United States of
America at the direction of the Prepetition FLTL Lenders (as defined in the RSA) for the purposes of
the Credit Bid Transaction, with the composition and structure of the ownership, assets, and liabilities
of such entity being reasonably satisfactory to Sublessor, it being agreed that the ownership, assets and
liabilities of such entity shall be deemed to be reasonably satisfactory to Sublessor so long as it is
consistent with the description of such entity referred to as “Fieldwood II” in the RSA.

“Plan of Reorganization” means the plan of reorganization of Sublessee included in, and confirmed
by, the Confirmation Order, including, without limitation, the Assignment (defined in Section 7 below)
and FWII Assumption (defined in Section 7 below).

“RSA” means that certain Restructuring Support Agreement, dated as of August 4, 2020, by and among
Sublessee and certain affiliates of Sublessee, certain of its affiliates specified therein, Sublessor, and
the Consenting Creditors (as defined in the RSA), as the same may be amended, restated, or otherwise
modified in accordance with its terms.

“Service Provider Agreement” means a service provider agreement if entered into by FWI or Sublessor
and FWII pursuant to which FWII is service provider to perform all operations and/or plugging and
abandonment and decommissioning activities with respect to the properties or assets of FWI and GOM
Shelf LLC, a Delaware limited liability company, and its successors and assigns.

“Transition Services Agreement” means a transition services agreement between FWI and FWII in
form and substance attached as Exhibit A to FWI’s Limited Liability Company Agreement and to be
entered into upon the effectiveness of the Plan of Reorganization.

          3.     On and as of the Effective Date, each of (i) Section 3.05 of the Original Sublease,
relating to a mutual option to extend the Sublease Term, (ii) Section 17.02 of the Original Sublease,
relating to Vacated Space, and (iii) Section 5 of the Third Amendment, relating to a right of first refusal,
is terminated.

         4.     On and as of the Effective Date, (i) Base Rent for purposes of the first sentence in
Section 4.01 of the Original Sublease, Section 3 of the Second Amendment, and Section 3 of the Third
Amendment, and (ii) Storage Space Rental for purposes of Section 16.01 of the Original Sublease are
hereby amended such that Sublessee shall pay Sublessor, without setoff or deduction whatsoever,
except as expressly set forth in the Sublease, the following amounts for the indicated Subleased
Premises commencing on the Effective Date through expiration of the Sublease Term, which amounts
shall be in addition to Sublessee’s Proportionate Share of Operating Expenses of the Building and all
other amounts payable by Sublessee under the Sublease, as amended hereby:

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                                         Annual
           Subleased       Square       Base Rent/      Amount/Month           Amount/Year
           Premises        Footage       Sq. Ft.
         Floor 12            24,632      $10.00               $20,526.67           $246,320.00
         Floor 15            25,865      $10.00               $21,554.17           $258,650.00
         Floor 16            25,865      $10.00               $21,554.17           $258,650.00
         Floor 17            25,865      $10.00               $21,554.17           $258,650.00
         Floor 18            25,865      $10.00               $21,554.17           $258,650.00
         Suite B0300          3,704       $10.00               $3,086.67            $37,040.00
         Suite B0200          1,149       $10.00                 $957.50            $11,490.00
         Suite B0150            740      $10.00                  $616.67             $7,400.00
                  Total     133,685                          $111,404.17         $1,336,850.00

         5.      On and as of the Effective Date, Sublessee shall have no right under Article X of the
Original Sublease to request Sublessor to exercise Sublessor’s right to lease additional parking spaces
attributable to the Subleased Premises or to substitute unreserved parking spaces attributable to the
Subleased Premises for reserved parking spaces.

         6.      The Sublease remains in full force and effect in accordance with its terms and as of the
Effective Date, as amended by Sections 2, 3, 4 and 5 of this Amendment. As of the Effective Date, all
references in the Sublease to “Sublease” shall mean the Sublease, as amended by this Amendment.

          7.     After the Effective Date and upon effectiveness of Sublessee’s Plan of Reorganization,
consummation of the Credit Bid Transaction and the transactions contemplated by the Divisive Merger
Documents, full performance by Sublessee of Sublessee’s obligations under the Sublease to the date
of effectiveness of the Assignment, and the FWII Assumption, Sublessee hereby assigns to FWII the
rights and delegates to FWII the duties of Sublessee under the Sublease, as amended by this
Amendment (the “Assignment”). Upon effectiveness of the Assignment, FWII’s execution and
delivery to Sublessor of the below counterpart of this Amendment shall constitute FWII’s assumption
of, and FWII’s agreement to fully and timely perform the obligations of Sublessee arising from and
after the date of effectiveness of the Assignment under, the Sublease, as amended to the date thereof
(the “FWII Assumption”), whereupon FWII shall be bound as Sublessee under the Sublease, as so
amended, and all references in the Sublease, as so amended, to “Sublessee” shall mean FWII.

         8.     Each party warrants to the other that it has had no dealing with any broker or agent
except Cushman & Wakefield of Texas, Inc. in connection with the negotiation or execution of this
Amendment. Each party agrees to indemnify the other party and hold the other party harmless from
and against any and all costs, expenses, or liability for commissions, fees, or other compensations or
charges which are based on any agreement or understanding such party may have had with any broker
or agent with respect to this Amendment.

          9.      For purposes of Section 1.04 of the Sublease, Sublessee’s address for notice is updated
to be as set forth beneath its signature below.

        10.    The parties may execute this Amendment in multiple original counterparts, each of
which shall have the full force and effect of an original but constituting only one instrument.


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                                [SIGNATURE PAGE FOLLOWS]
       IN WITNESS WHEREOF, duly authorized representatives of the parties hereto have
executed this Amendment as of the day and year first above written.

                                   SUBLESSOR:

                                   APACHE CORPORATION,
                                   a Delaware corporation


                                   By: __________________________________________
                                   Name: Timothy R. Custer
                                   Title: Senior Vice President, Commercial

                                   SUBLESSEE:

                                   FIELDWOOD ENERGY LLC,
                                   a Delaware limited liability company


                                   By: __________________________________________
                                   Name: ________________________________________
                                   Title: _________________________________________

                                   Fieldwood Energy LLC
                                   2000 W. Sam Houston Pkwy. South, Suite 1200
                                   Houston, TX 77042
                                   Fax: 713.969.1099
                                   Attention:_____________________________________




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                                      FWII COUNTERPART

Upon existence of FWII, effectiveness of Sublessee’s Plan of Reorganization, and consummation of
the Credit Bid Transaction and transactions contemplated by the Divisive Merger Documents, an
authorized representative of FWII executes this Amendment pursuant to Section 7 hereof on the date
written below to evidence FWII’s assumption of, and agreement to be bound by, and fully and timely
perform the obligations of Sublessee arising from and after the date written below under, the Sublease,
as amended to the date written below.

                                       FWII:

                                       _____________________________________,
                                       a ____________________________________


                                       By: __________________________________________
                                       Name: ________________________________________
                                       Title: _________________________________________

                                       Date Signed:____________________________________

                                       Address:

                                       ______________________________________________
                                       ______________________________________________
                                       ______________________________________________
                                       Fax:___________________________________________
                                       Attention: _____________________________________




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Fieldwood

                                                                                                           RENT
                                                                          PRE-PETITION                                                                     POST-PETITION
                      Jan          Feb          Mar                    Apr            May          Jun            Jul          Aug          Sep          Oct           Nov                         Dec        TOTAL 2020
Billed            $435,297.63   $435,297.63  $435,297.63            $435,220.68    $435,220.68  $435,220.68    $435,220.68  $435,220.68  $435,220.68  $435,220.68     451,236.95                  451,236.95 $5,254,911.55
Rec'd            $ 450,178.00 $ 450,140.00 $ 405,383.00            $ 435,221.00 $ 435,221.75 $ 435,221.29 $ 435,221.00 $ 435,221.00 $ 435,221.00 $ 435,221.00         451,756.00                  451,756.00 $ 5,255,761.04
Difference         ($14,880.37) ($14,842.37)  $29,914.63                 ($0.32)        ($1.07)      ($0.61)        ($0.32)      ($0.32)      ($0.32)      ($0.32)     ($519.05)                   ($519.05)       ($849.49)

Rent - Total Pre-Petition              $189.25
Rent - Total Post-Petition            ($1,038.74)

                                                                                                   RESERVED/VIP PARKING
                                                                PRE-PETITION                                                                          POST-PETITION
Billed           $       530.43 $          530.43 $      530.43 $     530.43 $        530.43 $       530.43 $        530.43 $     530.43 $     530.43 $      151.55 $      1,017.55       $        1,017.55  $     6,960.52
Rec'd            $       530.43 $          530.43 $      530.43 $         -   $        530.43 $         -   $           -   $        -    $     530.43 $        -     $               -       $            - $     2,652.15
Difference       $          -   $             -   $         -   $     530.43 $           -    $      530.43 $        530.43 $     530.43 $        -    $     151.55 $      1,017.55       $        1,017.55 $      4,308.37

Parking - Total Pre-Petition          $1,591.29
Parking - Total Post-Petition         $2,717.08

                                                                                                        ANCILLARY
                                                                   PRE-PETITION                                                                          POST-PETITION
Billed           $     5,670.00   $      4,282.36   $   5,924.37   $ 12,282.77      May-June   $    7,305.30   $    4,002.69 $   5,140.25 $   6,657.35    $   3,505.70 $   3,532.09       $        3,499.98   $   61,802.86
Rec'd            $     5,670.00   $      4,282.36   $   5,924.37   $         -                 $         -     $         -   $      69.49 $        -      $        -   $        -         $             -     $   15,946.22
Difference       $          -     $           -     $        -     $ 12,282.77 $         -     $    7,305.30   $    4,002.69 $   5,070.76 $   6,657.35    $   3,505.70 $   3,532.09       $        3,499.98   $   45,856.64

Parking - Total Pre-Petition      $     23,590.76
Parking - Total Post-Petition     $     22,265.88

SUMMARY         Pre-Petition    Post-Petition
  Rent                 $189.25      ($1,038.74)
  Parking             $1,591.29       $2,717.08
  Ancillary      $ 23,590.76 $ 22,265.88
TOTAL               $25,371.30     $23,944.22
                                                                                                                                                                                                                               Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 408 of 766
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                                             Exhibit 18

                                      Certification of Rights

                                 CERTIFICATION OF RIGHTS

With respect to any decommissioning obligations for which Apache Corporation, or any of its
subsidiaries, or a third party designated by Apache Corporation or one of its subsidiaries (as the
case may be, the “Applicable Decommissioning Operator”) either (a) conducts or seeks to
conduct pursuant to an order from the Bureau of Safety and Environmental Enforcement
(“BSEE”), the Bureau of Ocean Energy Management (“BOEM”), their respective successor
agencies, or any other governmental unit having jurisdiction over such decommissioning
obligations or (b) becomes obligated to perform pursuant to any contractual obligation (in each
case, such decommissioning obligations being hereinafter referred to as “Decommissioning
Obligations”), FWE I hereby certifies that it has:

       1.      Assigned to such Applicable Decommissioning Operator, to the extent such activity
               was permitted under the underlying agreement, all documentation, plans, files,
               permits, contracts, and contract rights, boarding rights, access rights, utilization
               rights, applicable litigious rights, rights to payment, rights to reimbursement, rights
               to contribution, audit rights, and any other benefit available to FWE I in conjunction
               with applicable decommissioning operations which are the subject of the applicable
               Decommissioning Obligation, each such assignment was made solely as the rights
               relate to such Decommissioning Obligation;

       2.      Authorized the Applicable Decommissioning Operator to perform all required
               decommissioning operations on any FWE I property or infrastructure that is the
               subject of a Decommissioning Obligation;

       3.      Granted boarding access to the Applicable Decommissioning Operator for any
               infrastructure owned by FWE I, or to which FWE I has contract access rights, as
               such may be necessary or convenient for the Applicable Decommissioning
               Operator or its contractors, representatives, or designees, or the employees, agents,
               or consultants of any of them, to perform and fulfill each applicable
               Decommissioning Obligation, without need of further authorization or agreement
               of FWE I;

       4.      Assigned and quitclaimed to the Applicable Decommissioning Operator any
               salvaged property or materials and the salvage value for any property or
               infrastructure decommissioned by the Applicable Decommissioning Operator;

       5.      Granted to the Applicable Decommissioning Operator access to all contracts
               applicable to any and all properties and infrastructure associated with the applicable
               Decommissioning Obligation and assigned to the Applicable Decommissioning
               Operator, solely as they relate to such Decommissioning Obligation, any contract
               and/or contract rights or benefits necessary or convenient to the performance of the
               Decommissioning Obligation or to the rights or ability of the Applicable



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               Decommissioning Operator to collect and obtain contributions from any and all
               applicable third parties who have obligations to pay for or contribute to all or any
               part of the Decommissioning Obligations; and

         6.    Assigned all rights to payment, rights to reimbursement, and rights to contribution
               for decommissioning expenses available to FWE I for any property made the
               subject of a Decommissioning Obligation.

FWE I further authorizes any co-owner, counterparty, contractor, or other person or entity to rely
on the foregoing certifications in taking in action or making any payment or contribution as may
be requested or directed by the Applicable Decommissioning Operator toward the fulfillment of
the applicable Decommissioning Obligations.

FIELDWOOD ENERGY I LLC




By:

Name:

Title:




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                                                   Exhibit B

              Schedule of Defined Terms for Required Confirmation Order Provisions

      “Decommissioning Agreement” means that Decommissioning Agreement dated as of
September 30, 2013, by and among the Apache PSA Parties, FWE, and the other parties thereto.

        [“Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge,
hypothecation, encumbrance, charge or security interest in, on or of such asset, (b) the interest of
a vendor or a lessor under any conditional sale agreement, capital lease or title retention agreement
(or any financing lease having substantially the same economic effect as any of the foregoing)
relating to such asset and (c) in the case of securities, any purchase option, call or similar right of
a third party with respect to such securities.] 1

       “Permitted Post-Closing Liens” means with respect to the properties allocated to
Fieldwood Energy I LLC and the GOM Shelf LLC properties, the Liens created by or pursuant to
the Recharacterization Mortgages or Standby Loan Agreement.

     “Recharacterization Mortgages” has the meaning given to such term in the
Decommissioning Agreement.

        “Standby Loan Agreement” means that certain Standby Loan Agreement dated as of
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lender thereunder.




1
    NTD: Definition of Lien to be discussed.




                              [Exhibit to Apache Term Sheet Implementation Agreement]
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                                    Exhibit 19

                           Sole Manager Agreement




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                       Independent Director Agreement




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                    Form of Contract Services Agreement




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                                             Exhibit 22

                            Credit Bid Purchase Agreement Terms

               The terms set forth below are acceptable to Apache and the Debtors to address the

Specified Credit Bid Terms in the Credit Bid Purchase Agreement (or an alternative purchase and

sale agreement conveying the Credit Bid Acquired Interests to a buyer):

               (i)     Credit Bid Purchaser (or an alternative purchaser under a purchase and sale

agreement conveying the Credit Bid Acquired Interests to a buyer) (“Buyer”) shall assume the

Credit Bid Assumed Liabilities, which will include all liabilities and obligations of FWE for (x)

Closing Date Payables (as defined below), (y) obligations for personal injury or damage to third

party property arising from the ownership or operation of the FWE I Assets (as defined in the Plan

of Merger) or the GOM Shelf Oil and Gas Properties (as defined in the Plan of Merger) for which

a claim has been made prior to 7:00 a.m. on the Effective Date, but only to the extent of the

deductible or retention amount under applicable insurance policies covering such claims, and (z)

the FWE II Retained Properties Payables (as defined below), and the Purchase Agreement will

include an obligation of Buyer to pay, or to cause to be paid, all Credit Bid Assumed Liabilities

and the closing date payables of GOM Shelf and FW GOM Pipeline Inc. (with such closing date

payables to be determined consistent with Closing Date Payables).

               (ii)    FWE I shall have the right to send all invoices it receives for any of the

Credit Bid Assumed Liabilities and all closing date payables of GOM Shelf and FW GOM Pipeline

Inc. (with such closing date payables to be determined consistent with Closing Date Payables) to

Buyer for payment.

               (iii)   The Purchase Agreement shall define “Closing Date Payables” as expenses

of FWE incurred but not yet paid as of 7:00 a.m. on the Effective Date attributable to the FWE I

Oil and Gas Properties (as defined in the Plan of Merger) and the GOM Shelf Oil and Gas



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Properties, including, without limitation, (w) payables arising from the exploration of and

production and sale of oil and gas from the FWE I Oil and Gas Properties and the GOM Shelf Oil

and Gas Properties, (x) payables to third parties on account of third party working interest owners

for which a joint interest billing receivable is included in the Closing Accounts Receivable (as

defined below), (y) obligations for Royalties (as defined in the Plan of Merger) in respect of the

FWE I Assets or the GOM Shelf Oil and Gas Properties payable on account of Hydrocarbons (as

defined in the Plan of Merger,) produced and sold prior to and unpaid as of 7:00 a.m. on the

Effective Date (provided that if a Royalty reporting, miscalculation, or underpayment claim is

asserted after 7:00 a.m. on the Effective Date with respect to any Royalty paid prior to 7:00 a.m.

on the Effective Date such claim or obligation shall not be deemed a Closing Date Payable, except

to the extent any reporting, miscalculation, or underpayment claim totals more than one million

U.S. dollars ($1,000,000) and arises out of the willful misconduct of the person or persons

performing such reporting, calculations, or payments as determined by a final, non-appealable

judgment of a court or other tribunal having jurisdiction), and (z) fines and penalties levied or

imposed by governmental authorities prior to 7:00 a.m. on the Effective Date in respect of the

FWE I Assets or the GOM Shelf Oil and Gas Properties to the extent not otherwise covered by a

settlement with applicable governmental authorities entered into prior to the Effective Date that

fully excuses payment (other than as provided in such settlement and for which FWE I shall have

no obligation) of such fines and penalties, whether classified on the books and records as an

account payable or otherwise; provided, that, the definition of “Closing Date Payables” in the

Purchase Agreement shall expressly exclude (1) obligations for FWE I Suspense Funds (as defined

in the Plan of Merger), (2) Interim Unpaid P&A Expenses (as defined in the Plan of Merger), (3)

obligations to pay Royalties on Hydrocarbons produced from FWE I Oil and Gas Properties or




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GOM Shelf Oil and Gas Properties and sold from and after 7:00 a.m. on the Effective Date, (4)

obligations for damage to property included in the FWE I Assets or the GOM Shelf Oil and Gas

Properties, (5) fines or penalties levied or imposed by governmental authorities after 7:00 a.m. on

the Effective Date with respect to the FWE I Oil and Gas Properties or the GOM Shelf Oil and

Gas Properties, (6) P&A Obligations and Decommissioning (as defined in the Plan of Merger)

expenses, or (7) obligations satisfied, compromised, settled, released or discharged pursuant to the

Plan and Confirmation Order

               (iv)    All payables of FWE arising from the exploration of and production and

sale of oil and gas from the Retained Properties, including payables to third parties on account of

third party working interest owners for which a joint interest billing receivable is included in the

accounts receivable of FWE in respect of the Retained Properties (such accounts receivable, the

“Retained Properties AR”), incurred prior to and unpaid as of 7:00 a.m. on the Effective Date,

whether classified on the books and records as an account payable or otherwise (such payables,

the “Retained Properties Payables”), will also be assumed by, and will constitute Credit Bid

Assumed Liabilities of, Buyer pursuant to the Purchase Agreement (and the Retained Properties,

and the Retained Properties AR will be assigned to Buyer pursuant to the Purchase Agreement and

will constitute Credit Bid Acquired Interests in the same manner as will Closing Accounts

Receivable (excluding any obligation of the type described in Section 3(b) of the Plan of Merger).

In addition FWE II will assume all obligations on the Retained Properties on a go-forward basis

following the consummation of the credit bid sale transaction to the Credit Bid Purchaser.

               (v)     FWE (and, following consummation of the Divisive Merger, FWE III) will

use efforts consistent with past practice to collect Closing Accounts Receivable (including by

offsetting amounts owed to FWE under applicable joint operating agreements or otherwise) and




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remit proceeds collected (including by offset), net of any cost of collection incurred by FWE III

or FWE I, to Buyer, provided neither FWE III nor FWE I shall be obligated to incur any costs or

institute any legal proceedings to collect Closing Accounts Receivable. Buyer will agree that

Buyer and its subsidiaries shall pay (and shall indemnify and hold harmless FWE (and following

consummation of the Divisive Merger, FWE I and FWE III) from and against) any and all Credit

Bid Assumed Liabilities.

       (vi)    The accounts receivable to be assigned to Buyer pursuant to the Credit Bid Purchase

Agreement (“Closing Accounts Receivable”) will include all accounts receivable of FWE

attributable to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (as

defined in the Plan of Merger) as of 7:00 a.m. on the Effective Date, including all accounts

receivable attributable to the sale of oil or gas produced and sold from the FWE I Oil and Gas

Properties or the GOM Shelf Oil and Gas Properties prior to 7:00 a.m. on the Effective Date and

joint interest billing receivables for expenses paid by FWE as of 7:00 a.m. on the Effective Date

or for which a payable is included in the Closing Date Payables but expressly excluding receivables

as described in item (xiv) and clauses (ii)-(v) of item (xvi) of Part A of Schedule I of the Plan of

Merger, Prepaid JIB Cash Amount (as defined in the Plan of Merger), and JIB Advance AR (as

defined in the Plan of Merger). The Purchase Agreement will provide that Buyer and its

subsidiaries shall pay (and shall indemnify FWE I and FWE III against) any and all Credit Bid

Assumed Liabilities. FWE will also assign the FWE II Retained Properties AR to Buyer as part

of the Credit Bid Acquired Interests.




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                        Spill Control Membership Agreements



Deepwater: HWCG (membership), NRC (MSA)

FW1: Clean Gulf (membership), Forefront (MSA), and TRG (MSA)




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                                 Exhibit I

                     First Lien Exit Facility Agreement
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                                                                                      Current Draft 5/25/21
                                                                   (Subject to further review and comment)


                                                $118,599,082.31
            THIRD AMENDED AND RESTATED FIRST LIEN TERM LOAN AGREEMENT
                                              Dated as of [Ɣ], 2021,
                                                     Among
                                                  [NEWCO],
                                                  as Holdings,
                                                       [Ɣ],
                                                as the Borrower,
                                              The Several Lenders
                                        from Time to Time Parties Hereto,
                                                       and
                                        GOLDMAN SACHS BANK USA,
                               as the Administrative Agent and the Collateral Agent




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 Exhibit A                     Form of Assignment and Acceptance
 Exhibit B                     Form of Note
 Exhibit C                     Form of Interest Period Election Request
 Exhibit D1 – D4               Form of Non-Bank Tax Certificate
 Exhibit E                     Form of Notice of Borrowing
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                                                                                      Current Draft 5/25/21
                                                                   (Subject to further review and comment)
            THIRD AMENDED AND RESTATED FIRST LIEN TERM LOAN AGREEMENT

                This Third Amended and Restated First Lien Term Loan Agreement (as amended, restated,
amended and restated, supplemented or otherwise modified from time to time, this “Agreement”), dated as of
[Ɣ], 2021, by and among [Newco] (“Holdings”), [Ɣ] (the “Borrower”), the Lenders from time to time party
hereto and Goldman Sachs Bank USA (“GS”), as administrative agent and collateral agent for the Lenders.

                 WHEREAS, on September 30, 2013, Fieldwood Energy LLC, a Delaware limited liability
company (“FWE”), entered into that certain Credit Agreement, by and among, inter alios, FWE, certain lenders
party thereto from time to time, and Citibank, N.A., as administrative agent and collateral agent, and the other
agents party thereto from time to time (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time prior to the effectiveness of the 2018 RBL Credit Agreement (as defined below), the
“Original RBL Credit Agreement”);

         WHEREAS, on April 11, 2018, in connection with a Joint Prepackaged Chapter 11 Plan of Fieldwood
Energy LLC and its Affiliated Debtors (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “Prior Plan of Reorganization”), which was confirmed by the Bankruptcy Court
on April 2, 2018, FWE entered into that certain Amended and Restated Credit Agreement, by and among FWE,
Fieldwood Energy Inc., a Delaware corporation (“FWE Inc.”), the financial institutions from time to time party
thereto, the issuing banks from time to time party thereto and Cantor Fitzgerald Securities (“CFS”), as
administrative agent and as collateral agent (as amended, restated, supplemented or otherwise modified from
time to time prior to the effectiveness of the Prepetition FLFO Credit Agreement (as defined below), the “2018
RBL Credit Agreement”), which amended and restated in its entirety the Original RBL Credit Agreement;

                   WHEREAS, on June 28, 2019, FWE entered into that certain Second Amended and Restated
Credit Agreement, by and among, inter alios, FWE, FWE Inc., the financial institutions from time to time party
thereto, GS, as administrative agent for the lenders thereunder, GS, as issuing bank and CFS, as collateral agent
for the lenders thereunder (as amended, restated, supplemented or otherwise modified from time to time prior to
the effectiveness of this Agreement, the “Prepetition FLFO Credit Agreement”), which amended and restated in
its entirety the 2018 RBL Credit Agreement;

                 WHEREAS, on August 3, 2020 (the “Petition Date”), FWE Inc., FWE and certain other
Affiliates of FWE (each a “Debtor” and collectively, the “Debtors”) filed voluntary petitions with the United
States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) initiating their respective
cases that are pending under chapter 11 of the Bankruptcy Code (each case of the Borrower and each other
Debtor, a “Case” and collectively, the “Cases”) and have continued in the possession of their assets and the
management of their business pursuant to Section 1107 and 1108 of the Bankruptcy Code;

                WHEREAS, the Debtors filed the [Third Amended Joint Chapter 11 Plan of Fieldwood Energy
LLC and its Affiliated Debtors] (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “Plan of Reorganization”) which was confirmed by the Bankruptcy Court on
[Ɣ], 2021;

                 WHEREAS, as contemplated by the Plan of Reorganization, [Ɣ] (“Credit Bid Purchaser”)
entered into that certain Purchase and Sale Agreement, dated as of [Ɣ] (as amended, restated, amended and
restated, supplemented or otherwise modified from time to time, the “Credit Bid Purchase Agreement”), by and
among, inter alios, FWE and certain of its Affiliates, as Sellers (as defined therein) and Credit Bid Purchaser, as
Buyer (as defined therein);

                WHEREAS, pursuant to the Credit Bid Purchase Agreement, Credit Bid Purchaser (i)
purchased and assumed the loans and other outstanding obligations of the Debtors under the Prepetition FLFO
Credit Agreement and (ii) agreed to continue the outstanding liens and security interests granted pursuant to the
Loan Documents (as defined in the Prepetition FLFO Credit Agreement, the “Prepetition Loan Documents”)



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and to acquire the Acquired Interests subject to such liens and security interests (solely to the extent such
Acquired Interest was originally subject to a lien and security interest granted under the Prepetition Loan
Documents);

                  WHEREAS, the Borrower, the Administrative Agent, the Collateral Agent and the Lenders
desire to amend and restate the Prepetition FLFO Credit Agreement and, in connection therewith, (i) Credit Bid
Purchaser has agreed to assign and the Borrower has agreed to assume all of the Credit Bid Purchaser’s liabilities
and obligations in its capacity as “Borrower” under the Prepetition FLFO Credit Agreement, with Credit Bid
Purchaser continuing to be a Guarantor and “grantor” (or similar term) under the Loan Documents, (ii) the
Lenders shall be deemed to provide a term loan on the Closing Date in an initial aggregate principal amount of
$118,599,082.31 to the Borrower on the terms and conditions set forth in this Agreement and (iii) the Borrower,
the other Credit Parties, the Administrative Agent, the Collateral Agent and the Secured Parties have agreed that
the liens and security interests on the Acquired Interests under the Prepetition Loan Documents shall continue
to secure the Obligations under this Agreement; and

                 NOW, THEREFORE, the Lenders are willing to extend such term loan to the Borrower on the
terms and subject to the conditions set forth herein. Accordingly, the parties hereto agree as follows:



                                             Definitions

       SECTION 1.01.           Defined Terms. As used in this Agreement, the following terms shall have the
meanings specified below:

                   “2018 RBL Credit Agreement” shall have the meaning set forth in the recitals hereto.

                “2P Developed Producing Reserves” means, collectively, Proved Developed Producing
Reserves and Probable Developed Producing Reserves.

                   “2P Producing PV-10” means the PV-10 value attributable to 2P Developed Producing
Reserves.

                   “2P PV-15” means the PV-15 value attributable to Proved Reserves and Probable Reserves.

                   “2P Reserves” means, collectively, Proved Reserves and Probable Reserves.

                 “ABR” means, for any day, a fluctuating interest rate per annum in effect from time to time,
which rate per annum shall at all times be equal to the highest of (a) the Prime Rate in effect on such day, (b) ½
of 1.00% per annum above the Federal Funds Rate, (c) 1.00% per annum above the one-month Adjusted LIBOR
and (d) 2.00%.

                   “ABR Borrowing” means a Borrowing comprised of ABR Loans.

                   “ABR Loan” means a Loan bearing interest at a rate equal to ABR plus the Applicable Margin.

                   “Account Control Agreement” means an account control agreement in form and substance
satisfactory to the Collateral Agent and duly executed by the applicable Credit Party, the Collateral Agent, the
Collateral Agent (as defined in the SLTL Credit Agreement) (if applicable) and the applicable depositary bank
or securities intermediary, as the case may be.

                 “Acquired EBITDAX” means, with respect to any Acquired Entity or Business (any of the
foregoing, a “Pro Forma Entity”) for any period, the amount for such period of EBITDAX of such Pro Forma
                                                        2

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Entity (determined using such definitions as if references to the Borrower and its Restricted Subsidiaries therein
were to such Pro Forma Entity and its Restricted Subsidiaries), all as determined on a consolidated basis for such
Pro Forma Entity in a manner not inconsistent with GAAP.

                   “Acquired Entity or Business” shall have the meaning provided in the definition of the term
“EBITDAX”.

                   “Acquired Interests” shall have the meaning set forth in the Credit Bid Purchase Agreement.

                   “ACR Cash Cure Amount” shall have the meaning set forth in Section 6.05(a)(ii).

                   “ACR Cure Amount” shall have the meaning set forth in Section 6.05(a)(ii).

                   “ACR Equity Cure Amount” shall have the meaning set forth in Section 6.05(a)(ii).

                 “Additional Refinancing Amount” means, in connection with the Incurrence of any
Refinancing Indebtedness, the aggregate principal amount of additional Indebtedness, Disqualified Stock or
Preferred Stock Incurred to pay premiums (including tender premiums), expenses, defeasance costs and fees in
respect thereof.

                “Adjusted LIBOR” means, with respect to any Interest Period, an interest rate per annum equal
to the product of (a) LIBOR in effect for such Interest Period and (b) Statutory Reserves; provided, that if
Adjusted LIBOR is less than 1.00%, Adjusted LIBOR shall be deemed to be 1.00%.

                  “Adjustment Date” means the date of delivery of both (i) the financial statements required to
be delivered pursuant to Section 5.01(a) or (b) (other than required to be delivered pursuant to Section 5.01(b)
with respect to the fiscal quarter ending December 31 of each year), as applicable and (ii) the Reserve Report
(or “roll-forward” thereof as permitted under Section 5.26) required to be delivered pursuant to Section 5.26.

                  “Administrative Agent” means GS, as the administrative agent for the Lenders under this
Agreement and the other Loan Documents, or any successor administrative agent appointed in accordance with
the provisions of Section 7.09.

                   “Administrative Questionnaire” shall have the meaning set forth in Section 8.06(b)(ii)(D).

                   “Adverse Proceedings” shall have the meaning set forth in Section 3.04.

                  “Affiliate” means, with respect to any Person, any other Person directly or indirectly
controlling, controlled by, or under direct or indirect common control with such Person. A Person shall be
deemed to control another Person if such Person possesses, directly or indirectly, the power to direct or cause
the direction of the management and policies of such other Person, whether through the ownership of voting
securities, by contract or otherwise. “Controlling” (“controlling”) and “controlled” shall have meanings
correlative thereto.

                   “Affiliate Transaction” shall have the meaning set forth in Section 5.10(a).

                  “Affiliated Institutional Lender” means any investment fund managed or advised by Affiliates
of an Investor that is a bona fide debt fund and that extends credit or buys loans in the ordinary course of business.
The Administrative Agent shall be entitled to rely on Schedule 2.01, any Assignment and Acceptance delivered
to the Administrative Agent or any other statement made by a Lender (which may be made electronically) as
conclusive evidence regarding whether a Lender is an Affiliated Institutional Lender.


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                  “Affiliated Lender” means a Lender that is an Investor or any Affiliate thereof or of the
Borrower (other than Holdings, the Borrower, any Subsidiary of the Borrower or any Affiliated Institutional
Lender). The Administrative Agent shall be entitled to rely on Schedule 2.01, any Assignment and Acceptance
delivered to the Administrative Agent or any other statement made by a Lender (which may be made
electronically) as conclusive evidence regarding whether a Lender is an Affiliated Lender.

                   “Agents” means the Administrative Agent and the Collateral Agent.

               “Agreement” shall have the meaning set forth in the preamble hereto, as amended, restated,
amended and restated, supplemented or otherwise modified from time to time.

                   “Agreement Currency” shall have the meaning set forth in Section 8.17(b).

                 “Anti-Corruption Laws” means the U.S. Foreign Corrupt Practices Act of 1977, the Bribery
Act 2010 of the United Kingdom or similar law of a jurisdiction in which Holdings, the Borrower or any of its
Subsidiaries conduct their business and to which they are lawfully subject.

                 “Anti-Terrorism and Anti-Money Laundering Laws” means any and all applicable
requirements of law relating to engaging in, financing or facilitating terrorism or money laundering, including
the USA Patriot Act, The Currency and Foreign Transactions Reporting Act (also known as the “Bank Secrecy
Act”, 31 U.S.C. §§5311-5330 and 12 U.S.C. §§1818(s), 1820(b) and 1951-1959), Trading With the Enemy Act
(50 U.S.C. §1 et seq.), Executive Order 13224 (effective September 24, 2001) and each of the laws, regulations,
and executive orders administered by OFAC (31 C.F.R., Subtitle B, Chapter V).

                   “Applicable Creditor” shall have the meaning set forth in Section 8.17(b).

                   “Applicable Margin” means (a) at any time the aggregate principal amount of Loans
outstanding under this Agreement is in excess of $100,000,000 (i) in the case of LIBOR Loans, 6.00% per annum
and (ii) in the case of ABR Loans, 5.00% per annum and (b) at any time the aggregate principal amount of Loans
outstanding under this Agreement is less than or equal to $100,000,000, (i) in the case of LIBOR Loans, the rate
per annum set forth in the table below under the caption “LIBOR” and (ii) in the case of ABR Loans, the rate
per annum set forth in the table below under the capital “ABR”, as the case may be, based upon the Asset
Coverage Ratio:

    Category                   Asset Coverage Ratio                LIBOR                        ABR

         1             Greater than or equal 3.00:1.00              5.00%                       4.00%

         2                      Less than 3.00:1.00                 6.00%                       5.00%



                 The Applicable Margin shall be adjusted quarterly on a prospective basis on each Adjustment
Date based upon the Asset Coverage Ratio in accordance with the table above and outstanding amount of Loans
as of such Adjustment Date; provided, that if financial statements are not delivered when required pursuant to
Section 5.01(a) or (b), as applicable, or if the Reserve Report (or a “roll-forward” thereof, as permitted under
Section 5.26) is not delivered when required pursuant to Section 5.26), the “Applicable Margin” shall, at the
option of the Administrative Agent or at the direction of the Required Lenders, be the rate per annum set forth
above in Category 2 until such financial statements are delivered in compliance with Section 5.01(a) or (b), as
applicable and/or the Reserve Report (or such a “roll-forward” thereof) is delivered in compliance with Section
5.26.


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                  In the event that either the Borrower or the Administrative Agent determine in good faith that
the calculation of the Asset Coverage Ratio on which the Applicable Margin for any particular period was
determined is inaccurate, and such inaccuracy, if corrected, would have led to the application of a higher
Applicable Margin for the Loans for such period than the Applicable Margin for such Loans applied for such
period, then, (i) the Borrower shall promptly (but in any event within five (5) Business Days of such
determination by the Borrower or receipt of notice from the Administrative Agent) deliver to the Administrative
Agent the correct certified calculation of the Asset Coverage Ratio for such period and (ii) if, as a consequence
of such re-calculation, the Applicable Margin was lower that it would have been, (A) the Applicable Margin for
such Loans shall be determined as if such higher Applicable Margin for such Loans were retroactively applied
for such period, (B) the Administrative Agent shall notify the Borrower of the amount of interest and fees that
would have been due in respect of any outstanding Obligations during such period had the Applicable Margin
been calculated based on the correct Asset Coverage Ratio and (C) the Borrower shall promptly pay to the
Administrative Agent for the benefit of the Lenders, the difference between the amount that would have been
due and the amount that was actually paid in respect of such period; provided, that for the avoidance of doubt,
such deficiency shall be due and payable as set forth above and no Default or Event of Default shall be deemed
to have occurred solely with respect to the failure to pay such additional interest prior to such date.

                   “Approved Credit Bid Purchase Agreement” shall have the meaning set forth in Section 4.01(j).

                   “Approved Fund” shall have the meaning set forth in Section 8.06(b).

                 “Approved Petroleum Engineers” means (a) Netherland, Sewell & Associates, Inc., (b) Ryder
Scott Company, L.P., (c) W. D. Van Gonten & Co. Petroleum Engineering, (d) DeGolyer and MacNaughton,
(e) Cawley, Gillespie & Associates, Inc., (f) Miller and Lents, Ltd. and (g) at the Borrower’s option, any other
independent petroleum engineers selected by the Borrower that is reasonably acceptable to the Administrative
Agent.

                   “Asset Coverage Ratio” means, as of any date of determination, the ratio of (a)(i) total 2P
Producing PV-10 of the Credit Parties (including, for the avoidance of doubt and solely to the extent constituting
2P Producing PV-10 of the Credit Parties, the 2P Producing PV-10 attributable to the Genovesa Well and the
Troika TA-3 Well) plus (ii) solely through and including the last day of the fiscal quarter ending on or about
September 30, 2021 (and solely in the event 2P Producing PV-10 attributable thereto is not included pursuant to
clause (a)(i)), the 2P PV-15 attributable to the Genovesa Well and the Troika TA-3 Well, in each case with
respect to the foregoing clauses (i) and (ii), as set forth in the Latest Reserve Report, plus (iii) the present value
(positive or negative) of the mark-to-market commodity hedge positions at the time of the delivery of the Latest
Reserve Report, discounted at 10% per annum, minus (iv) the present value of the estimated plugging and
abandonment costs of the Borrower and the Subsidiary Guarantors’ wells and any related assets at such time,
discounted at 10% per annum (it being understood and agreed that the estimated costs and timing assumptions
related to the foregoing clause (iv) shall be consistent with historical practice and otherwise reasonably
acceptable to the Administrative Agent), plus (v) the PV-10 values of any Proved Developed Non-Producing
Reserves, Probable Developed Non-Producing Reserves, Proved Developed Behind Pipe Reserves, and Probable
Developed Behind Pipe Reserves which are capable of producing without incurring additional capital and any
Proved Developed Non-Producing Reserves and Probable Developed Non-Producing Reserves previously
included as 2P Developed Producing Reserves and anticipated to be returned to 2P Developed Producing
Reserves within (x) two months of delivery of the Latest Reserve Report so long as any capital required to return
to production is incorporated in the relevant PV-10 values and (y) three to ten months of the delivery of the
Latest Reserve Report so long as (1) any capital required to return to production is incorporated into the relevant
PV-10 value and (2) the total amount of this clause (a) attributable to the reserves described in this sub-clause
(a)(v)(y)(2) does not exceed more than 10% of the total amount of this clause (a) (calculated prior to giving
effect to the additions of reserves described in this sub-clause (a)(v)(y)(2)) to (b) the outstanding balance of the
Loans as of the last day of the most recent Test Period, net of Consolidated Excess Cash as of the most recently
ended Test Period; provided, that (A) the calculation of the foregoing clause (a) shall reflect deductions for
severance and ad valorem taxes, for operating, gathering, transportation, marketing costs and other costs required
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for the production and sale of such Oil and Gas Properties, any purchase price holdbacks in respect of any
reserves included in the calculation of clause (a) and any Production Payments and Reserve Sales attributable to
reserves described in clause (a) and (B) for purposes of calculating 2P Producing PV-10 (and the 2P PV-15
attributable to the Genovesa Well and Troika TA-3 Well, if applicable) the price deck and mark-to-market hedge
valuation shall utilize the average NYMEX strip calculated during the 30 calendar days preceding the “as of”
date of the Latest Reserve Report (held flat after year 5 at the average 5th year prices) and including basis
differentials determined by the Borrower in a manner consistent with historical and customary industry practices
and otherwise subject to the approval of the Administrative Agent.

                   “Asset Sale” means:

                   (1)      the sale, conveyance, transfer or other disposition (whether in a single transaction or a
series of related transactions) of property or assets (including by way of Production Payments and Reserve Sales
and Sale/Leaseback Transactions) (other than an operating lease entered into in the ordinary course of the Oil
and Gas Business) (each referred to in this definition as a “disposition”); or

                   (2)     the issuance or sale of Equity Interests (other than directors’ qualifying shares and
shares issued to foreign nationals or other third parties to the extent required by applicable law) of any Subsidiary
(other than to the Borrower or another Restricted Subsidiary) (whether in a single transaction or a series of related
transactions),

in each case other than:

                   (a)         a disposition of Cash Equivalents or Investment Grade Securities or obsolete, damaged
                               or worn out property or equipment in the ordinary course of business;

                   (b)         any disposition that occurs in connection with a transaction permitted pursuant to
                               Section 5.11;

                   (c)         any Restricted Payment or Permitted Investment that is permitted to be made, and is
                               made, under Section 5.07;

                   (d)         any disposition of property or assets, or the issuance of securities, by a Restricted
                               Subsidiary to the Borrower or by the Borrower or a Restricted Subsidiary to a
                               Restricted Subsidiary that is a Guarantor;

                   (e)         foreclosure, condemnation or any similar action with respect to any property or other
                               asset of the Borrower or any of the Restricted Subsidiaries;

                   (f)         the lease, assignment or sublease of, or any transfer related to a “reverse build to suit”
                               or similar transaction in respect of, any real or personal property in the ordinary course
                               of business;

                   (g)         any sale of inventory (including Hydrocarbons and mineral products) in the ordinary
                               course of business;

                   (h)         any grant in the ordinary course of business of any license of patents, trademarks,
                               know-how or any other intellectual property;

                   (i)         in the ordinary course of business and other than with respect to any Oil and Gas
                               Properties, any swap of assets, or lease, assignment or sublease of any real or personal
                               property, in exchange for services (including in connection with any outsourcing
                               arrangements) of comparable or greater value or usefulness to the business of the
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                               Borrower and the Restricted Subsidiaries as a whole, as determined in good faith by
                               the Borrower;

                   (j)         any transfer of accounts receivable and related assets of the type specified in the
                               definition of “Receivables Financing” (or a fractional undivided interest therein) by a
                               Receivables Subsidiary in a Qualified Receivables Financing;

                   (k)         any Sale/Leaseback Transaction provided that the Fair Market Value of all property of
                               the Borrower and its Restricted Subsidiaries subject to such arrangements since the
                               Closing Date does not exceed $10,000,000;

                   (l)         dispositions in connection with Permitted Liens;

                   (m)         any disposition of Capital Stock of a Restricted Subsidiary pursuant to an agreement
                               or other obligation with or to a Person (other than the Borrower or a Restricted
                               Subsidiary) from whom such Restricted Subsidiary was acquired or from whom such
                               Restricted Subsidiary acquired its business and assets (having been newly formed in
                               connection with such acquisition), made as part of such acquisition and in each case
                               comprising all or a portion of the consideration in respect of such sale or acquisition;

                   (n)         dispositions of receivables in connection with the compromise, settlement or collection
                               thereof in the ordinary course of business or in bankruptcy or similar proceedings and
                               exclusive of factoring or similar arrangements;

                   (o)         any surrender, expiration or waiver of contract rights (other than oil and gas leases) or
                               the settlement, release, recovery on or surrender of contract, tort or other claims of any
                               kind;

                   (p)         any Production Payments and Reserve Sales; provided that any such Production
                               Payments and Reserve Sales, other than incentive compensation programs on terms
                               that are reasonably customary in the Oil and Gas Business for geologists, geophysicists
                               and other providers of technical services to the Borrower or a Restricted Subsidiary,
                               shall have been created, incurred, issued, assumed or guaranteed in connection with
                               the financing of, and within 60 days after the acquisition of, the property that is subject
                               thereto;

                   (q)         the abandonment, farm-out pursuant to a Farm-Out Agreement, lease or sublease of
                               undeveloped Oil and Gas Properties owned or held by the Borrower or any Restricted
                               Subsidiary in the ordinary course of business or which are usual and customary in the
                               Oil and Gas Business generally or in the geographic region in which such activities
                               occur;

                   (r)         the unwinding of any Hedge Agreement;

                   (s)         sales, transfer and other dispositions of Investments in joint ventures to the extent
                               required by, or made pursuant to, customary buy/sell arrangements between the joint
                               venture parties set forth in venture arrangements and similar binding arrangements;
                               and

                   (t)         the lapse or abandonment of intellectual property in the ordinary course of business,
                               which in the reasonable good faith determination of the Borrower are not material to
                               the conduct of the business of the Borrower and its Subsidiaries, taken as a whole.

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                   “Assignee” shall have the meaning set forth in Section 8.06(b)(i).

                  “Assignment and Acceptance” means an assignment and acceptance entered into by a Lender
and an Assignee, and accepted by the Administrative Agent (substantially in the form of Exhibit A or such other
form as shall be approved by the Administrative Agent).

                 “Authorized Officer” means as to any Person, the President, the Chief Executive Officer, the
Chief Financial Officer, the Chief Operating Officer, the Treasurer, the Assistant or Vice Treasurer, the Vice
President-Finance, the General Counsel and any manager, managing member or general partner, in each case,
of such Person, and any other senior officer designated as such in writing to the Administrative Agent by such
Person. Any document delivered hereunder that is signed by an Authorized Officer shall be conclusively
presumed to have been authorized by all necessary corporate, limited liability company, partnership and/or other
action on the part of the Borrower or any other Credit Party and such Authorized Officer shall be conclusively
presumed to have acted on behalf of such Person.

                  “Available Tenor” means, as of any date of determination and with respect to the then-current
Benchmark, as applicable, (x) if the then-current Benchmark is a term rate, any tenor for such Benchmark that
is or may be used for determining the length of an Interest Period or (y) otherwise, any payment period for
interest calculated with reference to such Benchmark, as applicable, pursuant to this Agreement as of such date.

                “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the
applicable Resolution Authority in respect of any liability of an Affected Financial Institution.

                  “Bail-In Legislation” means, (a) with respect to any EEA Member Country implementing
Article 55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
implementing law, regulation, rule or requirement for such EEA Member Country from time to time which is
described in the EU Bail-In Legislation Schedule and (b) with respect to the United Kingdom, Part I of the
United Kingdom Banking Act 2009 (as amended from time to time) and any other law, regulation or rule
applicable in the United Kingdom relating to the resolution of unsound or failing banks, investment firms or
other financial institutions or their affiliate (other than through liquidation, administration or other insolvency
proceedings).

                   “Bankruptcy Code” shall have the meaning set forth in Section 6.01(e).

                   “Bankruptcy Court” shall have the meaning set forth in the recitals hereto.

                “Benchmark” means, initially, LIBOR; provided that if a replacement of the Benchmark has
occurred pursuant to Section 1.09(b), then “Benchmark” means the applicable Benchmark Replacement to the
extent that such Benchmark Replacement has replaced such prior benchmark rate. Any reference to
“Benchmark” shall include, as applicable, the published component used in the calculation thereof.

                   “Benchmark Replacement” means, for any Available Tenor:

                (1)    for purposes of Section 1.09(b)(i), the first alternative set forth below that can be
determined by the Administrative Agent:

                   (a)         the sum of: (i) Term SOFR and (ii) 0.11448% (11.448 basis points) for an Available
                               Tenor of one-month’s duration, 0.26161% (26.161 basis points) for an Available Tenor
                               of three-months’ duration, and 0.42826% (42.826 basis points) for an Available Tenor
                               of six-months’ duration; or

                   (b)         the sum of: (i) Daily Simple SOFR and (ii) the spread adjustment selected or
                               recommended by the Relevant Governmental Body for the replacement of the tenor of
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                               LIBOR with a SOFR-based rate having approximately the same length as the interest
                               payment period specified in Section 1.09(b)(i); and

                   (2)   for purposes of Section 1.09(b)(ii), the sum of (a) the alternate benchmark rate and (b)
an adjustment (which may be a positive or negative value or zero), in each case, that has been selected by the
Administrative Agent and the Company as the replacement for such Available Tenor of such Benchmark giving
due consideration to any evolving or then-prevailing market convention, including any applicable
recommendations made by the Relevant Governmental Body, for U.S. dollar- denominated syndicated credit
facilities at such time;

                 provided that, if the Benchmark Replacement as determined pursuant to clause (1) or (2) above
would be less than the Floor, the Benchmark Replacement will be deemed to be the Floor for the purposes of
this Agreement and the other Loan Documents.

                 “Benchmark Replacement Conforming Changes” means, with respect to any Benchmark
Replacement, any technical, administrative or operational changes (including changes to the definition of
“ABR,” the definition of “Business Day,” the definition of “Interest Period,” timing and frequency of
determining rates and making payments of interest, timing of borrowing requests or prepayment, conversion or
continuation notices, the applicability and length of lookback periods, the applicability of breakage provisions,
and other technical, administrative or operational matters) that the Administrative Agent decides may be
appropriate to reflect the adoption and implementation of such Benchmark Replacement and to permit the
administration thereof by the Administrative Agent in a manner substantially consistent with market practice
(or, if the Administrative Agent decides that adoption of any portion of such market practice is not
administratively feasible or if the Administrative Agent determines that no market practice for the administration
of such Benchmark Replacement exists, in such other manner of administration as the Administrative Agent
decides is reasonably necessary in connection with the administration of this Agreement and the other Loan
Documents).

                 “Benchmark Transition Event” means, with respect to any then-current Benchmark other than
LIBOR, the occurrence of a public statement or publication of information by or on behalf of the administrator
of the then-current Benchmark, the regulatory supervisor for the administrator of such Benchmark, the Board of
Governors, the NYFRB, an insolvency official with jurisdiction over the administrator for such Benchmark, a
resolution authority with jurisdiction over the administrator for such Benchmark or a court or an entity with
similar insolvency or resolution authority over the administrator for such Benchmark, announcing or stating that:

                 (1)     such administrator has ceased or will cease on a specified date to provide all Available
Tenors of such Benchmark, permanently or indefinitely, provided that, at the time of such statement or
publication, there is no successor administrator that will continue to provide any Available Tenor of such
Benchmark; or

                  (2)   all Available Tenors of such Benchmark are or will no longer be representative of the
underlying market and economic reality that such Benchmark is intended to measure and that representativeness
will not be restored.

                   “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

                   “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in ERISA) that is
subject to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code or (c) any Person whose assets
include (for purposes of ERISA Section 3(42) or otherwise for purposes of Title I of ERISA or Section 4975 of
the Code) the assets of any such “employee benefit plan” or “plan”.

                “Board” means the Board of Governors of the Federal Reserve System of the United States of
America (or any successor).
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                 “Board of Directors” means, as to any Person, the board of directors or other governing body
of such Person, or if such Person is owned or managed by a single entity, the board of directors or other governing
body of such entity.

                   “Borrower” shall have the meaning set forth in the preamble to this Agreement.

                   “Borrower Materials” shall have the meaning set forth in Section 8.18.

               “Borrowing” means a group of Loans of a single Type and made on a single date and, in the
case of LIBOR Loans, as to which a single Interest Period is in effect.

                   “Budget” shall have the meaning provided in Section 5.01(g).

                  “Business Day” means any day excluding Saturday, Sunday and any other day on which
banking institutions in New York City or Houston, Texas are authorized by law or other governmental actions
to close, and, if such day relates to (a) any interest rate settings as to a LIBOR Loan, (b) any fundings,
disbursements, settlements and payments in respect of any such LIBOR Loan, or (c) any other dealings pursuant
to this Agreement in respect of any such LIBOR Loan, such day shall be a day on which dealings in deposits in
U.S. Dollars are conducted by and between banks in the London interbank eurodollar market.

                   “Capital Stock” means:

                   (1)         in the case of a corporation, corporate stock or shares;

                   (2)      in the case of an association or business entity, any and all shares, interests,
participations, rights or other equivalents (however designated) of corporate stock;

                 (3)      in the case of a partnership or limited liability company, partnership or membership
interests (whether general or limited); and

                  (4)      any other interest or participation that confers on a Person the right to receive a share
of the profits and losses of, or distributions of assets of, the issuing Person.

                   “Capitalized Lease Obligation” means, at the time any determination thereof is to be made, the
amount of the liability in respect of a capital lease that would at such time be required to be capitalized and
reflected as a liability on a balance sheet (excluding the footnotes thereto) in accordance with GAAP; provided
that any obligations of the Borrower or its Restricted Subsidiaries, or of a special purpose or other entity not
consolidated with the Borrower and its Restricted Subsidiaries, that (i) were not (or would not have been)
included on the consolidated balance sheet of the Borrower as capital lease obligations prior to the
recharacterization described below and (ii) are subsequently (re)characterized as capital lease obligations or, in
the case of such a special purpose or other entity becoming consolidated with the Borrower and its Restricted
Subsidiaries, due to a change in accounting treatment or otherwise, shall for all purposes not be treated as
Capitalized Lease Obligations or Indebtedness.

                  “Capitalized Software Expenditures” means, for any period, the aggregate of all expenditures
(whether paid in cash or accrued as liabilities) by a person during such period in respect of licensed or
purchased software or internally developed software and software enhancements that, in accordance with
GAAP, are or are required to be reflected as capitalized costs on the consolidated balance sheet of such Person
and its Subsidiaries.




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                   “Case” and “Cases” shall have the meaning set forth in the recitals hereto.

                   “Cash Equivalents” means:

               (1)      U.S. Dollars, pounds sterling, euros, the national currency of any member state in the
European Union or such local currencies held by an entity from time to time in the ordinary course of business;

                (2)     securities issued or directly and fully guaranteed or insured by the U.S. government or
any country that is a member of the European Union or any agency or instrumentality thereof in each case
maturing not more than two years from the date of acquisition;

                  (3)      certificates of deposit, time deposits and eurodollar time deposits with maturities of
one year or less from the date of acquisition, bankers’ acceptances, in each case with maturities not exceeding
one year and overnight bank deposits, in each case with any commercial bank having capital and surplus in
excess of $250,000,000 in the case of domestic banks and $100,000,000 in the case of (or the U.S. Dollar
equivalent thereof) in the case of foreign banks;

                 (4)      repurchase obligations for underlying securities of the types described in clauses (2)
and (3) above entered into with any financial institution meeting the qualifications specified in clause (3) above;

                  (5)     commercial paper issued by a corporation (other than an Affiliate of the Borrower)
rated at least “A-1” or the equivalent thereof by Moody’s or S&P (or reasonably equivalent ratings of another
internationally recognized ratings agency) and in each case maturing within one year after the date of acquisition;

                 (6)      readily marketable direct obligations issued by any state of the United States of
America or any political subdivision thereof having one of the two highest rating categories obtainable from
either Moody’s or S&P (or reasonably equivalent ratings of another internationally recognized ratings agency)
in each case with maturities not exceeding two years from the date of acquisition;

                  (7)       Indebtedness issued by Persons (other than the Investors or any of their Affiliates) with
a rating of “A” or higher from S&P or “A-2” or higher from Moody’s (or reasonably equivalent ratings of another
internationally recognized ratings agency) in each case with maturities not exceeding two years from the date of
acquisition;

                 (8)       investment funds investing at least 95% of their assets in securities of the types
described in clauses (1) through (7) above; and

                 (9)       in the case of Investments by any Foreign Subsidiary or Investments made in a country
outside the United States, other customarily utilized high-quality Investments in the country where such Foreign
Subsidiary is located or in which such Investment is made.

                 “Cash Management Agreement” shall mean any agreement entered into from time to time by
the Borrower or any of the Borrower’s Restricted Subsidiaries in connection with cash management services for
collections, other Cash Management Services and for operating, payroll and trust accounts of such Person,
including automatic clearing house services, controlled disbursement services, electronic funds transfer services,
lockbox services, stop payment services and wire transfer services.

                  “Cash Management Bank” shall mean any Person that (a) is (i) at the time it provides Cash
Management Services, (ii) on the Closing Date or (iii) at any time after it has provided any Cash Management
Services, is a Lender or an Agent or an Affiliate of a Lender or an Agent or (b) is identified on Part A of Schedule
1.01(b) hereto (as such schedule may be updated from time to time by the Borrower with the consent of the
Agent (in its sole discretion)) and, with respect to any Person added to Schedule 1.01(b) after the Closing Date,
has delivered a notice substantially in the form attached hereto as Exhibit F.
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                 “Cash Management Obligations” shall mean obligations owed by the Borrower or any
Restricted Subsidiary to any Cash Management Bank in connection with, or in respect of, any Cash Management
Services.

                  “Cash Management Services” shall mean (a) commercial credit cards, merchant card services,
purchase or debit cards, including non-card e-payables services, (b) treasury management services (including,
but not limited to, controlled disbursement, overdraft, automated clearing house fund transfer services, return
items and interstate depository network services) and (c) any other demand deposit or operating account
relationships or other cash management services, including any Cash Management Agreement.

                  “Casualty Event” means, with respect to any Collateral, (a) any damage to, destruction of, or
other casualty or loss involving, any property or asset or (b) any seizure, condemnation, confiscation or taking
under the power of eminent domain of, or any requisition of title or use of, or relating to, or any similar event in
respect of, any property or asset.

                      “CFC” means a “controlled foreign corporation” within the meaning of Section 957 of the
Code.

                      “CFS” shall have the meaning set forth in the recitals hereto.

                  “Change in Law” means (a) the adoption or taking effect of any law, treaty, order, policy, rule
or regulation after the Closing Date, (b) any change in any law, treaty, order, policy, rule or regulation or in the
administration, interpretation, implementation or application thereof by any Governmental Authority after the
Closing Date or (c) the making or issuance of any guideline, request, directive or order enacted or promulgated
after the Closing Date by any central bank or other governmental or quasigovernmental authority (whether or
not having the force of law); provided that notwithstanding anything herein to the contrary, the Dodd-Frank Wall
Street Reform and Consumer Protection Act, the Basel Committee on Banking Regulations and Supervisory
Practices (or any successor or similar authority) and all guidelines, requests, directives, orders, rules and
regulations adopted, enacted or promulgated in connection therewith, in each case pursuant to Basel III, shall in
each case be deemed to have gone into effect after the Closing Date regardless of the date adopted, enacted or
promulgated and shall be included as a Change in Law; provided that no Lender shall be required to disclose
any confidential or proprietary information in connection therewith.

                  “Change of Control” means, at any time: (a) any Person or “group” (within the meaning of
Section 13(d) or 14(d) of the Exchange Act, but excluding any employee benefit plan of such Person, entity or
“group” and its Subsidiaries and any Person or entity acting in its capacity as trustee, agent or other fiduciary or
administrator of any such plan), other than the Permitted Holders (or any holding company parent of Holdings
owned directly or indirectly by the Permitted Holders), shall at any time have acquired direct or indirect
beneficial ownership (as defined in Rules 13(d)-3 and 13(d)-5 under the Exchange Act) of either (i) voting power
of the outstanding Voting Stock of the Borrower having more than 35% of the ordinary voting power for the
election of directors of the Borrower or (ii) economic interests in the outstanding Capital Stock of the Borrower
having more than 35% of the aggregate economic interests in the outstanding Capital Stock of the Borrower, (b)
Holdings shall cease to own 100% of the Capital Stock of the Borrower, or (c) any “change of control” or similar
term under the SLTL Facility shall occur.1

                  “Closing Date” means the date on which all the conditions set forth in Section 4.01 shall have
been satisfied (or waived in accordance with Section 8.01).




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    Subject to further review

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                   “Closing Date Unrestricted Subsidiary” means Fieldwood Cooperatief U.A.

                   “Code” means the Internal Revenue Code of 1986, as amended from time to time.

                 “Collateral” shall have the meaning provided for such term in each of the Security Documents
and shall include any and all assets securing or intended to secure any or all of the Loan Obligations; provided
that with respect to any Mortgages, “Collateral,” as defined herein, shall include “Mortgaged Property” as
defined therein; provided further, that in no case shall the “Collateral” include any Excluded Asset (including,
for the avoidance of doubt, any Excluded Equity Interests).

                 “Collateral Agent” means GS, as collateral agent for the benefit of the Secured Parties, or any
successor collateral agent appointed in accordance with the provisions of Section 7.09.

                 “Collateral Agreement” means the Collateral Agreement, to be entered into as of the Closing
Date, among the Borrower, the Guarantors and the Collateral Agent, substantially in the form attached hereto as
Exhibit G, as may be amended, restated, amended and restated, supplemented or otherwise modified from time
to time in accordance with its terms and in accordance with this Agreement.

                   “Commitment Letter” shall have the meaning set forth in Section 4.01(x).

                 “Consolidated Excess Cash” shall mean, as of the end of any fiscal quarter, the amount that (x)
the average daily balance of Unrestricted Cash of the Borrower and Subsidiary Guarantors over the last fiscal
month of such fiscal quarter exceeds (y) $130,000,000.

                 “Consolidated First Lien Indebtedness” means, as of any date of determination, the aggregate
amount of Consolidated Total Indebtedness described in clause (a) of the definition thereof (without, for the
avoidance of doubt, giving effect to any reduction contemplated by clause (b) of such definition) that is secured
by a Lien on the Collateral on an equal priority basis (but without regard to the control of remedies) with the
Liens securing the Loan Obligations in effect on the Closing Date.

                 “Consolidated First Lien Leverage Ratio” means, as of any date of determination, the ratio of
(a) Consolidated First Lien Indebtedness as of the last day of the most recent Test Period to (b) EBITDAX for
such Test Period; provided that the Consolidated First Lien Net Leverage Ratio shall be determined for the
relevant Test Period on a pro forma basis consistent with the definition of “EBITDAX” and Section 1.12.

                  “Consolidated First Lien Net Indebtedness” means, as of any date of determination, the
aggregate amount of Consolidated Total Indebtedness that is secured by a Lien on the Collateral on an equal
priority basis (but without regard to the control of remedies) with the Liens securing the Loan Obligations in
effect on the Closing Date.

                 “Consolidated First Lien Net Leverage Ratio” means, as of any date of determination, the ratio
of (a) Consolidated First Lien Net Indebtedness as of the last day of the most recent Test Period to (b) EBITDAX
for such Test Period; provided that the Consolidated First Lien Net Leverage Ratio shall be determined for the
relevant Test Period on a pro forma basis consistent with the definition of “EBITDAX” and Section 1.12.

                   “Consolidated Interest Expense” means, with respect to any Person the consolidated interest
expense (including that attributable to Capitalized Lease Obligations), net of cash interest income of the
Borrower and its Restricted Subsidiaries with respect to all outstanding Indebtedness of the Borrower and its
Restricted Subsidiaries, including all commissions, discounts and other fees and charges owed with respect to
letters of credit and bankers’ acceptance financing and net costs under hedging agreements, but excluding, for
the avoidance of doubt, (a) amortization of deferred financing costs, debt discounts or premiums, debt issuance
costs, commissions, fees and expenses, in each case, attributable to Dollar Denominated Production Payments,
(b) the accretion or accrual of discounted liabilities not constituting indebtedness during such period, (c) non-
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cash interest expense attributable to the movement of the mark-to-market valuation of obligations under hedging
agreements or other derivative instruments pursuant to FASB Accounting Standards Codification No. 815-
Derivatives and Hedging, (d) commissions, discounts, yield and other fees and charges (including any interest
expense) incurred in connection with any permitted receivables financing, (e) all non-recurring cash interest
expense consisting of liquidated damages for failure to timely comply with registration rights obligations, all as
calculated on a consolidated basis in accordance with GAAP, (f) any one-time cash costs associated with
breakage in respect of hedging agreements for interest rates, (g) all non-recurring cash interest expense consisting
of liquidated damages for failure to timely comply with registration rights obligations, all as calculated on a
consolidated basis in accordance with GAAP, including any “additional interest” owing pursuant to a registration
rights agreement, (h) non-cash interest expense attributable to a parent entity resulting from push-down
accounting, but solely to the extent not reducing consolidated cash interest expense in any prior period, and (i)
any non-cash expensing of bridge, commitment and other financing fees that have been previously paid in cash,
but solely to the extent not reducing consolidated cash interest expense in any prior period.

                   “Consolidated Net Income” means, for any period and with respect to any Person, (i) the Net
Income of such Person and its Restricted Subsidiaries on a consolidated basis for such period taken as a single
accounting period determined in conformity with GAAP, minus (ii) in each case to the extent otherwise included
in such Net Income and without duplication, (a) the income of any Subsidiary of the Borrower to the extent that
the declaration or payment of dividends or similar distributions by that Subsidiary of that income is not at the
time permitted by operation of the terms of its charter or any agreement, instrument, judgment, decree, order,
statute, rule or governmental regulation applicable to that Subsidiary and (b) the Net Income for such period of
any Person that is not a Subsidiary of such Person or is the Closing Date Unrestricted Subsidiary, or that is
accounted for by the equity method of accounting, except to the extent of the amount of dividends or distributions
or other payments paid in cash (or to the extent converted into cash) to the referent Person or a Restricted
Subsidiary thereof in respect of such period; provided that (1) any net extraordinary, non-recurring or unusual
gains or losses shall be excluded to the extent not otherwise excluded from Net Income, and (2) any payments
from BP related to the Isabela Transaction shall be included to the extent not otherwise included in Net Income;
provided that the Consolidated First Lien Net Leverage Ratio shall be determined for the relevant Test Period
on a pro forma basis consistent with the definition of “EBITDAX” and Section 1.12.

                    “Consolidated Total Indebtedness” means, as of any date of determination, the sum of (without
duplication) (a)(i) Indebtedness outstanding pursuant clauses (1)(a), 1(b), 1(d) of the definition thereof, plus (ii)
reimbursement obligations (whether contingent or otherwise) in respect of letters of credit (other than to the
extent fully cash collateralized or to the extent in respect of undrawn letters of credit with an aggregate face
amount not in excess of $25,000,000), plus (iii) Disqualified Stock and Preferred Stock, plus (iv) solely to the
extent payment with respect thereto is greater than 60 days past due (unless disputed in good faith), the amount
of liabilities in respect of obligations to pay the deferred purchase price of any assets or services (including trade
payables, but except any such balance that constitutes any earn-out obligations until such obligation becomes a
liability on the balance sheet of such Person in accordance with GAAP), plus (v) any of amounts described in
the foregoing clauses (i) through (iv) of other Persons in the amount secured by a Lien on the assets of the
Borrower or any Subsidiary Guarantor or in the amount guaranteed by the Borrower or any Subsidiary Guarantor,
in each case, of the Borrower or any Subsidiary Guarantor on such date (other than intercompany indebtedness)
and, to the extent appearing on the balance sheet of the Borrower, determined on a consolidated basis in
accordance with GAAP; provided, that, (1) the amount of any Capitalized Lease Obligations or any such
indebtedness described in the foregoing clauses (i) through (v) issued at a discount to its face value shall be
determined in accordance with GAAP and (2) the amount of any Indebtedness incurred pursuant to Section
5.06(b)(xviii) shall be excluded from the definition of Consolidated Total Indebtedness less (b) the amount that
(i) all Unrestricted Cash of the Borrower and Subsidiary Guarantors exceeds (ii) $50,000,000.

                 “Consolidated Total Net Leverage Ratio” means, as of any date of determination, the ratio of
(a) Consolidated Total Indebtedness as of the last day of the most recent Test Period to (b) EBITDAX for such
Test Period, provided that the Consolidated Total Net Leverage Ratio shall be determined for the relevant Test
Period on a pro forma basis consistent with the definition of “EBITDAX” and Section 1.12.
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                 “Contingent Obligations” means, with respect to any Person, any obligation of such Person
guaranteeing any leases, dividends or other obligations that do not constitute Indebtedness (“primary
obligations”) of any other Person (the “primary obligor”) in any manner, whether directly or indirectly,
including, without limitation, any obligation of such Person, whether or not contingent:

                  (1)          to purchase any such primary obligation or any property constituting direct or indirect
security therefor;

                   (2)         to advance or supply funds;

                   (a)         for the purchase or payment of any such primary obligation; or

                   (b)         to maintain working capital or equity capital of the primary obligor or otherwise to
                               maintain the net worth or solvency of the primary obligor; or

                 (3)       to purchase property, securities or services primarily for the purpose of assuring the
owner of any such primary obligation of the ability of the primary obligor to make payment of such primary
obligation against loss in respect thereof.

                   “Contractual Requirement” shall have the meaning set forth in Section 3.03.

                   “Covered Party” shall have the meaning set forth in Section 8.24(a).

                   “Credit Bid Purchase Agreement” shall have the meaning set forth in the recitals hereto.

                   “Credit Bid Purchaser” shall have the meaning set forth in the recitals hereto.

                   “Credit Party” means each of the Borrower and the Guarantors.

                   “Cure Period” shall have the meaning set forth in Section 6.05(a).

                   “Cure Right” shall have the meaning set forth in Section 6.05(a).

                   “Cure Right Fiscal Quarter” shall have the meaning set forth in Section 6.05(b)(i).

                  “Customary Intercreditor Agreement” means, to the extent executed in connection with the
incurrence of Indebtedness secured by Liens on the Collateral which are intended to rank junior to the Liens on
the Collateral securing the Loan Obligations, either (i) the Intercreditor Agreement described in clause (i) of the
definition thereof, (ii) an intercreditor agreement substantially in the form of the Intercreditor Agreement (with
such modifications as may be necessary or appropriate in light of prevailing market conditions and acceptable
to the Administrative Agent in its Permitted Business Judgment) or (iii) a customary intercreditor agreement in
form and substance acceptable to the Administrative Agent and/or the Collateral Agent and the Borrower, which
agreement shall provide that the Liens on the Collateral securing such Indebtedness shall rank junior to the Liens
on the Collateral securing the Loan Obligations. With regard to changes in light of prevailing market conditions
as set forth above in clause (ii) or with regard to any intercreditor agreements described in clause (iii), such
changes or agreement, as applicable, shall be posted to the Lenders not less than three (3) Business Days before
execution thereof and, if the Required Lenders shall not have objected in writing to such changes within three
(3) Business Days after posting, then the Required Lenders shall be deemed to have agreed that the
Administrative Agent’s and/or Collateral Agent’s entry into such intercreditor agreement (including with such
changes) is reasonable and to have consented to such intercreditor agreement (including with such changes) and
to the Administrative Agent’s and/or Collateral Agent’s execution thereof.


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                  “Daily Simple SOFR” means, for any day, SOFR, with the conventions for this rate (which will
include a lookback) being established by the Administrative Agent in accordance with the conventions for this
rate recommended by the Relevant Governmental Body for determining “Daily Simple SOFR” for syndicated
business loans; provided, that if the Administrative Agent decides that any such convention is not
administratively feasible for the Administrative Agent, then the Administrative Agent may establish another
convention in its reasonable discretion.

                 “Debt/Equity Incurrence Prepayment Event” means (a) any Incurrence by the Borrower or any
of the Restricted Subsidiaries of any Indebtedness, but excluding any Indebtedness permitted to be issued or
incurred under Section 5.06 and/or (b) the issuance by Holdings of any Equity Interests (including in connection
with the exercise of an Equity Cure) other than, so long as no Event of Default has occurred and is continuing,
any issuance of Equity Interests (i) issued in connection with “Permitted Investments” or (ii) for purposes of
making capital expenditures.

                   “Debtors” shall have the meaning set forth in the recitals hereto.

                 “Default” means any event which is, or after notice or passage of time or both would be, an
Event of Default.

                   “Defaulting Agent” means any Agent (a) has become or is insolvent or has a parent company
that has become or is insolvent or (b) has become or has a parent company that has become the subject of a
bankruptcy or insolvency proceeding or any action or proceeding of the type described in Section 6.01(e), or has
had a receiver, conservator, trustee, administrator, assignee for the benefit of creditors or similar Person charged
with reorganization or liquidation of its business or custodian, appointed for it, or has taken any action in
furtherance of, or indicating its consent to, approval of or acquiescence in any such proceeding or appointment,
or has a parent company that has become the subject of a bankruptcy or insolvency proceeding, or has had a
receiver, conservator, trustee, administrator, assignee for the benefit of creditors or similar Person charged with
reorganization or liquidation of its business or custodian, appointed for it, or has taken any action in furtherance
of, or indicating its consent to, approval of or acquiescence in any such proceeding or appointment.

              “Dispose” means to convey, sell, lease, sell and leaseback, assign, transfer (including via a
Farm-Out Agreement) or otherwise dispose.

                “Disposed EBITDAX” means, with respect to any Sold Entity or Business for any period, the
amount for such period of EBITDAX of such Sold Entity or Business (determined as if references to the
Borrower and the Restricted Subsidiaries in the definition of EBITDAX were references to such Sold Entity or
Business and its respective Subsidiaries), all as determined on a consolidated basis for such Sold Entity or
Business.

                   “Disposition” or “Disposed of” shall have a correlative meaning to the defined term of
“Dispose”.

                 “Disqualified Stock” means, with respect to any Person, any Capital Stock of such Person
which, by its terms (or by the terms of any security into which it is convertible or for which it is redeemable or
exchangeable), or upon the happening of any event:

                 (1)      matures or is mandatorily redeemable, pursuant to a sinking fund obligation or
otherwise (other than as a result of a change of control or asset sale),

                   (2)         is convertible or exchangeable for Indebtedness or Disqualified Stock of such Person,
or


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                   (3)     is redeemable at the option of the holder thereof, in whole or in part (other than solely
as a result of a change of control or asset sale),

in each case prior to 180 days after the earlier of the Maturity Date or the date the Loans are no longer
outstanding; provided, however, that only the portion of Capital Stock which so matures or is mandatorily
redeemable, is so convertible or exchangeable or is so redeemable at the option of the holder thereof prior to
such date shall be deemed to be Disqualified Stock; provided, further, however, that if such Capital Stock is
issued to any employee or to any plan for the benefit of employees of the Borrower or its Subsidiaries or by any
such plan to such employees, such Capital Stock shall not constitute Disqualified Stock solely because it may
be required to be repurchased by such Person in order to satisfy applicable statutory or regulatory obligations or
as a result of such employee’s termination, death or disability; provided, further, that any class of Capital Stock
of such Person that by its terms authorizes such Person to satisfy its obligations thereunder by delivery of Capital
Stock that is not Disqualified Stock shall not be deemed to be Disqualified Stock.

                    “Dollar Denominated Production Payments” means production payment obligations recorded
as liabilities in accordance with GAAP, together with all undertakings and obligations in connection therewith.

                 “Domestic Subsidiary” means each Subsidiary of the Borrower that is organized under the laws
of the United States or any state thereof, or the District of Columbia.

                  “Early Opt-in Effective Date” means, with respect to any Early Opt-in Election, the sixth (6th)
Business Day after the date notice of such Early Opt-in Election is provided to the Lenders, so long as the
Administrative Agent has not received, by 5:00 p.m. (New York City time) on the fifth (5th) Business Day after
the date notice of such Early Opt-in Election is provided to the Lenders, written notice of objection to such Early
Opt-in Election from Lenders comprising the Required Lenders.

                   “Early Opt-in Election” means the occurrence of (a) a notification by the Administrative Agent
to (or the request by the Borrower to the Administrative Agent to notify) each of the other parties hereto that at
least 5 currently outstanding U.S. dollar-denominated syndicated credit facilities at such time contain (as a result
of amendment or as originally executed) a SOFR-based rate (including SOFR, a term SOFR or any other rate
based upon SOFR) as a benchmark rate (and such syndicated credit facilities are identified in such notice and
are publicly available for review), and (b) the joint election by the Administrative Agent and the Borrower to
trigger a fallback from LIBOR and the provision by the Administrative Agent of written notice of such election
to the Lenders.

                 “EBITDAX” means, with respect to the Borrower and the Subsidiary Guarantors on a
consolidated basis for any period, the Consolidated Net Income of the Borrower and the Subsidiary Guarantors
for such period plus (a) the sum of (in each case without duplication and to the extent the respective amounts
described in subclauses (i) through (xii) of this clause (a) are otherwise deducted (and not added back) in arriving
at such Consolidated Net Income for the respective period for which EBITDAX is being determined):

                 (i)     provision for Taxes based on income, profits or capital of the Borrower and the
         Subsidiary Guarantors for such period, including, without limitation, state, franchise and similar taxes
         and foreign withholding taxes (including penalties and interest related to taxes or arising from tax
         examinations),

                  (ii)     Consolidated Interest Expense of the Borrower and Subsidiary Guarantors for such
         period (net of interest income of the Borrower and the Restricted Subsidiaries for such period),

                 (iii)     depreciation, depletion and amortization expenses of the Borrower and the Restricted
         Subsidiaries for such period including, the amortization of intangible assets and deferred financing fees
         and amortization of unrecognized prior service costs and actuarial gains and losses related to pensions
         and other post-employment benefits,
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                  (iv)     Capitalized Software Expenditures; provided, that, the amount included in EBITDAX
         in any four-fiscal quarter period pursuant to this subclause (iv) shall not exceed $500,000,

                  (v)       any other non-cash charges, including non-cash compensation charges or expenses
         realized or resulting from stock option plans, employee benefit plans or post-employment benefit plans,
         or grants or sales of stock, stock appreciation or similar rights, stock options, restricted stock, preferred
         stock or other rights; provided, that, for purposes of this subclause (v), any non-cash charges or losses
         shall be treated as cash charges or losses in any subsequent period during which cash disbursements
         attributable thereto are made (but excluding, for the avoidance of doubt, amortization of a prepaid cash
         item that was paid in a prior period),

                  (vi)     business optimization expenses and other restructuring charges or reserves (which,
         for the avoidance of doubt, shall include, without limitation, retention, severance, systems
         establishment costs, and contract termination costs); provided that (A) the aggregate amount of add-
         backs made pursuant to this subclause (vi) that are included in EBITDAX in any four-fiscal-quarter
         period shall not exceed 10% of EBITDAX (prior to giving effect to such add-backs) for such period
         and (B) shall only be permitted to the extent that the Administrative Agent shall have received
         reasonably detailed information supporting such amounts,

                 (vii)   any non-cash impairment charges or asset write-offs, in each case pursuant to GAAP
         and any non-cash impairment charges, asset write-offs or write-downs, including ceiling test write-
         downs, on Oil and Gas Properties under GAAP or SEC guidelines,

                   (viii) any deductions (less any additions) attributable to minority interests except, in each
         case, to the extent of cash paid or received,

                   (ix)        exploration expenses or costs,

                  (x)      any net after-tax gains (less all fees and expenses or charges relating thereto)
         attributable to an asset sale (other than of Hydrocarbons in the ordinary course of business) and any
         Hedge Unwind Event; provided that, for purposes of this subclause (x) with respect to any Hedge
         Unwind Event, the amount of such net-after tax gains shall be added back on a pro rata basis over the
         remaining period during which the Hedging Obligation which is the subject of the applicable Hedge
         Unwind Event would have remained outstanding prior to such Hedge Unwind Event;

                  (xi)     the amount of any payments paid by the Borrower or any Restricted Subsidiary
         pursuant to settlement agreements or similar agreements, in each case, entered into during the pendency
         of the Cases in connection with the Restructuring Transactions; provided that, commencing with the
         four-fiscal quarter period ending on [March 31, 2022], amounts included in EBITDAX pursuant to this
         subclause (xi) shall (A) only be permitted to the extent that the Administrative Agent shall have received
         reasonably detailed information supporting such amounts and (B) not exceed $2,750,000 in any four-
         fiscal quarter period; and

                 (xii)   costs and expenses incurred in connection with the Plan of Reorganization, the
         Restructuring Transactions (as defined in the Plan of Reorganization) and the Transactions.

                  minus (b) the sum of (without duplication and to the extent the amounts described in this
clause (b) increased such Consolidated Net Income for the respective period for which EBITDAX is being
determined) (i) the amount of all general and administrative expenses and drilling and development costs during
such period to the extent capitalized and not deducted from Consolidated Net Income for such period, (ii) any
net after-tax losses (less all fees and expenses or charges relating thereto) attributable to an asset sale (other than
Hydrocarbons in the ordinary course of business) and any Hedge Unwind Event; provided that, for purposes of
this subclause (ii) and any Hedge Unwind Event the amount of such net-after tax losses shall reduce EBITDAX
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on a pro rata basis over the remaining period during which the Hedging Obligation which is the subject of the
applicable Hedge Unwind Event would have remained outstanding prior to such Hedge Unwind Event and (iii)
non-cash items increasing Consolidated Net Income of the Borrower and the Restricted Subsidiaries for such
period (but excluding any such items (A) in respect of which cash was received in a prior period or will be
received in a future period or (B) which represent the reversal of any accrual of, or cash reserve for, anticipated
cash charges that reduced EBITDAX in any prior period); in the case of each of clauses (a) and (b), as determined
on a consolidated basis for the Borrower and the Restricted Subsidiaries in accordance with GAAP; provided
that: (A) there shall be included in determining EBITDAX for any period of four consecutive fiscal quarters,
without duplication, the Acquired EBITDAX of any Person or business or attributable to any property or asset,
acquired by the Borrower or any Restricted Subsidiary in connection with a Material Acquisition during such
period (but not the Acquired EBITDAX of any related Person or business or any Acquired EBITDAX
attributable to any assets or property, in each case to the extent not so acquired) to the extent not subsequently
sold, transferred, abandoned or otherwise Disposed of by the Borrower or such Restricted Subsidiary (each such
Person, business, property or asset acquired and not subsequently so Disposed of, an “Acquired Entity or
Business”), based on the actual Acquired EBITDAX of such Acquired Entity or Business or such period
(including the portion thereof occurring prior to such acquisition or conversion) determined on a historical pro
forma basis reflecting adjustments determined in good faith by a Financial Officer of the Borrower and
reasonably acceptable to the Administrative Agent and (B) to the extent included in Consolidated Net Income,
there shall be excluded in determining EBITDAX for any period of four consecutive fiscal quarters, the Disposed
EBITDAX of any Person or business or attributable to any property or asset (other than the Closing Date
Unrestricted Subsidiary) sold, transferred, abandoned or otherwise Disposed of or closed by the Borrower or any
Restricted Subsidiary in connection with a Material Disposition during such period (each such Person, business,
property or asset so sold or Disposed of or closed, a “Sold Entity or Business”), based on the actual Disposed
EBITDAX of such Sold Entity or Business for such period (including the portion thereof occurring prior to such
sale, transfer, abandonment or Disposition, closure or conversion) determined on a historical pro forma basis
reflecting adjustments determined in good faith by a Financial Officer of the Borrower and reasonably acceptable
to the Administrative Agent.

                  Notwithstanding anything to the contrary herein, with respect to each of the first three full fiscal
quarters ending after the Closing Date, EBITDAX as of the last day of each such fiscal quarter shall be
annualized (i) for the first full fiscal quarter, by multiplying EBITDAX for such fiscal quarter by four (4), (ii)
for the second full fiscal quarter, by multiplying EBITDAX for the first two fiscal quarters ending after the
Closing Date by two (2), and (iii) for the third full fiscal quarter, by multiplying EBITDAX for the first three
fiscal quarters ending after the Closing Date by four-thirds (4/3).

                  “EEA Financial Institution” means (a) any credit institution or investment firm established in
any EEA Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any entity
established in an EEA Member Country which is a parent of an institution described in clause (a) of this
definition, or (c) any financial institution established in an EEA Member Country which is a subsidiary of an
institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision with its
parent;

                 “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

                  “EEA Resolution Authority” means any public administrative authority or any person entrusted
with public administrative authority of any EEA Member Country (including any delegee) having responsibility
for the resolution of any EEA Financial Institution.

                 “Employee Benefit Plan” means any “employee benefit plan” as defined in Section 3(3) of
ERISA that is or was sponsored, maintained or contributed to by, or required to be contributed by, Holdings, the
Borrower, any of their Subsidiaries or any ERISA Affiliates.

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                   “Environmental Claims” means any and all actions, suits, orders, decrees, demands, demand
letters, claims, liens, notices of noncompliance, restrictions on use, operations or transferability, violation, or
potential responsibility or investigations or proceedings arising under or based upon any Environmental Law,
Environmental Permit, or in connection with the presence, Release or threatened Release of, or exposure to,
Hazardous Materials (hereinafter, “Claims”), including, without limitation, (i) any and all Claims by
governmental or regulatory authorities for enforcement (including, without limitation, as a result of a violation
under Environmental Law), cleanup, investigation, removal, response, remediation, corrective action or other
actions or damages pursuant to any applicable Environmental Law, (ii) any and all Claims relating to real
properties that are currently listed or proposed for listing on the National Priorities List or on the Superfund
Enterprise Management System or any analogous state or local list; and (iii) any and all Claims by any third
party seeking damages, contribution, indemnification, cost recovery, compensation or injunctive relief regarding
the presence, release or threatened release of Hazardous Materials or arising from alleged injury or threat of
injury to health or safety (to the extent relating to human exposure to Hazardous Materials), or the environment
including, without limitation, ambient air, surface water, groundwater, land surface and subsurface strata and
natural resources such as wetlands.

                  “Environmental Law” means any applicable Federal, state, foreign or local statute, law, rule,
regulation, ordinance, code and rule of common law now or hereafter in effect and in each case as amended,
and any binding judicial or administrative interpretation thereof, including any binding judicial or
administrative order, consent decree or judgment, relating to the protection of the environment, including,
without limitation, ambient air, surface water, groundwater, land surface and subsurface strata and natural
resources such as wetlands, any generation, treatment, storage, Release or threatened Release, transport or
disposal, or arrangement for disposal or transport for disposal of Hazardous Materials, or human health or
safety (to the extent relating to human exposure to Hazardous Materials).

                 “Environmental Permit” means any permit, license, registration, consent, approval, exemption
or other authorization required under any Environmental Law or issued by any Governmental Authority.

                   “Equity Cure Amount” shall have the meaning set forth in Section 6.05(a)(ii).

                   “Equity Cures” shall have the meaning set forth in Section 6.05(a).

                 “Equity Interests” means Capital Stock and all warrants, options or other rights to acquire
Capital Stock (but excluding any debt security that is convertible into, or exchangeable for, Capital Stock).

                  “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from time
to time, and the rules and regulations promulgated thereunder.

                  “ERISA Affiliate” means each person (as defined in Section 3(9) of ERISA) that together with
Holdings, the Borrower or any of their Subsidiaries would be deemed to be a “single employer” within the
meaning of Section 414(b) or (c) of the Code or, solely for purposes of Section 302 of ERISA and Section 412
of the Code, is treated as a single employer under Section 414 of the Code. Any former ERISA Affiliate of
Holdings, the Borrower or any of their Subsidiaries shall continue to be considered an ERISA Affiliate of
Holdings, the Borrower or any such Subsidiary within the meaning of this definition with respect to the period
such entity was an ERISA Affiliate of Holdings, the Borrower or such Subsidiary and with respect to liabilities
arising after such period for which Holdings, the Borrower or such Subsidiary could be liable under the Code or
ERISA.

                  “ERISA Event” means (a) a Reportable Event with respect to a Plan; (b) a withdrawal by
Holdings, the Borrower, any of their Subsidiaries or any ERISA Affiliate from a Plan subject to Section 4063 of
ERISA during a plan year in which it was a substantial employer (as defined in Section 4001(a)(2) of ERISA)
or a cessation of operations that is treated as such a withdrawal under Section 4062(e) of ERISA; (c) the failure
of Holdings, the Borrower, any of their Subsidiaries or any ERISA Affiliate to make by its due date a required
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installment under Section 430(j) of the Code with respect to any Plan; (d) a failure to satisfy the minimum
funding standard under Section 412 of the Code or Section 302 of ERISA, or the filing pursuant to Section 412(c)
of the Code or Section 302(c) of ERISA of an application for a waiver of the minimum funding standard, in each
case with respect to a Plan, whether or not waived, or a failure to make any required contribution to a
Multiemployer Plan; (e) a complete or partial withdrawal by Holdings, the Borrower, any of their Subsidiaries
or any ERISA Affiliate from a Multiemployer Plan or notification that a Multiemployer Plan is insolvent within
the meaning of Title IV of ERISA, is in endangered or critical status, within the meaning of Section 305 of
ERISA, or that it intends to terminate or has terminated under Section 4041A or 4042 of ERISA; (f) the filing
of a notice of intent to terminate, the treatment of a Plan amendment as a termination under Section 4041 or
4041A of ERISA, respectively, or the commencement of proceedings by the PBGC to terminate a Plan; (g) the
appointment of a trustee to administer any Plan or the occurrence of any event or condition that might constitute
grounds under ERISA for the termination of, or appointment of a trustee to administer, any Plan; (h) the
imposition of any liability under Title IV of ERISA or the imposition of a lien under Section 412 or 430(k) of
the Code or Section 303 or 4068 of ERISA on any property (or rights to property, whether real or personal) of
Holdings, the Borrower, any of their Subsidiaries or any ERISA Affiliate, but excluding PBGC premiums due
but not delinquent under Section 4007 of ERISA, upon Holdings, the Borrower, any of their Subsidiaries or any
ERISA Affiliate; (i) a determination that any Plan is, or is expected to be, in “at-risk” status (within the meaning
of Section 303(i)(4)(A) of ERISA or Section 430(i)(4)(A) of the Code); (j) the occurrence of an act or omission
that could give rise to the imposition on Holdings, the Borrower, any of their Subsidiaries or any ERISA Affiliate
of fines, penalties, taxes or related charges under Chapter 43 of the Code or under Section 409, Section 502(c),
(i) or (l), or Section 4071 of ERISA in respect of any Employee Benefit Plan; (k) the assertion of a material
claim (other than routine claims for benefits) against any Employee Benefit Plan other than a Multiemployer
Plan or the assets thereof, or against Holdings, the Borrower, any of their Subsidiaries or any ERISA Affiliate
in connection with any Employee Benefit Plan; or (l) receipt from the Internal Revenue Service of notice of the
failure of any Plan (or any other Employee Benefit Plan intended to be qualified under Section 401(a) of the
Code) to qualify under Section 401(a) of the Code, or the failure of any trust forming part of any Plan (or any
such Employee Benefit Plan) to qualify for exemption from taxation under Section 501(a) of the Code.

                   “Erroneous Payment” has the meaning assigned to it in Section 7.16(a).

                   “Erroneous Payment Deficiency Assignment” has the meaning assigned to it in Section 7.16(d).

                   “Erroneous Payment Impacted Loans” has the meaning assigned to it in Section 7.16(d).

                   “Erroneous Payment Return Deficiency” has the meaning assigned to it in Section 7.16(d).

                   “Erroneous Payment Subrogation Rights” has the meaning assigned to it in Section 7.16(d).

                “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by
the Loan Market Association (or any successor person), as in effect from time to time.

                   “Event of Default” shall have the meaning set forth in Section 6.01.

                   “Excess Asset Sale Proceeds” shall have the meaning given to such term in Section 2.13(a).

                   “Excess Casualty Event Proceeds” shall have the meaning given to such term in
Section 2.13(a).

                  “Exchange Act” means the Securities Exchange Act of 1934, as amended, and the rules and
regulations of the SEC promulgated thereunder.

                  “Excluded Accounts” means (a) any deposit account, commodity account or securities account
so long as the balance in each such account, individually, does not exceed $500,000 at any time and the aggregate
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balance of all such deposit accounts, commodity accounts and securities accounts does not at any time exceed
$2,500,000, (b) any deposit account that is a zero balance account or a deposit account for which the balance of
such deposit account is transferred at the end of each date to a deposit account that is not an Excluded Account,
(c) any deposit accounts exclusively used for trust, payroll, payroll taxes and other employee wage and benefit
payments to or for the benefit of any employees of the Credit Parties or any of their Subsidiaries, (d) any deposit
account which is used in the ordinary course of business as a fiduciary account, trust or suspense account used
for payments of royalty obligations, obligations to non-operating working interest owners of Oil and Gas
Properties attributable to their share of production from such Oil and Gas Properties attributable to their share
of production from such Oil and Gas Properties and similar obligations, in each case, which solely contains
deposits made for the benefit of another Person (other than the Borrower or any of its Subsidiaries), and in which
such deposits are held on behalf of, and for the benefit of, such other Person, and (e) any other deposit account,
commodity account or securities account that is pledged to a third party to the extent such Lien is permitted
pursuant to paragraph (1), (4), (6)(C), (13) or (14) of the definition of “Permitted Liens”.

                   “Excluded Assets” shall have the meaning assigned to such term in the Collateral Agreement.

                  “Excluded Equity Interests” means (a) any Equity Interests with respect to which the
Administrative Agent (acting in its sole discretion) and the Borrower mutually agree the cost or other
consequences of pledging such Equity Interests in favor of the Secured Parties under the Security Documents
shall be excessive in view of the benefits to be obtained by the Secured Parties therefrom, (b) any Equity Interests
of a Receivables Subsidiary, and (c) any Equity Interests to the extent the pledge thereof would be prohibited by
any applicable Requirement of Law.

                 “Excluded Subsidiary” means (a) each Domestic Subsidiary that is prohibited by any applicable
Requirement of Law from guaranteeing or granting Liens to secure the Obligations at the time such Subsidiary
becomes a Restricted Subsidiary (and for so long as such prohibition is in effect), (b) any Receivables Subsidiary,
(c) the Closing Date Unrestricted Subsidiary (unless and until the Closing Date Unrestricted Subsidiary becomes
a Restricted Subsidiary in accordance with (and solely to the extent required) Section 5.29) and (d) any other
Domestic Subsidiary with respect to which, the Administrative Agent (acting in its sole discretion) and the
Borrower mutually agree the cost or other consequences of providing a guarantee of or granting Liens to secure
the Obligations shall be excessive in view of the benefits to be obtained by the Lenders therefrom.

                  “Excluded Swap Obligation” means any obligation of any Guarantor to pay or perform under
any Swap, if, and to the extent that, all or a portion of the guarantee by such Guarantor of, or the grant by such
Guarantor of a security interest to secure, such Swap (or any guarantee thereof) is or becomes illegal under the
Commodity Exchange Act or any rule, regulation, or order of the Commodity Futures Trading Commission (or
the application or official interpretation of any thereof) or any other applicable Requirement of Law.

                   “Excluded Taxes” means, with respect to the Administrative Agent, any Lender or any other
recipient of any payment to be made by or on account of any obligation of any Credit Party hereunder or under
any other Loan Document, (i) Taxes imposed on or measured by net income or branch profits (however
denominated, and including (for the avoidance of doubt) any backup withholding in respect thereof under
Section 3406 of the Code), and franchise Taxes imposed on it (in lieu of net income Taxes), in each case by a
jurisdiction (including any political subdivision thereof) as a result of such recipient being organized in, having
its principal office in, or in the case of any Lender, having its applicable lending office in, such jurisdiction or,
as a result of any other present or former connection with such jurisdiction (other than any such connection
arising solely from such recipient having executed, delivered, become a party to, performed its obligations under,
received payments under, received or perfected a security interest under, engaged in any other transaction
pursuant to or enforced any Loan Document, or sold or assigned an interest in any Loan or Loan Document), (ii)
in the case of a Lender, U.S. federal withholding Tax imposed on any payment by or on account of any obligation
of any Credit Party hereunder or under any other Loan Document that is required to be imposed on amounts
payable to or for the account of a Lender (other than to the extent such Lender is an assignee pursuant to a request
by the Borrower under Section 8.07) pursuant to laws in force at the time such Lender becomes a party hereto
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(or designates a new lending office), except to the extent that such Lender (or its assignor, if any) was entitled,
immediately prior to the designation of a new lending office (or assignment), to receive additional amounts or
indemnification payments from any Credit Party with respect to such withholding Tax pursuant to Section 2.15,
(iii) any Tax attributable to the Administrative Agent’s or any Lender’s failure to comply with Section 2.15(d),
(e), (g) or (h) or (iv) any withholding Tax imposed under FATCA.

                   “Existing Loans” has the meaning assigned to it in Section 2.02.

                 “Extraordinary Receipt Event” shall mean the occurrence of any event or circumstance as a
result of which any the Borrower or any Restricted Subsidiary receives Extraordinary Receipts.

                “Extraordinary Receipts” shall mean 100% of the Net Proceeds actually received by the
Borrower or any Restricted Subsidiary not in the ordinary course of business consisting of federal, state or local
Tax refunds, pension plan reversions, judgments and proceeds of litigation settlements or other settlements with
any Governmental Authority (excluding Casualty Events).

                  “Fair Market Value” means, with respect to any asset or property, the price which could be
negotiated in an arm’s-length transaction, for cash, between a willing seller and a willing and able buyer, neither
of whom is under undue pressure or compulsion to complete the transaction, as determined by the Borrower in
good faith (provided that, upon reasonable request of the Administrative Agent, the Borrower shall provide
reasonably detailed supporting evidence of making such determination).

                  “Farm-In Agreement” means an agreement whereby a Person agrees to pay all or a share of the
drilling, completion or other expenses of one or more exploratory or development wells (which agreement may
be subject to a maximum payment obligation, after which expenses are shared in accordance with the working
or participation interests therein or in accordance with the agreement of the parties) or perform the drilling,
completion or other operation on such well or wells as all or a part of the consideration provided in exchange for
an ownership interest in an Oil and Gas Property.

                  “Farm-Out Agreement” means a Farm-In Agreement, viewed from the standpoint of the party
that transfers an ownership interest to another.

                 “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement (or
any amended or successor version that is substantively comparable and not materially more onerous to comply
with), any current or future regulations or official interpretations thereof, any agreements entered into pursuant
to Section 1471(b)(1) of the Code and any fiscal or regulatory legislation, rules or practices adopted pursuant to
any intergovernmental agreement, treaty or convention among Governmental Authorities and implementing
such Sections of the Code.

                   “FCA” shall have the meaning set forth in Section 1.09(b)(i).

                  “Federal Funds Rate” means, for any period, a fluctuating interest rate per annum equal for
each day during such period to the weighted average of the rates on overnight Federal funds transactions with
members of the Federal Reserve System, as published for such day (or, if such day is not a Business Day, for
the next preceding Business Day) by the Federal Reserve Bank of New York, or, if such rate is not so published
for any day that is a Business Day, the Federal Funds Rate for the last day on which such rate was available.

                “Fee Letter” means that certain letter agreement, dated as of the Closing Date, between the
Borrower and the Agents.

                  “Financial Officer” of any Person means the Chief Financial Officer, principal accounting
officer, Treasurer or Assistant Treasurer of such Person.

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                  “Flood Insurance Laws” means, collectively, (i) the National Flood Insurance Act of 1968, as
now or hereafter in effect or any successor statute thereto, (ii) the Flood Disaster Protection Act of 1973, as now
or hereafter in effect or any successor statute thereto, (iii) the National Flood Insurance Reform Act of 1994, as
now or hereafter in effect or any successor statute thereto and (iv) the Flood Insurance Reform Act of 2004, as
now or hereafter in effect or any successor statute thereto.

                 “Floor” means the benchmark rate floor, if any, provided in this Agreement initially (as of the
execution of this Agreement, the modification, amendment or renewal of this Agreement or otherwise) with
respect to Adjusted LIBOR.

                   “Foreign Disposition” shall have the meaning set forth in Section 2.13(a)(ii).

                “Foreign Plan” means any employee benefit plan, program, policy, arrangement or agreement
maintained or contributed to by Holdings, the Borrower or any of their Subsidiaries with respect to employees
employed outside the United States.

                   “Foreign Subsidiary” means each Subsidiary of the Borrower that is not a Domestic Subsidiary.

                   “FWE” shall have the meaning set forth in the recitals hereto.

                   “FWE Inc.” shall have the meaning set forth in the recitals hereto.

                 “GAAP” means generally accepted accounting principles in the United States set forth in the
opinions and pronouncements of the Accounting Principles Board of the American Institute of Certified Public
Accountants and statements and pronouncements of the Financial Accounting Standards Board or in such other
statements by such other entity as have been approved by a significant segment of the accounting profession,
which are in effect from time to time. For the purposes of this Agreement, the term “consolidated” with respect
to any Person means such Person consolidated with its Restricted Subsidiaries, and shall not include the Closing
Date Unrestricted Subsidiary, but the interest of such Person in the Closing Date Unrestricted Subsidiary will be
accounted for as an Investment.

                   “Genovesa Well” means the well described in the Latest Reserve Report as MC 519 OCS
27278 #3.

                   “Goldman Sachs” means Goldman Sachs & Co. LLC.

                   “Governmental Authority” means any nation, sovereign or government, any state, province,
territory or other political subdivision thereof, and any entity or authority exercising executive, legislative,
judicial, taxing, regulatory or administrative functions of or pertaining to government, including a central bank
or stock exchange.

                   “GS” shall have the meaning set forth in the preamble to this Agreement.

                   “guarantee” means a guarantee (other than by endorsement of negotiable instruments for
collection in the ordinary course of business), direct or indirect, in any manner (including, without limitation,
letters of credit and reimbursement agreements in respect thereof), of all or any part of any Indebtedness or other
obligations.

                “Guarantee” means any guarantee of the Loan Obligations and the Loans by any Guarantor in
accordance with the provisions of this Agreement.

                 “Guarantee Obligations” means, as to any Person, any obligation of such Person guaranteeing
or intended to guarantee any Indebtedness of any other Person (the “primary obligor”) in any manner, whether
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directly or indirectly, including any obligation of such Person, whether or not contingent, (a) to purchase any
such Indebtedness or any property constituting direct or indirect security therefor, (b) to advance or supply funds
(i) for the purchase or payment of any such Indebtedness or (ii) to maintain working capital or equity capital of
the primary obligor or otherwise to maintain financial condition or liquidity of the primary obligor so as to enable
the primary obligor to pay such Indebtedness, (c) to purchase property, securities or services primarily for the
purpose of assuring the owner of any such Indebtedness of the ability of the primary obligor to make payment
of such Indebtedness or (d) otherwise to assure or hold harmless the owner of such Indebtedness against loss in
respect thereof; provided, however, that the term “Guarantee Obligations” shall not include endorsements of
instruments for deposit or collection in the ordinary course of business or customary and reasonable indemnity
obligations in effect on the Closing Date or entered into in connection with any acquisition or disposition of
assets permitted under this Agreement (other than such obligations with respect to Indebtedness). The amount
of any Guarantee Obligation shall be deemed to be an amount equal to the stated or determinable amount of the
Indebtedness in respect of which such Guarantee Obligation is made or, if not stated or determinable, the
maximum reasonably anticipated liability in respect thereof as determined by such Person in good faith.

                 “Guarantor” means each of Holdings and the Subsidiary Guarantors; provided that upon the
release or discharge of such Person from its Guarantee in accordance with this Agreement, such Person shall
cease to be a Guarantor.

                  “Hazardous Materials” means (a) any petroleum or petroleum products, natural gas or natural
gas liquids, radioactive materials, friable asbestos, urea formaldehyde foam insulation, polychlorinated
biphenyls, and radon gas, (b) any chemicals, materials or substances defined as or included in the definition of
“hazardous substances”, “hazardous waste”, “hazardous materials”, “extremely hazardous waste”, “restricted
hazardous waste”, “toxic substances”, “toxic pollutants”, “contaminants”, or “pollutants”, or words of similar
import, under any applicable Environmental Law and (c) any other chemical, material or substance, which is
prohibited, limited or regulated by any Environmental Law.

                 “Hazardous Materials Activity” means any past, current, proposed or threatened activity, event
or occurrence involving any Hazardous Materials, including the use, manufacture, possession, storage, holding,
presence, existence, location, Release, threatened Release, discharge, placement, generation, transportation,
processing, construction, treatment, abatement, removal, remediation, disposal, disposition or handling of any
Hazardous Materials, and any corrective action or response action with respect to any of the foregoing.

                   “Hedge Agreements” means (a) any and all rate swap transactions, basis swaps, credit
derivative transactions, forward rate transactions, commodity swaps, commodity options, forward commodity
contracts, future contracts, equity or equity index swaps or options, bond or bond price or bond index swaps or
options or forward bond or forward bond price or forward bond index transactions, interest rate options, forward
foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency swap
transactions, cross-currency rate swap transactions, currency options, total return swap, credit spread transaction,
repurchase transaction, reserve repurchase transaction, securities lending transaction, weather index transaction,
spot contracts, fixed-price physical delivery contracts, whether or not exchange traded, or any other similar
transactions or any combination of any of the foregoing (including any options to enter into any of the foregoing),
whether or not any such transaction is governed by or subject to any master agreement, and (b) any and all
transactions of any kind, and the related confirmations, which are subject to the terms and conditions of, or
governed by, any form of master agreement published by the International Swaps and Derivatives Association,
Inc., any International Foreign Exchange Master Agreement or any other master agreement (any such master
agreement, together with any related schedules, a “Master Agreement”), including any such obligations or
liabilities under any Master Agreement. Notwithstanding the foregoing, agreements or obligations to physically
sell any commodity at any index-based price shall not be considered Hedge Agreements.

                  “Hedge Bank” shall mean (a) any Person (other than the Borrower or any of its Subsidiaries)
that (x) is a Lender or Agent or an Affiliate of a Lender or Agent on the Closing Date, (y) at the time it enters
into a Hedge Agreement is a Lender or Agent or an Affiliate of a Lender or Agent, or (z) at any time after it
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enters into a Hedge Agreement it becomes a Lender or Agent or an Affiliate of a Lender or Agent or (b) any
Person (other than the Borrower or any of its Subsidiaries) that is identified on Part B of Schedule 1.01(b) hereto
(as such schedule may be updated from time to time by the Borrower with the consent of the Administrative
Agent (such consent not to be unreasonably withheld)) and is a party to a Hedge Agreement with the Borrower
or a Restricted Subsidiary and has delivered a notice substantially in the form attached hereto as Exhibit F.

                 “Hedge Unwind Event” means the monetization of a hedge position, whether by mutual
agreement to terminate or “tear up”, in connection with the designation of an early termination date (or any
similar concept) with respect to, or the settlement of such hedge position.

                 “Hedge Unwind Proceeds” means any Net Proceeds received by the Borrower and/or its
Restricted Subsidiaries in connection with any Hedge Unwind Event.

              “Hedging Obligations” means, with respect to any Person, the obligations of such Person under
Hedge Agreements other than Excluded Swap Obligations.

                   “Holdings” shall have the meaning set forth in the preamble to this Agreement.

                  “Hydrocarbon Interests” means all rights, titles, interests and estates now or hereafter acquired
in and to oil and gas leases, oil, gas and mineral leases, or other liquid or gaseous hydrocarbon leases, mineral
fee interests, overriding royalty and royalty interests, net profit interests and production payment interests,
including any reserved or residual interests of whatever nature.

                    “Hydrocarbons” means oil, gas, casinghead gas, drip gasoline, natural gasoline, condensate,
distillate, liquid hydrocarbons, gaseous hydrocarbons and all products refined or separated therefrom.

                   “IBA” shall have the meaning set forth in Section 1.09(b)(i).

                 “Incur” means issue, assume, guarantee, incur or otherwise become liable for; provided,
however, that any Indebtedness or Capital Stock of a Person existing at the time such person becomes a
Subsidiary (whether by merger, amalgamation, consolidation, acquisition or otherwise) shall be deemed to be
Incurred by such Person at the time it becomes a Subsidiary.

                   “Indebtedness” means, with respect to any Person:

                    (1)     the principal and premium (if any) of any indebtedness of such Person, whether or not
contingent, (a) in respect of borrowed money, (b) evidenced by bonds, notes, debentures or similar instruments
or letters of credit or bankers’ acceptances (or, without duplication, reimbursement agreements in respect
thereof), (c) representing the deferred and unpaid purchase price of any property (except any such balance that
constitutes (i) a trade payable or similar obligation to a trade creditor Incurred in the ordinary course of business,
(ii) any earn-out obligations until such obligation becomes a liability on the balance sheet of such Person in
accordance with GAAP and (iii) liabilities accrued in the ordinary course of business), which purchase price is
due more than six months after the date of placing the property in service or taking delivery and title thereto, (d)
in respect of Capitalized Lease Obligations, or (e) representing any Hedging Obligations, if and to the extent
that any of the foregoing indebtedness would appear as a liability on a balance sheet (excluding the footnotes
thereto) of such Person prepared in accordance with GAAP;

                  (2)     to the extent not otherwise included, any obligation of such Person to be liable for, or
to pay, as obligor, guarantor or otherwise, the obligations referred to in clause (1) of another Person (other than
by endorsement of negotiable instruments for collection in the ordinary course of business); and

                (3)     to the extent not otherwise included, Indebtedness of another Person secured by a Lien
on any asset owned by such Person (whether or not such Indebtedness is assumed by such Person); provided,
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however, that the amount of such Indebtedness will be the lesser of: (a) the Fair Market Value of such asset at
such date of determination, and (b) the amount of such Indebtedness of such other Person;

provided, however, that notwithstanding the foregoing, Indebtedness shall be deemed not to include (1)
Contingent Obligations incurred in the ordinary course of business and not in respect of borrowed money (except
as expressly included pursuant to clause (1) above); (2) purchase price holdbacks in respect of a portion of the
purchase price of an asset to satisfy warranty or other unperformed obligations of the respective seller; (3)
Production Payments and Reserve Sales; (4) any obligation of a Person in respect of a Farm-In Agreement or
similar arrangement whereby such Person agrees to pay all or a share of the drilling, completion or other expenses
of an exploratory or development well (which agreement may be subject to a maximum payment obligation,
after which expenses are shared in accordance with the working or participation interest therein or in accordance
with the agreement of the parties) or perform the drilling, completion or other operation on such well in exchange
for an ownership interest in an oil or gas property; (5) in-kind obligations relating to net oil, natural gas liquids
or natural gas balancing positions arising in the ordinary course of business; and (6) any Guarantee Obligations
incurred in the ordinary course of business to the extent not guaranteeing Indebtedness.

                  Notwithstanding anything in this Agreement to the contrary, Indebtedness shall not include,
and shall be calculated without giving effect to, the effects of Statement of Financial Accounting Standards No.
133 and related interpretations to the extent such effects would otherwise increase or decrease an amount of
Indebtedness for any purpose under this Agreement as a result of accounting for any embedded derivatives
created by the terms of such Indebtedness; and any such amounts that would have constituted Indebtedness under
this Agreement but for the application of this sentence shall not be deemed an Incurrence of Indebtedness under
this Agreement.

                  “Indemnified Liabilities” means, collectively, any and all liabilities, obligations, losses,
damages (including natural resource damages), penalties, claims (including Environmental Claims), actions,
judgments, suits, costs (including the costs of any investigation, study, sampling, testing, abatement, cleanup,
removal, remediation or other response action necessary to remove, remediate, clean up or abate any Hazardous
Materials Activity), Taxes, expenses and disbursements of any kind or nature whatsoever (including attorneys’
fees and any fees or expenses incurred by Indemnitees in enforcing this indemnity), whether direct, indirect,
special, or consequential and whether based on any federal, state or foreign laws, statutes, rules or regulations
(including securities and commercial laws, statutes, rules or regulations and Environmental Laws), on common
law or equitable cause or on contract or otherwise, that may be imposed on, incurred by, or asserted against any
such Indemnitee (whether asserted by a third party or by any Credit Party or any of its affiliates), in any manner
relating to or arising out of (i) this Agreement or the other Loan Documents or the transactions contemplated
hereby or thereby (including the Lenders’ agreement to make Loans or the use or intended use of the proceeds
thereof, or any enforcement of any of the Loan Documents (including any sale of, collection from, or other
realization upon any of the Collateral or the enforcement of the Guarantee)); (ii) the statements contained in the
commitment letter delivered by any Lender to the Borrower with respect to the transactions contemplated by this
Agreement; or (iii) any Environmental Claim or Hazardous Materials Activity relating to or arising from, directly
or indirectly, any past or present activity, operation, land ownership, or practice of Holdings or any of its
Subsidiaries.

                 “Indemnified Taxes” means all (a) Taxes (other than Excluded Taxes) imposed on or with
respect to any payment by or on account of any obligation of any Credit Party hereunder or under any other Loan
Document and (b) to the extent not otherwise described in (a), Other Taxes.

                   “Indemnitee” shall have the meaning set forth in Section 8.05(b).

                   “Information” shall have the meaning set forth in Section 3.08.

                   “Initial Hedging Period” shall have the meaning set forth in Section 5.23(a).

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                 “Intercreditor Agreement” shall mean (i) the intercreditor agreement among the Collateral
Agent, the collateral agent under the SLTL Facility and the other parties from time to time party thereto, to be
entered into on the Closing Date, substantially in the form attached hereto as Exhibit H, with such changes as
the Administrative Agent shall reasonably agree in its Permitted Business Judgment, as it may be amended,
restated, supplemented or otherwise modified from time to time in accordance with this Agreement or (ii) any
replacement thereof that is a Customary Intercreditor Agreement.

                  “Interest Payment Date” means, (a) with respect to any ABR Loan, the last Business Day of
each calendar quarter (being the last day of March, June, September and December of each year), and (b)
otherwise, the last day of the Interest Period applicable to the Loan and, in the case of a Loan with an Interest
Period of more than three months’ duration each day that would have been an Interest Payment Date had
successive Interest Periods of three months’ duration been applicable to such Loan and, in addition, the date of
any conversion of such Loan to an ABR Loan.

                   “Interest Period” means as to any Loan (other than an ABR Loan), the period commencing on
the date of such borrowing or on the last day of the immediately preceding Interest Period applicable to such
Loan, as applicable, and ending on the numerically corresponding day (or, if there is no numerically
corresponding day, on the last day) in the calendar month that is 1, 3 or 6 months thereafter, as the Borrower
may elect, or the date any Loan (other than an ABR Loan) is effectively converted to an ABR Loan in accordance
with Section 2.08 or repaid or prepaid in accordance with Section 2.04, Section 2.12 or Section 2.13 or on the
Maturity Date; provided that if any Interest Period would end on a day other than a Business Day, such Interest
Period shall be extended to the next succeeding Business Day unless such next succeeding Business Day would
fall in the next calendar month, in which case such Interest Period shall end on the next preceding Business Day.
Interest shall accrue from and including the first day of an Interest Period to but excluding the last day of such
Interest Period. For purposes hereof, the date of a borrowing of a Loan initially shall be the date on which such
borrowing is made and thereafter shall be the effective date of the most recent conversion or continuation of
such borrowing.

                “Interest Period Election Request” means a request by the Borrower to elect an Interest Period
in accordance with Section 2.19.

                   “Investment Grade Securities” means:

                 (1)    securities issued or directly and fully guaranteed or insured by the U.S. government or
any agency or instrumentality thereof (other than Cash Equivalents),

                (2)      securities that have a rating equal to or higher than Baa3 (or equivalent) by Moody’s
and BBB- (or equivalent) by S&P, but excluding any debt securities or loans or advances between and among
the Borrower and its Subsidiaries,

                  (3)   investments in any fund that invests exclusively in investments of the type described
in clauses (1) and (2) which fund may also hold immaterial amounts of cash pending investment and/or
distribution, and

                  (4)      corresponding instruments in countries other than the United States customarily
utilized for high quality investments and in each case with maturities not exceeding two years from the date of
acquisition.

                  “Investments” means, with respect to any Person, all investments by such Person in other
Persons (including Affiliates) in the form of loans (including guarantees), advances or capital contributions
(excluding accounts receivable, trade credit and advances to customers and commission, travel and similar
advances to officers, employees and consultants made in the ordinary course of business), purchases or other
acquisitions for consideration of Indebtedness, Equity Interests or other securities issued by any other Person
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and investments that are required by GAAP to be classified on the balance sheet of such Person in the same
manner as the other investments included in this definition to the extent such transactions involve the transfer of
cash or other property.

                   “Investors” means the Persons set forth on Schedule 1.01(c).2

                   “IRS” shall have the meaning set forth in Section 2.15(e)(i).

                “Isabela Transaction” means the transactions that occurred in the fourth quarter of 2018 which
provide for monthly cash payments to Holdings from BP Exploration and Production Inc. based on a percentage
the revenue generated from the Isabela field through 2021 (subject to an annual true-up).

                   “Judgment Currency” shall have the meaning set forth in Section 8.17(b).

                  “Junior Debt” means any Indebtedness for borrowed money that is expressly subordinated in
right of payment and/or security to the Indebtedness incurred under this Agreement (including, without
limitation, the SLTL Facility) (or, in each case, any Refinancing Indebtedness in respect thereof to the extent
constituting Junior Debt).

                  “Junior Lien Obligations” means the Obligations with respect to Junior Debt, which by its terms
is intended to be secured by the Collateral on a basis junior to the Loans; provided such Lien is permitted to be
incurred under this Agreement.

                “Latest Reserve Report” means the most recent Reserve Report (or “roll-forward” thereof)
delivered pursuant to Section 5.26(a) through (d).

                 “Lender” means each financial institution listed on Schedule 2.01, and any Person that becomes
a “Lender” hereunder pursuant to Section 8.06, other than any such Person that has ceased to be a party hereto
pursuant to an Assignment and Acceptance in accordance with Section 8.06.

                  “Lending Office” means, as to any Lender, the applicable branch, office, Affiliate or account
(if appropriate) of such Lender designated by such Lender to make Loans to the Borrower.

                   “Leverage Cure Amount” shall have the meaning set forth in Section 6.05(a)(i).

                   “LIBOR” means for any Interest Period and as determined on the date that is two Business
Days prior to the first day of such Interest Period (i)(a) the rate per annum equal to the rate determined by
Administrative Agent to be the London interbank offered rate administered by the ICE Benchmark
Administration (or any other Person that takes over the administration of that rate) for deposits (for delivery on
the first day of such period) with a term equivalent to such period in dollars displayed on the ICE LIBOR USD
page of the Reuters Screen (or any replacement Reuters page that displays such rate) or on the appropriate page
of any other information service that publishes that rate from time to time in place of Reuters, determined as of
approximately 11:00 a.m. (London, England time) on such determination date (the rate referenced in this clause
(a), the “Eurodollar Screen Rate”), or (b) in the event the Eurodollar Screen Rate is not available, the rate per
annum equal to the offered rate, truncated at five decimal digits, that is set forth on or in such other available
quotation page or service as is acceptable to Administrative Agent in its sole discretion and that provides an
average ICE Benchmark Administration Limited Interest Settlement Rate or another London interbank offered
rate administered by any other Person that takes over the administration of such rate for deposits (for delivery
on the first day of the relevant period) with a term equivalent to such period in dollars, determined as of
approximately 11:00 a.m. (London, England time) on such determination date, or (c) in the event the rates

2 To identify Investors (other than management) holding >[5]% on the Closing Date. Subject to further discussion



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referenced in the preceding clauses (a) and (b) are not available or if such information, in the reasonable judgment
of Administrative Agent, shall cease to accurately reflect the rate offered by leading banks in the London
interbank market as reported by any publicly available source of similar market data selected by Administrative
Agent, the rate per annum equal to the rate determined by Administrative Agent to be the offered rate, truncated
at five decimal digits, to first class banks in the London interbank market for deposits (for delivery on the first
day of the relevant period) with a term equivalent to such Interest Period in Dollars, determined as of
approximately 11:00 a.m. (London, England time) on such determination date.

                   “LIBOR Borrowing” means a Borrowing comprised of LIBOR Loans.

               “LIBOR Loan” means a Loan bearing interest at a rate equal to Adjusted LIBOR plus the
Applicable Margin.

                  “Lien” means, with respect to any asset, any mortgage, lien, pledge, charge, security interest or
similar encumbrance of any kind in respect of such asset, whether or not filed, recorded or otherwise perfected
under applicable law (including any conditional sale or other title retention agreement, any lease in the nature
thereof, any option or other agreement to sell or give a security interest in and any filing of or agreement to give
any financing statement under the Uniform Commercial Code (or equivalent statutes) of any jurisdiction);
provided that in no event shall an operating lease be deemed to constitute a Lien.

                “Loan Documents” means this Agreement, the Guarantee, the Security Documents, any
promissory note issued by the Borrower under this Agreement, the Fee Letter, and any intercreditor agreement
with respect to this Agreement and the Loans entered into on or after the Closing Date to which the
Administrative Agent or Collateral Agent is a party on behalf of the Lenders (including the Intercreditor
Agreement).

                   “Loan Obligations” means all obligations in respect of the Loans and other obligations arising
under this Agreement, the Security Documents and the other Loan Documents, including, for the avoidance of
doubt, the Guarantees and all penalties, fees, indemnifications, reimbursements, damages and other liabilities
payable thereunder (including, in each case, interest and any other of the foregoing amounts that, but for the
filing of a petition in bankruptcy with respect to any Credit Party, would have accrued on any of the foregoing,
whether or not a claim is allowed against such Credit Party for such interest in the related bankruptcy
proceeding).

                   “Loans” means the term loans deemed made to the Borrower pursuant to Section 2.01(a).

                 “Material Acquisition” means an acquisition, merger, amalgamation or consolidation resulting
in the Borrower and/or any Subsidiary Guarantor acquiring an Acquired Entity or Business with a Fair Market
Value in excess of $2,500,000.

                   “Material Adverse Effect” means a circumstance or condition that would, individually or in the
aggregate, have a material adverse effect on (a) the business, assets, operations, properties or financial condition
of Holdings, the Borrower and its Subsidiaries, taken as a whole, (b) the ability of the Borrower and the Credit
Parties, taken as a whole, to perform their obligations under this Agreement or any of the other Loan Documents,
taken as a whole, (c) the rights and remedies of the Agents and the Lenders under this Agreement or under any
of the other Loan Documents or (d) the validity, perfection or priority of a Lien in favor of the Collateral Agent
for the benefit of the Secured Parties on the Collateral, taken as a whole.

                “Material Contract” means (i) any joint operating agreement covering Oil and Gas Properties
of the Borrower and its Restricted Subsidiaries constituting greater than 20% of the PV-10 Value of 2P
Developed Producing Reserves, (ii) Contractual Obligations entered into to engage drillships and other
equipment and drilling and completion service providers resulting in net costs or other net liabilities to the
Borrower and its Restricted Subsidiaries in excess of $25,000,000, (iii) the organizational documents of the
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Closing Date Unrestricted Subsidiary and any Contractual Obligations relating to the ownership by the Borrower
and its Subsidiaries of the Mexico Assets, including any Contractual Obligations providing for required capital
contributions to be made in respect thereof, (iv) any contract binding on the Borrower or any of its Restricted
Subsidiaries with [Fieldwood Energy I LLC], [Fieldwood Energy II LLC], or any of their respective Affiliates
(including, without limitation, any transition services agreements, joint development agreements and net profits
interests agreements) and (v) each contract (other than the Loan Documents) to which such Person is a party
which is material to the operations, business, properties or financial condition of such Person and which breach,
nonperformance, termination or failure to renew would, either individually or in the aggregate, have a Material
Adverse Effect.

                 “Material Disposition” means the sale, transfer, abandonment, Disposition, transfer or closure
of any Sold Entity or Business with a fair market value in excess of $2,500,000.

                “Material Indebtedness” shall mean Indebtedness (other than Loans or other Indebtedness
under any Loan Document) of any one or more of the Borrower or any Restricted Subsidiary in an aggregate
principal amount exceeding $10,000,000.

                    “Material Liability” means liabilities in excess of $15,000,000.

                    “Maturity Date” means the fourth anniversary of the Closing Date.

                “Mexico Assets” means assets (or equity interests in subsidiaries owning assets) associated
with the Borrower and its Subsidiaries’ operations and/or investments in Mexico on the Closing Date.

                    “Mexico Liquidity Event” means any sale or other monetization of Mexico Assets.

                    “Moody’s” means Moody’s Investors Service, Inc. or any successor to the rating agency
business thereof.

                  “Mortgaged Properties” means the owned real property, and any Oil and Gas Properties
constituting real property interests, of the Borrower or any Subsidiary Guarantor encumbered by a Mortgage.
Notwithstanding any provision in this Agreement or any other Loan Document to the contrary, in no event is
any Building (as defined in the applicable Flood Insurance Laws) or Manufactured (Mobile) Home (as defined
in the applicable Flood Insurance Laws) included in the definition of “Mortgaged Property” and no Building or
Manufactured (Mobile) Home shall be encumbered by this Agreement or any other Loan Document; provided,
that (a) such Building and Manufactured (Mobile) Home exclusion shall not exclude any interests in any lands,
Hydrocarbons or other property situated under, in, or adjacent to any such Building or Manufactured (Mobile)
Home and (b) for the avoidance of doubt, neither the Borrower nor any Restricted Subsidiary shall permit to
exist any Lien on any Building or Manufactured (Mobile) Home except Permitted Liens.

                “Mortgages” means, collectively, the mortgages, trust deeds, deeds of trust and other security
documents (if any) delivered with respect to Mortgaged Properties, as amended, supplemented, or otherwise
modified from time to time.

                 “Multiemployer Plan” means any Employee Benefit Plan that is a multiemployer plan as
defined in Section 4001(a)(3) of ERISA.

                 “Net Income” means, with respect to any Person, the net income (loss) of such Person and its
Restricted Subsidiaries, determined in accordance with GAAP and before any reduction in respect of Preferred
Stock dividends.

                 “Net Proceeds” means the aggregate cash proceeds received by Holdings, the Borrower or any
Restricted Subsidiary in respect of any Asset Sale, Casualty Event (including, without limitation, any payments
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pursuant to purchase price adjustments and any cash payments received by way of earnout, deferred payment of
principal pursuant to a note or installment receivable or otherwise, but only as and when received, but excluding
the assumption by the acquiring person of Indebtedness relating to the disposed assets or other consideration
received in any other non-cash form), Extraordinary Receipt Event or Debt/Equity Incurrence Prepayment Event,
net of the direct costs relating to such Asset Sale, Casualty Event, Extraordinary Receipt Event or Debt/Equity
Incurrence Prepayment Event (including, without limitation, legal, accounting and investment banking fees, and
brokerage and sales commissions), and any relocation expenses Incurred as a result thereof, taxes paid or payable
as a result thereof (including Tax Distributions and after taking into account any available tax credits or
deductions and any tax sharing arrangements related solely to such disposition), amounts required to be applied
to the repayment of principal, premium (if any) and interest on Indebtedness required to be paid as a result of
such transaction, amounts paid in connection with the termination of Hedging Obligations related to
Indebtedness repaid with such proceeds or hedging oil, natural gas and natural gas liquid production in notional
volumes corresponding to the Oil and Gas Properties subject to such Asset Sale, Casualty Event, Extraordinary
Receipt Event or Debt/Equity Incurrence Prepayment Event, and any deduction of appropriate amounts to be
provided by the Borrower as a reserve in accordance with GAAP against any liabilities associated with the asset
disposed of in such transaction and retained by the Borrower after such sale or other disposition thereof,
including, without limitation, pension and other post-employment benefit liabilities and liabilities related to
environmental matters or against any indemnification obligations associated with such transaction.

                   “Non-Bank Tax Certificate” shall have the meaning set forth in Section 2.15(e)(i).

                   “Non-Consenting Lender” shall have the meaning set forth in Section 8.07(b).

                 “Non-U.S. Lender” means any Lender (a) that is not disregarded as separate from its owner for
U.S. federal income tax purposes and that is not a “United States person” as defined by Section 7701(a)(30) of
the Code or (b) that is disregarded as separate from its owner for U.S. federal income tax purposes and whose
regarded owner is not a “United States person” as defined by Section 7701(a)(30) of the Code.

                “Note” means any promissory note issued to a Lender or its registered assigns that evidences
the Loans extended by such Lender to the Borrower.

                   “Notice of Borrowing” shall have the meaning set forth in Section 2.03(a).

                   “Notice of Intent to Cure” shall have the meaning set forth in Section 6.05(d).

                 “Obligations” means shall mean all Loan Obligations, all Cash Management Obligations under
Secured Cash Management Agreements, all Secured Hedge Obligations, all Erroneous Payment Subrogation
Rights and all penalties, fees, indemnifications, reimbursements, damages and other liabilities payable
thereunder (including, in each case, interest and any other of the foregoing amounts that, but for the filing of a
petition in bankruptcy with respect to such Credit Party, would have accrued on any of the foregoing, whether
or not a claim is allowed against such Credit Party for such interest in the related bankruptcy proceeding).
Notwithstanding the foregoing, (a) the obligations of the Borrower or any Restricted Subsidiary under any
Secured Hedge Agreement and under any Secured Cash Management Agreement that has been secured at the
option of the Borrower (such option shall be deemed exercised as reflected in the documents related to any such
Secured Hedge Agreement or Secured Cash Management Agreement among the Borrower and the applicable
Hedge Bank or Cash Management Bank) shall be secured and guaranteed pursuant to the Security Documents
and the Guarantee only to the extent that, and for so long as, the other Obligations are so secured and guaranteed
and (b) any release of Collateral or Guarantors effected in the manner permitted by this Agreement and the other
Loan Documents shall not require the consent of the holders of Hedge Obligations under Secured Hedge
Agreements or of the holders of Cash Management Obligations under Secured Cash Management Agreements.

                “OFAC” means the Office of Foreign Assets Control of the U.S. Department of the Treasury
and any successor Governmental Authority.
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                  “Officers’ Certificate” means a certificate signed on behalf of the Borrower by two Authorized
Officers of the Borrower, one of whom must be the principal executive officer, the principal financial officer,
the treasurer or the principal accounting officer of the Borrower, which meets the requirements set forth in this
Agreement.

                   “Oil and Gas Business” means:

                 (1)       the business of acquiring, exploring, exploiting, developing, producing, operating and
disposing of interests in oil, natural gas, natural gas liquids, liquefied natural gas and other Hydrocarbons and
mineral properties or products produced in association with any of the foregoing;

                  (2)      the business of gathering, marketing, distributing, treating, processing, storing,
refining, selling and transporting of any production from such interests or properties and products produced in
association therewith and the marketing of oil, natural gas, other Hydrocarbons and minerals obtained from
unrelated Persons;

                 (3)      any other related energy business, including power generation and electrical
transmission business, directly or indirectly, from oil, natural gas and other Hydrocarbons and minerals produced
substantially from properties in which the Borrower or its Restricted Subsidiaries, directly or indirectly,
participate;

                   (4)         any business relating to oil field sales and service; and

                  (5)       any business or activity relating to, arising from, or necessary, appropriate, incidental
or ancillary to the activities described in the foregoing clauses (1) through (4) of this definition.

                   “Oil and Gas Properties” means (a) Hydrocarbon Interests, (b) the properties now or hereafter
pooled or unitized with Hydrocarbon Interests, (c) all presently existing or future unitization, pooling agreements
and declarations of pooled units and the units created thereby (including all units created under orders,
regulations and rules of any Governmental Authority) which may affect all or any portion of the Hydrocarbon
Interests, (d) all operating agreements, contracts and other agreements, including production sharing contracts
and agreements, which relate to any of the Hydrocarbon Interests or the production, sale, purchase, exchange or
processing of Hydrocarbons from or attributable to such Hydrocarbon Interests, (e) all Hydrocarbons in and
under and which may be produced and saved or attributable to the Hydrocarbon Interests, including all oil in
tanks, and all rents, issues, profits, proceeds, products, revenues and other incomes from or attributable to the
Hydrocarbon Interests, (f) all tenements, hereditaments, appurtenances and properties in any manner
appertaining, belonging, affixed or incidental to the Hydrocarbon Interests and (g) all properties, rights, titles,
interests and estates described or referred to above, including any and all property, real or personal, now owned
or hereafter acquired and situated upon, used, held for use or useful in connection with the operating, working
or development of any of such Hydrocarbon Interests or property (excluding drilling rigs, automotive equipment,
rental equipment or other personal property which may be on such premises for the purpose of drilling a well or
for other similar temporary uses) and including any and all oil wells, gas wells, injection wells or other wells,
structures, fuel separators, liquid extraction plants, plant compressors, pumps, pumping units, field gathering
systems, gas processing plants and pipeline systems and any related infrastructure to any thereof, tanks and tank
batteries, fixtures, valves, fittings, machinery and parts, engines, boilers, meters, apparatus, equipment,
appliances, tools, implements, cables, wires, towers, casing, tubing and rods, surface leases, rights-of-way,
easements and servitudes together with all additions, substitutions, replacements, accessions and attachments to
any and all of the foregoing.

                   “Original RBL Credit Agreement” shall have the meaning set forth in the recitals hereto.

                  “Other Taxes” means any and all present or future stamp, registration, documentary, intangible,
recording, filing or any other excise, property or similar Taxes arising from any payment made hereunder or
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made under any other Loan Document or from the execution or delivery of, performance, registration or
enforcement of, from the receipt or perfection of a security interest under, consummation or administration of,
or otherwise with respect to, this Agreement or any other Loan Document; provided that such term shall not
include Taxes that result from an assignment (“Assignment Taxes”) to the extent such Assignment Taxes are
imposed as a result of a connection between the assignor and the taxing jurisdiction (other than a connection
arising solely from any Loan Documents or any transactions contemplated thereunder), except to the extent that
any such action described in this proviso is requested or required by the Borrower.

                 “Parent Entity” means any Person that is a direct or indirect parent company (which may be
organized as a partnership) of the Borrower, including, without limitation, Holdings.

                   “Participant” shall have the meaning set forth in Section 8.06(c)(i).

                   “Participant Register” shall have the meaning set forth in Section 8.06(c)(ii).

                   “Payment Recipient” has the meaning assigned to it in Section 7.16(a).

                “PBGC” means the Pension Benefit Guaranty Corporation established pursuant to
Section 4002 of ERISA, or any successor thereto.

                  “Permitted Business Investment” means any Investment and/or expenditure made in the
ordinary course of business or which are of a nature that is or shall have become customary in the Oil and Gas
Business generally or in the geographic region in which such activities occur, including investments or
expenditures for actively exploiting, exploring for, acquiring, developing, producing, processing, gathering,
marketing, distributing, storing, or transporting oil, natural gas or other Hydrocarbons and minerals (including
with respect to plugging and abandonment) through agreements, transactions, interests or arrangements which
permit one to share risks or costs, comply with regulatory requirements regarding local ownership or satisfy
other objectives customarily achieved through the conduct of the Oil and Gas Business jointly with third parties,
including:

                  (1)      Investments in ownership interests (including equity, joint venture or other ownership
interests) in oil, natural gas, other Hydrocarbons and minerals properties, liquefied natural gas facilities,
processing facilities, gathering systems, pipelines, storage facilities or related systems or ancillary real property
interests;

                   (2)      Investments in the form of or pursuant to operating agreements, working interests,
royalty interests, mineral leases, processing agreements, Farm-In Agreements, Farm-Out Agreements, contracts
for the sale, transportation or exchange of oil, natural gas, other Hydrocarbons and minerals, production sharing
agreements, participation agreements, development agreements, area of mutual interest agreements, unitization
agreements, pooling agreements, joint bidding agreements, service contracts, joint venture agreements,
partnership agreements (whether general or limited), subscription agreements, stock purchase agreements,
stockholder agreements and other similar agreements (including for limited liability companies) with third
parties; and

                (3)      Investments in direct or indirect ownership interests in drilling rigs and related
equipment, including, without limitation, transportation equipment.

                  “Permitted Business Judgment” means with respect to any term or provision of this Agreement
or the other Loan Documents that requires the approval, satisfaction, discretion, determination, decision, action
or inaction or any similar concept of or by the Administrative Agent, in each case, whether at the request of the
Borrower or otherwise, as applicable (collectively, an “Agent Action”), a determination made in good faith with
respect to such Agent Action by the Administrative Agent in the exercise of its reasonable business judgment;
provided that, at the Administrative Agent’s option, the Administrative Agent may confirm its authority to take
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such Agent Action, including after giving such consent, by (a) notifying all Lenders via the Platform of the
proposed Agent Action and (b) Lenders constituting Required Lenders consenting to such Agent Action in the
manner prescribed in the relevant communication; provided, that if a Lender does not expressly provide its
consent or does not expressly provide its lack of consent with respect to such Agent Action within three (3)
Business Days of receiving such communication (or such shorter period set forth in the Agreement), then such
Lender shall be deemed to have consented to such Agent Action.

                  “Permitted Cure Securities” means Equity Interests in Holdings in the form of common equity
or otherwise in the form reasonably acceptable to the Required Lenders issued during any applicable Cure Period
and designated as “Permitted Cure Securities” by the Borrower by notice to the Administrative Agent prior to
the end of such Cure Period.

                 “Permitted Holders” means, at any time, each of the Investors and their respective Affiliates
(other than any Affiliate that is a portfolio operating company of such Investors) and any investment funds
advised, co-advised, managed or co-managed by any of the foregoing.

                   “Permitted Investments” means:

                   (1)         any Investment in the Borrower or any Restricted Subsidiary that is a Guarantor;

                   (2)         any Investment in Cash Equivalents or Investment Grade Securities;

                  (3)     any Investment by the Borrower or any Restricted Subsidiary in a Person if as a result
of such Investment (a) such Person becomes a Restricted Subsidiary that is a Guarantor, or (b) such Person, in
one transaction or a series of related transactions, is merged, consolidated or amalgamated with or into, or
transfers or conveys all or substantially all of its assets to, or is liquidated into, the Borrower or a Restricted
Subsidiary that is a Guarantor;

                 (4)      any Investment existing on, or made pursuant to binding commitments existing on, the
Closing Date or an Investment consisting of any extension, modification or renewal of any Investment existing
on the Closing Date, in each case, listed on Schedule 5.07;

                  (5)      advances to employees, taken together with all other advances made pursuant to this
clause (5), not to exceed $2,000,000 at any one time outstanding; provided that no advances pursuant to this
clause (5) shall be made if a Default or Event of Default has occurred and is continuing or would result therefrom;

                  (6)     any Investment acquired by the Borrower or any Restricted Subsidiary (a) in exchange
for any other Investment or accounts receivable held by the Borrower or such Restricted Subsidiary in connection
with or as a result of a bankruptcy, workout, reorganization or recapitalization of the issuer of such other
Investment or accounts receivable, or (b) as a result of a foreclosure by the Borrower or any Restricted Subsidiary
with respect to any secured Investment or other transfer of title with respect to any secured Investment in default;

                   (7)         Hedging Obligations permitted under Section 5.06;

                  (8)      additional Investments by the Borrower or any Restricted Subsidiary having an
aggregate Fair Market Value, taken together with all other Investments made pursuant to this clause (8) that are
at that time outstanding, not to exceed $20,000,000 at the time of such Investment (with the Fair Market Value
of each Investment being measured at the time made and without giving effect to subsequent changes in value);
provided, however, that if any Investment pursuant to this clause (8) is made in any Person that is not the
Borrower or a Restricted Subsidiary at the date of the making of such Investment and such Person becomes the
Borrower or a Restricted Subsidiary after such date, such Investment shall thereafter be deemed to have been
made pursuant to clause (1) above and shall cease to have been made pursuant to this clause (8) for so long as
such Person continues to be the Borrower or a Restricted Subsidiary;
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                 (9)     loans and advances to officers, directors or employees for business-related travel
expenses, moving expenses and other similar expenses, in each case Incurred in the ordinary course of business
to fund such person’s purchase of Equity Interests of the Borrower or any direct or indirect parent of the
Borrower, taken together with all other loans and advances made pursuant to this clause (9), not to exceed
$2,000,000 at any one time outstanding; provided that no loans or advances pursuant to this clause (9) shall be
made if a Default or Event of Default has occurred and is continuing or would result therefrom;

                 (10)     Investments the payment for which consists of Equity Interests of the Borrower (other
than Disqualified Stock) or any direct or indirect parent of the Borrower, as applicable;

                 (11)     Investments consisting of the licensing or contribution of intellectual property pursuant
to joint marketing arrangements with other Persons;

                  (12)    (x) guarantees issued in accordance with Sections 5.06 and 5.13, including, without
limitation, any guarantee or other obligation issued or incurred under this Agreement and SLTL Credit
Agreement in connection with any letter of credit issued for the account of the Borrower or any of its Subsidiaries
(including with respect to the issuance of, or payments in respect of drawings under, such letters of credit) and
(y) guarantees of performance or other obligations (other than Indebtedness) arising in the ordinary course in the
Oil and Gas Business, including obligations under Hydrocarbon exploration, development, joint operating and
related agreements and licenses, concessions or operating leases related to the Oil and Gas Business;

                  (13)    Investments consisting of or to finance purchases and acquisitions of inventory,
supplies, materials, services or equipment or purchases of contract rights or licenses or leases of intellectual
property in the ordinary course of business;

                 (14)    any Investment in a Receivables Subsidiary or any Investment by a Receivables
Subsidiary in any other Person, in each case, in connection with a Qualified Receivables Financing, including
Investments of funds held in accounts permitted or required by the arrangements governing such Qualified
Receivables Financing or any related Indebtedness;

                  (15)    any Investment in an entity which is not a Restricted Subsidiary to which a Restricted
Subsidiary sells accounts receivable pursuant to a Qualified Receivables Financing;

                   (16)   so long as no Event of Default has occurred and is continuing or results therefrom,
additional Investments in joint ventures not to exceed, at any one time in the aggregate outstanding under this
clause (16), $5,000,000 (with the Fair Market Value of each Investment being measured at the time such
Investment is made and without giving effect to subsequent changes in value); provided, however, that if any
Investment pursuant to this clause (16) is made in any Person that is not the Borrower or a Restricted Subsidiary
at the date of the making of such Investment and such Person becomes the Borrower or a Restricted Subsidiary
after such date, such Investment shall thereafter be deemed to have been made pursuant to clause (1) above and
shall cease to have been made pursuant to this clause (16) for so long as such Person continues to be the Borrower
or a Restricted Subsidiary;

                  (17)     Investments of a Restricted Subsidiary acquired after the Closing Date or of an entity
merged into, amalgamated with, or consolidated with the Borrower or a Restricted Subsidiary in a transaction
that is not prohibited by Section 5.11 after the Closing Date to the extent that such Investments were not made
in contemplation of such acquisition, merger, amalgamation or consolidation and were in existence on the date
of such acquisition, merger, amalgamation or consolidation;

                   (18)        Permitted Business Investments;

                 (19)   Investments constituting non-cash proceeds of dispositions of assets to the extent
permitted Section 5.08;
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                 (20)     Investments in the ordinary course of business consisting of endorsements for
collection or deposit and customary trade arrangements with customers consistent with industry norm;

                 (21)     advances of payroll payments to employees, consultants or independent contractors or
other advances of salaries or compensation to employees, consultants or independent contractors, in each case
in the ordinary course of business, taken together with all other advances made pursuant to this clause (21), not
to exceed $2,000,000 at any one time outstanding; provided that no advances pursuant to this clause (21) shall
be made if a Default or Event of Default has occurred and is continuing or would result therefrom;

                   (22)        to the extent constituting Investments, the Transactions;

                  (23)    advances in the form of a prepayment of expenses, so long as such expenses are
incurred in the ordinary course of business and are being paid in accordance with customary trade terms of the
Borrower or the relevant Restricted Subsidiary;

                   (24)     So long as no Event of Default has occurred and is continuing or result therefrom,
Investments in the Closing Date Unrestricted Subsidiary and its Subsidiaries to fund capital calls required
pursuant to the organizational documents of Fieldwood Mexico B.V., which Investments shall not exceed, in
any fiscal year, the sum of (x) an amount equal to the reimbursements with respect to general and administrative
expenses received in cash by the Credit Parties during such fiscal year and (y) $5,000,000 (provided, that, with
respect to the fiscal year ending December 31, 2021, the amount of this clause (y) shall be $10,000,000) (it being
understood and agreed that, unless and until the Closing Date Unrestricted Subsidiary becomes a Restricted
Subsidiary and Subsidiary Guarantor hereunder, the only Investments permitted to be made by the Borrower and
its Restricted Subsidiaries in the Closing Date Unrestricted Subsidiary shall be those permitted under this clause
(24)); and

                  (25)    Investments resulting from pledges and deposits permitted under clauses (1), (4)
(6)(C), (14), (31) and (36) of the definition of “Permitted Liens”;

                   “Permitted Liens” means, with respect to any Person:

                  (1)      pledges or deposits by such Person under workmen’s compensation laws,
unemployment insurance laws or similar legislation, or good faith deposits in connection with bids, tenders,
contracts (other than for the payment of Indebtedness) or leases to which such Person is a party, or deposits to
secure plugging and abandonment obligations or public or statutory obligations of such Person or deposits of
cash or U.S. government bonds to secure surety or appeal bonds to which such Person is a party, or deposits as
security for contested taxes or import duties or for the payment of rent, in each case Incurred in the ordinary
course of business;

                 (2)      Liens imposed by law, such as landlords’, carriers’, warehousemen’s, mechanics’,
materialmen’s, repairmen’s, construction or other like Liens securing obligations that are not overdue by more
than 30 days or that are being contested in good faith by appropriate proceedings or other Liens arising out of
judgments or awards against such Person with respect to which such Person shall then be proceeding with an
appeal or other proceedings for review;

                 (3)      Liens for taxes, assessments or other governmental charges not yet due or payable or
that are being contested in good faith by appropriate proceedings and for which adequate reserves have been
maintained in accordance with GAAP;

                  (4)     Liens (including, for the avoidance of doubt, in the form of cash deposits) in favor of
issuers of performance and surety bonds or bid bonds or with respect to other regulatory requirements or letters
of credit or bankers acceptances issued pursuant to the request of and for, or completion guarantees provided
for, the account of such Person in the ordinary course of its business; provided that the amount of cash deposits
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provided to secure such obligations shall not exceed, at any time outstanding, [20]% of the then-outstanding
notional amounts of such obligations;

                  (5)      minor survey exceptions, minor encumbrances, restrictive covenants, easements or
reservations of, or rights of others for, licenses, rights-of- way, sewers, electric lines, telegraph and telephone
lines and other similar purposes, or zoning or other restrictions as to the use of real properties or Liens incidental
to the conduct of the business of such Person or to the ownership of its properties which were not Incurred in
connection with Indebtedness and which do not in the aggregate materially adversely affect the value of said
properties or materially impair their use in the operation of the business of such Person;

                  (6)      (A)     Liens on the Collateral (including Liens on Collateral granted pursuant to the
Prepetition Loan Documents to secure the obligations arising under the Prepetition Loan Documents) securing
Indebtedness that was permitted to be Incurred pursuant to clauses (i) and (ii) of Section 5.06(b) and any
Refinancing Indebtedness in respect thereof Incurred pursuant to clause (xi) of Section 5.06(b), in each case
subject to the Intercreditor Agreement;

                          (B)      Liens securing Indebtedness permitted to be Incurred pursuant to clause (iv)
(solely with respect to Liens on the assets subject to such Indebtedness and to the extent such Lien is incurred
within 180 days of the acquisition, lease, construction, repair, replacement or improvement of property (real or
personal)), and (xviii) (solely with respect to Liens on the equipment financed by such Indebtedness) of
Section 5.06(b) and any Refinancing Indebtedness in respect thereof Incurred pursuant to clause (xi) of
Section 5.06(b); and

                          (C)      Liens on cash collateral securing Indebtedness permitted to be Incurred
pursuant to clause (xiv) of Section 5.06(b);

                   (7)         Liens existing on the Closing Date listed on Schedule 5.13;

                 (8)     Liens securing Indebtedness or other obligations of the Borrower or a Restricted
Subsidiary owing to the Borrower or another Restricted Subsidiary that is a Subsidiary Guarantor permitted to
be Incurred in accordance with Section 5.06;

                  (9)      Liens on specific items of inventory or other goods and proceeds of any Person
securing such Person’s obligations in respect of bankers’ acceptances issued or created for the account of such
Person to facilitate the purchase, shipment or storage of such inventory or other goods;

                 (10)    leases and subleases of real property (other than Oil and Gas Properties) which do not
materially interfere with the ordinary conduct of the business of the Borrower or any of the Restricted
Subsidiaries;

                  (11)    Liens arising from Uniform Commercial Code financing statement filings regarding
operating leases entered into by the Borrower and the Restricted Subsidiaries in the ordinary course of business;

                   (12)        Liens in favor of the Borrower or any Guarantor;

                (13)    Liens on accounts receivable and related assets of the type specified in the definition
of “Receivables Financing” Incurred in connection with a Qualified Receivables Financing;

                  (14)   deposits made in the ordinary course of business to secure liability to insurance carriers
or self-insurance arrangement;

                   (15)        grants of software and other technology licenses in the ordinary course of business;

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                  (16)     Liens to secure any refinancing, refunding, extension, renewal or replacement (or
successive refinancings, refundings, extensions, renewals or replacements) as a whole, or in part, of any
Indebtedness secured by any Lien referred to in the foregoing clauses (3), (6)(C), (7), (8), (12) and this
clause (16); provided, however, that (x) such new Lien shall be limited to all or part of the same property that
secured the original Lien (plus improvements on such property), and (y) the Indebtedness secured by such Lien
at such time is not increased to any amount greater than the sum of (A) the outstanding principal amount or, if
greater, committed amount of the Indebtedness described under such clause at the time the original Lien became
a Permitted Lien under this Agreement, and (B) an amount necessary to pay any fees and expenses, including
premiums, related to such refinancing, refunding, extension, renewal or replacement; provided further, however,
that in the case of any Liens to secure any refinancing, refunding, extension or renewal of Indebtedness secured
by a Lien referred to in clause (6)(C), the principal amount of any Indebtedness Incurred for such refinancing,
refunding, extension or renewal shall be deemed secured by a Lien under clause (6)(C), as applicable, and not
this clause (16) for purposes of determining the principal amount of Indebtedness outstanding under
clause (6)(C), as applicable;

                 (17)    Liens on equipment of the Borrower or any Restricted Subsidiary granted in the
ordinary course of business to the Borrower’s or such Restricted Subsidiary’s client at which such equipment is
located;

                 (18)    judgment and attachment Liens not giving rise to an Event of Default and notices of
lis pendens and associated rights related to litigation being contested in good faith by appropriate proceedings
and for which adequate reserves have been made;

                (19)      Liens arising out of conditional sale, title retention, consignment or similar
arrangements for the sale of goods entered into in the ordinary course of business;

                 (20)    Liens incurred to secure Cash Management Services or to implement cash pooling
arrangements, in each case, in the ordinary course of business;

                 (21)    other Liens securing Indebtedness (other than Indebtedness for borrowed money) the
outstanding principal amount of which does not, taken together with the principal amount of all other obligations
secured by Liens incurred under this clause (21) that are at that time outstanding, exceed $10,000,000 at the time
of Incurrence;

                 (22)     any encumbrance or restriction (including put and call arrangements) with respect to
Capital Stock of any joint venture or similar arrangement pursuant to any joint venture or similar agreement;

                  (23)     Liens arising by virtue of any statutory or common law provisions relating to banker’s
Liens, rights of set-off or similar rights and remedies as to deposit accounts or other funds maintained with a
depository or financial institution;

                 (24)     Liens arising out of judgments or awards against such Person with respect to which
such Person shall then be proceeding with any appeal or other proceedings for review;

                 (25)          Liens (i) in favor of credit card companies pursuant to agreements therewith and (ii)
in favor of customers;

                   (26)        Liens in respect of Production Payments and Reserve Sales;

                  (27)     Liens arising under Farm-Out Agreements, Farm-In Agreements, division orders,
contracts for the sale, purchase, exchange, transportation, gathering or processing of Hydrocarbons, unitizations
and pooling designations, declarations, orders and agreements, development agreements, joint venture
agreements, partnership agreements, operating agreements, royalties, royalty trusts, master limited partnerships,
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working interests, net profits interests, joint interest billing arrangements, participation agreements, production
sales contracts, area of mutual interest agreements, gas balancing or deferred production agreements, injection,
repressuring and recycling agreements, salt water or other disposal agreements, seismic or geophysical permits
or agreements, and other agreements which are customary in the Oil and Gas Business; provided, however, in
all instances that such Liens are limited to the assets that are the subject of the relevant agreement, program,
order, trust, partnership or contract;

                   (28)        Liens on pipelines or pipeline facilities that arise by operation of law;

                  (29)     any (a) interest or title of a lessor or sublessor under any lease, liens reserved in oil,
gas or other Hydrocarbons, minerals, leases for bonus, royalty or rental payments and for compliance with the
terms of such leases; (b) restriction or encumbrance that the interest or title of such lessor or sublessor may be
subject to (including, without limitation, ground leases or other prior leases of the demised premises, mortgages,
mechanics’ liens, tax liens and easements); or (c) subordination of the interest of the lessee or sublessee under
such lease to any restrictions or encumbrance referred to in the preceding clause (b);

                 (30)     Liens that are contractual rights of set-off (i) relating to the establishment of depository
relations with banks not given in connection with the issuance of Indebtedness, (ii) relating to pooled deposit or
sweep accounts of the Borrower or any of its Restricted Subsidiaries to permit satisfaction of overdraft or similar
obligations incurred in the ordinary course of business of the Borrower and its Restricted Subsidiaries or (iii)
relating to purchase orders and other agreements entered into with customers of the Borrower or any of its
Restricted Subsidiaries in the ordinary course of business;

                (31)      security given to a public utility or any municipality or governmental authority when
required by such utility or authority in connection with the operations of that Person in the ordinary course of
business;

                  (32)    Liens arising pursuant to Section 107(l) of the Comprehensive Environmental
Response, Compensation and Liability Act, 42 U.S.C. § 9607(l), or other Environmental Law, unless such Lien
(i) by action of the lienholder, or by operation of law, takes priority over any Liens arising under the Loan
Documents on the property upon which it is a Lien, and (ii) such Lien materially impairs the use of the property
covered by such Lien for the purposes for which such property is held;

                (33)   Liens on goods purchased in the ordinary course of business the purchase price of
which is financed by a documentary letter of credit issued for the account of the Borrower or any of its
subsidiaries;

                (34)    Liens in favor of customs and revenue authorities arising as a matter of law to secure
payment of customs duties in connection with the importation of goods in the ordinary course of business;

                 (35)      Liens (i) of a collection bank arising under Section 4-210 of the Uniform Commercial
Code or any comparable or successor provision on items in the course of collection, (ii) attaching to commodity
trading accounts or other commodity brokerage accounts incurred in the ordinary course of business and (iii) in
favor of banking institutions arising as a matter of law encumbering deposits (including the right of set-off) and
which are within the general parameters customary in the banking industry; and

                (36)     Liens solely on any cash earnest money deposits made by the Borrower or any of its
Restricted Subsidiaries in connection with any letter of intent or purchase agreement permitted in this
Agreement.

                  “Person” means any individual, corporation, partnership, limited liability company, joint
venture, association, joint-stock company, trust, unincorporated organization, government or any agency or
political subdivision thereof or any other entity.
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                   “Petition Date” shall have the meaning set forth in the recitals hereto.

                  “Petroleum Industry Standards” means the Definitions for Oil and Gas Reserves promulgated
by the Society of Petroleum Engineers (or any generally recognized successor) as in effect at the time in question.

                “Plan” means any Employee Benefit Plan subject to Title IV of ERISA, Section 412 of the
Code or Section 302 of ERISA (other than a Multiemployer Plan).

                   “Plan of Reorganization” shall have the meaning set forth in the recitals hereto.

                   “Platform” shall have the meaning set forth in Section 8.18.

                 “Preferred Stock” means any Equity Interest with preferential right of payment of dividends or
upon liquidation, dissolution, or winding up.

                   “Prepetition FLFO Credit Agreement” shall have the meaning set forth in the recitals hereto.

                   “Prepetition Loan Documents” shall have the meaning set forth in the recitals hereto.

                 “Prime Rate” means the rate of interest quoted in the print edition of The Wall Street Journal,
Money Rates Section as the Prime Rate (currently defined as the base rate on corporate loans posted by at least
75.00% of the nation’s thirty largest banks), as in effect from time to time, or, if such source or rate is unavailable,
any replacement or successor source or rate as determined by Administrative Agent. The Prime Rate is a
reference rate and does not necessarily represent the lowest or best rate actually charged to any customer.
Administrative Agent or any other Lender may make commercial loans or other loans at rates of interest at,
above or below the Prime Rate.

                   “Prior Plan of Reorganization” shall have the meaning set forth in the recitals hereto.

               “Probable Developed Behind Pipe Reserves” means oil and gas mineral interests that, in
accordance with Petroleum Industry Standards, are classified as both “Probable Reserves” and “Developed
Behind Pipe Reserves.”

                “Probable Developed Non-Producing Reserves” means oil and gas mineral interests that, in
accordance with Petroleum Industry Standards, are classified as both “Probable Reserves” and “Developed Non-
Producing Reserves.”

               “Probable Developed Producing Reserves” means oil and gas mineral interests that, in
accordance with Petroleum Industry Standards, are classified as both “Probable Reserves” and “Developed
Producing Reserves.”

                “Probable Reserves” means oil and gas mineral interests that, in accordance with Petroleum
Industry Standards, are classified as both “Probable Reserves” and one of the following: (a) “Developed
Producing Reserves”, (b) “Developed Non-Producing Reserves”, (c) “Undeveloped Reserves” and (d)
“Developed Behind Pipe Reserves”.

                  “Production Payments and Reserve Sales” means the grant or transfer by the Borrower or a
Restricted Subsidiary to any Person of a royalty, overriding royalty, net profits interest, production payment
(whether volumetric or dollar-denominated), partnership or other interest in Oil and Gas Properties, reserves or
the right to receive all or a portion of the production or the proceeds from the sale of production attributable to
such properties where the holder of such interest has recourse solely to such production or proceeds of
production, subject to the obligation of the grantor or transferor to operate and maintain, or cause the subject
interests to be operated and maintained, in a reasonably prudent manner or other customary standard or subject
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to the obligation of the grantor or transferor to indemnify for environmental, title or other matters customary in
the Oil and Gas Business, including any such grants or transfers.

                “Proved Developed Behind Pipe Reserves” means oil and gas mineral interests that, in
accordance with Petroleum Industry Standards, are classified as “Proved Reserves” and “Developed Behind Pipe
Reserves.”

               “Proved Developed Non-Producing Reserves” means oil and gas mineral interests that, in
accordance with Petroleum Industry Standards, are classified as “Proved Reserves” and “Developed Non-
Producing Reserves.”

               “Proved Developed Producing Reserves” means oil and gas mineral interests that, in
accordance with Petroleum Industry Standards, are classified as both “Proved Reserves” and “Developed
Producing Reserves.”

                “Proved Developed Reserves” means oil and gas mineral interests that, in accordance with
Petroleum Industry Standards, are classified as both “Proved Reserves” and one of the following: (a) “Developed
Producing Reserves”, (b) “Developed Non-Producing Reserves” or (c) “Developed Behind Pipe Reserves.”

                 “Proved Reserves” means oil and gas mineral interests that, in accordance with Petroleum
Industry Standards, are classified as both “Proved Reserves” and one of the following: (a) “Developed Producing
Reserves”, (b) “Developed Non-Producing Reserves”, (c) “Undeveloped Reserves” and (d) “Developed Behind
Pipe Reserves”.

                “PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor,
as any such exemption may be amended from time to time.

                  “Public Information” means any information that (a) has been disseminated in a manner making
it available to investors generally, within the meaning of Regulation FD under the Securities Act and the
Exchange Act and, where applicable, any comparable doctrines under state and foreign securities laws, (b) does
not constitute material non-public information concerning the Borrower, any Parent Entity or any Subsidiary or
other Affiliate of any of the foregoing, or any security of any of the foregoing, for purposes of the United States
federal and state securities laws and, where applicable, foreign securities laws or (c) solely in the case of
information concerning the Borrower, any Parent Entity or any Subsidiary of the foregoing (but only if such
information does not constitute material non-public information for the foregoing purposes of any other Affiliate
thereof), so long as none of the Borrower, any Parent Entity or any Subsidiary of any of the foregoing shall have
any securities registered under the Exchange Act or issued pursuant to Rule 144A under the Securities Act, or
shall otherwise be subject to the reporting obligations under the Exchange Act, is information of the type that
would be publicly disclosed in connection with an issuance of securities by the Borrower, such Parent Entity or
such Subsidiary pursuant to an offering of securities registered under the Securities Act or made in reliance on
Rule 144A under the Securities Act.

                   “Public Lender” shall have the meaning set forth in Section 8.18.

                 “PV-10” means, with respect to any Proved Reserves and/or Probable Reserves expected to be
produced from any Oil and Gas Properties of the Credit Parties, the net present value, discounted at 10% per
annum, of the future net revenues expected to accrue to the Borrower’s and the Credit Parties’ collective interests
in such reserves during the remaining expected economic lives of such reserves.

                 “PV-15” means, with respect to any Proved Reserves and/or Probable Reserves expected to be
produced from any Oil and Gas Properties of the Credit Parties, the net present value, discounted at 15% per
annum, of the future net revenues expected to accrue to the Borrower’s and the Credit Parties’ collective interests
in such reserves during the remaining expected economic lives of such reserves.
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                   “QFC Credit Support” shall have the meaning set forth in Section 8.24.

                 “Qualified Receivables Financing” means any Receivables Financing of a Receivables
Subsidiary that meets the following conditions:

                  (1)    the Board of Directors of the Borrower shall have determined in good faith that such
Qualified Receivables Financing (including financing terms, covenants, termination events and other provisions)
is in the aggregate economically fair and reasonable to the Borrower and the Receivables Subsidiary;

                (2)     all sales of accounts receivable and related assets to the Receivables Subsidiary are
made at Fair Market Value;

                (3)    the financing terms, covenants, termination events and other provisions thereof shall
be market terms (as determined in good faith by the Borrower) and may include Standard Securitization
Undertakings; and

                  (4)     the maximum committed amount of such Receivables Financing (when aggregated
with all other outstanding Receivables Financings) shall not exceed $40,000,000.

The grant of a security interest in any accounts receivable of the Borrower or any Restricted Subsidiary (other
than a Receivables Subsidiary) to secure Indebtedness under the SLTL Credit Agreement (or Refinancing
Indebtedness with respect thereto), Indebtedness in respect of the Loans or any Refinancing Indebtedness with
respect to the Loans shall not be deemed a Qualified Receivables Financing.

                   “Receivables Fees” means distributions or payments made directly or by means of discounts
with respect to any participation interests issued or sold in connection with, and all other fees paid to a Person
that is not a Restricted Subsidiary in connection with, any Receivables Financing.

                  “Receivables Financing” means any transaction or series of transactions that may be entered
into by the Borrower or any of its Subsidiaries pursuant to which the Borrower or any of its Subsidiaries may
sell, convey or otherwise transfer to (a) a Receivables Subsidiary (in the case of a transfer by the Borrower or
any of its Subsidiaries); and (b) any other Person (in the case of a transfer by a Receivables Subsidiary), or may
grant a security interest in, any accounts receivable (whether now existing or arising in the future) of the
Borrower or any of its Subsidiaries, and any assets related thereto including, without limitation, all collateral
securing such accounts receivable, all contracts and all guarantees or other obligations in respect of such accounts
receivable, proceeds of such accounts receivable and other assets which are customarily transferred or in respect
of which security interests are customarily granted in connection with asset securitization transactions involving
accounts receivable and any Hedging Obligations entered into by the Borrower or any such Subsidiary in
connection with such accounts receivable.

                  “Receivables Repurchase Obligation” means any obligation of a seller of receivables in a
Qualified Receivables Financing to repurchase receivables arising as a result of a breach of a representation,
warranty or covenant or otherwise, including as a result of a receivable or portion thereof becoming subject to
any asserted defense, dispute, off-set or counterclaim of any kind as a result of any action taken by, any failure
to take action by or any other event relating to the seller.

                   “Receivables Subsidiary” means a Wholly Owned Restricted Subsidiary which engages in no
activities other than in connection with the financing of accounts receivable of the Borrower and its Restricted
Subsidiaries, all proceeds thereof and all rights (contractual or other), collateral and other assets relating thereto,
and any business or activities incidental or related to such business, and which is designated by the Board of
Directors of the Borrower (as provided below) as a Receivables Subsidiary and:


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                   (a)         no portion of the Indebtedness or any other obligations (contingent or otherwise) of
                               which (i) is guaranteed by the Borrower or any other Subsidiary of the Borrower
                               (excluding guarantees of obligations (other than the principal of and interest on,
                               Indebtedness) pursuant to Standard Securitization Undertakings), (ii) is recourse to or
                               obligates the Borrower or any other Subsidiary in any way other than pursuant to
                               Standard Securitization Undertakings, or (iii) subjects any property or asset of the
                               Borrower or any other Subsidiary, directly or indirectly, contingently or otherwise, to
                               the satisfaction thereof, other than pursuant to Standard Securitization Undertakings;

                   (b)         with which neither the Borrower nor any Subsidiary has any material contract,
                               agreement, arrangement or understanding other than on terms which the Borrower
                               reasonably believes to be no less favorable to the Borrower or such Subsidiary than
                               those that might be obtained at the time from Persons that are not Affiliates of the
                               Borrower; and

                   (c)         to which neither the Borrower nor any Subsidiary has any obligation to maintain or
                               preserve such entity’s financial condition or cause such entity to achieve certain levels
                               of operating results.

Any such designation by the Board of Directors of the Borrower shall be evidenced to the Administrative Agent
by filing with the Administrative Agent a certified copy of the resolution of the Board of Directors of the
Borrower giving effect to such designation and an Officers’ Certificate certifying that such designation complied
with the foregoing conditions and that any Qualified Receivables Financing to be entered into by such
Receivables Subsidiary meets the requirements of the definition of “Qualified Receivables Financing”.

                   “Refinancing Indebtedness” shall have the meaning set forth in Section 5.06(b)(xi).

                   “Refunding Capital Stock” shall have the meaning set forth in Section 5.07(b)(i)(A).

                   “Register” shall have the meaning set forth in Section 8.06(b)(iv).

                 “Regulation T” means Regulation U of the Board as from time to time in effect, any successor
to all or any portion thereof establishing margin requirements and all official rulings and interpretations
thereunder or thereof.

                 “Regulation U” means Regulation U of the Board as from time to time in effect, any successor
to all or any portion thereof establishing margin requirements and all official rulings and interpretations
thereunder or thereof.

                 “Regulation X” means Regulation X of the Board as from time to time in effect, any successor
to all or any portion thereof establishing margin requirements and all official rulings and interpretations
thereunder or thereof.

                   “Reinvestment Date” shall have the meaning given to such term in Section 2.13(a)(i).

                  “Related Parties” means, with respect to any specified Person, such Person’s Affiliates and the
directors, officers, employees, agents and members of such Person or such Person’s Affiliates and any Person
that possesses, directly or indirectly, the power to direct or cause the direction of the management or policies of
such Person, whether through the ability to exercise voting power, by contract or otherwise.

                  “Release” means any release, spill, emission, leaking, pumping, pouring, injection, escaping,
deposit, disposal, discharge, dispersal, dumping, leaching or migration.

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                  “Relevant Governmental Body” means the Board of Governors or the NYFRB, or a committee
officially endorsed or convened by the Board of Governors or the NYFRB, or any successor thereto.

                   “Reorganization Plan” shall have the meaning set forth in Section 7.11.

                 “Reportable Event” means an event described in Section 4043(c) of ERISA and the regulations
thereunder, other than any event as to which the 30-day notice period has been waived.

                  “Required Lenders” means, at any time, Lenders having outstanding Loans that, taken together,
represent more than 50% of the sum of all outstanding Loans at such time; provided, however, that in the event
that at any time there are two or more unaffiliated Lenders, the consent of at least two Lenders shall be required
for Required Lenders.

                  “Requirement of Law” means, as to any Person, any law, treaty, rule, regulation, statute, order,
ordinance, decree, judgment, consent decree, writ, injunction, settlement agreement or governmental
requirement enacted, promulgated or imposed or entered into or agreed by any Governmental Authority, in each
case applicable to or binding upon such Person or any of its property or assets or to which such Person or any of
its property or assets is subject.

                “Reserve Report” means a reserve report evaluating, as of the applicable date of determination,
the Proved Reserves and the Proved Developed Reserves of the Borrower and its Subsidiaries.

                  “Resolution Authority” means an EEA Resolution Authority or, with respect to any UK
Financial Institution, a UK Resolution Authority.

                   “Restricted Investment” means an Investment other than a Permitted Investment.

                   “Restricted Payments” shall have the meaning set forth in Section 5.07(a).

                 “Restricted Subsidiary” means, with respect to any Person, any Subsidiary of such Person other
than the Closing Date Unrestricted Subsidiary (unless and until such time as the Closing Date Unrestricted
Subsidiary becomes a Restricted Subsidiary hereunder in accordance with (and solely to the extent required by)
Section 5.29). Unless otherwise indicated in this Agreement, all references to Restricted Subsidiaries means
Restricted Subsidiaries of the Borrower.

                   “Retired Capital Stock” shall have the meaning set forth in Section 5.07(b)(i)(A).

                   “S&P” means Standard & Poor’s Ratings Group or any successor to the rating agency business
thereof.

                 “Sale/Leaseback Transaction” means an arrangement relating to property now owned or
hereafter acquired by the Borrower or a Restricted Subsidiary whereby the Borrower or such Restricted
Subsidiary transfers such property to a Person and the Borrower or such Restricted Subsidiary leases it from
such Person, other than leases between the Borrower and a Restricted Subsidiary or between Restricted
Subsidiaries.

                 “Sanctioned Country” means, at any time, a country, territory or region that is, or whose
government is, the subject or target of any Sanctions, which jurisdictions include, as of the Closing Date, the
Crimea region of Ukraine, Cuba, Iran, North Korea, Sudan and Syria.

                  “Sanctioned Person” means any Person with whom dealings, at the time of the relevant dealing,
are restricted or prohibited under Sanctions, including (i) any Person listed in any Sanctions-related list of
designated Persons maintained by the U.S. (including by OFAC, the U.S. Department of the Treasury, or the
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U.S. Department of State), or by the United Nations Security Council, the European Union or any EU member
state, Her Majesty’s Treasury of the United Kingdom or any other relevant sanctions authority, (ii) any Person
located, operating, organized or resident in a Sanctioned Country or (iii) any Person owned or controlled, directly
or indirectly, by any such Person described in clause (i) or (ii) of this definition.

                  “Sanctions” means applicable sanctions or trade embargoes enacted, imposed, administered or
enforced from time to time by (i) the U.S. government, including those administered by OFAC, U.S. Department
of State, or U.S. Department of Commerce, (ii) the United Nations Security Council, the European Union or any
of its member states, Her Majesty’s Treasury of the United Kingdom or (iii) any other relevant authority.

                   “SEC” means the Securities and Exchange Commission or any successor thereto.

              “Secured Cash Management Agreement” shall mean any agreement related to Cash
Management Services by and between the Borrower or any of its Restricted Subsidiaries and any Cash
Management Bank.

                   “Secured Hedge Agreement” shall mean any Hedge Agreement by and between the Borrower
or any of its Restricted Subsidiaries and any Hedge Bank, whether such Hedge Agreement was entered into prior
to or after the Closing Date.

                 “Secured Hedge Obligations” shall mean obligations owed by the Borrower or any Restricted
Subsidiary to any Hedge Bank in connection with, or in respect of, any Secured Hedge Agreement.

                    “Secured Parties” shall mean, collectively, the Administrative Agent, the Collateral Agent,
each Lender, each Hedge Bank that is party to any Secured Hedge Agreement, each Cash Management Bank
that is a party to any Secured Cash Management Agreement and each Subagent appointed by the Administrative
Agent with respect to matters relating to the Loan Documents or by the Collateral Agent with respect to matters
relating to any Security Document.

               “Securities Act” means the Securities Act of 1933, as amended, and the rules and regulations
of the SEC promulgated thereunder.

                  “Security Documents” means the security agreements, pledge agreements, collateral
assignments, mortgages (including the Mortgages) and related agreements, as amended, supplemented, restated,
renewed, refunded, replaced, restructured, repaid, refinanced or otherwise modified from time to time, creating
the security interests in the Collateral for the benefit of the Collateral Agent and the Lenders as contemplated by
this Agreement.

                   “Similar Business” means a business, the majority of whose revenues are derived from the
activities of the Borrower and its Subsidiaries as of the Closing Date or any business or activity that is reasonably
similar or complementary thereto or a reasonable extension, development or expansion thereof or ancillary
thereto.

                   “SLTL Credit Agreement” means [Ɣ].

                 “SLTL Credit Agreement Documents” means the collective reference to any SLTL Credit
Agreement, any notes issued pursuant thereto and the guarantees thereof, and the collateral documents relating
thereto, as amended, supplemented, restated, amended and restated, renewed, refunded, replaced, restructured,
repaid, refinanced or otherwise modified, in whole or in part, from time to time.

                 “SLTL Facility” means the second lien term loan facility provided pursuant to the SLTL Credit
Agreement, as amended, restated, amended and restated, supplemented, waived, replaced (whether or not upon
termination, and whether with the original lenders or other lenders), restructured, repaid, refunded, refinanced
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or otherwise modified from time to time, including pursuant to any amendment thereto or pursuant to a new loan
agreement with other lenders, providing for term loans, altering the maturity thereof, refinancing, replacing or
otherwise restructuring all or any portion of the Indebtedness under such agreement or under any successor or
replacement agreement, increasing the amount loaned thereunder or otherwise modifying the terms thereof.

                 “SOFR” means a rate per annum equal to the secured overnight financing rate for such Business
Day published by the NYFRB (or a successor administrator of the secured overnight financing rate) on the
website of the NYFRB, currently at http://www.newyorkfed.org (or any successor source for the secured
overnight financing rate identified as such by the administrator of the secured overnight financing rate from time
to time).

                   “Sold Entity or Business” shall have the meaning provided in the definition of the term
“EBITDAX”.

                   “Specified Asset Sale” has the meaning assigned to it in Section 2.13(a)(i).

                   “Standard Securitization Undertakings” means representations, warranties, covenants,
indemnities and guarantees of performance entered into by the Borrower or any Subsidiary thereof which the
Borrower has determined in good faith to be customary in a Receivables Financing including, without limitation,
those relating to the servicing of the assets of a Receivables Subsidiary, it being understood that any Receivables
Repurchase Obligation shall be deemed to be a Standard Securitization Undertaking.

                  “Stated Maturity” means, with respect to any security, the date specified in such security as the
fixed date on which the final payment of principal of such security is due and payable, including pursuant to any
mandatory redemption provision (but excluding any provision providing for the repurchase of such security at
the option of the holder thereof upon the happening of any contingency beyond the control of the issuer unless
such contingency has occurred).

                   “Statutory Reserves” means a fraction (expressed as a decimal), the numerator of which is the
number one and the denominator of which is the number one minus the aggregate of the maximum reserve
percentages (including any marginal, special, emergency or supplemental reserves) expressed as a decimal
established by the Board and any other banking authority, domestic or foreign, to which the Administrative
Agent or any Lender (including any branch, Affiliate, or other fronting office making or holding a Loan) is
subject for Eurocurrency Liabilities (as defined in Regulation D of the Board). Such reserve percentages shall
include those imposed pursuant to such Regulation D. Without limiting the effect of the foregoing, the Statutory
Reserves shall reflect any other reserves required to be maintained by such member banks with respect to (i) any
category of liabilities that includes deposits by reference to which the applicable Adjusted LIBOR or any other
interest rate of a Loan is to be determined, or (ii) any category of extensions of credit or other assets that include
Loans bearing interest at Adjusted LIBOR. A Loan that is not an ABR Loan shall be deemed to constitute
Eurocurrency Liabilities and to be subject to such reserve requirements without benefit of or credit for proration,
exemptions or offsets that may be available from time to time to any Lender under such Regulation D. Statutory
Reserves shall be adjusted automatically on and as of the effective date of any change in any reserve percentage.

                   “Subagent” shall have the meaning set forth in Section 7.02.

                   “Subsidiary” means, with respect to any Person, (a) any corporation more than 50% of whose
Equity Interests of any class or classes having by the terms thereof ordinary voting power to elect a majority of
the directors of such corporation (irrespective of whether or not at the time Equity Interests of any class or classes
of such corporation shall have or might have voting power by reason of the happening of any contingency) is at
the time owned by such Person directly or indirectly through Subsidiaries and (b) any limited liability company,
partnership, association, joint venture or other entity of which such Person directly or indirectly through
Subsidiaries has more than a 50% equity interest at the time. Unless otherwise expressly provided, all references
herein to a “Subsidiary” means a Subsidiary of the Borrower.
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                  “Subsidiary Guarantor” means any Subsidiary that Incurs a Guarantee; provided that upon the
release or discharge of such Person from its Guarantee in accordance with this Agreement, such Subsidiary shall
cease to be a Subsidiary Guarantor; provided further that no Excluded Subsidiary shall be a Subsidiary
Guarantor.

                   “Supported QFC” has the meaning set forth in Section 8.24.

                   “Swap” means a “swap” within the meaning of section 1a(47) of the Commodity Exchange
Act.

                   “Tax Distributions” means any distributions pursuant to Section 5.07(b)(v).

                “Taxes” means any and all present or future taxes, duties, levies, imposts, assessments,
deductions, withholdings (including backup withholding), fees or other charges imposed by any Governmental
Authority and any interest, fines, penalties or additions to tax with respect to the foregoing.

               “Term SOFR” means, for the applicable corresponding tenor, the forward-looking term rate
based on SOFR that has been selected or recommended by the Relevant Governmental Body.

                 “Test Period” means, as of any date of determination, the four consecutive fiscal quarters of
the Borrower then last ended and for which financial statements have been delivered to the Administrative Agent
in accordance with Section 5.01(a) or (b); provided that, with respect to any calculation of the Asset Coverage
Ratio as of the last day of the fourth fiscal quarter of each year, “Test Period” shall mean, as of any date of
determination, the four consecutive fiscal quarters of the Borrower then ended and for which the Reserve Report
has been delivered to the Administrative Agent in accordance with Section 5.26(a).

                  “Transaction Expenses” means any fees or expenses incurred or paid by the Borrower or any
of its Subsidiaries or any of their Affiliates in connection with the Transactions, this Agreement and the other
Loan Documents.

                 “Transactions” means, collectively, (a) the assumption of FWE’s obligations under the
Prepetition FLFO Credit Agreement by Credit Bid Purchaser and the subsequent assignment by Credit Bid
Purchaser, and assumption by the Borrower, of the obligations of Credit Bid Purchaser under this Agreement,
(b) the deemed funding of the Loans on the Closing Date and the execution, delivery and performance of the
Loan Documents to be entered into on the Closing Date, (c) the funding (or deemed funding) of the Loans (as
defined in the SLTL Credit Agreement) on the Closing Date and the execution, delivery and performance of the
Loan Documents (as defined in the SLTL Credit Agreement) to be entered into on the Closing Date, (d) the other
transactions contemplated by the Plan of Reorganization and (e) the payment of Transaction Expenses.

               “Troika A-3 Well” means the well described in the Latest Reserve Report as GC 200 OCS
12209 #TA- 3 ST.

                 “Type” means, when used in respect of any Loan, the Rate by reference to which interest on
such Loan is determined. For purposes hereof, “Rate” shall include the LIBOR and the ABR.

                   “U.S.” means the United States of America.

                   “U.S. Dollars” or “$” means lawful money of the United States of America.

                   “U.S. Government Obligations” means securities that are:

                  (1)       direct obligations of the United States of America for the timely payment of which its
full faith and credit is pledged, or
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                  (2)     obligations of a Person controlled or supervised by and acting as an agency or
instrumentality of the United States of America, the timely payment of which is unconditionally guaranteed as
a full faith and credit obligation by the United States of America, which, in each case, are not callable or
redeemable at the option of the issuer thereof, and shall also include a depository receipt issued by a bank (as
defined in Section 3(a)(2) of the Securities Act) as custodian with respect to any such U.S. Government
Obligations or a specific payment of principal of or interest on any such U.S. Government Obligations held by
such custodian for the account of the holder of such depository receipt; provided that (except as required by law)
such custodian is not authorized to make any deduction from the amount payable to the holder of such depository
receipt from any amount received by the custodian in respect of the U.S. Government Obligations or the specific
payment of principal of or interest on the U.S. Government Obligations evidenced by such depository receipt.

                   “U.S. Lender” means any Lender other than a Non-U.S. Lender.

                “UK Financial Institution” means any BRRD Undertaking (as such term is defined under the
PRA Rulebook (as amended from time to time) promulgated by the United Kingdom Prudential Regulation
Authority) or any person falling within IFPRU 11.6 of the FCA Handbook (as amended from time to time)
promulgated by the United Kingdom Financial Conduct Authority, which includes certain credit institutions and
investment firms, and certain affiliates of such credit institutions or investment firms.

                 “UK Resolution Authority” means the Bank of England or any other public administrative
authority having responsibility for the resolution of any UK Financial Institution.

                 “Unfunded Current Liability” means, with respect to any Plan, the amount, if any, by which
the Accumulated Benefit Obligation (as defined under Statement of Financial Accounting Standards No. 87 or
any successor thereto (“SFAS 87”)) under the Plan as of the close of its most recent plan year, determined in
accordance with SFAS 87 as in effect on the Closing Date, exceeds the value of the Plan assets (as defined under
Section 430(g)(3)(A) of the Code without regard to the averaging which may be allowed under Section
430(g)(3)(B) of the Code) allocable thereto and determined as of the close of such plan year.

                 “Unrestricted Cash” means cash or Cash Equivalents of the Borrower or any Subsidiary
Guarantor that would not appear as “restricted” on a consolidated balance sheet of the Borrower or any
Subsidiary Guarantor, and (in the case of Section 4.01(q), subject to Section 5.34), held in deposit accounts
subject to an Account Control Agreement and is free and clear of all Liens (other than Permitted Liens).

                   “US Special Resolution Regimes” has the meaning assigned to such term in Section 8.24.

                “USA Patriot Act” means the U.S.A. Patriot Act, Title III of Pub. L. 107-56 (signed into law
October 26, 2001).

                   “USD LIBOR” means the London interbank offered rate for U.S. dollars.

                  “Variable Amortization Percentage” shall mean, as of any date of determination, 25.0%;
provided, that, in the event, as of any date of determination, (a) the aggregate principal amount of Loans
outstanding under this Agreement shall be less than $75,000,000 and (b) the Consolidated First Lien Leverage
Ratio of the Borrower and Subsidiary Guarantors as of the last day of the most recently ended Test Period shall
be less than 0.50:1.00, the Variable Amortization Percentage shall be 0.0%.

                   “Variable Amortization Trigger Date” has the meaning assigned to such term in Section
2.04(a)(iii).

                   “Voting Procedures Order” shall have the meaning assigned to such term in Section 7.11.


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                  “Voting Stock” of any Person as of any date means the Capital Stock of such Person that is at
the time entitled to vote in the election of the Board of Directors of such Person.

                 “Weighted Average Life to Maturity” means, when applied to any Indebtedness or Disqualified
Stock or Preferred Stock, as the case may be, at any date, the quotient obtained by dividing (a) the sum of the
products of the number of years from the date of determination to the date of each successive scheduled principal
payment of such Indebtedness or redemption or similar payment with respect to such Disqualified Stock or
Preferred Stock multiplied by the amount of such payment, by (b) the sum of all such payments.

                 “Wholly Owned Restricted Subsidiary” means any Wholly Owned Subsidiary that is a
Restricted Subsidiary.

                 “Wholly Owned Subsidiary” of any Person means a Subsidiary of such Person 100% of the
outstanding Capital Stock or other ownership interests of which (other than directors’ qualifying shares or shares
required pursuant to applicable law) shall at the time be owned by such Person or by one or more Wholly Owned
Subsidiaries of such Person.

                   “Write-Down and Conversion Powers” means, (a) with respect to any EEA Resolution
Authority, the write-down and conversion powers of such EEA Resolution Authority from time to time under
the Bail-In Legislation for the applicable EEA Member Country, which write-down and conversion powers are
described in the EU Bail-In Legislation Schedule, and (b) with respect to the United Kingdom, any powers of
the applicable Resolution Authority under the Bail-In Legislation to cancel, reduce, modify or change the form
of a liability of any UK Financial Institution or any contract or instrument under which that liability arises, to
convert all or part of that liability into shares, securities or obligations of that person or any other person, to
provide that any such contract or instrument is to have effect as if a right had been exercised under it or to
suspend any obligation in respect of that liability or any of the powers under that Bail-In Legislation that are
related to or ancillary to any of those powers.

         SECTION 1.02.         Terms Generally. The definitions set forth or referred to in Section 1.01 shall
apply equally to both the singular and plural forms of the terms defined. Whenever the context may require, any
pronoun shall include the corresponding masculine, feminine and neuter forms. The words “include,” “includes”
and “including” shall be deemed to be followed by the phrase “without limitation.” All references herein to
Articles, Sections, Exhibits and Schedules shall be deemed references to Articles and Sections of, and Exhibits
and Schedules to, this Agreement unless the context shall otherwise require. Except as otherwise expressly
provided herein, any reference in this Agreement to any Loan Document means such document as amended,
restated, supplemented or otherwise modified from time to time. Except as otherwise expressly provided herein,
all terms of an accounting or financial nature shall be construed in accordance with GAAP.

         SECTION 1.03.         Accounting Terms. All accounting terms not specifically or completely defined
herein shall be construed in conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted pursuant to this Agreement shall be prepared in conformity with, GAAP,
except as otherwise specifically prescribed herein; provided, however, that if the Borrower notifies the
Administrative Agent that the Borrower requests an amendment to any provision hereof to eliminate the effect
of any change occurring after the Closing Date in GAAP or in the application thereof on the operation of such
provision (or if the Administrative Agent notifies the Borrower that the Required Lenders request an amendment
to any provision hereof for such purpose), regardless of whether any such notice is given before or after such
change in GAAP or in the application thereof, then such provision shall be interpreted on the basis of GAAP as
in effect and applied immediately before such change shall have become effective until such notice shall have
been withdrawn or such provision amended in accordance herewith.

        SECTION 1.04.       Rounding. Any financial ratios required to be maintained or complied with by the
Borrower pursuant to this Agreement (or required to be satisfied in order for a specific action to be permitted
under this Agreement) shall be calculated by dividing the appropriate component by the other component,
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carrying the result to one place more than the number of places by which such ratio is expressed herein and
rounding the result up or down to the nearest number (with a rounding-up if there is no nearest number).

         SECTION 1.05.       Times of Day. Unless otherwise specified, all references herein to times of day
shall be references to New York City (daylight saving or standard, as applicable).

        SECTION 1.06.        Timing of Payment or Performance. When the payment of any obligation or the
performance of any covenant, duty or obligation is stated to be due or performance required on a day which is
not a Business Day, the date of such payment (other than as described in Section 2.07) or performance shall
extend to the immediately succeeding Business Day.

        SECTION 1.07.         Hedging Requirements Generally; Hedge Unwinding. For purposes of any
determination with respect to Hedging Obligations or any other calculation under or requirement of this
Agreement in respect of hedging shall be calculated on a “barrel of oil equivalent” basis. All references to the
“unwinding” (or any cognate thereof) of a hedge shall mean the monetization of a hedge position, whether by
mutual agreement to terminate or “tear up”, in connection with the designation of an early termination date (or
any similar concept) with respect to, or the settlement of such hedge position.

          SECTION 1.08.         Certain Determinations. For purposes of determining compliance with any of the
covenants set forth in Article V, but subject to any limitation expressly set forth therein, as applicable, at any
time (whether at the time of incurrence or thereafter), any Lien, Investment, Indebtedness, disposition, Restricted
Payment, Affiliate transaction, prepayment, redemption or the consummation of any other transaction meets the
criteria of one, or more than one, of the categories permitted pursuant to Article V, as applicable, the Borrower
shall, in its good faith discretion, determine under which category such Lien, Investment, Indebtedness, Asset
Sale, Restricted Payment, Affiliate transaction, prepayment, redemption or the consummation of any other
transaction (or, in each case, any portion thereof) is permitted.

         SECTION 1.09.         Making or Maintaining LIBOR Loans.

                   (a)      Changed Circumstances/Temporary LIBOR Unavailability. In the event that the
Administrative Agent determines (which determination shall be final and conclusive and binding upon all parties
hereto), on any interest rate determination date with respect to any LIBOR Loans, that (i) subject to subsection
(b) below and Sections 2.08 and 2.09, dollar deposits are not being offered to banks in the London interbank
eurodollar market for the applicable amount and Interest Period of such LIBOR Loans, (ii) by reason of
circumstances affecting the London interbank market adequate and fair means do not exist for ascertaining the
interest rate applicable to such LIBOR Loans on the basis provided for in the definition of LIBOR, or (iii) LIBOR
does not adequately and fairly reflect the cost to Lenders of making or maintaining such LIBOR Loans during
such Interest Period, the Administrative Agent will reasonably promptly give notice to the Borrower and each
Lender of such determination, whereupon (A) no Loans may be made as, or converted to, LIBOR Loans until
such time as Administrative Agent notifies the Borrower and Lenders that the circumstances giving rise to such
notice no longer exist, and (B) any Notice of Borrowing or Interest Period Election Request given by the
Borrower with respect to the Loans in respect of which such determination was made shall be deemed to be
rescinded by the Borrower.

                 (b)   Benchmark Replacement Setting. Notwithstanding anything to the contrary herein or
in any other Loan Document:

                          (i)      Replacing Adjusted LIBOR. On March 5, 2021 the Financial Conduct
         Authority (“FCA”), the regulatory supervisor of USD LIBOR’s administrator (“IBA”), announced in a
         public statement the future cessation or loss of representativeness of overnight/Spot Next, 1-month, 3-
         month, 6-month and 12-month USD LIBOR tenor settings. On the earlier of (i) the date that all Available
         Tenors of USD LIBOR have either permanently or indefinitely ceased to be provided by IBA or have
         been announced by the FCA pursuant to public statement or publication of information to be no longer
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         representative and (ii) the Early Opt-in Effective Date, if the then-current Benchmark is USD LIBOR,
         the Benchmark Replacement will replace such Benchmark for all purposes hereunder and under any
         Loan Document in respect of any setting of such Benchmark on such day and all subsequent settings
         without any amendment to, or further action or consent of any other party to this Agreement or any
         other Loan Document. If the Benchmark Replacement is Daily Simple SOFR, all interest payments will
         be payable on a quarterly basis.

                           (ii)     Replacing Future Benchmarks. Upon the occurrence of a Benchmark
         Transition Event, the Benchmark Replacement will replace the then-current Benchmark for all purposes
         hereunder and under any Loan Document in respect of any Benchmark setting at or after 5:00 p.m. (New
         York City time) on the fifth (5th) Business Day after the date notice of such Benchmark Replacement
         is provided to the Lenders without any amendment to, or further action or consent of any other party to,
         this Agreement or any other Loan Document, so long as the Administrative Agent has not received, by
         such time, written notice of objection to such Benchmark Replacement from Lenders comprising the
         Required Lenders. At any time that the administrator of the then-current Benchmark has permanently
         or indefinitely ceased to provide such Benchmark or such Benchmark has been announced by the
         regulatory supervisor for the administrator of such Benchmark pursuant to public statement or
         publication of information to be no longer representative of the underlying market and economic reality
         that such Benchmark is intended to measure and that representativeness will not be restored, the
         Borrower may revoke any request for a borrowing of, conversion to or continuation of Loans to be
         made, converted or continued that would bear interest by reference to such Benchmark until the
         Borrower’s receipt of notice from the Administrative Agent that a Benchmark Replacement has replaced
         such Benchmark, and, failing that, the Borrower will be deemed to have converted any such request into
         a request for a borrowing of or conversion to ABR Loans. During the period referenced in the foregoing
         sentence, the component of ABR based upon the Benchmark will not be used in any determination of
         ABR.

                           (iii)   Benchmark Replacement Conforming Changes. In connection with the
         implementation and administration of a Benchmark Replacement, the Administrative Agent will have
         the right to make Benchmark Replacement Conforming Changes from time to time and, notwithstanding
         anything to the contrary herein or in any other Loan Document, any amendments implementing such
         Benchmark Replacement Conforming Changes will become effective without any further action or
         consent of any other party to this Agreement or any other Loan Document.

                           (iv)    Notices; Standards for Decisions and Determinations. The Administrative
         Agent will promptly notify the Borrower and the Lenders of (i) the implementation of any Benchmark
         Replacement and (ii) the effectiveness of any Benchmark Replacement Conforming Changes. Any
         determination, decision or election that may be made by the Administrative Agent or, if applicable, any
         Lender (or group of Lenders) pursuant to this Section 1.09, including any determination with respect to
         a tenor, rate or adjustment or the occurrence or non-occurrence of an event, circumstance or date and
         any decision to take or refrain from taking any action, will be conclusive and binding absent manifest
         error and may be made in its or their sole discretion and without consent from any other party to this
         Agreement or any other Loan Document, except, in each case, as expressly required pursuant to this
         Section 1.09.

                          (v)     Unavailability of Tenor of Benchmark. Notwithstanding anything to the
         contrary herein or in any other Loan Document, at any time (including in connection with the
         implementation of a Benchmark Replacement), (i) if the then-current Benchmark is a term rate
         (including Term SOFR or LIBOR) and either (A) any tenor for such Benchmark is not displayed on a
         screen or other information service that publishes such rate from time to time as selected by the
         Administrative Agent in its reasonable discretion or (B) the regulatory supervisor for the administrator
         of such Benchmark has provided a public statement or publication of information announcing that any
         tenor for such Benchmark is or will be no longer representative, then the Administrative Agent and the
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         Borrower may modify the definition of “Interest Period” for any Benchmark setting at or after such time
         to remove such unavailable or non-representative tenor and (ii) if a tenor that was removed pursuant to
         clause (i) above either (A) is subsequently displayed on a screen or information service for a Benchmark
         (including a Benchmark Replacement) or (B) is not, or is no longer, subject to an announcement that it
         is or will no longer be representative for a Benchmark (including a Benchmark Replacement), then the
         Administrative Agent may modify the definition of “Interest Period” for all Benchmark settings at or
         after such time to reinstate such previously removed tenor.

         SECTION 1.10.           Divisions. For all purposes under the Loan Documents, in connection with any
division or plan of division under Delaware law (or any comparable event under a different jurisdiction’s laws):
(a) if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or liability of a
different Person, then it shall be deemed to have been transferred from the original Person to the subsequent
Person, and (b) if any new Person comes into existence, such new Person shall be deemed to have been organized
on the first date of its existence by the holders of its Equity Interests at such time.

         SECTION 1.11.        Deemed Funding of Loans. All references to any Lender “making” or “funding”
a Loan or a Loan being “made” or “funded” (or any similar concept) by a Lender shall for all purposes hereunder,
be a reference to the deemed making or funding of such Loan by such Lender or such Loan being deemed made
or funded (or any similar concept) by such Lender.

         SECTION 1.12.         Certain Calculations and Tests. In the event that the Borrower or any of its
Restricted Subsidiaries Incurs, repays, repurchases or redeems any Indebtedness (other than in the case of any
Qualified Receivables Financing, in which case interest expense shall be computed based upon the average daily
balance of such Indebtedness during the applicable period) or issues, repurchases or redeems Disqualified Stock
or Preferred Stock subsequent to the commencement of the period for which any financial ratio or test (including,
without limitation, the Consolidated First Lien Leverage Ratio, Consolidated First Lien Net Leverage Ratio, the
Consolidated Total Net Leverage Ratio Asset Coverage Ratio or any other financial covenant) is being calculated
but prior to the event for which the calculation is made (the “Calculation Date”), then such calculation shall give
pro forma effect to such Incurrence, repayment, repurchase or redemption of Indebtedness, or such issuance,
repurchase or redemption of Disqualified Stock or Preferred Stock, as if the same had occurred at the beginning
of the applicable four-quarter period.

                 For purposes of this definition, whenever pro forma effect is to be given to any event, the pro
forma calculations shall be made in good faith by a responsible financial or accounting officer of the Borrower.

                 If any Indebtedness bears a floating rate of interest and is being given pro forma effect, the
interest on such Indebtedness shall be calculated as if the rate in effect on the Calculation Date had been the
applicable rate for the entire period (taking into account any Hedging Obligations applicable to such
Indebtedness if such Hedging Obligation has a remaining term in excess of 12 months). Interest on a Capitalized
Lease Obligation shall be deemed to accrue at an interest rate reasonably determined by a responsible financial
or accounting officer of the Borrower to be the rate of interest implicit in such Capitalized Lease Obligation in
accordance with GAAP.

                 For purposes of this definition, any amount in a currency other than U.S. Dollars will be
converted to U.S. Dollars based on the average exchange rate for such currency for the most recent twelve month
period immediately prior to the date of determination in a manner consistent with that used in calculating
EBITDAX for the applicable period.



                                                    The Credits

         SECTION 2.01.         Loans.
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                   (a)     Subject to and upon the terms and conditions herein set forth, each Lender severally
agrees that it shall be deemed to have made a Loan or Loans on the Closing Date to the Borrower in U.S. Dollars
in an aggregate principal amount set forth for such Lender on Schedule 2.01. The initial aggregate principal
amount of the Loans shall be $118,599,082.31. The Loans (i) shall be deemed made on the Closing Date and (ii)
may be repaid or prepaid in accordance with the provisions hereof, but once repaid or prepaid, may not be
reborrowed.

                  (b)       Each Lender may at its option make any Loan by causing any domestic or foreign
branch or Affiliate of such Lender to make such Loan; provided that (i) any exercise of such option shall not
affect the obligation of the Borrower to repay such Loan and (ii) in exercising such option, such Lender shall use
its reasonable efforts to minimize any increased costs to the Borrower resulting therefrom (which obligation of
the Lender shall not require it to take, or refrain from taking, actions that it determines would result in increased
costs for which it will not be compensated hereunder or that it determines would be otherwise disadvantageous
to it and in the event of such request for costs for which compensation is provided under this Agreement, the
provisions of Section 2.08 shall apply).

         SECTION 2.02.          Existing Loans. The parties hereto acknowledge and agree that an aggregate
principal amount of “Loans” under and as defined in the Prepetition FLFO Credit Agreement (the “Existing
Loans”) equal to $118,599,082.31 remains outstanding immediately prior to the Closing Date. Subject to the
terms and conditions set forth herein, each Lender, severally and not jointly, agrees that the Existing Loans made
by such Lender under the Prepetition FLFO Credit Agreement and outstanding on the Closing Date immediately
prior to giving effect to this Agreement shall be converted into Loans in a principal amount equal to its Existing
Loans and such Loans shall be deemed made pursuant to this Agreement on the Closing Date as set forth in
Section 2.01(a). The conversion by a Lender of all or a portion of its Existing Loans shall be deemed to satisfy,
dollar for dollar, such Lender’s obligation to make Loans on the Closing Date. Such Existing Loans of each
Lender shall hereafter be referred to as “Loans” and on and after the Closing Date shall have all of the rights and
benefits of Loans as set forth in this Agreement and the other Loan Documents. For the avoidance of doubt,
such conversion of Existing Loans into Loans hereunder shall be deemed a “Borrowing” for all purposes under
this Agreement.

         SECTION 2.03.         Notice of Borrowing.

                   (a)   For the Borrowing made on the Closing Date, the Borrower shall give the
 Administrative Agent written notice (or telephonic notice promptly confirmed in writing) on or prior to the
 Closing Date. The notice (a “Notice of Borrowing”) shall be revocable if any of the conditions in Section 4.01
 that are not reasonably within the control of the Borrower are not satisfied or waived. Such Notice of
 Borrowing shall specify (i) the aggregate principal amount of the Loans to be made, (ii) the proposed date of
 the Loans (which shall be a Business Day), (iii) whether such Loans are to be ABR Loans or LIBOR Loans
 and, if LIBOR Loans, the initial Interest Period applicable thereto, and (iv) remittance instructions for
 disbursement of the proceeds of the Loans. The Notice of Borrowing shall be in substantially the form of
 Exhibit E. The Administrative Agent shall promptly give each Lender written notice of the proposed
 borrowing of Loans, of such Lender’s proportionate share thereof and of the other matters covered by the
 related Notice of Borrowing.

         SECTION 2.04.         Repayment of Loans; Evidence of Debt.

                  (a)    The Borrower hereby unconditionally promises to repay, in U.S. Dollars, the
 outstanding principal amount of the Loans to the Administrative Agent for the account of each Lender:




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                            (i)      commencing with the fiscal quarter ending [Ɣ], 20213, on the last Business
           Day of each fiscal quarter, in an amount equal to $3,750,000;

                            (ii)     on December 31, 2021, in an aggregate amount equal to the outstanding
           principal amount of Loans outstanding under this Agreement minus $100,000,000; provided that, for
           the avoidance of doubt, if the aggregate principal amount of the Loans outstanding on such date is less
           than $100,000,000, no such prepayment is required;

                            (iii)    commencing with the fiscal quarter ending [Ɣ], 20224 (the “Variable
           Amortization Trigger Date”), on the last Business Day of each fiscal quarter, in an amount equal to the
           Variable Amortization Percentage as of the last day of the immediately preceding fiscal quarter of
           Consolidated Excess Cash at end of such fiscal quarter; provided that, if such payment would cause the
           outstanding principal balance of the Loans to be less than $75,000,000, then such payment shall only
           be required in the amount necessary to reduce the outstanding principal balance of the Loans to
           $75,000,000; and

                            (iv)   on the Maturity Date, in an amount equal to the then unpaid principal amount
           of each Loan of such Lender to the Borrower;

           provided that all prepayments under this Section 2.04(a) shall be accompanied by all accrued interest
           thereon, together with, in the case of any such prepayment of a LIBOR Loan on a date other than the
           last day of an Interest Period therefor, any amounts owing in respect of such LIBOR Loan pursuant to
           Section 2.04(a).

                      (b)     Each Lender shall maintain in accordance with its usual practice an account or
    accounts evidencing the indebtedness of the Borrower to the appropriate Lending Office of such Lender
    resulting from the Loan made by such Lending Office of such Lender from time to time, including the amounts
    of principal and interest payable and paid to such Lending Office of such Lender from time to time under this
    Agreement.

                     (c)   The Administrative Agent, acting for this purpose as a non-fiduciary agent of the
    Borrower, shall maintain the Register pursuant to Section 8.06(b)(iv), and a subaccount for each Lender, in
    which the Register and subaccounts (taken together) shall be recorded (i) the amount of the Loans made
    hereunder and the Interest Period(s) applicable thereto, (ii) the amount of any principal or interest due and
    payable or to become due and payable from the Borrower to each Lender hereunder and (iii) the amount of
    any sum received by the Administrative Agent hereunder from the Borrower and each Lender’s share thereof.

                      (d)    The entries made in the Register and accounts and subaccounts maintained pursuant
    to clauses (b) and (c) of this Section 2.04 shall, to the extent permitted by applicable law, be prima facie
    evidence of the existence and amounts of the obligations of the Borrower therein recorded; provided, however,
    that the failure of any Lender or the Administrative Agent to maintain such account, such Register or such
    subaccount, as applicable, or any error therein, shall not in any manner affect the obligation of the Borrower
    to repay (with applicable interest) the Loan made to the Borrower by such Lender in accordance with the terms
    of this Agreement; provided further that in the event of any conflict between the accounts maintained by any
    Lender and those maintained by the Administrative Agent, the Register and the corresponding accounts
    maintained by the Administrative Agent shall control, absent manifest error.



3 NTD: To be the fiscal quarter during which the Closing Date occurs.


4   NTD: To be the fiscal quarter during which the first anniversary of the Closing Date occurs.

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                  (e)     Any Lender may request that Loans made by it be evidenced by a Note. In such event,
 the Borrower shall prepare, execute and deliver to such Lender a Note payable to such Lender or its registered
 assigns and in substantially the form attached hereto as Exhibit B.

         SECTION 2.05.         Other Fees. The Borrower shall pay to the Administrative Agent such fees as
shall have been separately agreed upon in the Fee Letter in the amounts and at the times specified in the Fee
Letter. Such fees shall be fully earned when paid and shall not be refundable for any reason whatsoever (except
as expressly agreed between the Borrower and the Administrative Agent).

         SECTION 2.06.         Interest.

                 (a)     (i) Interest on each Loan that is a LIBOR Loan will accrue and be payable at a rate
 per annum equal to Adjusted LIBOR plus the Applicable Margin and shall be payable in cash, and (ii) interest
 on each Loan that is an ABR Loan will accrue and be payable at a rate per annum equal to ABR plus the
 Applicable Margin and shall be payable in cash, each rate as determined by the Administrative Agent. Each
 determination shall, absent clearly demonstrable error, be final and conclusive and binding on all parties
 hereto.

                   (b)    (i) At any time when an Event of Default (other than an Event of Default pursuant to
 Section 6.01(a) or Section 6.01(e)) exists (whether at the stated maturity, by acceleration or otherwise), upon
 the election of the Required Lenders, or (ii) at any time when an Event of Default pursuant to Section 6.01(a)
 or Section 6.01(e) (whether at the stated maturity, by acceleration or otherwise) exists, as applicable, all
 outstanding amounts shall bear interest at a rate per annum that is (x) in the case of principal, the rate that
 would otherwise be applicable thereto plus 2.00%, (y) in the case of any interest (and premium, if any), to the
 extent permitted by applicable law, the then-effective rate plus 2.00% and (z) in the case of any amount not
 specified in subclause (x) or (y) above, a rate per annum equal to the rate per annum otherwise payable at such
 time on ABR Loans, plus 2.00%. Interest accruing at the rates set forth in this paragraph (b) shall be payable
 on demand.

                   (c)    Interest on each Loan shall accrue from and including the date on which such Loan is
 made to but excluding the date of any repayment thereof and shall be payable (i) on each Interest Payment
 Date, and (ii) on any prepayment (on the amount prepaid), at maturity (whether by acceleration or otherwise)
 and, after such maturity, on demand.

                  (d)     All computations of interest hereunder shall be calculated on the basis of a 360-day
 year for the actual days elapsed, except that interest computed by reference to the ABR at times when the
 ABR is based on the prime rate shall be computed on the basis of a year of 365 days (or 366 days in a leap
 year), and in each case shall be payable for the actual number of days elapsed (including the first day but
 excluding the last day).

                   (e)     The Administrative Agent, upon determining Adjusted LIBOR or ABR for any
 Interest Period, shall promptly notify the Borrower and the relevant Lenders thereof. Each such determination
 shall, absent clearly demonstrable error, be final and conclusive and binding on all parties hereto. The
 Administrative Agent shall, upon the request of any Lender, provide the interest rate then in effect with respect
 to the applicable Loans.

                  (f)    Interest on Loans made by Lenders as of the Closing Date shall accrue from and after
 the Closing Date in accordance with the terms of this Agreement.

         SECTION 2.07.         Interest Periods. Notwithstanding anything to the contrary contained above, if any
Interest Period would otherwise expire on a day that is not a Business Day, such Interest Period shall expire on
the next succeeding Business Day; provided that if any Interest Period would otherwise expire (i) on a day that
is not a Business Day but is a day of the month after which no further Business Day occurs in such month, such
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Interest Period shall expire on the next preceding Business Day and (ii) on a day that is after the Maturity Date,
such Interest Period shall expire on the Maturity Date.

         SECTION 2.08.             Increased Costs, Illegality, etc.

                     (a)       In the event that:

                              (i)    the Administrative Agent shall have reasonably determined (which
           determination shall, absent clearly demonstrable error, be final and conclusive and binding upon all
           parties hereto) on any date for determining the LIBOR for any Interest Period that (A) deposits in
           the principal amounts of the Loans comprising such LIBOR Loan are not generally available in the
           relevant market or (B) by reason of any changes arising on or after the Closing Date affecting the
           interbank LIBOR market, adequate and fair means do not exist for ascertaining the applicable
           interest rate on the basis provided for in the definition of LIBOR; or

                              (ii)   a Change in Law occurring at any time after the Closing Date shall (A)
           impose, modify or deem applicable any reserve, special deposit, compulsory loan, insurance charge
           or similar requirement against assets of, deposits with or for the account of, or credit extended by,
           any Lender, (B) subject any Lender or the Administrative Agent to any Tax (other than (i)
           Indemnified Taxes or (ii) Excluded Taxes) on its loans, loan principal, commitments or other
           obligations, or its deposits, reserves, other liabilities or capital attributable thereto, or (C) impose on
           any Lender or the London interbank market any other condition, cost or expense (other than Taxes)
           affecting this Agreement or LIBOR Loans made by such Lender, which, in the case of clause (A),
           (B) or (C) results in the cost to such Lender or the Administrative Agent of making, converting into,
           continuing or maintaining LIBOR Loans increasing by an amount or the amounts received or
           receivable by such Lender or the Administrative Agent hereunder with respect to the foregoing shall
           be reduced; or

                           (iii)   any Lender, shall have reasonably determined (which determination shall,
         absent clearly demonstrable error, be final and conclusive and binding upon all parties hereto), at any
         time, that the making or continuance of any LIBOR Loan has become unlawful as a result of compliance
         by such Lender in good faith with any Requirement of Law (or would conflict with any such
         Requirement of Law not having the force of law even though the failure to comply therewith would not
         be unlawful);

then, and in any such event, such Lenders (or the Administrative Agent, in the case of clause (i) or (ii)(B) above)
shall within a reasonable time thereafter give written notice to the Borrower and to the Administrative Agent of
such determination (which notice the Administrative Agent shall promptly transmit to each of the other Lenders).
Thereafter (x) in the case of clause (i) above, LIBOR Loans shall no longer be available until such time as the
Administrative Agent notifies the Borrower and the Lenders that the circumstances giving rise to such notice by
the Administrative Agent no longer exist (which notice the Administrative Agent agrees to give at such time
when such circumstances no longer exist), and any Notice of Borrowing given by the Borrower with respect to
LIBOR Loans that have not yet been incurred shall be deemed rescinded by the Borrower, (y) in the case of
clause (ii) above, the Borrower shall pay to such Lender or the Administrative Agent, promptly (but no later than
ten days) after receipt of written demand therefor such additional amounts as shall be required to compensate
such Lender or the Administrative Agent for such increased costs or reductions in amounts receivable hereunder
(it being agreed that a written notice as to the additional amounts owed to such Lender or the Administrative
Agent submitted to the Borrower by such Lender or the Administrative Agent shall, absent clearly demonstrable
error, be final and conclusive and binding upon all parties hereto) and (z) in the case of clause (iii) above, the
Borrower shall take one of the actions specified in Section 2.08(b) as promptly as possible and, in any event,
within the time period required by applicable Requirements of Law.


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                   (b)     At any time that any LIBOR Loan is affected by the circumstances described in
 Section 2.08(a)(ii) or (iii), the Borrower may (and in the case of a LIBOR Loan affected pursuant to
 Section 2.08(a)(iii) shall) either (1) if the affected LIBOR Loan is then being made pursuant to a borrowing,
 cancel such borrowing by giving the Administrative Agent telephonic notice (confirmed promptly in writing)
 thereof on the same date that the Borrower was notified by a Lender pursuant to Section 2.08(a)(ii) or (iii) or
 (2) if the affected LIBOR Loan is then outstanding, upon at least three Business Days’ notice to the
 Administrative Agent, require the affected Lender to convert each such LIBOR Loan into an ABR Loan;
 provided that if more than one Lender is affected at any time, then all affected Lenders must be treated in the
 same manner pursuant to this Section 2.08(b).

                   (c)      If, after the Closing Date, any Change in Law relating to capital adequacy of any
 Lender or compliance by any Lender or its parent with any Change in Law relating to capital adequacy
 occurring after the Closing Date, has or would have the effect of reducing the rate of return on such Lender’s
 or its parent’s capital or assets as a consequence of such Lender’s commitments or obligations hereunder to a
 level below that which such Lender or its parent could have achieved but for such Change in Law (taking into
 consideration such Lender’s or its parent’s policies with respect to capital adequacy), then from time to time,
 promptly (but in any event no later than ten days) after written demand by such Lender (with a copy to the
 Administrative Agent), the Borrower shall pay to such Lender such additional amount or amounts as will
 compensate such Lender or its parent for such reduction, it being understood and agreed, however, that a
 Lender shall not be entitled to such compensation as a result of such Lender’s compliance with, or pursuant
 to any request or directive to comply with, any applicable Requirement of Law as in effect on the Closing
 Date. Each Lender, upon determining in good faith that any additional amounts will be payable pursuant to
 this Section 2.08(c), will give prompt written notice thereof to the Borrower, although the failure to give any
 such notice shall not, subject to Section 2.11, release or diminish the Borrower’s obligations to pay additional
 amounts pursuant to this Section 2.08(c) upon receipt of such notice.

          SECTION 2.09.         Compensation. If (a) any payment of principal of any Loan is made by the
Borrower to or for the account of a Lender other than on the last day of the Interest Period for such Loan as a
result of a payment pursuant to Section 2.12, as a result of acceleration of the maturity of the Loans pursuant to
Article VI or for any other reason, (b) there occurs any failure to borrow, convert, continue or prepay any LIBOR
Loan on the date specified in any notice delivered pursuant hereto or (c) there occurs any assignment of any
LIBOR Loan other than on the last day of the Interest Period applicable thereto as a result of a request by the
Borrower pursuant to Section 8.07, the Borrower shall, after receipt of a written request by such Lender, pay to
the Administrative Agent for the account of such Lender any amounts required to compensate such Lender for
any additional losses, costs or expenses that such Lender may reasonably incur as a result of such payment, or
failure to prepay, including any loss, cost or expense (excluding loss of anticipated profits) actually incurred by
reason of the liquidation or reemployment of deposits or other funds acquired by any Lender to fund or maintain
such Loan. A certificate of any Lender setting forth any amount that such Lender is entitled to receive pursuant
to this Section 2.09 shall be delivered to the Borrower and shall be conclusive absent manifest error. The
Borrower shall pay such Lender the amount shown as due on such certificate within ten days after receipt thereof,
unless such amount is due on an earlier date in accordance with Section 2.12(c).

          SECTION 2.10.        Change of Lending Office. Each Lender agrees that, upon the occurrence of any
event giving rise to the operation of Section 2.08(a)(ii), 2.08(a)(iii), 2.08(c) or 2.15 with respect to such Lender,
it will, if requested by the Borrower use reasonable efforts (subject to overall policy considerations of such
Lender) to designate another lending office for any Loans affected by such event; provided that such designation
does not cause such Lender or its lending office to suffer any economic, legal or regulatory disadvantage, with
the object of avoiding the consequence of the event giving rise to the operation of any such Section. Nothing in
this Section 2.10 shall affect or postpone any of the obligations of the Borrower or the right of any Lender
provided in Section 2.08 or 2.15.

        SECTION 2.11.         Notice of Certain Costs. Notwithstanding anything in this Agreement to the
contrary, to the extent any notice required by Section 2.08 or 2.09 is given by any Lender more than 270 days
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after such Lender has knowledge (or should have had knowledge) of the occurrence of the event giving rise to
the additional cost, reduction in amounts, loss, tax or other additional amounts described in such Sections, such
Lender shall not be entitled to compensation under Section 2.08 or 2.09, as the case may be, for any such amounts
incurred or accruing prior to the 271st day prior to the giving of such notice to the Borrower; provided that if a
Change in Law that gives rise to such additional amounts is retroactive, then the 270-day period referred to above
shall be extended to include the period of retroactive effect thereof.

         SECTION 2.12.             Voluntary Prepayments.

                    (a)    The Borrower shall have the right at any time and from time to time to prepay any
 Loan in whole or in part, without premium or penalty, in an aggregate principal amount that is an integral
 multiple of $500,000 and not less than $1,000,000 or, if less, the amount outstanding, upon prior notice to the
 Administrative Agent by telephone (confirmed by telecopy), not less than three Business Days prior to the
 date of prepayment, which notice shall be irrevocable except to the extent provided below in Section 2.12(b).
 Each such notice shall be signed by an Authorized Officer of the Borrower and shall specify the date and
 amount of such prepayment and the Type(s) of Loans to be prepaid and, if LIBOR Loans are to be prepaid,
 the Interest Period(s) of such Loans. The Administrative Agent will promptly notify each applicable Lender
 of its receipt of each such notice, and of the amount of such Lender’s pro rata share of such prepayment. Each
 prepayment of Loans under this Section 2.12(a) shall be allocated as directed by the Borrower and shall be
 applied pro rata to the Lenders, based upon the outstanding principal amounts owing to each such Lender.

                   (b)    Notwithstanding anything to the contrary contained in this Agreement, the Borrower
 may rescind any notice of prepayment made under Section 2.12(a) by notice to the Administrative Agent a
 reasonable time prior to the specified effective time of such prepayment if such prepayment would have
 resulted from a refinancing of all or any portion of the Loans, which refinancing shall not be consummated or
 shall otherwise be delayed.

                    (c)             All prepayments under this Section 2.12 shall be accompanied by all accrued
 interest thereon, together with, in the case of any such prepayment of a LIBOR Loan on a date other than the
 last day of an Interest Period therefor, any amounts owing in respect of such LIBOR Loan pursuant to
 Section 2.09.

         SECTION 2.13.             Mandatory Prepayments.

                     (a)       Asset Sales.

                           (i)     If the Borrower and its Restricted Subsidiaries have received Net Proceeds
         from one or more Asset Sales (including, for the avoidance of doubt, Net Proceeds of a Mexico Liquidity
         Event (including those Net Proceeds of a Mexico Liquidity Event received from the Closing Date
         Unrestricted Subsidiary pursuant to Section 5.33)), Hedge Unwind Events, Extraordinary Receipt
         Events or Casualty Events, not later than the third Business Day following the date of receipt of any
         such Net Proceeds, an amount equal to 100% of such Net Proceeds shall be applied as a mandatory
         prepayment of the Loans in accordance with Section 2.13(e); provided, that (A)(1) with respect to Hedge
         Unwind Events, until the aggregate amount of Hedge Unwind Proceeds received from one or more
         Hedge Unwind Events exceeds $5,000,000 in any fiscal year, no such prepayment shall be required
         during such fiscal year, (2) with respect to Asset Sales of assets constituting Proved Developed
         Producing Reserves, Proved Developed Non-Producing Reserves and/or related infrastructure assets
         (other than Mexico Liquidity Events) (any such Asset Sale, a “Specified Asset Sale”), until the aggregate
         amount of Net Proceeds received from one or more such Specified Asset Sales exceeds $15,000,000 in
         any fiscal year, no such prepayment shall be required during such fiscal year and any such prepayment
         shall only be required with Net Proceeds in excess of such threshold, (3) with respect to any Asset Sale
         (other than a Specified Asset Sale or a Mexico Liquidity Event), until the aggregate amount of Net
         Proceeds received from one or more of such Asset Sales exceeds $50,000,000 on a cumulative basis
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         calculated from the Closing Date, no such prepayment shall be required and any such prepayment shall
         only be required with Net Proceeds in excess of such threshold and (4) with respect to any Extraordinary
         Receipt Event or Casualty Event, until the aggregate amount of Extraordinary Receipts and/or Net
         Proceeds of a Casualty Event received from one or more Extraordinary Receipt Events and/or Casualty
         Events exceeds $10,000,000 in any fiscal year, no such prepayment shall be required during such fiscal
         year and any such prepayment shall only be required with Net Proceeds in excess of such threshold and
         (B) at the Borrower’s election and so long as no Event of Default has occurred and is continuing (1)
         following the receipt of any Net Proceeds described in the foregoing clauses (A)(2) and (A)(3) in excess
         of the respective threshold described therein (such excess Net Proceeds, “Excess Asset Sale Proceeds”),
         the Borrower may reinvest up to 50% of such Excess Asset Sale Proceeds in additional Oil and Gas
         Properties and/or capital expenditures related to existing Oil and Gas Properties, in each case, within
         365 days following the receipt thereof (the “Reinvestment Date”) and the remaining 50% of such Excess
         Asset Sale Proceeds shall be required to be applied in accordance with Section 2.13(e); provided, that,
         to the extent any such Excess Asset Sale Proceeds were received from Specified Asset Sales, such
         Excess Asset Sale Proceeds shall be reinvested in additional Oil and Gas Properties constituting Proved
         Developed Producing Reserves and/or capital expenditures on existing Oil and Gas Properties solely to
         the extent constituting Proved Developed Producing Reserves, Proved Developed Non-Producing
         Reserves or Proved Developed Behind Pipe Reserves (unless otherwise agree by the Administrative
         Agent in its sole discretion) and (2) following the receipt of Net Proceeds from any Casualty Event in
         excess of the threshold described in clause (A)(4) above (such excess Net Proceeds, “Excess Casualty
         Event Proceeds”), the Borrower may reinvest up to 100% of such Excess Casualty Event Proceeds on
         or prior to the applicable Reinvestment Date in replacement and/or repair of the property subject to such
         Casualty Event; provided, that the aggregate amount of Excess Casualty Event Proceeds so reinvested
         shall not exceed the amount necessary to replace and/or repair the property subject to such Casualty
         Event and any remaining amount of such Excess Casualty Event Proceed shall be applied in accordance
         with Section 2.13(e). If on the applicable Reinvestment Date, any portion of such Net Proceeds has not
         been so reinvested, the Borrower will make a prepayment of the Loans, to the extent required above.

                           (ii)     Notwithstanding any other provisions of this Section 2.13(a) and other than
         with respect to a Mexico Liquidity Event, to the extent that any of or all the Net Proceeds of any
         Disposition by a Foreign Subsidiary (“Foreign Disposition”) is prohibited or delayed by applicable local
         law from being repatriated to the United States, the portion of such Net Proceeds so affected will not be
         required to be applied to repay Loans at the times provided in this Section 2.13(a) but may be retained
         by the applicable Foreign Subsidiary, in each case, so long, but only so long, as the applicable local law
         will not permit repatriation to the United States (the Borrower hereby agreeing to cause the applicable
         Foreign Subsidiary to promptly take all actions reasonably required by the applicable local law to permit
         such repatriation), and once such repatriation of any of such affected Net Proceeds that, in each case,
         would otherwise be required to be used to make an offer of prepayment pursuant to Section 2.13(a), is
         permitted under the applicable local law, such repatriation will be immediately effected and such
         repatriated Net Proceeds will be promptly (and in any event not later than two Business Days after such
         repatriation) applied (net of additional taxes payable or reserved against as a result thereof) to the
         repayment of the Loans pursuant to this Section 2.13(a).

                           (iii)     All prepayments under this Section 2.13(a) shall be accompanied by all
         accrued interest thereon, together with, in the case of any such prepayment of a LIBOR Loan on a date
         other than the last day of an Interest Period therefor, any amounts owing in respect of such LIBOR Loan
         pursuant to Section 2.09.

                  (b)    Debt/Equity Incurrence. (i) Subject to Section 2.13(b)(ii), on each occasion that a
 Debt/Equity Incurrence Prepayment Event occurs, the Borrower shall, within one Business Day after the
 receipt of Net Proceeds therefrom, prepay, in accordance with Section 2.13(e), a principal amount of Loans
 in an amount equal to 100% of the Net Proceeds from such Debt/Equity Incurrence Prepayment Event;

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 provided that if the proceeds from such Debt/Equity Incurrence Prepayment Event constitute an ACR Cure
 Amount, such proceeds shall be prepaid in accordance with Section 2.13(c) and not this Section 2.13(b).

                          (ii)    Notwithstanding any other provisions of this Section 2.13(b), no prepayment
         shall be required pursuant to this Section 2.13(b) to the extent that such prepayment would violate
         applicable Law.

                           (iii)     All prepayments under this Section 2.13(b) shall be accompanied by all
         accrued interest thereon, together with, in the case of any such prepayment of a LIBOR Loan on a date
         other than the last day of an Interest Period therefor, any amounts owing in respect of such LIBOR Loan
         pursuant to Section 2.09.

                  (c)    Minimum Asset Coverage Ratio. The Borrower shall prepay the Loans in an
 aggregate principal amount equal to the Leverage Cure Amount and/or ACR Cure Amount, as applicable, as
 required by and in accordance with Section 6.05.

                  (d)    Redemptions of Junior Debt. Concurrently with any prepayment of Junior Debt
 permitted by Section 5.07(b)(xii), the Borrower shall prepay the Loans in an aggregate principal amount equal
 to the amount paid by the Borrower to redeem, repurchase, defease or otherwise acquire or retire for value
 such Junior Debt.

                   (e)     Application of Mandatory Prepayments. Each prepayment of Loans required by this
 Section 2.13 shall be allocated ratably to future payments on the Loans required pursuant to Section 2.04(a)(i)
 and shall be applied pro rata to Lenders, based upon the outstanding principal amounts owing to each such
 Lender; provided, that any Lender may elect, by written notice to the Administrative Agent at least one
 Business Day prior to the prepayment due date, to decline all or a portion of any prepayment of its Loans
 (other than a mandatory prepayment under Section 2.13(b) solely to the extent such prepayment represents a
 refinancing of all of the Obligations, which may not be declined), in which case the aggregate amount of the
 prepayment that would have been applied to prepay Loans but was so declined shall be retained by the
 Borrower.

                  (f)       Notice of Mandatory Prepayments. The Borrower shall notify the Administrative
Agent in writing of any mandatory prepayment of Loans required to be made pursuant to Sections 2.13(a), (b),
(c) or (d) above at least two Business Days prior to the date of such prepayment. Each such notice shall specify
the date of such prepayment and provide a reasonably detailed calculation of the amount of such prepayment,
the Type(s) of Loans to be prepaid and, if LIBOR Loans are to be prepaid, the Interest Period(s) of such Loans.

         SECTION 2.14.         Method and Place of Payment.

                   (a)    Except as otherwise specifically provided herein, all payments under this Agreement
 shall be made by the Borrower, without set-off, counterclaim or deduction of any kind, to the Administrative
 Agent for the ratable account of the Lenders entitled thereto not later than 12:00 Noon (New York City time)
 on the date when due and shall be made in immediately available funds at such office as the Administrative
 Agent shall specify for such purpose by notice to the Borrower, it being understood that written or facsimile
 notice by the Borrower to the Administrative Agent to make a payment from the funds attributed to the
 Borrower in an account of the Administrative Agent shall constitute the making of such payment to the extent
 of such funds held in such account. All payments under each Loan Document (whether of principal, interest
 or otherwise) shall be made in U.S. Dollars. The Administrative Agent will thereafter cause to be promptly
 distributed like funds relating to the payment of principal or interest or fees ratably to the Lenders entitled
 thereto.

                  (b)   Any payments under this Agreement that are made later than 2:00 p.m. (New York
 City time) shall be deemed to have been made on the next succeeding Business Day. Except as otherwise
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 provided herein, whenever any payment to be made hereunder shall be stated to be due on a day that is not a
 Business Day, the due date thereof shall be extended to the next succeeding Business Day and, with respect
 to payments of principal, interest shall be payable during such extension at the applicable rate in effect
 immediately prior to such extension.

         SECTION 2.15.         Net Payments.

                   (a)    Any and all payments made by or on behalf of the Borrower or any Guarantor under
 this Agreement or any other Loan Document shall be made free and clear of, and without deduction or
 withholding for or on account of, any Taxes; provided that if the Borrower, any Guarantor or the
 Administrative Agent or any other applicable withholding agent shall be required by applicable Requirements
 of Law to deduct or withhold any Taxes from such payments, then (i) the applicable withholding agent shall
 make such deductions or withholdings as are reasonably determined by the applicable withholding agent to
 be required by any applicable Requirement of Law, (ii) the applicable withholding agent shall timely pay the
 full amount deducted or withheld to the relevant Governmental Authority in accordance with applicable
 Requirements of Law, and (iii) to the extent withholding or deduction is required to be made on account of
 Indemnified Taxes, the sum payable by the Borrower or such Guarantor shall be increased as necessary so
 that after all required deductions and withholdings have been made (including deductions or withholdings
 applicable to additional sums payable under this Section 2.15) the Administrative Agent, the Collateral Agent
 or the applicable Lender, as the case may be, receives an amount equal to the sum it would have received had
 no such deductions or withholdings been made. As soon as practicable after any payment of Taxes by any
 Credit Party to a Governmental Authority as provided in this Section 2.15, the Borrower shall deliver to the
 Administrative Agent the original or a certified copy of a receipt issued by such Governmental Authority
 evidencing such payment, a copy of any return reporting such payment or other evidence reasonably
 satisfactory to the Administrative Agent.

                  (b)   The Borrower shall timely pay to the relevant Governmental Authority in accordance
 with applicable Requirements of Law, or at the option of the Administrative Agent timely reimburse it for,
 any Other Taxes (whether or not such Other Taxes were correctly or legally imposed or asserted by the relevant
 Governmental Authority).

                  (c)     The Borrower shall indemnify and hold harmless the Administrative Agent, the
 Collateral Agent and each Lender within 10 Business Days after written demand therefor, for the full amount
 of any Indemnified Taxes paid or payable by, or required to be withheld or deducted from a payment to,
 imposed on the Administrative Agent, the Collateral Agent or such Lender, as the case may be (including
 Indemnified Taxes imposed or asserted on or attributable to amounts payable under this Section 2.15), and
 any reasonable expenses arising therefrom or with respect thereto, whether or not such Indemnified Taxes
 were correctly or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the
 amount of such payment or liability delivered to the Borrower (and the Administrative Agent, if sent by a
 Lender) by a Lender, the Administrative Agent or the Collateral Agent (as applicable) on its own behalf or on
 behalf of a Lender shall be conclusive absent manifest error.

                   (d)    Each Lender shall deliver to the Borrower and the Administrative Agent, at such time
 or times reasonably requested by the Borrower or the Administrative Agent, such properly completed and
 executed documentation prescribed by applicable law and such other reasonably requested information as will
 permit the Borrower or the Administrative Agent, as the case may be, to determine (A) whether or not any
 payments made hereunder or under any other Loan Document are subject to Taxes, (B) if applicable, the
 required rate of withholding or deduction, and (C) such Lender’s entitlement to any available exemption from,
 or reduction of, applicable Taxes in respect of any payments to be made to such Lender by any Credit Party
 pursuant to any Loan Document or otherwise to establish such Lender’s status for withholding tax purposes
 in the applicable jurisdiction. In addition, any Lender, if reasonably requested by the Borrower or the
 Administrative Agent, shall deliver such other documentation prescribed by applicable law or reasonably
 requested by the Borrower or the Administrative Agent as will enable the Borrower or the Administrative
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 Agent to determine whether or not such Lender is subject to backup withholding or information reporting
 requirements.

                  (e)   Without limiting the generality of Section 2.15(d), each Non-U.S. Lender with
 respect to any Loan made to the Borrower shall, to the extent it is legally entitled to do so:

                           (i)      deliver to the Borrower and the Administrative Agent (in such number of
         copies as shall be requested by the recipient), on or prior to the date on which such Lender becomes a
         Lender under this Agreement, properly completed and duly executed copies of (A) in the case of a Non-
         U.S. Lender claiming exemption from U.S. federal withholding tax under Section 871(h) or 881(c) of
         the Code with respect to payments of “portfolio interest”, United States Internal Revenue Service
         (“IRS”) Form W-8BEN or IRS Form W-8BEN-E, as applicable, (or any applicable successor form)
         (together with a certificate substantially in the form of Exhibit D-1, Exhibit D-2, Exhibit D-3 or Exhibit
         D-4 hereto, as applicable (a “Non-Bank Tax Certificate”), representing that such Non-U.S. Lender is
         not a bank for purposes of Section 881(c)(3)(A) of the Code, is not a “10 percent shareholder” (within
         the meaning of Section 871(h)(3)(B) of the Code) of the Borrower, is not a CFC described in
         Section 881(c)(3)(C) of the Code), (B) IRS Form W-8BEN or IRS Form W-8BEN-E, as applicable, or
         IRS Form W-8ECI (or any applicable successor form), in each case properly completed and duly
         executed by such Non-U.S. Lender claiming complete exemption from, or reduced rate of, U.S. federal
         withholding tax on payments by the Borrower under this Agreement, (C) IRS Form W-8IMY (or any
         applicable successor form) and all necessary attachments (including the forms described in clauses (A)
         and (B) above; provided that if the Non-U.S. Lender is a partnership and not a participating Lender, and
         one or more of the partners is claiming portfolio interest treatment, the Non-Bank Tax Certificate may
         be provided by such Non-U.S. Lender on behalf of such partners) or (D) any other form prescribed by
         applicable law as a basis for claiming exemption from or a reduction in U.S. federal withholding tax
         duly completed together with such supplementary documentation as may be prescribed by applicable
         law to permit the Borrower or the Administrative Agent to determine the withholding or deduction
         required to be made; and

                          (ii)     deliver to the Borrower and the Administrative Agent properly completed and
         duly executed copies of any such form or certification (or any applicable successor form) promptly after
         such form or certification expires or becomes obsolete or invalid, after the occurrence of any event
         requiring a material change in the most recent form previously delivered by it to the Borrower and the
         Administrative Agent, and from time to time thereafter if reasonably requested by the Borrower or the
         Administrative Agent or promptly notify the Borrower and the Administrative Agent in writing of such
         Non-U.S. Lender’s legal inability to do so.

Each Person that shall become a Participant pursuant to Section 8.06 or a Lender pursuant to Section 8.06 shall,
upon the effectiveness of the related transfer, be required to provide all the forms and statements required
pursuant to this Section 2.15(e); provided that in the case of a Participant such Participant shall furnish all such
required forms and statements to the Person from which the related participation shall have been purchased.

Notwithstanding anything to the contrary in Section 2.15(d) and this Section 2.15(e), any form and
supplementary documentation (other than such documentation set forth in paragraphs (A), (B) and (C) of this
Section 2.15(e)) shall not be required if in the Lender’s reasonable judgment such completion, execution or
submission would subject such Lender to any material unreimbursed cost or expense or would materially
prejudice the legal or commercial position of such Lender.

In addition, to the extent it is legally eligible to do so, each Agent shall deliver to the Borrower (x)(I) prior to the
date on which the first payment by the Borrower is due hereunder or (II) prior to the first date on or after the
date on which such Agent becomes a successor Agent pursuant to Section 7.09 on which payment by the
Borrower is due hereunder, as applicable, (A) properly completed and duly executed copies of IRS Form W-9
certifying its exemption from U.S. Federal backup withholding or (B) properly completed and duly executed
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applicable copies of IRS Form W-8 certifying its non-U.S. status and its entitlement to any applicable treaty
benefits (and, in respect of the Administrative Agent, an executed copy of IRS Form W-8IMY certifying on Part
I, Part II and Part VI thereof that it is a U.S. branch that has agreed to be treated as a U.S. person for U.S. federal
tax purposes with respect to payments received by it from the Borrower in its capacity as Administrative Agent),
and (y) on or before the date on which any such previously delivered documentation expires or becomes obsolete
or invalid, after the occurrence of any event requiring a change in the most recent documentation previously
delivered by it to the Borrower, and from time to time if reasonably requested by the Borrower, properly
completed and duly executed copies of such documentation.

                   (f)    If any Lender, the Administrative Agent or the Collateral Agent, as applicable,
 determines, in its sole discretion exercised in good faith, that it has received a refund of an Indemnified Tax
 for which it has been indemnified pursuant to this Section 2.15 (including by the payment of additional
 amounts pursuant to this Section 2.15), then the Lender, the Administrative Agent or the Collateral Agent, as
 the case may be, shall reimburse the Borrower or such Guarantor for such amount (but only to the extent of
 indemnity payments made under this Section with respect to the Taxes giving rise to such refund) (net of all
 reasonable out-of-pocket expenses (including Taxes) of such Lender, the Administrative Agent or the
 Collateral Agent, as the case may be, and without interest other than any interest received thereon from the
 relevant Governmental Authority with respect to such refund); provided that the Borrower or such Guarantor,
 upon the request of the Lender, the Administrative Agent or the Collateral Agent, agrees to repay the amount
 paid over to the Borrower or such Guarantor (plus any penalties, interest or other charges imposed by the
 relevant Governmental Authority) to the Lender, the Administrative Agent or the Collateral Agent in the event
 the Lender, the Administrative Agent or the Collateral Agent is required to repay such refund to such
 Governmental Authority. Notwithstanding anything to the contrary in this paragraph (f), in no event will any
 Lender or Agent be required to pay any amount to the Borrower or any Guarantor pursuant to this paragraph
 (f), the payment of which would place such Lender or Agent in a less favorable net after-Tax position than
 such Lender or Agent would have been in if the Tax subject to indemnification and giving rise to such refund
 had not been deducted, withheld or otherwise imposed and the indemnification payments or additional
 amounts with respect to such Tax had never been paid. None of the Lender, the Administrative Agent or the
 Collateral Agent shall be obliged to make available its tax returns (or any other information relating to its
 taxes that it deems confidential) to any Credit Party in connection with this clause (f) or any other provision
 of this Section 2.15.

                  (g)      Each U.S. Lender shall deliver to the Borrower and the Administrative Agent properly
completed and duly executed copies of IRS Forms W-9 (or substitute or successor form), certifying that such
U.S. Lender is exempt from United States federal backup withholding (i) on or prior to the Closing Date (or on
or prior to the date it becomes a party to this Agreement), (ii) on or before the date that such form expires or
becomes obsolete or invalid, (iii) after the occurrence of a change in the U.S. Lender’s circumstances requiring
a change in the most recent form previously delivered by it to the Borrower and the Administrative Agent, and
(iv) from time to time thereafter if reasonably requested by the Borrower or the Administrative Agent.

                  (h)     If a payment made to any Lender or any Agent under this Agreement or any other Loan
Document would be subject to U.S. federal withholding tax imposed by FATCA if such Lender or such Agent
were to fail to comply with the applicable reporting requirements of FATCA (including those contained in
Section 1471(b) or 1472(b) of the Code, as applicable), such Lender or such Agent shall deliver to the Borrower
and the Administrative Agent at the time or times prescribed by law and at such time or times reasonably
requested by the Borrower or the Administrative Agent such documentation prescribed by applicable law
(including as prescribed by Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably
requested by the Borrower or the Administrative Agent as may be necessary for the Borrower and the
Administrative Agent to comply with their obligations under FATCA, to determine whether such Lender has or
has not complied with such Lender’s obligations under FATCA or to determine the amount, if any, to deduct
and withhold from such payment. Solely for purposes of this Section 2.15(h), “FATCA” shall include any
amendments made to FATCA after the date of this Agreement.

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                   (i)    Each Lender shall severally indemnify the Administrative Agent, within 10 days after
 demand therefor, for (i) any Indemnified Taxes attributable to such Lender (but only to the extent that the
 Borrower has not already indemnified the Administrative Agent for such Indemnified Taxes and without
 limiting the obligation of the Borrower to do so), (ii) any Taxes attributable to such lender’s failure to comply
 with the provisions of Section 8.06(c) relating to the maintenance of a Participant Register and (iii) any
 Excluded Taxes attributable to such lender, in each case, that are payable or paid by the Administrative Agent
 in connection with any Loan Document, and any reasonable expenses arising therefrom or with respect thereto,
 whether or not such Taxes were correctly or legally imposed or asserted by the relevant Governmental
 Authority. A certificate as to the amount of such payment or liability delivered to any Lender by the
 Administrative Agent shall be conclusive absent manifest error. Each Lender hereby authorizes the
 Administrative Agent to set off and apply any and all amounts at any time owing to such lender under any
 Loan Document or otherwise payable by the Administrative Agent to the Lender from any other source against
 any amount due to the Administrative Agent under this paragraph (i).

                 (j)   For the avoidance of doubt, for purposes of this Section 2.15, the term “applicable
 law” or “Requirements of Law” includes FATCA.

                 (k)    The agreements in this Section 2.15 shall survive the termination of this Agreement
 and the payment of the Loans and all other amounts payable hereunder.

         SECTION 2.16.         Limit on Rate of Interest.

                 (a)    No Payment Shall Exceed Lawful Rate. Notwithstanding any other term of this
 Agreement, the Borrower shall not be obliged to pay any interest or other amounts under or in connection with
 this Agreement in excess of the amount or rate permitted under or consistent with any applicable law, rule or
 regulation.

                 (b)    Payment at Highest Lawful Rate. If the Borrower is not obliged to make a payment
 which it would otherwise be required to make, as a result of Section 2.16(a), the Borrower shall make such
 payment to the maximum extent permitted by or consistent with applicable laws, rules and regulations.

                    (c)    Adjustment if Any Payment Exceeds Lawful Rate. If any provision of this Agreement
 or any of the other Loan Documents would obligate the Borrower to make any payment of interest or other
 amount payable to any Lender in an amount or calculated at a rate which would be prohibited by any applicable
 law, rule or regulation, then notwithstanding such provision, such amount or rate shall be deemed to have been
 adjusted with retroactive effect to the maximum amount or rate of interest, as the case may be, as would not
 be so prohibited by law, such adjustment to be effected, to the extent necessary, by reducing the amount or
 rate of interest required to be paid by the Borrower to the affected Lender under Section 2.06.

                 Notwithstanding the foregoing, and after giving effect to all adjustments contemplated thereby,
if any Lender shall have received from the Borrower an amount in excess of the maximum permitted by any
applicable law, rule or regulation, then the Borrower shall be entitled, by notice in writing to the Administrative
Agent to obtain reimbursement from that Lender in an amount equal to such excess, and pending such
reimbursement, such amount shall be deemed to be an amount payable by that Lender to the Borrower.

        SECTION 2.17.         Pro Rata Sharing. Subject in all respect to the provisions of the Intercreditor
Agreement, except as expressly set forth herein, whenever any payment received by the Administrative Agent
under this Agreement is insufficient to pay in full all amounts then due and payable to the Administrative Agent
and the Lenders under this Agreement, such payment shall be distributed by the Administrative Agent and
applied by the Administrative Agent and the Lenders in the following order: first, to the payment of fees and
expenses due and payable to the Administrative Agent and the Collateral Agent and its Affiliates under and in
connection with this Agreement, except any amounts payable to any such Person in its role as Lender, as
provided in clause “second” of this Section 2.17; second, to the payment of all expenses due and payable under
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Section 8.05, ratably among the Lenders in accordance with the aggregate amount of such payments owed to
each Lender; third, to the payment of interest and amounts under Sections 2.08 and 2.15, if any, then due and
payable on the Loans ratably among the Lenders in accordance with the aggregate amount of interest owed to
each Lender; and fourth, to the payment of the principal amount of the Loans that is then due and payable, ratably
among the Lenders in accordance with the aggregate principal amount owed to each such Lender.

         SECTION 2.18.             Adjustments; Set-off.

                   (a)     If any Lender shall, by exercising any right of set-off or counterclaim or otherwise,
 obtain payment in respect of any principal of or interest on any of its Loans resulting in such Lender receiving
 payment of a greater proportion of the aggregate amount of its Loans and accrued interest thereon than the
 proportion received by any other Lender entitled to such payment, then the Lender receiving such greater
 proportion shall purchase for cash at face value participations in the Loans of other Lenders to the extent
 necessary so that the benefit of all such payments shall be shared by the Lenders entitled thereto ratably in
 accordance with the aggregate amount of principal of and accrued interest on their respective Loans; provided
 that (i) if any such participations are purchased and all or any portion of the payment giving rise thereto is
 recovered, such participations shall be rescinded and the purchase price restored to the extent of such recovery,
 without interest, and (ii) the provisions of this clause (a) shall not be construed to apply to any payment made
 by the Borrower pursuant to and in accordance with the terms of this Agreement, or any payment obtained by
 a Lender as consideration for the assignment of or sale of a participation in any of its Loans to any assignee
 or participant. The Borrower consents to the foregoing and agrees, to the extent it may effectively do so
 under applicable law, that any Lender acquiring a participation pursuant to the foregoing arrangements may
 exercise against the Borrower rights of set-off and counterclaim with respect to such participation as fully as
 if such Lender were a direct creditor of the Borrower in the amount of such participation.

                   (b)     After the occurrence and during the continuance of an Event of Default, in addition
 to any rights and remedies of the Lenders provided by law, each Lender shall have the right, without prior
 notice to the Borrower, any such notice being expressly waived by the Borrower to the extent permitted by
 applicable law, upon any amount becoming due and payable by the Borrower hereunder (whether at the stated
 maturity, by acceleration or otherwise) to set-off and appropriate and apply against such amount any and all
 deposits (general or special, time or demand, provisional or final), in any currency, and any other credits,
 indebtedness or claims, in any currency, in each case whether direct or indirect, absolute or contingent,
 matured or unmatured, at any time held or owing by such Lender or any branch or agency thereof to or for the
 credit or the account of the Borrower or any Subsidiary. Each Lender agrees promptly to notify the Borrower
 and the Administrative Agent after any such set-off and application made by such Lender; provided that the
 failure to give such notice shall not affect the validity of such set-off and application.

         SECTION 2.19.        Interest Elections. The Loans shall have an initial Interest Period as specified in
the applicable Notice of Borrowing. Thereafter, the Borrower may elect Interest Periods therefor, all as provided
in this Section 2.19. The Borrower may elect different options with respect to different portions of the affected
Borrowing, in which case each such portion shall be allocated ratably among the Lenders holding the Loans
comprising such Borrowing, and the Loans comprising each such portion shall be considered a separate
Borrowing.

                  (a)     To make an election pursuant to this Section 2.19, the Borrower shall notify the
 Administrative Agent of such election (as provided in Section 8.02) in a written Interest Period Election
 Request in the form set forth in Exhibit C and signed by the Borrower. Such Interest Period Election Request
 shall be delivered to the Administrative Agent by telephone not later than 11:00 a.m., New York City time,
 three Business Days prior to the end of the then applicable Interest Period. Each such Interest Period Election
 Request shall be irrevocable.

                     (b)       Each Interest Period Election Request shall specify the following information:

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                            (i)     the Borrowing to which such Interest Period Election Request applies and, if
         different options are being elected with respect to different portions thereof, the portions thereof to be
         allocated to each resulting Borrowing (in which case the information to be specified pursuant to
         clauses (iii) and (iv) below shall be specified for each resulting Borrowing);

                         (ii)     the effective date of the election made pursuant to such Interest Period
         Election Request, which shall be a Business Day;

                               (iii)   whether the resulting Borrowing is to be an ABR Borrowing or a LIBOR
         Borrowing;

                            (iv)    if the resulting Borrowing is a LIBOR Borrowing, the Interest Period to be
         applicable thereto after giving effect to such election, which shall be a period contemplated by the
         definition of the term “Interest Period”; and

                          (v)      no Default or Event of Default shall have occurred and be continuing as of the
         date such Interest Period Election Request is delivered or as of the effective date of such election.

If any such Interest Period Election Request requests a LIBOR Borrowing but does not specify an Interest Period,
then the Borrower shall be deemed to have selected an Interest Period of one month’s duration.

                  (c)   Promptly following receipt of an Interest Period Election Request, the Administrative
 Agent shall advise each Lender to which such Interest Period Election Request relates of the details thereof
 and of such Lender’s portion of each resulting Loan.

                   (d)    If the Borrower fails to deliver a timely Interest Period Election Request with respect
 to a LIBOR Borrowing prior to the end of the Interest Period applicable thereto, then, unless such Borrowing
 is repaid as provided herein, at the end of such Interest Period such Borrowing shall be converted to an ABR
 Borrowing. Notwithstanding any contrary provision hereof, if an Event of Default has occurred and is
 continuing and the Administrative Agent, at the written request (including a request through electronic means)
 of the Required Lenders, so notifies the Borrower, then, so long as an Event of Default is continuing, (i) no
 outstanding Borrowing may be converted to or continued as a LIBOR Borrowing and (ii) unless repaid, each
 LIBOR Borrowing shall be converted to an ABR Borrowing at the end of the Interest Period applicable thereto.

                  (e)      After giving effect to all Borrowings, all conversions of Loans from one Type to the
 other and all continuations of Loans as the same type, there shall be not more than three Interest Periods in
 effect with respect to the Loans.



                                           Representations and Warranties

                  In order to induce the Agents and the Lenders to enter into this Agreement and to make the
Loans, the Borrower makes, on the Closing Date, the following representations and warranties to the Agents and
the Lenders, all of which shall survive the execution and delivery of this Agreement and the making of the Loans.

          SECTION 3.01.         Corporate Status. Each of Holdings, the Borrower and each Subsidiary of the
Borrower (a) is a duly organized and validly existing corporation or other entity in good standing (or, if
applicable in a foreign jurisdiction, enjoys the equivalent status under the laws of such jurisdiction of
organization outside the United States) under the laws of the jurisdiction of its organization and has the corporate
or other organizational power and authority to own its property and assets and to transact its business as now
conducted and (b) has duly qualified and is authorized to do business and is in good standing (if applicable) in
all jurisdictions where it is required to be so qualified, except where the failure to be so qualified or in good
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standing would not, individually or in the aggregate, reasonably be expected to have a Material Adverse Effect,
and all such jurisdictions are set forth on Schedule 3.01.

         SECTION 3.02.        Corporate Power and Authority; Enforceability; Security Interests. Each Credit
Party has the corporate or other organizational power and authority to execute, deliver and carry out the terms
and provisions of the Loan Documents to which it is a party and has taken all necessary corporate or other
organizational action to authorize the execution, delivery and performance of the Loan Documents to which it
is a party. Each Credit Party has duly executed and delivered each Loan Document to which it is a party and
each such Loan Document constitutes the legal, valid and binding obligation of such Credit Party enforceable in
accordance with its terms, subject to the effects of bankruptcy, insolvency, fraudulent conveyance,
reorganization and other similar laws relating to or affecting creditors’ rights generally and general principles of
equity (whether considered in a proceeding in equity or law).

           SECTION 3.03.       No Violation; Compliance with Laws.

                   (a)      None of the execution, delivery or performance by any Credit Party of the Loan
Documents to which it is a party or the compliance with the terms and provisions thereof will (a) contravene any
Requirement of Law in any material respect, (b) result in any material breach or material violation of any of the
terms, covenants, conditions or provisions of, or constitute a default under, or result in the creation or imposition
of (or the obligation to create or impose) any Lien upon any of the property or assets of such Credit Party or any
of the Subsidiaries (other than Liens created under the Loan Documents and Liens permitted hereunder) pursuant
to the terms of any Material Contract, indenture, loan agreement, lease agreement, mortgage, deed of trust,
agreement or other material instrument to which such Credit Party or any of the Subsidiaries is a party or by
which it or any of its property or assets is bound (any such term, covenant, condition or provision, a “Contractual
Requirement”) or (c) violate any provision of the certificate of incorporation, by-laws or other organizational
documents of such Credit Party or any of the Subsidiaries.

                  (b)       Each of Holdings, the Borrower and its Subsidiaries is in compliance in all material
respects with all Requirements of Law (it being understood, in the case of any statutes, regulations and orders
of, and all applicable restrictions imposed by, all Governmental Authorities that are specifically referred to in
any other provision of this Agreement, the Credit Parties shall also be required to represent and/or comply
with, as applicable, the express terms of such provision).

          SECTION 3.04.       Litigation. Except as set forth on Schedule 3.04, there are no actions, suits or
 proceedings, governmental investigations or arbitrations (including Environmental Claims collectively,
 “Adverse Proceedings”) pending or, to the knowledge of the Borrower, threatened in writing against or
 affecting Holdings, the Borrower, any of its Subsidiaries or any of their respective properties that would
 reasonably be expected, individually or in the aggregate, to result in a Material Liability to Holdings, the
 Borrower or any of its Restricted Subsidiaries.

          SECTION 3.05.       Margin Regulations. None of Holdings nor any of its Subsidiaries is engaged
 principally, or as one of its important activities, in the business of extending credit for the purpose of
 purchasing or carrying any “margin stock” (as defined in the Regulation U of the Board). No portion of the
 proceeds of the Loans has or will be used in any manner, whether directly or indirectly, that causes or would
 reasonably be excepted to cause, such Loan or the application of such proceeds to violate Regulation T,
 Regulation U or Regulation X of the Board or any regulation thereof or to violate the Exchange Act.

         SECTION 3.06.         Governmental Approvals. The execution, delivery and performance of each Loan
Document and the consummation of the other Transactions do not (or, in the case of each Subsidiary Guarantor,
will not) require any consent or approval of, registration or filing with, or other action by, any Governmental
Authority, except for (a) such as have been or will be prior to the Closing Date obtained or made and are or will
be prior to the Closing Date in full force and effect, (b) filings and recordings in respect of the Liens created

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pursuant to the Security Documents and (c) such consents, approvals, registrations, filings or actions the failure
of which to obtain or make would not reasonably be expected to have a Material Adverse Effect.

        SECTION 3.07.      Investment Company Act. No Credit Party is required to be registered as an
“investment company” within the meaning of the Investment Company Act of 1940, as amended.

         SECTION 3.08.        True and Complete Disclosure; Financial Condition. (a) All written factual
information (other than estimates and information of a general economic nature or general industry nature) (the
“Information”) concerning Holdings, the Borrower, its Subsidiaries, the Transactions and any other transactions
contemplated hereby prepared by or on behalf of the foregoing or their representatives and made available to
any Lenders or the Administrative Agent in connection with the Transactions or the other transactions
contemplated hereby, when taken as a whole, was true and correct in all material respects as of the date such
Information was furnished to the Lenders and as of the Closing Date and did not, taken as a whole, contain any
untrue statement of a material fact as of any such date or omit to state a material fact necessary in order to make
the statements contained therein, taken as a whole, not materially misleading in light of the circumstances under
which such statements were made.

                   (b)     The estimates and information of a general economic nature or general industry nature
prepared by or on behalf of the Borrower or any of its representatives and that have been made available to any
Lenders or the Administrative Agent in connection with the Transactions or the other transactions contemplated
hereby (i) have been prepared in good faith based upon assumptions believed by the Borrower to be reasonable
as of the date thereof, as of the date such estimates were furnished to the Lenders and as of the Closing Date,
and (ii) as of the Closing Date, have not been modified in any material respect by the Borrower.

                (c)      Since the Closing Date, there have been no events, developments or circumstances that
have had, or would reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect

         SECTION 3.09.          Tax Matters. Each of Holdings, the Borrower and the Subsidiaries has filed all
federal income Tax returns and all other material Tax returns, domestic and foreign, required to be filed by it
(including in its capacity as a withholding agent) and has paid all material Taxes payable by it that have become
due, other than those (i) not yet delinquent or (ii) being contested in good faith by appropriate proceedings and
as to which adequate reserves have been provided to the extent required by and in accordance with GAAP (or in
the case of a Foreign Subsidiary, the comparable accounting principles in the relevant jurisdiction).

         SECTION 3.10.         Compliance with ERISA.

                   (a)     Except to the extent that a breach of any of the following representations or warranties
in this Section 3.10(a) would not result, individually or in the aggregate, in a Material Liability to Holdings, the
Borrower, any of their Restricted Subsidiaries or any ERISA Affiliate: (i) Holdings, the Borrower, each of their
Restricted Subsidiaries and each ERISA Affiliate is in compliance with all applicable provisions and
requirements of ERISA and the Code and the regulations and published interpretations thereunder with respect
to each Employee Benefit Plan, and have performed all their obligations under each Employee Benefit Plan; (ii)
each Employee Benefit Plan that is intended to qualify under Section 401(a) of the Code has received a favorable
determination letter from the Internal Revenue Service indicating that such Employee Benefit Plan is so qualified
and nothing has occurred subsequent to the issuance of such determination letter that would cause such Employee
Benefit Plan to lose its qualified status; (iii) no liability to the PBGC (other than required premium payments),
the Internal Revenue Service, any Employee Benefit Plan or any trust established under Title IV of ERISA has
been or is expected to be incurred by Holdings, the Borrower, any of their Restricted Subsidiaries or any ERISA
Affiliate; (iv) no ERISA Event has occurred or is reasonably expected to occur; (v) no Plan has an Unfunded
Current Liability; (vi) except to the extent required under Section 4980B of the Code or similar state laws, no
Employee Benefit Plan provides health or welfare benefits (through the purchase of insurance or otherwise) for
any retired or former employee of Holdings, the Borrower, any of their Restricted Subsidiaries or any ERISA
Affiliate; and (vii) Holdings, the Borrower, each of their Restricted Subsidiaries and each ERISA Affiliate have
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complied with the requirements of Section 515 of ERISA with respect to each Multiemployer Plan and are not
in “default” (as defined in Section 4219(c)(5) of ERISA) with respect to payments to a Multiemployer Plan.

                  (b)      All Foreign Plans are in compliance with, and have been established, administered and
operated in accordance with, the terms of such Foreign Plans and applicable law, except for any failure to so
comply, establish, administer or operate the Foreign Plans as would not reasonably be expected to result,
individually or in the aggregate, in a Material Liability to Holdings, the Borrower or any of their Restricted
Subsidiaries. All material contributions or other payments which are due with respect to each Foreign Plan have
been made in full, and none of Holdings, the Borrower or any of their Restricted Subsidiaries has incurred any
material obligation in connection with the termination or withdrawal from any Foreign Plan. The present value
of the accrued liabilities (whether or not vested) under each Foreign Plan that is funded, determined as of the
end of the most recently ended fiscal year of Holdings, the Borrower or a Restricted Subsidiary of Holdings or
the Borrower, as applicable, on the basis of actuarial assumptions, each of which is reasonable, did not exceed
the current value of the assets of such Foreign Plan by a material amount, and for each Foreign Plan that is not
funded, the obligations of such Foreign Plan are properly accrued.

          SECTION 3.11.        Capital Stock and Ownership. The Capital Stock of the Borrower and its
 Subsidiaries has been duly authorized and validly issued and is fully paid and non-assessable in connection
 with the Plan of Reorganization. Except as set forth on Schedule 3.11, there is no existing option, warrant,
 call right, commitment or other agreement to which Holdings, the Borrower or any of its Subsidiaries is a
 party requiring, and there is no membership interest or other Capital Stock of the Borrower or any of its
 Subsidiaries outstanding, that upon conversion or exchange would require, the issuance by the Borrower or
 any of its Subsidiaries of any additional Capital Stock thereof or other securities convertible into,
 exchangeable for, or evidencing the right to subscribe for or purchase, additional Capital Stock of the
 Borrower or any of its Subsidiaries. Schedule 3.11 sets forth the ownership interest of the Borrower and
 each of its Subsidiaries as of the Closing Date.

         SECTION 3.12.         Intellectual Property. The Borrower and each of the Restricted Subsidiaries own
 or have obtained valid rights to use all intellectual property, free from any burdensome restrictions, that is
 necessary for the operation of their respective businesses as currently conducted and as proposed to be
 conducted, except where the failure to obtain any such rights would not reasonably be expected to have a
 Material Adverse Effect. Except as would not reasonably be expected to result in a Material Adverse Effect,
 none of the Borrower or any of its Subsidiaries has infringed, misappropriated, or violated any intellectual
 property rights of any third party.

         SECTION 3.13.           Environmental Laws. Except as would not, individually or in the aggregate,
reasonably be expected to result in a Material Liability, (i) Holdings, the Borrower, each of its Subsidiaries and,
to the knowledge of the Borrower, each predecessor of Holdings, the Borrower or any of its Subsidiaries
(“Predecessor”) to the extent such Predecessor’s liabilities under Environmental Law have not been discharged
under the Cases (“Predecessor Liabilities”), and each of their respective assets and operations are and have been
in compliance with all Environmental Laws and the terms and conditions of all applicable Environmental
Permits; (ii) all Environmental Permits required of Holdings, the Borrower or any of its Subsidiaries for
performance of their respective businesses as currently conducted have been obtained and are currently in full
force and effect under Environmental Law and none of Holdings, the Borrower or any of its Subsidiaries has
received any notice that any such existing Environmental Permit will be revoked or any pending application
for any new Environmental Permit or renewal of any existing Environmental Permit will be protested or denied;
(iii) none of Holdings, the Borrower, any of its Subsidiaries or, to the knowledge of the Borrower, any
Predecessor with Predecessor Liabilities has received written notice of any Environmental Claim and to
Borrower’s knowledge, there are no events or occurrences that would reasonably be expected to result in any
of Holdings’, the Borrower’s or any of its Subsidiary’s receipt of such written notice; (iv) none of Holdings,
the Borrower, any of its Subsidiaries or, to the knowledge of the Borrower, any Predecessor with Predecessor
Liabilities is subject to violations of or liabilities (including, without limitation, as a result of any Releases or
threatened Releases of Hazardous Materials) under Environmental Law, none of Holdings, the Borrower or any
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of its Subsidiaries has an actual or alleged obligation to conduct any cleanup, investigation, removal,
remediation or other corrective action pursuant to any Environmental Law at any location and to Borrower’s
knowledge, there are no events or occurrences that would reasonably be expected to result in any of Holdings,
the Borrower or any of its Subsidiaries being subject to such obligation; (v) no Hazardous Materials are being
or have been treated, stored, transported, released or disposed or arranged for disposal or transport for disposal
at, on, under or from any property in a manner that would reasonably be expected to give rise to liability of
Holdings, the Borrower or any of its Subsidiaries under Environmental Law; and (vi) none of Holdings, the
Borrower or any of its Subsidiaries has assumed or retained by contract any liabilities under any Environmental
Law or regarding any Hazardous Materials.

         SECTION 3.14.          Properties.

                   (a)      Except for the assignment or transfer of any Oil and Gas Property to the Borrower or
any of its Subsidiaries filed in connection with the Transactions in accordance with all applicable Requirements
of Law, but is currently pending approval by the applicable Governmental Authority, each of the Borrower and
its Subsidiaries has valid fee simple title to, or valid leasehold interests in, or easements or other limited property
interests in, all its real properties, good and defensible title to all Hydrocarbon Interests in the Oil and Gas
Properties evaluated in the most recently delivered or prepared Reserve Report (except for those that have been
disposed of since the date of such Reserve Report as permitted in accordance with this Agreement or leases
which have expired in accordance with its terms) and good and defensible title to all other material properties
and assets, in each case, except for Liens permitted hereunder and except for minor defects in title that do not
materially interfere with its ability to conduct its business as currently conducted or to utilize such properties
and assets for their intended purposes. All such properties and assets are free and clear of Liens, other than Liens
permitted hereunder.

                (b)      All material leases and agreements necessary for the conduct of the business of the
Borrower and the Restricted Subsidiaries are valid and subsisting, in full force and effect.

                  (c)     The rights and properties presently owned, leased or licensed by the Credit Parties
including all easements and rights of way, include all rights and properties necessary to permit the Credit Parties
to conduct their respective businesses as currently conducted, except to the extent any failure to have any such
rights or properties would not reasonably be expected to result in a Material Adverse Effect.

                  (d)       All of the properties of the Borrower and the Subsidiaries that are reasonably necessary
for the operation of their businesses are in good working condition and are maintained in all material respects in
accordance with prudent business standards.

         SECTION 3.15.          Solvency.

                  (a)      On the Closing Date, immediately after giving effect to the Transactions that occur on
the Closing Date (and as of any other date required under the Loan Documents and after giving effect to the
transactions to occur on such date), (i) the fair value of the assets of the Credit Parties on a consolidated basis,
at a fair valuation, will exceed the debts and liabilities, direct, subordinated, contingent or otherwise, of the
Credit Parties on a consolidated basis; (ii) the present fair saleable value of the property of the Credit Parties on
a consolidated basis will be greater than the amount that will be required to pay the probable liability of the
Credit Parties on a consolidated basis on their debts and other liabilities, direct, subordinated, contingent or
otherwise, as such debts and other liabilities become absolute and matured; (iii) the Credit Parties on a
consolidated basis will be able to pay their debts and liabilities, direct, subordinated, contingent or otherwise, as
such debts and liabilities become absolute and matured; and (iv) the Credit Parties on a consolidated basis will
not have unreasonably small capital with which to conduct the businesses in which they are engaged as such
businesses are now conducted and are proposed to be conducted following the Closing Date.


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                  (b)      The Borrower does not intend to, and the Borrower does not believe that it or any of
its Subsidiaries will, incur debts beyond their ability to pay such debts as they mature, taking into account the
timing and amounts of cash to be received by them or any such subsidiary and the timing and amounts of cash
to be payable on or in respect of their Indebtedness or the Indebtedness of any such Subsidiary.

           SECTION 3.16.       Anti-Corruption Laws.        None of Holdings, the Borrower or any of
 its Subsidiaries, nor, to the knowledge of Holdings, the Borrower or any of its Subsidiaries, any of their
 directors, officers, agents, employees or Affiliates has (i) used any corporate funds for any unlawful
 contribution, gift, entertainment or other unlawful expense relating to political activity, (ii) made any direct
 or indirect unlawful payment to any government official or employee from corporate funds, (iii) violated or
 is in violation of any Anti-Corruption Laws, (iv) made any unlawful bribe, rebate, payoff, influence payment,
 kickback or other unlawful payment in violation of Anti-Corruption Laws or (v) has otherwise violated any
 Anti-Corruption Laws. No part of the proceeds of the Loans will be used, directly or indirectly, in furtherance
 of an offer, payment, promise to pay or authorization of the payment or giving of money, or anything else of
 value, to any person or otherwise in any manner resulting in violation of the Anti-Corruption Laws. Holdings,
 the Borrower and its Subsidiaries have established and currently maintain policies, procedures and controls
 that are designed (and otherwise comply with applicable law) to ensure that each of Holdings, the Borrower
 and its Subsidiaries, and each of their respective directors, officers, employees and agents, is in compliance
 with all applicable current and future Anti-Corruption Laws.

           SECTION 3.17.       Anti-Terrorism and Anti-Money Laundering Laws; Sanctions.

                  (a)      None of Holdings, the Borrower or any of its Subsidiaries nor, to the knowledge of
Borrower, any director, officer, agent, employee or Affiliate of Holdings, the Borrower or any of its Subsidiaries
is or is owned or controlled by a person who is currently a Sanctioned Person.

                   (b)      Each of Holdings, the Borrower and its Subsidiaries and, to the knowledge of
Holdings, the Borrower and its Subsidiaries, their directors, officers, agents, employees or Affiliates is in
compliance with all and has not violated any Sanctions or Anti-Terrorism and Anti-Money Laundering Laws.
None of the proceeds of the Loans has or will be used, directly or indirectly, for the purpose of financing any
activities or business of or with any Sanctioned Person or in any Sanctioned Country or otherwise in any manner
that would result in a violation of Sanctions or Anti-Terrorism and Anti-Money Laundering Laws.

                   (c)    Holdings, the Borrower and its Subsidiaries have established and currently maintain
policies, procedures and controls that are designed (and otherwise comply with applicable law) to ensure that
each of Holdings, the Borrower and its Subsidiaries, and each of their respective directors, officers, employees
and agents, is in compliance with all applicable current and future Sanctions and Anti-Terrorism and Anti-Money
Laundering Laws.

         SECTION 3.18.          Gas Imbalances, Prepayments. On the Closing Date, except as set forth on
Schedule 3.18, on a net basis, there are no gas imbalances, take or pay or other prepayments exceeding 2.5 Bcfe
of Hydrocarbon volumes (stated on a gas equivalent basis) for any individual field, with respect to the Credit
Parties’ Oil and Gas Properties associated with such field that would require any Credit Party to deliver
Hydrocarbons either generally or produced from their Oil and Gas Properties at some future time without then
or thereafter receiving full payment therefor.

         SECTION 3.19.          Marketing of Production. On the Closing Date, except as set forth on Schedule
3.19, no material agreements exist (which are not cancelable on 60 days’ notice or less without penalty or
detriment) for the sale of production of the Credit Parties’ Hydrocarbons at a fixed non-index price (including
calls on, or other rights to purchase, production, whether or not the same are currently being exercised) that (i)
represent in respect of such agreements 2.5% or more of the Borrower’s average monthly production of
Hydrocarbon volumes and (ii) have a maturity or expiry date of longer than six months from the Closing Date.

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         SECTION 3.20.         Hedge Agreements. Schedule 3.20 sets forth, as of the Closing Date, a true and
complete list of all commodity Hedge Agreements of each Credit Party, the terms thereof relating to the type,
term, effective date, termination date and notional amounts or volumes, the net mark to market value thereof (as
of the last Business Day of the most recent fiscal quarter preceding the Closing Date and for which a mark to
market value is reasonably available), all credit support arrangements relating thereto (including any margin
required or supplied) and the counterparty to each such agreement.

         SECTION 3.21.      Senior Indebtedness. The Obligations of each Credit Party, as applicable,
constitute “Senior Secured Obligations” or a term of similar import under and as defined in the Intercreditor
Agreement.

         SECTION 3.22.         Defaults. No Default or Event of Default has occurred and is continuing.

          SECTION 3.23.         Labor Relations. Neither Holdings, the Borrower nor any of its Subsidiaries is
engaged in any unfair labor practice that would reasonably be expected to result in a Material Liability to
Holdings, the Borrower or any of its Restricted Subsidiaries. There is (a) no unfair labor practice complaint
pending against Holdings, the Borrower or any of its Restricted Subsidiaries, or to the best knowledge of
Holdings and the Borrower, threatened against any of them before the National Labor Relations Board and no
grievance or arbitration proceeding arising out of or under any collective bargaining agreement that is so pending
against Holdings, the Borrower or any of its Restricted Subsidiaries or to the best knowledge of Holdings and
the Borrower, threatened against any of them, (b) no strike or work stoppage in existence or threatened involving
Holdings, the Borrower or any of its Restricted Subsidiaries, and (c) to the best knowledge of Holdings and the
Borrower, no union representation question existing with respect to the employees of Holdings, the Borrower or
any of its Restricted Subsidiaries and, to the best knowledge of Holdings and the Borrower, no union organization
activity that is taking place, except (with respect to any matter specified in clause (a), (b) or (c) above, either
individually or in the aggregate) such as is not reasonably likely to result in a Material Liability to Holdings, the
Borrower or any of its Restricted Subsidiaries. No Credit Party has incurred any liability or obligation under the
Worker Adjustment and Retraining Notification Act or any similar federal or state law that remains unpaid or
unsatisfied and could reasonably be expected to, individually or in the aggregate with all such liabilities or
obligations, result in a Material Liability to Holdings, the Borrower or any of its Restricted Subsidiaries.

       SECTION 3.24.        Insurance. The Borrower and its Restricted Subsidiaries maintain insurance in
compliance with Section 5.16.

         SECTION 3.25.         Material Contracts. Schedule 3.25 contains a true, correct and complete list of all
the Material Contracts in effect on the Closing Date. All Material Contracts are in full force and effect, no
material defaults currently exist thereunder, and each such Material Contract has not been amended, waived, or
otherwise modified except as permitted under this Agreement.



                                               Conditions Precedent

        SECTION 4.01.         Conditions Precedent to Effectiveness of this Agreement. The effectiveness of
this Agreement is subject to the satisfaction of the following conditions, except as otherwise agreed or waived
pursuant to Section 8.01:

                  (a)     The Administrative Agent (or its counsel) shall have received from each party
 hereto a counterpart of this Agreement (which may include telecopy or electronic transmission of a signed
 signature page of this Agreement) signed on behalf of such party.



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                 (b)     The Administrative Agent shall have received, on behalf of itself, the Collateral Agent
and the Lenders, a customary written opinion of Weil, Gotshal & Manges LLP, counsel to the Borrower, (i)
dated the Closing Date and (ii) addressed to the Administrative Agent and the Lenders on the Closing Date. The
Borrower hereby instructs such counsel to deliver such legal opinion.

                   (c)         The Administrative Agent shall have received:

                           (i)     a copy of the certificate of formation or incorporation, as applicable, including
         all amendments thereto, of the Borrower and each other Credit Party, certified as of a recent date by the
         Secretary of State of Delaware, and a certificate as to the good standing of the Borrower and each other
         Credit Party as of a recent date from such Secretary of State, and certificates of good standing and/or
         qualifications to do business as a foreign corporation in such jurisdictions as the Administrative Agent
         reasonably requests;

                        (ii)     a certificate of the Secretary or Assistant Secretary or similar officer of the
         Borrower and each other Credit Party dated the Closing Date and certifying:

                               (1)      that attached thereto is a true and complete copy of the limited liability
                               company agreement or by-laws, as applicable, of such Person as in effect on the
                               Closing Date and at all times since a date prior to the date of the resolutions described
                               in clause (2) below,

                               (2)     that attached thereto is a true and complete copy of resolutions duly adopted
                               by the board of directors (or managing general partner, managing member or
                               equivalent) of such Person authorizing the execution, delivery and performance of this
                               Agreement and the borrowings hereunder and each other Loan Document entered into
                               on the Closing Date, and that such resolutions have not been modified, rescinded or
                               amended and are in full force and effect on the Closing Date,

                               (3)      that the certificate of formation or incorporation, as applicable, of such Person
                               has not been amended since the date of the last amendment thereto disclosed pursuant
                               to clause (i) above,

                               (4)     as to the incumbency and specimen signature of each officer executing any
                               Loan Document or any other document delivered in connection herewith on behalf of
                               the Borrower and each other Credit Party, and

                               (5)       a certificate of a director or an officer as to the incumbency and specimen
                               signature of the Secretary or Assistant Secretary or similar officer executing the
                               certificate pursuant to clause (ii) above.

                  (d)    The Administrative Agent shall have received executed copies of (i) the Guarantee,
executed by Holdings and each Subsidiary which will be a Subsidiary Guarantor on the Closing Date and (ii)
the Intercreditor Agreement.

                 (e)    The Administrative Agent shall have received the Collateral Agreement, executed and
delivered by the Borrower and each Guarantor.

                 (f)     (i) the Administrative Agent shall have received the results of lien searches with
respect to the Credit Parties and (ii) subject to Section 5.34, the Administrative Agent shall have received
evidence of insurance coverage of the Credit Parties evidencing that such Credit Party is carrying insurance in
accordance with Section 5.16.

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                (g)     The Borrower shall have received, concurrently with the occurrence of the Closing
Date, proceeds of the SLTL Facility in a minimum aggregate principal amount of not less than $140,000,000
and not more than $185,000,000.

                 (h)      After giving effect to the consummation of the Transactions, Holdings and its
Subsidiaries shall have no obligations in respect of, nor any Liens on their assets or Equity Interests securing, in
each case, Indebtedness for borrowed money other than in respect of this Agreement and the SLTL Facility;

                 (i)     The Restructuring Transactions (as defined in the Plan of Reorganization) shall have
been, or shall substantially simultaneously be, consummated and effective in accordance with the Plan of
Reorganization, the Plan Supplement (as defined in the Plan of Reorganization) and the Plan of Merger (as
defined in the Plan of Reorganization), as applicable and the Effective Date (as defined in the Plan of
Reorganization) shall have occurred.

                  (j)       The transactions contemplated by the Credit Bid Purchase Agreement shall have been,
or shall substantially simultaneously be, consummated, in all material respects, in accordance with the terms of
the Credit Bid Purchase Agreement in the version attached to the draft of the Disclosure Statement (as defined
in the Plan of Reorganization) at Docket No. 1022 (including all annexes, schedules and exhibits thereto, the
“Approved Credit Bid Purchase Agreement”); provided that any amendments, modifications and waivers to the
Approved Credit Bid Purchase Agreement, and consents granted thereunder, in each case, that (i) individually
or in the aggregate, result in a reduction of 10% or more of the total PV-10 of total 2P Reserves comprising the
assets acquired by Credit Bid Purchaser (which shall be calculated by reference to the FWE YE2020 Internal
Reserve Report (as of 5.1.21)), (ii) results in any contract rights constituting material assets not being acquired
by Credit Bid Purchaser, (iii) individually or in the aggregate, results in an increase by $40,000,000 or more
(which, for the avoidance of doubt, in the case of plugging and abandonment liabilities, shall be calculated on a
present value basis) in liabilities assumed by Credit Bid Purchaser, (iv) provide for any change in treatment of
the Prepetition FLFO Credit Agreement or this Agreement, or (v) provide for any differences from the Approved
Credit Bid Purchase Agreement that are materially adverse to the interests of Administrative Agent and the
Lenders, in their capacity as such, in each case, shall have been consented to by the Administrative Agent (which,
in the case of clauses (ii) and (v) above, shall not be unreasonably withheld);

                (k)     All Material Contracts binding on the Credit Parties as of the Closing Date shall be in
form and substance reasonably acceptable to the Administrative Agent;

                 (l)      Subject to Section 5.34, all documents and instruments, including Uniform
Commercial Code or other applicable personal property and financing statements, reasonably requested by the
Collateral Agent or the Required Lenders to be filed, registered or recorded to create the Liens intended to be
created by any Security Document and perfect such Liens to the extent required by, and with the priority required
by, such Security Document shall have been delivered to the Collateral Agent for filing, registration or recording
by or on behalf of the Collateral Agent.

                 (m)     The Administrative Agent shall have received executed Mortgages, together with
customary local counsel legal opinions, with respect to 100% of the Oil and Gas Properties (and related assets)
owned by the Credit Parties as of the Closing Date (after giving effect to the transactions contemplated by the
Credit Bid Purchase Agreement).

                (n)     All Equity Interests of the Borrower and each Subsidiary directly owned by the
Borrower or any Guarantor, in each case as of the Closing Date, shall have been pledged pursuant to the
Collateral Agreement (except that such Credit Parties shall not be required to pledge any Excluded Equity
Interests).

                  (o)       On the Closing Date, the Administrative Agent shall have received a solvency
certificate substantially in the form of Exhibit I hereto and signed by a Financial Officer of the Borrower.
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                 (p)      The Administrative Agent shall have received a Reserve Report evaluating the
Acquired Interests constituting Proved Reserves of the Credit Parties with a recent “as of” date, in form and
substance acceptable to the Administrative Agent (it being understood and agreed that the Reserve Report
delivered with an “as of” date of December 31, 2020 is satisfactory to the Administrative Agent).

                  (q)     The Credit Parties shall have aggregate Unrestricted Cash as of the Closing Date on a
pro forma basis (including after payment of Restructuring Expenses (as defined in the Plan of Reorganization)
and separate from additional cash reserves to be established on the Closing Date for anticipated litigation
settlements (to the extent known to be payable by the Credit Parties or otherwise required under GAAP to be
included on the face of the Credit Parties’ financial statements) of at least $[__]) of not less than $100,000,000.

                  (r)      The Credit Parties shall (x) be in pro forma compliance (after giving effect to the
Transactions and the Restructuring Transactions (as defined in the Plan of Reorganization)) with (i) a
Consolidated Total Net Leverage Ratio (calculated, solely for the purposes of this Section 4.01(r), assuming
EBITDAX of $[Ɣ]5) of not greater than 2.25:1.00 and (ii) an Asset Coverage Ratio (calculated utilizing the
Reserve Report delivered pursuant to Section 4.01(p), but rolled forward to a date, and based on a price deck, in
each case, satisfactory to the Administrative Agent in its sole discretion) of not less than 2.25:1.00 and (y) shall
have delivered a certification of a Financial Officer of the Borrower as to such compliance and attaching
calculations in form and substance reasonably satisfactory to the Administrative Agent in its sole discretion.

                  (s)       The Agents shall have received all fees payable thereto (including pursuant to the Fee
Letter) on or prior to the Closing Date and, to the extent invoiced, all other amounts due and payable pursuant to
the Loan Documents on or prior to the Closing Date, including, to the extent invoiced at least one (1) Business
Day prior to the Closing Date, reimbursement or payment of all reasonable out-of-pocket expenses (including
reasonable fees, charges and disbursements of Vinson & Elkins LLP) required to be reimbursed or paid by the
Credit Parties hereunder or under any Loan Document.

                 (t)      The Administrative Agent shall have received at least three (3) Business Days prior to
the Closing Date all documentation and other information required by regulatory authorities under applicable
“know your customer” and anti-money laundering rules and regulations, including without limitation, the USA
PATRIOT Act and the Beneficial Ownership Regulation, that has been requested not less than ten (10) Business
Days prior to the Closing Date.

                  (u)      On the Closing Date, all representations and warranties made by any Credit Party
contained herein or in the other Loan Documents shall be true and correct in all material respects (or with respect
to representations and warranties that contain a materiality qualifier, in all respects) with the same effect as
though such representations and warranties had been made on and as of such date (expect where such
representations and warranties expressly relate to an earlier date, in which case such representations and
warranties shall have been trued and correct in all material respects as of such earlier date).

               (v)     No Default or Event of Default shall have occurred and be continuing or would result
from the consummation of the Transactions.

                 (w)      (A) Since the Execution Date (as defined in the Credit Bid Purchase Agreement), no
Material Adverse Effect (as defined in the Credit Bid Purchase Agreement) (or any result, event, occurrence,
change, circumstance, consequence or development that, individually or in the aggregate would reasonably be
expected to result in a Material Adverse Effect (as defined in the Credit Bid Purchase Agreement)) shall have
occurred and (B) since the Execution Date (as defined in the Commitment Letter), there has been no occurrence,
development or change that has had or would reasonably be expected to have, individually or in the aggregate,
a Material Adverse Effect (provided that, for the avoidance of doubt, any change, development or occurrence,

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arising individually or in the aggregate, from events that would reasonably be expected to result from the
pendency of the Cases shall not constitute a Material Adverse Effect).

                  (x)    The Disclosure Statement (as defined in the Plan of Reorganization) shall be in form
and substance reasonably acceptable to the Administrative Agent and the Plan of Reorganization and
Confirmation Order shall be in form and substance acceptable to the Administrative Agent (it being understood
that the Plan of Reorganization in the form attached as Annex C to the Commitment Letter, dated as of March
23, 2021 (the “Commitment Letter”), is acceptable to the Administrative Agent, as such Plan of Reorganization
may be modified with the consent of the Administrative Agent (not to be unreasonably withheld)).

                (y)      The Administrative Agent shall be reasonably satisfied with the status of title of the
Oil and Gas Properties of the Credit Parties on the Closing Date.

                   (z)      The Administrative Agent shall have received, in form and substance reasonably
satisfactory to it, all other reports, financial statements, budgets, projections, audits or certifications as it may
reasonably request within a reasonable period in advance of the Closing Date.

For purposes of determining compliance with the conditions specified in this Article IV, each Lender shall be
deemed to have consented to, approved or accepted or deemed to be satisfied with each document or other matter
required thereunder to be consented to or approved by, or acceptable or satisfactory to, the Lenders unless an
office of the Administrative Agent shall have received notice from such Lender prior to the Closing Date
specifying its objection thereto.



                                                     Covenants

         SECTION 5.01.    Information Covenants. The Borrower will furnish to the Administrative Agent
(which shall promptly make such information available to the Lenders in accordance with its customary
practice):

                              (a)    Annual Financial Statements. Within 105 days after the end of each such
           fiscal year, the audited consolidated balance sheets of the Borrower and the Subsidiaries and, if
           different, the Borrower and the Restricted Subsidiaries, in each case as at the end of such fiscal year,
           and the related consolidated statements of operations, shareholders’ equity and cash flows for such
           fiscal year, and, beginning with the fiscal year ending December 31, 2023, setting forth comparative
           consolidated figures for the preceding fiscal years (or, in lieu of such audited financial statements of
           the Borrower and the Restricted Subsidiaries, a reconciliation, reflecting such financial information
           for the Borrower and the Restricted Subsidiaries, on the one hand, and the Borrower and the
           Subsidiaries, on the other hand, reflecting adjustments necessary to eliminate the accounts of the
           Closing Date Unrestricted Subsidiary from such consolidated financial statements) prepared in
           accordance with GAAP, and, except with respect to such reconciliation, certified by independent
           certified public accountants of recognized national standing whose opinion shall not be qualified with
           a scope of audit or “going concern” or like qualification or exception (other than with respect to, or
           resulting from, the occurrence of an upcoming maturity date of Indebtedness within one year of the
           date of such opinion). Notwithstanding the foregoing, the obligations in this Section 5.01(a) may be
           satisfied with respect to financial information of the Borrower and its consolidated Subsidiaries by
           furnishing the applicable financial statements of any direct or indirect parent of the Borrower;
           provided that (i) to the extent such information relates to a Parent Entity of the Borrower, such
           information is accompanied by consolidating information that explains in reasonable detail the
           differences between the information relating to such Parent Entity and its consolidated Subsidiaries,
           on the one hand, and the information relating to the Borrower and its consolidated Subsidiaries and
           the Borrower and its consolidated Restricted Subsidiaries on a standalone basis, on the other hand
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           and (ii) to the extent such information is in lieu of information required to be provided under the first
           sentence of this Section 5.01(a), such materials are accompanied by an opinion of an independent
           registered public accounting firm of recognized national standing, which opinion shall not be
           qualified with a scope of audit or “going concern” or like qualification or exception (other than with
           respect to, or resulting from, the occurrence of an upcoming maturity date of Indebtedness within one
           year of the date of such opinion).

                  (b)      Quarterly Financial Statements.      On or before the date that is 45 days after each
quarterly accounting period in each fiscal year of the Borrower, the consolidated balance sheets of the Borrower
and the Subsidiaries and, if different, the Borrower and the Restricted Subsidiaries, in each case as at the end of
such quarterly period and the related consolidated statements of operations, shareholders’ equity and cash flows
for such quarterly accounting period and for the elapsed portion of the fiscal year ended with the last day of such
quarterly period, and setting forth comparative consolidated figures for the related periods in the prior fiscal year
or, in the case of such consolidated balance sheet, for the last day of the prior fiscal year (or, in lieu of such
unaudited financial statements of the Borrower and the Restricted Subsidiaries, a reconciliation reflecting such
financial information for the Borrower and the Restricted Subsidiaries, on the one hand, and the Borrower and
the Subsidiaries, on the other hand, reflecting adjustments necessary to eliminate the accounts of the Closing
Date Unrestricted Subsidiary from such consolidated financial statements), all of which shall be certified by a
Financial Officer of the Borrower as fairly presenting in all material respects the financial condition, results of
operations, shareholders’ equity and cash flows, of the Borrower and its consolidated Subsidiaries in accordance
with GAAP, subject to changes resulting from audit and normal year-end audit adjustments and the absence of
footnotes. Notwithstanding the foregoing, the obligations in this Section 5.01(b) may be satisfied with respect
to financial information of the Borrower and its consolidated Subsidiaries by furnishing the applicable financial
statements of any direct or indirect parent of the Borrower; provided that to the extent such information relates
to a parent of the Borrower, such information is accompanied by consolidating information that explains in
reasonable detail the differences between the information relating to such parent and its consolidated
Subsidiaries, on the one hand, and the information relating to the Borrower and its consolidated Subsidiaries and
the Borrower and its consolidated Restricted Subsidiaries on a standalone basis, on the other.

                   (c)         Notice of Default; Litigation; ERISA Events and Other Events.

                          (i)      Promptly after an Authorized Officer of the Borrower or any of the Restricted
         Subsidiaries obtains actual knowledge thereof, notice of (A) the occurrence of any Default or Event of
         Default, which notice shall specify the nature thereof, the period of existence thereof and what action
         the Borrower proposes to take with respect thereto, (B) any Adverse Proceeding, and (C) the occurrence
         of any ERISA Event or similar event with respect to a Plan, Multiemployer Plan or Foreign Plan, in the
         case of clauses (B) and (C), that would reasonably be expected to result in a Material Liability to
         Holdings, the Borrower or any of its Restricted Subsidiaries.

                           (ii)     In the event that Holdings, Borrower or any of its Restricted Subsidiaries shall
         intend to enter into any settlement agreement with any Governmental Authority in connection with any
         Adverse Proceeding for which the Borrower or any of the Restricted Subsidiaries are required to have
         given notice pursuant to paragraph (i)(B) above, the Borrower shall give the Administrative Agent
         reasonable prior written notice (and in any event, not less than five (5) Business Days’ prior notice) of
         such intention, the material terms thereof, the anticipated date of entry and any other details thereof
         reasonably requested by the Administrative Agent.

                           (iii)   In the event the Borrower or any Restricted Subsidiary intends to dispose of
         any property pursuant to an Asset Sale or consummate any Hedge Unwind Event, in each case that
         would result in a mandatory prepayment being required to be made pursuant to Section 2.13(a) (without
         giving effect to any threshold amounts or reinvestment rights set forth in such Section), the Borrower
         shall give the Administrative Agent reasonable prior written notice of such Asset Sale or Hedge Unwind
         Event, the material terms thereof and the anticipated date of closing and any other details thereof
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         reasonably requested by the Administrative Agent or any Lender; provided that, if market or other
         strategic considerations make prior notice of a Hedge Unwind Event disadvantageous to the Credit
         Parties or impractical, the Borrower shall only be required to provide notice within 1 Business Day of
         such Hedge Unwind Event.

                          (iv)      In the event that the Borrower or any Restricted Subsidiary intends to incur
         any Indebtedness for borrowed money that will have an aggregate principal (or committed) balance of
         $10,000,000 or more, the Borrower shall give the Administrative Agent reasonable prior written notice
         (and in any event not less than three (3) Business Days’ prior notice) of such incurrence of Indebtedness,
         the material terms thereof and the anticipated date of closing and any other details thereof reasonably
         requested by the Administrative Agent or any Lender.

                           (v)       Promptly, and in any event within two (2) days after (A)(x) any Material
         Contract of the Borrower or any of its Restricted Subsidiaries is terminated or amended in a manner that
         is materially adverse to the Borrower or any of its Restricted Subsidiaries or to the Lenders or (y) any
         new Material Contract is entered into, or (B) any officer of the Borrower or any of its Subsidiaries
         obtaining actual knowledge (x) of any condition or event that constitutes a material default or an event
         of default under any Material Contract, (y) that any event, circumstance, or condition exists or has
         occurred that gives any counterparty to such Material Contract a termination or assignment right
         thereunder, or (z) that notice has been given to the Borrower or any of its Subsidiaries asserting that any
         such condition or event has occurred, the Borrower shall deliver to the Administrative Agent a certificate
         of an Authorized Officer specifying the nature and period of existence of such condition or event and,
         in the case of clause (A), including copies of such material amendments or new contracts and, in the
         case of clause (B), as applicable, explaining the nature of such claimed default or event of default, and
         including an explanation of any actions being taken or proposed to be taken by the Borrower and its
         Restricted Subsidiaries with respect thereto.

                  (d)      Environmental Matters. Promptly after the receipt or discovery by an officer of
Holdings, the Borrower or any of its Restricted Subsidiaries of information (including, but not limited to, as a
result of performance of environmental site assessments, audits, invasive sampling and testing of environmental
conditions, or receipt of correspondence from or discussions with Governmental Authorities or other Persons)
regarding any one or more of the following environmental matters, unless such environmental matters would
not, individually, or when aggregated with all other such matters, be reasonably expected to result in a Material
Liability to Holdings, the Borrower or any of its Restricted Subsidiaries, notice of:

                               (i)   any pending or threatened Environmental Claim against any Credit Party; and

                           (ii)     the occurrence of any event or discovery of any circumstance that is or would
         reasonably be expected to result in a violation or liability under Environmental Law including, without
         limitation, any actual presence, Release or threatened Release of, or exposure to, any Hazardous
         Material on, at, under or from (A) any facility owned, leased or operated by a Credit Party or (B) any
         real property offsite such facility that is (x) located adjacent or in close proximity to such facility under
         circumstances where the presence, Release or threatened Release of, or exposure to, Hazardous
         Materials may reasonably be expected to threaten the facility or (y) where Holdings, Borrower or any
         of the Subsidiaries transported or disposed, or arranged for the disposal or transport for disposal of
         Hazardous Materials or the conduct of any cleanup, investigation, removal, remediation or other
         corrective action in response to the actual or alleged presence, Release or threatened Release of, or
         exposure to, any Hazardous Material on, at, under or from (1) any facility owned, leased or operated by
         a Credit Party or (2) any real property offsite such facility that is (x) located adjacent or in close
         proximity to such facility under circumstances where the presence, Release or threatened Release of, or
         exposure to, Hazardous Materials may reasonably be expected to threaten the facility or (y) where
         Holdings, Borrower or any of the Subsidiaries transported or disposed, or arranged for the disposal or
         transport for disposal of Hazardous Materials.
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All such notices shall describe in reasonable detail the nature of the claim, including, without limitation,
providing facts and circumstances of which any Credit Party or any of the Subsidiaries is aware giving rise to
the claim, together with planned or any implemented cleanups, investigations, removals, remediations or other
corrective actions, any proposed actions to modify operations in a manner that could be expected to subject the
Credit Parties to new or added obligations or requirements under Environmental Law, any estimates of damages
and costs to cure the claim, any governmental Environmental Claims or threatened Environmental Claims, any
governmental requests for information regarding the claim, and any reserves, contractual indemnifications or
insuring agreements that may be relied upon by any of Holdings, the Borrower or any of the Subsidiaries in
connection with the claim. Such notice is not intended to create, nor shall it create, any obligation upon the
Administrative Agent or any Lender with respect thereto. Upon reasonable request of the Administrative Agent
or any Lender, the Credit Parties will be obligated to supply such Person with supporting non-privileged
documentation with respect to such claim and any responses thereto, and the Credit Parties shall have a
continuing obligation to provide prompt status updates on such until such time as the claim is fully resolved
(provided that, to the extent any information is withheld due to privilege, the Borrower agrees to provide written
notice of the reason for such information being withheld).

                   (e)      Officers’ Certificates. At the time of the delivery of the financial statements provided
for in Section 5.01(a) and Section 5.01(b) (other than with respect to delivery of the financial statements required
by Section 5.01(b) with respect to the fourth fiscal quarter of any fiscal year of the Borrower), commencing with
respect to certificates delivered for the fiscal quarter ending June 30, 2021, a certificate of a Financial Officer of
the Borrower to the effect that no Default or Event of Default has occurred and is continuing or, if any Default
or Event of Default does exist, specifying the nature and extent thereof, which certificate shall (i) set forth a
reasonably detailed calculation of the Consolidated Total Leverage Ratio, Consolidated First Lien Leverage
Ratio and Asset Coverage Ratio, including a high level summary of the non-proprietary information included in
the most recently produced Reserve Report which is relevant to calculation of such ratios, (ii) set forth a
reasonably detailed calculation of Consolidated Excess Cash for such fiscal period and (iii) a list of all
commodity Hedge Agreements of the Borrower and each Credit Party, the material terms thereof (in respect of
the type, term, effective date, termination date and notional amounts or volumes), the net mark-to-market value
thereof (as of the last Business Day of such fiscal year or quarter, as applicable and for which a mark-to- market
value is reasonably available).

                 (f)      Other Information. With reasonable promptness, such other information regarding
the operations, business affairs and the financial condition of the Borrower or the Restricted Subsidiaries as the
Administrative Agent on behalf of any Lender (acting through the Administrative Agent) may reasonably request
in writing from time to time. Notwithstanding anything to the contrary in this Section 5.01(f), neither the
Borrower nor any Restricted Subsidiary will be required to disclose, permit the inspection, examination or
making copies or abstracts of, or discussion of, any document, information or other matter (i) that constitutes
non-financial trade secrets or non-financial proprietary information, (ii) in respect of which disclosure to the
Administrative Agent or any Lender (or their respective representatives or contractors) is prohibited by any
Requirement of Law or any binding confidentiality provision (so long as not entered into with the intention of
circumventing this provision) or (iii) that is subject to attorney-client or similar privilege or constitutes attorney
work product; provided that, to the extent any information is withheld pursuant to the foregoing, the Borrower
agrees to provide written notice of the reason for such information being withheld.

                   (g)     Budget. Within 60 days after the end of each fiscal year of the Borrower (beginning
 with the fiscal year ending December 31, 2021), a reasonably detailed consolidated budget for the following
 fiscal year as customarily prepared by management of the Borrower (including select balance sheet items of
 the Borrower and its Subsidiaries as of the end of the following fiscal year and a summary of the material
 underlying assumptions applicable thereto) (collectively, the “Budget”), which Budget shall in each case be
 accompanied by a certificate of an Authorized Officer stating that such Budget has been prepared in good
 faith on the basis of the assumptions stated therein, which assumptions were believed to be reasonable at the
 time of preparation of such Budget, it being understood that actual results may vary from such Budget.

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                   (h)    Production Report; List of Purchasers. Promptly after request by the Administrative
 Agent, (i) a report setting forth, for each calendar month during the then current fiscal year to date, the
 volume of production of Hydrocarbons for each such calendar month and/or (ii) a list of Persons purchasing
 Hydrocarbons from any Credit Party who collectively account for at least 80% of the revenues resulting from
 the sale of all Hydrocarbons from the Credit Parties during the period for which such request was made;
 provided that, so long as no Event of Default has occurred and is continuing, the Administrative Agent shall
 only be permitted to make up to two (2) requests in any fiscal year.

                   (i)    Title Information. Promptly after request by the Administrative Agent, title
 information in form and substance acceptable to the Administrative Agent in its reasonable discretion
 covering the Oil and Gas Properties evaluated in the Latest Reserve Report that were not included in the
 immediately preceding Reserve Report, so that the Administrative Agent shall have received together with
 title information previously delivered to the Administrative Agent, title information in respect of the Oil and
 Gas Properties of the Borrower and its Subsidiaries as is satisfactory to the Administrative Agent in its
 reasonable discretion.

                   It is understood that documents required to be delivered pursuant to Sections 5.01(a) through
(i) may be delivered electronically and if so delivered, shall be deemed to have been delivered on the date (a) on
which such documents are transmitted by electronic mail to the Administrative Agent or (b) on which such
documents are posted by the Borrower or on the Borrower’s behalf on any relevant website to which each Lender
and the Administrative Agent have access (whether a commercial, third-party website or whether sponsored by
the Administrative Agent or the administrative agent under the SLTL Credit Agreement); provided that: (i) upon
written request by the Administrative Agent, the Borrower shall deliver paper copies of such documents
delivered pursuant to Sections 5.01(a), 5.01(b) and 5.01(c), to the Administrative Agent for further distribution
to each Lender until a written request to cease delivering paper copies is given by the Administrative Agent and
(ii) the Borrower shall notify (which may be by facsimile or electronic mail) the Administrative Agent of the
posting of any such documents and provide to the Administrative Agent by electronic mail electronic versions
(i.e., soft copies) of such documents. Each Lender shall be solely responsible for timely accessing posted
documents or requesting delivery of paper copies of such documents from the Administrative Agent and
maintaining its copies of such documents.

                 The Administrative Agent shall have no responsibility or liability for the filing, timeliness or
content of any report required under this Section 5.01 or any other reports, information and documents required
under this Agreement.

         SECTION 5.02.         Environmental Covenants.

                 (a)       Except as could not reasonably be expected to result in a Material Liability to
Holdings, the Borrower or any of its Restricted Subsidiaries, each of Holdings and the Borrower will comply,
and shall cause each of its Subsidiaries (and shall use commercially reasonable efforts to cause all other Persons,
if any, on or occupying any assets of Holdings, the Borrower or any of its Subsidiaries) to comply with all
Environmental Laws and Environmental Permits; obtain and renew, and cause each of its Subsidiaries to obtain
and renew, all Environmental Permits necessary for each of their respective operations and assets; and conduct,
and cause each of its Subsidiaries to conduct, any cleanup, investigation, removal, remediation or other
corrective action with respect to any actual or alleged violation of Environmental Law or in response to any
Release or threatened Release of, or exposure to, any Hazardous Materials from, at or about any of their
respective assets or otherwise relating to or arising out of each of their respective operations, to the extent
required by, and in compliance with, all Environmental Laws.

                  (b)      In the event and to the extent that Holdings, the Borrower or any of its Subsidiaries
shall fail to promptly conduct any cleanup, investigation, removal, remediation, or other corrective action with
respect to any violation of Environmental Law or any Hazardous Materials as set forth in Section 5.02(a), above,
or as otherwise required by Environmental Law, Environmental Permit or a Governmental Authority, which
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such failure would reasonably be expected to have a Material Adverse Effect, the Administrative Agent on behalf
of the Lenders may, but without the obligation to do so, for the sole purpose of protecting the Lenders’ interest
in the Collateral, upon five (5) Business Days’ written notification to the Borrower, enter onto any Holdings,
Borrower’s or any Subsidiaries’ property (or authorize third parties to enter onto any such Person’s property)
and conduct such cleanups, investigations, removals, remediations, or other corrective actions required by
Environmental Law, Environmental Permit or the Governmental Authority with respect to any such violation or
Hazardous Material. All reasonable and documented costs and expenses incurred by the Administrative Agent
and Lenders (or such third parties) in the exercise of any such rights under this Section 5.02(b), including any
sums paid in connection with any judicial or administrative investigation or proceedings, fines and penalties,
shall be paid by the Borrower within thirty (30) days of written demand by the Administrative Agent, and until
paid shall be added to and become a part of the Loan Obligations.

                  (c)      In the event there is a Release or threatened Release of, or exposure to, any Hazardous
Materials or a failure to comply with any Environmental Law or Environmental Permit at Holdings’, the
Borrower’s or any of its Subsidiaries’ assets caused in whole or in part by any of such Persons, which in any
event is reasonably expected to have a Material Adverse Effect, Holdings, the Borrower and each of its
Subsidiaries shall comply with all reasonable written requests for information made by the Administrative Agent
with respect to such matters. Such information reasonably requested may include, at the Borrowers’ expense, an
environmental site assessment (including invasive sampling and testing) or environmental compliance audit of
any such Person’s assets caused by any of Holdings, the Borrower or any of its Subsidiaries, to be prepared by
a nationally recognized environmental consulting or engineering firm, to assess such Release, threatened
Release, exposure or noncompliance with any Environmental Law or Environmental Permit; provided, however,
that any environmental site assessment, environmental compliance audit or similar report acceptable to the
Governmental Authority that is charged to oversee any cleanup, investigation, removal, remediation or other
corrective action related to such matters shall be deemed acceptable to the Administrative Agent and the Lenders.

                   (d)     The Borrower shall defend and indemnify the Agents and the Lenders and hold the
Agents, the Lenders and their respective employees, agents, directors and officers harmless from and against all
loss, liability, reasonable expense, claims, costs, monetary sanctions, fines and penalties, including, without
limitation, reasonable and documented out-of-pocket attorney’s fees, suffered or incurred by the Agents or the
Lenders under or on account of any Environmental Claim, Hazardous Material, Environmental Law or
Environmental Permit, including without limitation, with respect to the presence, Release or threatened Release
of, or exposure to, any Hazardous Materials affecting Holdings’, the Borrower’s or any of its Subsidiaries’ assets
or operations whether or not the same originates or emerges from any such Person’s assets or operations or as a
result of any third party’s conduct or operations at any nearby site or location, except to the extent such loss,
liability, damage and expense is attributable to any presence, Release or threatened Release of, or exposure to,
Hazardous Materials that is found by a final and non-appealable judgment of a court of competent jurisdiction
to have directly and solely been caused by the gross negligence or willful misconduct of such indemnified party
under this Section 5.02(d). The Borrower’s obligations under this Section 5.02(d) exist regardless of whether or
not any federal, state or local environmental agency has taken or threatened any action in connection with the
presence, Release or threatened Release of, or exposure to, any such Hazardous Material. The Borrower’s
obligations and the indemnifications hereunder shall survive repayment of the Loans and all other amounts
payable hereunder, and the earlier resignation or removal of any Agent.

                  (e)      Upon reasonable request of the Administrative Agent, each of Holdings and the
Borrower will make available, and shall cause each of its Subsidiaries to make available complete and correct
copies of all environmental site assessments, audits and similar reports and studies, and all documentation and
correspondence addressing potentially material environmental liabilities relating to Holdings, the Borrower or
any of its Subsidiaries or any of their ownership or operation of the assets.

         SECTION 5.03.           End of Fiscal Years; Fiscal Quarters. The Borrower will, for financial reporting
purposes, cause each of its, and each of its Restricted Subsidiaries’, fiscal years and fiscal quarters to end on, in
the case of the fiscal year, the last day of each calendar year, and in the case of any fiscal quarter, the day of each
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calendar quarter; provided, however, that the Borrower may, upon written notice to the Administrative Agent
change the financial reporting convention specified above to any other financial reporting convention reasonably
acceptable to the Administrative Agent in its Permitted Business Judgment, in which case the Borrower and the
Administrative Agent will, and are hereby authorized by the Lenders to, make any adjustments to this Agreement
that are necessary in order to reflect such change in financial reporting.

          SECTION 5.04.      Use of Proceeds. The Borrower will use the proceeds of the Loans, together
 with the loans under the SLTL Facility, on the Closing Date, to consummate the Transactions.

         SECTION 5.05.        Change in Business. The Borrower and its Restricted Subsidiaries, taken as a
whole, will not fundamentally and substantively alter the character of their business, taken as a whole, from the
business conducted by them on the Closing Date, the business of Permitted Business Investments by the
Borrower and its Restricted Subsidiaries and other business activities incidental, reasonably related or ancillary
to any of the foregoing and reasonable extensions thereof.

        SECTION 5.06.              Limitation on Incurrence of Indebtedness and Issuance of Disqualified Stock and
Preferred Stock.

                 (a)      The Borrower shall not, and shall not permit any of its Restricted Subsidiaries to Incur
any Indebtedness or issue any shares of Disqualified Stock; and the Borrower shall not permit any of its
Restricted Subsidiaries (other than a Subsidiary Guarantor) to issue any shares of Preferred Stock.

                   (b)         The limitations set forth in Section 5.06(a) shall not apply to:

                           (i)  the Incurrence by the Borrower or any Restricted Subsidiary of Indebtedness
           under the Loan Documents (including the Loans and any guarantees thereof (including the Guarantee));

                            (ii)    the Incurrence by the Borrower or any Restricted Subsidiary of Indebtedness
         under the SLTL Credit Agreement up to an aggregate principal amount that does not exceed, at the time
         of Incurrence, $[185,000,000]6 plus (x) the aggregate principal amount of any [Incremental Facility] (as
         defined in the SLTL Credit Agreement) so long as the sum of the aggregate principal amount of such
         [Incremental Facility] does not exceed the Incremental Cap (as defined in the SLTL Credit Agreement
         as in effect on the Closing Date) and (y) any interest which has been paid-in-kind and capitalized on the
         outstanding aggregate principal amount of the SLTL Credit Agreement (including any [Incremental
         Facility] (as defined in the SLTL Credit Agreement)) in accordance with the terms of the SLTL Credit
         Agreement as in effect on the Closing Date;

                          (iii)     Indebtedness existing on the Closing Date and listed on Schedule 5.06
         (without giving effect to any increases in principal amount thereof following the Closing Date);

                           (iv)     Indebtedness (including Capitalized Lease Obligations) Incurred by the
         Borrower or any of its Restricted Subsidiaries within 180 days of the acquisition, lease, construction,
         repair, replacement or improvement of property (real or personal) or equipment (whether through the
         direct purchase of assets or the Capital Stock of any Person owning such assets) in an aggregate principal
         amount that, when aggregated with the principal amount of all other Indebtedness then outstanding and
         Incurred pursuant to this clause (iv), together with any Refinancing Indebtedness in respect thereof
         Incurred pursuant to clause (xi) below, does not exceed $10,000,000 at any time outstanding;




6 Note to Draft: to match to principal amount incurred on the Closing Date.



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                           (v)     Indebtedness of the Borrower to a Restricted Subsidiary or of a Restricted
         Subsidiary to another Restricted Subsidiary; provided that any such Indebtedness owed to a Restricted
         Subsidiary that is not a Subsidiary Guarantor is subordinated in right of payment to the obligations of
         the Borrower under the Loans pursuant to an intercompany note that is reasonably satisfactory in form
         and substance to the Administrative Agent; provided, further, that any subsequent issuance or transfer
         of any Capital Stock or any other event which results in any such Restricted Subsidiary ceasing to be a
         Restricted Subsidiary or any other subsequent transfer of any such Indebtedness (except to the Borrower
         or another Restricted Subsidiary or any pledge of such Indebtedness constituting a Permitted Lien but
         not the transfer thereof upon foreclosure) shall be deemed, in each case, to be an Incurrence of such
         Indebtedness not permitted by this clause (v);

                          (vi)     shares of Preferred Stock of a Restricted Subsidiary issued to the Borrower or
         a Subsidiary Guarantor; provided that any subsequent issuance or transfer of any Capital Stock or any
         other event which results in any Restricted Subsidiary that holds such shares of Preferred Stock of
         another Restricted Subsidiary ceasing to be a Restricted Subsidiary or any other subsequent transfer of
         any such shares of Preferred Stock (except to the Borrower or another Restricted Subsidiary) shall be
         deemed, in each case, to be an issuance of shares of Preferred Stock not permitted by this clause (vi);

                            (vii)  Indebtedness of a Restricted Subsidiary to the Borrower or another Restricted
         Subsidiary; provided that such Indebtedness is subordinated in right of payment to the Loan Obligations
         pursuant to an intercompany note that is reasonably satisfactory in form and substances to the
         Administrative Agent and duly pledged as Collateral under the Collateral Agreement; provided, further,
         that any subsequent issuance or transfer of any Capital Stock or any other event which results in any
         Restricted Subsidiary holding such Indebtedness ceasing to be a Restricted Subsidiary or any other
         subsequent transfer of any such Indebtedness (except to the Borrower or another Restricted Subsidiary
         or any pledge of such Indebtedness constituting a Permitted Lien but not the transfer thereof upon
         foreclosure) shall be deemed, in each case, to be an Incurrence of such Indebtedness not permitted by
         this clause (vii);

                           (viii) Hedging Obligations that are not incurred for speculative purposes, including,
         for the avoidance of doubt (1) any Hedging Obligations for the purpose of fixing or hedging interest
         rate risk with respect to any Indebtedness that is permitted by the terms of this Agreement to be
         outstanding; (2) any Hedging Obligations for the purpose of fixing or hedging currency exchange rate
         risk with respect to any currency exchanges; or (3) any Hedging Obligations for the purpose of fixing
         or hedging commodity price risk with respect to any commodity purchases or sales (including, without
         limitation, any commodity Hedging Obligation that is intended in good faith, at inception of execution,
         to hedge or manage any of the risks related to existing and/or forecasted Hydrocarbon production
         (whether or not contracted)) and, in each case, extensions or replacements thereof;

                          (ix)     Indebtedness or Disqualified Stock of the Borrower or Indebtedness,
         Disqualified Stock or Preferred Stock of any Restricted Subsidiary not otherwise permitted hereunder
         in an aggregate principal amount or liquidation preference, which when aggregated with the principal
         amount or liquidation preference of all other Indebtedness, Disqualified Stock and Preferred Stock then
         outstanding and Incurred pursuant to this clause (ix) does not exceed $10,000,000 at the time of
         Incurrence;

                          (x)      any guarantee by the Borrower or any Restricted Subsidiary of Indebtedness
         or other obligations of the Borrower or any Subsidiary Guarantor so long as the Incurrence of such
         Indebtedness Incurred by the Borrower or such Subsidiary Guarantor is permitted under the terms of
         this Agreement; provided that if such Indebtedness is by its express terms subordinated in right of
         payment to the Loans or the Guarantee of such Restricted Subsidiary, as applicable, any such guarantee
         with respect to such Indebtedness shall be subordinated in right of payment to the Loans or such

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         Guarantee, as applicable, substantially to the same extent as such Indebtedness is subordinated to the
         Loans or the Guarantee, as applicable;

                            (xi)      the Incurrence by the Borrower or any of the Restricted Subsidiaries of
         Indebtedness or Disqualified Stock or Preferred Stock of a Restricted Subsidiary that serves to refund,
         refinance or defease any Indebtedness Incurred or Disqualified Stock or Preferred Stock issued as
         permitted under clauses (i), (ii), (iii), (iv), (ix), (x), (xiv) and (xviii) of Section 5.06(b) up to the
         outstanding principal amount (or, if applicable, the liquidation preference face amount, or the like) or,
         if greater, committed amount (only to the extent the committed amount could have been Incurred on the
         date of initial Incurrence) of such Indebtedness or Disqualified Stock or Preferred Stock, in each case
         at the time such Indebtedness was Incurred or Disqualified Stock or Preferred Stock was issued pursuant
         to clauses (i), (ii), (iii), (iv), (ix), (x), (xiv) and (xviii) of Section 5.06(b), or any Indebtedness,
         Disqualified Stock or Preferred Stock Incurred to so substantially concurrently refund or refinance such
         Indebtedness, Disqualified Stock or Preferred Stock, including any additional Indebtedness,
         Disqualified Stock or Preferred Stock Incurred to pay accrued and unpaid interest, penalties, premiums
         (including tender premiums), expenses, defeasance costs, commissions, underwriting discounts and fees
         in connection therewith (subject to the following proviso, “Refinancing Indebtedness”) prior to its
         respective maturity; provided, however, that such Refinancing Indebtedness:

                               (1)      shall have a Weighted Average Life to Maturity at the time such Refinancing
                               Indebtedness is Incurred which is not less than the shorter of (x) the remaining
                               Weighted Average Life to Maturity of the Indebtedness, Disqualified Stock or
                               Preferred Stock being refunded, refinanced or defeased and (y) the Weighted Average
                               Life to Maturity that would result if all payments of principal on the Indebtedness,
                               Disqualified Stock and Preferred Stock being refunded or refinanced that were due on
                               or after the date that is one year following the last maturity date of any Loans then
                               outstanding were instead due on such date;

                               (2)      to the extent such Refinancing Indebtedness refinances (a) Indebtedness
                               junior to the Loans or a Guarantee, as applicable, such Refinancing Indebtedness is
                               junior to the Loans or the Guarantee, as applicable, or unsecured, (b) Disqualified
                               Stock or Preferred Stock, such Refinancing Indebtedness is Disqualified Stock or
                               Preferred Stock or (c) Indebtedness that is payment subordinated to the Loans or a
                               Guarantee, as applicable, such Refinancing Indebtedness is subordinated to the Loans
                               or a Guarantee, as applicable, to at least the same extent pursuant to a customary
                               subordination agreement;

                               (3)     shall not include (X) Indebtedness of a Restricted Subsidiary that is not a
                               Subsidiary Guarantor that refinances Indebtedness of the Borrower or a Subsidiary
                               Guarantor, or (Y) Indebtedness of the Borrower or a Restricted Subsidiary that
                               refinances Indebtedness of the Closing Date Unrestricted Subsidiary; and

                               (4)      any Refinancing Indebtedness of Indebtedness Incurred in respect of Junior
                               Debt above shall not have a final maturity prior to the date that is 180 days after the
                               earlier of the Maturity Date or the date the Loans are no longer outstanding.

                         (xii)    to the extent constituting Indebtedness, Indebtedness Incurred by a
         Receivables Subsidiary in a Qualified Receivables Financing that is not recourse to the Borrower or any
         Restricted Subsidiary other than a Receivables Subsidiary (except for Standard Securitization
         Undertakings);

                         (xiii) Indebtedness arising from the honoring by a bank or other financial institution
         of a check, draft or similar instrument drawn against insufficient funds in the ordinary course of
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         business; provided, however, that such Indebtedness is extinguished within five (5) Business Days of
         its Incurrence;

                         (xiv) Indebtedness in respect of letters of credit with a face amount in an aggregate
         principal amount or, which when aggregated with the face amount of all other Indebtedness then
         outstanding and Incurred pursuant to this clause (xiv), does not exceed $50,000,000 at the time of
         Incurrence;

                           (xv)     Indebtedness of the Borrower or any Restricted Subsidiary consisting of (1)
         the financing of insurance premiums or (2) take-or-pay obligations contained in supply arrangements,
         in each case, in the ordinary course of business and not otherwise restricted by this Agreement;

                            (xvi) Indebtedness consisting of Indebtedness issued by the Borrower or a
         Restricted Subsidiary to current or former officers, directors and employees thereof or any direct or
         indirect parent thereof, their respective estates, spouses or former spouses, in each case to finance the
         purchase or redemption of Equity Interests of the Borrower or any Parent Entity to the extent described
         in clause (i) of Section 5.07(b);

                          (xvii) Indebtedness incurred by the Borrower or any Restricted Subsidiary
         constituting reimbursement obligations with respect to letters of credit issued in the ordinary course of
         business, including letters of credit in respect of plugging and abandonment obligations, workers’
         compensation claims, performance or surety bonds, health, disability, or other employee benefits or
         property, casualty or liability insurance or self-insurance or other Indebtedness with respect to
         compensation claims, performance or surety bonds, health, disability or other employee benefits or
         property, casualty or liability insurance or self-insurance; provided that upon the drawing of such letters
         of credit or the Incurrence of such Indebtedness, such obligations are reimbursed within 30 days
         following such drawing or incurrence;

                          (xviii) Indebtedness Incurred in connection with the financing of new equipment in
         order to reduce near-term capital expenditures associated with deepwater projects that is (x) not recourse
         to any Credit Party (other than to the equipment so financed by such Credit Party) and (y) otherwise on
         terms acceptable to the Administrative Agent in its sole discretion, in an aggregate principal amount,
         which when aggregated with the principal amount or liquidation preference of all other Indebtedness,
         Disqualified Stock and Preferred Stock then outstanding and Incurred pursuant to this clause (xviii),
         together with any Refinancing Indebtedness in respect thereof incurred pursuant to clause (xi), does not
         exceed $80,000,000 at the time of Incurrence (plus, in the case of any Refinancing Indebtedness, the
         Additional Refinancing Amount); and

                          (xix) Indebtedness of the Borrower or any of its Restricted Subsidiaries undertaken
         in connection with cash management and related activities with respect to any Subsidiary in the ordinary
         course of business.

For purposes of determining compliance with this Section 5.06:

                               (1)     in the event that an item of Indebtedness, Disqualified Stock or Preferred
                               Stock (or any portion thereof) meets the criteria of more than one of the categories of
                               permitted Indebtedness described in clauses (i) through (xix) of Section 5.06(b), then
                               the Borrower shall, in its sole discretion, classify or divide, such item of Indebtedness,
                               Disqualified Stock or Preferred Stock (or any portion thereof) in any manner that
                               complies with Section 5.06;

                               (2)     if any Indebtedness denominated in U.S. Dollars is exchanged, converted or
                               refinanced into Indebtedness denominated in a foreign currency, then (in connection
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                               with such exchange, conversion or refinancing, and thereafter), the U.S. Dollar amount
                               limitations set forth in any of clauses (i) through (xix) of Section 5.06(b) with respect
                               to such exchange, conversion or refinancing shall be deemed to be the amount of such
                               foreign currency, as applicable, into which such Indebtedness has been exchanged,
                               converted or refinanced at the time of such exchange, conversion or refinancing; and

                               (3)      if any Indebtedness denominated in a foreign currency is exchanged,
                               converted or refinanced into Indebtedness denominated in U.S. Dollars, then (in
                               connection with such exchange, conversion or refinancing, and thereafter), the U.S.
                               Dollar amount limitations set forth in any of clauses (i) through (xix) of
                               Section 5.06(b) with respect to such exchange, conversion or refinancing shall be
                               deemed to be the amount of U.S. Dollars into which such Indebtedness has been
                               exchanged, converted or refinanced at the time of such exchange, conversion or
                               refinancing.

                   Accrual of interest, the accretion of accreted value, the payment of interest or dividends in the
form of additional Indebtedness, Disqualified Stock or Preferred Stock, as applicable, amortization of original
issue discount, the accretion of liquidation preference and increases in the amount of Indebtedness outstanding
solely as a result of fluctuations in the exchange rate of currencies will not be deemed to be an Incurrence of
Indebtedness, Disqualified Stock or Preferred Stock for purposes of this Section 5.06. Guarantees of, or
obligations in respect of letters of credit relating to, Indebtedness which is otherwise included in the
determination of a particular amount of Indebtedness shall not be included in the determination of such amount
of Indebtedness; provided that the Incurrence of the Indebtedness represented by such guarantee or letter of
credit, as the case may be, was in compliance with this Section 5.06.

                 For purposes of determining compliance with any U.S. Dollar-denominated restriction on the
Incurrence of Indebtedness other than as provided in clauses (1) and (2) above, the U.S. Dollar-equivalent
principal amount of Indebtedness denominated in a foreign currency shall be calculated based on the relevant
currency exchange rate in effect on the date such Indebtedness was Incurred, in the case of term debt, or first
committed or first Incurred (whichever yields the lower U.S. Dollar equivalent), in the case of revolving credit
debt.

                 Notwithstanding any other provision of this Section 5.06, the maximum amount of
Indebtedness that the Borrower and its Restricted Subsidiaries may Incur pursuant to this Section 5.06 shall not
be deemed to be exceeded, with respect to any outstanding Indebtedness, solely as a result of fluctuations in the
exchange rate of currencies.

         SECTION 5.07.             Limitation on Restricted Payments.

                   (a)         The Borrower shall not, and shall not permit any of its Restricted Subsidiaries to:

                            (i)       declare or pay any dividend or make any distribution on account of the
         Borrower’s or any of its Restricted Subsidiaries’ Equity Interests, including any payment made in
         connection with any merger, amalgamation or consolidation involving the Borrower (other than (A)
         dividends or distributions payable solely in Equity Interests (other than Disqualified Stock) of the
         Borrower or in options, warrants or other rights to purchase Equity Interests (other than Disqualified
         Stock); or (B) dividends or distributions by a Restricted Subsidiary so long as, in the case of any dividend
         or distribution payable on or in respect of any class or series of securities issued by a Restricted
         Subsidiary that is not a Wholly Owned Restricted Subsidiary, the Borrower or a Restricted Subsidiary
         receives at least its pro rata share of such dividend or distribution in accordance with its Equity Interests
         in such class or series of securities);


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                         (ii)     purchase or otherwise acquire or retire for value any Equity Interests of the
         Borrower or any direct or indirect parent of the Borrower;

                           (iii)    make any principal payment on, or redeem, repurchase, defease or otherwise
         acquire or retire for value, in each case prior to any scheduled repayment or scheduled maturity, any
         Junior Debt of the Borrower or any Restricted Subsidiary (other than the payment, redemption,
         repurchase, defeasance, acquisition or retirement of Indebtedness permitted under clauses (v) and (vii)
         of Section 5.06(b)); or

                               (iv)    make any Restricted Investment

(all such payments and other actions set forth in clauses (i) through (iv) above being collectively referred to as
“Restricted Payments”).

                   (b)         The provisions of Section 5.07(a) shall not prohibit:

                           (i)     (A) the redemption, repurchase, retirement or other acquisition of any Equity
         Interests (“Retired Capital Stock”) or Junior Debt of the Borrower, any direct or indirect parent of the
         Borrower or any Subsidiary Guarantor in exchange for, or out of the proceeds of, the substantially
         concurrent sale of, Equity Interests of a Parent Entity (other than Disqualified Stock or any Equity
         Interests sold to the Borrower or a Subsidiary of the Borrower) (collectively, including any such
         contributions, “Refunding Capital Stock”); and

                                    (B) the declaration and payment of dividends on the Retired Capital Stock
                   out of the proceeds of the substantially concurrent sale (other than to the Borrower or a
                   Subsidiary of the Borrower) of Refunding Capital Stock; provided that no Restricted Payment
                   shall be permitted to be made pursuant to this clause (i) if a Default or Event of Default has
                   occurred and is continuing or would result therefrom;

                            (ii)    the repayment, prepayment, redemption, repurchase, defeasance or other
         acquisition or retirement of Junior Debt of the Borrower or any Subsidiary Guarantor made by exchange
         for, or out of the proceeds of the substantially concurrent sale of, new Indebtedness of the Borrower or
         a Subsidiary Guarantor which is Incurred in accordance with Section 5.06(b)(xi);

                           (iii)  the declaration and payment of dividends or distributions to holders of any
         class or series of Disqualified Stock of the Borrower or any of its Restricted Subsidiaries issued or
         incurred in accordance with Section 5.06;

                           (iv)   other Restricted Payments, in an aggregate amount, when taken together with
         all other Restricted Payments made pursuant to this clause (iv) not to exceed $1,000,000;

                            (v)     (A) with respect to any taxable period for which the Borrower and/or any of
         its Subsidiaries are members of a consolidated, combined, affiliated, unitary or similar income tax group
         for U.S. federal and/or applicable state or local income tax purposes, or for which the Borrower is a
         partnership or disregarded entity for U.S. federal income tax purposes that is wholly-owned (directly or
         indirectly) by a C corporation for U.S. federal and/or applicable state or local income tax purposes,
         distributions to the Borrower and any direct or indirect parent of the Borrower in an amount not to
         exceed the excess of (I) the amount of any U.S. federal, state and/or local income taxes that the Borrower
         and/or its Subsidiaries, as applicable, would have paid for such taxable period had the Borrower and/or
         its Subsidiaries, as applicable, been a stand-alone corporate group over (II) the portion of such income
         Taxes that is paid by the Borrower and/or its Subsidiaries; provided, that any portion of such Restricted
         Payments that are made on account of Taxes attributable to the Closing Date Unrestricted Subsidiary

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         shall be limited to the amount actually paid with respect to such period by the Closing Date Unrestricted
         Subsidiary to the Borrower or its Restricted Subsidiaries for the purposes of paying such Taxes; and

                                      (B) with respect to any taxable period ending after the Closing Date for which
                   the Borrower is a partnership or disregarded entity for U.S. federal income tax purposes that is
                   not wholly-owned (directly or indirectly) by a C corporation for U.S. federal and/or applicable
                   state or local income tax purposes, distributions to any direct or indirect parent of the Borrower
                   to pay any Taxes attributable to its direct or indirect ownership of the Borrower and its
                   Subsidiaries with respect to such taxable period (assuming that each owner is subject to Tax at
                   the highest combined marginal federal, state and/or local tax rate applicable to any owner for
                   such taxable period and taking into account the deductibility of state and local income taxes for
                   U.S. federal income tax purposes (and any limitations thereon), the alternative minimum tax,
                   any cumulative net taxable loss of the Borrower for prior taxable periods ending after the
                   Closing Date to the extent such loss is of a character that would allow such loss to be available
                   to reduce Taxes in the current taxable period (taking into account any limitations on the
                   utilization of such loss to reduce such Taxes and assuming such loss has not already been
                   utilized) and the character (e.g. long-term or short-term capital gain or ordinary or exempt) of
                   the applicable income); provided, that, any portion of such Restricted Payments that are made
                   on account of Taxes to the Closing Date Unrestricted Subsidiary shall be limited to the amount
                   actually paid with respect to such period by the Closing Date Unrestricted Subsidiary to the
                   Borrower or its Restricted Subsidiaries for the purposes of paying such Taxes.

                           (vi)   any Restricted Payment (100% of which shall be deemed attributable to the
         Borrower at all times Holdings owns no material assets other than the Equity Interests of the Borrower),
         if applicable:

                                     (A) in amounts required for any direct or indirect parent of the Borrower to
                   pay fees and expenses (including franchise or similar taxes) required to maintain its corporate
                   existence, customary salary, bonus and other benefits payable to, and indemnities provided on
                   behalf of, officers and employees of any direct or indirect parent of the Borrower and general
                   corporate operating and overhead expenses of any direct or indirect parent of the Borrower in
                   each case to the extent such fees and expenses are attributable to the ownership or operation of
                   the Borrower, if applicable, and its Subsidiaries; and

                                    (B) in amounts required for any direct or indirect parent of the Borrower, if
                   applicable, to pay interest and/or principal on Indebtedness the proceeds of which have been
                   contributed to the Borrower or any Restricted Subsidiary and that has been guaranteed by, or
                   is otherwise considered Indebtedness of, the Borrower Incurred in accordance with
                   Section 5.06.

                         (vii)     repurchases of Equity Interests deemed to occur upon exercise of stock
         options or warrants if such Equity Interests represent a portion of the exercise price of such options or
         warrants;

                          (viii) purchases of receivables pursuant to a Receivables Repurchase Obligation in
         connection with a Qualified Receivables Financing and the payment or distribution of Receivables Fees;

                          (ix)    Restricted Payments by the Borrower or any Restricted Subsidiary of the
         Borrower to allow the payment of cash in lieu of the issuance of fractional shares upon the exercise of
         options or warrants or upon the conversion or exchange of Capital Stock of any such Person;

                         (x)     any Restricted Payment used to fund the Transactions and the payment of fees
         and expenses Incurred in connection with the Transactions or owed by the Borrower or any direct or
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         indirect parent of the Borrower or Restricted Subsidiaries of the Borrower to Affiliates, and any other
         payments made, including any such payments made to any direct or indirect parent of the Borrower to
         enable it to make payments in connection with the consummation of the Transactions, whether payable
         on the Closing Date or thereafter;

                           (xi)     payment made or expected to be made by the Borrower or any Restricted
         Subsidiary in respect of withholding or similar taxes payable upon exercise of Equity Interests by any
         future, present or former employee, director, manager or consultant and repurchases of Equity Interests
         deemed to occur upon exercise of stock options or warrants if such Equity Interests represent a portion
         of the exercise price of such options or warrants; and

                            (xii)   the repayment, prepayment, redemption, repurchase, defeasance or other
         acquisition or retirement of Junior Debt of the Borrower or any Subsidiary Guarantor once in respect of
         each fiscal quarter so long as the aggregate principal amount paid in connection with such repayment,
         prepayment, redemption, repurchase, defeasance or other acquisition or retirement does not to exceed
         25% of the amount of Consolidated Excess Cash as of the last day of the most recently ended fiscal
         quarter, so long as (u) such repayment, prepayment, redemption, repurchase, defeasance or other
         acquisition or retirement of Junior Debt is made within 5 Business Days of the end of such fiscal quarter,
         (v) the Variable Amortization Trigger Date has occurred, (w) the aggregate principal amount of Loans
         outstanding is less than $80,000,000 at such time, (x) after giving effect to such repayment, prepayment,
         redemption, repurchase, defeasance or other acquisition or retirement of Junior Debt, the Consolidated
         First Lien Net Leverage Ratio is less than 0.50:1.00, (y) the Borrower complies with Section 2.13(d)
         hereof and (z) no Event of Default shall have occurred and be continuing prior to or after giving effect
         to such repayment, prepayment, redemption, repurchase, defeasance or other acquisition or retirement
         of Junior Debt or would result as a consequence thereof;

provided, however, that any Restricted Payments made with property other than cash shall be calculated using
the Fair Market Value of such property.

         SECTION 5.08.          Dividend and Other Payment Restrictions Affecting Subsidiaries. The Borrower
shall not, and shall not permit any of its Restricted Subsidiaries to, directly or indirectly, create or otherwise
cause or suffer to exist or become effective any consensual encumbrance or consensual restriction on the ability
of any Restricted Subsidiary to:

                 (a)       (i) pay dividends or make any other distributions to the Borrower or any of its
Restricted Subsidiaries (1) on its Capital Stock; or (2) with respect to any other interest or participation in, or
measured by, its profits; or (ii) pay any Indebtedness owed to the Borrower or any of its Restricted Subsidiaries;

                   (b)         make loans or advances to the Borrower or any of its Restricted Subsidiaries;

                 (c)      sell, lease or transfer any of its properties or assets to the Borrower or any of its
Restricted Subsidiaries; or

                 (d)           grant Liens pursuant to the Security Documents on any of their assets to be pledged as
Collateral hereunder;

except in each case (in the case of clause (d) above, solely in the case of clauses (iii), (iv), (vii), (viii), (ix), (x),
(xi), (xii) and, with respect to the foregoing clauses, (xvii) below) for such encumbrances or restrictions existing
under or by reason of:

                         (i)       (x) contractual encumbrances or restrictions in effect on the Closing Date,
         including pursuant to the SLTL Facility (including any guarantee thereof) and any Hedging Obligations
         (including any guarantee thereof) incurred in connection with such facilities and (y) contractual
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         encumbrances or restrictions pursuant to the SLTL Credit Agreement and SLTL Credit Agreement
         Documents and, in each case, any similar contractual encumbrances effected by any amendments,
         modifications, restatements, renewals, supplements, refundings, replacements or refinancings of such
         agreements or instruments;

                               (ii)    this Agreement or the Guarantee;

                               (iii)   applicable law or any applicable rule, regulation or order;

                           (iv)    any agreement or other instrument of a Person acquired by the Borrower or
         any Restricted Subsidiary which was in existence at the time of such acquisition (but not created in
         contemplation thereof or to provide all or any portion of the funds or credit support utilized to
         consummate such acquisition), which encumbrance or restriction is not applicable to any Person, or the
         properties or assets of any Person, other than the Person and its Subsidiaries, or the property or assets
         of the Person and its Subsidiaries, so acquired;

                           (v)      contracts or agreements for the sale of assets, including any restriction with
         respect to the Borrower or any Restricted Subsidiary imposed pursuant to an agreement entered into for
         the sale or disposition of the Capital Stock or assets of the Borrower or any such Restricted Subsidiary
         to the extent such sale or disposition would be permitted hereunder;

                           (vi)      secured Indebtedness otherwise permitted to be Incurred pursuant to Section
         5.06 that limit the right of the debtor to dispose of the assets securing such Indebtedness;

                          (vii)     restrictions on cash or other deposits or net worth imposed by customers under
         contracts entered into in the ordinary course of business;

                         (viii) customary provisions in joint venture agreements and other similar
         agreements entered into in the ordinary course of business;

                           (ix)   purchase money obligations for property acquired, Capitalized Lease
         Obligations and obligations in respect of indebtedness permitted to be incurred under Section
         5.06(b)(xviii) that impose restrictions of the nature discussed in clause (c) above on the property so
         acquired;

                         (x)      customary provisions contained in leases, licenses and other similar
         agreements entered into in the ordinary course of business;

                           (xi)     in the case of clause (c) above, any encumbrance or restriction that restricts in
         a customary manner the subletting, assignment or transfer of any property or asset that is subject to a
         lease (including leases governing leasehold interests or Farm-In Agreements or Farm-Out Agreements
         relating to leasehold interests in Oil and Gas Properties), license or similar contract, or the assignment
         or transfer of any such lease (including leases governing leasehold interests or Farm-In Agreements or
         Farm-Out Agreements relating to leasehold interests in Oil and Gas Properties), license (including
         without limitations, licenses of intellectual property) or other contracts;

                          (xii)    any encumbrance or restriction of a Receivables Subsidiary effected in
         connection with a Qualified Receivables Financing; provided, however, that such restrictions apply only
         to such Receivables Subsidiary;

                         (xiii) other Indebtedness, Disqualified Stock or Preferred Stock (A) of the Borrower
         or any Restricted Subsidiary that is a Subsidiary Guarantor or a Foreign Subsidiary or (B) of any
         Restricted Subsidiary that is not a Subsidiary Guarantor or a Foreign Subsidiary so long as such
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         encumbrances and restrictions contained in any agreement or instrument will not materially affect the
         Borrower’s ability to make anticipated principal or interest payments on the Loans (as determined in
         good faith by the Borrower), provided that in the case of each of clauses (A) and (B), such Indebtedness,
         Disqualified Stock or Preferred Stock is permitted to be Incurred subsequent to the Closing Date not in
         violation of Section 5.06;

                               (xiv)     any Restricted Investment not prohibited by Section 5.07 and any Permitted
         Investment;

                          (xv)    any customary encumbrances or restrictions imposed pursuant to any
         agreement of the type described in the definition of “Permitted Business Investment”;

                           (xvi) any agreements entered into with respect to any sale, transfer, lease or other
         disposition permitted by Section 5.09 and applicable solely to assets under such sale, transfer, lease or
         other disposition; or

                           (xvii) any encumbrances or restrictions of the type referred to in clauses (a), (b) or
         (c) above imposed by any amendments, modifications, restatements, renewals, increases, supplements,
         refundings, replacements or refinancings of the contracts, instruments or obligations referred to in
         clauses (i) through (xvi) above; provided that such amendments, modifications, restatements, renewals,
         increases, supplements, refundings, replacements or refinancings are, in the good faith judgment of the
         Borrower, no more restrictive with respect to such dividend and other payment restrictions than those
         contained in the dividend or other payment restrictions prior to such amendment, modification,
         restatement, renewal, increase, supplement, refunding, replacement or refinancing.

                 For purposes of determining compliance with this Section 5.08, (i) the priority of any Preferred
Stock in receiving dividends or liquidating distributions prior to dividends or liquidating distributions being paid
on common stock shall not be deemed a restriction on the ability to make distributions on Capital Stock and (ii)
the subordination of loans or advances made to the Borrower or a Restricted Subsidiary to other Indebtedness
Incurred by the Borrower or any such Restricted Subsidiary shall not be deemed a restriction on the ability to
make loans or advances.

         SECTION 5.09.               Asset Sales.

               (a)             The Borrower shall not, and shall not permit any Restricted Subsidiary to, cause or
make any Asset Sale.

                   (b)         The limitations set forth in Section 5.09(a) shall not apply to:

                               (i)       Asset Sales constituting Mexico Liquidity Events;

                           (ii)     Asset Sales of Proved Developed Producing Reserves, Proved Developed
         Non-Producing Reserves (but excluding any Mexico Assets) and, in each case, infrastructure assets
         related thereto in an aggregate amount not to exceed $30,000,000;

                           (iii)    Asset Sales of any Oil and Gas Property or interest therein to which no proved
         reserves are attributable at the time of such disposition; provided that no a Default or Event of Default
         has occurred and is continuing or would result therefrom;

                          (iv)    any exchange of assets (including a combination of assets and Cash
         Equivalents) other than assets constituting Proved Developed Producing Reserves, Proved Developed
         Non-Producing Reserves, related infrastructure assets and Mexico Assets, for assets related to a Similar
         Business of comparable or greater market value or usefulness to the business of the Borrower and the
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         Restricted Subsidiaries as a whole, as determined in good faith by the Borrower; provided that any
         exchange pursuant to this clause (iv) shall only be permitted so long as no Default or Event of Default
         has occurred and is continuing or would result therefrom;

                           (v)      other Asset Sales so long as (x) the aggregate amount of Asset Sales pursuant
         to this clause (v) after the Closing Date does not exceed $100,000,000, (y) at the time of such Asset
         Sale, no Event of Default has occurred and is continuing and (z) at least 85% of the consideration
         therefor received by the Borrower or such Restricted Subsidiary, as the case may be, is in the form of
         cash and/or Cash Equivalents;

         provided that, in each case of the foregoing, such Asset Sale shall only be permitted (A) solely to the
         extent occurring pursuant to clause (i), (ii), (iii) or (v) above, if for a consideration no less than Fair
         Market Value, (B) so long as the Borrower has complied with the notice requirements of Section
         5.01(c)(iii) and (C) so long as the Borrower, or other relevant Credit Party, shall apply the proceeds
         therefrom to the prepayment of the Loans to the extent required pursuant to Section 2.13.

                 (c)      Solely for the purposes of clause (b)(v) above, the following additional forms of
consideration shall qualify as Cash Equivalents;

                             (i)      any liabilities (as shown on the Borrower’s or a Restricted Subsidiary’s most
         recent balance sheet or in the notes thereto) of the Borrower or any Restricted Subsidiary (other than
         liabilities that are by their terms subordinated to the Loans or any Guarantee) that are assumed by the
         transferee of any such assets or that are otherwise cancelled or terminated in connection with the
         transaction with such transferee; and

                           (ii)     with respect to any Asset Sale of Oil and Gas Properties by the Borrower or
         any Restricted Subsidiary, the costs and expenses related to the exploration, development, completion
         or production of such Oil and Gas Properties and activities related thereto which are assumed by the
         transferee (or an Affiliate thereof) substantially contemporaneously with such Asset Sale.

         SECTION 5.10.                Transactions with Affiliates.

                  (a)      The Borrower shall not, and shall not permit any of its Restricted Subsidiaries to make
any payment to, or sell, lease, transfer or otherwise dispose of any of its properties or assets to, or purchase any
property or assets from, or enter into or make or amend any transaction or series of transactions, contract,
agreement, understanding, loan, advance or guarantee with, or for the benefit of, any Affiliate of the Borrower
(each of the foregoing, an “Affiliate Transaction”) unless (i) such Affiliate Transaction is on terms that are not
materially less favorable to the Borrower or the relevant Restricted Subsidiary than those that could have been
obtained in a comparable transaction by the Borrower or such Restricted Subsidiary with an unrelated Person
and (ii) the Borrower has provided the Administrative Agent with written notice of such Affiliate Transaction.

                   (b)         The provisions of Section 5.10(a) shall not apply to the following:

                            (i)    transactions between or among the Borrower and/or any Subsidiary Guarantor
         (or an entity that becomes a Restricted Subsidiary as a result of such transaction);

                               (ii)       Restricted Payments permitted by Section 5.07 and Permitted Investments;

                           (iii)  the payment of reasonable and customary fees and reimbursement of expenses
         paid to, and indemnity provided on behalf of, current or former officers, directors, employees or
         consultants of the Borrower, any Restricted Subsidiary, or any direct or indirect parent of the Borrower;


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                          (iv)     payments or loans (or cancellation of loans) to officers, directors, employees
         or consultants which are approved by a majority of the Board of Directors of the Borrower in good faith;

                               (v)     any agreement as in effect as of the Closing Date and specified on Schedule
         5.10;

                          (vi)     the execution of the Transactions, the performance of the obligations under
         the Loan Documents, the SLTL Credit Agreement and the related transactions, the transactions
         contemplated by the Plan of Reorganization, and the payment of all fees and expenses related to the
         Transactions, including fees to the Investors;

                               (vii)   any transaction effected as part of a Qualified Receivables Financing;

                         (viii) the issuance of Equity Interests (other than Disqualified Stock) of the
         Borrower to any Person;

                           (ix)     the issuances of securities or other payments, awards or grants in cash,
         securities or otherwise pursuant to, or the funding of, employment arrangements, stock option and stock
         ownership plans or similar employee benefit plans approved by the Board of Directors of the Borrower
         or any direct or indirect parent of the Borrower or of a Restricted Subsidiary, as appropriate, in good
         faith;

                           (x)     the entering into of any tax sharing agreement or arrangement that complies
         with clause (iv) of Section 5.07(b);

                               (xi)    any contribution to the capital of the Borrower;

                               (xii)   transactions permitted by, and complying with, the provisions of Section 5.11;

                           (xiii) transactions between the Borrower or any of its Restricted Subsidiaries and
         any Person that is an Affiliate solely because a director of such Person is also a director of the Borrower
         or any direct or indirect parent of the Borrower; provided, however, that such director abstains from
         voting as a director of the Borrower or such direct or indirect parent, as the case may be, on any matter
         involving such other Person;

                               (xiv)   pledges of Equity Interests of the Closing Date Unrestricted Subsidiary;

                          (xv)     any employment agreements entered into by the Borrower or any of its
         Restricted Subsidiaries in the ordinary course of business;

                          (xvi) payments by the Borrower or any of its Restricted Subsidiaries to any of the
         Investors made for any financial advisory, financing, underwriting or placement services or in respect
         of other investment banking activities, including in connection with acquisitions or divestitures, which
         payments are approved by a majority of the Board of Directors of the Borrower in good faith;

                          (xvii) transactions undertaken in good faith (as certified by a responsible financial
         or accounting officer of the Borrower in an Officers’ Certificate) for the purpose of improving the
         consolidated tax efficiency of the Borrower and its Subsidiaries and not for the purpose of circumventing
         any covenant set forth in this Agreement;

                           (xviii) customary agreements and arrangements with oil and gas royalty trusts and
         master limited partnership agreements that comply with the affiliate transaction provisions of such
         royalty trust or master limited partnership agreement;
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                         (xix) sales or conveyances of net profits interests for cash at Fair Market Value
         allowed under Section 5.09;

                           (xx)        any transaction in respect of which the Borrower delivers to the
         Administrative Agent a letter addressed to the board of directors or managers of the Borrower from an
         accounting, appraisal or investment banking firm, in each case of nationally-recognized standing that is
         in the good faith determination of the Borrower qualified to render such letter, which letter states that
         such transaction is (A) fair, from a financial point of view, to the Borrower or such Restricted Subsidiary
         or (B) on terms, taken as a whole, that are no less favorable to the Borrower or such Restricted
         Subsidiary, as applicable, than would be obtained in a comparable arm’s length transaction with a person
         that is not an Affiliate; and

                               (xxi)   intellectual property licenses in the ordinary course of business.

         SECTION 5.11.           Mergers, Etc. The Borrower will not, and will not permit any Restricted
Subsidiary to, merge into or with or consolidate with any other Person, or permit any other Person to merge into
or consolidate with it, or sell, transfer, lease or otherwise dispose of (whether in one transaction or in a series of
transactions) all or substantially all of its property to any other Person (whether now owned or hereafter acquired)
(any such transaction, a “consolidation”), or liquidate or dissolve; provided that, so long as no Event of Default
has occurred and is then continuing:

                 (a)      any Restricted Subsidiary may be liquidated or may participate in a merger or
consolidation with, or dispose of all or substantially all of its assets to, the Borrower or a Subsidiary Guarantor
(provided that the Borrower or a Subsidiary Guarantor shall be the continuing or surviving entity in any such
transaction involving the Borrower or a Subsidiary Guarantor);

                  (b)     any Restricted Subsidiary that is not a Subsidiary Guarantor may be liquidated or may
participate in a merger or consolidation with, or dispose of all or substantially all of its assets to, any other
Restricted Subsidiary that is not a Subsidiary Guarantor or another Person who becomes a Restricted Subsidiary
that is not a Subsidiary Guarantor concurrent with such transaction;

                   (c)       any Subsidiary Guarantor may participate in a merger or consolidation with, or dispose
of all or substantially all of its assets to, another Subsidiary Guarantor;

                  (d)    any Restricted Subsidiary may liquidate or dissolve so long as its assets (if any) are
distributed to the Borrower or a Subsidiary Guarantor prior to such liquidation or dissolution; or

                  (e)     any Restricted Subsidiary may merge or consolidate with any other Person in order to
effect a Restricted Investment not prohibited by Section 5.07; provided that the continuing or surviving Person
shall be a Restricted Subsidiary or the Borrower, which together with each of its Restricted Subsidiaries, shall
have complied with the requirements of Section 5.12 and Section 5.17 to the extent required thereby.

         SECTION 5.12.         Future Guarantors. The Borrower shall cause (a) each Restricted Subsidiary (other
than an Excluded Subsidiary), formed or acquired after the Closing Date, (b) each other Subsidiary that
guarantees any SLTL Facility or any other Material Indebtedness and (c) as required by Section 5.29, the Closing
Date Unrestricted Subsidiary, to execute and deliver to the Administrative Agent (which shall be within thirty
(30) days (or such later date as the Administrative Agent may reasonably agree) of formation or acquisition in
the case of clause (a), concurrently with the provision of any such guarantee in the case of clause (b) and within
the time period set forth in Section 5.29 in the case of clause (c)) a joinder agreement to the Guarantee pursuant
to which such Restricted Subsidiary will guarantee payment of the Loans on the terms and conditions set forth
in this Agreement, and a joinder agreement to each applicable Security Document, and, if required by the
Intercreditor Agreement, a joinder to such Intercreditor Agreement; provided, that, at its option, the Borrower

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shall be permitted to cause any other Affiliate to provide a guarantee pursuant to the terms of this Section 5.12.
Each Guarantor shall be released in accordance with Section 8.20.

         SECTION 5.13.          Liens. The Borrower shall not, and shall not permit any Restricted Subsidiary to
create, Incur or suffer to exist any Lien on any asset or property of the Borrower or such Restricted Subsidiary,
other than Permitted Liens. For purposes of determining compliance with this Section 5.13, (A) a Lien securing
an item of Indebtedness need not be permitted solely by reference to one category of permitted Liens described
in the definition of “Permitted Liens” but may be permitted in part under any combination thereof and (B) in the
event that a Lien securing an item of Indebtedness, Disqualified Stock or Preferred Stock (or any portion thereof)
meets the criteria of one or more of the categories of permitted Liens described in the definition of “Permitted
Liens”, the Borrower shall, in its sole discretion, classify or divide, such Lien securing such item of Indebtedness
(or any portion thereof) in any manner that complies with this Section 5.13 and will only be required to include
the amount and type of such Lien or such item of Indebtedness secured by such Lien in one of the clauses of the
definition of “Permitted Liens” and such Lien securing such item of Indebtedness will be treated as being
Incurred or existing pursuant to only one of such clauses.

         SECTION 5.14.       Compliance with Material Contracts. The Borrower shall, and shall cause each
Restricted Subsidiary to, comply with and maintain in full force and effect each Material Contract, except where
the failure to comply would not, individually or in the aggregate, reasonably be expected to have a Material
Adverse Effect; provided, that the Credit Parties and their Subsidiaries may contest the terms and conditions of
any such Material Contract in good faith through applicable proceedings so long as adequate reserves are
maintained in accordance with GAAP.

         SECTION 5.15.          Existence; Business and Properties. The Borrower shall, and shall cause each
Restricted Subsidiary to:

                  (a)       Do or cause to be done all things necessary to preserve, renew and keep in full force
and effect its legal existence except as otherwise permitted by Section 5.11.

                  (b)      (i) Do or cause to be done all things necessary to obtain, preserve, renew, extend and
keep in full force and effect the permits, franchises, authorizations, intellectual property, licenses and rights with
respect thereto necessary in all material respects to the normal conduct of its business and (ii) at all times maintain
and preserve all material property necessary to the normal conduct of its business and keep such property in good
repair, working order and condition and from time to time make, or cause to be made, all needful and proper
repairs, renewals, additions, improvements and replacements thereto necessary in order that the business carried
on in connection therewith, if any, may be properly conducted in all material respects at all times (in each case
except as permitted by this Agreement).

         SECTION 5.16.          Maintenance of Insurance.

                 (a)       The Borrower and its Restricted Subsidiaries shall maintain or cause to be maintained,
with financially sound and reputable insurers, (i) directors and officers insurance, and (ii) such casualty
insurance, public liability insurance, third party property damage insurance with respect to liabilities, losses or
damage in respect of the assets, properties and businesses of the Borrower and its Restricted Subsidiaries as may
customarily be carried or maintained under similar circumstances by Persons of established reputation engaged
in similar businesses, in each case in such amounts (giving effect to self insurance), with such deductibles,
covering such risks and otherwise on such terms and conditions as shall be customary for such Persons. Each
such policy of insurance shall (i) in the case of each liability insurance policy, name Collateral Agent, for the
benefit of Secured Parties, as an additional insured thereunder as its interests may appear, (ii) in the case of each
casualty insurance policy, contain a lender loss payable clause or endorsement, satisfactory in form and
substance to Collateral Agent, that names Collateral Agent, for the benefit of Secured Parties, as the lender loss
payee thereunder, and (iii) in each case, provide for at least thirty days’ prior written notice to Collateral Agent
of any modification or cancellation of such policy.
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                 (b)      If any improvements located on any Mortgaged Property are at any time located in an
area identified by the Federal Emergency Management Agency (or any successor agency) as a Special Flood
Hazard Area with respect to which flood insurance has been made available under the National Flood Insurance
Act of 1968 (as now or hereafter in effect or successor act thereto), then the Borrower shall, or shall cause the
applicable Credit Party to (i) maintain, or cause to be maintained, with a financially sound and reputable insurer,
flood insurance in an amount and otherwise sufficient to comply with all applicable rules and regulations
promulgated pursuant to the Flood Insurance Laws and (ii) deliver to the Administrative Agent evidence of such
compliance.

                   (c)         In connection with the covenants set forth in this Section 5.16, it is understood and
agreed that:

                            (i)     none of the Administrative Agent, the Lenders and their respective agents or
         employees shall be liable for any loss or damage insured by the insurance policies required to be
         maintained under this Section 5.16, it being understood that (A) the Credit Parties shall look solely to
         their insurance companies or any other parties other than the aforesaid parties for the recovery of such
         loss or damage and (B) such insurance companies shall have no rights of subrogation against the
         Administrative Agent, the Lenders or their agents or employees. If, however, the insurance policies, as
         a matter of the internal policy of such insurer, do not provide waiver of subrogation rights against such
         parties, as required above, then the Borrower, on behalf of itself and on behalf of each of its Subsidiaries,
         hereby agrees, to the extent permitted by law, to waive, and further agrees to cause each of its
         Subsidiaries to waive, its right of recovery, if any, against the Administrative Agent, the Lenders and
         their agents and employees; and

                           (ii)   the designation of any form, type or amount of insurance coverage by the
         Administrative Agent under this Section 5.16 shall in no event be deemed a representation, warranty or
         advice by the Administrative Agent or the Lenders that such insurance is adequate for the purposes of
         the business of the Borrower and the Restricted Subsidiaries or the protection of their properties.

         SECTION 5.17.             Additional Collateral.

                   (a)     In connection with the delivery of the Reserve Reports required by Section 5.26(a) and
Section 5.26(c), the Borrower shall review such Reserve Report and the list of current Mortgaged Properties to
ascertain whether or not the PV-10 of the Mortgaged Properties evaluated in such Reserve Report represent at
least 95% of the PV-10 of the Oil and Gas Properties of the Credit Parties after giving effect to exploration and
production activities, acquisitions, dispositions and production. In the event the PV-10 of the Mortgaged
Properties do not represent 95% of such PV-10 of the Oil and Gas Properties of the Credit Parties, the Borrower
or the appropriate Subsidiary Guarantor shall, within 45 days of the date of delivery of such Reserve Report (or
such later date as the Administrative Agent shall reasonably agree), execute and deliver mortgages, deeds of
trust, security instruments, financing statements and other Security Documents as shall be reasonably necessary
to vest in the Collateral Agent a perfected security interest, subject only to Permitted Liens, such that after giving
effect thereto, the PV-10 of the Mortgaged Properties will represent at least 95% of the PV-10 of the Oil and
Gas Properties of the Credit Parties (but subject to the limitations described in Article VIII, the Security
Documents, the Intercreditor Agreement and limitations under applicable local law).

                   (b)      Upon any Restricted Subsidiary becoming a Subsidiary Guarantor as contemplated by
Section 5.12 or the acquisition by the Borrower or any Subsidiary Guarantor of any after-acquired property
(other than Excluded Assets), or upon any additional Restricted Subsidiary becoming a Subsidiary Guarantor
that has after-acquired property (other than Excluded Assets), the Borrower or such Subsidiary Guarantor shall
within 45 days (or such later date as the Administrative Agent shall reasonably agree) of the acquisition of such
property (or, in the case of a person that becomes a Subsidiary Guarantor as contemplated by Section 5.12, within
the time period for such person becoming a Subsidiary Guarantor set forth therein) execute and deliver such
mortgages, deeds of trust, security instruments, financing statements and other Security Documents as shall be
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reasonably necessary to vest in the Collateral Agent a perfected security interest, subject only to Permitted Liens,
in such after-acquired property (other than Excluded Assets) and to have such after-acquired property (other than
Excluded Assets) (but subject to the limitations described in Article VIII, the Security Documents, the
Intercreditor Agreement and limitations under applicable local law) added to the Collateral, and thereupon all
provisions of this Agreement relating to the Collateral shall be deemed to relate to such after-acquired property
(other than Excluded Assets) to the same extent and with the same force and effect; provided that no such
mortgages, deeds of trust, security instruments, financing statements and other Security Documents shall be
required to be executed and delivered by the Borrower or such Subsidiary Guarantor if at least 95% of the PV-
10 of the Credit Parties’ total Proved Reserves shall constitute Collateral and be subject to any applicable
mortgages, deeds of trust, security instruments, financing statements and other Security Documents in
connection therewith.

         SECTION 5.18.          Payment of Taxes, etc. The Borrower shall, and shall cause each Restricted
Subsidiary to, pay, discharge or otherwise satisfy its obligations in respect of all material Taxes, before the same
shall become delinquent or in default, except where the amount or validity thereof is being contested in good
faith by appropriate proceedings and the Borrower or a Subsidiary thereof has set aside on its books adequate
reserves therefor in accordance with GAAP (or in the case of a Foreign Subsidiary, the comparable accounting
principles in the relevant jurisdiction).

         SECTION 5.19.         Compliance with Laws. Each of Holdings, the Borrower and its Subsidiaries shall
comply in all material respects with all Requirements of Law (it being understood, in the case of statutes,
regulations and orders of, and all applicable restrictions imposed by, all Governmental Authorities that are
specifically referred to in any other provision of this Agreement, the Credit Parties shall also be required to
represent and/or comply with, as applicable, the express terms of such provision). Holdings, the Borrower and
its Subsidiaries shall comply in all material respects with all Sanctions, Anti-Corruption Laws and Anti-
Terrorism and Anti-Money Laundering Laws and maintain policies and procedures, such that, at all times, the
representations and warranties made in Section 3.17 are true and correct.

         SECTION 5.20.         Further Instruments and Acts. At any time or from time to time upon the
reasonable request of the Administrative Agent, each Credit Party will, at its expense, promptly execute,
acknowledge and deliver such further documents and do such other acts and things as the Administrative Agent
or the Collateral Agent may reasonably request in order to effect fully the purposes of the Loan Documents or
to perfect or renew the rights of the Collateral Agent for the benefit of the Secured Parties with respect to the
Collateral (or with respect to any additions thereto or replacements or proceeds thereof or with respect to any
other property or assets hereafter acquired by Holdings or any Subsidiary that may be deemed to be part of the
Collateral). In furtherance and not in limitation of the foregoing, each Credit Party shall take such actions as the
Administrative Agent or the Collateral Agent may reasonably request from time to time to ensure that the
Obligations are guaranteed by the Guarantors and are secured by a first priority Lien (subject to Permitted Liens)
on all of the Collateral.

Notwithstanding the foregoing provisions of this Section 5.20 or anything in this Agreement or any other Loan
Document to the contrary: (A) Liens required to be granted from time to time shall be subject to exceptions and
limitations set forth in the Collateral Agreement and the other Loan Documents and, to the extent appropriate in
any applicable jurisdictions, as agreed between the Administrative Agent in its Permitted Business Judgment
and the Borrower and (B) the Collateral shall not include any Excluded Assets.

         SECTION 5.21.         Books, Records and Inspections.

                   (a)      The Borrower will, and will cause each Restricted Subsidiary to, permit officers and
designated representatives of the Administrative Agent or officers and designated representatives of the Required
Lenders (as accompanied by the Administrative Agent), upon prior written notice to visit and inspect any of the
properties or assets of the Borrower or such Restricted Subsidiary in whomsoever’s possession to the extent that
it is within such party’s control to permit such inspection (and shall use commercially reasonable efforts to cause
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such inspection to be permitted to the extent that it is not within such party’s control to permit such inspection),
and to examine the financial records of the Borrower and any such Restricted Subsidiary and discuss the affairs,
finances, accounts and condition of the Borrower or any such Restricted Subsidiary with its and their officers
and independent accountants therefor, in each case of the foregoing upon reasonable advance notice to the
Borrower, all at such reasonable times and intervals during normal business hours and to such reasonable extent
as the Administrative Agent or the Required Lenders may desire (and subject, in the case of any such meetings
or advice from such independent accountants, to such accountants’ customary policies and procedures); provided
that, excluding any such visits and inspections during the continuation of an Event of Default, (i) only the
Administrative Agent on behalf of the Required Lenders accompanied by officers and designated representatives
of the Required Lenders may exercise rights of the Administrative Agent and the Lenders under this Section 5.21,
and (ii) only one such visit per fiscal year shall be at the Borrower’s expense (limited, in the case of such visit,
to the expenses incurred by the Administrative Agent); provided, further, that when an Event of Default has
occurred and is continuing, the Administrative Agent (or any of its representatives or independent contractors)
or any representative of the Required Lenders may do any of the foregoing at the expense of the Borrower at any
time during normal business hours and upon reasonable advance notice. The Administrative Agent and the
Required Lenders shall give the Borrower the opportunity to participate in any discussions with the Borrower’s
independent public accountants. Notwithstanding anything to the contrary in this Section 5.21, neither the
Borrower nor any Restricted Subsidiary will be required to disclose, permit the inspection, examination or
making copies or abstracts of, or discussion of, any document, information or other matter (x) that constitutes
non-financial trade secrets or non-financial proprietary information, (y) in respect of which disclosure to the
Administrative Agent or any Lender (or their respective representatives or contractors) is prohibited by any
Requirement of Law or any binding agreement or (z) that is subject to attorney-client or similar privilege or
constitutes attorney work product; provided that, to the extent any information is withheld pursuant to the
foregoing, the Borrower agrees to provide written notice of the reason for such information being withheld.

                 (b)    The Borrower will, and will cause each of the Restricted Subsidiaries to, keep proper
books of record and accounts in conformity in all material respects with GAAP.

         SECTION 5.22.         ERISA.

                   (a)     Promptly after the Borrower knows or has reason to know of the occurrence of any
ERISA Event that, individually or in the aggregate (including in the aggregate such ERISA Events previously
disclosed or exempt from disclosure hereunder, to the extent the liability therefor remains outstanding), would
be reasonably likely to result in a Material Liability to any Credit Party, the Borrower will deliver to the
Administrative Agent a certificate of an Authorized Officer or any other senior officer of the Borrower setting
forth details as to such occurrence and the action, if any, that Holdings, the Borrower, any of their Restricted
Subsidiaries or an ERISA Affiliate, as applicable, is required or proposes to take, together with any notices
(required, proposed or otherwise) given to or filed with or by Holdings, the Borrower, any such Restricted
Subsidiary or any such ERISA Affiliate, the PBGC, a Plan participant (other than notices relating to an individual
participant’s benefits) or the Plan administrator with respect thereto. Promptly after the same is available to
Holdings, the Borrower, any of their Restricted Subsidiaries or any ERISA Affiliate, the Borrower will deliver
copies of (i) each Schedule SB (Actuarial Information) to the annual report (Form 5500 Series) filed by Holdings,
the Borrower, any of their Restricted Subsidiaries or any ERISA Affiliate with the Internal Revenue Service, the
Department of Labor or any other Governmental Authority with respect to each Plan, (ii) all notices received by
Holdings, the Borrower, any of their Restricted Subsidiaries or any ERISA Affiliate from a Multiemployer Plan
sponsor concerning an ERISA Event; and (iii) copies of such other documents or governmental reports or filings
relating to any Employee Benefit Plan as Administrative Agent shall reasonably request.

                  (b)     Promptly following any request therefor, the Borrower will deliver to the
Administrative Agent copies of (i) any documents described in Section 101(k) of ERISA that Holdings, the
Borrower, any of their Restricted Subsidiaries or any ERISA Affiliate may request with respect to any
Multiemployer Plan and (ii) any notices described in Section 101(l) of ERISA that Holdings, the Borrower, any
of their Restricted Subsidiaries or any ERISA Affiliate may request with respect to any Multiemployer Plan;
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provided that if Holdings, the Borrower, any of their Restricted Subsidiaries or any ERISA Affiliate has not
requested such documents or notices from the administrator or sponsor of the applicable Multiemployer Plan,
Holdings, the Borrower, the applicable Restricted Subsidiaries or the applicable ERISA Affiliates shall promptly
make a request for such documents or notices from such administrator or sponsor and shall provide copies of
such documents and notices promptly after receipt thereof.

         SECTION 5.23.               Hedge Agreements; Swap Agreements.

                  (a)      The Credit Parties shall enter into within 45 days of the Closing Date (or such later
date as approved by the Required Lenders in their reasonable discretion), and thereafter maintain, Hedge
Agreements with Hedge Banks at market prices and otherwise on terms reasonably satisfactory to the
Administrative Agent with respect to (i) at least 50% (on a barrel of oil equivalent basis) of then currently
reasonably anticipated oil and natural gas production from 2P Developed Producing Reserves for the next
succeeding 12 months following the date of determination 45 days after the Closing Date (such period, the
“Initial Hedging Period”) and (ii) at least 25% (on a barrel of oil equivalent basis) of the then-current reasonably
anticipated oil and natural gas production from 2P Developed Producing Reserves for each month during the six
month period after the Initial Hedging Period, in each case, as forecasted by the Borrower based upon the Latest
Reserve Report;

                  (b)      Commencing with [December 31, 2021], the Credit Parties shall maintain as of June
30 and December 31 of each fiscal year, Hedge Agreements with Hedge Banks at market prices and otherwise
with terms reasonably satisfactory to the Administrative Agent with respect to (i) at least 50% (on a barrel of oil
equivalent basis) of the then currently reasonably anticipated oil and natural gas production from 2P Developed
Producing Reserves (as forecasted in the Latest Reserve Report) for each month on a rolling basis for the 12
month period following the relevant date of determination and (ii) at least 25% (on a barrel of oil equivalent
basis) of the then currently reasonably anticipated oil and natural gas production from 2P Developed Producing
Reserves (as forecasted in the Latest Reserve Report) for each month on a rolling basis for the six months
following the 12 month period described in the foregoing clause (b)(i); provided¸ that, notwithstanding anything
in the foregoing clauses (a) and (b) to the contrary, if the Genovesa Well and/or Troika TA-3 Well have come
online on or prior to the date that is 45 days after the Closing Date, the volumes associated with any such well
shall be treated as Proved Developed Producing Reserves; and

              (c)      the Borrower shall not, and shall not permit any Subsidiary to, enter into any
Hedging Agreement other than a Hedging Agreement which:

                               (i)      has a maximum duration of 60 months; and

                            (ii)     covers notional volumes of not more than, at the time such Hedge Agreement
         is entered into, for each calendar month 85% of reasonably anticipated production from 2P Developed
         Producing Reserves of crude oil, natural gas and natural gas liquids (calculated separately), as set forth
         in the Latest Reserve Report; provided, that, if, after the end of any calendar quarter, commencing with
         the first calendar quarter ending after the Closing Date, the Borrower determines that the aggregate
         weighted average of the notional volumes of all Hedge Agreements in respect of commodities for such
         calendar quarter (other than basis differential swaps on volumes already hedged pursuant to other Hedge
         Agreements) exceeded 100% of actual production of hydrocarbons in such calendar quarter, then the
         Borrower (i) shall promptly notify the Administrative Agent of such determination and (ii) shall, within
         45 days of such determination, terminate, create off-setting positions, or otherwise unwind or monetize
         (only to the extent such terminations, unwinds or monetizations are permitted under this Agreement)
         existing Hedge Agreements such that, at such time, future hedging volumes will not exceed 100% of
         reasonably anticipated projected production for the then-current and any succeeding calendar quarters;
         provided, further, that all purchased put options or price floors for Hydrocarbons shall be excluded for
         purposes of the foregoing volume limitations.

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         SECTION 5.24.          Lender Meetings. The Borrower shall upon the reasonable request of the
Administrative Agent (acting upon the reasonable request of the Required Lenders), on a date to be mutually
agreed upon by the Borrower and the Administrative Agent following the end of each fiscal year and the end of
each of the first three fiscal quarters of each fiscal year, in each case of Borrower (but, in any event, no earlier
than the Business Day following the delivery of annual or quarterly financial statements, as applicable, pursuant
to Section 5.01(a) or (b), for such fiscal year or fiscal quarter, as the case may be), to participate in a conference
call with the Administrative Agent and the Lenders to discuss the financial condition and results of operations
of the Borrower and its consolidated Subsidiaries for such fiscal quarter (and for the period from the beginning
of the current fiscal year to the end of such fiscal quarter) or for such fiscal year, as the case may be.

         SECTION 5.25.         Limitations on Amendments.

                 (a)      The Borrower shall not and will cause its Restricted Subsidiaries not to amend,
supplement, enter into any consent or waiver in respect of or otherwise modify the SLTL Facility, the
documentation governing any Refinancing Indebtedness in respect of the SLTL Facility, any other Junior Debt
or any other Material Indebtedness, in any manner that would be materially adverse to the interests of the Lenders
or not permitted under the terms of the applicable Intercreditor Agreement.

                  (b)      No Credit Party shall (a) amend or permit any amendments, supplements, waivers or
consents under or other modifications to any Credit Party’s organizational documents; or (b) amend, terminate,
enter into any consent or waiver or other modification of, or permit any amendment, termination, waiver, consent
or other modification of any provision of, any Material Contract, if, in either case, such amendment, termination,
waiver, consent or other modification would be materially adverse to (x) the Lenders or (y) any Credit Party.

         SECTION 5.26.         Reserve Reports.

                  (a)     On or before the date that is 90 days after the end of each fiscal year (or such later date
as the Administrative Agent may agree), the Borrower shall deliver a Reserve Report with an “as of” date of
December 31st of the preceding year, in form and substance reasonably satisfactory to the Administrative Agent;
provided, that, concurrently with delivery of the Reserve Report contemplated by this Section 5.26(a), the
Borrower shall deliver certificate of a Financial Officer of the Borrower setting forth a reasonably detailed
calculation of the Asset Coverage Ratio for the fiscal quarter ended as of such December 31, including a high
level summary of the non-proprietary information included in the most recently produced Reserve Report which
is relevant to calculation of such ratios (it being understood that this certification may be included on the
certificate contemplated by Section 5.26(g) below).

                   (b)      On or before the date of delivery of financial statements required with respect to the
first fiscal quarter of any fiscal year pursuant to Section 5.01(b), the Borrower shall deliver a “roll-forward” of
the Reserve Report most recently delivered pursuant to Section 5.26(a) reflecting any changes between the “as-
of” date of such Reserve Report and the last day of such fiscal quarter, in form and substance reasonably
satisfactory to the Administrative Agent.

                 (c)       On or before the date of delivery of financial statements required with respect to the
second fiscal quarter of any fiscal year pursuant to Section 5.01(b), the Borrower shall deliver a Reserve Report
with an “as of” date of June 30th of such fiscal year, in form and substance reasonably satisfactory to the
Administrative Agent.

                   (d)     On or before the date of delivery of financial statements required with respect to the
third fiscal quarter of any fiscal year pursuant to Section 5.01(b), the Borrower shall deliver a “roll-forward” of
the Reserve Report most recently delivered pursuant to Section 5.26(c) reflecting any changes between the “as-
of” date of such Reserve Report and the last day of such fiscal quarter, in form and substance reasonably
satisfactory to the Administrative Agent.

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                 (e)      All Reserve Reports may be prepared internally by petroleum engineers that are
employees of the Borrower, any Restricted Subsidiary, or any of each of their respective Affiliates; provided,
that, notwithstanding anything in the foregoing to the contrary, at least one Reserve Report prepared pursuant to
Section 5.26(a) or (c) above per fiscal year shall be prepared or audited by an Approved Petroleum Engineer that
has audited at least (i) 80% of the Proved Reserves by value and (ii) 80% of Proved Developed Producing
Reserves by value.

                 (f)      Upon the request of the Administrative Agent in its sole discretion and taking into
account the necessary time for completion and preparation thereof, the Borrower shall, in addition to the
requirements of Section 5.26(e), deliver to the Administrative Agent a third-party audit of the most recently
delivered Reserve Report which is reasonably acceptable to the Administrative Agent and covers at least (i) 80%
of the Proved Reserves by value and (ii) 80% of Proved Developed Producing Reserves by value; provided, that,
so long as no Event of Default shall have occurred and is continuing, only one such audit shall be permitted to
be requested in any fiscal year.

                   (g)     With the delivery such information specified in the foregoing clauses (a)-(f), the
Borrower shall provide to the Administrative Agent a certificate from an Authorized Officer certifying that in
all material respects: (A) the information delivered in connection therewith is true and correct (other than
forecasted or forward-looking information), (B) the Credit Parties own good and defensible title to the Oil and
Gas Properties evaluated in such engineering information and such Properties are free of all Liens except for
Permitted Liens, (C) except as set forth on an exhibit to the certificate, on a net basis there are no gas imbalances,
take or pay or other prepayments in excess of the volume specified in Section 5.31 with respect to the Oil and
Gas Properties evaluated in such Reserve Report which would require any Credit Party to deliver Hydrocarbons
either generally or produced from such Oil and Gas Properties constituting Proved Reserves at some future time
without then or thereafter receiving full payment therefor, (D) none of the Oil and Gas Properties to be evaluated
in such Reserve Report have been disposed of since the date of the last certificate delivered pursuant to this
Section 5.26(g), except as set forth on an exhibit to the certificate, which certificate shall list all of its Oil and
Gas Properties disposed of and in such detail as required by the Administrative Agent in its reasonable discretion,
and (E) in the case of delivery pursuant to clause (a) or (c) above, certifying that 95% of the PV-10 of Credit
Parties’ Oil and Gas Properties evaluated in the related Reserve Report (or roll-forward thereof) are Mortgaged
Properties, other than Oil and Gas Properties disclosed on a schedule attached thereto, together with a
certification that such Oil and Gas Properties will become Mortgaged Properties in accordance with Section
5.17.

          SECTION 5.27.          Holdings Covenant. Holdings covenants and agrees that, unless the Required
Lenders shall otherwise consent in writing, Holdings will not engage at any time in any business or business
activity other than (i) ownership of the Equity Interests in the Borrower, together with activities related thereto,
(ii) performance of its obligations under and in connection with the Loan Documents and the SLTL Credit
Agreement Documents, (iii) issuing, selling and redeeming its Equity Interests, (iv) paying taxes, (v) holding
directors’ and shareholders’ meetings, preparing corporate and similar records and other activities (including the
ability to incur fees, costs and expenses relating to such maintenance) required to maintain its corporate or other
legal structure or to participate in tax, accounting or other administrative matters as a member of the consolidated
group of the Credit Parties, (vi) preparing reports to, and preparing and making notices to and filings with,
Governmental Authorities and to its holders of Equity Interests, (vii) receiving, and holding proceeds of,
Restricted Payments from the Borrower and the Subsidiaries to the extent not prohibited by Section 5.07 or 5.10,
(viii) providing indemnification to officers and directors, (ix) activities permitted hereunder or as otherwise
required by Requirements of Law, and (x) activities incidental to the business or activities described in each
foregoing clause of this Section 5.27.

         SECTION 5.28.         Financial Covenants.



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                  (a)      Consolidated Total Net Leverage Ratio. The Borrower shall not permit the
Consolidated Total Net Leverage Ratio, as of the last day of any fiscal quarter commencing with the first full
fiscal quarter ending after the Closing Date, to be greater than 2.25:1.00.

                  (b)      Asset Coverage Ratio. The Borrower shall not permit the Asset Coverage Ratio, as of
the last day of any fiscal quarter commencing with the first full fiscal quarter ending after the Closing Date, to
be less than 2.25:1.00.

         SECTION 5.29.         Foreign Subsidiaries; Closing Date Unrestricted Subsidiary.

                 (a)      Other than the Closing Date Unrestricted Subsidiary and any subsidiaries thereof on
the Closing Date, the Borrower shall not, and shall not permit any Credit Party, to have any Foreign Subsidiaries.

                 (b)     If, at any time, the Closing Date Unrestricted Subsidiary shall become a “restricted
subsidiary” and/or a “guarantor” under the SLTL Credit Agreement Documents or any other Material
Indebtedness of the Credit Parties, such Closing Date Unrestricted Subsidiary shall, concurrent with such event,
become a Restricted Subsidiary and, if applicable, a Subsidiary Guarantor under the Loan Documents.

         SECTION 5.30.          Account Control Agreements. The Borrower shall, and shall cause each Credit
Party to, (a) provide notice to the Administrative Agent of the opening of any deposit accounts, commodity
accounts or securities accounts (other than an Excluded Account) at least five (5) Business Days prior to the
opening thereof (or such other date as the Administrative Agent may agree in its sole discretion) and (b) cause
their respective deposit accounts, commodity accounts or securities accounts (in each case, other than Excluded
Accounts) to at all times be subject to Account Control Agreements; provided that solely in the case of any
deposit accounts, commodity accounts or securities accounts in existence on the Closing Date, compliance with
this clause (b) shall not be required until the date that is 45 days after the Closing Date (or such later date as the
Administrative Agent may agree in its sole discretion).

         SECTION 5.31.        Gas Imbalances, Take-or-Pay or Other Prepayments. The Borrower shall not, and
shall not permit any Credit Party to, allow gas imbalances, take-or-pay or other prepayments with respect to the
Oil and Gas Properties of the Borrower or any other Credit Party that would require the Borrower or Credit Party
to deliver Hydrocarbons at some future time without then or thereafter receiving full payment therefor to exceed
2.5 Bcfe of Hydrocarbon volumes (stated on a gas equivalent basis) in the aggregate for any individual field.

         SECTION 5.32.          Marketing of Production. The Borrower shall not, and shall not permit any Credit
Party to enter into any material agreement (which is not cancelable on 90 days’ notice or less without penalty or
detriment) for the sale of production of the Credit Parties’ Hydrocarbons at a fixed non-index price (including
calls on, or other rights to purchase, production, whether or not the same are currently being exercised) that (i)
represents in respect of such agreements 2.5% or more of the Borrower’s average monthly production of
Hydrocarbon volumes and (ii) has a maturity or expiry date of longer than six months.

          SECTION 5.33.       Dutch Distributions. The Borrower shall cause the Closing Date Unrestricted
Subsidiary to promptly transfer all amounts received by the Closing Date Unrestricted Subsidiary as a dividend
or distribution from Fieldwood Mexico B.V. on account of the Equity Interests of Fieldwood Mexico B.V. held
by the Closing Date Unrestricted Subsidiary to a deposit account subject to an Account Control Agreement.




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        SECTION 5.34.         Post-Closing Obligations. The Credit Parties will execute and deliver the
documents and complete the tasks set forth on Schedule 5.34, in each case within the time limits specified on
such schedule (or such longer period as the Administrative Agent may agree in its Permitted Business Judgment).



                                                 Events of Default

         SECTION 6.01.         Events of Default.

                Upon the occurrence and during the continuation of any of the following specified events (each
an “Event of Default”),

                   (a)     the Borrower shall (i) default in the payment when due of any principal of the Loans
or (ii) default, and such default shall continue for three or more Business Days, in the payment when due of any
interest on the Loans, fees or of any other amounts owing hereunder or under any other Loan Document (other
than any amount referred to in clause (i) above),

                  (b)      any representation, warranty or statement made or deemed made by any Credit Party
herein or in any other Loan Document or any certificate delivered or required to be delivered pursuant hereto or
thereto shall prove to be untrue in any material respect on the date as of which made or deemed made (or if any
representation or warranty is expressly stated to have been made as of a specific date, untrue in any material
respect as of such specific date);

                   (c)     any Credit Party shall (i) default in the due performance or observance by it of any
term, covenant or agreement contained in Section 5.01(a), 5.01(b), 5.01(c)(i)(A), 5.01(e), 5.02, 5.04, 5.06, 5.07,
5.08, 5.09, 5.10, 5.11, 5.12, 5.13, 5.15 (with respect to the Borrower), 5.17, 5.20, 5.26, 5.27, 5.28, 5.29, 5.30 or
5.34, (ii) default in the due performance or observance by it of any term, covenant or agreement contained in
Section 5.01(c) (other than to the extent referred to in clause (i) of this Section 6.01(c)) and such default shall
continue unremedied for a period of at least 5 Business Days, (iii) default in the due performance or observance
by it of any term, covenant or agreement contained in Section 5.01 (other than those referred to in clause (i) or (ii)
of this Section 6.01(c)) and such default shall continue unremedied for a period of at least 15 days or (iv) default
in the due performance or observance by it of any term, covenant or agreement (other than those referred to in
Section 6.01(a) or (b) or clauses (i), (ii) and (iii) of this Section 6.01(c)) contained in this Agreement or any
Security Document and such default shall continue unremedied for a period of at least 30 days after receipt of
written notice thereof by the Borrower from the Administrative Agent;

                  (d)      (i) the Borrower or any of the Restricted Subsidiaries shall (1) default in any payment
with respect to the SLTL Facility or any other Material Indebtedness (other than the Indebtedness described in
Section 6.01(a)) beyond the period of grace, if any, provided in the instrument of agreement under which such
Indebtedness was created or (2) default in the observance or performance of any agreement or condition relating
to the SLTL Facility or such other Material Indebtedness or contained in any instrument or agreement
evidencing, securing or relating thereto, or any other event shall occur or condition exist (other than, (x) with
respect to Indebtedness in respect of any Hedge Agreements, termination events or equivalent events pursuant
to the terms of such Hedge Agreements, (y) secured Indebtedness that becomes due as a result of a disposition
(including as a result of Casualty Event) of the property or assets securing such Indebtedness permitted under
this Agreement and (z) any Indebtedness outstanding hereunder), the effect of which default or other event or
condition is to cause, or permit the holders of any such Indebtedness to cause, any such Indebtedness to become
due or to be repurchased, prepaid, defeased or redeemed (automatically or otherwise), or an offer to repurchase,
prepay, defease or redeem such Indebtedness to be made, prior to its stated maturity, unless, in the case of each
of the foregoing, such holder or holders shall have (or through its or their trustee or agent on its or their behalf)
waived such default in a writing to the Borrower, or (ii) without limiting the provisions of clause (i) above, any
such default under any such Material Indebtedness shall cause such Material Indebtedness to be declared to be
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due and payable, or required to be prepaid other than by a regularly scheduled required prepayment or as a
mandatory prepayment (and, (1) with respect to Indebtedness consisting of any Hedge Agreements, other than
due to a termination event or equivalent event pursuant to the terms of such Hedge Agreements and (2) any
Indebtedness outstanding hereunder), prior to the stated maturity thereof;

                  (e)      the Borrower or any Subsidiary Guarantor shall commence a voluntary case,
proceeding or action concerning itself under (1) Title 11 of the United States Code entitled “Bankruptcy” or any
other applicable insolvency, debtor relief, or debt adjustment law (collectively, the “Bankruptcy Code”); or an
involuntary case, proceeding or action is commenced against the Borrower or any Subsidiary Guarantor and the
petition is not dismissed or stayed within 60 days after commencement of the case, proceeding or action, the
Borrower or the applicable Subsidiary Guarantor consents to the institution of such case, proceeding or action
prior to such 60-day period, or any order of relief or other order approving any such case, proceeding or action
is entered; or a custodian (as defined in the Bankruptcy Code), receiver, receiver manager, trustee, conservator,
liquidator, examiner, rehabilitator, administrator, or similar person is appointed for, or takes charge of, the
Borrower or any Subsidiary Guarantor or all or any substantial portion of the property or business thereof; or
the Borrower or any Subsidiary Guarantor suffers any appointment of any custodian, receiver, receiver manager,
trustee, conservator, liquidator, examiner, rehabilitator, administrator, or the like for it or any substantial part of
its property or business to continue undischarged or unstayed for a period of 60 days; or the Borrower or any
Subsidiary Guarantor makes a general assignment for the benefit of creditors;

                  (f)      (i) an ERISA Event shall have occurred that, individually or in the aggregate, results
in or would reasonably be expected to result in a Material Liability of Holdings, the Borrower, any of their
Subsidiaries or any ERISA Affiliate, or (ii) there exists any fact or circumstance that reasonably could be
expected to result in the imposition of a Lien or security interest under Section 430(k) of the Code or ERISA or
a violation of Section 436 of the Code;

                 (g)      the Guarantee or any material provision thereof shall cease to be in full force or effect
(other than pursuant to the terms hereof and thereof) or any Guarantor or any other Credit Party shall assert in
writing that any such Guarantor’s obligations under the Guarantee are not to be in effect or are not to be legal,
valid and binding obligations (other than pursuant to the terms hereof or thereof);

                 (h)      the Collateral Agreement, Mortgage or any other Security Document pursuant to
which assets of the Borrower and the Credit Parties with an aggregate Fair Market Value in excess of
$10,000,000 are pledged as Collateral or any material provision thereof shall cease to be in full force or effect
(other than pursuant to the terms hereof or thereof) or any grantor thereunder or any other Credit Party shall
assert in writing that any grantor’s obligations under the Collateral Agreement, the Mortgage or any other
Security Document are not in effect or not legal, valid and binding obligations (other than pursuant to the terms
hereof or thereof);

                 (i)      one or more monetary judgments or decrees shall be entered against the Borrower or
any of the Restricted Subsidiaries involving a liability of $10,000,000 or more in the aggregate for all such
judgments and decrees for the Borrower and the Restricted Subsidiaries (to the extent not paid or covered by
insurance provided by a carrier not disputing coverage), which judgments are not discharged or effectively
waived or stayed for a period of 60 consecutive days; or

                   (j)         a Change of Control shall have occurred,

then, and in any such event, and at any time thereafter, if any Event of Default shall then be continuing, the
Administrative Agent shall upon the written request of the Required Lenders (subject to Article VII), by written
notice to the Borrower, take any or all of the following actions, without prejudice to the rights of the
Administrative Agent or any Lender to enforce its claims against the Borrower or any other Credit Party, except
as otherwise specifically provided for in this Agreement (provided that, if an Event of Default specified in
Section 6.01(e) shall occur with respect to the Borrower, the result that would occur upon the giving of written
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notice by the Administrative Agent as specified below shall occur automatically without the giving of any such
notice): (i) declare the principal of and any accrued interest and fees in respect of any or all Loans and any or all
Obligations owing hereunder and thereunder to be, whereupon the same shall become, forthwith due and payable
without presentment, demand, protest or other notice of any kind, all of which are hereby waived by the Borrower
or (ii) exercise rights and remedies in respect of the Collateral in accordance with the Collateral Agreement
and/or comparable provisions of any other Security Document. In addition, after the occurrence and during the
continuance of an Event of Default, the Administrative Agent and the Lenders will have all other rights and
remedies available at law and equity.

                 The foregoing shall constitute Events of Default whatever the reason for any such Event of
Default and whether it is voluntary or involuntary or is effected by operation of law or pursuant to any judgment,
decree or order of any court or any order, rule or regulation of any administrative or governmental body.

         SECTION 6.02.          Application of Proceeds. Any amount received by the Administrative Agent or
the Collateral Agent from any Credit Party (or from proceeds of any Collateral) following any acceleration of
the Obligations under this Agreement or any Event of Default with respect to the Borrower under Section 6.01(e)
shall, subject to the terms of the Intercreditor Agreement, be applied:

        First, to payment of that portion of the Loan Obligations constituting fees, indemnities, expenses and
other amounts (including fees, disbursements and other charges of counsel payable under Section 7.07 and
amounts payable under Article II) payable to the Administrative Agent and/or Collateral Agent in such Person’s
capacity as such;

         Second, to payment of that portion of the Loan Obligations constituting fees, indemnities and other
amounts (other than principal and interest) payable to the Lenders (including fees, disbursements and other
charges of counsel payable under Section 7.07) arising under the Loan Documents and amounts payable under
Article II, ratably among them in proportion to the respective amounts described in this clause Second payable
to them;

        Third, to payment of that portion of the Loan Obligations constituting accrued and unpaid interest on
the Loans, ratably among the Lenders in proportion to the respective amounts described in this clause held by
them;

        Fourth, ratably to payment of that portion of the Obligations constituting unpaid principal of the Loans
and Obligations then owing under Secured Hedge Agreements and the Secured Cash Management Agreements
and;

         Fifth, to the payment of all other Loan Obligations of the Credit Parties owing under or in respect of the
Loan Documents that are due and payable to the Administrative Agent and the other Secured Parties on such
date, ratably based upon the respective aggregate amounts of all such Loan Obligations owing to the
Administrative Agent and the other Secured Parties on such date; and

        Last, the balance, if any, after all of the Loan Obligations have been paid in full, to the Borrower or as
otherwise required by Requirements of Law.

         SECTION 6.03.         Control by Majority. The Required Lenders may direct the time, method and place
of conducting any proceeding for any remedy available to the Administrative Agent or of exercising any trust or
power conferred on the Administrative Agent. However, the Administrative Agent may refuse to follow any
direction that conflicts with law or this Agreement or, subject to Article VII, that the Administrative Agent
determines is unduly prejudicial to the rights of any other Lender or that would involve the Administrative Agent
in personal liability or expenses for which it is not adequately indemnified in the Administrative Agent’s sole
discretion; provided, however, that the Administrative Agent may take any other action deemed proper by the
Administrative Agent that is not inconsistent with such direction.
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         SECTION 6.04.        Limitation on Suits. In no event shall the Required Lenders, without the prior
written consent of each Lender, direct the Administrative Agent to accelerate and demand payment of the Loans
held by one Lender without accelerating and demanding payment of all other Loans. Each Lender agrees that,
except as otherwise provided in any of the Loan Documents and without the prior written consent of the Required
Lenders, it will not take any legal action or institute any action or proceeding against any Credit Party with
respect to any of the Loan Obligations or Collateral, or accelerate or otherwise enforce its portion of the Loan
Obligations. Without limiting the generality of the foregoing, none of Lenders may exercise any right that it
might otherwise have under applicable law to credit bid at foreclosure sales, uniform commercial code sales or
other similar sales or dispositions of any of the Collateral except as authorized by the Required Lenders.
Notwithstanding anything to the contrary set forth in this Section 6.04 or elsewhere herein, each Lender shall be
authorized to take such action to preserve or enforce its rights against any Credit Party where a deadline or
limitation period is otherwise applicable and would, absent the taking of specified action, bar the enforcement
of Loan Obligations held by such Lender against such Credit Party, including the filing of proofs of claim in any
insolvency proceeding.

         SECTION 6.05.         Cure Rights.

                  (a)      Notwithstanding anything to the contrary contained in Section 2.13(c) or Sections 6.01
and 6.02, in the event that the Borrower fails to comply with the covenants contained in Section 5.28 as of the
end of any applicable fiscal quarter, at the Borrower’s option, during the period commencing on the first day
after the end of the applicable fiscal quarter until the expiration of the 10th day subsequent to the date the
Officers’ Certificate for such fiscal quarter is required to be delivered pursuant to Section 5.01(e) or with respect
to the fourth fiscal quarter of any fiscal year and the financial covenant set forth in Section 5.28(b), the date on
which the certificate pursuant to such fiscal quarter is required to be delivered pursuant to Section 5.26(a) (such
period, the “Cure Period”), Holdings shall have the right to cure such failure (the “Cure Right”):

                         (i)      with respect to the financial covenant contained in Section 5.28(a), by issuing
         Permitted Cure Securities for cash (the amount thereof, the “Leverage Cure Amount”), so long as such
         cash is immediately contributed to the capital of the Borrower as common equity; and

                          (ii)    with respect to the financial covenant contained in Section 5.28(b), (A) by
         issuing Permitted Cure Securities for cash (the amount thereof, the “ACR Equity Cure Amount” and,
         together with any Leverage Cure Amount, the “Equity Cure Amount”), so long as such cash is
         immediately contributed to the capital of the Borrower as common equity or (B) so long as the aggregate
         Unrestricted Cash of the Borrower and the Subsidiary Guarantors exceeds, on a pro forma basis after
         giving effect to any prepayment pursuant to Section 2.13(c), $100,000,000, by using internally
         generated cash (the amount thereof, the “ACR Cash Cure Amount” and, together with the ACR Equity
         Cure Amount, the “ACR Cure Amount”).

provided that (i) no more than three Cure Rights using the Equity Cure Amount (“Equity Cures”) may be
exercised after the Closing Date and (ii) no more than two Equity Cures may be exercised during any consecutive
four fiscal quarters.

                 (b)       (i)     Upon the receipt by the Borrower of the cash proceeds of any capital
contribution referred to in Section 6.05(a)(i) such proceeds shall be applied in accordance with Section 2.13(e)
to the outstanding principal amount of the Loans (and not, for the avoidance of doubt, as an increase to
EBITDAX) as of the end of the fiscal quarter as to which such Cure Right is being exercised (the “Cure Right
Fiscal Quarter”) and such outstanding principal amount shall be deemed to have been reduced by the Leverage
Cure Amount in determining the financial covenant contained in Section 5.28(a) for such Cure Right Fiscal
Quarter.

                         (ii)    Upon (A) the receipt by the Borrower of the cash proceeds of any capital
contribution referred to in Section 6.05(a)(ii)(A) or (B) subject to compliance with the terms of Section
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6.05(a)(ii)(B), the election of the Borrower to utilize internally generated cash, such amounts shall be applied in
accordance with Section 2.13(e) to the outstanding principal amount of the Loans as of the end of such Cure
Right Fiscal Quarter and such outstanding principal amount shall be deemed to have been reduced by the ACR
Cure Amount in determining the financial covenant contained in Section 5.28(a) for such Cure Right Fiscal
Quarter.

                  (c)     If after giving effect to the recalculations set forth in Section 6.05(b), the Borrower
shall then be in compliance with all covenants contained in Section 5.28, the Borrower shall be deemed to have
satisfied the requirements of such covenants as of the relevant date of determination with the same effect as
though there had been no failure to comply therewith at such date, and the applicable Event of Default with
respect to any such covenant that had occurred shall be deemed cured for all purposes of this Agreement and the
other Loan Documents.

                 (d)      Upon the Administrative Agent’s receipt of a written notice from the Borrower that
the Borrower intends to exercise the Cure Right (a “Notice of Intent to Cure”), until the expiration of the
applicable Cure Period, neither the Administrative Agent (nor any sub-agent therefor) nor any Lender shall
exercise any right to accelerate the Loans, and none of the Administrative Agent (nor any sub-agent therefor)
nor any Lender or Secured Party shall exercise any right to foreclose on or take possession of the Collateral or
any other right or remedy under the Loan Documents solely on the basis of the relevant failure to comply with
any financial covenant.



                                                     The Agents

         SECTION 7.01.          Appointment.

                  (a)      Effective on the Closing Date, and without the need to provide any notices, CFS has
resigned as Collateral Agent under the Prepetition FLFO Credit Agreement. On and after the Closing Date, (i)
any reference to CFS as the Collateral Agent on any publicly filed document, to the extent such filing relates to
the Liens and security interests in the Collateral, shall, until such filing is modified to reflect the interests of the
Collateral Agent with respect to such Liens and security interests, constitute a reference to CFS as sub-agent of
the Collateral Agent, as applicable; and (ii) any reference to CFS as Collateral Agent in any pledge agreement,
security agreement, mortgage, intellectual property security agreement or other Security Document shall, until
the Collateral Agent is substituted thereunder (whether by operation of law or by subsequent amendment,
assignment, filing or other instrument), constitute a reference to CFS as sub-agent of the Collateral Agent and,
in each case of clauses (i) and (ii), the parties hereto agree that CFS’s role as such sub-agent shall impose no
duties, obligations, or liabilities on CFS, including, without limitation, any duty to take any type of direction
regarding any enforcement action to be taken against such Collateral, whether such direction comes from the
Administrative Agent or the Collateral Agent, the Required Lenders, or otherwise, and CFS shall have the full
benefit of the protective provisions of (A) the Prepetition FLFO Credit Agreement including, without limitation,
Article VIII and Section 9.05 of the Prepetition FLFO Credit Agreement while serving in such capacity and (B)
of this Agreement while serving in such capacity including Article VII; provided, that CFS shall reasonably
cooperate with the Borrower, the Administrative Agent and the Collateral Agent (at the Borrower’s sole cost
and expense) to take such actions reasonably requested by the Borrower, the Administrative Agent and/or the
Collateral Agent to assign or transfer such security interest to the Collateral Agent.

                 (b)     Each Lender hereby irrevocably designates and appoints the Administrative Agent as
the agent of such Lender under this Agreement and the other Loan Documents and irrevocably authorizes the
Administrative Agent, in such capacity, to take such action on its behalf under the provisions of this Agreement
and the other Loan Documents and to exercise such powers and perform such duties as are expressly delegated
to the Administrative Agent by the terms of this Agreement and the other Loan Documents, together with such
other powers as are reasonably incidental thereto. Notwithstanding any provision to the contrary elsewhere in
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this Agreement, the Administrative Agent shall not have any duties or responsibilities, except those expressly
set forth herein and in the other Loan Documents, or any fiduciary relationship with any Lender or any Credit
Party, and no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be read into
this Agreement or any other Loan Document or otherwise exist against the Administrative Agent.

                   (c)      The Administrative Agent and each Lender hereby irrevocably designate and appoint
the Collateral Agent as the agent with respect to the Collateral, and each of the Administrative Agent and each
Lender irrevocably authorizes the Collateral Agent, in such capacity, to take such action on its behalf under the
provisions of this Agreement and the other Loan Documents and to execute and deliver the Security Documents
(including the amendments thereto in connection with this Agreement) and to exercise such powers and perform
such duties as are expressly delegated to the Collateral Agent by the terms of this Agreement and the other Loan
Documents, together with such other powers as are reasonably incidental thereto. Notwithstanding any provision
to the contrary elsewhere in this Agreement, the Collateral Agent shall not have any duties or responsibilities
except those expressly set forth herein and in the other Loan Documents, or any fiduciary relationship with any
of the Administrative Agent, the Lenders or the Credit Parties, and no implied covenants, functions,
responsibilities, duties, obligations or liabilities shall be read into this Agreement or any other Loan Document
or otherwise exist against the Collateral Agent.

                  (d)     The provisions of this Article VII are solely for the benefit of the Agents and the
Lenders, and no Credit Party shall have rights as a third-party beneficiary of any such provisions (other than as
set forth in Section 7.09, 7.11 and 7.14). Without limiting the generality of the foregoing, the Agents are
expressly authorized to execute each of the Loan Documents and any and all documents (including releases)
with respect to the Collateral and any rights of the Secured Parties with respect thereto as contemplated by and
in accordance with the provisions of this Agreement and the other Loan Documents, in each case, binding the
Lenders to the terms thereof.

         SECTION 7.02.         Delegation of Duties. The Administrative Agent and the Collateral Agent may
each execute any of its duties under this Agreement and the other Loan Documents by or through agents, sub-
agents, employees or attorneys-in-fact (each, a “Subagent”) and shall be entitled to advice of counsel concerning
all matters pertaining to such duties; provided, however, that no such Subagent shall be authorized to take any
action with respect to any Collateral unless and except to the extent expressly authorized in writing by the
Administrative Agent. If any Subagent, or successor thereto, shall die, become incapable of acting, resign or be
removed, all rights, powers, privileges and duties of such Subagent, to the extent permitted by law, shall
automatically vest in and be exercised by the Administrative Agent until the appointment of a new Subagent.
Neither the Administrative Agent nor the Collateral Agent shall be responsible for the negligence or misconduct
of any Subagents selected by it in the absence of gross negligence or willful misconduct. The exculpatory,
indemnification and other provisions of this Article VII shall apply to any such Subagent and to the Affiliates of
the Agents and any such Subagent.

         SECTION 7.03.          Exculpatory Provisions. No Agent nor any of its officers, directors, employees,
agents, attorneys-in-fact or Affiliates shall be (a) liable for any action lawfully taken or omitted to be taken by
any of them under or in connection with this Agreement or any other Loan Document, including in such Agent’s
Permitted Business Judgment (except for its or such Person’s own gross negligence or willful misconduct, as
determined in the final judgment of a court of competent jurisdiction, in connection with its duties expressly set
forth herein), (b) responsible in any manner to any of the Lenders or any participant for any recitals, statements,
representations or warranties made by any of the Borrower, any other Credit Party or any officer thereof
contained in this Agreement or any other Loan Document or in any certificate, report, statement or other
document referred to or provided for in, or received by such Agent under or in connection with, this Agreement
or any other Loan Document or for the value, validity, effectiveness, genuineness, enforceability or sufficiency
of this Agreement or any other Loan Document, or for any failure of the Borrower or any other Credit Party to
perform its obligations hereunder or thereunder or (c) subject to any fiduciary or other implied duties, regardless
of whether a Default or an Event of Default has occurred and is continuing. No Agent shall be under any
obligation to any Lender to ascertain or to inquire as to the observance or performance of any of the agreements
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contained in, or conditions of, this Agreement or any other Loan Document, or to inspect the properties, books
or records of any Credit Party or any Affiliate thereof. The Collateral Agent shall not be under any obligation
to the Administrative Agent or any Lender to ascertain or to inquire as to the observance or performance of any
of the agreements contained in, or conditions of, this Agreement or any other Loan Document, or to inspect the
properties, books or records of any Credit Party.

          SECTION 7.04.           Reliance by Agents. The Administrative Agent and the Collateral Agent shall be
entitled to rely, and shall be fully protected in relying, upon any writing, resolution, notice, consent, certificate,
affidavit, letter, telecopy, telex or teletype message, statement, order or other document or instruction believed
by it to be genuine and correct and to have been signed, sent or made by the proper Person or Persons and upon
advice and statements of legal counsel (including counsel to the Borrower), independent accountants and other
experts selected by the Administrative Agent or the Collateral Agent. The Administrative Agent and the
Collateral Agent may deem and treat the Lender specified in the Register with respect to any amount owing
hereunder as the owner thereof for all purposes unless a written notice of assignment, negotiation or transfer
thereof shall have been filed with the Administrative Agent. The Administrative Agent and the Collateral Agent
shall be fully justified in failing or refusing to take any action under this Agreement or any other Loan Document
unless it shall first receive such advice or concurrence of the Required Lenders as it deems appropriate or it shall
first be indemnified to its satisfaction by the Lenders against any and all losses, liability and expense that may
be incurred by it by reason of taking or continuing to take any such action. The Administrative Agent and the
Collateral Agent shall in all cases be fully protected in acting, or in refraining from acting, under this Agreement
and the other Loan Documents in accordance with a request of the Required Lenders, including in the
Administrative Agent’s sole discretion, instructions from legal counsel to the Required Lenders (which, as of
the date hereof, is Vinson & Elkins LLP), and such request and any action taken or failure to act pursuant thereto
shall be binding upon all the Lenders and all future holders of the Loans; provided that the Administrative Agent
and Collateral Agent shall not be required to take any action that, in its opinion or in the opinion of its counsel,
may expose it to liability or that is contrary to any Loan Document or applicable Requirements of Law. The
Agents shall be entitled to rely upon, and shall not incur any liability for relying upon, any notice, request,
certificate, consent, statement, instrument, document or other writing (including any electronic message, Internet
or intranet website posting or other distribution) believed by it to be genuine and to have been signed, sent, or
otherwise authenticated by a proper person. The Agents may also rely upon any statement made to it orally and
believed by it to have been made by a proper person, and shall not incur any liability for relying thereon. In
determining compliance with any condition hereunder to the making of a Loan that by its terms must be fulfilled
to the satisfaction of a Lender, the Administrative Agent may presume that such condition is satisfactory to such
Lender unless the Administrative Agent shall have received written notice to the contrary from such Lender prior
to the making of such Loan. The Agents may consult with legal counsel (who may be counsel for the Required
Lenders), independent accountants and other advisors selected by it, and shall not be liable for any action taken
or not taken by it in accordance with the advice of any such counsel, accountants or advisors.

         SECTION 7.05.         Notice of Default. Neither the Administrative Agent nor the Collateral Agent shall
be deemed to have knowledge or notice of the occurrence of any Default or Event of Default hereunder unless
the Administrative Agent or Collateral Agent, as applicable, has received written notice from a Lender or the
Borrower referring to this Agreement, describing such Default or Event of Default and stating that such notice
is a “notice of default”. In the event that the Administrative Agent receives such a notice, it shall give notice
thereof to the Lenders and the Collateral Agent. The Administrative Agent shall take such action with respect
to such Default or Event of Default as shall be reasonably directed by the Required Lenders; provided that unless
and until the Administrative Agent shall have received such directions, the Administrative Agent may (but shall
not be obligated to) take such action, or refrain from taking such action, with respect to such Default or Event of
Default as it shall deem advisable in the best interests of the Lenders except to the extent that this Agreement
requires that such action be taken only with the approval of the Required Lenders or each individual Lender, as
applicable.

       SECTION 7.06.       Non-Reliance on Administrative Agent, Collateral Agent and Other Lenders.
Each Lender expressly acknowledges that neither the Administrative Agent nor the Collateral Agent nor any of
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their respective officers, directors, employees, agents, attorneys-in-fact or Affiliates has made any
representations or warranties to it and that no act by the Administrative Agent or Collateral Agent hereafter
taken, including any review of the affairs of the Borrower or any other Credit Party, shall be deemed to constitute
any representation or warranty by the Administrative Agent or Collateral Agent to any Lender. Each Lender
represents to the Administrative Agent and the Collateral Agent that it has, independently and without reliance
upon the Administrative Agent, Collateral Agent or any other Lender, and based on such documents and
information as it has deemed appropriate, made its own appraisal of and investigation into the business,
operations, property, financial and other condition and creditworthiness of the Borrower and each other Credit
Party and made its own decision to make its Loans hereunder and enter into this Agreement. Each Lender also
represents that it will, independently and without reliance upon the Administrative Agent, Collateral Agent or
any other Lender, and based on such documents and information as it shall deem appropriate at the time, continue
to make its own credit analysis, appraisals and decisions in taking or not taking action under this Agreement and
the other Loan Documents, and to make such investigation as it deems necessary to inform itself as to the
business, operations, property, financial and other condition and creditworthiness of the Borrower and any other
Credit Party. Except for notices, reports and other documents expressly required to be furnished to the Lenders
by the Administrative Agent hereunder, neither the Administrative Agent nor the Collateral Agent shall have
any duty or responsibility to provide any Lender with any credit or other information concerning the business,
assets, operations, properties, financial condition, prospects or creditworthiness of the Borrower or any other
Credit Party that may come into the possession of the Administrative Agent or Collateral Agent or any of their
respective officers, directors, employees, agents, attorneys-in-fact or Affiliates. The Agents shall not be
responsible for or have any duty to ascertain or inquire into (i) any statement, warranty or representation made
in or in connection with any Loan Document, (ii) the contents of any certificate, report or other document
delivered hereunder or thereunder or in connection herewith or therewith, (iii) the performance or observance of
any of the covenants, agreements or other terms or conditions set forth in any Loan Document or the occurrence
of any Default or Event of Default, (iv) the validity, enforceability, effectiveness or genuineness of any Loan
Document or any other agreement, instrument or document or (v) the satisfaction of any condition set forth in
Article IV or elsewhere in any Loan Document. Whenever in the administration of this Agreement, or pursuant
to any of the Loan Documents, the Administrative Agent shall deem it necessary or desirable (in each case, in
its sole discretion) that a matter be proved or established with respect to Borrower or the Guarantors in
connection with the taking, suffering or omitting of any action hereunder by the, such matter (unless other
evidence in respect thereof be herein specifically prescribed) may be deemed to be conclusively provided or
established by an Officers’ Certificate and such certificate shall be full warranty to such Administrative Agent
for any action taken, suffered or omitted in reliance thereon. In no event shall the Administrative Agent be
responsible or liable for any failure or delay in the performance of its obligations hereunder arising out of or
caused by, directly or indirectly, forces beyond its control, including, without limitation, strikes, work stoppages,
accidents, acts of war or terrorism, civil or military disturbances, nuclear or natural catastrophes or acts of God,
future changes in applicable law or regulation, and interruptions, loss or malfunctions of utilities,
communications or computer (software and hardware) services; it being understood that the Administrative
Agent shall use reasonable efforts consistent with accepted practices in the banking industry to resume
performance as soon as practicable under the circumstances.

         SECTION 7.07.         Indemnification. The Lenders agree to indemnify the Administrative Agent and
the Collateral Agent, each in its capacity as such (to the extent not reimbursed by the Credit Parties and without
limiting the obligation of the Credit Parties to do so), ratably according to their respective portions of the Loans,
as applicable, outstanding in effect on the date on which indemnification is sought (or, if indemnification is
sought after the date upon which the Loans shall have been paid in full, ratably in accordance with their
respective portions of the Loans in effect immediately prior to such date), from and against any and all liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind
whatsoever that may at any time (including at any time following the payment of the Loans) occur, be imposed
on, incurred by or asserted against the Administrative Agent or the Collateral Agent in any way relating to or
arising out of this Agreement, any of the other Loan Documents or any documents contemplated by or referred
to herein or therein or the transactions contemplated hereby or thereby or any action taken or omitted by the
Administrative Agent or the Collateral Agent under or in connection with any of the foregoing, IN ALL CASES,
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WHETHER OR NOT CAUSED BY OR ARISING, IN WHOLE OR IN PART, OUT OF THE
COMPARATIVE, CONTRIBUTORY, OR SOLE NEGLIGENCE OF SUCH AGENT; provided that no Lender
shall be liable to the Administrative Agent or the Collateral Agent for the payment of any portion of such
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
resulting from such Agent’s, as applicable, gross negligence or willful misconduct as determined by a final
judgment of a court of competent jurisdiction; provided, further, that no action taken in accordance with the
directions of the Required Lenders (or such other number or percentage of the Lenders as shall be required by
the Loan Documents) shall be deemed to constitute gross negligence or willful misconduct for purposes of this
Section 7.07. In the case of any investigation, litigation or proceeding giving rise to any liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind whatsoever
that may at any time occur (including at any time following the payment of the Loans), this Section 7.07 applies
whether any such investigation, litigation or proceeding is brought by any Lender or any other Person. Without
limitation of the foregoing, each Lender shall reimburse the Administrative Agent and the Collateral Agent upon
demand for its ratable share of any fees, costs or out-of-pocket expenses (including attorneys’ fees) incurred by
such Agent in connection with the preparation, execution, delivery, administration, modification, amendment or
enforcement (whether through negotiations, legal proceedings or otherwise) of, or legal advice rendered in
respect of rights or responsibilities under, this Agreement, any other Loan Document, or any document
contemplated by or referred to herein, to the extent that such Agent is not reimbursed for such expenses by or
on behalf of the Borrower; provided that such reimbursement by the Lenders shall not affect the Borrower’s
continuing reimbursement obligations with respect thereto. If any indemnity furnished to any Agent for any
purpose shall, in the opinion of such Agent, be insufficient or become impaired, such Agent may call for
additional indemnity and cease, or not commence, to do the acts indemnified against until such additional
indemnity is furnished; provided, in no event shall this sentence require any Lender to indemnify any Agent
against any liability, obligation, loss, damage, penalty, action, judgment, suit, cost, expense or disbursement in
excess of such Lender’s pro rata portion thereof; and provided further, this sentence shall not be deemed to
require any Lender to indemnify any Agent against any liability, obligation, loss, damage, penalty, action,
judgment, suit, cost, expense or disbursement resulting from such Agent’s gross negligence or willful
misconduct, as determined in the final judgment of a court of competent jurisdiction. The agreements in this
Section 7.07 shall survive the payment of the Loans and all other amounts payable hereunder, or the earlier
resignation or removal of the Agents.

         SECTION 7.08.        Agents in Their Individual Capacity. Each Agent and its Affiliates may make
loans to, accept deposits from and generally engage in any kind of business with the Borrower and any other
Credit Party as though such Agent were not an Agent hereunder and under the other Loan Documents. With
respect to the Loans made by it, each Agent shall have the same rights and powers under this Agreement and the
other Loan Documents as any Lender and may exercise the same as though it were not an Agent, and the terms
“Lender” and “Lenders” shall include each Agent in its individual capacity.

          SECTION 7.09.        Successor Agents. Each of the Administrative Agent and Collateral Agent may at
any time give notice of its resignation to the Lenders and the Borrower, and the Borrower or the Required
Lenders may at any time that the Administrative Agent or the Collateral Agent becomes a Defaulting Agent
deliver notice of removal to the Administrative Agent or Collateral Agent, as applicable. Upon receipt of any
such notice of resignation or removal, the Required Lenders shall have the right, subject to the consent of the
Borrower (not to be unreasonably withheld or delayed) so long as no Event of Default is continuing, to appoint
a successor, which shall be a bank with an office in the United States, or an Affiliate of any such bank with an
office in the United States or another institution providing third party loan agency services. If, in the case of a
resignation of a retiring Agent, no such successor shall have been so appointed by the Required Lenders and
shall have accepted such appointment within 30 days after the retiring Agent gives notice of its resignation, then
the retiring Agent may on behalf of the Lenders, appoint a successor Agent meeting the qualifications set forth
above; provided that if the retiring Agent shall notify the Borrower and the Lenders that no qualifying Person
has accepted such appointment, then such resignation shall nonetheless become effective in accordance with
such notice and (1) the retiring Agent shall be discharged from its duties and obligations hereunder and under
the other Loan Documents (except in the case of the Collateral Agent holding collateral security on behalf of
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any Secured Parties, the retiring Collateral Agent shall continue to hold such collateral security as nominee until
such time as a successor Collateral Agent is appointed) and (2) all payments, communications and
determinations provided to be made by, to or through such Agent shall instead be made by or to each Lender
directly, until such time as the Required Lenders appoint a successor Agent as provided for above in this
Section 7.09. Upon the acceptance of a successor’s appointment as the Administrative Agent or Collateral
Agent, as the case may be, hereunder, and upon the execution and filing or recording of such financing
statements, or amendments thereto, and such other instruments or notices, as may be necessary or desirable, or
as the Required Lenders may request, in order to continue the perfection of the Liens granted or purported to be
granted by the Security Documents, such successor shall succeed to and become vested with all of the rights,
powers, privileges and duties of the retiring (or retired) Agent, and the retiring Agent shall be discharged from
all of its duties and obligations hereunder or under the other Loan Documents (if not already discharged
therefrom as provided above in this Section). The fees payable by the Borrower (following the effectiveness of
such appointment) to such Agent shall be the same as those payable to its predecessor unless otherwise agreed
between the Borrower and such successor. After the retiring Agent’s resignation hereunder and under the other
Loan Documents, the provisions of this Article VII (including Section 7.07) and Section 8.05 shall continue in
effect for the benefit of such retiring Agent, its Subagents and their respective Related Parties in respect of any
actions taken or omitted to be taken by any of them while the retiring Agent was acting as an Agent.

          SECTION 7.10.         Payments Set Aside. To the extent that any payment by or on behalf of the
Borrower is made to the Administrative Agent, the Collateral Agent or any Lender, or the Administrative Agent,
the Collateral Agent or any Lender exercises its right of setoff, and such payment or the proceeds of such setoff
or any part thereof is subsequently invalidated, declared to be fraudulent or preferential, set aside or required
(including pursuant to any settlement entered into by the Administrative Agent, the Collateral Agent or such
Lender in its discretion) to be repaid to a trustee, receiver or any other party, in connection with any proceeding
under the Bankruptcy Code or otherwise, then (a) to the extent of such recovery, the obligation or part thereof
originally intended to be satisfied shall be revived and continued in full force and effect as if such payment had
not been made or such setoff had not occurred and (b) each Lender severally agrees to pay to the Administrative
Agent or the Collateral Agent, as applicable, upon demand its applicable share (without duplication) of any
amount so recovered from or repaid by the Administrative Agent or the Collateral Agent, as applicable, plus
interest thereon from the date of such demand to the date such payment is made at a rate per annum equal to the
applicable Federal Funds Rate from time to time in effect, in the applicable currency of such recovery or
payment. The obligations of the Lenders under clause (b) of the preceding sentence shall survive the payment
in full of the Loan Obligations and the termination of this Agreement, or the earlier resignation or removal of
the Agent.

         SECTION 7.11.         Bankruptcy Plan Voting. In case of the pendency of any proceeding under the
Bankruptcy Code or other judicial proceeding relative to any Credit Party, each Lender shall submit any vote on
a plan of reorganization or similar disposition plan of restructuring or liquidation (a “Reorganization Plan”) to
the Administrative Agent so that it is received by the Administrative Agent no later than three (3) Business Days
prior to voting deadline established pursuant to the terms of such Reorganization Plan or any court order
establishing voting procedures with respect to the Reorganization Plan (the “Voting Procedures Order”). If
Lenders constituting more than half of the total number of Lenders and having or holding more than two-thirds
of the aggregate outstanding Loans of all Lenders at such time timely vote to accept the Reorganization Plan,
the Administrative Agent shall submit a ballot on behalf of all Lenders voting to accept the Reorganization Plan
in accordance with the terms of the Reorganization Plan or the Voting Procedures Order. If Lenders constituting
more than half of the total number of Lenders and having or holding more than two-thirds of the aggregate
outstanding Loans at such time of all Lenders do not timely vote to accept the Reorganization Plan, the
Administrative Agent shall submit a ballot on behalf of all Lenders voting to reject the Reorganization Plan in
accordance with the terms of the Reorganization Plan or the Voting Procedures Order. For purposes of
calculating the total number of Lenders and the number of Lenders voting to accept the Reorganization Plan,
Lenders that are Affiliates shall be deemed to be a single Lender holding a single claim with respect to each class
of creditors in which such Lenders and Affiliates are included. No Lender may submit a ballot with respect to a
Reorganization Plan in contravention of the procedures set forth in this Section 7.11, and the Administrative
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Agent is irrevocably authorized by each Lender to withdraw any vote submitted by such Lender in contravention
of the procedures set forth in this Section 7.11.

         SECTION 7.12.          Administrative Agent May File Proofs of Claim. In case of the pendency of any
proceeding under the Bankruptcy Code or any other judicial proceeding relative to any Credit Party, the
Administrative Agent (irrespective of whether the principal of any Loan shall then be due and payable as
herein expressed or by declaration or otherwise and irrespective of whether the Administrative Agent shall
have made any demand on the Borrower) shall be entitled and empowered, by intervention in such proceeding
or otherwise, (i) to file and prove a claim for the whole amount of the principal and interest owing and unpaid
in respect of the Loans and all other Loan Obligations that are owing and unpaid and to file such other
documents as may be necessary or advisable in order to have the claims of the Lenders and the Administrative
Agent (including any claim for the reasonable compensation, expenses, disbursements and advances of the
Lenders and the Administrative Agent and their respective agents and counsel and all other amounts due the
Lenders and the Administrative Agent under Section 8.05) allowed in such judicial proceeding and (ii) to
collect and receive any monies or other property payable or deliverable on any such claims and to distribute
the same; and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any
such judicial proceeding is hereby authorized by each Lender to make such payments to the Administrative
Agent and, if the Administrative Agent shall consent to the making of such payments directly to the Lenders,
to pay to the Administrative Agent any amount due for the reasonable compensation, expenses, disbursements
and advances of the Administrative Agent and its agents and counsel, and any other amounts due the
Administrative Agent under Section 8.05. Nothing contained herein shall be deemed to authorize the
Administrative Agent to authorize or consent to or accept or adopt on behalf of any Lender any plan of
reorganization, arrangement, adjustment or composition affecting the Loan Obligations or the rights of any
Lender to authorize the Administrative Agent to vote in respect of the claim of any Lender or in any such
proceeding.

          SECTION 7.13.         Collateral Matters. (a) The Lenders irrevocably authorize the Collateral Agent, at
its option and in its discretion or in accordance with the instructions and Officers’ Certificates delivered to the
Collateral Agent in connection therewith, to release any Lien on any property granted to or held by the Collateral
Agent under any Loan Document (i) upon payment in full of all Loan Obligations (other than contingent
indemnification obligations and expense reimbursement claims to the extent no claim therefor has been made),
(ii) if approved, authorized or ratified in writing in accordance with Section 8.01, (iii) pursuant to the
Intercreditor Agreement or the Security Documents or (iv) pursuant to Section 8.19. Upon request by the
Collateral Agent at any time, the Required Lenders will confirm in writing the Collateral Agent’s authority to
release its interest in particular types or items of property in accordance with this Section; provided that the
Collateral Agent shall rely conclusively on Officers’ Certificates and instruction delivered by the Borrower or
the other Credit Parties in connection herewith.

                 (b)      Each Secured Party hereby further authorizes the Administrative Agent or Collateral
Agent, as applicable, on behalf of and for the benefit of Secured Parties, to be the agent for and representative
of the Secured Parties with respect to the Security Documents. Subject to Section 8.01, without further written
consent or authorization from any Secured Party, the Administrative Agent or Collateral Agent, as applicable,
may (a) execute any documents or instruments necessary in connection with a disposition of assets permitted by
this Agreement, (b) release any Lien encumbering any item of Collateral that is the subject of such disposition
of assets permitted hereunder or with respect to which Required Lenders (or such other Lenders as may be
required to give such consent under Section 8.01) have otherwise consented or (c) release any Guarantor from
the Guarantee with respect to which Required Lenders (or such other Lenders as may be required to give such
consent under Section 8.01) have otherwise consented.

                  (c)      The Agents shall not be responsible for or have a duty to ascertain or inquire into any
representation or warranty regarding the existence, value or collectability of the Collateral, the existence, priority
or perfection of the Collateral Agent’s Lien thereon, or any certificate prepared by any Credit Party in connection

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therewith, nor shall an Agent be responsible or liable to the Lenders for any failure to monitor or maintain any
portion of the Collateral, including the filing of any UCC financing or continuation statements.

          SECTION 7.14.        Intercreditor Agreement and Other Collateral Matters. The Lenders hereby agree
to the terms of the Intercreditor Agreement and acknowledge that GS (and any Collateral Agent under the
Security Documents and the Intercreditor Agreement) will be serving as Collateral Agent for the Secured Parties
under the Security Documents and the Intercreditor Agreement and in other capacities contemplated thereby.
Each Lender hereby consents to GS and any successor serving in such capacities and agrees not to assert any
claim (including as a result of any conflict of interest) against GS, or any such successor, arising from the role
of the Collateral Agent under the Security Documents or the Intercreditor Agreement so long as the Collateral
Agent is either acting in accordance with the express terms of such documents or otherwise has not engaged in
gross negligence or willful misconduct as found by a final non-appealable judgment of a court of competent
jurisdiction. Each Lender hereby consents to GS and any successor serving in such capacities and agrees not to
assert any claim (including as a result of any conflict of interest) against GS, or any such successor, arising from
the role of the Collateral Agent under the Security Documents so long as the Collateral Agent is either acting in
accordance with the express terms of such documents or otherwise has not engaged in gross negligence or willful
misconduct as found by a final non-appealable judgment of a court of competent jurisdiction. In addition, the
Administrative Agent and the Collateral Agent shall be authorized, without the consent of any Secured Party, to
enter into or execute the Security Documents and the Intercreditor Agreement on or prior to the Closing Date,
and, from time to time, to execute or to enter into amendments of, and amendments and restatements of, the
Security Documents and the Intercreditor Agreement and any additional and replacement intercreditor
agreements, including the Customary Intercreditor Agreements, in each case in order to effect the subordination
of and to provide for certain additional rights, obligations and limitations in respect of, any Liens required by
the terms of this Agreement to be Liens junior to, pari passu with or senior to the Loan Obligations, that are, in
each case, incurred in accordance with Article V of this Agreement, and to establish certain relative rights as
between the holders of the Loan Obligations and the holders of the Indebtedness secured by such Liens.

         SECTION 7.15.         Withholding Tax. To the extent required by any applicable Requirement of Law,
the Administrative Agent may withhold from any payment to any Lender an amount equivalent to any applicable
withholding tax. If the IRS or any authority of the United States or other jurisdiction asserts a claim that the
Administrative Agent did not properly withhold tax from amounts paid to or for the account of any Lender for
any reason (including because the appropriate form was not delivered, was not properly executed, or because
such Lender failed to notify the Administrative Agent of a change in circumstances that rendered the exemption
from, or reduction of, withholding tax ineffective), such Lender shall indemnify the Administrative Agent (to
the extent that the Administrative Agent has not already been reimbursed by any applicable Credit Party and
without limiting the obligation of any applicable Credit Party to do so) fully for all amounts paid, directly or
indirectly, by the Administrative Agent as Tax or otherwise, including penalties, additions to Tax and interest,
together with all expenses incurred, including legal expenses, allocated staff costs and any out of pocket
expenses. Each Lender hereby authorizes the Administrative Agent to set off and apply any and all amounts at
any time owing to such Lender under this Agreement or any other Loan Document against any amount due to
the Administrative Agent under this Section 7.15.

         SECTION 7.16.         Erroneous Payment.

                  (a)     If the Administrative Agent notifies a Lender or Secured Party, or any Person who has
received funds on behalf of a Lender or Secured Party (any such Lender, Issuing Bank, Secured Party or other
recipient, a “Payment Recipient”) that the Administrative Agent has determined in its sole discretion (whether
or not after receipt of any notice under immediately succeeding clause (b)) that any funds received by such
Payment Recipient from the Administrative Agent or any of its Affiliates were erroneously transmitted to, or
otherwise erroneously or mistakenly received by, such Payment Recipient (whether or not known to such Lender,
Secured Party or other Payment Recipient on its behalf) (any such funds, whether received as a payment,
prepayment or repayment of principal, interest, fees, distribution or otherwise, individually and collectively, an
“Erroneous Payment”) and demands the return of such Erroneous Payment (or a portion thereof) (provided, that
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without limiting any other rights or remedies (whether at law or in equity), the Administrative Agent may not
make any such demand under this sentence with respect to an Erroneous Payment unless such demand is made
within ten (10) Business Days of the date of receipt of such Erroneous Payment by the applicable Payment
Recipient), such Erroneous Payment shall at all times remain the property of the Administrative Agent and shall
be segregated by the Payment Recipient and held in trust for the benefit of the Administrative Agent, and such
Lender or Secured Party shall (or, with respect to any Payment Recipient who received such funds on its behalf,
shall cause such Payment Recipient to) promptly, but in no event later than two Business Days thereafter, return
to the Administrative Agent the amount of any such Erroneous Payment (or portion thereof) as to which such a
demand was made, in same day funds (in the currency so received). A notice of the Administrative Agent to any
Payment Recipient under this clause (a) shall be conclusive, absent manifest error.

                   (b)        Without limiting immediately preceding clause (a), each Lender and Secured Party
hereby further agrees that if it (or any Payment Recipient who on its behalf) receives a payment, prepayment or
repayment (whether received as a payment, prepayment or repayment of principal, interest, fees, distribution or
otherwise) from the Administrative Agent (or any of its Affiliates) (x) that is in a different amount than, or on a
different date from, that specified in a notice of payment, prepayment or repayment sent by the Administrative
Agent (or any of its Affiliates) with respect to such payment, prepayment or repayment, (y) that was not preceded
or accompanied by a notice of payment, prepayment or repayment sent by the Administrative Agent (or any of
its Affiliates), or (z) that such Lender or Secured Party, or other such recipient, otherwise becomes aware was
transmitted, or received, in error or by mistake (in whole or in part) in each case:

                           (i)      (A) in the case of immediately preceding clauses (x) or (y), an error shall be
         presumed to have been made (absent written confirmation from the Administrative Agent to the
         contrary) or (B) an error has been made (in the case of immediately preceding clause (z)), in each case,
         with respect to such payment, prepayment or repayment; and

                          (ii)     such Lender or Secured Party shall (and shall cause any other recipient that
         receives funds on its respective behalf to) promptly (and, in all events, within one Business Day of its
         knowledge of such error) notify the Administrative Agent of its receipt of such payment, prepayment
         or repayment, the details thereof (in reasonable detail) and that it is so notifying the Administrative
         Agent pursuant to this Section 7.16(b).

                 (c)       Each Lender or Secured Party hereby authorizes the Administrative Agent to set off,
net and apply any and all amounts at any time owing to such Lender or Secured Party under any Loan Document,
or otherwise payable or distributable by the Administrative Agent to such Lender or Secured Party from any
source, against any amount due to the Administrative Agent under immediately preceding clause (a) or under
the indemnification provisions of this Agreement.

                  (d)      In the event that an Erroneous Payment (or portion thereof) is not recovered by the
Administrative Agent for any reason, after demand therefor by the Administrative Agent in accordance with
immediately preceding clause (a), from any Lender that has received such Erroneous Payment (or portion
thereof) (and/or from any Payment Recipient who received such Erroneous Payment (or portion thereof) on its
respective behalf) (such unrecovered amount, an “Erroneous Payment Return Deficiency”), upon the
Administrative Agent’s notice to such Lender at any time, (i) such Lender shall be deemed to have assigned its
Loans with respect to which such Erroneous Payment was made (the “Erroneous Payment Impacted Loans”) in
an amount equal to the Erroneous Payment Return Deficiency (or such lesser amount as the Administrative
Agent may specify) (such assignment of the Loans of the Erroneous Payment Impacted Loans, the “Erroneous
Payment Deficiency Assignment”) at par plus any accrued and unpaid interest (with the assignment fee to be
waived by the Administrative Agent in such instance), and is hereby (together with the Borrower) deemed to
execute and deliver an Assignment and Acceptance (or, to the extent applicable, an agreement incorporating an
Assignment and Acceptance by reference pursuant to the Platform as to which the Administrative Agent and
such parties are participants) with respect to such Erroneous Payment Deficiency Assignment, and such Lender
shall deliver any Notes evidencing such Loans to the Borrower or the Administrative Agent, (ii) the
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Administrative Agent as the assignee Lender shall be deemed to acquire the Erroneous Payment Deficiency
Assignment, (iii) upon such deemed acquisition, the Administrative Agent as the assignee Lender shall become
a Lender, as applicable, hereunder with respect to such Erroneous Payment Deficiency Assignment and the
assigning Lender shall cease to be a Lender hereunder with respect to such Erroneous Payment Deficiency
Assignment, excluding, for the avoidance of doubt, its obligations under the indemnification provisions of this
Agreement which shall survive as to such assigning Lender and (iv) the Administrative Agent may reflect in the
Register its ownership interest in the Loans subject to the Erroneous Payment Deficiency Assignment. The
Administrative Agent may, in its discretion, sell any Loans acquired pursuant to an Erroneous Payment
Deficiency Assignment and upon receipt of the proceeds of such sale, the Erroneous Payment Return Deficiency
owing by the applicable Lender shall be reduced by the net proceeds of the sale of such Loan (or portion thereof),
and the Administrative Agent shall retain all other rights, remedies and claims against such Lender (and/or
against any recipient that receives funds on its respective behalf). In addition, each party hereto agrees that,
except to the extent that the Administrative Agent has sold a Loan (or portion thereof) acquired pursuant to an
Erroneous Payment Deficiency Assignment, and irrespective of whether the Administrative Agent may be
equitably subrogated, the Administrative Agent shall be contractually subrogated to all the rights and interests
of the applicable Lender or Secured Party under the Loan Documents with respect to each Erroneous Payment
Return Deficiency (the “Erroneous Payment Subrogation Rights”).

                  (e)      The parties hereto agree that (i) an Erroneous Payment shall not pay, prepay, repay,
discharge or otherwise satisfy any Loan Obligations owed by the Borrower or any other Credit Party and (ii) to
the extent an Erroneous Payment was in any way or at any time credited as a payment or satisfaction of any of
the Loan Obligations, the Loan Obligations or part thereof that were so credited, and all rights of the applicable
Lender, other Secured Party or Administrative Agent, as the case may be, shall be reinstated and continue in full
force and effect as if such payment or satisfaction had never been received, except, in each case, to the extent
such Erroneous Payment is, and solely with respect to the amount of such Erroneous Payment that is, comprised
of funds received by the Administrative Agent from the Borrower or any other Credit Party for the purpose of
making such Erroneous Payment. Further, each party hereto agrees that, in the event a Secured Party is the
recipient of an Erroneous Payment and such Secured Party fails to return such Erroneous Payment in accordance
with Section 7.16(a), then the Administrative Agent shall be entitled to (x) collect from the Borrower or any
other Credit Party any Obligations owed by the Borrower or any other Credit Party to such Secured Party up to
and including the amount of the Erroneous Payment, plus any other amounts owed by such Secured Party under
the indemnification provisions of this Agreement, except, to the extent such Erroneous Payment is, and solely
with respect to the amount of such Erroneous Payment that is, comprised of funds received by the Administrative
Agent from the Borrower or any other Credit Party for the purpose of making such Erroneous Payment and (y)
exercise its rights and remedies under Section 7.16(c) until the Administrative Agent has received all amounts
owed by the Secured Party to the Administrative Agent pursuant to Section 7.16(a).

                   (f)      To the extent permitted by applicable law, no Payment Recipient shall assert any right
or claim to an Erroneous Payment, and hereby waives, and is deemed to waive, any claim, counterclaim, defense
or right of set-off or recoupment with respect to any demand, claim or counterclaim by the Administrative Agent
for the return of any Erroneous Payment received, including without limitation waiver of any defense based on
“discharge for value” or any similar doctrine.

                 (g)     Each party’s obligations, agreements and waivers under this Section 7.16 shall survive
the resignation or replacement of the Administrative Agent, any transfer of rights or obligations by, or the
replacement of, a Lender, and/or the repayment, satisfaction or discharge of all Obligations (or any portion
thereof) under any Loan Document.



                                                 Miscellaneous

         SECTION 8.01.         Amendments and Waivers.
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                   (a)         Without Consent of the Lenders.

               The Borrower and the Administrative Agent may amend this Agreement and the other Loan
Documents without notice to or consent of any Lender:

                               (i)     to cure any ambiguity, omission, mistake, defect or inconsistency;

                            (ii)   to provide for the assumption by a successor corporation, partnership or
         limited liability company of the obligations of the Borrower or any Subsidiary Guarantor under this
         Agreement or any other Loan Document (in each case so long as such successor corporation, partnership
         or limited liability company is designated in accordance with Section 5.11);

                               (iii)   to comply with Section 5.11;

                          (iv)         to add a Subsidiary Guarantor with respect to the Obligations or Collateral to
         secure the Obligations;

                            (v)     to release Collateral or a Guarantor as permitted by this Agreement, the
         Security Documents or the Intercreditor Agreement (other than to the extent constituting all or
         substantially all of the Collateral or value of the Guarantees); and

                          (vi)     to add additional secured creditors holding other Junior Lien Obligations so
         long as such obligations are not prohibited by this Agreement or the Security Documents.

         The Intercreditor Agreement may be amended without the consent of any Lender or Agent in connection
with the permitted entry into the Intercreditor Agreement of any class of additional secured creditors holding
Junior Lien Obligations to effectuate such entry into the Intercreditor Agreement and to make the lien of such
class equal and ratable with, as applicable, the lien of the Junior Lien Obligations.

         Each Lender hereunder (x) consents to the amendment of any Loan Document in the manner and for
the purposes set forth in this Section 8.01(a), (y) agrees that it will be bound by and will take no actions contrary
to the provisions of any amendment to any Loan Document pursuant to Section 8.01(a) and (z) authorizes and
instructs the Administrative Agent to enter into any amendment to any Loan Document pursuant to this
Section 8.01(a) on behalf of such Lender.

        The Administrative Agent shall receive an Officers’ Certificate as conclusive evidence that any
amendment executed pursuant to this Section 8.01(a) complies with the requirements of this Section 8.01(a), is
permitted or authorized by this Agreement and is the legal, valid and binding obligation of the Borrower,
enforceable against it in accordance with its terms.

                (b)     With Consent of the Lenders. The Borrower and the Administrative Agent may amend
this Agreement and the other Loan Documents with the written consent of the Required Lenders, and any past
default or noncompliance with any provisions may be waived with the consent of the Required Lenders.
Notwithstanding the foregoing, without the consent of each Lender of an affected Loan (but not the Required
Lenders), no amendment may:

                           (i)      increase or reduce the principal amount of such Loans or waive or extend the
         time for payment of any portion of the principal amount thereof (it being understood that a waiver,
         deferral, reduction or other adjustment to a mandatory prepayment under Section 2.13 shall only require
         the consent of the Required Lenders),

                        (ii)     reduce the rate of, or extend the time for payment of interest on, any Loan, (it
         being understood that only the consent of the Required Lenders shall be necessary to waive any
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         obligation of the Borrower to pay interest at the default rate under Section 2.06(b) or amend
         Section 2.06(b)),

                          (iii)    reduce the principal of or change the Stated Maturity of any Loan (it being
         understood that a waiver, deferral, reduction or other adjustment to a mandatory prepayment under
         Section 2.13 shall only require the consent of the Required Lenders),

                          (iv)    reduce the premium payable (if any) upon prepayment of any Loan or change
         the time at which any such premium must be paid,

                               (v)   make any Loan payable in money other than that stated in this Agreement,

                          (vi)   consent to the transfer of the Borrower’s obligations under this Agreement
         and/or the other Loan Documents,

                          (vii)   waive, amend or modify the provisions of Section 2.19 or Section 6.02 in a
         manner that would alter the pro rata sharing of payments required thereby (except in connection with a
         transaction permitted under Section 8.06(e) and Section 8.07),

                          (viii) make any change in the second sentence of this Section 8.01(b) or the
         definition of the term “Required Lenders,” or any other provision hereof expressly specifying the
         number or percentage of Lenders required to waive, amend or modify any rights hereunder or under any
         other Loan Document,

                           (ix)    (A) release all or substantially all of the value of the Guarantee or release all
         or substantially all of the Collateral, in each case, whether in one or more transactions, (except as
         otherwise permitted herein or in the other Loan Documents) or (B) subordinate the Loan Obligations or
         a Lien on a material portion of the Collateral, taken as a whole, (as determined by the Borrower in good
         faith), securing the Obligations, in either case, to any other Indebtedness other than in connection with
         a debtor-in-possession financing,

                           (x)      make any change in the provisions dealing with the application of proceeds of
         Collateral in the Intercreditor Agreement or this Agreement that would adversely affect the Lenders,

                          (xi)    amend Section 7.07 or any other provision hereof providing for
         indemnification obligations of the Agents or Lenders;

        provided further that no amendment, waiver or other modification of any provision of any Loan
Document in a manner that directly and adversely affects the Administrative Agent or the Collateral Agent shall
be effective without the written consent of the then-current Administrative Agent and Collateral Agent, as
applicable, or any other former or current Agent to whom Article VII then applies.

         SECTION 8.02.          Notices. Except as otherwise set forth herein, all notices, requests and demands
to or upon the respective parties hereto to be effective shall be in writing (including by facsimile or electronic
mail), and, unless otherwise expressly provided herein, shall be deemed to have been duly given or made when
delivered, or three days after being deposited in the mail, postage prepaid, or, in the case of telecopy or electronic
mail notice, when received, addressed as follows in the case of the Borrower and the Administrative Agent, and
as set forth on Schedule 2.01 in the case of the other parties hereto, or to such other address as may be hereafter
notified by the respective parties hereto:

                   The Borrower:                      Fieldwood Energy LLC
                                                      2000 W. Sam Houston Pkwy. S., Suite
                                                      1200
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                                                    Houston, TX 77042
                                                    Attention: Mike Dane, Chief Financial
                                                    Officer
                                                    Fax: (713) 969-1099
                                                    Email: mdane@fwellc.com

                   With a copy to:                  Weil, Gotshal & Manges LLP
                                                    200 Crescent Court, Suite 300
                                                    Dallas, Texas 75201
                                                    Attention: Courtney S. Marcus
                                                    Fax: (214) 746-7700
                                                    Email: courtney.marcus@weil.com

                   The Administrative Agent and the Collateral Agent:

                                                    Goldman Sachs Bank USA
                                                    2001 Ross Avenue
                                                    Suite 2800
                                                    Dallas, Texas 75201
                                                    Attention: [Borrower], Account Manager
                                                    Email: Brendan.green@gs.com; matt.carter@gs.com; and
                                                    gs-slg-notices@gs.com

                   With a copy to:

                                                    Vinson & Elkins LLP
                                                    Trammell Crow Center
                                                    2001 Ross Avenue, Suite 3700
                                                    Dallas, TX 75201-2975
                                                    Attention: Christopher J. Dewar
                                                    Email: cdewar@velaw.com

                   Any other Lender:                At the address, telecopier number,
                                                    electronic mail address or telephone
                                                    number specified in its Administrative
                                                    Questionnaire;

provided that any notice, request or demand to or upon the Administrative Agent or the Lenders pursuant to
Section 2.03 shall not be effective until received.

                  Notices and other communications to the Lenders hereunder may be delivered or furnished by
electronic communication (including email and Internet or intranet websites) pursuant to procedures approved
in writing by the Administrative Agent; provided that the foregoing shall not apply to notices to any Lender
pursuant to Article II if such Lender has notified the Administrative Agent in writing that it is incapable of
receiving notices under such Article by electronic communication. The Administrative Agent or the Borrower
may, in their discretion, agree to accept notices and other communications to it hereunder by electronic
communications pursuant to procedures approved by them, provided that approval of such procedures may be
limited to particular notices or communications.

                 Documents required to be delivered pursuant to Section 5.01 (to the extent any such documents
are included in materials otherwise filed with the SEC) may be delivered electronically (including as set forth in
Section 8.18) and if so delivered, shall be deemed to have been delivered on the date (i) on which the Borrower
posts such documents, or provides a link thereto on the Borrower’s website on the Internet, or (ii) on which such
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documents are posted on the Borrower’s behalf on an Internet or intranet website, if any, to which each Lender
and the Administrative Agent have access (whether a commercial, third-party website or whether sponsored by
the Administrative Agent); provided that (A) the Borrower shall deliver paper copies of such documents to the
Administrative Agent or any Lender that requests the Borrower to deliver such paper copies until a written
request to cease delivering paper copies is given by the Administrative Agent or such Lender, and (B) the
Borrower shall notify the Administrative Agent and each Lender (by telecopier or electronic mail) of the posting
of any such documents and provide to the Administrative Agent by electronic mail electronic versions (i.e., soft
copies) of such documents.

         SECTION 8.03.          No Waiver; Cumulative Remedies. No failure to exercise and no delay in
exercising, on the part of the Administrative Agent, the Collateral Agent or any Lender, any right, remedy, power
or privilege hereunder or under the other Loan Documents shall operate as a waiver thereof, nor shall any single
or partial exercise of any right, remedy, power or privilege hereunder preclude any other or further exercise
thereof or the exercise of any other right, remedy, power or privilege. The rights, remedies, powers and
privileges herein provided are cumulative and not exclusive of any rights, remedies, powers and privileges
provided by law.

        SECTION 8.04.        Survival of Representations and Warranties. All representations and warranties
made hereunder, in the other Loan Documents and in any document, certificate or statement delivered pursuant
hereto or in connection herewith shall survive the execution and delivery of this Agreement and the making of
the Loans hereunder.

         SECTION 8.05.         Payment of Expenses; Indemnification.

                  (a)      Within 30 days after receipt of a written request, together with customary backup
documentation in reasonable detail, the Borrower shall pay (i) all reasonable and documented (in summary form)
out-of-pocket expenses incurred by the Administrative Agent in connection with the preparation and
administration of this Agreement or any amendments, modifications or waivers of the provisions hereof and (ii)
all reasonable and documented (in reasonable detail) out-of-pocket expenses incurred by the Administrative
Agent or any Lender, including the fees, charges and disbursements of legal counsel for the Administrative
Agent or any Lender, in connection with the enforcement or protection of its rights in connection with this
Agreement, including its rights under this Section 8.05(a), including all such out-of-pocket expenses incurred
during any workout, restructuring or negotiations in respect of such Loans; provided, that the Borrower’s
obligations under this Section 8.05(a) for fees and expenses of legal counsel shall be limited to fees and expenses
of (x) one primary outside legal counsel for the Administrative Agent and, if necessary, one local, regulatory or
foreign legal counsel for the Administrative Agent in each appropriate jurisdiction (which may include a single
special counsel acting in multiple jurisdictions) and (y) solely in the case of clause (ii) above, one primary outside
legal counsel for the Lenders and, if necessary, one local or foreign legal counsel to the Lenders in each
appropriate jurisdiction (which may include a single special counsel acting in multiple jurisdictions).

                  (b)     Each Credit Party agrees to indemnify and hold harmless each Lender and each Agent
and each of their respective affiliates, officers, partners, members, Directors, trustees, employees, managers,
advisors, consultants, administrators, agents, sub-agents and other Related Parties (each such Person, an
“Indemnitee”) promptly after receipt of a written request, together with customary backup documentation in
reasonable detail, from and against any Indemnified Liabilities, whether or not such proceedings are brought by
the Borrower, any of its Related Parties or any other third Person, IN ALL CASES, WHETHER OR NOT
CAUSED BY OR ARISING, IN WHOLE OR IN PART, OUT OF THE COMPARATIVE, CONTRIBUTORY
OR SOLE NEGLIGENCE OF SUCH INDEMNITEE; provided that each Credit Party’s obligations under this
Section 8.05(b) for fees and expenses of legal counsel (including the cost of any investigation and preparation)
shall be limited to the reasonable and documented (in summary form) out-of-pocket fees, disbursements and
other charges of (x) one primary outside counsel for the Indemnitees, taken as a whole, (y) if reasonably
necessary, one local or foreign legal counsel for the Indemnitees, taken as a whole, in each appropriate
jurisdiction (which may include a single special counsel acting in multiple jurisdictions) and (z) if reasonably
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necessary, one additional regulatory or other specialist counsel for the Indemnitees, taken as a whole, for each
relevant area of expertise (which may include a single special counsel acting in multiple areas) (unless there is
an actual or perceived conflict of interest in which case the affected Indemnitees, taken as a whole, may engage
one additional counsel and solely in the case of any such conflict of interest, one additional local counsel (which
may be a single firm for multiple jurisdictions) to all affected Indemnitees taken as a whole, in each such relevant
jurisdiction (limited, in the case of legal counsel, to one counsel to such Indemnitees, taken as a whole, and, if
reasonably necessary, of one local counsel in each relevant jurisdiction and one additional regulatory or other
specialist counsel for each relevant area of expertise (in each case, which may be a single firm for multiple
jurisdictions)); provided, further, that the Borrower shall have no obligation hereunder to any Agent or any
Lender or any of their respective Related Parties with respect to Indemnified Liabilities to the extent (1) found
by a court of competent jurisdiction in a final non- appealable judgment to have resulted from (i) the gross
negligence or willful misconduct of the party to be indemnified or (ii) any material breach of any Loan Document
by the party to be indemnified (other than a material breach by any Agent in its capacity as such unless such
material breach resulted from the gross negligence or willful misconduct of any Agent or its Related Parties) or
(2) arising from disputes, claims, demands, actions, judgments or suits not arising from any act or omission by
the Borrower or its Affiliates, brought by an indemnified Person against any other indemnified Person (other
than disputes, claims, demands, actions, judgments or suits involving claims against any Agent in its capacity as
such).     No Person entitled to indemnification under clause (b) of this Section 8.05 shall be liable for any
damages arising from the use by others of any information or other materials obtained through internet,
electronic, telecommunications or other information transmission systems (including IntraLinks or SyndTrak
Online) in connection with this Agreement or any other Loan Document, except to the extent that such damages
have resulted from the gross negligence, bad faith or willful misconduct of the party to be indemnified or any of
its Related Parties (as determined by a court of competent jurisdiction in a final and non-appealable decision).
To the extent that the undertakings to defend, indemnify, pay and hold harmless set forth in this Section 8.05
may be unenforceable in whole or in part because they are violative of any law or public policy, the applicable
Credit Party shall contribute the maximum portion that it is permitted to pay and satisfy under applicable law to
the payment and satisfaction of all Indemnified Liabilities incurred by Indemnitees or any of them.

                 (c)      To the extent permitted by applicable law, none of Holdings, the Borrower or any
Indemnitee shall have any liability for any special, punitive, indirect or consequential damages (including,
without limitation, any loss of profits, business or anticipated savings) relating to this Agreement or any other
Loan Document or arising out of its activities in connection herewith or therewith (whether before or after the
Closing Date); provided that nothing contained in this clause (c) shall limit the obligations of the Borrower under
Section 8.05(b) in respect of any such damages claimed against the Indemnitees by Persons other than the
Indemnitees.

                 (d)      The agreements in this Section 8.05 shall survive repayment of the Loans and all other
amounts payable hereunder, and the earlier resignation or removal of any Agent. This Section 8.05 shall not
apply with respect to any Taxes other than Taxes that represent liabilities, obligations, losses, damages, penalties,
claims, demands, actions, judgments, suits, costs, expenses or disbursements of any kind or nature whatsoever
resulting from a non-Tax claim.

         SECTION 8.06.         Successors and Assigns; Participations and Assignments.

                  (a)      The provisions of this Agreement shall be binding upon and inure to the benefit of the
parties hereto and their respective successors and assigns permitted hereby, except that (i) the Borrower may not
assign or otherwise transfer any of its rights or obligations hereunder without the prior written consent of each
Lender other than pursuant to Section 5.11 (and any attempted assignment or transfer by the Borrower without
such consent shall be null and void) and (ii) no Lender may assign or otherwise transfer its rights or obligations
hereunder except in accordance with this Section 8.06. Nothing in this Agreement, expressed or implied, shall
be construed to confer upon any Person (other than the parties hereto, their respective successors and assigns
permitted hereby, Participants (to the extent provided in clause (c) of this Section 8.06), and, to the extent

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expressly contemplated hereby, the Related Parties of each of the Agents and the Lenders) any legal or equitable
right, remedy or claim under or by reason of this Agreement or the other Loan Documents.

                  (b)      (i) Subject to the conditions set forth in clause (b)(ii) below and the limitations on
assignment set forth in clauses (e) below, any Lender may assign to one or more (each, an “Assignee”) all or a
portion of its rights and obligations under this Agreement (including all or a portion of the Loans at the time
owing to it) by:

                                     (A) providing written notice to the Borrower and, so long as no Event of
                   Default is continuing, obtaining the consent of the Borrower, which consent shall not be
                   unreasonably withheld or delayed (it being understood that the Borrower will be deemed to
                   have consented to an assignment if it has not responded to a request for consent to such
                   assignment within ten (10) Business Days after receipt of written request therefor); provided
                   that no consent of the Borrower shall be required for an assignment of any Loan to a Lender,
                   an Affiliate of a Lender or an Approved Fund (as defined below); and

                                    (B) obtaining the consent of the Administrative Agent (which consent shall
                   not be unreasonably withheld or delayed); provided that no consent of the Administrative Agent
                   shall be required for an assignment of any Loan to a Lender, an Affiliate of a Lender or an
                   Approved Fund (as defined below).

                               (ii)   Assignments shall be subject to the following additional conditions:

                                    (A) except in the case of an assignment to a Lender, an Affiliate of a Lender
                   or an Approved Fund or an assignment of the entire remaining amount of the assigning Lender’s
                   Loans under the Facility, the amount of the Loans of the assigning Lender subject to each such
                   assignment (determined as of the date the Assignment and Acceptance with respect to such
                   assignment is delivered to the Administrative Agent) shall not be less than $1,000,000;
                   provided that contemporaneous assignments to a single assignee made by Affiliates of Lenders
                   and related Approved Funds shall be aggregated for purposes of meeting the minimum
                   assignment amount requirements stated above;

                                      (B) each partial assignment shall be made as an assignment of a proportionate
                   part of all the assigning Lender’s rights and obligations under this Agreement;

                                     (C) the parties to each assignment shall execute and deliver to the
                   Administrative Agent an Assignment and Acceptance via an electronic settlement system
                   acceptable to the Administrative Agent (or, if previously agreed with the Administrative Agent,
                   manually), and shall pay to the Administrative Agent a processing and recordation fee of $3,500
                   (which fee may be waived or reduced in the sole discretion of the Administrative Agent);
                   provided that, in the case of contemporaneous assignments by any Lender to one or more
                   Approved Funds, only a single processing and recordation fee shall be payable for all such
                   assignments; and

                                    (D) the Assignee, if it shall not be a Lender, shall deliver to the
                   Administrative Agent an administrative questionnaire in a form approved by the Administrative
                   Agent (the “Administrative Questionnaire”) and applicable tax forms (including those
                   described in Sections 2.15(d), (e), (g) and (h), as applicable).

                  For the purposes of this Section 8.06(b), the term “Approved Fund” means any Person (other
than a natural person) that is engaged in making, purchasing, holding or investing in bank loans and similar
extensions of credit in the ordinary course and that is administered, advised or managed by (a) a Lender, (b) an
Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers, advises or manages a Lender.
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                 Upon request of the Borrower, the Administrative Agent shall deliver to the Borrower a list of
each assignment made during the immediately preceding month, which list shall include the applicable assignor,
Assignee, the interest assigned and the date of each assignment. The delivery of such list shall satisfy the notice
requirement set forth in Section 8.06(b)(i)(A).

                           (iii)   Subject to acceptance and recording thereof pursuant to clause (b)(v) of this
         Section 8.06, from and after the effective date specified in each Assignment and Acceptance, the
         Assignee thereunder shall be a party hereto and, to the extent of the interest assigned by such
         Assignment and Acceptance, have the rights and obligations of a Lender under this Agreement, and the
         assigning Lender thereunder shall, to the extent of the interest assigned by such Assignment and
         Acceptance, be released from its obligations under this Agreement (and, in the case of an Assignment
         and Acceptance covering all of the assigning Lender’s rights and obligations under this Agreement,
         such Lender shall cease to be a party hereto but shall continue to be entitled to the benefits of Sections
         2.08, 2.09, 2.15 and 8.05). Any assignment or transfer by a Lender of rights or obligations under this
         Agreement that does not comply with this Section 8.06 shall be treated for purposes of this Agreement
         as a sale by such Lender of a participation in such rights and obligations in accordance with clause (c)
         of this Section 8.06.

                           (iv)     The Administrative Agent, acting for this purpose as a non- fiduciary agent of
         the Borrower, shall maintain a copy of each Assignment and Acceptance delivered to it and a register
         for the recordation of the names and addresses of the Lenders, and principal and stated interest amounts
         of the Loans (the “Register”). The entries in the Register shall be conclusive absent manifest error, and
         the Borrower, the Administrative Agent and the Lenders shall treat each Person whose name is recorded
         in the Register pursuant to the terms hereof as a Lender hereunder for all purposes of this Agreement,
         notwithstanding notice to the contrary. The Register shall be available for inspection by the Borrower,
         at any reasonable time and from time to time upon reasonable prior notice.

                           (v)      Upon its receipt of a duly completed Assignment and Acceptance executed by
         an assigning Lender and an Assignee, the Assignee’s completed Administrative Questionnaire (unless
         the Assignee shall already be a Lender hereunder), all applicable tax forms, the processing and
         recordation fee referred to in clause (b) of this Section 8.06 and any written consent to such assignment
         required by clause (b) of this Section 8.06, the Administrative Agent shall promptly accept such
         Assignment and Acceptance and record the information contained therein in the Register. No
         assignment, whether or not evidenced by a promissory note, shall be effective for purposes of this
         Agreement unless it has been recorded in the Register as provided in this clause.

                   (c)      (i) Any Lender may, without the consent of, or notice to, the Administrative Agent or
the Borrower, sell participations to one or more banks or other entities (other than to Holdings, any of its
Subsidiaries or any of its Affiliates or any natural persons) (each, a “Participant”) in all or a portion of such
Lender’s rights and obligations under this Agreement (including all or a portion of the Loans owing to it),
provided that (A) such Lender’s obligations under this Agreement shall remain unchanged, (B) such Lender shall
remain solely responsible to the other parties hereto for the performance of such obligations and (C) the
Borrower, the Administrative Agent and the other Lenders shall continue to deal solely and directly with such
Lender in connection with such Lender’s rights and obligations under this Agreement and the other Loan
Documents. Any agreement or instrument pursuant to which a Lender sells such a participation shall provide
that such Lender shall retain the sole right to enforce this Agreement and the other Loan Documents and to
approve any amendment, modification or waiver of any provision of this Agreement and the other Loan
Documents, provided that (x) such agreement or instrument may provide that such Lender will not, without the
consent of the Participant, agree to any amendment, modification or waiver described in clause (ii) or (iii) of the
second sentence of Section 8.01(b) that directly affects such Participant and (y) no other agreement with respect
to amendment, modification or waiver may exist between such Lender and such Participant. Subject to
clause (c)(ii) of this Section 8.06, the Borrower agrees that each Participant shall be entitled to the benefits of
Sections 2.08, 2.09 and 2.15 (subject to the limitations and requirements of those Sections and Sections 2.10 and
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8.07) to the same extent as if it were a Lender and had acquired its interest by assignment pursuant to clause (b)
of this Section 8.06.

                           (ii)     Each Lender that sells a participation shall, acting solely for this purpose as a
         non-fiduciary agent of the Borrower, maintain a register on which it enters the name and address of each
         Participant and the principal and stated interest amounts of each Participant’s interest in the Loans held
         by it (the “Participant Register”). The entries in the Participant Register shall be conclusive absent
         manifest error, and each party hereto shall treat each Person whose name is recorded in the Participant
         Register as the owner of such participation for all purposes of this Agreement and the other Loan
         Documents, notwithstanding notice to the contrary. No Lender shall have any obligation to disclose all
         or any portion of the Participant Register to any Person (including the identity of any Participant or any
         information relating to a Participant’s interest in any Loans or other Obligations under any Loan
         Document) except to the extent that such disclosure is necessary to establish that such Loan or other
         Obligation is in registered form Treasury Regulation Section 5f.103-1(c), proposed Treasury Regulation
         Section 1.163-5 or any applicable temporary, final or other successor regulations. Unless required by
         the IRS, any disclosure required by the foregoing sentence shall be made by the relevant Lender directly
         and solely to the IRS. For the avoidance of doubt, Administrative Agent (in its capacity as
         Administrative Agent) shall have no responsibility for maintaining a Participant Register.

                            (iii)    A Participant shall not be entitled to receive any greater payment under
         Section 2.08 or 2.15 than the applicable Lender would have been entitled to receive with respect to the
         participation sold to such Participant, except to the extent such entitlement to receive a greater payment
         results from a Change in Law that occurs after such participant acquired the participation or unless the
         sale of the participation to such Participant thereafter is made with the Borrower’s prior written consent.

                  (d)      Any Lender may at any time pledge or assign a security interest in all or any portion
of its rights under this Agreement to secure obligations of such Lender, including any pledge or assignment to
secure obligations to a Federal Reserve Bank or other central bank, and this Section 8.06 shall not apply to any
such pledge or assignment of a security interest; provided that no such pledge or assignment of a security interest
shall release a Lender from any of its obligations hereunder or substitute any such pledgee or Assignee for such
Lender as a party hereto. In order to facilitate such pledge or assignment, the Borrower hereby agrees that, upon
request of any Lender at any time and from time to time, the Borrower shall provide to such Lender, at the
Borrower’s own expense, a Note, substantially in the form of Exhibit B.

                  (e)       Notwithstanding anything to the contrary contained herein, any Lender may (and, for
the avoidance of doubt, solely at its discretion), so long as no Event of Default under Section 6.01(a) or (e) shall
be continuing and the Administrative Agent shall have consented to such assignment in its sole and absolute
discretion, assign all or a portion of its rights and obligations under this Agreement in respect of its Loans to an
Affiliated Lender; provided that:

                            (i)     no Affiliated Lender shall have any right to (A) attend (including by
         telephone) any meeting or discussion (or portion thereof) among the Administrative Agent, the
         Collateral Agent or any Lender at which representatives of the Borrower are not then present,
         (B) receive any information or material prepared by the Administrative Agent, the Collateral Agent or
         any Lender or any communication by or among the Administrative Agent, the Collateral Agent and one
         or more Lenders, except to the extent such information or materials have been made available to the
         Borrower or its representatives (other than the right in any case to receive notices of prepayments and
         other administrative notices in respect of its Loans required to be delivered to Lenders pursuant to
         Article II), or (C) make or bring (or participate in, other than as a passive participant in or recipient of
         its pro rata benefits of) any claim, in its capacity as a Lender, against the Administrative Agent, the
         Collateral Agent or any other Lender with respect to any duties or obligations or alleged duties or
         obligations of such Agent or any such other Lender under the Loan Documents;

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                            (ii)     except with respect to any amendment, modification, waiver, consent or other
         action described in clause (ii), (iii), or (iv) of Section 8.01(b) or that releases all or substantially all of
         the value of the Guarantee or the Collateral or that alters an Affiliated Lender’s pro rata share of any
         payments given to all Lenders, the Loans held by an Affiliated Lender shall be disregarded in both the
         numerator and denominator in the calculation of any Lender vote (and shall be deemed to have been
         voted in the same percentage as all other Lenders that are not Affiliated Lenders voted if necessary to
         give legal effect to this clause) under any Loan Document;

                           (iii)   the aggregate principal amount of Loans held at any one time by Affiliated
         Lenders may not exceed 30% of the aggregate principal amount of all Loans outstanding at such time
         under any facility under this Agreement; and

                           (iv)     any such Loans acquired by an Affiliated Lender may, with the consent of the
         Borrower, be contributed to the Borrower and exchanged for debt or equity securities that are otherwise
         permitted to be issued at such time (and such contribution and/or exchange shall be permitted hereunder
         notwithstanding the non-pro rata reduction and repayment of such Lender’s Loans hereunder as a result
         thereof).

For the avoidance of doubt, assignments to Affiliated Institutional Lenders will be permitted hereunder and the
foregoing limitations in this clause (e) shall not be applicable to Affiliated Institutional Lenders; provided that,
notwithstanding anything in Section 8.01 or the definition of “Required Lenders” to the contrary, for purposes
of determining whether the Required Lenders have (i) consented (or not consented) to any amendment,
modification, waiver, consent or other action with respect to any of the terms of any Loan Document or any
departure by any Credit Party therefrom, (ii) otherwise acted on any matter related to any Loan Document or
(iii) directed or required the Administrative Agent or any Lender to undertake any action (or refrain from taking
any action) with respect to or under any Loan Document, all Loans held by Affiliated Institutional Lenders may
not account for more than 49.9% (pro rata among such Affiliated Institutional Lenders) of the Loans of
consenting Lenders included in determining whether the Required Lenders have consented to any action pursuant
to Section 8.01.

           SECTION 8.07.        Replacements of Lenders Under Certain Circumstances. (a) If any Lender
(i) requests reimbursement for amounts owing pursuant to Section 2.08, 2.09 or 2.15 (other than Section 2.15(b))
or (ii) is affected in the manner described in Section 2.08(a)(iii) and as a result thereof of the action described in
Section 2.08(b) is required to be taken, then, provided that no Event of Default then exists, the Borrower shall,
upon five (5) days’ notice to the Administrative Agent and the relevant Lender, have the right to replace such
Lender by deeming such Lender to have assigned its Loans hereunder to one or more assignees reasonably
acceptable to the Administrative Agent; provided that (1) such replacement does not conflict with any
Requirement of Law, (2) all Loan Obligations (other than any disputed amounts pursuant to Section 2.08, 2.09,
2.11 or 2.15, as the case may be) owing to such Lender being replaced shall be paid in full to such Lender
concurrently with such assignment and the Borrower shall pay any premium that would have been due if the
Loans were prepaid, and (3) the replacement Lender shall purchase the foregoing by paying to such Lender a
price equal to the principal amount thereof plus accrued and unpaid interest thereon. No action by or consent of
the replaced Lender shall be necessary in connection with such assignment, which shall be immediately and
automatically effective upon payment of such purchase price. In connection with any such assignment, the
Borrower, the Administrative Agent, such replaced Lender and the replacement Lender shall otherwise comply
with Section 8.06 (provided that the Borrower shall be obligated to pay the registration and processing fee
referred to therein). Any such replacement shall not be deemed to be a waiver of any rights that the Borrower,
the Administrative Agent or any other Lender shall have against the replaced Lender.

          (b)     If any Lender (such Lender, a “Non-Consenting Lender”) has failed to consent to a proposed
amendment, waiver, discharge or termination which pursuant to the terms of Section 8.01(b) requires the consent
of all of the Lenders affected and with respect to which the Required Lenders shall have granted their consent,
then, provided that no Event of Default (other than an Event of Default relating to the proposed amendment,
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waiver, discharge or termination) then exists, the Borrower shall, upon five (5) days’ notice to the Administrative
Agent and the relevant Lender, have the right (unless such Non-Consenting Lender grants such consent) to
replace such Non-Consenting Lender by deeming such Non-Consenting Lender to have assigned its Loans
hereunder to one or more assignees, reasonably acceptable to the Administrative Agent; provided that: (1) such
replacement does not conflict with any Requirement of Law, (2) all Loan Obligations of the Borrower owing to
such Non-Consenting Lender being replaced shall be paid in full to such Non-Consenting Lender concurrently
with such assignment and the Borrower shall pay any premium that would have been due if the Loans were
prepaid, and (3) the replacement Lender shall purchase the foregoing by paying to such Non-Consenting Lender
a price equal to the principal amount thereof plus accrued and unpaid interest thereon. No action by or consent
of the Non-Consenting Lender shall be necessary in connection with such assignment, which shall be
immediately and automatically effective upon payment of such purchase price. In connection with any such
assignment, the Borrower, the Administrative Agent, such Non-Consenting Lender and the replacement Lender
shall otherwise comply with Section 8.06 (provided that the Borrower shall be obligated to pay the registration
and processing fee referred to therein).

         SECTION 8.08.         Counterparts. This Agreement may be executed by one or more of the parties to
this Agreement on any number of separate counterparts (including by facsimile or other electronic transmission),
and all of said counterparts taken together shall be deemed to constitute one and the same instrument. A set of
the copies of this Agreement signed by all the parties shall be lodged with the Borrower and the Administrative
Agent. The words “execution,” “signed,” “signature,” and words of like import in any Assignment and
Assumption or any Loan Document shall in each case be deemed to include electronic signatures, signatures
exchanged by electronic transmission, or the keeping of records in electronic form, each of which shall be of the
same legal effect, validity or enforceability as a manually executed signature or the use of a paper-based
recordkeeping system, as the case may be, to the extent and as provided for in any applicable law, including the
Federal Electronic Signatures in Global and National Commerce Act, the New York State Electronic Signatures
and Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act; provided,
that the Administrative Agent or the Collateral Agent may request, and upon any such request the Credit Parties
shall be obligated to provide, manually executed “wet ink” signatures to any Loan Document.

          SECTION 8.09.           Severability. Any provision of this Agreement that is prohibited or unenforceable
in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or unenforceability
without invalidating the remaining provisions hereof, and any such prohibition or unenforceability in any
jurisdiction shall not invalidate or render unenforceable such provision in any other jurisdiction.

      SECTION 8.10.  GOVERNING LAW. THIS AGREEMENT AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED AND
INTERPRETED IN ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK.

         SECTION 8.11.             Submission to Jurisdiction; Consent to Service; Waivers.

                   (a)         Subject to clause (v) below, the parties hereto hereby irrevocably and unconditionally:

                            (i)     submits for itself and its property in any legal action or proceeding arising out
         of or relating to this Agreement and the other Loan Documents to which it is a party, or for recognition
         and enforcement of any judgment in respect thereof, to the exclusive (subject to clause (v) below)
         general jurisdiction and venue of the courts of the United States of America sitting in the Borough of
         Manhattan or, if that court does not have subject matter jurisdiction, in any state court located in the
         City and County of New York;

                          (ii)     consents that any such action or proceeding may be brought in such courts and
         waives any objection that it may now or hereafter have to the venue of any such action or proceeding in
         any such court or that such action or proceeding was brought in an inconvenient court and agrees not to
         plead or claim the same;
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                           (iii)   in the case of a Credit Party, each agrees that service of process in any such
         action or proceeding in any such court may be effected by mailing a copy thereof by registered or
         certified mail (or any substantially similar form of mail), return receipt requested, to the applicable
         Credit Party at its respective address set forth in Section 8.02 or at such other address of which the
         Administrative Agent shall have been notified pursuant thereto;

                          (iv)     agrees that service as provided in clause (iii) above is sufficient to confer
         personal jurisdiction over the applicable Credit Party in any such proceeding in any such court, and
         otherwise constitutes effective and binding service in every respect;

                           (v)      agrees that Agents and Lenders retain the right to effect service of process in
         any other manner permitted by law or to bring proceedings against any Credit Party in the courts of any
         other jurisdiction in connection with the exercise of any rights under any Loan Document or against any
         Collateral or the enforcement of any judgment and hereby submits to the jurisdiction of, and consents
         to venue in, any such court; and

                           (vi)     without limitation of Sections 7.07 and 8.05, waives, to the maximum extent
         not prohibited by law, any right it may have to claim or recover in any legal action or proceeding referred
         to in this Section 8.11 any special, exemplary, punitive or consequential damages.

                 (b)      The parties hereto, to the extent that it has or hereafter may acquire any immunity
(sovereign or otherwise) from any legal action, suit or proceeding, from jurisdiction of any court or from setoff
or any legal process (whether service of notice, attachment prior to judgment, attachment in aid of execution of
judgment, execution of judgment or otherwise) with respect to itself or any of its property or assets, hereby
waives and agrees not to plead or claim such immunity in respect of its obligations under this Agreement and
the other Loan Documents (it being understood that the waivers contained in this clause (b) shall have the fullest
extent permitted under the Foreign Sovereign Immunities Act of 1976, as amended, and are intended to be
irrevocable and not subject to withdrawal for the purposes of such Act).

         SECTION 8.12.         Acknowledgments. The parties hereto hereby acknowledge that:

               (a)      it has been advised by counsel in the negotiation, execution and delivery of this
Agreement and the other Loan Documents;

                  (b)     none of the Administrative Agent, the Collateral Agent nor any Lender has any
fiduciary relationship with or duty to the Borrower arising out of or in connection with this Agreement or any of
the other Loan Documents, and the relationship between Administrative Agent, the Collateral Agent and
Lenders, on one hand, and the Borrower, on the other hand, in connection herewith or therewith is solely that of
debtor and creditor; and

                   (c)     no joint venture is created hereby or by the other Loan Documents or otherwise exists
by virtue of the transactions contemplated hereby among the Lenders or among the Borrower and the Lenders.

      SECTION 8.13.  WAIVERS OF JURY TRIAL.      THE PARTIES HERETO HEREBY
IRREVOCABLY AND UNCONDITIONALLY WAIVE TRIAL BY JURY IN ANY CLAIM, LEGAL
ACTION OR PROCEEDING RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT
OR AN DEALINGS BETWEEN SUCH PARTIES RELATING TO THE SUBJECT MATTER OF THIS
LOAN TRANSACTION OR THE LENDER/BORROWER RELATIONSHIP THAT IS BEING
ESTABLISHED AND FOR ANY COUNTERCLAIM THEREIN. THE SCOPE OF THIS WAIVER IS
INTENDED TO BE ALL ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE FILED IN
ANY COURT AND THAT RELATE TO THE SUBJECT MATTER OF THIS TRANSACTION, INCLUDING
CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS AND ALL OTHER COMMON LAW
AND STATUTORY CLAIMS. EACH PARTY HERETO ACKNOWLEDGES THAT THIS WAIVER IS A
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MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS RELATIONSHIP THAT EACH HAS
ALREADY RELIED ON THIS WAIVER IN ENTERING INTO THIS AGREEMENT, AND THAT EACH
WILL CONTINUE TO RELY ON THIS WAIVER IN ITS RELATED FUTURE DEALINGS. EACH PARTY
HERETO FURTHER WARRANTS AND REPRESENTS THAT IT HAS REVIEWED THIS WAIVER WITH
ITS LEGAL COUNSEL AND THAT IT KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL
RIGHTS FOLLOWING CONSULTATION WITH LEGAL COUNSEL. THIS WAIVER IS IRREVOCABLE,
MEANING THAT IT MAY NOT BE MODIFIED EITHER ORALLY OR IN WRITING (OTHER THAN BY
A MUTUAL WRITTEN WAIVER SPECIFICALLY REFERRING TO THIS SECTION 8.13 AND
EXECUTED BY EACH OF THE PARTIES HERETO), AND THIS WAIVER SHALL APPLY TO ANY
SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR MODIFICATIONS HERETO OR
ANY OF THE OTHER LOAN DOCUMENTS OR TO ANY OTHER DOCUMENTS OR AGREEMENTS
RELATING TO THE LOANS MADE HEREUNDER. IN THE EVENT OF LITIGATION, THIS
AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE COURT.

         SECTION 8.14.          Confidentiality. The Administrative Agent and each Lender shall hold all
information relating to Holdings, the Borrower or any Subsidiary and their respective businesses furnished by
or on behalf of Holdings, the Borrower or any such Subsidiary in connection with this Agreement (other than
information that (a) has become available to the public other than as a result of a disclosure by such party in
breach of this Section 8.14, (b) has been independently developed by such Lender or such Agent without
violating this Section 8.14 or (c) was or becomes available to such Lender or such Agent from a third party
which, to such person’s knowledge, had not breached an obligation of confidentiality to the Borrower or any
other Credit Party), confidential in accordance with its customary procedure for handling confidential
information of such nature and in any event may make disclosure (a) as required or requested by any
governmental agency or representative thereof or any securities exchange on which securities of the disclosing
party or any Affiliate of the disclosing party are listed or traded or pursuant to legal process or to such Lender’s
or the Administrative Agent’s attorneys, professional advisors or independent auditors or Affiliates, (b) as part
of normal reporting or review procedures to, or examinations by, Governmental Authorities or self-regulatory
authorities, including the National Association of Insurance Commissioners or the National Association of
Securities Dealers, Inc., (c) in connection with the exercise of any remedies hereunder or under any other Loan
Document or any action or proceeding relating to this Agreement or any other Loan Document or in order to
enforce its rights hereunder or thereunder any Loan Document, (d) to any pledgee under Section 8.06 or any
other prospective assignee of, or prospective Participant in, any of its rights under this Agreement (so long as
such person shall agree to keep the same confidential in accordance with this Section 8.14 or terms substantially
similar to this Section 8.14), (e) to any direct or indirect contractual counterparty in swap agreements or such
contractual counterparty’s professional advisor (so long as such contractual counterparty or professional advisor
to such contractual counterparty agrees to be bound by the provisions of this Section 8.14 or terms substantially
similar to this Section 8.14), (f) on a confidential basis to any rating agency, (g) on a confidential basis to the
CUSIP Service Bureau or any similar agency in connection with the issuance and monitoring of CUSIP numbers
with respect to the Loans, (g) to any Lenders’ financing sources; provided that prior to any disclosure such
financing source is informed of the confidential nature of the information and are or have been advised to keep
information of this type confidential, (h) to Affiliates and Related Funds of such Lender or such Agent and to
their respective officers, Directors, partners, members, employees, legal counsel, independent auditors and other
advisors, experts, or agents on a confidential basis (and to other Persons authorized by a Lender or Agent to
organize, present or disseminate such information in connection with disclosures otherwise made in accordance
with this Section 8.14) and (i) with the consent of the relevant Credit Party; provided that in no event shall any
Lender or the Administrative Agent be obligated or required to return any materials furnished by the Borrower
or any Subsidiary of the Borrower. Notwithstanding the foregoing, on or after the Closing Date, Administrative
Agent may, at its own expense issue news releases and publish “tombstone” advertisements and other
announcements relating to this transaction in newspapers, trade journals and other appropriate media (which
may include use of logos of one or more of the Credit Parties)(collectively, “Trade Announcements”). No Lender
or Credit Party shall (a) issue any Trade Announcement, (b) use or reference in advertising, publicity, or
otherwise the name of Goldman Sachs, any Lender or any of their respective Affiliates, partners, or employees,
or (c) represent that any product or any service provided has been approved or endorsed by Goldman Sachs, any
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Lender, or any of their respective Affiliates, except (i) disclosures required by applicable law, regulation, legal
process or the rules of the SEC or in connection with the Transactions or (ii) with the prior approval of
Administrative Agent.

         SECTION 8.15.          No Advisory or Fiduciary Responsibility. In connection with all aspects of each
transaction contemplated hereby, the Borrower acknowledges and agrees, and acknowledge its Affiliates’
understanding, that: (i) the credit facility provided for hereunder and any related arranging or other services in
connection therewith (including in connection with any amendment, waiver or other modification hereof or of
any other Loan Document) are an arm’s-length commercial transaction between the Borrower, and its Affiliates,
on the one hand, and the Administrative Agent, each other Agent and each Lender (collectively, solely for
purposes of this paragraph, the “Lenders”), on the other hand, and the Borrower and each of its Affiliates is
capable of evaluating and understanding and understands and accepts the terms, risks and conditions of the
transactions contemplated hereby and by the other Loan Documents (including any amendment, waiver or other
modification hereof or thereof); (ii) in connection with the process leading to such transaction, each Lender is
and has been acting solely as a principal and is not the financial advisor, agent or fiduciary, for the Borrower, or
any of its Affiliates, stockholders, creditors or employees or any other Person; (iii) no Lender has assumed or
will assume an advisory, agency or fiduciary responsibility in favor of the Borrower or any of its Affiliates with
respect to any of the transactions contemplated hereby or the process leading thereto, including with respect to
any amendment, waiver or other modification hereof or of any other Loan Document (irrespective of whether
any Lender has advised or is currently advising the Borrower or any of its respective Affiliates on other matters)
and no Lender has any obligation to the Borrower or any of its Affiliates with respect to the transactions
contemplated hereby except those obligations expressly set forth herein and in the other Loan Documents;
(iv) each Lender and its respective Affiliates may be engaged in a broad range of transactions that involve
interests that differ from those of the Borrower and its Affiliates, and no Lender has any obligation to disclose
any of such interests by virtue of any advisory, agency or fiduciary relationship; and (v) no Lender has provided
and no Lender will provide any legal, accounting, regulatory or tax advice with respect to any of the transactions
contemplated hereby (including any amendment, waiver or other modification hereof or of any other Loan
Document) and the Borrower and each its Affiliates has consulted its own legal, accounting, regulatory and tax
advisors to the extent it has deemed appropriate. The Borrower and each its Affiliates hereby waives and
releases, to the fullest extent permitted by law, any claims that it may have against any Lender with respect to
any breach or alleged breach of agency or fiduciary duty.

         SECTION 8.16.        USA PATRIOT Act. Each Lender hereby notifies the Borrower that pursuant to
the requirements of the USA Patriot Act, it is required to obtain, verify and record information that identifies the
Credit Parties, which information includes the name and address of the Credit Parties and other information that
will allow such Lender to identify the Credit Parties in accordance with the USA Patriot Act.

         SECTION 8.17.         Conversion of Currencies.

                 (a)      If, for the purpose of obtaining judgment in any court, it is necessary to convert a sum
owing hereunder in one currency into another currency, each party hereto agrees, to the fullest extent that it may
effectively do so, that the rate of exchange used shall be that at which in accordance with normal banking
procedures in the relevant jurisdiction the first currency could be purchased with such other currency on the
Business Day immediately preceding the day on which final judgment is given.

                  (b)     The obligations of the Borrower in respect of any sum due to any party hereto or any
holder of the obligations owing hereunder (the “Applicable Creditor”) shall, notwithstanding any judgment in a
currency (the “Judgment Currency”) other than the currency in which such sum is stated to be due hereunder
(the “Agreement Currency”), be discharged only to the extent that, on the Business Day following receipt by the
Applicable Creditor of any sum adjudged to be so due in the Judgment Currency, the Applicable Creditor may
in accordance with normal banking procedures in the relevant jurisdiction purchase the Agreement Currency
with the Judgment Currency; if the amount of the Agreement Currency so purchased is less than the sum
originally due to the Applicable Creditor in the Agreement Currency, the Borrower agrees, as a separate
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obligation and notwithstanding any such judgment, to indemnify the Applicable Creditor against such loss. The
obligations of the Borrower contained in this Section 8.17 shall survive the termination of this Agreement and
the payment of all other amounts owing hereunder.

          SECTION 8.18.          Platform; Borrower Materials. The Borrower hereby acknowledges that (a) the
Administrative Agent will make available to the Lenders materials and/or information provided by or on behalf
of the Borrower hereunder (collectively, “Borrower Materials”) by posting the Borrower Materials on IntraLinks
or another similar electronic system (the “Platform”), and (b) certain of the Lenders may be “public-side”
Lenders (i.e., Lenders that do not wish to receive material non-public information with respect to the Borrower
or its securities) (each, a “Public Lender”). The Borrower hereby agrees that it will use commercially reasonable
efforts to identify that portion of the Borrower Material that may be distributed to the Public Lenders and that
(i) all such Borrower Materials shall be clearly and conspicuously marked “PUBLIC” which, at a minimum,
means that the word “PUBLIC” shall appear prominently on the first page thereof, (ii) by marking Borrower
Materials “PUBLIC,” the Borrower shall be deemed to have authorized the Administrative Agent, and the
Lenders to treat such Borrower Materials as either publicly available information or not material information
(although it may be sensitive and proprietary) with respect to the Borrower or its securities for purposes of United
States Federal and state securities laws, (iii) all Borrower Materials marked “PUBLIC” are permitted to be made
available through a portion of the Platform designated “Public Investor” and (iv) the Administrative Agent shall
be entitled to treat any Borrower Materials that are not marked “PUBLIC” as being suitable only for posting on
a portion of the Platform not designated “Public Investor.”

         SECTION 8.19.            Release of Liens.

                 (a)      Notwithstanding anything to the contrary in the Security Documents, Collateral may
be released from the Lien and security interest created by the Security Documents to secure the Loans and
obligations under this Agreement at any time or from time to time in accordance with the provisions of the
Intercreditor Agreement or as provided hereby. The applicable property and assets included in the Collateral
shall be automatically released from the Liens securing the Loans, and the applicable Guarantor shall be
automatically released from its obligations under this Agreement and the Security Documents, under any one or
more of the following circumstances or any applicable circumstance as provided in the Intercreditor Agreement
or the Security Documents:

                          (i)       to enable the Borrower and its Subsidiaries to consummate the disposition of
         such property or assets to a Person that is not the Borrower or a Guarantor to the extent permitted under
         Section 5.07;

                       (ii)    in respect of any assets or property constituting Collateral, upon any assets
         becoming designated as Excluded Equity Interests, Excluded Assets or assets of an Excluded
         Subsidiary;

                          (iii)       as provided in Section 8.01 or upon the release of such Guarantor pursuant to
         Section 8.20; and

                           (iv)    upon any assets (x) becoming designated as Excluded Equity Interests,
         Excluded Assets or assets of any Excluded Subsidiary or any Subsidiary Guarantor becoming an
         Excluded Subsidiary or (y) becoming subject to Liens pursuant to clauses (1), (4), (14), (16) (with
         respect to a refinancing of Permitted Liens otherwise described in this clause (iv)(y)), (31) and (36) of
         the definition of Permitted Liens.

                 (b)      In connection with any termination or release pursuant to this Section 8.19 or a release
of a Guarantor pursuant to Section 8.20, the Collateral Agent shall execute and deliver to any Credit Party, at
such Credit Party’s expense, all documents that such Credit Party shall reasonably request to evidence such
termination or release (including, without limitation, UCC termination statements), and will duly assign and
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transfer to such Credit Party, such of the Pledged Collateral (as defined in the Collateral Agreement) that may
be in the possession of the Collateral Agent and has not theretofore been sold or otherwise applied or released
pursuant to this Agreement or the Security Documents. Any execution and delivery of documents pursuant to
this Section 8.19 shall be without recourse to or warranty by the Collateral Agent. In connection with any
release pursuant to this Section 8.19 or 8.20, the Credit Party shall be permitted to take any action in connection
therewith consistent with such release including, without limitation, the filing of UCC termination statements.
Upon the receipt of any necessary or proper instruments of termination, satisfaction or release prepared by the
Borrower, the Collateral Agent shall execute, deliver or acknowledge such instruments or releases to evidence
the release of any Collateral permitted to be released pursuant to this Agreement or the Security Documents or
the Intercreditor Agreement without the consent of, or notice to, any Lender.

The security interests in all Collateral also will be released upon (i) payment in full of the principal of, together
with accrued and unpaid interest on, the Loans and all other Obligations under this Agreement and the Security
Documents that are due and payable at or prior to the time such principal, together with accrued and unpaid
interest, is paid and (ii) either (x) the termination or expiration of all Secured Hedge Agreements and the payment
in full of all obligations due from the Borrower or any of its Restricted Subsidiaries thereunder or (y)
arrangements satisfactory to each Hedge Bank which is counterparty to Secured Hedge Agreement being made
with respect to (and/or or in replacement of) the security interest in the Collateral granted under the Security
Documents.

Prior to executing and delivering or authorization of the filing of any release pursuant to this Section 8.19, the
Collateral Agent shall receive, and shall be entitled to conclusively rely on, an Officers’ Certificate stating that
such release complies with the terms of this Agreement and the other Loan Documents, and all conditions
precedent to the execution and delivery of such release have been satisfied.

         SECTION 8.20.             Release of Guarantee. Each Guarantor shall be automatically released upon:

                  (a)     solely in the case of a Subsidiary Guarantor, the sale, disposition, exchange or other
transfer (including through merger, consolidation, amalgamation or otherwise) of the Capital Stock (including
any sale, disposition or other transfer following which the applicable Subsidiary Guarantor is no longer a
Restricted Subsidiary), of the applicable Subsidiary Guarantor if such sale, disposition, exchange or other
transfer is made in a manner permitted under this Agreement and the other Loan Documents;

                   (b)         discharge of the Loan Obligations in accordance with the terms hereof;

                   (c)         as provided in Section 8.01; and

               (d)             solely in the case of a Subsidiary Guarantor, such Subsidiary Guarantor becoming an
Excluded Subsidiary.

          SECTION 8.21.       Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement or
understanding of the parties hereto, each such party acknowledges that any liability of any Affected Financial
Institution arising under any Loan Document, to the extent such liability is unsecured, may be subject to the
write-down and conversion powers of the applicable Resolution Authority and agrees and consents to, and
acknowledges and agrees to be bound by:

                  (a)     the application of any Write-Down and Conversion Powers by the applicable
Resolution Authority to any such liabilities arising hereunder which may be payable to it by any party hereto
that is an Affected Financial Institution; and

                   (b)         the effects of any Bail-in Action on any such liability, including, if applicable:

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                               (i)   a reduction in full or in part or cancellation of any such liability;

                           (ii)     a conversion of all, or a portion of, such liability into shares or other
         instruments of ownership in such Affected Financial Institution, its parent undertaking, or a bridge
         institution that may be issued to it or otherwise conferred on it, and that such shares or other instruments
         of ownership will be accepted by it in lieu of any rights with respect to any such liability under this
         Agreement or any other Loan Document; or

                         (iii)   the variation of the terms of such liability in connection with the exercise of
         the write-down and conversion powers of the applicable Resolution Authority.

         SECTION 8.22.        Amendment and Restatement. This Agreement shall be deemed to amend and
restate the Prepetition FLFO Credit Agreement in its entirety, and all of the terms and provisions hereof shall
supersede the terms and conditions thereof. The parties hereto further agree that this Agreement and the Loans
shall serve to extend, renew and continue, but not to extinguish or novate, the “Loans” under the Prepetition
FLFO Credit Agreement and the corresponding promissory notes and to amend, restate and supersede, but not
to extinguish or cause to be novated the “Obligations” under, the Prepetition FLFO Credit Agreement. The
Borrower hereby agrees that, upon the effectiveness of this Agreement, the “Loans” made and outstanding under
the Prepetition FLFO Credit Agreement shall be deemed to be Loans outstanding under and payable by this
Agreement.

         SECTION 8.23.           Certain ERISA Matters. Each Lender (x) represents and warrants, as of the date
such Person became a Lender party hereto, to, and (y) covenants, from the date such Person became a Lender
party hereto to the date such Person ceases being a Lender party hereto, for the benefit of the Agents and their
respective Affiliates and not, for the avoidance of doubt, to or for the benefit of the Borrower or any other Credit
Party, that at least one of the following is and will be true:

                 (a)      such Lender is not using “plan assets” (within the meaning of Section 3(42) of ERISA
or otherwise) of one or more Benefit Plans with respect to such Lender’s entrance into, participation in,
administration of and performance of the Loans or this Agreement,

                  (b)      the transaction exemption set forth in one or more PTEs, such as PTE 84-14 (a class
exemption for certain transactions determined by independent qualified professional asset managers), PTE 95-
60 (a class exemption for certain transactions involving insurance company general accounts), PTE 90-1 (a class
exemption for certain transactions involving insurance company pooled separate accounts), PTE 91-38 (a class
exemption for certain transactions involving bank collective investment funds) or PTE 96-23 (a class exemption
for certain transactions determined by in-house asset managers), is applicable with respect to such Lender’s
entrance into, participation in, administration of and performance of the Loans and this Agreement,

                 (c)       (i) such Lender is an investment fund managed by a “Qualified Professional Asset
Manager” (within the meaning of Part VI of PTE 84-14), (ii) such Qualified Professional Asset Manager made
the investment decision on behalf of such Lender to enter into, participate in, administer and perform the Loans
and this Agreement, (iii) the entrance into, participation in, administration of and performance of the Loans and
this Agreement satisfies the requirements of sub-sections (b) through (g) of Part I of PTE 84-14 and (iv) to the
best knowledge of such Lender, the requirements of subsection (a) of Part I of PTE 84-14 are satisfied with
respect to such Lender’s entrance into, participation in, administration of and performance of the Loans and this
Agreement, or

                 (d)    such other representation, warranty and covenant as may be agreed in writing between
the Administrative Agent, in its sole discretion, and such Lender.

        In addition, unless either (1) sub-clause (a) in the immediately preceding paragraph is true with respect
to a Lender or (2) a Lender has provided another representation, warranty and covenant in accordance with sub-
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clause (d) in the immediately preceding paragraph, such Lender further (x) represents and warrants, as of the
date such Person became a Lender party hereto, to, and (y) covenants, from the date such Person became a
Lender party hereto to the date such Person ceases being a Lender party hereto, for the benefit of, the Agents
and their respective Affiliates and not, for the avoidance of doubt, to or for the benefit of the Borrower or any
other Credit Party, that none of the Agents or their respective Affiliates are a fiduciary with respect to the assets
of such Lender involved in such Lender’s entrance into, participation in, administration of and performance of
the Loans and this Agreement (including in connection with the reservation or exercise of any rights by the
Agents under this Agreement, any Loan Document or any documents related hereto or thereto). The Agents
hereby inform the Lenders that each Agent is not undertaking to provide impartial investment advice, or to give
advice in a fiduciary capacity, in connection with the transactions contemplated hereby, and that such Agent has
a financial interest in the transactions contemplated hereby in that such Agent or an Affiliate thereof (i) may
receive interest or other payments with respect to the Loans and this Agreement, (ii) may recognize a gain if it
extended the Loans for an amount less than the amount being paid for an interest in the Loans by such Lender
or (iii) may receive fees or other payments in connection with the transactions contemplated hereby, the Loan
Documents or otherwise, including structuring fees, commitment fees, arrangement fees, facility fees, upfront
fees, underwriting fees, ticking fees, agency fees, administrative agent or collateral agent fees, utilization fees,
minimum usage fees, letter of credit fees, fronting fees, deal-away or alternate transaction fees, amendment fees,
processing fees, term out premiums, banker’s acceptance fees, breakage or other early termination fees or fees
similar to the foregoing.

        SECTION 8.24.        Acknowledgement Regarding Any Supported QFCs. To the extent that the Loan
Documents provide support, through a guarantee or otherwise, for Derivative Transactions or any other
agreement or instrument that is a QFC (such support, “QFC Credit Support” and each such QFC a “Supported
QFC”), the parties acknowledge and agree as follows with respect to the resolution power of the Federal Deposit
Insurance Corporation under the Federal Deposit Insurance Act and Title II of the Dodd-Frank Wall Street
Reform and Consumer Protection Act (together with the regulations promulgated thereunder, the “US Special
Resolution Regimes”) in respect of such Supported QFC and QFC Credit Support (with the provisions below
applicable notwithstanding that the Loan Documents and any Supported QFC may in fact be stated to be
governed by the laws of the State of New York and/or of the U.S. or any other state of the U.S.):

                  (a)      In the event a Covered Entity that is party to a Supported QFC (each, a “Covered
Party”) becomes subject to a proceeding under a US Special Resolution Regime, the transfer of such Supported
QFC and the benefit of such QFC Credit Support (and any interest and obligation in or under such Supported
QFC and such QFC Credit Support, and any rights in property securing such Supported QFC or such QFC Credit
Support) from such Covered Party will be effective to the same extent as the transfer would be effective under
the US Special Resolution Regime if the Supported QFC and such QFC Credit Support (and any such interest,
obligation and rights in property) were governed by the laws of the U.S. or a state of the U.S. In the event a
Covered Party or a BHC Act Affiliate of a Covered Party becomes subject to a proceeding under a US Special
Resolution Regime, Default Rights under the Loan Documents that might otherwise apply to such Supported
QFC or any QFC Credit Support that may be exercised against such Covered Party are permitted to be exercised
to no greater extent than such Default Rights could be exercised under the US Special Resolution Regime if the
Supported QFC and the Loan Documents were governed by the laws of the U.S. or a state of the U.S. Without
limitation of the foregoing, it is understood and agreed that rights and remedies of the parties with respect to a
Defaulting Lender shall in no event affect the rights of any Covered Party with respect to a Supported QFC or
any QFC Credit Support.

                   (b)         As used in this Section 8.24, the following terms have the following meanings:

                   “BHC ACT Affiliate” means an “affiliate” (as defined under, and interpreted in accordance
                   with, 12 U.S.C. 1841(k)).

                   “Covered Entity” means any of the following:

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                 (i)     a “covered entity” as that term is defined in, and interpreted in accordance with, 12
         C.F.R. § 252.82(b);

                 (ii)     a “covered bank” as that term is defined in, and interpreted in accordance with, 12
         C.F.R. § 47.3(b); or

                 (iii)   a “covered FSI” as that term is defined in, and interpreted in accordance with, 12
         C.F.R. § 382.2(b).

                  “Default Right” has the meaning assigned to that term in, and shall be interpreted in accordance
         with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

                  “QFC” has the meaning assigned to the term “qualified financial contract” in, and shall be
         interpreted in accordance with, 12 U.S.C. 5390(c)(8)(D).

         SECTION 8.25.         Collateral Matters; Hedge Agreements.

         The benefit of the Security Documents and of the provisions of this Agreement relating to any Collateral
securing the Obligations shall also extend to and be available on a pro rata basis pursuant to terms agreed upon
in the Loan Documents to any Person (a) under any Secured Hedge Agreement, in each case, after giving effect
to all netting arrangements relating to such Hedge Agreements or (b) under any Secured Cash Management
Agreement. No Person shall have any voting rights under any Loan Document solely as a result of the existence
of obligations owed to it under any such Secured Hedge Agreement or Secured Cash Management Agreement.



                                       [SIGNATURE PAGES FOLLOW]




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                IN WITNESS WHEREOF, each of the parties hereto has caused a counterpart of this
Agreement to be duly executed and delivered as of the date first above written.



                                              [Ɣ], as the Borrower



                                              By:
                                                    Name:
                                                    Title




                                              [Ɣ], as Holdings



                                              By:
                                                    Name:
                                                    Title




                                 [Signature Page to Credit Agreement]
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                                            [Ɣ], as the Administrative Agent and the Collateral Agent



                                            By:
                                                  Name:
                                                  Title:




                               [Signature Page to Credit Agreement]
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                                            Solely for the purposes of Section 7.01(a):

                                            CANTOR FITZGERALD SECURITIES



                                            By:
                                                  Name:
                                                  Title:




                               [Signature Page to Credit Agreement]
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                                 Exhibit J

                    Second Lien Exit Facility Agreement

             [To Come – Second Lien Exit Term Sheet Attached]
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                                                          ANNEX A

                                                       TERM SHEET

                      Up to $185.0 Million Senior Secured Second Lien Term Loan Facility
                                    “Second Lien Exit Facility Term Sheet”

                                    Summary of Principal Terms and Conditions1

Set forth below is a summary of certain principal terms for the Second Lien Exit Facility (as defined below).
This summary of terms is for indicative purposes only and does not purport to summarize all of the terms of the
definitive documentation for the Second Lien Exit Facility. These terms are subject to change based upon
ongoing discussions and final negotiation of definitive documentation.

 BORROWER:                             A newly formed Delaware limited liability company (“Holdings” in its
                                       capacity as borrower, the “Borrower”), wholly-owned, directly, by NewCo
                                       (as defined below). Holdings will form and be the direct owner of 100% of
                                       the equity interests in a Delaware limited liability company
                                       (“Intermediate”), which will form and be the direct owner of 100% of the
                                       equity interests in a Delaware limited liability company that will be the
                                       “Credit Bid Purchaser” as referenced in the Plan (the “Credit Bid
                                       Purchaser”).
 AGENT:                                An institution to be mutually agreed will act as sole administrative agent and
                                       collateral agent (collectively, in such capacities, the “Second Lien Exit
                                       Facility Agent”, and as used in this Annex A, the “Administrative Agent”).
 LENDERS:                              Each of the Backstop Parties and certain DIP Lenders (or, in each case, any
                                       of their affiliated or related funds) that elect to provide a commitment in
                                       respect of the Second Lien Exit Facility (collectively, the “Second Lien
                                       Term Lenders”). On the Closing Date (as defined below), the Second Lien
                                       Term Loans may be funded, in full or in part, by a seasoning institution.
 SECOND LIEN EXIT                      A senior secured second lien term loan facility (the “Second Lien Exit
 FACILITY:                             Facility”) that shall become effective on the effective date of the Plan (the
                                       “Plan Effective Date”) in an amount of up to $185.0 million comprised of:
                                       (a) $100.0 million of second lien term loans (the “DIP Replacement Second
                                       Lien Loans”); and
                                       (b) additional second lien term loans (the “New Money Second Lien Loans”
                                       and, together with the DIP Replacement Second Lien Loans, the “Second
                                       Lien Term Loans”) in an amount equal to the lesser of (i) $85.0 million and
                                       (ii) the amount necessary to provide the Borrower with no less than $100.0
                                       million of cash on hand on the Effective Date, after giving effect to all
                                       transactions to occur on the Effective Date (calculated pursuant to a process
                                       and at a time to be mutually agreed).
                                       The Second Lien Term Loans shall be funded in cash on the Closing Date;
                                       provided that any Second Lien Term Lender that is a DIP Lender may elect
                                       to fund its Second Lien Term Loans on the Closing Date on a cashless basis

1 All capitalized terms used but not defined herein have the meanings given to them in the Backstop Commitment Letter. In the

event any such capitalized term is subject to multiple and differing definitions, the appropriate meaning thereof for purposes of
this Annex A shall be determined by reference to the context in which it is used.



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                         by converting the outstanding principal amount of any of its DIP Loans into
                         Second Lien Term Loans. The Second Lien Exit Facility shall be secured on
                         a junior basis to the First Lien Exit Facility and any permitted hedging
                         obligations.
 INCREMENTAL SECOND      The Second Lien Exit Facility Credit Agreement will permit incremental
 LIEN TERM FACILITIES:   indebtedness in a manner acceptable to the Second Lien Term Lenders, and,
                         in any event, will permit the Borrower, on up to two occasions, to incur
                         separate classes of additional term loans or increases in existing term loans
                         (the “Incremental Second Lien Term Loans”), in each case, in an aggregate
                         principal amount not less than $25.0 million and, in the case of all incremental
                         term debt incurred pursuant to this “Incremental Second Lien Term
                         Facilities” section, in an aggregate principal amount not to exceed $50.0
                         million (each, an “Incremental Second Lien Term Facility”), so long as, at
                         the time the Borrower seeks commitments in respect of an Incremental
                         Second Lien Term Facility, either (i) the aggregate cash and cash equivalents
                         of the Borrower and its subsidiaries are less than $80.0 million as of such date
                         (or, in the good faith determination of the board of directors of the Borrower,
                         are anticipated to be less than $80.0 million as of the proposed date of
                         incurrence of such Incremental Second Lien Term Facility) or (ii) the board
                         of directors of the Borrower, in its good faith judgment, determines that the
                         incurrence of such Incremental Second Lien Term Facility is in the best
                         interest of the Borrower and its subsidiaries. Incremental Second Lien Term
                         Loans shall be subject to terms and conditions usual and customary for
                         financings of this type to be agreed, including, without limitation, a “most
                         favored nation” provision pursuant to which, if the all-in yield of any
                         Incremental Second Lien Term Loans exceeds the all-in yield of the initial
                         Second Lien Term Loans by more than 50 bps, the interest rate of initial the
                         Second Lien Term Loans shall be automatically increased by a percentage
                         that would cause such all-in yield differential not to exceed 50 bps. No
                         Second Lien Term Lender will have an obligation to make any Incremental
                         Second Lien Term Loan.
 PURPOSE:                The proceeds of the Second Lien Term Loans will be used by the Borrower
                         on the Plan Effective Date (the “Closing Date”) in accordance with and as
                         provided in the Plan and, after the Closing Date, to finance the working capital
                         needs and other general corporate purposes of the Borrower and its
                         subsidiaries.
 AVAILABILITY:           The full amount of the Second Lien Exit Facility must be drawn in a single
                         drawing on the Closing Date; amounts borrowed thereunder that are repaid or
                         prepaid may not be reborrowed.
 AMORTIZATION:           None.
                         All amounts outstanding under the Second Lien Exit Facility shall be paid in
                         full on the Second Lien Term Loan Maturity Date (as defined below).
 INTEREST RATES AND      Interest rates under the Second Lien Exit Facility will be calculated, at the
 FEES:                   option of the Borrower, at Adjusted LIBOR (subject to a 1.00% floor) plus
                         the Applicable Margin (as defined below) or ABR (subject to a 2.00% floor)
                         plus the Applicable Margin.
                         Additionally, on each interest payment date, at any time that the aggregate
                         cash and cash equivalents of the Borrower and its subsidiaries is less than
                         $75.0 million as at the end of the most recently ended fiscal quarter, the


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                          Borrower may elect, in its sole discretion, to pay a portion of the accrued
                          interest payable on the Second Lien Term Loans in kind (the “PIK Election”)
                          by adding an amount equal to 5.00% per annum to the outstanding principal
                          amount of the Second Lien Term Loans on such interest payment date.
                          “Applicable Margin” is (i) in the case of Adjusted LIBOR loans, 8.00% per
                          annum (or, at any time that the Borrower shall have made a PIK Election,
                          4.75% per annum) and (ii) in the case of ABR loans, 7.00% per annum (or, at
                          any time that the Borrower shall have made a PIK Election, 3.75% per
                          annum).
                          The Borrower shall pay an upfront fee (the “Upfront Fee”) equal to 2.00%
                          of the funded amount of the Second Lien Exit Facility on the Closing Date to
                          the Second Lien Exit Facility Agent for the ratable account of each Second
                          Lien Term Lender. Other than with respect to DIP Loans which are converted
                          into Second Lien Term Loans (with respect to which the Upfront Fee shall be
                          paid in cash), the Upfront Fee shall be paid in the form of original issue
                          discount by deducting such Upfront Fee from the proceeds of the Second Lien
                          Exit Facility on the Closing Date.
 FINAL MATURITY:          The Second Lien Exit Facility will mature on the date that is five years after
                          the Closing Date (the “Second Lien Term Loan Maturity Date”).
 GUARANTEES:              All obligations of the Borrower under the Second Lien Exit Facility will be
                          jointly and severally unconditionally guaranteed on a second lien secured
                          basis (the “Second Lien Guarantees”) by the direct parent company of the
                          Borrower (“NewCo”), Intermediate and Credit Bid Purchaser and otherwise
                          the same guarantors that guarantee the First Lien Exit Facility (it being
                          understood that the subsidiary guarantee requirements under the Second Lien
                          Exit Facility will be consistent with the subsidiary guarantee requirements
                          under the First Lien Exit Facility).
 SECURITY:                The obligations of the Borrower under the Second Lien Exit Facility and the
                          Second Lien Guarantees will be secured by a perfected second lien security
                          interest in the same collateral that secures the First Lien Exit Facility (it being
                          understood that the collateral requirements under the Second Lien Exit
                          Facility will be consistent with the collateral requirements under the First Lien
                          Exit Facility), including by pledges of all equity interests in the Borrower,
                          Intermediate and Credit Bid Purchaser.
 VOLUNTARY                Prepayments of borrowings under the Second Lien Exit Facility will be
 PREPAYMENTS:             permitted at any time without premium or penalty.
 REPRESENTATIONS AND      The Second Lien Exit Facility Documents will contain representations and
 WARRANTIES:              warranties acceptable to the Second Lien Term Lenders and substantially
                          consistent with the corresponding provisions set forth in the First Lien Exit
                          Facility Documents.
 CONDITIONS PRECEDENT:    The closing of the Second Lien Exit Facility will be subject to satisfaction of
                          the conditions precedent listed on Annex B hereto.
 AFFIRMATIVE COVENANTS:   The Second Lien Exit Facility Documents will contain affirmative covenants
                          acceptable to the Second Lien Term Lenders and substantially consistent with
                          the corresponding provisions set forth in the First Lien Exit Facility
                          Documents, with appropriate modifications to reflect the second lien status of
                          the Second Lien Exit Facility. In any event, the Second Lien Exit Facility
                          Documents will require the Borrower to obtain, no later than 30 days after the


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                        Closing Date, and thereafter maintain public ratings for the Second Lien Exit
                        Facility from S&P Global Ratings and Moody’s Investors Service, Inc., it
                        being understood that no specific ratings need to be obtained and maintained.
 NEGATIVE COVENANTS:    The negative covenants shall be acceptable to the Second Lien Term Lenders
                        and substantially consistent with the corresponding provisions set forth in the
                        First Lien Exit Facility Documents, with (a) appropriate modifications to
                        reflect the second lien status of the Second Lien Exit Facility, and (b)
                        monetary baskets and thresholds set at an additional cushion to be agreed
                        against the applicable basket or threshold in the First Lien Exit Facility
                        Documents.
 FINANCIAL COVENANT:    None.
 EVENTS OF DEFAULT:     The Second Lien Exit Facility Documents will contain events of default
                        acceptable to the Second Lien Term Lenders and substantially consistent with
                        the corresponding provisions set forth in the First Lien Exit Facility
                        Documents, with (a) appropriate modifications to reflect the second lien
                        status of the Second Lien Exit Facility and (b) cross-acceleration (instead of
                        cross-default) and cross-payment event of default at maturity to the First Lien
                        Exit Facility.




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                                                     ANNEX B

                                SUMMARY OF CONDITIONS PRECEDENT

          The following constitute the conditions to the closing and the initial funding of the Second Lien Exit
Facility, unless waived by the Majority Backstop Parties:

          (i) the entry of an order by the Bankruptcy Court, in form and substance acceptable to the Debtors and
          the Majority Backstop Parties, approving the Backstop Commitment Letter, including the Backstop
          Commitment Premium, the Alternative Transaction Premium, the indemnification obligations
          thereunder and other fees and expenses payable thereunder (the “Commitment Approval Order”),
          which Commitment Approval Order shall be a Final Order;
          (ii) (a) either (1) the entry of the Confirmation Order in form and substance acceptable to the Debtors
          and the Majority Backstop Parties (which shall be a Final Order) and the occurrence of the Effective
          Date, or (2) the entry of the 363 Sale Order (which shall be a Final Order); and (b) the closing of the
          Credit Bid Transaction or the 363 Credit Bid Transaction, as applicable;
          (iii) the negotiation, execution and delivery of the Second Lien Exit Facility Documents (including,
          without limitation, security documentation) and the New Money Warrant Agreement, in form and
          substance acceptable to the Debtors and the Majority Backstop Parties;
          (iv) receipt of evidence of valid and perfected liens on and security interests in the collateral described
          in the Term Sheet (subject to the priorities described therein and customary post-closing periods to be
          mutually agreed);
          (v) all documents required to be delivered under the Second Lien Exit Facility Documents, including
          customary legal opinions, corporate records, good standing certificates and other documents from public
          officials and officers’ certificates, shall have been delivered;
          (vi) all necessary governmental and third party approvals, consents, licenses and permits in connection
          with the Second Lien Exit Facility shall have been obtained and remain in full force and effect;
          (vii) the Administrative Agent shall have received, at least three business days prior to the Closing Date,
          all documentation and other information required by regulatory authorities under applicable “know your
          customer” and anti-money laundering rules and regulations, including, without limitation, the
          PATRIOT Act, that has been requested in writing by the Second Lien Term Lenders at least seven
          business days prior to the Closing Date;
          (viii) the representations and warranties of the Loan Parties set forth in the Second Lien Term Facility
          Documents shall be true and correct in all material respects (or, in the case of any such representation
          that is qualified by materiality, in all respects);
          (ix) no default or event of default under the Second Lien Exit Facility shall exist or would result from
          the consummation of the transactions contemplated on the Closing Date;
          (x) all fees, premiums and expenses required to be paid to the Second Lien Exit Facility Agent, the
          Backstop Parties and Participating DIP Lenders at or prior to the closing and initial funding of the
          Second Lien Exit Facility, in each case, pursuant to the terms of the Backstop Commitment Letter, the
          Second Lien Exit Facility Documents and the Plan shall have been paid or shall be paid and the New
          Money Warrants shall be issued substantially concurrently with the funding of the Second Lien Exit
          Facility;
          (xi) the funding of the Claims Reserve in the Claims Reserve Amount, which Claims Reserve Amount
          shall be acceptable to the Debtors and the Majority Backstop Parties, shall have occurred;




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          (xii) the estimated amount of Allowed Specified Administrative Expense Claims to be satisfied under
          the Plan on or after the Effective Date shall not have been projected at any time prior to the Confirmation
          Date to exceed the Toggle Amount;
          (xiii) the aggregate unrestricted cash and cash equivalents of the Borrower and its subsidiaries as of the
          Closing Date on a pro forma basis (including after payment of Restructuring Expenses) shall not be less
          than $100.0 million;
          (xiv) the Restructuring Support Agreement shall not have been terminated and shall remain in full force
          and effect;
          (xv) the terms and conditions of the First Lien Exit Facility shall be acceptable to the Majority Backstop
          Parties, the conditions precedent to the effectiveness of the First Lien Exit Facility shall have been
          satisfied or duly waived in writing and the First Lien Exit Facility shall close substantially
          simultaneously with the Second Lien Exit Facility;
          (xvi) Credit Bid Purchaser shall have received, or shall receive substantially simultaneously with the
          closing of the Second Lien Exit Facility, gross proceeds in an amount of no less than $20.0 million
          through an equity rights offering on terms and conditions acceptable to the Debtors and the Majority
          Backstop Parties (the “Equity Rights Offering”); and
          (xvii) all other conditions precedent described or set forth in the Credit Bid Purchase Agreement shall
          be satisfied or such conditions precedent shall have been waived in accordance with the terms of such
          documents and with the consent of the Majority Backstop Parties (except those conditions precedent
          that by their nature are to be satisfied concurrently with the Credit Bid Transaction Closing, the Effective
          Date or the closing of the 363 Credit Bid Transaction, as applicable; provided that such conditions shall
          be satisfied concurrently at such times).




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                                Exhibit K

                       New Intercreditor Agreement

                               [To Come]
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                               Exhibit L

                     New Money Warrant Agreement

                               [To Come]
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                               Exhibit M

                        GUC Warrant Agreement

                               [To Come]
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                                Exhibit N

                    Additional Predecessor Agreements
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                              Exhibit N1

                          Chevron Term Sheet
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                                                                                             Thomas R. Lamme
                                                                     Senior Vice President and General Counsel
                                                                                          Direct: 713-969-1107
                                                                                   Email: TLamme@fwellc.com




                                         March 22, 2021

                                                                                          VIA EMAIL

Jennifer M. Welshons
Counsel
Chevron North America Exploration and Production Company
(a division of Chevron U.S.A. Inc.)
1400 Smith Street
Houston, TX 77002

       Re: Fieldwood/Chevron Term Sheet

Dear Ms. Welshons:

Attached as Exhibit A is the agreed upon term sheet dated March 22, 2021, by and between
Fieldwood Energy LLC (“Fieldwood”) and Chevron USA Inc. (“Chevron” and, together
with Fieldwood, the “Parties”) supporting the restructuring of the portion of Fieldwood’s
business relating to certain assets described therein as the “FWE IV Assets” (the
“Fieldwood/Chevron Term Sheet”).

By executing this letter agreement, each of the undersigned Parties agrees (i) to work to implement
the terms of the Fieldwood/Chevron Term Sheet and (ii) to negotiate the definitive documents
described therein in good faith and in accordance with the terms of the Fieldwood/Chevron Term
Sheet.

The Parties may execute and deliver this letter agreement by electronic reproduction and in
multiple counterparts, each of which shall constitute an original and all of which shall be one and
the same document. This letter agreement shall be governed by the laws of the State of Texas
without regard to any choice of law principles.

Regards,



Thomas R. Lamme
Senior Vice President and General Counsel


Enclosure


cc: Michael T. Dane, via email MDane@Fwellc.com
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IN WITNESS WHEREOF, the undersigned Parties have executed this letter agreement as of the
date first written above.




FIELDWOOD ENERGY LLC


By:
Name: Thomas R. Lamme
Title: Senior Vice President and General Counsel




                               [Fieldwood Signature Page to Letter Agreement]
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CHEVRON
   VRON USA INC.


By:
Name: R Ryan G
             G. S
                Schneider
                  h id
Title: Land Management Officer




                                 [Chevron Signature Page to Letter Agreement]
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                              EXHIBIT A

                  FIELDWOOD/CHEVRON TERM SHEET
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This Term Sheet is an expression of interest only and creates no legally binding commitment by either party to negotiate any specific
transaction or enter into any agreement. It is expressly understood that no liability or obligation of Fieldwood or Chevron of any
nature whatsoever is intended to or will be created hereunder with respect to this Term Sheet or related discussions or writings or
the transactions contemplated hereby and that this Term Sheet is neither a contract nor a binding offer. It is understood and agreed
that any transaction is expressly conditioned, among others, upon approval by Fieldwood and Chevron, the execution and delivery
by Fieldwood and Chevron or their affiliates of definitive written agreements, in form and substance satisfactory to Fieldwood and
Chevron in their sole discretion, and the satisfaction of the conditions set forth therein. Fieldwood and Chevron expressly agree
that this Term Sheet does not contain all terms that would be required to be agreed to in order to enter into any definitive agreement.
Each party is responsible for its own costs and expenses, including those of its legal advisors in conjunction with this Term Sheet.


 CHEVRON / FIELDWOOD COMMERCIAL TERM SHEET


 Fieldwood Energy LLC (“FWE”) to create a new entity, Fieldwood Energy IV LLC (“FWE IV”), via a
 Texas divisive merger.

 I. Term Sheet Expiration Date
 FWE and Chevron U.S.A. Inc (“CUSA”) shall work together in good faith to negotiate the definitive
 documents contemplated below and any other agreements required to implement the transaction
 contemplated in this Term Sheet, in each case in accordance with the terms and conditions set forth
 herein (“Definitive Documents”), provided that this Term Sheet shall terminate if the parties have not
 fully agreed and finalized all such required Definitive Documents on or before midnight one business
 day before the deadline for filing objections to the o the Plan Confirmation Hearing as scheduled by the
 bankruptcy court for In Re: Fieldwood Energy LLC, et al, Chapter 11, Case No. 20-33948 (MI) (the
 “Bankruptcy”) (“Termination Date”).
 II. Condition Precedent to Effectiveness
 In addition to any other conditions precedent that may be agreed by the parties, it shall be a condition
 precedent to the effectiveness of the Definitive Documents that FWE IV will have been granted to the
 satisfaction of the parties to the Definitive Documents all necessary approvals by applicable regulatory
 authorities to act as a qualified operator in the Gulf of Mexico for the FWE IV Assets (as defined below)
 for which it will be required to assume operatorship under the Definitive Documents. In the event that
 FWE IV has not been granted such approval(s) by the Termination Date, but the Definitive Documents
 have been finalized as of the Termination Date, the effective date of the Definitive Documents shall be
 automatically extended on a day-by-day basis until all such approval(s) are received (or until such
 condition is waived by CUSA, at its sole discretion); provided that, in the event FWE IV has not been
 granted all such approvals by July 1, 2021, this Term Sheet and any and all executed Definitive
 Documents shall automatically terminate on such date. For the avoidance of doubt, in no event shall the
 failure to finalize and execute any Definitive Document result in any such extension after the Termination
 Date.
 III. Withdrawal of Objection
 In conjunction with the execution of this Term Sheet or promptly thereafter, FWE and CUSA will enter
 into a mutually agreed stipulation and order that will provide, among other things, that: (i) with respect
 to the Disclosure Statement For Joint Chapter 11” filed by FWE on January 1, 2021, as amended, in the
 Bankruptcy (the “Disclosure Statement”), CUSA will withdraw its objection to the approval of the
 Disclosure Statement filed February 12, 2021, upon filing the stipulation, and (ii) CUSA will not refile
 the objection or any other objection to FWE’s Disclosure Statement or Plan of Reorganization at any
 time prior to the Termination Date.




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IV. FWE IV Assets
Assets to be allocated to FWE IV are restricted to the rights, title and interests in specific FWE IV assets
and the liabilities and obligations associated with those designated assets as described herein. FWE IV
shall be the designated operator for the assets allocated to it herein, unless otherwise expressly agreed by
the parties. “Closing” shall take place in conjunction with the effectiveness of the divisive merger and
simultaneous execution and delivery of the Definitive Documents, subject to and following due diligence
review of the assets by CUSA, as described below.

Designated FWE IV Assets
At Closing, FWE shall allocate to FWE IV certain interests in the leases assigned previously to FWE by
CUSA (and its predecessors and affiliates) as described in Exhibit “A” attached hereto, which are a
portion of the interests acquired from CUSA that are described in the Abandoned Properties category
under the FWE Disclosure Statement, or as otherwise agreed.
FWE IV assets will include the oil and gas leases contributed to FWE IV in accordance with the foregoing
(or the section below on Agreed FWE III (Winddown Leases)), together with the platforms, wells,
pipelines and equipment (including production equipment) located on and attributable to the CUSA
interest in such leases, and any hydrocarbons produced from such leases, if applicable (collectively
“FWE IV Assets”).

Agreed FWE III (Winddown Leases)
FWE IV will not be allocated any FWE leases that are currently allocated to Fieldwood Energy III LLC
(“FWE III”) in the Disclosure Statement (the “FWE III (Winddown Leases)”); provided that a
particular FWE III (Winddown Lease) scheduled on Exhibit B attached hereto may be allocated to FWE
IV under the following circumstances: (i) if such lease is required by the government to be replaced by
other leases during the Chapter 11 process, or (ii) if CUSA and FWE agree to have such lease allocated
to FWE IV. For the avoidance of doubt, CUSA or an affiliate must be a predecessor in the chain of title
as noted on BOEM’s Serial Register Page of any FWE III (Winddown Lease) lease/asset allocated to
FWE IV.
If any such FWE III (Winddown Leases) leases/assets are to be allocated to FWE IV in accordance with
(i) in the preceding, then an amount not less than 50% of FWE’s predecessor-in-interest share of the
funding designated and allocated to FWE III for decommissioning such lease/asset; or, if such lease/asset
is allocated to FWE in accordance with (ii) in the preceding, then the agreed upon amount of funding
designated and allocated to FWE III for decommissioning such lease/asset ( in either case, the “FWE III
Lease Payment Amount”) shall be paid by FWE into the Escrow Account for general use at Closing.

V. FWE IV Governance and Operations

Divisive Merger
FWE IV will be a new Texas limited liability company formed via the divisive merger of FWE (an
existing Texas limited liability company) after conversion from a Delaware limited liability company.
FWE IV will be allocated all FWE IV Assets, identified in accordance with the terms hereof, and all
associated operating and decommissioning liabilities allocated to FWE IV via a Plan of Merger. All
other assets or liabilities of FWE will remain with a FWE entity and/or be allocated to or assumed and
assigned by the various entities described in the Bankruptcy. To the extent any of the oil and gas leases
contained within the FWE IV Assets are terminated leases and as such not transferable, or are not
transferrable for any other reason, CUSA and FWE shall negotiate in good faith in order to determine a
mutually agreeable structure whereby FWE IV shall be allocated or otherwise obtain certain agreed rights



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and obligations associated with such oil and gas leases and the FWE IV assets relating thereto, including,
if applicable, the right to act as decommissioning contractor for such FWE IV assets and contractual
rights to recover against predecessors-in-interest, surety bond providers and other applicable persons.

LLC Company Agreement (LLC Agreement)
Operating agreement of FWE IV addressing governance, management and funding of FWE IV executed
at closing. Terms and conditions will include, among others:
    1.      Fieldwood Energy Inc. will be sole member and owner of FWE IV.
    2.      Sole Manager hired, with approval of CUSA, will be sole officer and employee of FWE IV
            and will run FWE IV in accordance with the terms of the LLC agreement.
    3.      CUSA will have certain consent rights under LLC Agreement, enforceable in its capacity as
            a third party beneficiary to the agreement.
    4.      Sole purpose of the company will be to wind-down and decommission FWE IV Assets.
    5.      FWE IV must obtain prior written consent of CUSA before conducting any of the following
            activities:
            •   Engage in any business or activity other than plugging and abandoning the FWE IV
                Assets and/or, if applicable, maintaining current production on the FWE IV Assets,
            •   Use revenue or free cash flow for any purpose other than for funding Permitted Third
                Party Costs, Permitted LOE Charges and, if applicable, payment into the Escrow
                Account relating to the decommissioning of the FWE IV Assets,
            •   Approve any decommissioning plan for the FWE IV Assets and/or retain any other
                decommissioning subcontractor other than the NewCo,
            •   Incur any indebtedness,
            •   Replace, remove or change the powers of the Sole Manager,
            •   Replace or remove the NewCo under the Contract Operator Agreement or amend, waive
                or fail to enforce any provision of the Contract Operator Agreement,
            •   Divest any of the FWE IV Assets or acquire any other assets, or
            •   Declare bankruptcy, liquidate or otherwise terminate the existence of the company or
                any of its subsidiaries.
    6.      FWE IV will provide CUSA with regular informational updates from FWE IV, including
            monthly and quarterly financial reports and an annual financial audit by an independent
            accountant approved by CUSA; provided that Ernst and Young is deemed to be pre-approved
            as an independent accountant.
    7.      As a condition precedent to the effectiveness of the Turnkey Removal Agreement (and the
            other Definitive Documents), FWE IV will become a qualified operator in the Gulf of
            Mexico.
    8.      FWE and CUSA will coordinate as appropriate to assist FWE IV on bonding requirements,
            with costs allocated in “Funding and Cost Allocation”, below.




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   9.       FWE IV will use reasonable efforts to obtain reimbursement/contribution for
            decommissioning activity that is available under contract or applicable law, including as to
            predecessors-in-interest to the extent practicable and available surety bonding.1
   10.      FWE IV shall obtain the written consent of CUSA prior to entering settlement negotiation(s)
            or agreeing to a settlement and/or initiating dispute resolution, including with respect to
            obtaining contributions from predecessor-in-interest for decommissioning or funds from
            surety bonds for decommissioning.
   11.      The costs and expenses associated with the formation and administration of FWE IV and the
            operations conducted by the company shall be allocated as to forth under “Funding and Cost
            Allocation”, below.

Funding and Cost Allocation
   1. FWE will be responsible for all costs associated with formation of FWE IV in connection with
      the divisive merger. Funds required for the ongoing operations of FWE IV shall be provided as
      set forth in “Contract Operator Agreement and Operating Costs”, below.

   2. FWE will provide all funds for any premiums for organizational/areawide bonding
         requirements.

VI. Turnkey Removal Agreement
   1.       CUSA, FWE IV and NewCo to enter into the Turnkey Removal Agreement whereby, upon
            agreement of the price for a decommissioning project, NewCo will decommission the FWE
            IV Assets on a lump sum, turnkey payment basis, and NewCo will earn a single pre-agreed
            payment (turnkey amount) in exchange for completing such decommissioning project.
            NewCo will have profit opportunity if it is able to perform a decommissioning project for
            lower cost than the pre-agreed turnkey amount, and NewCo will bear the risk that the costs
            of a decommissioning project exceeds the pre-agreed turnkey amount. All such turnkey
            amounts shall be determined on a 100% (gross) basis and shall cover all costs, expenses and
            overhead associated with a particular decommissioning project, including all third party
            costs, any fixed and/or capital costs, tax, etc.
   2.       At Closing, the parties shall determine the turnkey amounts for all decommissioning projects
            under the Turnkey Removal Agreement (leases operated by FWE IV) and shall agree on the
            decommissioning projects scheduled to be conducted during the first year after Closing
            under the Turnkey Removal Agreement, all of which shall be attached to the Turnkey
            Removal Agreement. Additionally, the parties shall agree on certain qualified conditions
            for the decommissioning projects (“Qualified Conditions”), which such Qualified
            Conditions, if present, can, at the election of either NewCo or CUSA, as applicable, and
            subject to the notice requirements set forth in the Definitive Documents, cause the parties to
            adjust the applicable turnkey amount for a particular project or agree on alternative cost
            arrangement; provided that such Qualified Conditions shall be set forth in the Definitive
            Documents and shall be limited to (i) material changes in government regulations that can
            reasonably be expected to materially increase or decrease the applicable cost of
            decommissioning a particular project and (ii) as otherwise mutually agreed in the Definitive
            Documents to by the parties. In the event the parties are unable to agree to the adjusted
            turnkey amount or an alternative cost arrangement due to an occurrence of a Qualified
            Condition, the parties shall follow the method set forth in the Definitive Documents.




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 3.    For all decommissioning projects to be conducted after the first anniversary of
       Closing, at least 90 prior to each anniversary of Closing, NewCo will provide CUSA
       final turnkey amounts for decommissioning projects to be completed in the next
       successive 12-month period, which final amounts may be the same or updated from
       the original schedule. Such amounts shall become the agreed upon turnkey amounts
       for the applicable 12 month period if such amount has not been updated from the
       original scheduled amount or if CUSA does not object in writing to an updated
       turnkey amount within 30 days of delivery of the final turnkey amounts. The parties
       will work in good faith to agree on a final turnkey amount; provided that, if the
       parties fail to reach agreement on a final turnkey amount for a particular project
       within 30 days of such objection, the parties shall follow the method set forth in the
       Definitive Documents. FWE IV will work in good faith with CUSA to determine applicable
       sources of committed third party funding payments on an asset-by-asset basis prior to
       commencement of the work for a particular decommissioning project, including (i) available
       bonds, and (ii) contributions from predecessors-in-interest.
 4.    Services provided by NewCo pursuant to the Turnkey Removal Agreement will include
       performing decommissioning operations to an agreed operational and regulatory
       performance standard on behalf of FWE IV on agreed terms and conditions. For purposes
       of clarity, FWE and CUSA agree that NewCo will meet such required standard if it performs
       such decommissioning operations consistent with required laws, rules and regulations
       promulgated by governing regulatory agencies, including but not limited to BOEM and
       BSEE, and consistent with any applicable third party contracts (the “Performance
       Standards”).
 5.     For each decommissioning project, CUSA shall pay its share of the agreed turnkey payment
       (as described in “Funding Obligations and Cost Allocation”, below) into the Escrow
       Account when FWE IV has received funds or secured a contractual commitment (such as
       AFE approval) for full funding of the applicable decommissioning project.
 6.    Newco shall not undertake the applicable decommissioning project until full funding of the
       applicable turnkey amount has been agreed to by CUSA and NewCo, including receiving
       funds or securing a contractual commitment (such as an AFE approval) from applicable third
       parties, including any Other FWE Party (defined below). Subject to 7 below, CUSA shall
       authorize, and NewCo shall receive, payment of the full agreed turnkey amount from the
       Escrow Account (as payment on behalf of FWE IV) upon delivery to FWE IV and CUSA
       of the filings and other evidence required by BOEM and BSEE or any other applicable
       governmental authority, including requisite approvals or regulatory concurrence, to support
       NewCo’s representation that all decommissioning obligations with respect to the applicable
       assets have been satisfied.
 7.    If any individual asset subject to the Turnkey Removal Agreement results in an agreed
       turnkey amount in excess of $5 million or if the aggregate amount of agreed turnkey
       amounts in effect at any one time for multiple assets subject to the Turnkey Removal
       Agreement is in excess of $10 million, NewCo and CUSA will agree on milestone payments
       to be paid in the above manner upon completion of interim decommissioning activities. In
       no event shall milestone payments equal 100% of the total turnkey amount. Payment of a
       final percentage of the agreed turnkey amount of 25% shall remain in the applicable Escrow
       Account until completion of the work in accordance with the terms of the Turnkey Removal
       Agreement.




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   8.      CUSA retains the right to terminate the Turnkey Removal Agreement as to a particular asset
           and/or require FWE IV to competitively bid the decommissioning services with respect to a
           particular asset in the event NewCo is unable to (or otherwise fails to) perform the services
           in compliance with Government issued timelines or in the event NewCo is in breach of the
           Turnkey Removal Agreement, including, but not limited to, the Performance Standards with
           respect to a particular asset. In the event of termination, CUSA shall be refunded any funds
           deposited in the Escrow Account for the particular asset decommissioning.
   9.      With respect to certain FWE IV Assets for which such activities will be required or otherwise
           advisable / agreed at Closing, NewCo will perform , and FWE IV will engage NewCo to
           perform and will reimburse or otherwise pay up to $5 million for, operations necessary to
           safe-out and otherwise perform preparatory activities to put such FWE IV Assets into a
           mechanical and operational state such so that they are ready to be decommissioned (up to
           the $5 million cap on these costs, “Initial Safe Out”); provided that NewCo shall not be
           required to perform any such work without funding therefor from either FWE IV or
           CUSA.

Funding Obligations and Cost Allocation
   1.      CUSA will pay 100% of the turnkey amount agreed by the parties to be owed by CUSA for
           a particular FWE IV Asset decommissioning project when due; provided that in the event
           there are any other current working interest owner(s) with an interest in the applicable
           decommissioning project (or the underlying lease or assets), including FWE I or any other
           entity surviving the FWE divisive merger at Closing, whether as a co-working interest owner
           in an asset or otherwise (“Other FWE Party”), CUSA shall only be required to pay its
           predecessor-in-interest share of the FWE IV working interest percentage share of the
           applicable turnkey amount. In the event there are other predecessors-in-interest to the FWE
           IV Asset (excluding CUSA and the predecessors to CUSA), CUSA shall have the right to
           elect whether or not to pay 100% of the turnkey amount prior to commencement of work.
   2.      CUSA’s obligation to pay the turnkey amount for a particular decommissioning project (or
           its applicable share of the turnkey amount if there are other current working interest owners)
           shall be subject to reduction (and/or reimbursement) in conjunction with the following (each,
           a “CUSA Payment Reduction”):
           a. CUSA’s obligation to pay the turnkey amount shall be reduced by any funds or
              contributions that FWE IV secures or otherwise collects from other predecessors-in-
              interest or otherwise with respect to CUSA’s share of the turnkey amount or, if any such
              funds are collected after the turnkey amount is paid in full, such amounts shall be paid
              to CUSA as reimbursement such that CUSA’s funded amount is equal to its predecessor-
              in-interest percentage for the particular decommissioning project.
           b. In the event that there are any funds received from NPI Revenue Amounts available in
              the Escrow Account, CUSA shall have the option to utilize such funds to reduce its
              obligation to pay a particular turnkey amount.
           c. In the event that there are any funds associated with any FWE III Lease Payment
              Amounts available in the Escrow Account, CUSA shall have the option to utilize such
              funds to reduce its obligation to pay the FWE III (Winddown Lease) decommissioning
              turnkey amount or be provided to FWE IV for general use.
           d. In the event that CUSA is in breach of any of its obligations under a Definitive
              Document, CUSA Payment Reduction shall exclude subparts (b) and (c) above.




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   3.      FWE will contribute at Closing $5,000,000 into the FWE IV Escrow Account to cover
           the Initial Safe Out. FWE IV will pay NewCo for performing the Initial Safe Out upon
           completion of individual works scopes with such funds from the Escrow Account; Newco
           shall not be required to undertake any work scopes if funds therefor are not already
           in the FWE IV Escrow Account.
   4.      In no event shall CUSA be required to pay for or otherwise contribute funds in relation to
           (and no funds in the applicable Escrow Account or any other contribution by CUSA shall be
           used in any manner for) any of the following (“Excluded CVX Costs”):
           a. Any costs , damages, fines, penalties or liabilities owed to third parties, governmental
              fines and penalties, environmental liabilities, employment claims and/or any costs,
              expenses, claims or other liability relating to action taken by FWE IV-
           b. Any costs , damages, fines, penalties or liabilities owed to third parties, governmental
              fines and penalties, environmental liabilities, employment claims and/or any costs,
              expenses, claims or other liability relating to action taken by NewCo in breach of, and
              subject to, the Turnkey Removal Agreement or Contract Operating Agreement or arising
              due to the negligence, gross negligence or willful misconduct of NewCo and
           c. Any costs, damages, fines, penalties or liabilities related to any orphan assets on the
              FWE IV Assets (as determined with reference to CUSA’s predecessor interest in the
              applicable assets - FWE and CUSA will reasonably agree to the applicable definition of
              orphan assets).
   5.      NewCo shall be responsible for, and otherwise pay, or pay or reimburse FWE IV for, any
           Excluded CVX Costs arising under 4(b) or 4(c) above.

VII. Contract Operator Agreement and Operating Costs
   1.      FWE IV and NewCo will enter into a Contract Operator Agreement whereby NewCo
           manages the administrative and corporate expenses of FWE IV along with the FWE IV
           Assets for a period of 5 years, subject to agreed-upon conditions for assignment.
   2.      Management of the properties shall include, but not be limited to, as services provided:
           Operations, Production Marketing (for assets that are producing), Accounting and Land
           Administration.

Funding Obligations and Cost Allocation
   1.      NewCo will manage the FWE IV Assets at no charge to FWE IV, and NewCo shall bear all
           amounts associated with such activity, including any corporate activity and administrative
           overhead of FWE IV, in conjunction with such management obligation, other than any third
           party costs. If circumstances change (including changes to the assets or regulations covering
           operations), NewCo may charge a reasonable, mutually agreed fee for such services. The
           parties agree that third party costs associated with the operations of the FWE IV Assets or
           management of FWE IV, but not including overhead costs, such as rent or equipment lease
           payments (“Permitted Third Party Costs”) shall be paid by funds from the Escrow
           Account and shall be billed directly to FWE IV. To the extent that any Permitted Third Party
           Costs are not covered by available funds from the Escrow Account, CUSA shall reimburse
           and contribute such Permitted Third Party Costs to the Escrow Account on a monthly basis
           in arrears.
   2.      Notwithstanding Item 1 above, to the extent FWE IV or NewCo, through a shared services
           agreement, incurs lease operating expenditures associated with a permitted operation on or


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            in relation to a particular FWE IV Asset that would properly be chargeable as OPEX under
            a joint operating agreement (e.g., lease operating expenses), including, but not limited to,
            costs related to visitation fees, insurance costs, repair and maintenance, or safe-out costs
            (“Permitted LOE Costs”), such Permitted LOE Costs shall be paid for first by funds from
            revenue generated from the FWE IV Assets and then by CUSA by payment into the Escrow
            Account on a monthly basis in arrears; provided that, in the event that a particular lease or
            asset has co-working interest owners, any obligation to contribute Permitted LOE Costs
            (whether from the Escrow Account or otherwise) shall be limited to the proportionate share
            of such costs corresponding to FWE IV’s working interest. For the avoidance of doubt,
            Newco shall not be obligated to either provide any such services without funding
            therefor or to advance any funds for FWE IV. Additionally, NewCo’s assumption of
            expenses in (1) above and Excluded CVX Costs shall not be included as or deemed Permitted
            LOE Costs.
    3.      Notwithstanding the foregoing, Permitted Third Party Costs and Permitted LOE Costs shall
            not include any amounts relating to or otherwise associated with (including any operating
            expenses or overhead allocated to) any Excluded CVX Costs.

VIII. Escrow Accounts
The parties shall agree to the establishment of the appropriate bank account(s) and escrow account(s) to
support the transactions described in this Term Sheet, including but not limited to one operating account
and at least one escrow account for the amounts to be paid pursuant to the Turnkey Removal Agreement
(as applicable, the “Escrow Agreement”).
    1.      Contributions to the Escrow Account, shall be as fully described in the Definitive
            Agreements, but include not less than:
            a. FWE will contribute at Closing $5,000,000 as payment for the Initial Safe Out.
            b. Subject to item 2.a below, FWE IV will grant at Closing a net profits interests on all
               FWE IV Assets or otherwise agree with CUSA on the treatment of net profits (“FWE
               IV NPI”). The FWE IV NPI will pay all net profits from production generated by the
               FWE IV Assets, after deducting royalties and taxes and less amounts required to cover
               operating expenditures of FWE IV, into the Escrow Account (“NPI Revenue
               Amount”).
            c. Funds obtained from third parties, including any Other FWE Party, in support of
               decommissioning activity for FWE IV Assets, including contributions from other
               predecessors-in-interest and proceeds from surety bonds paid directly to FWE IV, will
               be paid into the FWE IV Escrow Account and, to the extent practicable, designated for
               use for the particular asset.
            d. For any FWE III (Winddown Lease) asset allocated to FWE IV in accordance with the
               provisions above, the corresponding FWE III Lease Payment Amount shall be
               contributed to the FWE IV Escrow Account by FWE at Closing.
            e. Any agreed turnkey payments made by CUSA in accordance with the Turnkey Removal
               Agreement or any decommissioning amounts, whether turnkey or otherwise, received
               from other co-working interest owners, if applicable.
    2.   Contributions to the operating account:
            a. All revenue from FWE IV Assets will be received into the operating account. If any net
               revenue exists, after paying Permitted Third Party Costs and Permitted LOE Costs, FWE
               IV will fund the NPI Revenue Amount out of the operating account.



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 3. Distributions to NewCo:
        a. Funds required to perform the Initial Safe Out, up to $5,000,000 funded at Closing,
           as such P&A prep activities are performed.
        b. Turnkey payments upon completion of decommissioning services in accordance with
           the Turnkey Removal Agreement, including any agreed upon milestone payments.
        c. Reimbursement for Permitted Third Party Costs and Permitted LOE Costs in accordance
           with the Contract Operating Agreement.
 4. Distributions to CUSA:
        a. With respect to any funds associated with a CUSA Payment Reduction amount that are
           received into the Escrow Account, after CUSA has made an applicable turnkey payment.
 5. Distributions to FWE IV:
        a. Costs of FWE IV, including operating costs.
        b. Decommissioning costs to the extent not covered under the Turnkey Removal
           Agreement.




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IX. Other Agreements to be Negotiated

Joint Development Agreement
Parties: FWE IV and NewCo, terms to be mutually agreed.


Shared Services Agreement
Parties: FWE IV and NewCo, terms to be mutually agreed.


Neptune Spar Transition Services Agreement
Parties: NewCo and CUSA
Terms: Transition services provided by NewCo at CUSA’s cost for the period prior to
commencement of CUSA’s campaign covering decommissioning of the Neptune Spar and
related equipment and infrastructure.


Deepwater Assets Decommissioning Fund
Parties: NewCo and CUSA
Terms:
   1. Subject to paragraph 2 below, NewCo will deliver to CUSA on the second anniversary of closing
      of the transaction described herein a $25 million irrevocable surety bond issued by a Qualifying
      Surety, for which CUSA shall be the sole private beneficiary and which CUSA shall be entitled
      to call to cover and/or to reimburse certain decommissioning costs on the CVX Deepwater Assets
      (defined below) as described in item 4 below (“Deepwater Surety Bond”). For purposes of this
      agreement a “Qualifying Surety” means an insurance company or financial institution that is
      rated equivalent to at least “A+” (by S&P or Fitch), “A1” (by Moody’s), or “B++” (by AM Best),
      by any two of such four credit rating agencies. Subject to 6 below, in order to be released
         from its obligations hereunder, NewCo shall ensure any buyer of the deepwater assets
         provides a replacement Deepwater Surety Bond.

   2. If NewCo is not able to provide the Deepwater Surety Bond after utilizing commercially
      reasonable efforts or does not deliver a letter of credit of equal amount to the Deepwater Surety
      Bond from a mutually agreed upon qualified issuing bank, NewCo will grant a net profits interest
      equivalent to 5% of the net profits of production from the CVX Deepwater Assets (“Deepwater
      NPI”), which shall pay funds into a decommissioning escrow account until the funds in such
      account equal $25 million (“Deepwater Escrow Account”); provided that when the Deepwater
      Escrow Account reaches $25 million, the Deepwater NPI shall be returned to NewCo and
      terminated.
   3. If NewCo has funded any portion of the Deepwater Escrow Account, to the extent NewCo
      provides a qualifying Deepwater Surety Bond in any face amount or an irrevocable standby letter
      of credit in any amount from a mutually agreed upon qualified issuing bank, NewCo shall be
      entitled to draw down (and not be required to replenish) from the Deepwater Escrow Account
      an amount equal to the face amount of the Deepwater Surety Bond or the amount of the letter
      of credit.



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 4. The funds in the Deepwater Escrow Account will be made available to CUSA and/or the
    Deepwater Surety Bond (or letter of credit) will be callable by CUSA, in each case for the
    purposes of covering decommissioning costs incurred by CUSA for certain NewCo deepwater
    or shelf assets acquired originally by FWE from CUSA or any current affiliate of CUSA, in
    each case as such assets are designated on Exhibit C attached hereto (“CVX Deepwater Assets")
    in the event that CUSA or any of its affiliates is ever held liable therefor or otherwise incurs such
    costs.
 5. NewCo will have the right to use any funds in such account to perform decommissioning
    activities on the CVX Deepwater Assets.
 6. The security requirements described hereunder shall terminate, and any security shall be released
    to NewCo, upon the occurrence of any of the following:
         a. The Turnkey Removal Agreement terminates as a result of an uncured material breach
            by CUSA (provided that NewCo is not also in material breach);
         b. NewCo performs decommissioning activities equal to or in excess of $25 million
            on the CVX Deepwater Assets;
         c. NewCo establishes an S&P credit rating equal to BBB or better or an equivalent credit
            rating with any other established rating agency; or
         d. NewCo sells all or substantially all of its deepwater assets (including all or substantially
            all of the CVX Deepwater Assets) in an asset transaction or a corporate or equivalent
            transaction to a buyer with an S&P credit rating equal to BBB or better or an equivalent
            credit rating with any other established rating agency.
    In the event of 6(c), if NewCo’s S&P credit rating drops below a BBB (or equivalent), NewCo
    shall re-establish the Deepwater Surety Bond or letter of credit at the level of security
    immediately prior to being released under 6(c), within 60 days or, if it fails to do so, the
    Deepwater NPI shall come into effect, subject to the provisions described above on any reduction
    or release.




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X. Other
In the event NewCo has an unpaid balance due to CUSA for any reason under the Definitive Agreements,
and that unpaid balance remains due and unpaid for 90 days, CUSA expressly reserves the right to set-
off any amounts due to NewCo under the Turnkey Removal Contract or any reimbursement under the
Contract Operating Agreement.


At Closing and/or upon qualification as an operator, CUSA and FWE IV shall execute BOEM-0150
“Assignment of Record Title in Federal OCS Oil and Gas Lease” documentation to effectuate the transfer
of record title currently held by CUSA to FWE IV in the following leases
    x    Ship Shoal 175 OCS-G05550



XI. Due Diligence
In conjunction with negotiations with FWE, CUSA to commence and perform due diligence of assets
and related contracts within the scope of FWE IV. Successful completion of such due diligence (and
FWE providing the required materials to CUSA) shall be a condition precedent to the effectiveness of
the Definitive Documents.
In accordance with the foregoing, FWE shall provide CUSA with electronic access to the information
and materials set forth below promptly after agreeing to this Term Sheet:
    1.      All contracts applicable to the assets or used in conjunction with the FWE IV Assets,
            including operating agreements, production handling arrangements, hydrocarbon
            transportation, processing and marketing agreements, third party service provider contracts,
            PSAs, farmouts and any agreements relating to decommissioning,
    2.      All bonds, letters of credit, standby funds or other financial arrangements relating to the
            FWE IV Assets, including any such arrangements in support of decommissioning, and
    3.      All government permits, orders and notices relating to the FWE IV Assets or the operation
            thereof, including any INCs and copies of all BSEE communication relating thereto.
Notwithstanding the information specifically requested above, the scope of CUSA’s due diligence will
include access to all relevant information relating to the FWE IV Assets that may be requested by CUSA
from time to time, which FWE IV shall provide to CUSA in a timely manner following receipt of a
request by CUSA.


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                               Exhibit “A”
                             FWE IV Assets

        Area / Block                              Lease
                                                 Number
         BA A-105                                 G01757
         BA A-133                                 G02665
          EB 158                                  G02645
          EB 159                                  G02646
          EB 160                                  G02647
          EB 161                                  G02648
          EC 331                                  G08658
          EC 332                                  G09478
          EI 342                                  G02319
         HI A-550                                 G04081
          MP 77                                   G04481
          SM 132                                  G02282
          SM 136                                  G02588
          SM 137                                  G02589
          SM 150                                  G16325
          SM 66                                   G01198
          SS 169                                   00820
          SS 206                                  G01522
          SS 207                                  G01523
          ST 169                                  G01253
          ST 195                                  G03593
          VR 196                                  G19760
          VR 207                                  G19761
          VR 261                                  G03328


                            End of Exhibit “A”
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                                Exhibit “B”
                          FWE III (Winddown Leases)


        Area / Block                              Lease
                                                 Number
           GI 83                                  G03793
          HI A-446                                G02359
          MP 154                                  G30337
          VR 332                                  G09514
          VK 113                                  G16535
          VK 251                                  G10930
          VK 340                                  G10933
          VR 314                                  G05438
          WC 290                                  G04818




                            End of Exhibit “B”
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                               Exhibit “C”
                            CVX Deepwater Assets


        Area / Block                       Lease Number (OCS-)
            GI 39                                   00127
            GI 40                                   00128
            GI 41                                   00130
            GI 42                                   00131
            GI 46                                   00132
            GI 47                                   00133
            GI 48                                   00134
            GI 43                                   00175
           WD 70                                   00182
           WD 71                                   00838
           WD 94                                   00839
           WD 95                                   G01497
           WD 96                                   G01498
           SM 149                                  G02592
           VR 363                                  G09522
           VR 371                                  G09524
           VR 362                                  G10687
           GC 282                                  G16727
          MC 562                                   G19966
          MC 563                                   G21176
           GC 679                                  G21811
           GC 768                                  G21817
          MC 992                                   G24133
          MC 993                                   G24134
           GC 238                                  G26302
          MC 519                                   G27278
          EW 834                                   G27982
          MC 697                                   G28021
          MC 698                                   G28022
          MC 948                                   G28030
          MC 742                                   G32343
          MC 949                                   G32363
          EW 790                                   G33140
          MC 793                                   G33177
          EW 835                                   G33707
          MC 782                                   G33757
          MC 171                                   G34428
          MC 172                                   G34429
          MC 297                                   G34434
           GC 40                                   G34536
           GC 41                                   G34537
          EW 1009                                  G34878
          EW 1010                                  G34879
          EW 1011                                  G34880
           MC 80                                   G35311
          MC 474                                   G35825
          MC 518                                   G35828
            GI 32                                   00174
            GI 39                                   00126
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        Area / Block                             Lease Number (OCS-)
           GI 41                                       00129
           GI 44                                       00176
           GI 52                                       00177
           WD 67                                       00179
           WD 68                                       00180
           WD 69                                       00181




                            End of Exhibit “C”
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                                  Exhibit N2

                                Eni Term Sheet




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                                                                                              Thomas R. Lamme
                                                                      Senior Vice President and General Counsel
                                                                                           Direct: 713-969-1107
                                                                                    Email: TLamme@fwellc.com


                                           May 12, 2021

                                                                                           VIA EMAIL

Luca Pellicciotta
President and CEO
Eni Petroleum US LLC
1200 Smith Street, Suite 1700
Houston, Texas 77002
E-mail: luca.pellicciotta@eni.com

    Re: Fieldwood/Eni Term Sheet

Dear Mr. Pellicciotta:

Attached as Exhibit A is the agreed upon term sheet dated May 12, 2021, by and between
Fieldwood Energy LLC and its affiliated debtors and Eni Petroleum US LLC (“Eni” and, together
with the Debtors, the “Parties”) supporting the restructuring of the portion of the Debtors’ business
relating to certain assets described therein as the “Abandoned Properties” (the “Fieldwood/Eni
Term Sheet”).

By executing this letter agreement, each of the undersigned Parties agrees (i) to work to implement
the terms of the Fieldwood/Eni Term Sheet and (ii) to negotiate the definitive documents described
therein in good faith and in accordance with the terms of the Fieldwood/Eni Term Sheet.

The Parties may execute and deliver this letter agreement by electronic reproduction and in
multiple counterparts, each of which shall constitute an original and all of which shall be one and
the same document. This letter agreement shall be governed by the laws of the State of Texas
without regard to any choice of law principles.




                                     [Signature Pages Follow]




Enclosure


cc: Michael T. Dane, via email MDane@Fwellc.com
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                              EXHIBIT A

                     FIELDWOOD/ENI TERM SHEET
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This Term Sheet is an expression of interest only and creates no legally binding commitment by either party to
negotiate any specific transaction or enter into any agreement. It is expressly understood that no liability or obligation
of Fieldwood Energy LLC and its affiliated debtors (collectively, the “Debtors”) or Eni Petroleum US LLC (“Eni”)
of any nature whatsoever is intended to or will be created hereunder with respect to this Term Sheet or related
discussions or writings or the transactions contemplated hereby and that this Term Sheet is neither a contract nor a
binding offer. It is understood and agreed that any transaction is expressly conditioned, among others, upon approval
by the Debtors and Eni, the execution and delivery by the Debtors and Eni or their affiliates of definitive written
agreements, in form and substance satisfactory to the Debtors and Eni in their sole discretion, the satisfaction of the
conditions set forth therein, and Bankruptcy Court approval. The Debtors and Eni expressly agree that this Term
Sheet does not contain all terms that would be required to be agreed to in order to enter into any definitive agreement.
Without prejudice to the foregoing, this Term Sheet constitutes a “Definitive Document” under the Restructuring
Support Agreement (as defined in the Plan (as defined below)) and is subject to the consent rights set forth therein.
Except as provided for herein, each party is responsible for its own costs and expenses, including those of its legal
advisors in conjunction with this Term Sheet. 1


    ENI / FIELDWOOD COMMERCIAL TERM SHEET


    Through the Initial Plan of Merger contemplated under the Fourth Amended Joint Chapter 11 Plan of
    Fieldwood Energy LLC and Its Affiliated Debtors dated April 15, 2021 filed at ECF No. 1284 (including
    any exhibits and schedules thereto and as may be further amended, supplemented, or modified, the
    “Plan”), Fieldwood Energy III LLC (“FWE III”) will, subject to the terms and conditions set forth
    herein, decommission the oil and gas leases and facilities (including but not limited to, for all purposes
    hereunder, any wells, pipelines, or other structures) set forth on Exhibit A attached hereto (collectively,
    the “Abandoned Properties” and each individually, an “Abandoned Property”) previously conveyed
    to Debtors by Eni and certain of its affiliates.

    Term Sheet Expiration Date
    The Debtors, FWE, Credit Bid Purchaser, and Eni shall work together in good faith to negotiate the
    definitive documents contemplated below and any other agreements required to implement the
    transactions contemplated in this Term Sheet, in each case in accordance with the terms and conditions
    set forth herein and acceptable to the Required DIP Lenders and the Requisite FLTL Lenders
    (“Definitive Documents”), provided that this Term Sheet shall terminate if the parties have not fully
    agreed and finalized all such required Definitive Documents on or before the Effective Date of the Plan
    (such date, the “Termination Date”).

    Conditions Precedent to Effectiveness
    In addition to any other conditions precedent that may be agreed by the parties, it shall be a condition
    precedent to the effectiveness of the Definitive Documents that FWE III will have been granted to the
    satisfaction of the parties to the Definitive Documents all necessary approvals by applicable regulatory
    authorities to act as a qualified operator in the Gulf of Mexico. In the event that FWE III has not been
    granted such approval(s) by September 30, 2021, this Term Sheet and any and all executed Definitive
    Documents shall automatically terminate on such date. For the avoidance of doubt, in no event shall the
    failure to consummate any Definitive Document result in any such extension after the Termination Date.

    Closing



1
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Plan.
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“Closing” shall take place in conjunction with the effectiveness of the divisive merger and simultaneous
execution and delivery of the Definitive Documents.

FWE III Governance and Operations
    1.      FWE III will provide Eni with regular informational updates, including monthly, quarterly,
            and annual financial reports. Eni shall have the right but not the obligation to share such
            information with the sureties.
    2.      As a condition precedent to the effectiveness of the Turnkey Removal Agreement (and the
            other Definitive Documents), FWE III will become a qualified operator in the Gulf of
            Mexico.
    3.      FWE III will use reasonable efforts to obtain reimbursement/contribution for
            decommissioning activity that is available under contract or applicable law, including any
            other record title and/or operating rights interest holders and predecessors-in-interest other
            than Eni to the extent practicable and available surety bonding other than Eni’s bonds;
            provided that, for the avoidance of doubt, FWE III shall not be required to incur any out-of-
            pocket costs or obligations in connection with such efforts.
    4.      FWE III shall obtain the written consent of Eni (not to be unreasonably withheld) prior to
            entering settlement negotiation(s) or agreeing to a settlement and/or initiating dispute
            resolution regarding the Abandoned Properties, including with respect to obtaining
            contributions from other record title and/or operating rights interest holders and
            predecessors-in-interest for decommissioning or funds from surety bonds for
            decommissioning.
    5.      The Debtors and FWE III will be responsible for all costs associated with formation of FWE
            III in connection with the Initial Plan of Merger as contemplated in the Plan. Funds required
            for the ongoing operations of FWE III shall be provided as set forth in the “Implementation
            and Funding Agreement” below.
    6.      FWE III will provide all funds for any premiums for organizational/area-wide bonding
            requirements.

Withdrawal of Objections and Support of the Plan
In conjunction with the execution of this Term Sheet or promptly thereafter, Eni will withdraw any
pending objections it has filed to the Plan, and agree not to file any further objections to the Plan or to
support any other party in objecting to or opposing the Plan and agrees it will support confirmation of
the Plan.

Turnkey Removal Agreement
    1.      Total Turnkey Amount.
            a. Eni, FWE III and Credit Bid Purchaser agree to enter into a Turnkey Removal
               Agreement acceptable to Eni, FWE III, Credit Bid Purchaser, the Required DIP Lenders,
               and the Requisite FLTL Lenders, whereby Credit Bid Purchaser will decommission the
               Abandoned Properties on a turnkey payment basis, and Credit Bid Purchaser will earn a
               turnkey amount in exchange for completing each such decommissioning project. The
               total turnkey amount for each lease or facility comprising an Abandoned Property shall
               be set forth (i) on a gross 8/8ths basis (the “Gross Decom Amount”) and (ii) on a net
               basis to Eni (such amount, the “Eni (Net) Costs”). The sum of each Gross Decom
               Amount for each lease and/or facility located at the Abandoned Properties shall not
               exceed $95,755,436.46 (the “Total Decom Cost”). The sum of all Eni (Net) Costs for
               each lease and/or facility located at the Abandoned Properties shall not exceed
               $57,325,130.98 (“Total Eni (Net) Costs”). The Total Decom Cost and Total Eni Cost
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           may be adjusted for the Qualified Conditions and/or Regulatory Changes, as set forth
           below. For the avoidance of doubt, each Gross Decom Amount for each Abandoned
           Property shall be inclusive of all operating expenses and all costs and expenses of
           decommissioning as required to meet the Performance Standard defined below. Subject
           to Section 1.b and Section 4 below, Eni shall have no obligation to pay the parties to this
           Term Sheet any costs or liability to perform any obligations associated with the
           decommissioning of any lease or facility comprising an Abandoned Property once Eni
           has paid Credit Bid Purchaser the applicable turnkey costs, as adjusted hereunder, for
           such lease or facility, as applicable.
       b. In order to facilitate the diligent and continuous performance of the decommissioning
          obligations set forth in this Term Sheet, Credit Bid Purchaser, FWE III, and Eni agree
          that Eni shall have the right, but not the obligation (in Eni’s sole discretion) to make an
          irrevocable election to agree to pay to Credit Bid Purchaser the Gross Decom Amount
          for any such lease or facility comprising an Abandoned Property (such election, the
          “Turnkey Election”). In the event that Eni desires to make such a Turnkey Election,
          Eni shall provide Credit Bid Purchaser and FWE III written notice of its intent (a
          “Turnkey Notice”) and Credit Bid Purchaser shall promptly commence the
          decommissioning contemplated for any such lease or facility. The decommissioning
          project schedule contained in the Turnkey Removal Agreement shall be modified to
          address any such Turnkey Election. Notwithstanding anything to the contrary contained
          in this Term Sheet or any other Definitive Document, in the event Eni makes a Turnkey
          Election, (i) Eni agrees to pay Credit Bid Purchaser the applicable Gross Decom
          Amount, as it may be increased, (ii) in the event the actual cost to decommission the
          lease or facility, as applicable, associated with such Turnkey Election and excluding the
          costs addressed in Section 4 in accordance with the Performance Standard exceeds the
          Gross Decom Amount, as adjusted for the Qualified Conditions and/or Regulatory
          Changes, Credit Bid Purchaser shall assume the risk of any costs in excess of the Gross
          Decom Amount, as such amounts may be adjusted as a result of a Qualified Condition
          and/or Regulatory Changes, and (iii) Eni shall have the right to seek contribution from
          third parties for any share of the Gross Decom Amount for any lease or facility
          comprising an Abandoned Property. In the event Eni makes a Turnkey Election, it may
          assign its interest in the Turnkey Removal Agreement insofar as it covers such asset (to
          the extent that it relates to Eni’s prior undivided interests in the Abandoned Property) to
          any third party or parties with joint and several liability for such decommissioning,
          provided that Eni shall remain responsible for all of its obligations.
       c. Subject to the Qualified Conditions and Regulatory Changes provisions, Credit Bid
          Purchaser shall assume the risk that the costs of decommissioning each lease or facility
          comprising an Abandoned Property exceeds (i) the Eni (Net) Costs attributable to Eni’s
          prior interest in such lease or facility, as applicable, in the event no Turnkey Election is
          made, or (ii) the Gross Decom Amount attributed to such lease or facility, as applicable,
          in the event a Turnkey Election is made. In the event of a Qualified Condition (as defined
          in Section 3 below), Eni and Credit Bid Purchaser shall share in any costs related to the
          Qualified Condition(s) in excess of the relevant Eni (Net) Costs (or the Gross Decom
          Amount if the Turnkey Election is made) up to, on an aggregated basis of all Abandoned
          Properties, $15,000,000 (the “Qualified Condition Cap”) as follows: (i) Eni shall be
          responsible for the first $5,000,000 of costs related to Qualified Conditions, and (ii) Eni
          and Credit Bid Purchaser shall be responsible 75% / 25% respectively for the remaining
          cost up to the Qualified Condition Cap. Eni’s responsibility for any costs related to a
          Qualified Condition shall not commence until the full amount of the relevant Eni (Net)
          Costs, or if the Turnkey Election is made the relevant Gross Decom Amount, have been
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           incurred. The calculation and application of these amounts (including such Qualified
           Condition Cap) shall be limited to the portion allocated to the Eni (Net Costs) in the
           event Eni did not elect to pay the Gross Decom Amount with regard to such asset. In the
           event that one or more Qualified Conditions results in costs that exceed the Qualified
           Condition Cap, Eni’s liability for any additional costs shall terminate once the Qualified
           Condition Cap has been reached and Eni shall have no further liability for any costs or
           the performance of any obligations associated with any Qualified Condition.
       d. Credit Bid Purchaser will have profit opportunity following the completion of
          decommissioning for any lease or facility comprising an Abandoned Property if it is able
          to decommission any lease or facility comprising an Abandoned Property for a lower
          cost than the (i) the Eni (Net) Costs, provided that Eni did not make a Turnkey Election
          for such asset or (ii) the Gross Decom Amount if a Turnkey Election was made by Eni
          (including any increases to the applicable Eni (Net) Costs or Gross Decom Amount,
          respectively, for any Qualified Conditions or Regularly Conditions) attributed to such
          lease or facility comprising an Abandoned Property.
       e. FWE III’s obligations under the Turnkey Removal Agreement for any specific
          Abandoned Property shall commence upon the earlier of (i) receipt by Eni and other
          joint and several liable parties of a BOEM/BSEE order requiring decommissioning of
          such Abandoned Property and after full funding for the project has been finalized, or (ii)
          a Turnkey Election by Eni for such Abandoned Property; provided that the
          decommissioning project schedule contained in the Turnkey Removal Agreement shall
          be modified to address either such event.
 2.    Services. Services provided by Credit Bid Purchaser pursuant to the Turnkey Removal
       Agreement will include performing decommissioning operations at the Abandoned
       Properties to an agreed operational and regulatory performance standard on behalf of FWE
       III on agreed terms and conditions. FWE III and Eni agree that Credit Bid Purchaser will
       meet such required standard if it performs such decommissioning operations consistent with
       required laws, rules and regulations promulgated by governing regulatory agencies,
       including but not limited to BOEM and BSEE, and consistent with any applicable third party
       contracts (the “Performance Standards”).
 3.    Qualified Conditions. At or before Closing, Credit Bid Purchaser and Eni shall determine
       the turnkey amounts on a project-by-project basis for all decommissioning projects under
       the Turnkey Removal Agreement (leases and facilities to be operated by FWE III) and shall
       agree on a decommissioning project schedule consistent with the terms set forth in Section
       7 below, all of which shall be attached to the Turnkey Removal Agreement. The parties shall
       also agree upon certain qualified conditions for the decommissioning projects (“Qualified
       Conditions”), which such Qualified Conditions, if present, can, at the election of either
       Credit Bid Purchaser or Eni, as applicable, and subject to the notice requirements set forth
       in the Definitive Documents, cause the parties to adjust the applicable turnkey amount for a
       particular project or agree on alternative cost arrangement; provided that such Qualified
       Conditions shall be set forth in the Definitive Documents and shall be limited to the items
       listed on Schedule 1 attached hereto. In the event the parties are unable to agree to the
       adjusted turnkey amount or an alternative cost arrangement due to an occurrence of a
       Qualified Condition, the parties shall follow the method set forth in the Definitive
       Documents.
 4.    Temporary Abandoned Wells and Excluded Wells. Credit Bid Purchaser and Eni
       acknowledge and agree that there may be decommissioning obligations attributable to the
       wells identified on Exhibit B attached hereto which were purported to have been temporarily

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       plugged and abandoned as of the effective date of that certain Purchase and Sale Agreement
       by and among Eni Petroleum US LLC and Eni US Operating Co. Inc., as Seller, and
       Fieldwood Energy Offshore LLC, a Purchaser, dated as of December 1, 2015 (the “Comal
       PSA”). Eni will be solely responsible for the costs associated with the decommissioning of
       the “Excluded Wells” (as such term is defined in the Comal PSA) and shall be solely
       responsible for the “Eligible Well Intervention Costs” (as such term is defined in the Comal
       PSA) for any “Temporary Abandoned Well” (as such term is defined in the Comal PSA) as
       provided in the following sentence. Notwithstanding the foregoing, Eni shall have no
       obligation for (i) any costs or obligations attributable to any Temporary Abandoned Well in
       excess of the “Eligible Well Intervention Costs” associated with any such Temporary
       Abandoned Well, or (ii) any costs or obligations attributable to a Temporary Abandoned
       Well for which Eni’s liability terminated pursuant to Section 7.19(e) of the Comal PSA.
       Notwithstanding anything herein to the contrary, in the event the Credit Bid Purchaser is
       required to handle Eni’s obligations as addressed in this section, Eni shall promptly
       reimburse Credit Bid Purchaser for all costs and expenses incurred in connection therewith,
       together with a reasonable overhead charge in accordance with the COPAS attached to the
       Contract Operating Agreement defined in Section 2 of the Implementation and Funding
       Agreement and, for the avoidance of doubt, none of such costs, expenses or overhead shall
       be considered in the calculation of the Qualified Condition Cap. Such payment shall occur
       promptly upon completion of the work set forth in this section.
 5.    Regulatory Changes. In addition to the Qualified Conditions described on Schedule 1
       attached hereto, if any regulatory body either (i) issues new regulations that increase or
       materially change the cost to conduct decommissioning or (ii) designates additional sand
       sediment areas requiring pipeline removal as opposed to abandonment in place (if the
       turnkey amount for the particular pipeline assumes abandonment in place), Eni and Credit
       Bid Purchaser shall negotiate in good faith to adjust the applicable Gross Decom Amount to
       take into account the incremental costs to complete the project under the Turnkey Removal
       Agreement. For the avoidance of doubt, new regulations include but are not limited to,
       NTLs, BSEE or BOEM national, regional or district policies, executive orders and new
       regulations in the CFRs that govern decommissioning. If the parties cannot agree on a
       revised Gross Decom Amount, the project shall be completed on a cost-plus 15% basis.
 6.    Surety Bonds. Eni may apply any available proceeds from bonds that cover the
       decommissioning costs associated with the Abandoned Properties to any amounts owed
       hereunder. Eni will bear all costs and risks associated with such bonds and notwithstanding
       its failure to recover all or any bond proceeds, Eni will be required to pay the Total Eni (Net)
       Costs or Gross Decom Amount, as applicable pursuant to terms and conditions of this Term
       Sheet.
 7.    Payments. Subject to Section 1.b and without limitation of Credit Bid Purchaser’s obligation
       to perform the Initial Safe Out as provided in Section 9 below, Credit Bid Purchaser shall
       not undertake the applicable decommissioning project until full funding of the applicable
       Gross Decom Amount has been agreed to by Eni and Credit Bid Purchaser, including
       receiving or securing a contractual commitment (such as a decommissioning agreement)
       from applicable third parties. Eni will be required to pay Credit Bid Purchaser the Eni (Net)
       Costs or Gross Decom Amount (in the event a Turnkey Election was made pursuant to this
       Term Sheet), as applicable, attributable to the decommissioning activities performed for each
       lease or facility comprising an Abandoned Property upon delivery to FWE III and to Eni of
       the filings and other evidence (i) required by BOEM and/or BSEE or any other applicable
       governmental authority, including requisite approvals or regulatory concurrence, with regard
       to the satisfaction of decommissioning obligations with respect to the applicable asset to

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       support Credit Bid Purchaser’s representation that the applicable project has been completed;
       and (ii) an invoice and/or billing statement outlining in detail the decommissioning work
       actually performed for such lease or facility along with supporting documentation.
       Notwithstanding anything to the contrary herein, the payments made by Eni in satisfaction
       of the obligations set forth herein, shall not exceed $20,000,000 on an annual basis for any
       given year; provided that (i) if Eni has delivered the Turnkey Notice as provided in this Term
       Sheet or (ii) if Eni is required, pursuant to an order from any governmental or regulatory
       authority, to perform any decommissioning project on a schedule that is more accelerated
       than contemplated in the schedule set forth in the Turnkey Removal Agreement, then such
       annual limitation will be increased above $20,000,000 to the extent such increase is
       necessitated to perform the decommissioning activities contemplated in subparts (i) and (ii)
       of this sentence.
 8.    Termination. Eni retains the right to terminate the Turnkey Removal Agreement as to any
       particular lease or facility located at the Abandoned Properties and/or require FWE III to
       competitively bid the decommissioning services with respect to any particular lease or
       facility attributable to an Abandoned Property in the event Credit Bid Purchaser is in material
       breach of the Turnkey Removal Agreement in relation to the particular lease or facility.
       Credit Bid Purchaser or Eni may terminate the Turnkey Removal Agreement as to any
       particular lease or facility located at the Abandoned Properties if, within three (3) years from
       the effective date of the Turnkey Removal Agreement, a Turnkey Election is not made for
       such lease or facility or contractual commitments for full funding of the applicable Gross
       Decom Amount for such lease or facility have not been received.
 9.    Initial Safe Out. With respect to the Abandoned Properties, FWE III will engage Credit Bid
       Purchaser to promptly perform, operations necessary to safe-out and otherwise perform
       preparatory activities to put such Abandoned Properties, subject to Section 4, into a
       mechanical and operational state such that they are hydrocarbon free and ready to be
       decommissioned (the “Initial Safe Out”); provided, however that such Initial Safe Out shall
       be completed no later than December 31, 2021, unless agreed to in writing by Eni (such
       consent not to be unreasonably withheld, delayed or conditioned).
 10.   Right of First Offer and Notice of Sale. To the extent that any other predecessor-in-interest,
       in connection with the decommissioning of such predecessor-in-interest’s prior assets, is
       granted a right of first offer, right of first refusal, or similar preferential purchase right in
       connection with any assets transferred to Credit Bid Purchaser pursuant to the Plan, Credit
       Bid Purchaser shall grant Eni rights that are substantially similar in connection with the
       Abandoned Properties. After the Effective Date of the Plan, in the event that Credit Bid
       Purchaser desires to sell, transfer or otherwise dispose of any portion of its interests in any
       assets transferred to Credit Bid Purchaser pursuant to the Plan through a public marketing
       process utilizing a third party agent, investment bank, or similar service, Credit Bid
       Purchaser shall use reasonable efforts to cause such agent or investment bank to provide Eni
       with written notice and an opportunity to participate in any related sales process.
 11.   Mutual Indemnity. Credit Bid Purchaser and Eni shall indemnify one another for a material
       breach of their respective obligations under the Turnkey Removal Agreement; provided,
       however, the indemnity obligations set forth herein shall not include lost profit opportunity,
       indirect damages, consequential damages, third party claims, fines or penalties (except to the
       extent directly resulting from a material breach by the other party), attorney’s fees, or any
       other third party costs.
 12.   Audit Rights. For each year the Turnkey Removal Agreement remains in effect and for up
       to twelve (12) months following the completion of the decommissioning obligations

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          contemplated in this Term Sheet, Eni shall have the right to conduct, during normal business
          hours upon at least thirty (30) days’ prior notice, an audit of Credit Bid Purchaser’s records
          to the extent related to any amount charged to Eni hereunder.

Implementation and Funding Agreement
   1.     Funding Contribution. Without limitation of FWE’s obligation to perform the Agreed
          Activities pursuant to the Plan, FWE will contribute on the Effective Date $3 million to FWE
          III (the “Contribution Amount”), which amount will be used solely in connection with the
          Abandoned Properties and partially in satisfaction of Eni’s obligation to pay the Total Eni
          (Net) Costs.
   2.     Operating Costs. From and after the Effective Date and subject to Section 4 above, Credit
          Bid Purchaser will manage on behalf of FWE III the Abandoned Properties until the
          commencement of the decommissioning pursuant to a mutually acceptable contract
          operating agreement between FWE III and Credit Bid Purchaser (the “Contract Operating
          Agreement”). Except as set forth in Section 4 above, Eni shall not be responsible for any
          operating costs associated with Eni’s interests in the Abandoned Properties. Management of
          the properties shall include, but not be limited to, as services provided: operations,
          production marketing (for producing assets), accounting and land administration.
   3.     Legal Fees. FWE/FWE III, as applicable, will pay for Eni’s reasonable and documented
          legal fees incurred in connection with the Debtors’ chapter 11 cases, up to a cap of $1.5
          million.
   4.     ORRI. To the extent that any other predecessor-in-interest is granted an overriding royalty
          interest or similar future interest in Credit Bid Purchaser’s production prior to the Effective
          Date in connection with the decommissioning of such predecessor-in-interest’s prior assets,
          FWE shall grant Eni a similar and proportionate interest in connection with Eni’s turnkey
          removal payments.




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                                  Exhibit “A”
                         Abandoned Properties
                      Block         Lease
                         SS 246         OCS-G 01027
                         VR 313         OCS-G 01172
                         SS 247         OCS-G 01028
                         SS 248         OCS-G 01029
                         SS 249         OCS-G 01030
                         SS 270         OCS-G 01037
                         WC 72          OCS-G 23735


                              End of Exhibit “A”
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                              Exhibit “B”
                      Temporary Abandoned Wells
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                                               Schedule 1
                                          Qualified Conditions


1) To the extent that any well comprising an Abandoned Property that is not assigned a Gross Decom Amount
   requires the performance of any decommissioning activities, Eni and Credit Bid Purchaser shall agree to a
   Gross Decom Amount before commencing any decommissioning activities; provided, however, Temporary
   Abandoned with no estimated cost will not be subject to the Qualified Condition Cap.
2) For a period of up to eighteen (18) months after the effective date of the Turnkey Removal Agreement, any
   damage to an Abandoned Property due to a wind-storm, weather damage, or other casualty events associated
   with severe tropical weather arising after the effective date of the Turnkey Removal Agreement; provided,
   however, any damage to any platform related to ingress and egress shall not be a Qualified Condition.
3) To the extent that any pipeline comprising an Abandoned Property is required to be buried where the
   Turnkey Removal Agreement does not already assume burial, the incremental cost (above the agreed Gross
   Decom Amount) shall be performed at cost and the Gross Decom Amounts and Eni (Net) Costs shall be
   proportionately adjusted subject to Section 1.c of the Term Sheet, provided that Eni and Credit Bid Purchaser
   shall agree to a Gross Decom Amount before commencing any such activities.
                                            End of Schedule “1”
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                              Exhibit N3

                            Hunt Term Sheet
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                                                                                             Thomas R. Lamme
                                                                     Senior Vice President and General Counsel
                                                                                          Direct: 713-969-1107
                                                                                   Email: TLamme@fwellc.com


                                          May 20, 2021

                                                                                          VIA EMAIL

Matt Johnson
Assistant General Counsel
Hunt Oil Company
1900 North Akard Street
Dallas, Texas 75201
E-mail: mjohnson@huntoil.com

    Re: Fieldwood/Hunt Term Sheet

Dear Matt:

Attached as Exhibit A is the agreed upon term sheet dated May [20], 2021, by and between
Fieldwood Energy LLC and its affiliated debtors and Hunt Oil Company and its subsidiaries
Chieftain International (U.S.) L.L.C. and Hunt Chieftain Development, L.P. (collectively, “Hunt”
and, together with the Debtors, the “Parties”) supporting the restructuring of the portion of the
Debtors’ business relating to certain assets described therein as the “Hunt Turnkey Property,”
“Hunt Non-Turnkey Properties,” and the “Abandoned Properties” (the “Fieldwood/Hunt Term
Sheet”).

By executing this letter agreement, each of the undersigned Parties agrees (i) to work to implement
the terms of the Fieldwood/Hunt Term Sheet and (ii) to negotiate the definitive documents
described therein in good faith and in accordance with the terms of the Fieldwood/Hunt Term
Sheet.

The Parties may execute and deliver this letter agreement by electronic reproduction and in
multiple counterparts, each of which shall constitute an original and all of which shall be one and
the same document. This letter agreement shall be governed by the laws of the State of Texas
without regard to any choice of law principles.




                                    [Signature Pages Follow]




Enclosure


cc: Michael T. Dane, via email MDane@Fwellc.com
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        IN WITNESS WHEREOF, the undersigned Parties have executed this letter agreement as
of the date first written above.




HUNT OIL COMPANY
               Y

By:          ____________________________
                     _____________
Name:        MaUN&*XQQLQ
Title:       3UHVLGHQW




                            [Hunt Signature Page to Hunt Term Sheet]
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                              EXHIBIT A

                    FIELDWOOD/HUNT TERM SHEET
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This Term Sheet is an expression of interest only and creates no legally binding commitment by either party to
negotiate any specific transaction or enter into any agreement. It is expressly understood that no liability or
obligation of Fieldwood Energy LLC and its affiliated debtors (collectively, the “Debtors”) or Hunt Oil Company and
its subsidiaries Chieftain International (U.S.) L.L.C. and Hunt Chieftain Development, L.P. (collectively, “Hunt”) of
any nature whatsoever is intended to or will be created hereunder with respect to this Term Sheet or related
discussions or writings or the transactions contemplated hereby and that this Term Sheet is neither a contract nor a
binding offer. It is understood and agreed that any transaction is expressly conditioned, among others, upon approval
by the Debtors and Hunt, the execution and delivery by the Debtors and Hunt or their affiliates of definitive written
agreements, in form and substance satisfactory to the Debtors and Hunt in their sole discretion, the satisfaction of the
conditions set forth therein, and Bankruptcy Court approval. The Debtors and Hunt expressly agree that this Term
Sheet does not contain all terms that would be required to be agreed to in order to enter into any definitive agreement.
Without prejudice to the foregoing, this Term Sheet constitutes a “Definitive Document” under the Restructuring
Support Agreement (as defined in the Plan (as defined below)) and is subject to the consent rights set forth therein.
Except as provided for herein, each party is responsible for its own costs and expenses, including those of its legal
advisors in conjunction with this Term Sheet.


HUNT / FIELDWOOD COMMERCIAL TERM SHEET



Through the divisive merger (the “Divisive Merger”) contemplated under the Fourth Amended Joint
Chapter 11 Plan of Fieldwood Energy LLC and Its Affiliated Debtors dated April 15, 2021 filed at ECF
No. 1284 (including any exhibits and schedules thereto and as may be further amended, supplemented,
or modified, the “Plan”),1 Fieldwood Energy III LLC (“FWE III”) will be allocated and vested with
the Debtors’ rights, title, and interests in Eugene Island Block 63 (OCS Lease No. G00425) and OCS
RUE No. G30244 (collectively, the “Hunt Turnkey Property”).

Through the Divisive Merger, FWE III will also be allocated and vested with rights, title, and interests
in certain other oil and gas assets (collectively, the “Hunt Non-Turnkey Properties”). FWE III will
be responsible for the decommissioning the Hunt Non-Turnkey Properties. A schedule of the Hunt
Non-Turnkey Properties is attached hereto as Exhibit A.

The Debtors’ rights, title, and interests in certain other oil and gas assets (collectively, the “Hunt
Abandoned Properties”) will be abandoned as set forth in the Plan. A schedule of the Hunt
Abandoned Properties is attached hereto as Exhibit B.

Withdrawal of Objections, Support of the Plan and Hunt’s Unsecured Claim

In conjunction with the execution of this Term Sheet or promptly thereafter, Fieldwood and Hunt will
enter into a mutually agreed stipulation and order that will provide that Hunt will (i) withdraw any
pending objections it has filed to the Plan; (ii) not file any further objections to the Plan; (iii) support
confirmation of the Plan; and (iv) not support any party in objecting to or opposing the Plan.

In conjunction with the execution of this Term Sheet or promptly thereafter, Fieldwood agrees to
allow, support and approve the filing by Hunt of an unsecured claim in the bankruptcy equal to
$22,770,453.59 for the net BSEE estimated (P90) decommissioning and site clearance costs for the
Hunt Abandoned Properties and RUEs and ROWs to be abandoned by Debtors as set forth in the Plan.

Turnkey Removal Agreement

1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.
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    1. Turnkey Amount. Subject to Bankruptcy Court approval (if required), Hunt and Fieldwood
          Energy LLC (“Fieldwood”) will enter into a Turnkey Removal Agreement acceptable to
          Hunt, Fieldwood, the Required DIP Lenders (as defined in the Plan), and the Requisite
          FLTL Lenders (as defined in the Plan) whereby Fieldwood will decommission the Hunt
          Turnkey Property on a turnkey payment basis and Fieldwood will earn a single pre-agreed
          payment (the “Turnkey Amount”) in exchange for decommissioning the Hunt Turnkey
          Property. The Turnkey Amount will be $5.4 million. Fieldwood will take commercially
          reasonable efforts to perform all decommissioning work for the Hunt Turnkey Property on
          or before June 30, 2021. Subject to certain exceptions,2 Fieldwood will have an
          opportunity to realize a profit if it is able to decommission the Hunt Turnkey Property for a
          lower cost than the Turnkey Amount, and Fieldwood will bear the risk that the cost of
          decommissioning the Hunt Turnkey Property exceeds the sum of the Turnkey Amount.

    2. Parties to the Turnkey Removal Agreement. On the Effective Date of the Plan, (i) FWE III
          will be allocated and vested with all of Fieldwood’s rights, interests, and obligations under
          the Turnkey Removal Agreement pursuant to the Divisive Merger and (ii) Credit Bid
          Purchaser will become a party to the Turnkey Removal Agreement and will perform any
          remaining decommissioning activities on the Hunt Turnkey Property pursuant to the terms
          of the Turnkey Removal Agreement.

    3. Mutual Indemnity. Credit Bid Purchaser and Hunt shall indemnify one another for a material
          breach of their respective obligations under the Turnkey Removal Agreement; provided,
          however, the indemnity obligations set forth herein shall not include lost profit
          opportunity, indirect damages, consequential damages, third party claims, fines or penalties
          (except to the extent directly resulting from a material breach by the other party),
          attorney’s fees, or any other third party costs.

    4. Excluded Wells. Notwithstanding anything herein to the contrary, the Turnkey Amount shall
          not include any decommissioning obligations that relate to any wells located on the Hunt
          Turnkey Property that were plugged and abandoned or temporarily plugged and abandoned
          prior to the entry into the Turnkey Removal Agreement (the “Excluded Wells”), and Hunt
          will be solely responsible for any such obligations related to the Excluded Wells.3
          Fieldwood/FWE III, Credit Bid Purchaser and Hunt, as applicable, will determine the list
          of Excluded Wells.

    5. Surety Bonds. Hunt may apply any available proceeds from bonds that cover the
          decommissioning costs associated with the Hunt Turnkey Property to the Turnkey
          Amount. Hunt will bear all costs and risks associated with such bonds, and
          notwithstanding its failure to recover all or any bond proceeds, Hunt will pay the Turnkey
          Amount, as it may be adjusted.

    6. Payments. Hunt will pay Fieldwood or Credit Bid Purchaser, as applicable, the full agreed

2
  This agreement will include exceptions that will cause the parties to increase the Turnkey Amount limited to (i)
changes to the conditions of the properties to be decommissioned outside of Fieldwood’s, FWE III’s and/or Credit Bid
Purchaser’s reasonable control, including extraordinary events, such as hurricanes; and (ii) material changes in
government regulations that can reasonably be expected to materially increase the applicable cost of decommissioning
a particular project.
3
 The Debtors are not currently aware of any liabilities, including any downhole well work, associated with the
Excluded Wells.

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            Turnkey Amount, as it may be adjusted, upon delivery to Hunt of the filings and other
            evidence required by BOEM and/or BSEE or any other applicable governmental authority,
            including requisite approvals or regulatory concurrence, with regard to the satisfaction of
            decommissioning obligations with respect to the Hunt Turnkey Property; including the
            following filings, to the extent applicable:

                a)       Certified platform post-removal report that complies with the requirements of
                         30 C.F.R. 250.1729, and

                b)       Certified site clearance report that complies with the requirements of 30 C.F.R.
                         250.1743(b).

Implementation and Funding Agreement

    1. Funding Contribution. Subject to Bankruptcy Court approval (if necessary), Hunt and
          Fieldwood will enter into an Implementation and Funding Agreement (unless otherwise
          included in the Turnkey Removal Agreement) acceptable to Hunt, Fieldwood, the
          Required DIP Lenders (as defined in the Plan), and the Requisite FLTL Lenders (as
          defined in the Plan) whereby the Debtors will contribute on the Effective Date $375,000 to
          FWE III (the “Contribution Amount”), which amount will be used in connection with the
          Hunt Turnkey Property. The Contribution Amount shall be reduced by any amount spent
          on safety related repairs and improvements (“Agreed Activities”) performed on the Hunt
          Turnkey Property. Any Contribution Amount remaining after reduction for amounts spent
          on the Agreed Activities (the “Remaining Balance”) will be paid by FWE III to Hunt;
          provided that if the Turnkey Amount becomes due prior to the Effective Date, the Turnkey
          Amount shall be reduced by the Remaining Balance and the Debtors will not contribute
          any Contribution Amount to FWE III.

    2. Operating Costs. The Implementation and Funding Agreement shall also provide that, from
          and after the Effective Date, Credit Bid Purchaser will manage on behalf of FWE III the
          Hunt Turnkey Property and the Hunt Non-Turnkey Properties, except for the Excluded
          Wells, until the completion of the decommissioning pursuant to a mutually acceptable
          contract operator agreement between FWE III and Credit Bid Purchaser. Hunt shall be
          responsible for any operating costs associated with the Excluded Wells, but shall not be
          responsible for any operating costs associated with the rest of the Hunt Turnkey Property
          or the Hunt Non-Turnkey Properties.

State Leases

Fieldwood and Hunt will endeavor in good faith to mutually agree on the responsibility for Debtors’
rights, title and interests acquired from Hunt in any oil and gas leases granted by the State of Louisiana.




                                                      3
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                                Exhibit A
                       Hunt Non-Turnkey Properties
        Area / Block                                  Lease
                                                     Number
           SM 39                                     G16320
           ST 242                                    G23933




                             [End of Exhibit A]
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                                Exhibit B
                       Hunt Abandoned Properties
        Area / Block                                Lease
                                                   Number
            SP 37                                  00697
          SM 268                                   G02310
           SS 216                                  G01524
           SS 204                                  G01520
          SM 269                                   G02311
          SM 281                                   G02600
           EC 349                                  G14385
           EC 350                                  G15157
           EC 356                                  G13592
          HI A-531                                 G02696




                            [End of Exhibit B]
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                               Exhibit O

                       Oil and Gas Lease Schedules
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                                    Exhibit O1

Leases, Rights of Way and Rights of Use and Easement Related to Purchased Oil & Gas
                                   Lease Interests
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                                                Purchased Oil & Gas Lease Interests*
                                                                                   Le Cur Acres                                        Lease
      Block        Lease          Type          Rights          Date Le Eff                            Operator            WI                        Note†
                                                                                       (Ac)                                            Status
      BS 25      G31442          Federal          RT             2/1/2008             2,079            Tana Exp              25%        UNIT
      BS 25      SL19718          SL-LA           WI             7/9/2008              154             Tana Exp              25%       Active
                                                                                                      Southern Oil
      BS 45      SL15683          SL-LA          WI A           4/14/1997                –            of Louisiana           38%        UNIT          [2]
                                                                                                      Southern Oil
      BS 52      SL17675          SL-LA          WI A          12/16/2002                –            of Louisiana           38%        UNIT          [3]
                                                                                                      Southern Oil
      BS 52      SL17860          SL-LA           WI            8/18/2003                –            of Louisiana           15%        UNIT
                                                                                                                                        PROD
                                                                                                                                     (production
                                                                                                                                       ceased
     EC 345       G15156         Federal         ORRI            8/1/1995              2,500           Talos ERT              1%      4/28/20)
    EW 1009       G34878         Federal          RT             8/1/2013              5,760         Fieldwood En            50%        UNIT


*
       The Debtors and the Consenting FLTL Lenders reserve the right to amend, modify, or supplement this schedule subject to any consent rights
       under the Restructuring Support Agreement.
[1]    Represents leases in which the Credit Bid Purchaser is to acquire all of the Debtors' right, title and interest in such lease (less and except the
       right, title and interest acquired by FWE from Apache and/or held by GOM Shelf); as to all remaining leases on this schedule (except those
       referenced in footnotes [5]-[7] below), the Credit Bid Purchaser is to obtain all of the Debtors' right, title and interest in such leases.
[2]    This lease has different ownership in 4 different portions, and a Seller (Fieldwood Offshore) has a working interest (37.5%) in only one of these
       4 portions.
[3]    This lease has different ownership in 3 different portions, and a Seller (Fieldwood Offshore) has a working interest (37.5%) in only one of these
       3 portions.
[4]    Fieldwood Energy Offshore has two ORRIs: a 1.225% ORRI from assignment filed with BOEM 2/09/2015 and another 3.43% (or 49% of 7%)
       ORRI that is granted each year. However, as to the SS 005 ST01 well, its combined ORRI is only 3.92% until 5.8 million barrels of oil equivalent
       from this well.
[5]    The Credit Bid Purchaser to acquire record title solely as to the W/2 and SE/4 of the block. The record title and the Debtors' operating rights
       solely as to the NE/4 of the block are to be abandoned.
[6]    FWE I is to acquire solely the operating rights as to the NE/4 of this block; the Credit Bid Purchaser is to obtain the Debtors' overriding royalty
       interest in this lease; and the Debtors' remaining interests in this lease are to be abandoned.
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[7]    Represents leases where the Credit Bid Purchaser is to acquire solely the Debtors' overriding royalty interests; the Debtors' remaining interests
       in these leases are to be abandoned.

Legend: OP 1- Operating Rights 1; OP 2 - Operating Rights 2; OP 3 - Operating Rights 3; OP 4 - Operating Rights 4; OP 5 - Operating Rights 5; OP 6 - Operating
Rights 6; ORRI - Overriding Royalty Interest; RT A - Record Title A; RT B - Record Title B; WI - Working Interest; WI A - Working Interest A
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                                                              Le Cur Acres                           Lease
 Block     Lease     Type      Rights       Date Le Eff                        Operator      WI               Note†
                                                                  (Ac)                               Status
EW 1010    G34879   Federal      RT         8/1/2013             5,760       Fieldwood En     50%     UNIT
EW 1011    G34880   Federal      RT         8/1/2013             1,500       Fieldwood En     50%     UNIT
 EW 789    G35805   Federal     ORRI        7/1/2016             5,760        Walter O&G       1%     UNIT
 EW 790    G33140   Federal     OP 1        7/1/2009             5,753       Fieldwood En    100%     UNIT
 EW 790    G33140   Federal     OP 2        7/1/2009             5,753       Fieldwood En    100%     UNIT
 EW 790    G33140   Federal     ORRI        7/1/2009             5,753        Walter O&G       1%     UNIT
 EW 790    G33140   Federal     ORRI        7/1/2009             5,753        Walter O&G       1%     UNIT
                                                                             Fieldwood En
 EW 828    G35806   Federal      RT          6/1/2016            3,731            Off        100%   PRIMARY
 EW 834    G27982   Federal     ORRI         7/1/2006            5,760        Walter O&G       1%     UNIT
 EW 835    G33707   Federal     ORRI         5/1/2010             364         Walter O&G       1%     UNIT
GC 039 B   G36476   Federal      RT          9/1/2013             450        Fieldwood En     50%   PRIMARY
 GC 040    G34536   Federal      RT         11/1/2012            5,760       Fieldwood En     50%     UNIT
 GC 041    G34537   Federal      RT         10/1/2012            1,783       Fieldwood En     50%     UNIT
                                                                             Fieldwood En
GC 064     G34539   Federal      RT         8/1/2012             5,760            Off         49%    PROD
                                                                             Fieldwood En
GC 065     G05889   Federal      OP         7/1/1983             5,760            Off         49%    UNIT
                                                                             Fieldwood En
GC 108     G14668   Federal      OP         7/1/1994             5,760            Off         49%    UNIT
                                                                             Fieldwood En
GC 109     G05900   Federal      OP          7/1/1983            5,760            Off         49%     UNIT
GC 153     G36814   Federal      RT         11/1/2019            5,760       Fieldwood En    100%   PRIMARY
                                                                             Fieldwood En
GC 198     G36021   Federal      RT         6/1/2017             5,760            Off        100%   PRIMARY
                                                                             Fieldwood En
GC 200     G12209   Federal      OP         5/1/1990             5,760            Off         53%    UNIT
                                                                             Fieldwood En
GC 200     G12209   Federal      RT         5/1/1990             5,760            Off        100%    UNIT
GC 201     G12210   Federal     ORRI        5/1/1990             5,760       LLOG Exp Off      5%    UNIT
                                                                             Fieldwood En
GC 201     G12210   Federal      RT         5/1/1990             5,760            Off        100%    UNIT      [5]
GC 238     G26302   Federal     ORRI        7/1/2004             5,760         Talos ERT       3%    PROD
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                                                                              BHP Billiton
GC 238     G26302   Federal      OP         7/1/2004             5,760         Pet GOM        40%    PROD


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                                                               Le Cur Acres                             Lease
  Block     Lease     Type      Rights       Date Le Eff                        Operator      WI                 Note†
                                                                   (Ac)                                 Status
 GC 243     G20051   Federal     ORRI        7/1/1998             5,760        Walter O&G          5%   PROD      [4]
                                                                              Fieldwood En
 GC 244     G11043   Federal      RT         5/1/1989             5,760          Offshore     100%      UNIT
                                                                               BHP Billiton
 GC 282     G16727   Federal      OP          9/1/1996            5,760         Pet GOM        25%      PROD
 GC 282     G16727   Federal     ORRI         9/1/1996            5,760         Talos ERT       2%      PROD
 GC 39 A    G34966   Federal      RT          9/1/2013             540        Fieldwood En     50%      UNIT
 GC 39 A    G34966   Federal      OP          9/1/2013             540        Fieldwood En     50%      UNIT
 GC 679     G21811   Federal     OP 2         7/1/2000            5,760       Fieldwood En     43%      PROD
 GC 679     G21811   Federal      RT          7/1/2000            5,760       Fieldwood En     38%      PROD
 GC 768     G21817   Federal     OP 1         6/1/2000            5,760       Anadarko Pet     50%      PROD
 GC 768     G21817   Federal     OP 2         6/1/2000            5,760       Fieldwood En     43%      PROD
 GC 768     G21817   Federal      RT          6/1/2000            5,760       Fieldwood En    100%      PROD
 GI 110     G13943   Federal      RT          8/1/1993            5,000       Fieldwood En     50%      UNIT      [1]
 GI 116     G13944   Federal      RT          7/1/1993            5,000       Fieldwood En     50%      UNIT      [1]
 GI 116     G13944   Federal      OP          7/1/1993            5,000       Fieldwood En     50%      UNIT      [1]
S/2 GI 32    00174   Federal      RT         7/17/1948            2,500        GOM Shelf       25%      UNIT      [1]
S/2 GI 32    00174   Federal     OP 1        7/17/1948            2,500          BP E&P        25%      UNIT      [1]
S/2 GI 32    00174   Federal     OP 2        7/17/1948            2,500        GOM Shelf       25%      UNIT      [1]
E/2 GI 39    00126   Federal      RT         4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
E/2 GI 39    00126   Federal     OP 1        4/21/1947            2,500          BP E&P        25%      UNIT      [1]
E/2 GI 39    00126   Federal     OP 2        4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
 W/2 GI
   39       00127    Federal      RT         4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
 W/2 GI
   39       00127    Federal     OP 1        4/21/1947            2,500          BP E&P        25%      UNIT      [1]
 W/2 GI
   39       00127    Federal     OP 2        4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
E/2 GI 40   00128    Federal      RT         4/21/1947            5,000        GOM Shelf       25%      UNIT      [1]
  GI 40     00128    Federal     OP 1        4/21/1947            5,000         BP E&P         25%      UNIT      [1]
  GI 40     00128    Federal     OP 2        4/21/1947            5,000        GOM Shelf       25%      UNIT      [1]
E/2 GI 41   00129    Federal      RT         4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]
E/2 GI 41   00129    Federal     OP 1        4/21/1947            2,500         BP E&P         25%      UNIT      [1]
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E/2 GI 41   00129    Federal     OP 2        4/21/1947            2,500        GOM Shelf       25%      UNIT      [1]



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                                                               Le Cur Acres                          Lease
  Block     Lease     Type      Rights       Date Le Eff                       Operator      WI                Note†
                                                                   (Ac)                              Status
 W/2 GI
   41       00130    Federal     OP 1        4/21/1947            2,500         BP E&P         25%    UNIT      [1]
 W/2 GI
   41       00130    Federal     OP 2        4/21/1947            2,500        GOM Shelf       25%    UNIT      [1]
 W/2 GI
   41        00130   Federal      RT         4/21/1947            2,500        GOM Shelf      25%      UNIT     [1]
  GI 42      00131   Federal      RT         4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 42      00131   Federal     OP 1        4/21/1947            5,000          BP E&P       25%      UNIT     [1]
  GI 42      00131   Federal     OP 2        4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 43      00175   Federal      RT         7/17/1948            5,000        GOM Shelf      25%      UNIT     [1]
  GI 43      00175   Federal     OP 1        7/17/1948            5,000          BP E&P       25%      UNIT     [1]
  GI 43      00175   Federal     OP 2        7/17/1948            5,000        GOM Shelf      25%      UNIT     [1]
N/2 GI 44    00176   Federal      RT         7/17/1948            2,500        GOM Shelf      25%      UNIT     [1]
N/2 GI 44    00176   Federal     OP 1        7/17/1948            2,500          BP E&P       25%      UNIT     [1]
N/2 GI 44    00176   Federal     OP 2        7/17/1948            2,500        GOM Shelf      25%      UNIT     [1]
  GI 46      00132   Federal      RT         4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 46      00132   Federal     OP 1        4/21/1947            5,000          BP E&P       25%      UNIT     [1]
  GI 46      00132   Federal     OP 2        4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 47      00133   Federal      RT         4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 47      00133   Federal     OP 1        4/21/1947            5,000          BP E&P       25%      UNIT     [1]
  GI 47      00133   Federal     OP 2        4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 48      00134   Federal      RT         4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
  GI 48      00134   Federal     OP 1        4/21/1947            5,000          BP E&P       25%      UNIT     [1]
  GI 48      00134   Federal     OP 2        4/21/1947            5,000        GOM Shelf      25%      UNIT     [1]
N/2 GI 52    00177   Federal      RT         7/17/1948            2,500        GOM Shelf      25%      UNIT     [1]
N/2 GI 52    00177   Federal     OP 2        7/17/1948            2,500          BP E&P       25%      UNIT     [1]
 HI 176     G27509   Federal     ORRI         1/1/2006            5,760        Castex Off      3%     PROD
 MC 110     G18192   Federal      RT          8/1/1997            5,760           Talos        8%     PROD      [1]
 MC 110     G18192   Federal      OP          8/1/1997            5,760           Talos        8%     PROD      [1]
 MC 118     G35963   Federal      RT          8/1/2017            5,760       Chevron USA      5%    PRIMARY
 MC 119     G36537   Federal      RT          7/1/2019            5,760       Chevron USA      5%    PRIMARY
 MC 162     G36880   Federal      RT          8/1/2020            5,760       Chevron USA      5%    PRIMARY
 MC 163     G36538   Federal      RT          7/1/2019            5,760       Chevron USA      5%    PRIMARY
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 MC 171     G34428   Federal      RT         12/1/2012            5,760       Fieldwood En   100%    PRIMARY



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                                                            Le Cur Acres                          Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI               Note†
                                                                (Ac)                              Status
MC 172   G34429   Federal      RT         12/1/2012            5,760       Fieldwood En   100%   PRIMARY
MC 206   G36540   Federal      RT          7/1/2019            5,760       Chevron USA      5%   PRIMARY
MC 297   G34434   Federal      RT         11/1/2012            5,760       Fieldwood En    70%   PRIMARY
MC 380   G36544   Federal      RT         7/1/2019             5,760       Fieldwood En   100%   PRIMARY
MC 424   G36545   Federal      RT         7/1/2019             5,760       Fieldwood En   100%   PRIMARY
MC 435   G36772   Federal      RT         11/1/2019            5,760       Fieldwood En   100%   PRIMARY
MC 436   G36773   Federal      RT         11/1/2019            5,760       Fieldwood En   100%   PRIMARY
MC 474   G35825   Federal      RT          7/1/2016            5,760          BP E&P       24%   PRIMARY
MC 474   G35825   Federal      OP          7/1/2016            5,760          BP E&P       13%   PRIMARY
MC 518   G35828   Federal      RT          7/1/2016            5,760          BP E&P       24%   PRIMARY
MC 519   G27278   Federal      RT          7/1/2005            5,760          BP E&P       65%    PROD
MC 519   G27278   Federal     OP 2         7/1/2005            5,760       Fieldwood En    49%    PROD
MC 519   G27278   Federal     OP 3         7/1/2005            5,760       Fieldwood En    49%    PROD
MC 519   G27278   Federal     OP 4         7/1/2005            5,760          BP E&P       26%    PROD
MC 519   G27278   Federal     OP 5         7/1/2005            5,760          BP E&P       26%    PROD
MC 519   G27278   Federal     OP 6         7/1/2005            5,760          BP E&P       26%    PROD
MC 562   G19966   Federal      RT          7/1/1998            5,760          BP E&P       13%    PROD
MC 563   G21176   Federal     OP 2         7/1/1999            5,760       Fieldwood En    23%    PROD
                                                                            Kosmos En
MC 563   G21176   Federal     ORRI        3/17/1999            5,760          GOM Op        0%    PROD
MC 691   G36400   Federal      RT         12/1/2018            5,760       Fieldwood En    50%   PRIMARY
MC 697   G28021   Federal      RT          4/1/2006             540        Fieldwood En    54%     UNIT
MC 698   G28022   Federal      RT          7/1/2006            5,760       Fieldwood En    54%     UNIT
MC 742   G32343   Federal     RT B         9/1/2008            1,440       Fieldwood En    54%     UNIT
MC 742   G32343   Federal     RT A         9/1/2008            4,320       Fieldwood En   100%     UNIT
MC 743   G36401   Federal      RT         11/1/2018            5,760       Chevron USA     25%   PRIMARY
MC 782   G33757   Federal      RT         7/1/2010             5,760       Fieldwood En    45%    PROD
MC 789   G36557   Federal      RT         7/1/2019             5,760       Fieldwood En   100%   PRIMARY
MC 793   G33177   Federal     ORRI         7/1/2009            5,760        Walter O&G      1%     UNIT
MC 904   G36566   Federal      RT         7/1/2019             5,760       Fieldwood En    59%   PRIMARY
MC 905   G36405   Federal      RT         11/1/2018            5,760       Fieldwood En    59%   PRIMARY
MC 948   G28030   Federal      RT         7/1/2006             5,760       Fieldwood En    59%     UNIT
MC 949   G32363   Federal      RT         7/1/2008             5,760       Fieldwood En    59%     UNIT
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MC 992   G24133   Federal     RT A         7/1/2002            5,760       Fieldwood En    53%     UNIT



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                                                            Le Cur Acres                            Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI                    Note†
                                                                (Ac)                                Status
MC 992   G24133   Federal     RT B        7/1/2002             5,760       Fieldwood En     59%      UNIT
MC 993   G24134   Federal     RT A        7/1/2002             5,760       Fieldwood En     45%      UNIT
MC 993   G24134   Federal     RT B        7/1/2002             5,760       Fieldwood En     59%      UNIT
                                                                           Fieldwood En
MP 316   G36231   Federal      RT         7/1/2018             5,000            Off                PRIMARY
SM 149   G02592   Federal      RT         5/1/1974             2,500       Fieldwood En     50%     PROD         [1]
SM 149   G02592   Federal      OP         5/1/1974             2,500       Fieldwood En     50%     PROD         [1]
SM 149   G02592   Federal     ORRI        5/1/1974             2,500       Fieldwood En      4%     PROD         [1]
                                                                           Fieldwood En
SM 40    G13607   Federal      RT         8/1/1992             5,000            Off       100%     TERMIN
                                                                           Fieldwood En
SM 41    G01192   Federal     OP 1        6/1/1962             5,000            Off       100%       PROD        [1]
                                                                                                     PROD
                                                                                                  (production
                                                                                                    ceased
SM 48     00786   Federal     ORRI        2/24/1960            5,000       Fieldwood En      3%    8/16/20)      [1]
SP 61    G01609   Federal     ORRI        7/1/1967             5,000       Fieldwood En     19%      UNIT        [6]
                                                                                                      SOP
                                                                                                   extension
                                                                           Fieldwood En             request
SS 301   G10794   Federal      RT         5/1/1989             5,000            Off         65%     pending      [1]
                                                                                                      SOP
                                                                                                   extension
                                                                           Fieldwood En             request
SS 301   G10794   Federal     OP 1        5/1/1989             5,000            Off       100%      pending      [1]
SS 313   G36362   Federal      RT        11/01/2018            5,000       Fieldwood En            PRIMARY
                                                                           Fieldwood En
SS 358   G36122   Federal      RT        11/01/2017            5,000            Off                PRIMARY
                                                                           Fieldwood En
SS 79    G15277   Federal      RT         8/1/1995             5,000            Off         33%     PROD
                                                                           Fieldwood En
SS 79    G15277   Federal     OP 1        8/1/1995             5,000            Off        51%      PROD
ST 287   G24987   Federal      RT         5/1/2003             5,000       Fieldwood En   100%      PROD
ST 287   G24987   Federal     OP 1        5/1/2003             5,000       Fieldwood En   100%      PROD
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ST 287   G24987   Federal     OP 2        5/1/2003             5,000       Fieldwood En    50%      PROD



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                                                            Le Cur Acres                            Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI                    Note†
                                                                (Ac)                                Status
ST 308   G21685   Federal     RT           6/1/2000            5,000       Fieldwood En   100%      PROD
ST 308   G21685   Federal    OP 1          6/1/2000            5,000       Fieldwood En   100%      PROD
ST 308   G21685   Federal    OP 2          6/1/2000            5,000       Fieldwood En    50%      PROD
ST 53    G04000   Federal     RT          3/1/1979             5,000       Fieldwood En    50%      PROD         [1]
ST 53    G04000   Federal    OP 1          3/1/1979            5,000       Fieldwood En    50%      PROD         [1]
ST 53    G04000   Federal    OP 2          3/1/1979            5,000       Fieldwood En    50%      PROD         [1]
ST 67     00020   Federal    CONT         4/25/1947            5,000       Fieldwood En    20%       UNIT        [1]
                                                                           Fieldwood En
VR 229   G27070   Federal     RT A        5/1/2005             1,250            Off         50%     PROD
                                                                           Fieldwood En
VR 229   G27070   Federal     RT B        5/1/2005             3,750            Off         50%      PROD
                                                                                                     UNIT
                                                                                                  (production
                                                                           Fieldwood En             ceased
VR 362   G10687   Federal      RT         6/1/1989             5,000            Off       100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                           Fieldwood En             ceased
VR 362   G10687   Federal      OP         6/1/1989             5,000            Off         83%    8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                                                    ceased
VR 363   G09522   Federal      RT         5/1/1988             5,000       Fieldwood En   100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                           Fieldwood En             ceased
VR 363   G09522   Federal     OP 1        5/1/1988             5,000            Off       100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                                                    ceased
VR 363   G09522   Federal     OP 2        5/1/1988             5,000       Fieldwood En   100%     8/22/20)
                                                                                                     UNIT
                                                                                                  (production
                                                                                                    ceased
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VR 363   G09522   Federal     OP 3        5/1/1988             5,000       Fieldwood En     50%    8/22/20)



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                                                            Le Cur Acres                            Lease
Block    Lease     Type      Rights       Date Le Eff                       Operator      WI                 Note†
                                                                (Ac)                                Status
                                                                           Fieldwood En
VR 371   G09524   Federal      RT         7/1/1988             5,000            Off       100%      PROD
                                                                           Fieldwood En
VR 371   G09524   Federal      OP          7/1/1988            5,000            Off        83%      PROD
 VR 78   G04421   Federal      RT         11/1/1980            5,000       Fieldwood En   100%      PROD
 VR 78   G04421   Federal      OP         11/1/1980            5,000       Fieldwood En    81%      PROD
WD 57,
WD 79,                                                                     Fieldwood En
WD 80    G01449   Federal     ORRI        5/1/1966             3,125            Off            3%   UNIT      [7]
S/2 WD
  67     00179    Federal      RT         7/17/1948            2,500        GOM Shelf       25%     UNIT      [1]
S/2 WD
  67     00179    Federal     OP 1        7/17/1948            2,500         BP E&P         25%     UNIT      [1]
S/2 WD
  67     00179    Federal     OP 2        7/17/1948            2,500        GOM Shelf       25%     UNIT      [1]
S/2 WD
  68     00180    Federal      RT         7/17/1948            1,833        GOM Shelf       25%     UNIT      [1]
S/2 WD
  68     00180    Federal     OP 1        7/17/1948            1,833         BP E&P         25%     UNIT      [1]
S/2 WD
  68     00180    Federal     OP 2        7/17/1948            1,833        GOM Shelf       25%     UNIT      [1]
WD 69    00181    Federal      RT         7/17/1948            3,665        GOM Shelf       25%     UNIT      [1]
WD 69    00181    Federal     OP 1        7/17/1948            3,665          BP E&P        25%     UNIT      [1]
WD 69    00181    Federal     OP 2        7/17/1948            3,665        GOM Shelf       25%     UNIT      [1]
WD 70    00182    Federal      RT         7/17/1948            5,000        GOM Shelf       25%     UNIT      [1]
WD 70    00182    Federal     OP 1        7/17/1948            5,000          BP E&P        25%     UNIT      [1]
WD 70    00182    Federal     OP 2        7/17/1948            5,000        GOM Shelf       25%     UNIT      [1]
WD 71    00838    Federal      RT         4/1/1960             5,000        GOM Shelf       25%     UNIT      [1]
WD 71    00838    Federal     OP 1         4/1/1960            5,000          BP E&P        25%     UNIT      [1]
WD 71    00838    Federal     OP 2         4/1/1960            5,000        GOM Shelf       25%     UNIT      [1]
WD 79,                                                                     Fieldwood En
WD 80    G01874   Federal     ORRI        12/1/1968            3,438            Off            3%   UNIT      [7]
                                                                           Fieldwood En
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WD 80    G01989   Federal     ORRI        8/1/1970             1,875            Off            3%   UNIT      [7]




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                                                           Le Cur Acres                                  Lease
Block   Lease     Type      Rights       Date Le Eff                        Operator         WI                    Note†
                                                               (Ac)                                      Status
                                                                          Fieldwood En
WD 80   G02136   Federal     ORRI         1/1/1972             938              Off            3%        UNIT       [7]
WD 94    00839   Federal      RT         5/1/1960             5,000         GOM Shelf         25%        PROD       [1]
WD 94    00839   Federal     OP 1         5/1/1960            5,000         GOM Shelf         25%        PROD       [1]
WD 95   G01497   Federal      RT         12/1/1966            5,000         GOM Shelf         25%        PROD       [1]
WD 95   G01497   Federal     OP 1        12/1/1966            5,000         GOM Shelf         25%        PROD       [1]
WD 95   G01497   Federal     OP 2        12/1/1966            5,000         GOM Shelf         25%        PROD       [1]
WD 96   G01498   Federal      RT         12/1/1966            3,665         GOM Shelf         25%        PROD       [1]
WD 96   G01498   Federal     OP 1        12/1/1966            3,665           BP E&P          25%        PROD       [1]
WD 96   G01498   Federal     OP 2        12/1/1966            3,665         GOM Shelf         25%        PROD       [1]
                                                                          Fieldwood SD
  -      5749    SL-TX        WI              -                 -            Offshore        100%        UNIT
                                                                          Fieldwood SD
  -      5797    SL-TX        WI              -                 -            Offshore        100%       TERMIN
                                                                              Tellus
                                                                            Operating
  -     23017    SL-MS       ORRI                                           Group LLC             1%      UNIT
                                                                            Fieldwood                  TERMINATE
  -     24318    SL-TX        WI              -                 -            Onshore         100%          D
                                                                            Fieldwood
                                                                          EnergyOffshore
  -     106158   SL-TX        WI              -                 -               LLC        100%       TERMIN
                                                                            Fieldwood
                                                                          EnergyOffshore
  -     106159   SL-TX        WI              -                 -               LLC        100%       TERMIN
                                                                            Fieldwood
                                                                          EnergyOffshore
  -     114921   SL-TX        WI              -                 -               LLC        100%       TERMIN
                                                                          Whiting Oil &
  -     170650   SL-MS       ORRI                                              Gas                1%     UNIT
                                                                          Fieldwood SD
  -     172915   SL-TX        WI              -                 -            Offshore        100%       ACTIVE
                                                                          Fieldwood SD
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  -     172916   SL-TX        WI              -                 -            Offshore        100%       ACTIVE



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                                                            Le Cur Acres                                Lease
Block   Lease    Type       Rights       Date Le Eff                         Operator       WI                    Note†
                                                                (Ac)                                    Status
                                                                                                      TERMINATE
  -     178537   SL-TX        WI              -                  -           Fieldwood      100%          D
                                                                                                      TERMINATE
  -     183756   SL-TX        WI              -                  -           Fieldwood      100%          D
                                                                             Fieldwood                TERMINATE
  -     185633   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood
  -     186891   SL-TX        WI              -                  -            Onshore       100%       ACTIVE
                                                                           Fieldwood SD
  -     191681   SL-TX        WI              -                  -            Offshore      100%       ACTIVE
  -     207398   SL-TX        WI              -                  -           Fieldwood       90%       ACTIVE
                                                                             Fieldwood
  -     227360   SL-TX        WI              -                  -            Onshore        74%       ACTIVE
                                                                           Black Jack Oil
  -     230140   SL-MS       ORRI                                              Co Inc            1%     UNIT
                                                                           Wilcox Energy
  -     230150   SL-MS       ORRI                                                Co              1%     UNIT
                                                                           Wilcox Energy
  -     231240   SL-MS       ORRI                                                Co              1%      UNIT
                                                                             Fieldwood                TERMINATE
  -     234082   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     255675   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     5752     SL-TX        WI              -                  -            Onshore       100%          D
                                                                           Fieldwood SD               TERMINATE
  -     140960   SL-TX        WI              -                  -            Offshore      100%          D
                                                                             Fieldwood                TERMINATE
  -     165888   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     186892   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
  -     176012   SL-TX        WI              -                  -            Onshore       100%          D
                                                                             Fieldwood                TERMINATE
                                                                                                                          Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 703 of 766




  -     179673   SL-TX        WI              -                  -            Onshore       100%          D



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                                                            Le Cur Acres                        Lease
Block   Lease    Type       Rights       Date Le Eff                       Operator    WI                 Note†
                                                                (Ac)                            Status
                                                                           Fieldwood          TERMINATE
  -     188919   SL-TX        WI              -                  -          Onshore    100%       D
                                                                           Fieldwood          TERMINATE
  -     188921   SL-TX        WI              -                  -          Onshore    100%       D
                                                                           Fieldwood          TERMINATE
  -     269151   SL-TX        WI              -                  -          Onshore    100%       D
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                                                                                             Credit Bid Purchaser ROW
      SEGMENT                                                     ORG                                                                                                                             ROW
                        COMPANY NAME             ORG AREA                    ORG NAME        REC AREA     REC BLOCK        REC NAME           SIZE          PRODUCT             STATUS                          FW LEASE         NOTE3
      NUMBER                                                     BLOCK                                                                                                                           NUMBER
       20200         Fieldwood Energy, LLC           GC            39         K2 SUTA           GC             40          K1 SUTA              5              UBEH              Active          G29427          G34966
       20202         Fieldwood Energy, LLC           GC            40          K1 PLET          ST            308               A               8              BLKO            Proposed          G29427          G34966
                                                                                                                            Start Up
       20203         Fieldwood Energy, LLC           GC            40          K1 PLET          ST            308                              12             CSNG             Proposed          G29427          G34966
                                                                                                                             Flange
                   Fieldwood Energy Offshore
       8255                                          GC            65             A             GC             19              A               12              OIL           Out of Service      G09349          G05889
                              LLC
                   Fieldwood Energy Offshore
       11260                                         GC            65             A             GC             19              A               16              OIL           Out of Service      G17685          G05889
                              LLC
                   Fieldwood Energy Offshore
       20195                                         GC            65             A             GC            200            SUTA               3              UMB             Proposed          G29424          G12209
                              LLC
                   Fieldwood Energy Offshore                                  Mid-Line                                   Md-Line PLET
       20221                                         GC           156                           GC            156                               8              BLKO            Proposed          G29417          G12209
                              LLC                                             PLET A-1                                       A-2
                   Fieldwood Energy Offshore
       20197                                         GC           156          PLET 2           GC            156          A-2 PLET             8              BLKO          Out of Service      G28820          G12209
                              LLC
                   Fieldwood Energy Offshore                                Mid-Lne PLET
       20155                                         GC           156                           GC             65              A                8              BLKO          Out of Service      G29417          G12209
                              LLC                                                A-2
                   Fieldwood Energy Offshore
       20183                                         GC           200           SUTA            GC            244        TROIKA SUTA            5              UMB             Proposed          G29420          G11043
                              LLC
       11393         Fieldwood Energy, LLC           GC           200        SS Manifold        GC             65              A               10              BLKO          Out of Service      G17737          G12210
       11394         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A               24             CSNG           Out of Service      G17737          G12210
       11395         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A                5              UMB           Out of Service      G17737          G12210
       11396         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A               10              BLKG          Out of Service      G17738          G12210
       11397         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A               24             CSNG           Out of Service      G17738          G12210
       11410         Fieldwood Energy, LLC           GC           200        SSMANIFO           GC             65              A                5              UMB           Out of Service      G17738          G12210
                   Fieldwood Energy Offshore
       11959                                         GC           200        SSMANIFO           GC             65              A                2              UMB           Out of Service      G17737          G12210
                              LLC
                   Fieldwood Energy Offshore
       12141                                         GC           200        SSMANIFO           GC             65              A                5              UMB           Out of Service      G17738          G12210
                              LLC
                   Fieldwood Energy Offshore
       20196                                         GC           200          PLET-1           GC            156           PLET-2              8              BLKO            Proposed          G29425          G12210
                              LLC
                   Fieldwood Energy Offshore                                                                             Mid-Line PLET
       20222                                         GC           244          PLEM A           GC            156                               8              BLKO            Proposed          G28809          G11043
                              LLC                                                                                             A-1
       9084              GOM Shelf, LLC              GI            43            AS             GI             19             F/S              10               OIL              Active          G12304           00175            [1]
                                                                                                                               A
       19097         Fieldwood Energy, LLC           MC           698        RGL PLET 1         MC            736                               8              BLKO          Out of Service      G29295          G28022
                                                                                                                         Thunderhawk



[1]     FWE I is to obtain 75% of the Debtors' interests in Segment 9084, 50% of the Debtors' interest in Segments 4647 and 5890 and 79.666% of the Debtors' interest in Segment 17265, and the Credit Bid Purchaser is to obtain the
        Debtors' remaining interests in those four pipeline segments.



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SEGMENT                                           ORG                                                                                              ROW
              COMPANY NAME            ORG AREA            ORG NAME      REC AREA   REC BLOCK      REC NAME      SIZE   PRODUCT      STATUS                 FW LEASE   NOTE3
NUMBER                                           BLOCK                                                                                            NUMBER
                                                                                                      A
 19149     Fieldwood Energy, LLC        MC        698    RGL PLET 1       MC          736                        8      BLKO     Out of Service   G29295   G28022
                                                                                                 Thunderhawk
                                                                                                      A
 19296     Fieldwood Energy, LLC        MC        698    RGL PLET 1       MC          736                       12      CSNG     Out of Service   G29294   G28022
                                                                                                 Thunderhawk
 19364     Fieldwood Energy, LLC        MC        698     RGL PLET 1      MC          736             A         12      CSNG     Out of Service   G29295   G28022
                                                           Gulfstar 1
 19362     Fieldwood Energy, LLC        MC        724                     MC          948           UTA1         8      UMB      Out of Service   G29287   G28030
                                                             Spar
                                                               A
 19334     Fieldwood Energy, LLC        MC        736                     MC          692           SUTA         5      UMBH     Out of Service   G29299   G28022
                                                         Thunderhawk
                                                               A
 19283     Fieldwood Energy, LLC        MC        736                     MC          698         BBD SUTA       6      UMB      Out of Service   G29295   G28022
                                                         Thunderhawk
                                                               A
 19297     Fieldwood Energy, LLC        MC        736                     MC          692         North Plet     1      LIFT     Out of Service   G29299   G28022
                                                         Thunderhawk
                                                               A
 19282     Fieldwood Energy, LLC        MC        736                     MC          782        Dan 1 STUA 1    6      UBEH     Out of Service   G29294   G33757
                                                         Thunderhawk
                                                          PLET NPL3                               Gulfstar 1
 19154     Fieldwood Energy, LLC        MC        948                     MC          724                        8      BLKO     Out of Service   G28736   G28030
                                                             HUB                                    SPAR
                                                          PLET SPL2                               Gulfstar 1
 19155     Fieldwood Energy, LLC        MC        948                     MC          724                        8      BLKO     Out of Service   G29287   G28030
                                                             HUB                                    SPAR
                                                          PLET NPL3
 19365     Fieldwood Energy, LLC        MC        948                     MC          767          ILS NPL1     12      CSNG     Out of Service   G28736   G28030
                                                             HUB
                                                          PLET NPL3                               PLET SPL2
 19374     Fieldwood Energy, LLC        MC        948                     MC          948                        8      BLKO     Out of Service   G28736   G28030
                                                             HUB                                     HUB
 19432     Fieldwood Energy, LLC        MC        948     PLET SPL2       MC          768          ILS SPL1     12      CSNG     Out of Service   G29287   G28030
 14292     Fieldwood Energy, LLC        SM        40          JA          SM          40           10"SSTI       6       OIL     Out of Service   G28816   G13607
 14293     Fieldwood Energy, LLC        SM        40          B           SM          40              JA         6      BLKO     Out of Service   G28817   G13607
 14294     Fieldwood Energy, LLC        SM        40          B           SM          40              JA         6      BLKO     Out of Service   G28818   G13607
 14295     Fieldwood Energy, LLC        SM        40          JA          SM          40              B          2      LIFT     Out of Service   G28819   G13607
 4647      Fieldwood Energy, LLC        SM        149      6"SSTI         SM          132             B          6      BLKO     Out of Service   G03432   G02592      [1]
 13736     Fieldwood Energy, LLC         SS       79         #2           SS          80              A          4      BLKO     Out of Service   G23712   G15277
 13737      Fieldwood Energy, LLC        SS       79         #2           SS          80              A          4      BLKO     Out of Service   G23713   G15277
          Fieldwood Energy Offshore
 8204                                   SS        80          A            EI         125          30 SSTI       6       G/C     Out of Service   G09330   G15277
                     LLC
          Fieldwood Energy Offshore
 11050                                  SS        301         A           SS          300             B          8      BLKO     Out of Service   G16055   G10794
                     LLC
 5890       Fieldwood Energy, LLC        ST       53          A            ST         52              A          6       OIL     Out of Service   G09319   G04000      [1]
                                                         Caisson No.
 17265     Fieldwood Energy, LLC         ST       68                      ST          53              A          6      BLKO     Out of Service   G28385   G04000      [1]
                                                              1
 20278     Fieldwood Energy, LLC         ST       308         A           GC          39           K2 SUTA       5      UBEH       Proposed       G29427   G34966
 10675     Bandon Oil and Gas, LP       VR        371         A           VR          350          08 SSTI       6       OIL     Out of Service   G15047   G09524




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                                                  Credit Bid Purchaser RUE

                                  Complex ID                                                   Approval     Associated
Area   Block No.   Structure                   Authority No.   FW Lease        Operator                                    Note
                                     No.                                                         Date          Assets
                                                                                                          MC 698 001, MC
                                                                                                            734 SS002,
                   A (Thunder                                               Fieldwood Energy
MC       736                        2045         G30354        G28022                          07/03/18   SS004, SS005,
                     Hawk)                                                         LLC
                                                                                                          SS006, MC 782
                                                                                                             001 & 002
                                                                                                           SM 41 B2, B3,
                                                                            Fieldwood Energy
SM        40           B            1266         G30342        G13607                          06/21/18   B4, B6 & SM 40
                                                                               Offshore LLC
                                                                                                                 B5
                                                                            Fieldwood Energy              SM 41 B PF and
SM        40          JA            27017        G30352        G13607
                                                                                 Offshore                       wells
                                                                            Fieldwood Energy
SS        80           A            23548        G30201        G15277                          02/07/13     SS 79 A002
                                                                               Offshore LLC
                                                                            Fieldwood Energy
ST        68       CAISS. #1        24108        G30267         00020                          03/09/18      ST 67 #6      [1]
                                                                                   LLC
                                                                                                                                  Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 707 of 766




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                                     Exhibit O2

Leases, Rights of Way and Rights of Use and Easement Related to FWE I Oil & Gas Lease
                                        Interests
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                                      Leases Related to FWE I Oil & Gas Lease Interests*
                                                                 Date Le          Le Cur                                                  Lease
     Block        Lease            Type           Rights            Eff           Acres               Operator               WI          Status           Notes†
     BA 491       G06069          Federal           RT          10/1/1983          5,760            Fieldwood En           100.0%        TERMIN
    BA A105       G01757          Federal           RT          7/1/1968           5,760            Fieldwood En            12.5%         PROD              [6]
    BA A-105      G01757          Federal          RT A         7/1/1968           5,760            Fieldwood En            12.5%         PROD              [6]
    BA A-105      G01757          Federal          OP 1         7/1/1968           5,760            Fieldwood En             6.3%         PROD              [6]
    BA A133       G02665          Federal           OP          7/1/1974           5,760              GOM Shelf             12.5%         PROD            [1], [6]
    BA A-133      G02665          Federal           RT          7/1/1974           5,760              GOM Shelf             25.0%         PROD            [1], [6]
     BA A19       G33399          Federal           RT           1/1/2010          5,760          Apache Shelf Exp         100.0%         EXPIR
     BA A47       G03940          Federal           RT          3/1/1979           5,760            Fieldwood En            33.3%        TERMIN
     BA A47       G03940          Federal           OP           3/1/1979          5,760            Fieldwood En           100.0%        TERMIN
     BA A69       G32733          Federal           RT          11/1/2008          5,760          Apache Shelf Exp         100.0%         EXPIR
     BS 39        G33683          Federal           RT          7/1/2010           1,237              Petsec En             18.8%        RELINQ
     BS 41        G21142          Federal          OP 2          5/1/1999          4,995          Fieldwood En Off          13.1%        TERMIN             [3]
     BS 41        G21142          Federal       Contractual      5/1/1999          4,995          Fieldwood En Off            TBD        TERMIN             [3]


*
      The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the Plan and subject to any consent
      rights under the Restructuring Support Agreement.
[1] Represents leases owned by GOM Shelf LLC.
[2] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache; the Credit Bid Purchaser will
    acquire the Debtors' remaining right, title and interest in such leases. As to all remaining leases on this schedule (except the leases referenced in
    footnotes [3]-[7] below), FWE I is to obtain all of FWE's right, title and interest in such leases.
[3] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache. FWE III will acquire the Debtors'
    remaining right, title and interest in such leases.
[4] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache. The Debtors' remaining right, title
    and interest in such leases are to be abandoned.
[5] FWE I is to acquire solely the operating rights as to the NE/4 of this block; the Credit Bid Purchaser is to obtain the Debtors' overriding royalty
    interest in this lease; and the Debtors' remaining interests in the lease are to be abandoned.
[6] Represents leases in which FWE I is to acquire solely the right, title and interest acquired by FWE from Apache. The Debtors' remaining right, title
    and interest in such leases are to be acquired by Chevron.
[7] Represents leases in which (i) FWE I is to acquire solely the right, title and interest acquired by FWE from Apache and (ii) FWE IV is to acquire
    solely the right, title and interest acquired by FWE from Chevron. The Debtors' remaining right, title and interest in such leases are to be abandoned.
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Legend: CONT - Contractual; OP - Operating Rights; OP 1- Operating Rights 1; OP 2 - Operating Rights 2; OP 3 - Operating Rights 3; OP 4 - Operating Rights 4;
OP 5 - Operating Rights 5; OP 6 - Operating Rights 6; OP 7 - Operating Rights 7; OP 10 - Operating Rights 10; OP 11 - Operating Rights 11; OP 12 - Operating Rights
12; OPRTS - Operating Rights; OPRTS Cont - Operating Rights / Contractual; ORRI - Overriding Royalty Interest; RT - Record Title; RT A - Record Title A; RT B - Record
Title B; WI - Working Interest
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                                         Date Le      Le Cur                                   Lease
Block     Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
 BS 42   G33684    Federal      RT       7/1/2010      4,552      Apache Shelf Exp    37.5%   RELINQ
 CA 42   G32267    Federal     OP 1      7/1/2008      5,000        Fieldwood En      50.0%   RELINQ
 CA 43   G32268    Federal     OP 1      7/1/2008      5,000        Fieldwood En      50.0%    PROD
 CS 71   SL06618    SL-LA      ORRI          -           -                 -           5.2%      -
 CS 71   SL12503    SL-LA      ORRI          -           -                 -           0.6%   TERMIN
DD 253   G10426    Federal      RT       6/1/1990      5,760      Apache Shelf Exp   100.0%    EXPIR
DD 297   G10427    Federal      RT       6/1/1990      5,760      Apache Shelf Exp   100.0%    EXPIR
EB 128   G34034    Federal      RT       4/1/2012       165       Apache Shelf Exp   100.0%   RELINQ
EB 172   G34035    Federal      RT       4/1/2012      5,760      Apache Shelf Exp   100.0%   RELINQ
 EC 12   G34220    Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 EC 14   G13572    Federal      RT       7/1/1992      2,544        Fieldwood En     100.0%   TERMIN
EC 171   G34228    Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 172   G17858    Federal      RT       7/1/1997      5,000        Fieldwood En     100.0%   TERMIN
EC 178   G34229    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 179   G34230    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 185   G34796    Federal      RT       6/1/2013      5,000        Fieldwood En     100.0%   RELINQ
  EC 2   SL16473    SL-LA       WI      7/13/1999       148            Apache         89.1%   RELINQ
  EC 2   SL16475    SL-LA       WI      7/19/1999       135            Apache         89.1%   ACTIVE
  EC 2   SL18121    SL-LA       WI      5/12/2004       220           Fieldwood       50.0%   ACTIVE
EC 222   G02037    Federal     OP 1      2/1/1971      5,000             Talos        17.9%   TERMIN
EC 222   G02037    Federal     OP 2      2/1/1971      5,000             Talos        17.9%   TERMIN
EC 229   G34232    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 230   G34233    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 EC 24   G04098    Federal      RT      10/1/1979      5,000          Apex O&G        18.0%   TERMIN
 EC 24   G04098    Federal     OP 2     10/1/1979      5,000          Apex O&G        31.3%   TERMIN
 EC 24   G04098    Federal     OP 3     10/1/1979      5,000          Apex O&G        30.3%   TERMIN
EC 242   G34234    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 243   G34235    Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
EC 261   G00971    Federal      RT       6/1/1962      5,000        Fieldwood En     100.0%   TERMIN
EC 263   G33072    Federal      RT       6/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
EC 264   G01880    Federal      RT       3/1/1969      5,000        Fieldwood En     100.0%   TERMIN
EC 265   G00972    Federal      RT       6/1/1962      5,000        Fieldwood En      50.0%   RELINQ
EC 270   G02045    Federal      RT       1/1/1971      2,500           Apache         70.0%   TERMIN
                                                                                                                Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 710 of 766




EC 278   G00974    Federal      RT       6/1/1962      5,000        Fieldwood En      50.0%   TERMIN



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                                         Date Le      Le Cur                                     Lease
 Block    Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
EC 292    G34237   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 293    G34238   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 294    G34239   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 310    G34240   Federal      RT      11/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EC 328    G10638   Federal      RT      5/1/1989       5,000          Arena Off        100.0%    PROD
 EC 33    G01972   Federal      OP       9/1/1970      1,250           Merit En         15.6%   TERMIN
EC 335    G02439   Federal      OP       8/1/1973      5,000      Energy XXI GOM        14.0%   TERMIN
EC 338    G02063   Federal      RT       2/1/1971      5,000      Anadarko US Off       15.7%    PROD
 EC 37    G25933   Federal      RT       5/1/2004      2,608        Probe Res US       100.0%   TERMIN
EC 370    G33073   Federal      RT       6/1/2009      5,000      Apache Shelf Exp     100.0%    EXPIR
 EC 71    G13576   Federal      RT       9/1/1992      5,000         EC Off Prop       100.0%     SOP
EC 9/14   G01440   Federal      RT       4/1/1966      3,152        Fieldwood En       100.0%    PROD
EC 9/14   G01440   Federal     OP 1      4/1/1966      3,152        Fieldwood En       100.0%    PROD
  EI 10   G23851   Federal      RT       7/1/2002      2,303        Contango Op         50.0%    PROD
  EI 10   G23851   Federal     OP 2      7/1/2002      2,303        Contango Op         50.0%    PROD
 EI 105    00797   Federal      RT      5/1/1960       5,000        Fieldwood En       100.0%   TERMIN
 EI 106   G17966   Federal     RT A      7/1/1997      5,000           Apache           50.0%   TERMIN
 EI 106   G17966   Federal     RT B      7/1/1997      5,000           Apache          100.0%   TERMIN
 EI 107   G15241   Federal      RT       9/1/1995      5,000           Apache           75.0%   TERMIN
 EI 108   G03811   Federal     OP 1      6/1/1978      5,000        Fieldwood En        60.0%   TERMIN
 EI 108   G03811   Federal     RT A      6/1/1978      5,000        Fieldwood En        60.0%   TERMIN
 EI 108   G03811   Federal     RT B      6/1/1978      5,000        Fieldwood En        71.3%   TERMIN
 EI 116   G34292   Federal      RT       9/1/2012      5,000      Apache Shelf Exp     100.0%    EXPIR
 EI 117   G34293   Federal      RT      10/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
 EI 118   G15242   Federal     RT A      7/1/1995      5,000     Black Elk En Off Op    25.0%   TERMIN
 EI 118   G15242   Federal     RT B      7/1/1995      5,000        Fieldwood En        75.0%   TERMIN
 EI 119    00049   Federal     RT A     8/28/1945      5,000        Fieldwood En        50.0%    PROD
 EI 119    00049   Federal     RT B     8/28/1945      5,000        Fieldwood En       100.0%    PROD
 EI 120    00050   Federal      RT      8/28/1945      5,000        Fieldwood En       100.0%    PROD
 EI 125    00051   Federal      RT      8/28/1945      5,000        Fieldwood En       100.0%   OPERNS
 EI 126    00052   Federal      RT      8/28/1945      5,000        Fieldwood En       100.0%    PROD
 EI 126    00052   Federal      OP      8/28/1945      5,000        Fieldwood En        75.0%    PROD
 EI 128   G34294   Federal      RT      10/1/2012      3,427      Apache Shelf Exp     100.0%   RELINQ
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 EI 131   G33625   Federal      RT       6/1/2010      5,000      Apache Shelf Exp     100.0%   RELINQ



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                                        Date Le      Le Cur                                     Lease
Block    Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
EI 132   G33626   Federal      RT       6/1/2010      5,000      Apache Shelf Exp     100.0%   RELINQ
EI 135   G34296   Federal      RT      10/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EI 136   G03152   Federal      RT       7/1/1975      5,000        Fieldwood En       100.0%    PROD
EI 156   G16353   Federal      OP       6/1/1996      5,000     Black Elk En Off Op    50.0%   TERMIN
EI 158   G01220   Federal      RT       6/1/1962      5,000        Fieldwood En       100.0%    PROD
EI 173   G13622   Federal      RT       7/1/1992      5,000        Fieldwood En       100.0%    PROD
EI 174   G03782   Federal      RT      6/1/1978       5,000          Arena Off        100.0%    PROD
EI 174   G03782   Federal      OP       6/1/1978      5,000          Arena Off         30.0%    PROD
EI 175    00438   Federal     OP 1     12/1/1954      5,000        Fieldwood En        75.0%    PROD     [4]
EI 187   G10736   Federal      RT       7/1/1989      5,000        Fieldwood En       100.0%    PROD
EI 188    00443   Federal      RT       1/1/1955      5,000           Apache          100.0%   TERMIN
EI 189    00423   Federal      RT      12/1/1954      3,750        Fieldwood En       100.0%    PROD
EI 196    00802   Federal      RT       5/1/1960      3,516        Fieldwood En        50.0%   RELINQ
EI 196    00802   Federal      OP       5/1/1960      3,516        Fieldwood En       100.0%   RELINQ
EI 196   G13821   Federal     OP 2      5/1/1960      1,484          Arena Off        100.0%   RELINQ
EI 196   G13821   Federal     OP 4      5/1/1960      1,484          Arena Off        100.0%   RELINQ
 EI 20   G34286   Federal      RT      10/1/2012      3,582         Castex Off         50.0%   RELINQ
EI 207   G34301   Federal      RT       8/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EI 208    00577   Federal      OP       9/1/1955      2,500          ANKOR En         100.0%    PROD
EI 211   G05502   Federal     RT B      7/1/1983      5,000        Fieldwood En        66.7%     UNIT
EI 211   G05502   Federal      OP       7/1/1983      5,000        Chevron USA         66.7%     UNIT
EI 212   G05503   Federal     RT B      7/1/1983      5,000        Fieldwood En        66.7%     UNIT
EI 212   G05503   Federal      OP       7/1/1983      5,000        Chevron USA         66.7%     UNIT
EI 216   G34303   Federal      RT       8/1/2012      5,000      Apache Shelf Exp     100.0%   RELINQ
EI 217   G00978   Federal      RT       5/1/1962      5,000          Arena Off         25.0%   RELINQ
EI 224   G05504   Federal     ORRI      7/1/1983      5,000         Castex Off        10.0%     PROD
EI 224   G05504   Federal      RT       7/1/1983      5,000         Castex Off        100.0%    PROD
EI 227    00809   Federal      RT      5/1/1960       5,000          Arena Off         50.0%   RELINQ
EI 227   G36745   Federal     ORRI     11/1/2019      5,000          Arena Off         6.25%   PRIMRY
EI 227   G36745   Federal     ORRI     11/1/2019      5,000          Arena Off         4.17%   PRIMRY
EI 246    00810   Federal     OP 1      5/1/1960      5,000        Fieldwood En        25.0%     UNIT
EI 246    00810   Federal     OP 2      5/1/1960      5,000        Fieldwood En        75.0%     UNIT
EI 246    00810   Federal      RT      5/1/1960       5,000        Fieldwood En        75.0%     UNIT
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EI 246    00810   Federal     ORRI      5/1/1960      5,000       Sanare En Part        6.3%     UNIT



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                                           Date Le    Le Cur                                  Lease
Block    Lease     Type       Rights          Eff     Acres          Operator         WI     Status   Notes†
EI 255   G01958   Federal       RT         1/1/1970    2,500          Cox Op          2.0%    PROD
EI 255   G01958   Federal      OP 3        1/1/1970    2,500          Cox Op         77.2%    PROD
EI 255   G01958   Federal      OP 4        1/1/1970    2,500          Cox Op         38.6%    PROD
EI 266    00811   Federal      OP 1       5/1/1960     5,000       Fieldwood En      25.0%     UNIT
EI 266    00811   Federal      OP 2       5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 266    00811   Federal       RT        5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 267    00812   Federal       OP        5/1/1960     5,000       Fieldwood En      25.0%     UNIT
EI 267    00812   Federal      OP 2       5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 267    00812   Federal       RT        5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 269    00813   Federal      OP 1       5/1/1960     5,000       Fieldwood En      25.0%     UNIT
EI 269    00813   Federal      OP 2       5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 269    00813   Federal       RT        5/1/1960     5,000       Fieldwood En      75.0%     UNIT
EI 280   G23876   Federal       RT        5/1/2002     5,000     Energy XXI GOM      18.8%   TERMIN
EI 281   G09591   Federal       RT         5/1/1988    5,000        Bennu O&G        90.5%   TERMIN
EI 281   G09591   Federal      OP 1        5/1/1988    5,000        Bennu O&G        45.3%   TERMIN
EI 281   G09591   Federal      OP 2        5/1/1988    5,000        Bennu O&G        45.3%   TERMIN
EI 281   G09591   Federal      OP 3        5/1/1988    5,000        Bennu O&G        45.3%   TERMIN
EI 282   G09592   Federal       RT         6/1/1988    5,000          Apache         75.0%   TERMIN
EI 282   G09592   Federal      OP 1        6/1/1988    5,000          Apache         75.0%   TERMIN
EI 282   G09592   Federal      OP 2        6/1/1988    5,000          Apache         75.0%   TERMIN
 EI 29   G34287   Federal       RT        12/1/2012    5,000     Apache Shelf Exp    50.0%   RELINQ
EI 307   G02110   Federal       OP        2/1/1971     2,500     Fieldwood En Off    25.0%   TERMIN    [4]
EI 312   G22679   Federal       RT        6/1/2001     5,000       Fieldwood En     100.0%   TERMIN    [4]
EI 312   G22679   Federal      ORRI       6/1/2001     5,000       Fieldwood En       8.3%   TERMIN    [4]
EI 313   G02608   Federal       RT        5/1/1974     5,000         Arena Off       50.0%   TERMIN
EI 313   G02608   Federal      OP 1        5/1/1974    5,000         Arena Off       50.0%   TERMIN
EI 313   G02608   Federal      OP 2        5/1/1974    5,000         Arena Off       50.0%   TERMIN
EI 315   G02112   Federal       RT        8/1/1974     2,500       Fieldwood En      50.0%   TERMIN
EI 315   G02112   Federal       OP         8/1/1974    2,500       Fieldwood En      50.0%   TERMIN
EI 315   G24912   Federal       RT        5/1/2003     2,500       Fieldwood En     100.0%    PROD
EI 316   G05040   Federal       RT        4/1/1982     5,000       Fieldwood En     100.0%    PROD
EI 329   G02912   Federal       RT        12/1/1974    5,000       Fieldwood En     100.0%   TERMIN
EI 330   G02115   Federal   Contractual   1/1/1971     5,000       Fieldwood En      63.0%     UNIT    [4]
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EI 330   G02115   Federal      OP 7       1/1/1971     5,000       Fieldwood En      47.0%     UNIT    [4]



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                                        Date Le      Le Cur                                  Lease
Block    Lease     Type      Rights        Eff       Acres           Operator        WI     Status   Notes†
EI 330   G02115   Federal     OP 6      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 5      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 4      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 3      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal     OP 2      1/1/1971      5,000        Fieldwood En     47.0%     UNIT     [4]
EI 330   G02115   Federal      RT       1/1/1971      5,000        Fieldwood En     42.0%     UNIT     [4]
EI 330   G02115   Federal      RT       1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 7      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 6      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 5      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 4      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 3      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 330   G02115   Federal     OP 2      1/1/1971      5,000        Fieldwood En     23.0%     UNIT   [1], [4]
EI 333   G02317   Federal      RT       2/1/1973      5,000        Fieldwood En    100.0%   TERMIN
EI 334   G15263   Federal      RT       7/1/1995      5,000        Fieldwood En    100.0%   TERMIN
EI 337   G03332   Federal      RT       3/1/1976      5,000        Fieldwood En    100.0%     UNIT
EI 337   G03332   Federal     OP 4      3/1/1976      5,000        Fieldwood En     98.0%     UNIT
EI 337   G03332   Federal     OP 1      3/1/1976      5,000        Fieldwood En    100.0%     UNIT
EI 337   G03332   Federal     OP 3      3/1/1976      5,000        Fieldwood En    100.0%     UNIT
EI 337   G03332   Federal     ORRI      3/1/1976                   Fieldwood En      0.1%     UNIT
EI 342   G02319   Federal     RT A      2/1/1973     5,000         Fieldwood En     50.0%   TERMIN     [6]
EI 342   G02319   Federal     RT B      2/1/1973     5,000         Fieldwood En     75.0%   TERMIN     [6]
EI 342   G02319   Federal     OP 1      2/1/1973     5,000         Fieldwood En     75.0%   TERMIN     [6]
EI 342   G02319   Federal     OP 2      2/1/1973     5,000         Fieldwood En     61.8%   TERMIN     [6]
EI 345   G21647   Federal      RT       7/1/2000     5,000         Fieldwood En     50.0%   TERMIN
EI 346   G14482   Federal      RT       6/1/1994     5,000           Arena Off     100.0%    PROD
EI 353   G03783   Federal      OP       6/1/1978     5,000         Fieldwood En    100.0%   TERMIN
EI 354   G10752   Federal      RT       5/1/1989     5,000         Fieldwood En    100.0%    PROD
EI 354   G10752   Federal      OP       5/1/1989     5,000         Fieldwood En     67.0%    PROD
EI 361   G02324   Federal      RT       2/1/1973     5,000            Cox Op        12.4%    PROD
 EI 53    00479   Federal     OP 1     12/1/1954     5,000        EnVen En Vent     66.7%    PROD      [4]
 EI 53    00479   Federal      OP      12/1/1954     5,000        EnVen En Vent    100.0%    PROD      [4]
 EI 57   G02601   Federal     OP 2      5/1/1974     5,000             Talos        31.7%   TERMIN
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 EI 57   G02601   Federal     OP 4      5/1/1974     5,000          ANKOR En        15.8%   TERMIN



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                                         Date Le     Le Cur                                     Lease
 Block   Lease     Type      Rights         Eff      Acres           Operator           WI     Status   Notes†
 EI 88   G10721   Federal      OP        7/1/1989     5,000        Fieldwood En        75.0%   TERMIN
 EI 89    00044   Federal      OP      8/28/1945      5,000        Fieldwood En        75.0%   TERMIN
 EI 89    00044   Federal     OP 2      8/28/1945     5,000        Fieldwood En        75.0%   TERMIN
 EI 90    00229   Federal      OP      11/19/1948     1,250        Fieldwood En        75.0%   TERMIN
 EI 93    00228   Federal      OP      11/19/1948     2,500        Fieldwood En        75.0%   TERMIN
 EI 94   G05488   Federal      OP        7/1/1983     5,000        Fieldwood En        75.0%   TERMIN
 EI 95    00046   Federal      OP      8/28/1945      5,000        Fieldwood En        75.0%   TERMIN
EW 525   G33704   Federal      RT        7/1/2010     2,420      Apache Shelf Exp      46.9%   RELINQ
EW 526   G33134   Federal      RT        6/1/2009     3,517      Apache Shelf Exp     100.0%    EXPIR
EW 781   G33137   Federal      RT        6/1/2009      309       Apache Shelf Exp     100.0%    EXPIR
EW 782   G31470   Federal      RT      12/1/2007      1,093        Fieldwood En       100.0%    PROD     [4]
EW 789   G33139   Federal      RT        7/1/2009     5,760      Apache Shelf Exp     100.0%   RELINQ
EW 826   G05800   Federal      RT        7/1/1983     5,760           BP E&P          100.0%    PROD
EW 905   G34415   Federal      RT        8/1/2012     1,007      Apache Shelf Exp     100.0%   RELINQ
EW 906   G33708   Federal      RT        6/1/2010     1,084      Apache Shelf Exp     100.0%   RELINQ
EW 949   G34877   Federal      RT        8/1/2013     5,760      Apache Shelf Exp     100.0%   RELINQ
EW 950   G33709   Federal      RT        6/1/2010     5,760      Apache Shelf Exp     100.0%   RELINQ
FM 411   G08361   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 412   G08362   Federal      RT        8/1/1986     5,760        Chevron USA         16.0%    EXPIR
FM 455   G08363   Federal      RT        8/1/1986     5,760        Chevron USA         24.2%    EXPIR
FM 456   G08364   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 499   G08365   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 500   G08366   Federal      RT        8/1/1986     5,760        Chevron USA         16.0%    EXPIR
FM 543   G08367   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
FM 587   G08368   Federal      RT        8/1/1986     5,760        Chevron USA         24.3%    EXPIR
GA 151   G15740   Federal      RT       11/1/1995     4,804        Fieldwood En        33.3%   TERMIN    [4]
GA 180   G03228   Federal      RT        9/1/1975     5,760        Fieldwood En       100.0%     UNIT
GA 192   G03229   Federal    CONT        9/1/1975     5,760          Arena Off         90.0%     UNIT
GA 210   G25524   Federal     OP 1      12/1/2003     5,760        Fieldwood En        83.3%    PROD     [4]
GA 210   G25524   Federal     OP 3      12/1/2003     5,760        Fieldwood En        66.7%    PROD     [4]
GA 210   G25524   Federal      RT       12/1/2003     5,760        Fieldwood En        66.7%    PROD     [4]
GA 210   G25524   Federal      OP       12/1/2003     5,760        Fieldwood En        83.3%    PROD     [4]
GA 343   G06105   Federal      RT       10/1/1983     5,760     Black Elk En Off Op    12.5%   TERMIN
                                                                                                                 Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 715 of 766




GA 343   G06105   Federal      OP       10/1/1983     5,760     Black Elk En Off Op    37.5%   TERMIN



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
GB 85    G34515   Federal      RT       8/1/2012      4,450      Apache Shelf Exp   100.0%   RELINQ
GI 104   G33671   Federal      RT       7/1/2010      5,000      Apache Shelf Exp    46.9%   RELINQ
GI 110   G13943   Federal      RT       8/1/1993      5,000        Fieldwood En      50.0%     UNIT     [2]
GI 116   G13944   Federal      RT       7/1/1993      5,000        Fieldwood En      50.0%     UNIT     [2]
GI 116   G13944   Federal      OP       7/1/1993      5,000        Fieldwood En      25.0%     UNIT     [2]
GI 117   G32232   Federal      RT       8/1/2008      4,540           Apache        100.0%    EXPIR
GI 32     00174   Federal      RT      7/17/1948      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 32     00174   Federal     OP 1     7/17/1948      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 32     00174   Federal     OP 2     7/17/1948      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 32    G01580   Federal      RT       7/1/1967      2,500         BP Am Prod       75.0%   TERMIN     [1]
GI 32    G01580   Federal      OP       7/1/1967      2,500         BP Am Prod       37.5%   TERMIN     [1]
GI 33    G04002   Federal      RT       3/1/1979      5,000        Fieldwood En     100.0%   RELINQ
GI 39     00126   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 39     00126   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 39     00126   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 39     00127   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 39     00127   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 39     00127   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 40     00128   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 40     00128   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 40     00128   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 41     00129   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 41     00129   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 41     00129   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 41     00130   Federal      RT      4/21/1947      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 41     00130   Federal     OP 1     4/21/1947      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 41     00130   Federal     OP 2     4/21/1947      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 42     00131   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 42     00131   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 42     00131   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 43     00175   Federal      RT      7/17/1948      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 43     00175   Federal     OP 1     7/17/1948      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 43     00175   Federal     OP 2     7/17/1948      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
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GI 44     00176   Federal      RT      7/17/1948      2,500         GOM Shelf        75.0%     UNIT   [1], [2]



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
GI 44     00176   Federal     OP 1     7/17/1948      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 44     00176   Federal     OP 2     7/17/1948      2,500         GOM Shelf        37.5%     UNIT   [1], [2]
GI 46     00132   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 46     00132   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 46     00132   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 47     00133   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 47     00133   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 47     00133   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 48     00134   Federal      RT      4/21/1947      5,000         GOM Shelf        75.0%     UNIT   [1], [2]
GI 48     00134   Federal     OP 1     4/21/1947      5,000           BP E&P         18.8%     UNIT   [1], [2]
GI 48     00134   Federal     OP 2     4/21/1947      5,000         GOM Shelf        37.5%     UNIT   [1], [2]
GI 52     00177   Federal      RT      7/17/1948      2,500         GOM Shelf        75.0%     UNIT   [1], [2]
GI 52     00177   Federal     OP 1     7/17/1948      2,500         GOM Shelf       100.0%     UNIT   [1], [2]
GI 52     00177   Federal     OP 2     7/17/1948      2,500           BP E&P         18.8%     UNIT   [1], [2]
GI 54    G27173   Federal      RT       7/1/2005      5,000        Fieldwood En      50.0%   TERMIN
GI 76    G02161   Federal      RT      10/1/1972      5,000        Fieldwood En      95.8%   RELINQ
GI 90    G04003   Federal      RT       3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 90    G04003   Federal     OP 1      3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 90    G04003   Federal     OP 2      3/1/1979      5,000        Fieldwood En      50.0%   TERMIN
GI 90    G04003   Federal     OP 4      3/1/1979      5,000        Fieldwood En      50.0%   TERMIN
GI 90    G04003   Federal     OP 5      3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 90    G04003   Federal     OP 6      3/1/1979      5,000        Fieldwood En     100.0%   TERMIN
GI 93    G02628   Federal      RT       5/1/1974      5,000           BP E&P        100.0%   TERMIN
GI 93    G02628   Federal      OP       5/1/1974      5,000           BP E&P        100.0%   TERMIN
GI 94    G02163   Federal      RT      11/1/1972      4,540        Fieldwood En     100.0%   RELINQ
GI 94    G02163   Federal      OP      11/1/1972      4,540        Fieldwood En     100.0%   RELINQ
GI 98    G34354   Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
HI 110   G02353   Federal      RT      8/1/1973       5,760          W & T Off       20.0%   TERMIN     [1]
HI 111   G02354   Federal      RT      8/1/1973       5,760          W & T Off       20.0%   TERMIN     [1]
HI 114   G32747   Federal      RT      12/1/2008      5,760      Apache Shelf Exp   100.0%    EXPIR
HI 116   G06156   Federal      RT      10/1/1983      5,760        Fieldwood En     100.0%   TERMIN
HI 129   G01848   Federal      RT       6/1/1968      5,760        Fieldwood En      90.0%    PROD
HI 129   G01848   Federal     ORRI      6/1/1968                   Fieldwood En      10.4%    PROD
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HI 132   G32748   Federal      RT      12/1/2008     5,760       Apache Shelf Exp   100.0%    EXPIR



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                                          Date Le      Le Cur                                     Lease
Block      Lease     Type      Rights       Eff        Acres           Operator          WI      Status   Notes†
HI 140      00518   Federal      OP      1/1/1955       5,760     Black Elk En Off Op   50.0%    TERMIN
HI 163     G22236   Federal      RT      12/1/2000      5,760        Fieldwood En       70.0%    TERMIN
                               OPRTS
 HI 176    G06164   Federal     Cont     10/1/1983     5,760            Apache           49.5%   TERMIN
 HI 179    G03236   Federal      RT       9/1/1975     5,760            Cox Op          100.0%    UNIT
 HI 193    G03237   Federal    CONT       9/1/1975     5,760           Arena Off         90.0%    UNIT
 HI 194    G06166   Federal      RT      10/1/1983     5,760            Apache          100.0%   TERMIN
 HI 194    G06166   Federal      OP      10/1/1983     5,760            Apache           45.0%   TERMIN
 HI 201    G23199   Federal      OP      12/1/2001     5,760         Apache Shelf        37.6%   TERMIN
 HI 206    G20660   Federal      RT       1/1/1999     5,760         Fieldwood En       100.0%    PROD
 HI 45     G12564   Federal      RT      10/1/1990     4,367         Fieldwood En        16.7%   TERMIN
 HI 45     G12564   Federal     OP 1     10/1/1990     4,367         Fieldwood En        15.0%   TERMIN
 HI 45     G12564   Federal     OP 2     10/1/1990     4,367         Fieldwood En        33.3%   TERMIN
 HI 52      00508   Federal      RT       1/1/1955     1,440       SandRidge En Off      75.0%   TERMIN
 HI 52      00509   Federal      RT       1/1/1955     1,440            Apache           75.0%   TERMIN
 HI 52      00511   Federal      RT       1/1/1955     1,440            Apache           75.0%   TERMIN
 HI 53      00513   Federal      RT       1/1/1955      180          Phoenix Exp         75.0%   TERMIN
 HI 53      00740   Federal      RT       4/1/1960     1,440            Apache           75.0%   TERMIN
HI A-133   G32760   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-145   G32761   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-146   G32762   Federal      RT      11/1/2008     5,760       Apache Shelf Exp     100.0%    EXPIR
HI A-148   G32763   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-160   G32764   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-171   G30679   Federal      RT      12/1/2006     5,760          Walter O&G         33.3%   TERMIN
HI A-326   G32777   Federal      RT      11/1/2008     5,760            Apache          100.0%    EXPIR
HI A-334   G02423   Federal      RT       8/1/1973     5,760         Fieldwood En        38.9%   TERMIN
HI A-341   G25605   Federal      RT      12/1/2003     5,760         Fieldwood En        60.0%    PROD     [4]
HI A-350   G02428   Federal      RT       8/1/1973     4,345            Apache          100.0%   RELINQ
HI A360    G34677   Federal      RT       3/1/2013     5,760       Apache Shelf Exp     100.0%   RELINQ
HI A361    G34678   Federal      RT       3/1/2013     5,760         Fieldwood En       100.0%   RELINQ
HI A363    G33413   Federal      RT      10/1/2009     5,760       Apache Shelf Exp     100.0%    EXPIR
HI A-365   G02750   Federal      RT       7/1/1974     5,760         Fieldwood En        53.1%    PROD     [4]
HI A-376   G02754   Federal     OP 1      7/1/1974     5,760         Fieldwood En       100.0%    PROD     [4]
                                                                                                                   Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 718 of 766




HI A-376   G02754   Federal      RT       7/1/1974     5,760         Fieldwood En        44.4%    PROD     [4]



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                                            Date Le      Le Cur                                    Lease
 Block      Lease      Type      Rights        Eff       Acres           Operator          WI      Status   Notes†
HI A-376    G02754    Federal     ORRI      7/1/1974                   Fieldwood En        1.2%     PROD     [4]
HI A-376    G02754    Federal     ORRI      7/1/1974                   Fieldwood En        6.0%     PROD     [4]
HI A-382    G02757    Federal      RT      7/1/1974      5,760         Fieldwood En       72.4%     PROD     [4]
HI A406     G32767    Federal      RT      11/1/2008     5,760            Apache         100.0%    EXPIR
HI A430     G33412    Federal      RT      10/1/2009     5,760       Apache Shelf Exp    100.0%    EXPIR
HI A442     G11383    Federal      OP      11/1/1989     5,760       Northstar Off Grp    22.7%   TERMIN
HI A454     G32769    Federal      RT      11/1/2008     5,760            Apache         100.0%    EXPIR
HI A457     G32770    Federal      RT      11/1/2008     5,760            Apache         100.0%    EXPIR
HI A-474    G02366    Federal      RT       8/1/1973     5,760        McMoRan O&G         10.0%   TERMIN     [4]
HI A-475    G02367    Federal    CONT       8/1/1973     5,760        McMoRan O&G         10.0%   TERMIN     [4]
HI A-489    G02372    Federal      RT       8/1/1973     5,760        McMoRan O&G          8.5%   TERMIN     [4]
HI A537     G02698    Federal    CONT      5/29/1974                  McMoRan O&G                 TERMIN
HI A545     G17199    Federal      OP       1/1/1997     5,760         Fieldwood En       60.0%   TERMIN
HI A-572    G02392    Federal      RT       8/1/1973     5,760            Apache          72.4%   TERMIN     [4]
HI A-573    G02393    Federal      RT      8/1/1973      5,760         Fieldwood En       72.4%     PROD     [4]
HI A-581    G18959    Federal    CONT      8/27/1997                      Cox Op          24.7%   TERMIN     [4]
HI A582     G02719    Federal      RT       7/1/1974     5,760            Cox Op          24.7%     PROD     [4]
HI A-582    G02719    Federal     OP 1      7/1/1974     5,760            Cox Op          15.5%     PROD     [4]
HI A-595    G02721    Federal      RT      7/1/1974      5,760         Fieldwood En       72.4%     PROD     [4]
HI A-596    G02722    Federal      RT      7/1/1974      5,760         Fieldwood En       72.4%     PROD     [4]
 MC 108     G09777    Federal      RT       7/1/1988     5,760            BP E&P          75.2%     PROD
 MC 108     G09777    Federal      OP       7/1/1988     5,760            BP E&P          75.2%     PROD
 MC 110     G18192    Federal      RT       8/1/1997     5,760         Fieldwood En       50.0%     PROD     [2]
 MC 110     G18192    Federal      OP       8/1/1997     5,760         Fieldwood En       25.0%     PROD     [2]
 MC 110     G18192    Federal     ORRI      8/1/1997                   Fieldwood En        3.9%     PROD     [2]
 MC 21      G28351    Federal     ORRI      7/1/1995     4,445          ANKOR En           3.0%     PROD
 MC 311     G02968    Federal      RT      12/1/1974     5,760         Fieldwood En      100.0%     PROD
 MC 65      G21742    Federal      RT       6/1/2000     5,760          ANKOR En         100.0%     PROD
 MC 65      G21742    Federal     ORRI      6/1/2000                    ANKOR En          13.0%     PROD
 MI 486    MF88560    SL - TX      WI      10/5/1982     1,440           Fieldwood       100.0%   EXPIRED
 MI 487    MF-88562   SL - TX      WI      10/5/1982     1,305           Fieldwood       100.0%      SI
 MI 518     G05169    Federal      RT       1/1/1983     5,675         Fieldwood En      100.0%   TERMIN
 MI 518    MF80522    SL - TX      WI      10/2/1979      85             Fieldwood       100.0%   EXPIRED
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 MI 519    MF-79413   SL - TX      WI       2/6/1979      739            Fieldwood       100.0%      SI



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                                          Date Le      Le Cur                                     Lease
Block     Lease      Type      Rights        Eff       Acres           Operator         WI       Status     Notes†
MI 622    G05000    Federal      RT      4/1/1982       5,760        Fieldwood En      81.0%     TERMIN
MI 622    G05000    Federal      OP       4/1/1982      5,760            BP E&P        37.5%     TERMIN
MI 623    G03088    Federal      RT      4/1/1975       5,760        Fieldwood En      81.0%     TERMIN
MI 623    G03088    Federal      OP       4/1/1975      5,760            BP E&P        37.5%     TERMIN
MI 635    G06043    Federal      RT      10/1/1983      5,760        Fieldwood En      81.0%     TERMIN
MI 635    G06043    Federal      OP      10/1/1983      5,760            BP E&P        37.5%     TERMIN
MI 636    G34670    Federal      RT       4/1/2013      5,760      Apache Shelf Exp   100.0%     RELINQ
MI 652    G34022    Federal      RT       2/1/2012      5,760      Apache Shelf Exp   100.0%      EXPIR
MI 681    G04703    Federal      RT      9/1/1981       5,760        Fieldwood En     100.0%     TERMIN
MI 685    G04548    Federal      RT      1/1/1981       5,760           EOG Res        50.0%     TERMIN
MI 685    G04548    Federal      OP      1/1/1981       5,760           EOG Res         2.5%     TERMIN
MI 703    G03733    Federal      RT      6/1/1978       5,760        Fieldwood En     100.0%     TERMIN
MI 703    G03733    Federal     OP 1      6/1/1978      5,760        Fieldwood En     100.0%     TERMIN
MI 703    G03733    Federal     OP 2      6/1/1978      5,760        Fieldwood En     100.0%     TERMIN
MI 772   MF93351    SL - TX      WI      2/7/1989        704           Fieldwood      100.0%   TERMINATED
MO 820    G34403    Federal      RT       8/1/2012      3,347      Apache Shelf Exp   100.0%     RELINQ
MO 821    G05058    Federal      RT       4/1/1982      4,028        Fieldwood En     100.0%     TERMIN
         STATE OF
         ALABAMA
MO 821     627      SL - AL      WI      8/14/1984     2,511           Fieldwood      100.0%   TERMINATED
MO 826    G26176    Federal      RT       7/1/2004     1,430         Fieldwood En      75.0%      PROD
MO 871    G32272    Federal      RT       8/1/2008     5,760            Apache        100.0%      EXPIR
MO 913    G33131    Federal      RT       6/1/2009     5,760       Apache Shelf Exp    75.0%      EXPIR
MO 914    G33132    Federal      RT       6/1/2009     5,760       Apache Shelf Exp    75.0%      EXPIR
MP 120    G03197    Federal     ORRI     5/28/1975                     Arena Off        2.0%      PROD
MP 120    G03197    Federal     ORRI      7/1/1975                     Arena Off        2.0%      PROD
MP 134    G34375    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 135    G34376    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 136    G34377    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 137    G34378    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 140    G02193    Federal      RT      10/1/1972     4,995         Fieldwood En      65.0%      PROD
MP 143    G34380    Federal      RT      10/1/2012     4,995       Apache Shelf Exp   100.0%     RELINQ
MP 146    G34860    Federal      RT       7/1/2013     4,561       Apache Shelf Exp    75.0%     RELINQ
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MP 147    G34861    Federal      RT       7/1/2013     4,561       Apache Shelf Exp    75.0%     RELINQ



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
MP 148   G34381   Federal      RT      11/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
MP 149   G34382   Federal      RT      11/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
MP 150   G34862   Federal      RT       7/1/2013      5,000      Apache Shelf Exp    75.0%   RELINQ
MP 152   G01966   Federal      RT      1/1/1970       4,978        Fieldwood En      50.0%     UNIT
MP 152   G01966   Federal      OP      1/1/1970       4,978        Fieldwood En      75.0%     UNIT
MP 153   G01967   Federal      RT      1/1/1970       5,000        Fieldwood En      50.0%     UNIT
MP 153   G01967   Federal      OP      1/1/1970       5,000        Fieldwood En      75.0%     UNIT
MP 166   G26152   Federal      RT      7/1/2004       4,995        Fieldwood En     100.0%   TERMIN
MP 175   G08753   Federal      OP      8/1/1987       4,995          Tana Exp        21.2%   TERMIN
MP 255   G07825   Federal      RT      8/1/1985       4,995        Fieldwood En      52.4%   TERMIN
MP 259   G07827   Federal      RT      9/1/1985       4,995        Fieldwood En      56.9%   TERMIN
MP 260   G07828   Federal      RT      9/1/1985       4,995        Fieldwood En      56.9%   TERMIN
MP 270   G22812   Federal     ORRI     7/1/2001       4,995         Castex Off        1.0%     UNIT
MP 271   G34388   Federal      RT      10/1/2012      4,995      Apache Shelf Exp   100.0%    EXPIR
MP 272   G34865   Federal      RT       7/1/2013      4,995      Apache Shelf Exp    75.0%   RELINQ
MP 273   G33690   Federal      RT      7/1/2010       4,995         Castex Off       37.5%     UNIT
MP 274   G33691   Federal      RT      7/1/2010       4,995         Castex Off       37.5%    EXPIR
MP 275   G15395   Federal      RT      9/1/1995       4,995        Fieldwood En     100.0%    PROD
MP 275   G15395   Federal     ORRI     9/1/1995                    Fieldwood En       8.3%    PROD
MP 281   G10910   Federal      RT      7/1/1989      4,995        EnVen En Vent      50.0%    PROD
MP 281   G10910   Federal      OP      7/1/1989      4,995        EnVen En Vent      30.0%    PROD
MP 281   G10910   Federal     ORRI     7/1/1989                   EnVen En Vent       3.1%    PROD
MP 289   G01666   Federal      RT      7/1/1967      4,561         Fieldwood En     100.0%    PROD
MP 290   G01667   Federal      RT       7/1/1967     4,561            Apache        100.0%   TERMIN
MP 290   G34866   Federal      RT      7/1/2013      4,561       Apache Shelf Exp    75.0%   RELINQ
MP 291   G34391   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%    EXPIR
MP 292   G34392   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%   RELINQ
MP 293   G34393   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%    EXPIR
MP 294   G34394   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%   RELINQ
MP 295   G32263   Federal    CONT      8/1/2008      4,561         Fieldwood En      37.5%   TERMIN
MP 296   G01673   Federal      RT      6/1/1967      4,561          GOM Shelf        50.0%     UNIT    [1]
MP 296   G01673   Federal      OP      6/1/1967      4,561          GOM Shelf        25.0%     UNIT
MP 297   G34395   Federal      RT      11/1/2012     4,561       Apache Shelf Exp   100.0%   RELINQ
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MP 300   G01317   Federal      OP       6/1/1962     4,561            Cantium        10.4%     UNIT



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                                           Date Le      Le Cur                                   Lease
 Block      Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
 MP 301    G04486    Federal     OP 1     11/1/1980      5,000         Walter O&G       10.4%   TERMIN
 MP 301    G04486    Federal     OP 2     11/1/1980      5,000         Walter O&G        6.3%   TERMIN
 MP 301    G04486    Federal     OP 3     11/1/1980      5,000         Walter O&G       10.4%   TERMIN
 MP 301    G04486    Federal      RT      11/1/1980      5,000         Walter O&G       10.4%   TERMIN
 MP 302    G32264    Federal      RT       7/1/2008      5,000          GOM Shelf      100.0%    PROD
 MP 303    G04253    Federal     OP 1     12/1/1979      5,000        Fieldwood En      25.0%     UNIT
 MP 303    G04253    Federal      RT      12/1/1979      5,000        Fieldwood En     100.0%     UNIT
 MP 304    G03339    Federal      OP       4/1/1976      5,000       ConocoPhillips    100.0%     UNIT
 MP 305    G34396    Federal      RT      12/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 MP 308    G32265    Federal      RT       8/1/2008      5,000        Fieldwood En     100.0%    PROD
 MP 309    G08760    Federal      RT       6/1/1987      5,000        Fieldwood En     100.0%    PROD
 MP 310    G04126    Federal      RT      10/1/1979      5,000        Fieldwood En     100.0%     UNIT
 MP 311    G02213    Federal      RT      11/1/1972      5,000          GOM Shelf       50.0%    PROD     [1]
 MP 311    G02213    Federal      OP      11/1/1972      5,000          GOM Shelf       25.0%    PROD
 MP 312    G16520    Federal      RT       7/1/1996      5,000        Fieldwood En     100.0%    PROD
 MP 314    G33693    Federal      OP       7/1/2010      5,000      Apache Shelf Exp    80.0%    EXPIR
 MP 315    G08467    Federal      RT       7/1/1986      5,000        Fieldwood En     100.0%    PROD
 MP 315    G08467    Federal     OP 3      7/1/1986      5,000        Fieldwood En     100.0%    PROD
 MP 315    G08467    Federal     OP 1      7/1/1986      5,000        Fieldwood En      80.0%    PROD
  MP 5     SL13890    SL-LA       WI                       26            Apache         50.0%   TERMIN
 MP 59     G03194    Federal      OP       7/1/1975      1,406           Cantium        37.5%     UNIT
 MP 59     G08461    Federal      OP       7/1/1986      2,340           Cantium        37.5%     UNIT
  MP 6     SL03771    SL-LA       WI      4/26/1961      1,067           Apache         50.0%   TERMIN
  MP 6     SL13580    SL-LA       WI                      287            Apache         50.0%   TERMIN
  MP 6     SL13891    SL-LA       WI                      270            Apache         50.0%   TERMIN
 MP 64     G04909    Federal     ORRI     12/1/1981      4,988       Sanare En Part      4.2%     UNIT
  MP 7     SL03773    SL-LA       WI      4/26/1961        –             Apache         50.0%   TERMIN
  MP 7     SL13892    SL-LA       WI                       44            Apache         50.0%   TERMIN
 MP 74     G34857    Federal      RT       8/1/2013      1,733      Apache Shelf Exp    75.0%   RELINQ
 MP 77     G04481    Federal      RT      11/1/1980      4,655      Fieldwood En Off    26.2%   RELINQ    [7]
MP 77/78   G04481    Federal      OP      11/1/1980      4,655      Fieldwood En Off    23.5%   RELINQ    [7]
 MP 91     G14576    Federal      RT       5/1/1994      1,017           Apache        100.0%   TERMIN
 MU 883    MF98761   SL - TX      WI                                     Apache        100.0%   TERMIN
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MU A-111   G03068    Federal      RT       4/1/1975     5,760            Apache        100.0%   TERMIN



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                                           Date Le      Le Cur                                   Lease
 Block     Lease      Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
MU A133    G33392    Federal      RT      10/1/2009      5,760      Apache Shelf Exp   100.0%    EXPIR
MU A134    G32724    Federal      RT      11/1/2008      5,760           Apache        100.0%    EXPIR
MU A85     G03061    Federal      RT       4/1/1975      5,760       EnVen En Vent      53.3%    PROD
 PE 881    G06390    Federal      OP       2/1/1984      5,760        ConocoPhillips    18.8%   TERMIN
   PL 1    G04234    Federal      RT       1/1/1980      1,568        Fieldwood En     100.0%   TERMIN
  PL 10    G02925    Federal      RT      12/1/1974      5,000        Fieldwood En     100.0%   TERMIN
  PL 11     00071    Federal      RT      9/12/1946      5,000        Fieldwood En     100.0%   RELINQ
  PL 13    G03171    Federal      RT       7/1/1975      5,000          ANKOR En        12.5%   TERMIN
  PL 13    G03171    Federal     OP 1      7/1/1975       391           ANKOR En        12.5%   TERMIN
  PL 13    G03171    Federal     OP 2      7/1/1975      3,906          ANKOR En        12.5%   TERMIN
  PL 13    G03171    Federal     OP 3      7/1/1975       703           ANKOR En         4.4%   TERMIN
  PL 13    G03171    Federal     OP 5      7/1/1975       391           ANKOR En        12.5%   TERMIN
  PL 25    G14535    Federal      RT       7/1/1994      5,000        Fieldwood En     100.0%   TERMIN
   PL 5    G12027    Federal      RT       6/1/1990      5,000         Talos En Off    100.0%   RELINQ
   PL 6    G09651    Federal      RT       5/1/1988      5,000         Walter O&G      100.0%   RELINQ
   PL 6    G09651    Federal     OP 1      5/1/1988      5,000         Walter O&G       35.0%   RELINQ
   PL 6    G09651    Federal     OP 2      5/1/1988      5,000         Walter O&G       65.0%   RELINQ
   PL 8    G03587    Federal      RT       8/1/1977      5,000          ANKOR En        12.5%   TERMIN
   PL 9    G02924    Federal      RT      12/1/1974      5,000        Fieldwood En     100.0%   TERMIN
   PL 9    G02924    Federal      OP      12/1/1974      5,000        Fieldwood En      50.0%   TERMIN
 PN 883   MF100410   SL - TX      WI      10/6/1998       720           Fieldwood       35.0%   ACTIVE
 PN 883   MF100411   SL - TX      WI      10/6/1998       720           Fieldwood       35.0%   ACTIVE
 PN 883   MF100412   SL - TX      WI      10/6/1998       720           Fieldwood       35.0%   ACTIVE
 PN 883   MF101898   SL - TX      WI      10/6/1998                      Apache         35.0%   TERMIN
 PN 883   MF96146    SL - TX      WI      10/4/1994      720            Fieldwood       35.0%   ACTIVE
 PN 883   MF96147    SL - TX      WI      10/4/1994      720            Fieldwood       35.0%   ACTIVE
 PN 883   SL96146    SL - TX      WI      10/4/1994      720            Fieldwood       35.0%   ACTIVE
PN 899L   MF100413   SL - TX      WI      10/6/1998      375            Fieldwood       35.0%   ACTIVE
PN 899L   MF100414   SL - TX      WI      10/6/1998      360            Fieldwood       35.0%   ACTIVE
 PN 969    G05953    Federal      RT      10/1/1983     5,760       Peregrine O&G II     8.3%   TERMIN
 PN 976    G05954    Federal      RT      10/1/1983     5,760       Peregrine O&G II     8.3%   TERMIN
  SA 10    G03958    Federal      RT       3/1/1979     3,144         Fieldwood En      92.3%   TERMIN
  SA 10    G03958    Federal      OP       3/1/1979     3,144         Fieldwood En      20.0%   TERMIN
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  SA 13    G03959    Federal      OP       3/1/1979     5,000        Renaissance Off    50.0%   TERMIN



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                                        Date Le      Le Cur                                   Lease
 Block   Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
SM 10    G01181   Federal      RT       4/1/1962      5,000        Fieldwood En     100.0%   TERMIN
SM 105   G17938   Federal      RT       8/1/1997      5,000        Fieldwood En     100.0%    PROD
SM 106   G02279   Federal      RT       2/1/1973      2,500        Fieldwood En     100.0%   TERMIN
SM 106   G03776   Federal      RT       6/1/1978      2,500        Fieldwood En     100.0%    PROD
SM 108    00792   Federal      RT       5/1/1960      5,000        Talos En Off      25.0%    PROD     [1]
SM 108    00792   Federal      OP       5/1/1960      5,000         Talos En Off     12.5%    PROD
SM 11    G01182   Federal      RT       3/1/1962      5,000        Fieldwood En     100.0%   TERMIN
SM 127   G02883   Federal      RT      12/1/1974      2,784        Fieldwood En      66.7%    PROD
SM 127   G02883   Federal     OP 2     12/1/1974      2,784        Fieldwood En      33.3%    PROD
SM 127   G02883   Federal      RT      12/1/1974      2,784        Fieldwood En      17.3%    PROD     [1]
SM 127   G02883   Federal     OP 2     12/1/1974      2,784        Fieldwood En       8.7%    PROD     [1]
SM 128   G02587   Federal      RT       5/1/1974      5,000        Fieldwood En      66.7%    PROD
SM 128   G02587   Federal      RT      5/1/1974       5,000        Fieldwood En      17.3%    PROD     [1]
SM 132   G02282   Federal      RT      2/1/1973       5,000        Fieldwood En      50.0%   TERMIN    [6]
SM 135   G19776   Federal      RT      5/1/1998       3,293        Fieldwood En      50.0%   TERMIN    [4]
SM 136   G02588   Federal      RT      5/1/1974       2,500        Fieldwood En      50.0%   TERMIN    [6]
SM 137   G02589   Federal      RT      5/1/1974       5,000        Fieldwood En      50.0%   TERMIN    [6]
SM 141   G02885   Federal     OP 2     12/1/1974      5,000        Fieldwood En      66.7%   TERMIN
SM 141   G02885   Federal      RT      12/1/1974      5,000        Fieldwood En      77.6%   TERMIN
SM 141   G02885   Federal     OP 2     12/1/1974      5,000        Fieldwood En      17.3%   TERMIN    [1]
SM 149   G02592   Federal      RT      5/1/1974       2,500        Fieldwood En      50.0%    PROD     [2]
SM 149   G02592   Federal      OP       5/1/1974      2,500        Fieldwood En      25.0%    PROD     [2]
SM 150   G16325   Federal      RT       6/1/1996      3,329        Fieldwood En      50.0%   RELINQ    [6]
SM 161   G04809   Federal      RT       9/1/1981      5,000        Fieldwood En     100.0%    PROD
SM 171   G34273   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%    EXPIR
SM 172   G34274   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 177   G34275   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 178   G34276   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%    EXPIR
SM 18    G08680   Federal      RT       6/1/1987      5,000        Fieldwood En      50.0%   TERMIN
SM 18    G08680   Federal      OP       6/1/1987      5,000        Fieldwood En     100.0%   TERMIN
SM 188   G34277   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 189   G34278   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
SM 193   G34279   Federal      RT       9/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
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SM 195   G21108   Federal     ORRI      6/1/1999                   Tarpon O&D         4.0%   TERMIN



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                                        Date Le      Le Cur                                     Lease
 Block   Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
SM 236   G4437    Federal     ORRI     11/1/1980                      Cox Op            4.4%     UNIT
SM 241    00310   Federal      RT       2/7/1936    114,601           Cox Op           60.0%     UNIT
SM 241    00310   Federal      OP       2/7/1936    114,601           Cox Op           60.0%     UNIT
SM 241    00310   Federal     Unit      2/7/1936    114,601           Cox Op           16.0%     UNIT
SM 268   G02310   Federal    CONT      12/19/1972                     Apache           69.9%   TERMIN    [4]
SM 268   G34284   Federal      RT       8/1/2012     3,237       Apache Shelf Exp     100.0%    EXPIR    [4]
SM 269   G02311   Federal      RT       1/1/1973     5,000         Fieldwood En        72.8%    PROD     [4]
SM 280   G14456   Federal     OP 1      6/1/1994     5,000         Fieldwood En        50.0%    PROD     [4]
SM 280   G14456   Federal     OP 3      6/1/1994     5,000         Fieldwood En        50.0%    PROD     [4]
SM 280   G14456   Federal      RT       6/1/1994     5,000         Fieldwood En        50.0%    PROD     [4]
SM 281   G02600   Federal      RT       4/1/1974     3,214         Fieldwood En        68.1%    PROD     [4]
SM 34    G13897   Federal      OP       5/1/1993     5,000      Black Elk En Off Op    50.0%   TERMIN
SM 41    G01192   Federal     OP 2      6/1/1962     5,000        Sanare En Part       25.0%    PROD     [2]
                                                                Sanare; Fieldwd En
SM 41    G01192   Federal     OP 3      6/1/1962     5,000              Off            50.0%    PROD     [2]
SM 44    G23840   Federal      RT       5/1/2002     5,000       SandRidge En Off     100.0%   TERMIN
SM 48     00786   Federal      RT       5/1/1960     5,000         Fieldwood En       100.0%    PROD     [2]
SM 48     00786   Federal      OP       5/1/1960     5,000         Fieldwood En        50.0%    PROD     [2]
SM 58    G01194   Federal      RT       5/1/1962     5,000           ANKOR En         100.0%    PROD
SM 66    G01198   Federal      RT       6/1/1962     5,000         Fieldwood En        50.0%   TERMIN    [6]
SM 7     G33610   Federal      RT       7/1/2010     5,000       Apache Shelf Exp     100.0%   RELINQ
SM 76    G01208   Federal      RT       6/1/1962     5,000         Fieldwood En        50.0%   TERMIN
SM 93    G21618   Federal      RT       5/1/2000     5,000           Talos ERT         12.5%    PROD
SM 97    G32159   Federal      RT       8/1/2008     5,000            Apache          100.0%    EXPIR
SP 61    G01609   Federal      OP       7/1/1967     5,000         Fieldwood En       100.0%    UNIT     [5]
SP 62    G01294   Federal      RT       6/1/1962     5,000         Fieldwood En       100.0%    PROD
SP 63    G34365   Federal      RT       8/1/2012     5,000       Apache Shelf Exp     100.0%    EXPIR
SP 64    G01901   Federal      RT       1/1/1969     5,000         Fieldwood En        50.0%    UNIT
SP 64    G01901   Federal      OP       1/1/1969     5,000         Fieldwood En        75.0%    UNIT
SP 65    G01610   Federal      RT       7/1/1967     5,000         Fieldwood En        50.0%    UNIT
SP 65    G01610   Federal      OP       7/1/1967     5,000         Fieldwood En        75.0%    UNIT
SP 66    G1611    Federal     ORRI      6/1/1967                   Fieldwood En         8.3%    UNIT     [4]
SP 68    G34366   Federal      RT       8/1/2012     5,000       Apache Shelf Exp     100.0%   RELINQ
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SP 69    G34367   Federal      RT       8/1/2012     5,000       Apache Shelf Exp     100.0%   RELINQ



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                                        Date Le      Le Cur                                  Lease
Block    Lease     Type      Rights        Eff       Acres           Operator        WI     Status   Notes†
 SP 70   G01614   Federal      RT       6/1/1967      5,000        Fieldwood En    100.0%    PROD
 SP 75   G05051   Federal     OP 2      4/1/1982      5,000         GOM Shelf       28.8%   TERMIN
 SP 75   G05051   Federal      RT      4/1/1982       5,000         GOM Shelf       71.2%   TERMIN    [1]
 SP 75   G05051   Federal     OP 2      4/1/1982      5,000         GOM Shelf       71.2%   TERMIN    [1]
 SP 83   G05052   Federal     ORRI      4/1/1982      5,000          Arena Off       0.7%   RELINQ
 SP 87   G07799   Federal      RT       9/1/1985      3,540        Fieldwood En     33.3%   TERMIN
 SP 87   G07799   Federal      RT      9/1/1985       3,540        Fieldwood En     33.3%   TERMIN    [1]
 SP 88   G10894   Federal      RT       6/1/1989      3,540           Apache       100.0%   RELINQ
 SP 89   G01618   Federal      RT       7/1/1967      5,000        Fieldwood En     50.0%    PROD
 SP 96   G31431   Federal      RT       3/1/2008      5,000          Stone En       50.0%   RELINQ
SS 105   G09614   Federal      RT       8/1/1988      5,000         Bennu O&G      100.0%    PROD
SS 105   G09614   Federal     OP 2      8/1/1988      5,000         Bennu O&G      100.0%    PROD
SS 105   G09614   Federal     OP 3      8/1/1988      5,000         Bennu O&G      100.0%    PROD
SS 126   G12940   Federal      RT       5/1/1991      5,000        Fieldwood En    100.0%   TERMIN
SS 126   G12940   Federal      OP       5/1/1991      5,000        Fieldwood En    100.0%   TERMIN
SS 129   G12941   Federal      RT       5/1/1991      5,000        Fieldwood En    100.0%    PROD
SS 129   G12941   Federal     ORRI      5/1/1991                   Fieldwood En      3.3%    PROD
SS 130    00453   Federal     ORRI      1/1/1955     5,000            W&T Off        3.0%   TERMIN
SS 145   G34831   Federal    CONT       9/1/2013     5,000         Hoactzin Part    25.0%   TERMIN
SS 150    00419   Federal     ORRI     11/1/1954     5,000         Ridgelake En      5.0%    PROD
SS 151   G15282   Federal      RT       7/1/1995     5,000        EnVen En Vent    100.0%    PROD
SS 153   G18011   Federal      RT       7/1/1997     5,000         Fieldwood En     33.3%   TERMIN
SS 154    00420   Federal     ORRI     11/1/1954                   Ridgelake En      8.0%    PROD
SS 159   G11984   Federal      OP       7/1/1990     5,000         Hoactzin Part    15.5%   TERMIN
SS 169    00820   Federal      RT      4/1/1960      5,000         Fieldwood En     66.7%    PROD     [6]
SS 175   G05550   Federal      RT       7/1/1983     5,000         Chevron USA      66.7%     UNIT
SS 176   G33646   Federal      RT       7/1/2010     5,000         Fieldwood En     40.0%    PROD
SS 178   G05551   Federal      RT       7/1/1983     5,000         Fieldwood En    100.0%    PROD
SS 182   G03998   Federal      RT       3/1/1979     2,500         Fieldwood En    100.0%    PROD
SS 188   G05203   Federal    CONT       1/1/1983     5,027         Fieldwood En    100.0%   TERMIN
SS 189   G04232   Federal     OP 5     12/1/1979     5,000         Fieldwood En     99.0%    PROD     [4]
SS 189   G04232   Federal      RT      12/1/1979     5,000         Fieldwood En     99.0%    PROD     [4]
SS 189   G4232    Federal     ORRI     12/1/1979                   Fieldwood En      8.0%    PROD     [4]
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SS 190   G10775   Federal      RT       4/1/1989     5,000         Fieldwood En     60.0%   TERMIN



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
SS 190   G10775   Federal      OP       4/1/1989      5,000        Fieldwood En     100.0%   TERMIN
SS 193   G13917   Federal      RT       5/1/1993      5,000        Fieldwood En     100.0%    PROD
SS 194   G15288   Federal      RT       7/1/1995      5,000        Fieldwood En     100.0%    PROD
SS 198    00593   Federal      RT      9/1/1955       2,969      Renaissance Off     50.0%    PROD     [1]
SS 198   G12355   Federal      OP       9/1/1955      2,031      Renaissance Off     25.0%    PROD
SS 199    00594   Federal      RT       9/1/1955      3,516         Talos En Off     50.0%    PROD
SS 199   G12358   Federal      OP       9/1/1955      1,484      Renaissance Off     50.0%    PROD
SS 204   G01520   Federal      RT       7/1/1967      5,000        Fieldwood En      55.2%    PROD     [4]
SS 206   G01522   Federal      RT       7/1/1967      5,000        Fieldwood En      60.0%     UNIT    [6]
SS 207   G01523   Federal      RT       7/1/1967      5,000        Fieldwood En      72.2%     UNIT    [7]
SS 207   G01523   Federal      OP       7/1/1967      5,000        Fieldwood En      47.6%     UNIT    [7]
SS 210   G05204   Federal    CONT       1/1/1983      5,000        Fieldwood En     100.0%   RELINQ
SS 216   G01524   Federal      RT       7/1/1967      5,000        Fieldwood En      80.0%    PROD     [4]
SS 243   G10780   Federal      RT       7/1/1989      5,000        Fieldwood En      50.0%    PROD
SS 243   G10780   Federal     ORRI      7/1/1989                   Fieldwood En       4.2%    PROD
SS 249   G01030   Federal     OP 1      6/1/1962     5,000       Fieldwood En Off     5.3%     UNIT    [4]
SS 249   G1030    Federal     ORRI      6/1/1962                 Fieldwood En Off     0.2%     UNIT    [4]
SS 258   G05560   Federal      RT       7/1/1983     5,000           Castex Off     100.0%   TERMIN
SS 258   G05560   Federal      OP       7/1/1983     5,000           Castex Off       7.4%   TERMIN
SS 259   G05044   Federal      RT       4/1/1982     5,141         Fieldwood En     100.0%   TERMIN
SS 259   G05044   Federal      OP       4/1/1982     5,141         Fieldwood En       7.4%   TERMIN
SS 271   G01038   Federal      RT       6/1/1962     5,000       Fieldwood En Off    20.0%     UNIT    [4]
SS 274   G01039   Federal      RT       6/1/1962     5,000         Fieldwood En     100.0%    PROD
SS 276   G10785   Federal      RT       5/1/1989     5,000            Monforte       66.7%   TERMIN
SS 277   G09627   Federal      RT       5/1/1988     5,000         Fieldwood En       1.0%     SOP
SS 277   G09627   Federal      OP       5/1/1988     5,000         Fieldwood En     100.0%     SOP
SS 278   G32206   Federal      RT       8/1/2008     5,000            Apache        100.0%    EXPIR
SS 291   G02923   Federal      OP      12/1/1974     3,750         Fieldwood En      67.9%   OPERNS    [4]
SS 30     00333   Federal      RT      9/12/1946     5,000           W & T Off       37.5%     UNIT
SS 301   G10794   Federal     ORRI      5/1/1989                   Fieldwood En       1.5%     SOP     [2]
SS 31     00334   Federal      RT      9/12/1946     5,000           W & T Off       37.5%     UNIT
SS 314   G26074   Federal     OP 4      5/1/2004     5,000         Fieldwood En      37.5%    PROD
SS 314   G26074   Federal      RT       5/1/2004     5,000         Fieldwood En      75.0%    PROD
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SS 314   G26074   Federal     ORRI      5/1/2004                   Fieldwood En       4.5%    PROD



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                                        Date Le      Le Cur                                     Lease
Block    Lease     Type      Rights        Eff       Acres           Operator           WI     Status   Notes†
SS 32     00335   Federal      RT      9/12/1946      5,000          W & T Off         37.5%     UNIT
SS 33     00336   Federal    CONT      9/12/1946      5,000           W&T Off          28.9%     UNIT
SS 33     00336   Federal     ORRI     9/12/1946      5,000           W&T Off           0.8%     UNIT
SS 354   G15312   Federal      RT       7/1/1995      5,000        Fieldwood En       100.0%    PROD
SS 355   G33650   Federal      RT       6/1/2010      5,323      Apache Shelf Exp     100.0%   RELINQ
SS 58    G07746   Federal     ORRI      7/1/1985      5,000       Talos Third Cst      10.5%    PROD
SS 68    G02917   Federal      RT      12/1/1974      5,000        Fieldwood En       100.0%   RELINQ
SS 87    G12349   Federal     ORRI     9/12/1946      1,953       Sanare En Part        1.0%     UNIT
SS 91    G02919   Federal      RT      12/1/1974      5,000        Fieldwood En        87.5%    PROD
SS 91    G02919   Federal     OP 2     12/1/1974      5,000        Fieldwood En        87.5%    PROD
SS 91    G02919   Federal     OP 2     12/1/1974      5,000        Fieldwood En        12.5%    PROD     [1]
SS 91    G02919   Federal      RT      12/1/1974      5,000        Fieldwood En        12.5%    PROD     [1]
ST 146   G33110   Federal      RT       7/1/2009      3,772      Apache Shelf Exp     100.0%    EXPIR
ST 148   G01960   Federal      RT       2/1/1970      2,500          Arena Off         15.6%    PROD
ST 148   G01960   Federal      OP       2/1/1970      2,500          Arena Off         15.6%    PROD
ST 161   G01248   Federal      OP       6/1/1962      5,000          Arena Off         25.0%    PROD
ST 166   G01252   Federal      OP       6/1/1962      5,000           Apache          100.0%   TERMIN
ST 173   G04001   Federal      RT       3/1/1979      5,000           Apache          100.0%   TERMIN
ST 179   G12020   Federal      RT       6/1/1990      5,000      Fieldwood En Off      50.0%   TERMIN
ST 179   G12020   Federal      OP       6/1/1990      5,000      Fieldwood En Off      68.8%   TERMIN
ST 190   G01261   Federal      RT       6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 190   G01261   Federal      OP       6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 194   G05610   Federal      RT       7/1/1983      5,000        Fieldwood En       100.0%   TERMIN
ST 203   G01269   Federal     OP 1      6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 203   G01269   Federal     OP 2      6/1/1962      5,000     Black Elk En Off Op    20.0%   TERMIN
ST 203   G01269   Federal      RT       6/1/1962      5,000     Black Elk En Off Op    40.0%   TERMIN
ST 205   G05612   Federal      RT       7/1/1983      5,000        Fieldwood En        50.0%    PROD
ST 205   G05612   Federal     OP 3      7/1/1983      5,000        Fieldwood En        75.0%    PROD
ST 205   G05612   Federal     OP 4      7/1/1983      5,000        Fieldwood En       100.0%    PROD
ST 205   G05612   Federal     OP 7      7/1/1983      5,000        Fieldwood En        50.0%    PROD
ST 205   G05612   Federal     OP 6      7/1/1983      5,000        Fieldwood En        75.0%    PROD
ST 205   G05612   Federal     OP 5      7/1/1983      5,000        Fieldwood En        50.0%    PROD
ST 205   G05612   Federal     ORRI      7/1/1983      5,000        Fieldwood En         2.0%    PROD
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ST 206   G05613   Federal      RT       7/1/1983      5,000        Fieldwood En        50.0%   TERMIN



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
ST 228   G32217   Federal      RT       8/1/2008      5,000          Eni US Op       40.0%    EXPIR
ST 229   G13938   Federal      OP       7/1/1993      2,148          W & T Off       33.3%    PROD
ST 244   G34341   Federal      RT      10/1/2012      4,572      Apache Shelf Exp   100.0%   RELINQ
 ST 26   G01361   Federal      RT       5/1/1964       625            Cox Op         50.0%     UNIT
 ST 26   G01870   Federal      RT      11/1/1968      1,875           Cox Op         50.0%     UNIT
 ST 26   G02620   Federal      RT       5/1/1974      2,500           Cox Op         50.0%     UNIT
ST 276   G07780   Federal      RT       8/1/1985      5,000          Eni US Op      100.0%     UNIT
ST 276   G07780   Federal      OP       8/1/1985      5,000          Eni US Op      100.0%     UNIT
ST 290   G16454   Federal      RT      4/24/1996      5,000           Apache        100.0%   TERMIN
ST 291   G16455   Federal      RT       9/1/1996      5,000        Fieldwood En     100.0%    PROD
ST 291   G16455   Federal      OP       9/1/1996      5,000        Fieldwood En     100.0%    PROD
ST 295   G05646   Federal      RT       7/1/1983      5,000        Fieldwood En     100.0%     UNIT
ST 296   G12981   Federal      RT       5/1/1991      5,000        Fieldwood En     100.0%     UNIT
ST 296   G12981   Federal      OP       5/1/1991      5,000        Fieldwood En     100.0%     UNIT
ST 311   G31418   Federal      RT       3/1/2008      5,000         Walter O&G       45.0%    PROD
ST 316   G22762   Federal      RT      6/1/2001       4,435          W & T Off       20.0%    PROD     [4]
ST 320   G24990   Federal      RT       5/1/2003      5,000          W & T Off       11.3%    PROD
 ST 47   G33652   Federal      RT       7/1/2010      5,000      Apache Shelf Exp   100.0%   RELINQ
 ST 49   G24956   Federal      RT       6/1/2003      5,000        Fieldwood En     100.0%    PROD
 ST 49   G24956   Federal      OP       6/1/2003      5,000        Fieldwood En     100.0%    PROD
 ST 50   G34331   Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
 ST 53   G04000   Federal      RT       3/1/1979      5,000        Fieldwood En      50.0%    PROD     [2]
 ST 53   G04000   Federal     OP 1      3/1/1979      5,000        Fieldwood En      50.0%    PROD     [2]
 ST 53   G04000   Federal     OP 2      3/1/1979      5,000        Fieldwood En      25.0%    PROD     [2]
 ST 59   G31404   Federal      RT       2/1/2008      5,000        LLOG Exp Off      25.0%   RELINQ
 ST 64   G33106   Federal      RT       7/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
 ST 67    00020   Federal    CONT      4/25/1947                   Fieldwood En      79.7%     UNIT    [2]
SX 17    G04143   Federal      RT      10/1/1979     2,042            Apache         92.3%   RELINQ
SX 17    G04143   Federal      OP      10/1/1979     2,042            Apache         20.0%   RELINQ
VK 118   G33697   Federal      RT       5/1/2010     5,760       Apache Shelf Exp    75.0%    EXPIR
VK 203   G07890   Federal      RT       7/1/1985     5,760           Talos ERT       33.3%   TERMIN
VK 203   G07890   Federal      OP       7/1/1985     5,760           Talos ERT       33.3%   TERMIN
VK 204   G04921   Federal      RT      12/1/1981     5,760           Talos ERT       33.3%   TERMIN
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VK 204   G04921   Federal      OP      12/1/1981     5,760           Talos ERT       33.3%   TERMIN



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                                         Date Le      Le Cur                                   Lease
 Block    Lease     Type      Rights        Eff       Acres           Operator        WI      Status   Notes†
VK 251    G10930   Federal      OP       7/1/1989      5,760      Fieldwood En Off    7.5%      UNIT    [3]
VK 340    G10933   Federal      OP       7/1/1989      5,760      Fieldwood En Off    7.5%      UNIT    [3]
VK 384    G16541   Federal      OP       6/1/1996      5,760        Chevron USA      20.0%    TERMIN
  VK
692/693   G07898   Federal      RT       9/1/1985     4,773         Fieldwood En      56.9%   TERMIN
VK 694    G13055   Federal      RT       7/1/1991     3,214         Fieldwood En      53.1%   TERMIN
VK 694    G13055   Federal      OP       7/1/1991     3,214         Fieldwood En      92.1%   TERMIN
VK 698    G07901   Federal      RT       8/1/1985     4,996         Fieldwood En      52.4%   TERMIN
VK 736    G13987   Federal      RT       7/1/1993     4,742         Fieldwood En     100.0%   TERMIN
VK 780    G06884   Federal      RT       6/1/1984     5,760         Fieldwood En     100.0%   TERMIN
VK 824    G15436   Federal      RT        9/1/1995    5,760            Apache        100.0%   RELINQ
VK 856    G34872   Federal      RT        7/1/2013     877        Apache Shelf Exp    75.0%   RELINQ
VK 899    G34408   Federal      RT        8/1/2012    1,553       Apache Shelf Exp   100.0%    EXPIR
VR 115    G33593   Federal      RT        6/1/2010    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 128    G33594   Federal      RT        6/1/2010    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 131     00775   Federal      OP       5/1/1960     4,923          Talos En Off     72.5%   TERMIN
VR 146    G33084   Federal      RT        7/1/2009    5,000       Apache Shelf Exp   100.0%    EXPIR
VR 156    G34251   Federal      RT       10/1/2012    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 160    G34252   Federal      RT       10/1/2012    5,000       Apache Shelf Exp   100.0%   RELINQ
VR 161    G34253   Federal      RT       10/1/2012    4,868       Apache Shelf Exp   100.0%   RELINQ
VR 252    G05431   Federal     ORRI      7/1/1983     4,454           Castex Off       2.0%    PROD
VR 253    G17912   Federal     ORRI      7/1/1997     5,000           Castex Off       0.6%    PROD
 VR 26     00297   Federal     OP 1     11/26/1946    4,646         Apache Shelf     100.0%   TERMIN
 VR 26     00297   Federal     OP 2     11/26/1946    4,646         Apache Shelf      25.0%   TERMIN
 VR 26     00297   Federal      RT      11/26/1946    4,646         Apache Shelf      50.0%   TERMIN
VR 261    G03328   Federal      RT       4/1/1976     5,429         Fieldwood En      75.0%   TERMIN    [6]
VR 261    G03328   Federal     OP 2      4/1/1976     5,429         Fieldwood En      37.5%   TERMIN    [6]
VR 261    G03328   Federal     ORRI      4/1/1976                   Fieldwood En       6.3%   TERMIN    [6]
VR 262    G34257   Federal      RT      10/1/2012     5,485         Fieldwood En      75.0%   RELINQ    [4]
VR 265    G01955   Federal      RT       1/1/1970     5,000         Fieldwood En     100.0%     SOP
 VR 27    G01329   Federal     OP 2      12/1/1962    1,902         Apache Shelf     100.0%   TERMIN
 VR 27    G01329   Federal     OP 1      12/1/1962    1,902         Apache Shelf      25.0%   TERMIN
 VR 27    G01329   Federal      RT       12/1/1962    1,902         Apache Shelf      50.0%   TERMIN
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VR 271    G04800   Federal      OP       9/1/1981     4,418           Castex Off      12.5%    PROD



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                                        Date Le      Le Cur                                  Lease
Block    Lease     Type      Rights        Eff       Acres          Operator         WI     Status   Notes†
VR 326   G21096   Federal      RT       6/1/1999      5,000       Fieldwood En      70.3%   TERMIN
VR 332   G09514   Federal    CONT      3/30/1988                  Fieldwood En      50.0%    PROD     [3]
VR 34    G01356   Federal     OP 1      6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 34    G01356   Federal     OP 2      6/1/1964      625         Apache Shelf      75.0%   TERMIN
VR 34    G01356   Federal      RT       6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 35     00548   Federal     OP 1      9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 35     00548   Federal     OP 2      9/1/1955     2,500        Apache Shelf      75.0%   TERMIN
VR 35     00548   Federal      RT       9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 35     00549   Federal     OP 1      9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 35     00549   Federal     OP 2      9/1/1955     2,500        Apache Shelf      75.0%   TERMIN
VR 35     00549   Federal      RT       9/1/1955     2,500        Apache Shelf     100.0%   TERMIN
VR 356   G17921   Federal     ORRI      8/1/1997     4,093       EnVen En Vent       2.6%    PROD
VR 36    G01357   Federal     OP 2      6/1/1964      625         Apache Shelf      75.0%   TERMIN
VR 36    G01357   Federal     OP 1      6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 36    G01357   Federal      RT       6/1/1964      625         Apache Shelf     100.0%   TERMIN
VR 369   G02274   Federal     OP 4      2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 369   G02274   Federal     OP 3      2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 369   G02274   Federal      RT       2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 369   G02274   Federal     Unit      2/1/1973     5,000       Renaissance Off    23.2%     UNIT
VR 374   G32153   Federal      RT       8/1/2008     5,000           Apache        100.0%    EXPIR
VR 380   G02580   Federal      RT       5/1/1974     5,000        Fieldwood En     100.0%    PROD
VR 381   G16314   Federal      RT       9/1/1996     5,000        Apache Shelf     100.0%   TERMIN
VR 381   G16314   Federal      OP       9/1/1996     5,000        Apache Shelf      80.0%   TERMIN
VR 386   G02278   Federal     RT A      2/1/1973     5,000        Marathon Oil      30.2%     UNIT
VR 386   G02278   Federal     RT B      2/1/1973     5,000        Marathon Oil      29.0%     UNIT
VR 408   G15212   Federal      RT       7/1/1995     5,000        Fieldwood En      12.5%    PROD
VR 408   G15212   Federal      OP       7/1/1995     5,000        Fieldwood En     100.0%    PROD
WC 102    00247   Federal      RT       9/9/1946     5,000        Fieldwood En     100.0%   TERMIN
WC 110    00081   Federal      RT      6/10/1947     5,000           BP E&P        100.0%    PROD
WC 110    00081   Federal      OP      6/10/1947     5,000           BP E&P         37.5%    PROD
WC 111    00082   Federal      RT      6/10/1947     1,250           BP E&P        100.0%    PROD
WC 111    00082   Federal      OP      6/10/1947     1,250           BP E&P         37.5%    PROD
WC 111   G33046   Federal      RT       8/1/2009     3,750          Eni US Op       25.0%    EXPIR
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WC 130   G12761   Federal      RT       5/1/1991     5,000          Eni US Op       25.0%   TERMIN



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                                          Date Le      Le Cur                                   Lease
 Block     Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
 WC 144    G01953   Federal      RT      2/1/1970       5,000        Fieldwood En      62.5%   TERMIN
 WC 155    G32114   Federal      RT       8/1/2008      5,000           Apache        100.0%    EXPIR
 WC 163    G05299   Federal     RT A      7/1/1983      5,000        Fieldwood En      61.0%   TERMIN
 WC 163    G05299   Federal     RT B      7/1/1983      5,000        Fieldwood En      56.2%   TERMIN
 WC 165     00758   Federal      RT      4/1/1960       5,000        Fieldwood En     100.0%   TERMIN
 WC 172    G01998   Federal     OP 1      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal     OP 2      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal     OP 3      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal     OP 4      2/1/1971      5,000        Apache Shelf      22.5%   TERMIN
 WC 172    G01998   Federal    OP 10      2/1/1971      5,000        Apache Shelf      25.0%   TERMIN
 WC 172    G01998   Federal    OP 11      2/1/1971      5,000        Apache Shelf      25.0%   TERMIN
 WC 172    G01998   Federal    OP 12      2/1/1971      5,000        Apache Shelf      25.0%   TERMIN
 WC 181    G33558   Federal      RT       6/1/2010      2,500      Apache Shelf Exp   100.0%   RELINQ
 WC 196    G05292   Federal      RT      7/1/1983       5,000        Union Oil CA       8.3%   TERMIN
 WC 20      00680   Federal      OP      8/1/1959       1,873       Sanare En Part     50.0%    PROD
 WC 210    G34216   Federal      RT      10/1/2012      5,000           Apache        100.0%   RELINQ
 WC 225    G00900   Federal     OP 1      4/1/1962      5,000         Tarpon O&D       26.7%   TERMIN
 WC 269    G13563   Federal      OP      8/1/1992       5,000       Sanare En Part     33.8%   TERMIN
 WC 290    G04818   Federal     OP 1      9/1/1981      5,000      Fieldwood En Off    10.4%   TERMIN    [3]
 WC 290    G04818   Federal      RT      9/1/1981       5,000      Fieldwood En Off    16.7%   TERMIN    [3]
 WC 291    G04397   Federal      RT      11/1/1980      5,000           Apache        100.0%   TERMIN
 WC 291    G04397   Federal      OP      11/1/1980      5,000           Apache         60.0%   TERMIN
 WC 295    G24730   Federal     OP 1     5/1/2003       5,000        Fieldwood En      20.6%    PROD     [4]
 WC 300    G15078   Federal      RT      7/1/1995       5,000      SandRidge En Off    14.0%   TERMIN
 WC 300    G15078   Federal      OP      7/1/1995       5,000      SandRidge En Off    24.4%   TERMIN
 WC 310    G17789   Federal      RT      8/1/1997       5,000        Fieldwood En     100.0%   TERMIN
 WC 310    G17789   Federal      OP      8/1/1997       5,000        Fieldwood En      73.7%   TERMIN
 WC 33     G15050   Federal      RT      7/1/1995       2,891        Fieldwood En     100.0%    PROD
 WC 34     G03251   Federal      RT      9/1/1975       4,506           Apache        100.0%   TERMIN
 WC 35     G02819   Federal      RT      12/1/1974      4,688           Apache        100.0%   TERMIN
 WC 35     G02819   Federal      OP      12/1/1974      4,688           Apache        100.0%   TERMIN
 WC 35,
 WC 66     G01860   Federal     OP 2      1/1/1969     1,563           BP E&P         100.0%   PROD
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WC 35/66   G01860   Federal      RT       1/1/1969     1,563           BP E&P         100.0%   PROD



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                                        Date Le      Le Cur                                   Lease
Block    Lease     Type      Rights        Eff       Acres           Operator         WI     Status   Notes†
WC 401   G07619   Federal      RT       7/1/1985      5,000       ConocoPhillips     33.3%   TERMIN
WC 576   G33061   Federal      RT       6/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
WC 624   G33064   Federal      RT       6/1/2009      5,000      Apache Shelf Exp   100.0%    EXPIR
WC 65    G02825   Federal     OP 4     12/1/1974      5,000           BP E&P         81.3%    PROD     [4]
WC 65    G02825   Federal      RT      12/1/1974      5,000           BP E&P        100.0%    PROD     [4]
WC 65    G02825   Federal      OP      12/1/1974      5,000           BP E&P        100.0%    PROD     [4]
WC 650   G34217   Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WC 656   G34218   Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WC 657   G34219   Federal      RT      10/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WC 66    G02826   Federal     OP 2     12/1/1974      3,750        Fieldwood En      75.0%    PROD     [4]
WC 66    G02826   Federal      OP      12/1/1974      3,750        Fieldwood En     100.0%    PROD     [4]
WC 67    G03256   Federal     OP 1      9/1/1975      5,000           Apache        100.0%   TERMIN    [4]
WC 67    G03256   Federal     OP 2      9/1/1975      5,000           Apache         66.6%   TERMIN    [4]
WC 68     00526   Federal      RT       9/1/1955      2,500         BP Am Prod      100.0%   TERMIN
WC 71     00244   Federal      RT      9/9/1946       5,000        Fieldwood En     100.0%   TERMIN
WC 72    G23735   Federal      RT       7/1/2002      5,000      Fieldwood En Off    25.0%    PROD
WC 73    G23736   Federal      OP       7/1/2002      5,000          Castex Off      25.0%    PROD
WC 99    G34213   Federal      RT       8/1/2012      5,000      Apache Shelf Exp   100.0%   RELINQ
WD 103    00840   Federal      RT       5/1/1960      3,984        Fieldwood En     100.0%    PROD
WD 103   G12360   Federal     OP 1      5/1/1960      1,016        Fieldwood En      81.3%    PROD     [4]
WD 104    00841   Federal      RT       5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 1      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 2      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 3      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 104    00841   Federal     OP 5      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal      RT       5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 3      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 4      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 5      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 105    00842   Federal     OP 6      5/1/1960      5,000        Fieldwood En     100.0%    PROD
WD 121   G19843   Federal     OP 1      8/1/1998      5,000        Fieldwood En      84.0%    PROD     [4]
WD 122   G13645   Federal     OP 1      8/1/1992      5,000        Fieldwood En      84.0%    PROD     [4]
WD 122   G13645   Federal     OP 2      8/1/1992      5,000        Fieldwood En      84.0%    PROD     [4]
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WD 122   G13645   Federal      RT       8/1/1992      5,000        Fieldwood En     100.0%    PROD     [4]



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                                         Date Le     Le Cur                                  Lease
Block    Lease     Type      Rights         Eff      Acres          Operator         WI     Status   Notes†
WD 128   G10883   Federal      RT        6/1/1989     5,000       Fieldwood En     100.0%   TERMIN
WD 133   G01106   Federal      RT        5/1/1962     5,000         Arena Off      100.0%    PROD
WD 133   G01106   Federal     ORRI       5/1/1962                   Arena Off        1.0%    PROD
WD 133   G01106   Federal     ORRI       5/1/1962                   Arena Off        7.2%    PROD
WD 34    G03414   Federal      RT        1/1/1977    2,500        Fieldwood En      76.7%   TERMIN
WD 34    G03414   Federal      OP        1/1/1977    2,500        Fieldwood En      46.7%   TERMIN
WD 38    G22772   Federal      RT        5/1/2001    1,796           Apache         87.5%   TERMIN
WD 38    G22772   Federal      OP        5/1/2001    1,796           Apache         43.8%   TERMIN
WD 41    G01073   Federal      RT        3/1/1962    5,000           Apache        100.0%   TERMIN
WD 41    G01073   Federal      OP        3/1/1962    5,000           Apache         50.0%   TERMIN
WD 42    G16470   Federal      RT        9/1/1996    5,000        Fieldwood En     100.0%   TERMIN
WD 42    G16470   Federal      OP        9/1/1996    5,000        Fieldwood En      50.0%   TERMIN
WD 53     17935    SL-LA       WI      10/13/2003      –           Whitney Oil      33.3%   TERMIN
WD 67     00179   Federal      RT      7/17/1948     2,500         GOM Shelf        75.0%     UNIT   [1], [2]
WD 67     00179   Federal     OP 1      7/17/1948    2,500           BP E&P         18.8%     UNIT   [1], [2]
WD 67     00179   Federal     OP 2      7/17/1948    2,500         GOM Shelf        37.5%     UNIT   [1], [2]
WD 68     00180   Federal      RT      7/17/1948     1,833         GOM Shelf        75.0%     UNIT   [1], [2]
WD 68     00180   Federal     OP 1      7/17/1948    1,833           BP E&P         18.8%     UNIT   [1], [2]
WD 68     00180   Federal     OP 2      7/17/1948    1,833         GOM Shelf        37.5%     UNIT   [1], [2]
WD 69     00181   Federal      RT      7/17/1948     3,665         GOM Shelf        75.0%     UNIT   [1], [2]
WD 69     00181   Federal     OP 1      7/17/1948    3,665           BP E&P         18.8%     UNIT   [1], [2]
WD 69     00181   Federal     OP 2      7/17/1948    3,665         GOM Shelf        37.5%     UNIT   [1], [2]
WD 70     00182   Federal      RT      7/17/1948     5,000         GOM Shelf        75.0%     UNIT   [1], [2]
WD 70     00182   Federal     OP 1      7/17/1948    5,000           BP E&P         18.8%     UNIT   [1], [2]
WD 70     00182   Federal     OP 2      7/17/1948    5,000         GOM Shelf        37.5%     UNIT   [1], [2]
WD 71     00838   Federal      RT       4/1/1960     5,000           BP E&P         75.0%     UNIT   [1], [2]
WD 71     00838   Federal     OP 1       4/1/1960    5,000           BP E&P         18.8%     UNIT   [1], [2]
WD 71     00838   Federal     OP 2      4/1/1960     5,000         GOM Shelf        37.5%     UNIT   [1], [2]
WD 75    G01085   Federal      RT        6/1/1962    5,000        Fieldwood En     100.0%    PROD
WD 90    G01089   Federal     OP 3       6/1/1962    5,000        Fieldwood En      81.3%    PROD      [4]
WD 90    G01089   Federal      RT       6/1/1962     5,000        Fieldwood En     100.0%    PROD      [4]
WD 94     00839   Federal      RT       5/1/1960     5,000         GOM Shelf        75.0%    PROD    [1], [2]
WD 94     00839   Federal     OP 1       5/1/1960    5,000         GOM Shelf        37.5%    PROD    [1], [2]
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WD 94     00839   Federal     OP 2       5/1/1960    5,000         GOM Shelf        75.0%    PROD    [1], [2]



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                                       Date Le      Le Cur                                 Lease
Block   Lease     Type      Rights       Eff        Acres         Operator          WI     Status   Notes†
WD 95   G01497   Federal      RT      12/1/1966      5,000        GOM Shelf        75.0%    PROD    [1], [2]
WD 95   G01497   Federal     OP 1     12/1/1966      5,000        GOM Shelf        37.5%    PROD    [1], [2]
WD 95   G01497   Federal     OP 2     12/1/1966      5,000        GOM Shelf        75.0%    PROD    [1], [2]
WD 96   G01498   Federal      RT      12/1/1966      3,665        GOM Shelf        75.0%    PROD    [1], [2]
WD 96   G01498   Federal     OP 2     12/1/1966      3,665        GOM Shelf        37.5%    PROD    [1], [2]
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                                                                                                              FWE I ROW

  SEGMENT                                  ORG          ORG
                   COMPANY NAME                                    ORG NAME       REC AREA      REC BLOCK      REC NAME         SIZE        PRODUCT              STATUS              ROW NUMBER               FW LEASE               NOTE3
  NUMBER                                   AREA        BLOCK
                  Fieldwood Energy,
      15213                                 BS           41             B             BS            42          24" SSTI         10            G/C           Partial Abandon            G25383                 G21142
                         LLC
                  Fieldwood Energy,
      17938                                 CA           43             A             VK            247         24"SSTI           6            GAS                Active                G29431                 G32268
                         LLC
                  Fieldwood Energy,
      3519                                  EC           14             CF            EC             9            F/S             4           COND            Out of Service            G13721                 G01440
                         LLC
                  Fieldwood Energy,                                                                                                                           Permitted for
      13104                                 EC            2            F/S            EC             2          6" SSTI           4            GAS                                      G22383
                         LLC                                                                                                                                  Abandonment                                      G15050
                  Fieldwood Energy,                                                                                                                           Permitted for
      17801                                 EC           14             CF            WC            69          30 SSTI          12            GAS                                      G28556                 G01440
                         LLC                                                                                                                                  Abandonment
                  Fieldwood Energy,
       44                                   EI          175             C             EI            176         12" SSTI          8            OIL            Out of Service            G13445                  00438                  [3]
                         LLC
                  Fieldwood Energy,                                                                             14-inch
      1128                                  EI          330        flanged end        EI            306                          14            OIL                Active               G02139A                 G02115                  [3]
                         LLC                                                                                     SSTI
                  Fieldwood Energy,
      6818                                  EI          337             A             EI            330             B             6            GAS            Out of Service            G05932                 G03332
                         LLC
                  Fieldwood Energy,
      6819                                  EI          337             A             EI            330         14 SSTI           6            OIL            Out of Service            G05931                 G03332
                         LLC
                  Fieldwood Energy,
      6852                                  EI          315             A             EI            330         14 SSTI           6            OIL            Out of Service            G13447                 G02112
                         LLC
                  Fieldwood Energy,
      7290                                  EI          316             A             EI            330         14 SSTI           8            OIL                Active                G07537                 G05040
                         LLC
                  Fieldwood Energy,
      7347                                  EI          316             A             EI            330         8" SSTI           6            GAS                Active                G07555                 G05040
                         LLC
                  Fieldwood Energy,
      7914                                  EI          212             A             SS            152         24 SSTI           6            GAS            Out of Service            G08530                 G05503
                         LLC
                  Fieldwood Energy,
      7915                                  EI          212             A             EI            213         12 SSTI           6            OIL            Out of Service            G08531                 G05503
                         LLC
                  Fieldwood Energy,
      7943                                  EI          342             C             EI            327         08 SSTI           4            OIL            Out of Service            G08541                 G02319                  [4]
                         LLC


[1]    Lease carries $0 liability.
[2]    FWE I is to obtain 75% of the Debtors' interests in Segment 9084, 50% of the Debtors' interest in Segments 4647 and 5890 and 79.666% of the Debtors' interest in Segment 17265, and the Credit Bid Purchaser is to obtain the Debtors'
       remaining interests in those four pipeline segments.
[3]    Represents each ROW in which FWE I is to acquire solely as to the same 8/8ths undivided interest that FWE I is to acquire in the related lease referenced above for such ROW; the Debtors' remaining interests in such ROW are to be
       abandoned.
[4]    Represents each ROW in which (i) FWE I is to acquire solely as to the same 8/8ths undivided interest that FWE I is to acquire in the related lease referenced above for such ROW; and (ii) FWE IV is to acquire solely as to the same 8/8ths
       undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The Debtors' remaining interests in such ROW are to be abandoned.




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME     REC AREA   REC BLOCK   REC NAME       SIZE   PRODUCT      STATUS         ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
           Fieldwood Energy,
 9211                             EI     53         B           EI         64       22 SSTI         6       G/C     Partial Abandon     G12373      00479      [3]
                  LLC
           Fieldwood Energy,
 9376                             EI     142        A           EI         141      10 SSTI         4       OIL     Out of Service      G12734
                  LLC                                                                                                                               00052
           Fieldwood Energy,
 11923                            EI     53         C           EI         64       22 SSTI        10       G/C     Out of Service      G20539      00479
                  LLC
           Fieldwood Energy,
 14073                            EI     188       JE           EI         188      06 SSTI         4      BLKG     Out of Service      G29056      00443
                  LLC
           Fieldwood Energy,
 14479                            EI     158        C           EI         176      12"SSTI         6       OIL     Out of Service      G13702     G01220
                  LLC
           Fieldwood Energy,
 15906                            EI     173        G           EI         175         C            4      BLKO     Out of Service      G28239     G13622
                  LLC
           Fieldwood Energy,
 16225                            EI     354        D           EI         337         A            4       OIL     Out of Service      G28598     G10752
                  LLC
           Fieldwood Energy,
 16226                            EI     354        D           EI         337         A            4      GAS      Out of Service      G28599     G10752
                  LLC
           Fieldwood Energy,
 16243                            EI     189        B           EI         188         A            4      GAS      Out of Service      G29057      00423
                  LLC
           Fieldwood Energy,
 18493                            EI     342        C           EI         343        SSTI          6       GAS     Out of Service      G29108     G02319      [4]
                  LLC
                                                                                      Blind
 19960    Fieldwood Energy LLC    EI     342        C           EI         342                      6       OIL     Out of Service                 G02319      [4]
                                                                                     Flange                                             G29471
           Fieldwood Energy,
   -                              EI     187        2           EI         187         2                                Active          G30283     G10736
                  LLC
           Fieldwood Energy,
 8487                            EW      826        A          ST          300      12 SSTI        12       OIL     Out of Service      G10110     G05800
                  LLC
           Fieldwood Energy,
 15298                           GA      210        B          GA          239      12 SSTI         8       G/C         Active          G26931     G25524      [3]
                  LLC
                                                                                                                    Permitted for
           Fieldwood Energy,
 7866                             GI     33         A           GI         22          L            8      GAS      Abandonment         G08514     G04002
                  LLC
                                                                                                                      Approved
 9084       GOM Shelf, LLC        GI     43        AS           GI         19         F/S           10      OIL        Active           G12304      00175      [2]
                                                                                                                    Permitted for
           Fieldwood Energy,
 17673                            GI     54        #2           GI         47          L            4      BLKO     Abandonment         G28528     G27173
                  LLC
                                                                                                                      Approved
           Fieldwood Energy,
 5470                             HI    A356      Valve         HI        A343        HIOS         12      GAS      Out of Service      G04050     G02754
                  LLC
           Fieldwood Energy,
 6504                             HI    A595        D           HI         573         B            8       OIL     Out of Service      G28525     G02721
                  LLC
           Fieldwood Energy,
 6669                             HI    A 376       A           HI        A 356     12 SSTI        10       GAS     Out of Service      G05238     G02754      [3]
                  LLC
                                                                                    12 SSTI
 6669     Fieldwood Energy LLC    HI    A 376   Platform A      HI        A 356     W/PSN          10      GAS      Out of Service      G05238     G02754      [3]
                                                                                     10882




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME     REC AREA   REC BLOCK   REC NAME       SIZE   PRODUCT      STATUS         ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
           Fieldwood Energy,
 10882                            HI    A356     10SST          HI        A356        12SSTI       12       GAS     Out of Service      G04051     G02754      [3]
                  LLC
           Fieldwood Energy,                                                                                        Permitted for
 11841                            HI    A 545      JA           HI        A 547         B           6      BLKG                         G20510     G17199
                  LLC                                                                                               Abandonment
           Fieldwood Energy,
 14650                            HI     201       #1           HI         199          A           6      BLKG     Partial Abandon     G25397     G23199
                  LLC
           Fieldwood Energy,
 15401                            HI    A 341       B           HI        A 340      30" SSTI      812      G/C         Active          G26938     G25605      [3]
                  LLC
           Fieldwood Energy,
 15581                            HI     120        A           HI         128         SSTI         6       G/C     Out of Service      G26968     G24730
                  LLC
           Fieldwood Energy,
 16077                            HI     130       #2           HI         165      8-inch SSTI     8      BLGH     Partial Abandon     G28284     G25579      [1]
                  LLC
                                                                                     16-inch
 18789    Fieldwood Energy LLC    HI     116    Platform A      HI         71                      16       G/C         PABN            G28649     G06156
                                                                                      SSTI
           Fieldwood Energy,
 9032                            MC      311        A          MC          312        8 SSTI        8       OIL         Active          G11747     G02968
                  LLC
           Fieldwood Energy,
 3472                            MP      140        B          MP          56          F/S         18      BLKG     Out of Service      G13511     G02193
                  LLC
 5917       GOM Shelf, LLC       MP      311        A          MP          313       12 SSTI        8       OIL     Out of Service      G13466     G02213
           Fieldwood Energy,
 7143                            MP      310        A          MP          297       12 SSTI        6       OIL     Out of Service      G07100     G04126
                  LLC
           Fieldwood Energy,
 13100                           MP      259        A          VK          739         #01          5      UMB      Out of Service      G22377     G07827
                  LLC
           Fieldwood Energy
 15818                           MP      77         A          MP          151       18"SSTI        8      GAS      Out of Service      G28221     G04481      [4]
              Offshore LLC
           Fieldwood Energy,
 5408                             PL     10         B           PL         13        20 SSTI        8       OIL     Out of Service      G09317     G02925
                  LLC
           Fieldwood Energy,
 16044                            PL      9       #10           PL         10           B           6      BLKG     Out of Service      G28276     G02924
                  LLC
           Fieldwood Energy,
 4008                            SM      268        A          SS          28           A          12       OIL     Out of Service      G02816     G34284
                  LLC
           Fieldwood Energy,
 4647                            SM      149     6"SSTI        SM          132          B           6      BLKO     Out of Service      G03432     G02592      [2]
                  LLC
           Fieldwood Energy,
 5427                            SM      281        E          SM          268          A          12      SPLY     Out of Service      G02817     G02600
                  LLC
           Fieldwood Energy,
 5429                            SM      281        C          SM          281       12 SSTI       10      SPLY     Out of Service      G02817     G02600
                  LLC
           Fieldwood Energy,
 6512                            SM      281        C          SM          268          D          10      BLKO     Out of Service      G29131     G02600
                  LLC
           Fieldwood Energy,
 6513                            SM      268        D          SM          268          A          10      BLKO     Out of Service      G29132     G02310
                  LLC
           Fieldwood Energy,
 10977                           SM      268        A          SM          280         #03          3      BLKG         Active          G28756     G14456
                  LLC




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SEGMENT                       ORG     ORG
          COMPANY NAME                       ORG NAME     REC AREA   REC BLOCK   REC NAME      SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                        AREA   BLOCK
          Fieldwood Energy,
 11046                        SM      11     Well No.34     SM          10          A           6      BLKG     Out of Service     G28813     G01182
                 LLC
          Fieldwood Energy,
 11047                        SM      10         A          SM          11          34          3      LIFT     Out of Service     G28812     G01181
                 LLC
          Fieldwood Energy,
 11986                        SM      39         A          SM          33       30 SSTI        8      GAS      Out of Service     G20565     G16320
                 LLC
          Fieldwood Energy,
 11987                        SM      39         A          SM          40       10 SSTI        6       OIL     Out of Service     G20566     G16320
                 LLC
          Fieldwood Energy,                                                                                     Permitted for
 13642                        SM      280        H          SM          268         A          10      BLKG                        G28758     G14456      [3]
                 LLC                                                                                            Abandonment
          Fieldwood Energy,
 17499                        SM      269        B          SM          268         A          10      GAS          Active         G28484     G02311
                 LLC
          Fieldwood Energy,                    No.58
 18057                        SM      11                    SM          10          A           4      BLKG     Out of Service     G28815     G01182
                 LLC                          Caisson
          Fieldwood Energy,
 18510                        SM      10         A          SM          287        SSTI         6      GAS      Out of Service     G29113     G01181
                 LLC
          Fieldwood Energy,
 18563                        SM      48         E          SM          39          A           6       G/C     Out of Service     G29128      00786
                 LLC
          Fieldwood Energy,
 18583                        SM      10         A          SM          11         SSTI         4       OIL     Out of Service     G28814     G01181
                 LLC
          Fieldwood Energy,
 18802                        SM      39         A          SM          48          E           3      LIFT     Out of Service     G29182     G16320
                 LLC
          Fieldwood Energy,
 4716                          SP     70         C          SP          60          B           8      GAS          Active         G03436     G01614
                 LLC
          FW GOM Pipeline,                                                         F/S
 15064                         SP     49         A          SP          27                     10       G/O         Active         G07561     G05051
                 Inc.                                                            Boundary
          Fieldwood Energy,
 15598                         SP     70         C          SP          60          E           6       OIL     Out of Service     G26860     G01614
                 LLC
          Fieldwood Energy,
 15626                         SP     65         A          SP          62       18 SSTI        8       OIL     Out of Service    G01686A     G01610
                 LLC
          Fieldwood Energy,
 1137                         SS      207    A Platform     SS          204         A           4       GAS     Out of Service     G13489     G01523      [3]
                 LLC
          Fieldwood Energy,
 1138                         SS      204        A          SS          207         A           6       G/O     Out of Service     G13491     G01520      [3]
                 LLC
          Fieldwood Energy,
 1147                         SS      207        A          SS          208       F-Pump       12       OIL     Out of Service     G13492     G01523      [3]
                 LLC
          Fieldwood Energy,
 6432                         SS      182        A          SS          169      18 SSTI        6       OIL         Active         G09321     G03998
                 LLC
          Fieldwood Energy,
 6538                         SS      91         A           PL         11       08 SSTI        6       OIL     Out of Service     G05146     G02919
                 LLC
          Fieldwood Energy,                                                       18-inch
 6748                         SS      169    C Platform     SS          169                     6       OIL     Out of Service     G09322      00820      [4]
                 LLC                                                               SSTI
          Fieldwood Energy,
 7650                         SS      178        A          SS          169      18 SSTI        6       OIL     Out of Service     G08054     G05551
                 LLC




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME      REC AREA   REC BLOCK   REC NAME        SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
            Fieldwood Energy,
 10406                           SS      274        A            EI         259          A            8       OIL         Active         G14731     G01039
                   LLC
            Fieldwood Energy,
 10780                           SS      193        A           SS          183       18 SSTI         6       OIL         Active         G15683     G13917
                   LLC
            Fieldwood Energy,
 10781                           SS      193        A           SS          183       10 SSTI         6       GAS         Active         G15684     G13917
                   LLC
            Fieldwood Energy,
 11137                           SS      129        A           SS          122       18 SSTI         6       OIL     Out of Service     G16084     G12941
                   LLC
            Fieldwood Energy,
 11145                           SS      129        A           SS          149        6 SSTI         6       G/C     Out of Service     G16087     G12941
                   LLC
            Fieldwood Energy,
 11480                           SS      105        A            EI         165       30 SSTI        10       GAS     Out of Service     G18801     G09614
                   LLC
            Fieldwood Energy,
 11544                           SS      126        B           SS          105          A            6      BLKG     Out of Service     G18820     G12940
                   LLC
            Fieldwood Energy,
 12778                           SS      189        A           SS          185       26"SSTI         8       G/C     Out of Service     G22139     G04232      [3]
                   LLC
            Fieldwood Energy,
 15530                           SS      183      Flange        SS          169        Flange        10      GAS      Out of Service     G01460     G13917
                   LLC
            Fieldwood Energy,                                                                                         Permitted for
 16036                           SS      190    Capped End      SS          207          A            4      BLKO                        G14734     G10775
                   LLC                                                                                                Abandonment
            Fieldwood Energy,
 18837                           SS      176        C            EI         212          A            6      BLKG     Out of Service     G29190     G33646
                   LLC
            Fieldwood Energy,
 20050                           SS      168       SSTI         SS          168         SSTI          6                 Proposed         G28788
                   LLC                                                                                                                               00820      [4]
            Fieldwood Energy,
 5890                             ST     53         A           ST          52           A            6       OIL     Out of Service     G09319     G04000      [2]
                   LLC
            Fieldwood Energy,
 7802                             ST     295        A           ST          296       SS 8487         8       OIL         Active         G08385     G05646
                   LLC
            Fieldwood Energy,
 8676                             ST     206        A           ST          175         T-22         16       G/C     Out of Service     G11146     G05613
                   LLC
            Fieldwood Energy,
 9313                             ST     295        A           ST          295       24 SSTI         8       GAS         Active         G12709     G05646
                   LLC
            Fieldwood Energy,
 13462                            ST     205        G           ST          206          A            8      BLKG     Out of Service    G028821     G05612
                   LLC
 13462    Fieldwood Energy LLC    ST     205         G          ST          206          A            8      BLKG     Out of Service     G29451     G05612
            Fieldwood Energy,                   Caisson No.
 17265                            ST     68                     ST          53           A            6      BLKO     Out of Service     G28385     G04000      [2]
                   LLC                               1
            Fieldwood Energy,
 17898                            ST     49     Platfrom A      ST          35       6-inch SSTI      4       OIL     Out of Service     G28577     G24956
                   LLC
            Fieldwood Energy,
 19776                            ST     295     24" SSTI       ST          292          A           24       GAS         Active         G29376     G05646
                   LLC
            Fieldwood Energy,
 13098                           VK      694       #04          MP          259          A            4      BLKG     Out of Service     G22376     G13055
                   LLC




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SEGMENT                          ORG     ORG
            COMPANY NAME                        ORG NAME      REC AREA   REC BLOCK   REC NAME      SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                           AREA   BLOCK
           Fieldwood Energy,
 13099                           VK      739      SS #3         MP          259          A          4      BLKG     Out of Service     G22377     G07827
                  LLC
           Fieldwood Energy,
 13721                           VK      251        A           VK          340          A          3       AIR         Active         G28704     G10930
                  LLC
           Fieldwood Energy,
 14876                           VK      251        A           MP          154          A          4      H2O          Active         G22465     G10930
                  LLC
           Fieldwood Energy,
 6113                            VR      380        A           VR          397       24 SSTI      12      GAS      Out of Service     G04645     G02580
                  LLC
           Fieldwood Energy,                                                          22-inch
 12502                           VR      326    A Platform      VR          321                     6       G/C     Out of Service     G21523     G21096
                  LLC                                                                  SSTI
           Fieldwood Energy,
 17090                           VR      261        A           VR          265          A          8      BLKO     Out of Service     G28347     G03328      [4]
                  LLC
           Fieldwood Energy,
 18502                           VR      380        A           VR          398       16" SSTI      6       OIL     Out of Service     G02919     G02580
                  LLC
                                                                                      16-inch
 18502    Fieldwood Energy LLC    VR     380    Platform A      VR          398                     6       OIL     Out of Service     G29109     G02580
                                                                                       SSTI
            Fieldwood Energy,
 2698                            WC      102      flange        WC          102          G          8      GAS      Out of Service    G02124D      00247
                   LLC
            Fieldwood Energy,
 3763                            WC      102       #02          WC          102       08 SSTI       8      GAS      Out of Service    G02124D      00247
                   LLC
            Fieldwood Energy,
 3986                            WC      66         A           WC          31          F/S        10       G/O         Active         G03345     G01860
                   LLC
            Fieldwood Energy,
 5343                            WC      34         D           WC          35        10 SSTI       8       G/O     Out of Service     G28659     G01860
                   LLC
           Bandon Oil and Gas,
 8621                            WC      290        A           WC          289          A          6      BLKG     Out of Service     G10532     G04818
                    LP
            Fieldwood Energy,
 9504                            WC      71      12 SSTI        WC          71        12 SSTI      12       GAS     Out of Service     G04346      00244
                   LLC
            Fieldwood Energy
 14251                           WC      72         #1          WC          65          JA          4      BLKG     Out of Service     G25275     G23735      [3]
               Offshore LLC
            Fieldwood Energy,
 15210                           WC      295        2            HI         120      A-PROCESS      6      BLKG     Out of Service     G26886     G24730
                   LLC
            Fieldwood Energy,
 15952                           WC      33         O           WC          34           D          4       G/O     Out of Service     G28657     G15050
                   LLC
            Fieldwood Energy                                                           16-inch
 20483                           WC      295    Flanged End     WC          293                    12       G/C         PABN           G10085     G01848
               Offshore LLC                                                             SSTI
 23036    Fieldwood Energy LLC   WC      289    A-PROCESS       WC          289      A-PROCESS                         Expired         G14262     G04818
            Fieldwood Energy,
 7919                            WD      105        E           WD          104          D          6      GAS      Out of Service     G08533      00842
                   LLC
            Fieldwood Energy,
 15960                           WD      90         A           WD          73         SSTI         4       OIL     Out of Service     G28260     G01089      [3]
                   LLC
            Fieldwood Energy,
 16088                           WD      122        A           WD          105          E          6      GAS      Out of Service     G28289     G13645      [3]
                   LLC




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SEGMENT                       ORG     ORG
          COMPANY NAME                       ORG NAME   REC AREA   REC BLOCK   REC NAME    SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                        AREA   BLOCK
          Fieldwood Energy,
 16089                        WD      122       A         WD          105         E         3       OIL     Out of Service     G28290     G13645      [3]
                 LLC




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                                                                  FWE I RUE

           Block                 Complex      Authority                                   Approval
 Area               Structure                               FW Lease          Operator                        Associated Assets           Note4
            No.                   ID No.        No.                                         Date
                                                                            Fieldwood                   EI 187 JC001, JD001, JD002,
  EI       188         JE         26052       G30268         G10736                       04/18/14
                                                                           Energy LLC                           002 & JE002
                       A-                                                   Fieldwood
  HI       120                    10450       G30270         G01848                       08/06/14          WC 295 A001 & A002
                    PROCESS                                                Energy LLC
                                                                            Fieldwood                   SM 136 C007, SM 149 C001,
 SM        132          B         21982       G30329         G02588                       05/06/19                                         [1]
                                                                           Energy LLC                         C002 & C004
                                                                            Fieldwood
 SM         10          A         20706       G30365         G01181
                                                                           Energy LLC
                                                                                                         SM 257 001, SM 269 B017,
                                                                                                         B019, F001, SM 280 G001,
                                                                                                        G002, H001, B, F, SM 280 G,
                                                                            Fieldwood
 SM        268          A         21739       G30282         G14456                       06/15/18        H, I, SM 281 C010, C014,         [2]
                                                                           Energy LLC
                                                                                                          C015, C020, C023, C024,
                                                                                                          C025, C026, C028, E005,
                                                                                                           E011, I001, I003, C & E
                                                                            Fieldwood
 SM        268       A-PRD        21739       G30282         G14456                       06/15/18     Production from SM 268 A RUE        [2]
                                                                           Energy LLC
                                                                            Fieldwood
  ST       206          A         23851       G30291         G05612                       12/11/15          ST 205 G001 & G003
                                                                           Energy LLC




[1]    RUE services a lease to be co-owned by FWE I and the Credit Bid Purchaser (for SM 149) plus a lease going just to FWE I. RUE only assignable
       to one entity and are assigned to entity with operatorship. Expenditures will be shared based on serviced lease ownership.
[2]    RUE services leases included on both FWE I and Abandoned Properties schedules. RUE only assignable to one entity and are assigned to entity
       with operatorship. Expenditures will be shared based on serviced lease ownership.
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                                   Exhibit O3

Leases, Rights of Way and Rights of Use and Easement Related to FWE III Oil & Gas
                                  Lease Interests
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                                    Leases Related to FWE III Oil & Gas Lease Interests*
                                                                           Le Cur Acres
      Block       Lease        Type         Rights        Date Le Eff                                Operator          WI       Lease Status        Note†
                                                                               (Ac)
     BS 41       G21142       Federal       OP 2           5/1/1999           4,995           Fieldwood En Off          10%       TERMIN             [1]
     BS 41       G21142       Federal    Contractual       5/1/1999           4,995           Fieldwood En Off          25%       TERMIN             [1]
     EC 257      G21580       Federal       OP 1           7/1/2000           5,000           Fieldwood En Off         100%       TERMIN
     GA 241      G01772       Federal       OP 1           7/1/1968           1,440           Fieldwood En Off         100%       TERMIN
     GA 241      G01773       Federal        RT            7/1/1968           1,440           Fieldwood En Off         100%       TERMIN
     GA 255      G01777       Federal        RT            7/1/1968           5,760           Fieldwood En Off         100%       TERMIN
      GI 83      G03793       Federal        RT            6/1/1978           5,000           Fieldwood En Off         100%       TERMIN
    HI A-446     G02359       Federal        RT            8/1/1973           5,760             Bandon O&G             100%       TERMIN
    HI A-447     G02360       Federal        RT            8/1/1973           5,760             Bandon O&G             100%       TERMIN
     MP 154      G10902       Federal        RT            7/1/1989           4,995           Fieldwood En Off         100%       TERMIN
     MP 112      G09707       Federal        RT            6/1/1988           4,995           Fieldwood En Off         100%       RELINQ
     SM 39       G16320       Federal        RT            7/1/1996           5,000           Fieldwood En Off          50%        PROD
     ST 242      G23933       Federal        RT            6/1/2002           5,000           Fieldwood En Off          60%       TERMIN
     VR 314      G05438       Federal       OP 2           7/1/1983           5,000           Fieldwood En Off          50%        PROD
     VR 315      G04215       Federal       OP 1           1/1/1980           5,000           Dynamic Off Res           50%       TERMIN
     VR 332      G09514       Federal       OP 1           7/1/1988           5,000             Fieldwood En            67%        PROD              [1]
     VR 332      G09514       Federal        RT            7/1/1988           5,000             Fieldwood En           100%        PROD              [1]
     VR 333      G14417       Federal        RT            7/1/1994           4,201           Fieldwood En Off          67%       TERMIN
     VK 113      G16535       Federal        RT            6/1/1996           5,760           Fieldwood En Off         100%       TERMIN
     VK 251      G10930       Federal       OP 1           7/1/1989           5,760           Fieldwood En Off         100%        UNIT              [1]
     VK 340      G10933       Federal       OP 1           7/1/1989           5,760           Fieldwood En Off         100%        UNIT              [1]
    WC 100       G22510       Federal        RT            7/1/2001           5,000           Fieldwood En Off         100%       RELINQ
    WC 290       G04818       Federal       OP 1           9/1/1981           5,000           Fieldwood En Off          50%       TERMIN             [1]




*
       The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the Plan and subject to any
       consent rights under the Restructuring Support Agreement.
[1]    Represents leases in which Fieldwood III is to acquire all of the Debtors' right, title and interest in such lease (less and except the right, title and
                                                                                                                                                             Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 745 of 766




       interest acquired by FWE from Apache); as to all remaining leases on this schedule, FWE III is to obtain all of the Debtors' right, title and interest
       in such leases.


Legend: CONT – Contractual; OP 1- Operating Rights 1; OP 2 - Operating Rights 2; RT - Record Title
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                                                                       FWE III ROW
SEGMENT                      ORG                                                                                                          ROW
          COMPANY NAME              ORG BLOCK    ORG NAME   REC AREA   REC BLOCK    REC NAME      SIZE      PRODUCT       STATUS                  FW LEASE
NUMBER                       AREA                                                                                                        NUMBER
            Fieldwood
 15213                       BS        41            B         BS          42       24" SSTI       10         G/C      Partial Abandon   G25383   G21142
           Energy, LLC
          Bandon Oil and                                                                                               Permitted for
 5911                         GI       83            A          GI         82        16 SSTI       6          GAS                        G04355   G03793
             Gas, LP                                                                                                   Abandonment
                                                                                                                       Permitted for
             Fieldwood
 9006                        MP        112          #02        MP         117        08 SSTI       6         BLKG      Abandonment       G11738   G09707
            Energy, LLC
                                                                                                                         Approved
             Fieldwood
                                                                                                                       Permitted for
 15220    Energy Offshore     ST       242           A         SS         283        24 SSTI       8          G/C                        G26891   G23933
                                                                                                                       Abandonment
                 LLC
             Fieldwood
 19427                       VK        113           A         CA          43           A          4         BLKG      Out of Service    G29321   G16535
            Energy, LLC
             Fieldwood
 13721                       VK        251           A         VK         340           A          3          AIR          Active        G28704   G10930
            Energy, LLC
             Fieldwood
 14876                       VK        251           A         MP         154           A          4          H2O          Active        G22465   G10930
            Energy, LLC
             Fieldwood
                                                   8-inch
 13720    Energy Offshore    VK        340                     VK         251       Platform A     8         BLGH          Active        G28703   G10933
                                                    SSTI
                 LLC
              Dynamic
 7298                        VR        315           A         VR         331        06 SSTI       6          OIL      Out of Service    G07545   G04215
           Industries, Inc
              Dynamic
 10736                       VR        332           A         VR         315           A          8         BLKG      Out of Service    G15672   G09514
           Industries, Inc
              Dynamic
 10737                       VR        332           A         VR         315           A          6          LIFT     Out of Service    G15673   G09514
           Industries, Inc
             Fieldwood                                                                                                 Permitted for
 14210    Energy Offshore    WC        100           A         WC         102       30" SSTI       8          G/C      Abandonment       G24699   G22510
                 LLC                                                                                                     Approved
                                                                                                                       Permitted for
             Fieldwood
 13864                       WC        100           A         WC         102        30 SSTI       8          G/C      Abandonment       G24253   G22510
            Energy, LLC
                                                                                                                         Approved
          Bandon Oil and
 8621                        WC        290           A         WC         289           A          6         BLKG      Out of Service    G10532   G04818
             Gas, LP



                                                                                2
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                                                                FWE III RUE

                                 Complex      Authority                                            Approval
Area   Block No.    Structure                               FW Lease            Operator                           Associated Assets        Note3
                                  ID No.        No.                                                  Date
                                                                             Fieldwood Energy
 GA       255           A         10050        G30195       G01777                                 06/12/13       GA 241 A005 & B004
                                                                                Offshore LLC
                                                                             Fieldwood Energy
 MP       154           A         24171        G30337       G10902                                 02/03/17       MP 154 A001 & A002
                                                                                Offshore LLC
                                                                             Fieldwood Energy                  VR 332 A001, A002, A005
 VR       315           A         22981        G30213       G04215                                 11/26/13
                                                                                Offshore LLC                            & A006
                                                                             Fieldwood Energy                  Production from VR 315 A
 VR       315         A-AUX       22981        G30213       G04215                                 11/26/13
                                                                                Offshore LLC                              RUE
                                                                                                                 ROW accessory PF WC
 WC       289      A-PROCESS      23036        G14262       G04818       Fieldwood Energy LLC      12/03/93                                   [1]
                                                                                                                         289 A
                                                                                                                                                    Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 747 of 766




[1] RUE services lease included on both FWE I and FWE III schedules. RUE only assignable to one entity and are assigned to entity with operatorship.
    Expenditures will be shared based on serviced lease ownership.


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                                  Exhibit O4

Leases, Rights of Way and Rights of Use and Easement Related to FWE IV Oil & Gas
                                  Lease Interests
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                                    Leases Related to FWE IV Oil & Gas Lease Interests*

                                                                                  Le Cur Acres
      Block             Lease      Type          Rights          Date Le Eff                       Operator     WI          Lease Status           Note2
                                                                                      (Ac)
                                                                                                  Fieldwood
    BA A-105          G01757      Federal         RT A           7/1/1968             5,760           En       56.3%           PROD                 [3]
                                                                                                  Fieldwood
    BA A-105          G01757      Federal         RT B           7/1/1968             5,760           En       100%            PROD                 [1]
                                                                                                     GOM
    BA A-133          G02665      Federal          RT            7/1/1974             5,760          Shelf       25%           PROD                 [1]
                                                                                                  Fieldwood
     EB 158           G02645      Federal          RT            7/1/1974             5,760         SD Off       66%           PROD
                                                                                                  Fieldwood
     EB 159           G02646      Federal          RT            7/1/1974             5,760         SD Off       66%           PROD
                                                                                                  Fieldwood
     EB 160           G02647      Federal          RT            7/1/1974             5,760         SD Off     100%            PROD                 [2]
                                                                                                  Fieldwood
     EB 161           G02648      Federal          RT            7/1/1974             5,760         SD Off     100%            PROD                 [2]
                                                                                                  Fieldwood
     EC 331           G08658      Federal         OP 1           8/1/1987             5,000         En Off       53%          TERMIN                [2]
                                                                                                  Fieldwood
     EC 331           G08658      Federal         OP 2           8/1/1987             5,000         En Off       53%          TERMIN                [2]
                                                                                                  Fieldwood
     EC 332           G09478      Federal          RT            5/1/1988             5,000         En Off       88%          TERMIN
                                                                                                  Fieldwood
     EC 332           G09478      Federal         OP 1           5/1/1988             5,000         En Off       88%          TERMIN



*
    The Debtors and CUSA reserve the right to amend, modify, or supplement this schedule.

[1]    Represents leases in which FWE IV is to acquire all of the Debtors' right, title and interest in such leases (less and except the right, title and
       interest acquired by FWE from Apache); as to all remaining leases on this schedule (other than those leases referenced in footnotes [2]-[3]
       below), all of the Debtors' right, title and interest in such leases are to be acquired by FWE IV.
[2]    Represents leases in which FWE IV is to acquire solely the right, title and interest acquired by FWE from Chevron. The Debtors' remaining right,
       title and interest in such leases are to be abandoned.
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[3]    Represents leases in which (i) FWE IV is to acquire solely the right, title and interest acquired by FWE from Chevron; and (ii) FWE I is to acquire
       solely the right, title and interest acquired by FWE from Apache. The Debtors' remaining right, title and interest in such leases are to be abandoned.

Legend: OP 1- Operating Rights 1; OP 2 - Operating Rights 2; RT A - Record Title A; RT B - Record Title B

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                                                                         Le Cur Acres
    Block               Lease    Type       Rights     Date Le Eff                      Operator    WI     Lease Status   Note2
                                                                             (Ac)
                                                                                        Fieldwood
    EI 342            G02319    Federal     RT A        2/1/1973            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
  HI A-550            G04081    Federal      RT        10/1/1979            5,760         En Off    100%      PROD
                                                                                        Fieldwood
  HI A-550            G04081    Federal     OP 1       10/1/1979            5,760         En Off    100%      PROD
                                                                                        Fieldwood
  HI A-550            G04081    Federal     OP 2       10/1/1979            5,760         En Off    100%      PROD
                                                                                        Fieldwood
    MP 77             G04481    Federal      RT        11/1/1980            4,655         En Off    56%      RELINQ        [3]
                                                                                        Fieldwood
   SM 132             G02282    Federal      RT         2/1/1973            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SM 136             G02588    Federal      RT         5/1/1974            2,500           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SM 137             G02589    Federal      RT         5/1/1974            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SM 150             G16325    Federal      RT         6/1/1996            3,329           En      50%      RELINQ        [1]
                                                                                        Fieldwood
    SM 66             G01198    Federal      RT         6/1/1962            5,000           En      50%      TERMIN        [1]
                                                                                        Fieldwood
   SS 169              00820    Federal      RT         4/1/1960            5,000           En      33%       PROD         [1]
                                                                                        Fieldwood
   SS 206             G01522    Federal      RT         7/1/1967            5,000           En      40%       UNIT         [1]
                                                                                        Fieldwood
   SS 207             G01523    Federal      RT         7/1/1967            5,000           En      26%       UNIT         [3]
                                                                                           Beryl
   ST 169             G01253    Federal      RT         6/1/1962            4,708          O&G      100%     TERMIN
                                                                                        Fieldwood
   ST 195             G03593    Federal      RT         8/1/1977            5,000         En Off    100%     TERMIN
                                                                                        Fieldwood
   VR 196             G19760    Federal     OP 1        8/1/1998            5,000         En Off    25%      TERMIN        [2]
                                                                                        Fieldwood
   VR 207             G19761    Federal     OP 1        8/1/1998            5,000         En Off    46%      RELINQ
                                                                                                                                  Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 750 of 766




                                                                                        Fieldwood
   VR 261             G03328    Federal      RT         4/1/1976            5,429           En      25%      TERMIN        [1]


                                                                     2

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                                                                         Le Cur Acres
    Block               Lease    Type       Rights     Date Le Eff                      Operator    WI    Lease Status   Note2
                                                                             (Ac)
                                                                                        Fieldwood
   VR 261             G03328    Federal     OP 1        4/1/1976            5,429           En      25%     TERMIN        [1]
                                                                                                                                 Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 751 of 766




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                                                                                                            FWE IV ROW

   SEGMENT                           ORG         ORG                                                                                                                                          ROW
                  COMPANY NAME                               ORG NAME          REC AREA         REC BLOCK          REC NAME           SIZE          PRODUCT              STATUS                                     FW LEASE              NOTE3
   NUMBER                            AREA       BLOCK                                                                                                                                        NUMBER
                     Fieldwood
      7912                             EB         160             A                HI              A582              SSTI              12              GAS            Out of Service          G08528                 G02647                [1]
                    Energy, LLC
                  Bandon Oil and
      10301                            EC         332             A                EC               330             08 SSTI             6              OIL            Out of Service          G14699                 G09478                [1]
                       Gas, LP
                     Fieldwood
      7943                             EI         342             C                EI               327             08 SSTI             4              OIL            Out of Service          G08541                 G02319                [2]
                    Energy, LLC
                     Fieldwood
      18493                            EI         342             C                EI               343              SSTI               6              GAS            Out of Service          G29108                 G02319                [2]
                    Energy, LLC
                 Fieldwood Energy
      19960                            EI         342             C                EI               342           Blind Flange          6              OIL            Out of Service                                 G02319                [2]
                         LLC                                                                                                                                                                 G29471
                     Fieldwood
      7684                             HI        A 550            A                HI              A 568            20 SSTI            10              GAS            Out of Service          G08276                 G04081                [1]
                    Energy, LLC
                     Fieldwood
      6340                             HI        A 568      Subsea Valve           HI              A 539            20 SSTI            20              G/C            Out of Service          G04974                 G04081                [1]
                    Energy, LLC
                 Fieldwood Energy
      15818                            MP          77             A                MP               151             18"SSTI             8              GAS            Out of Service          G28221                 G04481                [2]
                    Offshore LLC
                     Fieldwood
      20050                            SS         168            SSTI              SS               168              SSTI               6                                Proposed             G28788                                       [2]
                    Energy, LLC                                                                                                                                                                                       00820
                     Fieldwood
      6748                             SS         169         C Platform           SS               169          18-inch SSTI           6              OIL            Out of Service          G09322                  00820                [2]
                    Energy, LLC
                                                                                                                                                                      Permitted for
                  Bandon Oil and
      18094                            ST         195             B                ST               196              SSTI               6              G/C            Abandonment            G29005                  G03593                [1]
                     Gas, LP
                                                                                                                                                                        Approved
                                                                                                                                                                      Permitted for
                  Bandon Oil and
      11107                            ST         196       06-inch SSTI           SS               208                F                6              OIL            Abandonment            G05120                  G03593                [1]
                     Gas, LP
                                                                                                                                                                        Approved
                  Bandon Oil and
      13193                            VR         196             A                VR               206             12 SSTI             8              G/C            Out of Service          G22418                 G19760                [1]
                     Gas, LP
                    Fieldwood
      18591                            VR         196             A                VR               215                A                4             BLKO            Out of Service          G29137                 G19760                [1]
                   Energy, LLC
                    Fieldwood
      18588                            VR         215             A                VR               196                A                4              GAS                Active             G29136                  G19760                [1]
                   Energy, LLC
                    Fieldwood
      17090                            VR         261             A                VR               265                A                8             BLKO            Out of Service          G28347                 G03328                [2]
                   Energy, LLC




[1]    Represents each ROW in which (i) FWE IV is to acquire solely as to the same 8/8ths undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The Debtors' remaining interests in such ROW are to
       be abandoned.
[2]    Represents each ROW in which (i) FWE I is to acquire solely as to the same 8/8ths undivided interest that FWE I is to acquire in the related lease referenced above for such ROW; and (ii) FWE IV is to acquire solely as to the same 8/8ths
       undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The Debtors' remaining interests in such ROW are to be abandoned.

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                                                                      FWE IV RUE

                                            Complex    Authority
 Area      Block No.          Structure                            FW Lease       Operator   Approval Date          Associated Assets
                                             ID No.      No.
 None
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                                    Exhibit O5

Leases, Rights of Way and Rights of Use and Easement Related to Abandoned Properties
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                                             Leases Related to Abandoned Properties*


                                                                                  Le Cur
      Block         Lease            Type            Rights       Date Le Eff     Acres          Operator            WI      Lease Status          Note†
                                                                                   (Ac)
     AT 023        G35015          Federal             RT         08/01/2013      5,760      Murphy E&P USA           8%       PRIMARY
    BA A-102       G01754          Federal             RT          6/1/1968       5,760        Fieldwood En         100%       TERMIN
    BA A-105       G01757          Federal            RT A         7/1/1968       5,760        Fieldwood En       31.25%        PROD                [6]
     EB 165        G06280          Federal             RT         10/1/1983       5,760      Fieldwood SD Off       100%         UNIT
     EB 209        G07397          Federal             RT          9/1/1984       5,760      Fieldwood SD Off       100%         UNIT
     EC 330        G03540          Federal            OP 1         8/1/1977       5,000      Fieldwood En Off        50%       TERMIN
     EC 331        G08658          Federal            OP 1         8/1/1987       5,000      Fieldwood En Off        40%       TERMIN               [5]
     EC 331        G08658          Federal            OP 2         8/1/1987       5,000      Fieldwood En Off        40%       TERMIN               [5]
     EC 349        G14385          Federal            OP 1         5/1/1994       5,000          W & T Off           25%        PROD

*
      The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the Plan and subject to any consent
      rights under the Restructuring Support Agreement.

[1]   Represents leases in which all of the Debtors' right, title and interest in such leases are to be abandoned (less and except the right, title and
      interest acquired by FWE from Apache); as to all remaining leases on this schedule (other than those leases referenced in footnotes [2]-[6]
      below), all of the Debtors' right, title and interest in such leases are to be abandoned. For each lease on this schedule, see the BOEM's Serial
      Register Page to identify the Debtors' interests; this schedule identifies each separate interest of the Debtors that carries any assets or liabilities,
      but does not necessarily identify each separate interest of the Debtors in each such lease.
[2]   Fieldwood Energy Offshore's record title solely as to the NE/4 of the block and its interest in the operating rights are to be abandoned; its
      remaining record title and its overriding royalty interests are to be acquired by the Credit Bid Purchaser.
[3]   FWE I is to acquire solely the operating rights as to the NE/4 of this block; the Credit Bid Purchaser is to obtain the Debtors' overriding royalty
      interest in this lease; and the Debtors' remaining interests in the lease are to be abandoned.
[4]   Represents leases where the Credit Bid Purchaser is to acquire solely the Debtors' overriding royalty interests; the Debtors' remaining interests
      in these leases are to be abandoned.
[5]   Represents leases in which all of the Debtors' right, title and interest in such leases are to be abandoned (less and except the right, title and
      interest acquired by FWE from Chevron).
[6]   Represents leases in which all of the Debtors' right, title and interest in such leases are to be abandoned (less and except the right, title and
      interests acquired by FWE from both Apache and Chevron).
[7]    COB 381, Page 256, File No. 331928, St. Mary Parish, LA.
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[8]   COB Instr. No. 324586, St. Mary Parish, LA.

Legend: CONT - Contractual; OP 1- Operating Rights 1; OP 2 - Operating Rights 2; OP 3 - Operating Rights 3; OP 4 - Operating Rights 4; OP 5 - Operating Rights 5;
OP 11 - Operating Rights 11; OP 13 - Operating Rights 13; ORRI - Overriding Royalty Interest; RT - Record Title; RT A - Record Title A; RT B - Record Title B;
RT C - Record Title C; WI - Working Interest
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                                                                     Le Cur
 Block       Lease         Type        Rights      Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                                      (Ac)
EC 350      G15157        Federal       OP 1        9/1/1995         5,000        W & T Off       25%     TERMIN
EC 356      G13592        Federal        RT         9/1/1992         5,000        W & T Off       25%     RELINQ
EC 371      G02267        Federal      CONT         2/1/1973         5,000        Talos ERT       25%     TERMIN
EI 100         796        Federal    Contractual    5/1/1960         5,000      Fieldwood En     100%      PROD
EI 175         438        Federal       OP 1       12/1/1954         5,000      Fieldwood En      25%      PROD         [1]
EI 307      G02110        Federal        RT         2/1/1971         2,500    Fieldwood En Off    25%     TERMIN        [1]
EI 311      G27918        Federal        RT         7/1/2006         5,000    Dynamic Off Res     60%     TERMIN
EI 312      G22679        Federal       OP 1        6/1/2001         5,000      Fieldwood En      60%     TERMIN        [1]
 EI 32       00196        Federal       OP 1       11/26/1946        5,000         Cox Op         24%      PROD
EI 330      G02115        Federal    Contractual    1/1/1971         5,000      Fieldwood En      17%      UNIT         [1]
 EI 53       00479        Federal       OP 1       12/1/1954         5,000      Fieldwood En      11%      PROD         [1]
 EI 63       00425        Federal        RT        12/1/1954         5,000    Fieldwood En Off   100%     TERMIN
EW 782      G05793        Federal      CONT         7/1/1983         1,093      Fieldwood En     100%     TERMIN        [1]
               JMB
   -       Partnership   Onshore         WI         2/6/2019                                     100%        -          [7]
            Caroline
           Baker Trust
    -         No. 1      Onshore         WI        1/22/2016                                     100%        -          [8]
 GA 151     G15740       Federal         RT        11/1/1995         4,804      Fieldwood En      33%     TERMIN        [1]
 GA 210     G25524       Federal        OP 1       12/1/2003         5,760      Fieldwood En      17%      PROD         [1]
 GA 210     G25524       Federal        OP 3       12/1/2003         5,760      Fieldwood En      33%      PROD         [1]
GA A-155    G30654       Federal         RT        10/1/2006         5,760     Peregrine O&G      11%     TERMIN
 GC 157     G24154       Federal         RT         6/1/2002         5,760      LLOG Exp Off      15%     TERMIN
 GC 201     G12210       Federal         OP         5/1/1990         5,760      LLOG Exp Off      15%      UNIT
                                                                                Fieldwood En
                                                                               Off; LLOG Exp
 GC 201     G12210        Federal      RT NE4       5/1/1990         5,760           Off         100%      UNIT         [2]
 GC 245     G05916        Federal       CONT        7/1/1983         5,760    Fieldwood En Off   100%     TERMIN
 GC 64      G07005        Federal       CONT        6/1/1984         5,760    Fieldwood En Off    49%     RELINQ
HI A-341    G25605        Federal        RT        12/1/2003         5,760      Fieldwood En      40%      PROD         [1]
HI A-365    G02750        Federal        RT        7/1/1974          5,760      Fieldwood En      50%      PROD         [1]
HI A-376    G02754        Federal        RT        7/1/1974          5,760      Fieldwood En      55%      PROD         [1]
                                                                                                                               Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 756 of 766




HI A-382    G02757        Federal        RT        7/1/1974          5,760      Fieldwood En      28%      PROD         [1]



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                                                               Le Cur
 Block     Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status    Note†
                                                                (Ac)
HI A-474   G02366    Federal       RT         8/1/1973         5,760     McMoRan O&G       12%      TERMIN         [1]
HI A-475   G02367    Federal      CONT        8/1/1973         5,760     McMoRan O&G       12%      TERMIN         [1]
HI A-489   G02372    Federal       RT         8/1/1973         5,760     McMoRan O&G       12%      TERMIN         [1]
HI A-531   G02696    Federal      OP 1        7/1/1974         5,760    Fieldwood En Off   75%      TERMIN
HI A-563   G02388    Federal      OP 1        8/1/1973         5,760         Cox Op         2%       PROD
HI A-564   G02389    Federal      OP 1        8/1/1973         5,760         Cox Op         2%      TERMIN
HI A-572   G02392    Federal       RT        8/1/1973          5,760      Fieldwood En     24%      TERMIN         [1]
HI A-573   G02393    Federal       RT        8/1/1973          5,760      Fieldwood En     28%       PROD          [1]
HI A-581   G18959    Federal       RT        12/1/1997         5,760         Cox Op         2%      TERMIN         [1]
HI A-582   G02719    Federal      OP 1        7/1/1974         5,760         Cox Op         2%       PROD          [1]
HI A-595   G02721    Federal       RT        7/1/1974          5,760      Fieldwood En     28%       PROD          [1]
HI A-596   G02722    Federal       RT        7/1/1974          5,760      Fieldwood En     28%       PROD          [1]
                                                                         Providence Res
MO 861     G05062    Federal        RT       4/1/1982          5,198          GOM 2        100%     TERMIN
                                                                         Providence Res
MO 861     G05062    Federal      OP 1        4/1/1982         5,198          GOM 2         50%     TERMIN
MP 101     G22792    Federal       RT        7/1/2001          4,995    Fieldwood En Off    78%     TERMIN
MP 109     G22794    Federal      OP 1        5/1/2001         4,995        W & T Off       33%     TERMIN
MP 109     G22794    Federal      OP 2        5/1/2001         4,995        W & T Off       33%     TERMIN
 MP 77     G04481    Federal       RT        11/1/1980         4,655    Fieldwood En Off    18%     RELINQ       [1], [6]
 PL 13     G03171    Federal      OP 3        7/1/1975         5,000        ANKOR En         2%     TERMIN
SM 102     G24872    Federal       RT         5/1/2003         3,113    Fieldwood En Off   100%      PROD
SM 135     G19776    Federal       RT         5/1/1998         3,293      Fieldwood En      50%     TERMIN         [1]
SM 139     G21106    Federal      OP 1        7/1/1999         5,000    Fieldwood En Off   100%     TERMIN
SM 142     G01216    Federal       RT         6/1/1962         2,761    Fieldwood En Off    86%     TERMIN
SM 142     G01216    Federal      OP 1        6/1/1962         2,761    Fieldwood En Off    86%     TERMIN
SM 143     G01217    Federal      CONT        5/1/1962         2,738    Fieldwood En Off    16%     TERMIN
SM 146     G09546    Federal       RT         7/1/1988         5,000    Dynamic Off Res    100%     TERMIN
SM 147     G06693    Federal       RT         7/1/1984         5,000    Fieldwood En Off   100%     TERMIN
SM 268     G02310    Federal       RT         1/1/1973         3,237      Fieldwood En      30%     TERMIN         [1]
SM 269     G02311    Federal       RT        1/1/1973          5,000      Fieldwood En      18%      PROD          [1]
SM 269     G02311    Federal       RT         1/1/1973         5,000      Fieldwood En       9%      PROD          [1]
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SM 269     G02311    Federal       RT         1/1/1973         5,000      Fieldwood En       0%      PROD          [1]



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                                                                Le Cur
  Block     Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status    Note†
                                                                 (Ac)
 SM 280     G14456    Federal       OP 1       6/1/1994         5,000      Fieldwood En      50%      PROD          [1]
 SM 280     G14456    Federal       OP 3       6/1/1994         5,000      Fieldwood En      50%      PROD          [1]
 SM 281     G02600    Federal        RT       4/1/1974          3,214      Fieldwood En      32%      PROD          [1]
 SM 87      G24870    Federal        RT        5/1/2003         3,077        Castex Off     100%      PROD
  SP 17     G02938    Federal        RT       11/1/1974          962     Fieldwood En Off   100%      UNIT
  SP 37     00697     Federal       OP 1      10/1/1959         2,500      Whitney O&G       44%      PROD
  SP 59     G02942    Federal        RT       11/1/1974         1,657    Fieldwood En Off   100%      UNIT
  SP 59     G02943    Federal        RT       11/1/1974          907     Fieldwood En Off   100%      UNIT
SP 59, SP
   60       G01608    Federal        RT        7/1/1967         3,510    Fieldwood En Off   100%      UNIT
  SP 6      G03337    Federal        RT       4/1/1976           318     Fieldwood En Off   100%      UNIT
  SP 6      G03337    Federal        OP        4/1/1976          318     Fieldwood En Off   100%      UNIT
  SP 60     G02137    Federal        RT       11/1/1971         1,762    Fieldwood En Off   100%      UNIT
  SP 61     G01609    Federal        RT       7/1/1967          5,000      Fieldwood En     100%      UNIT          [3]
  SP 61     G01609    Federal       OP 1       7/1/1967         5,000      Fieldwood En     100%      UNIT          [3]
  SP 66     G01611    Federal        RT       6/1/1967          4,310    Fieldwood En Off   100%      UNIT          [1]
  SP 67     G01612    Federal        RT       7/1/1967          5,000    Fieldwood En Off   100%      UNIT
 SS 149     00434     Federal       OP 1       1/1/1955         5,000        W & T Off        3%     TERMIN
 SS 149     00434     Federal       OP 2       1/1/1955         5,000        W & T Off        3%     TERMIN
 SS 149      00434    Federal       OP 1       1/1/1955         5,000         W&T Off         3%     TERMIN
 SS 149      00434    Federal       OP 2       1/1/1955         5,000         W&T Off         3%     TERMIN
 SS 177     00590     Federal        RT       9/1/1955          5,000        W & T Off       25%      PROD
 SS 189     G04232    Federal       OP 5      12/1/1979         5,000      Fieldwood En       1%      PROD          [1]
 SS 204     G01520    Federal        RT       7/1/1967          5,000      Fieldwood En      21%      PROD          [1]
 SS 204     G01520    Federal        RT       7/1/1967          5,000      Fieldwood En       0%      PROD          [1]
 SS 207     G01523    Federal        RT       7/1/1967          5,000      Fieldwood En       0%      UNIT        [1], [6]
 SS 214     00828     Federal        RT       5/1/1960          5,000        W & T Off       35%      PROD
 SS 214      00828    Federal       OP 1       5/1/1960         5,000        W & T Off       14%      PROD
 SS 216     G01524    Federal        RT       7/1/1967          5,000      Fieldwood En      20%      PROD          [1]
 SS 216     G01524    Federal        RT       7/1/1967          5,000      Fieldwood En       0%      PROD          [1]
 SS 232     G15293    Federal        RT       9/1/1995          5,000        W & T Off       34%     TERMIN
 SS 233     G01528    Federal        RT       7/1/1967          5,000        W & T Off       34%      PROD
                                                                                                                             Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 758 of 766




 SS 238     G03169    Federal        RT       7/1/1975          5,000        W & T Off       35%      PROD



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                                                             Le Cur
Block    Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                              (Ac)
SS 238   G03169    Federal      OP 2        7/1/1975         5,000    Peregrine O&G II    35%      PROD
SS 246   G01027    Federal      OP 11       6/1/1962         5,000    Fieldwood En Off    81%     TERMIN
SS 246   G01027    Federal      OP 13       6/1/1962         5,000    Fieldwood En Off    77%     TERMIN
SS 247   G01028    Federal      RT B        6/1/1962         5,000    Fieldwood En Off    89%      UNIT
SS 247   G01028    Federal      RT C        6/1/1962         5,000    Fieldwood En Off    77%      UNIT
SS 248   G01029    Federal      RT B        6/1/1962         5,000    Fieldwood En Off    77%      UNIT
SS 249   G01030    Federal      OP 1        6/1/1962         5,000    Fieldwood En Off    80%      UNIT         [1]
SS 249   G01030    Federal      OP 2        6/1/1962         5,000    Fieldwood En Off    69%      UNIT         [1]
SS 252   G01529    Federal       RT         7/1/1967         5,000    Fieldwood En Off   100%      PROD
SS 252   G01529    Federal      OP 1        7/1/1967         5,000    Fieldwood En Off   100%      PROD
SS 252   G01529    Federal      OP 2        7/1/1967         5,000    Fieldwood En Off    32%      PROD
SS 253   G01031    Federal       RT         6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 1        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 2        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 4        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 253   G01031    Federal      OP 5        6/1/1962         5,000    Fieldwood En Off   100%      PROD
SS 270   G01037    Federal       RT        3/13/1962         5,000    Fieldwood En Off    89%      UNIT
SS 271   G01038    Federal       RT        3/13/1962         5,000    Fieldwood En Off    72%      UNIT         [1]
SS 271   G01038    Federal       OP        3/13/1962         5,000    Fieldwood En Off    72%      UNIT         [1]
SS 291   G02923    Federal      RT B       12/1/1974         3,750      Fieldwood En      15%     OPERNS        [1]
SS 300   G07760    Federal       RT        8/1/1985          5,000        W & T Off       24%      PROD
SS 315   G09631    Federal       RT        6/1/1988          5,000        W & T Off       25%      PROD
ST 315   G23946    Federal       RT        7/1/2002          4,458        W & T Off       50%      PROD
ST 316   G22762    Federal       RT        6/1/2001          4,435        W & T Off       40%      PROD         [1]
VK 824   G15436    Federal      CONT        9/1/1995         5,760      Fieldwood En       6%     RELINQ
VK 826   G06888    Federal       RT         6/1/1984          5760      Fieldwood En     100%     TERMIN
VK 917   G15441    Federal       OP         7/1/1995          5760      Fieldwood En      85%      PROD
VK 962   G15445    Federal      OP 1        7/1/1995          5760      Fieldwood En      85%     TERMIN
VR 196   G19760    Federal      OP 1        8/1/1998         5,000    Fieldwood En Off    38%     TERMIN        [5]
VR 262   G34257    Federal       RT        10/1/2012         5,485      Fieldwood En      25%     RELINQ        [1]
VR 272   G23829    Federal       RT         6/1/2002         4,381    Fieldwood En Off   100%      PROD
VR 273   G14412    Federal      OP 3        5/1/1994         5,000    Fieldwood En Off   100%     TERMIN
                                                                                                                       Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 759 of 766




VR 279   G11881    Federal      OP 1        5/1/1990         5,000       Talos En Off     50%     TERMIN



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                                                                Le Cur
  Block     Lease      Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                                 (Ac)
 VR 313     G01172    Federal      OP 1        6/1/1962         5,000    Fieldwood En Off   100%     TERMIN
 VR 313     G01172    Federal      OP 2        6/1/1962         5,000    Fieldwood En Off   100%     TERMIN
 VR 408     G15212    Federal      CONT        7/1/1995         5,000      Fieldwood En      33%      PROD
 WC 171     G01997    Federal       RT         1/1/1971         5,000           XTO          34%     TERMIN
 WC 295     G24730    Federal      OP 1        5/1/2003         5,000      Fieldwood En      14%      PROD         [1]
 WC 485     G02220    Federal       RT         2/1/1973         5,000    Fieldwood En Off   100%      UNIT
 WC 498     G03520    Federal       RT         8/1/1977         5,000         Cox Op          4%      PROD
 WC 507     G02549    Federal       RT        4/1/1974          2,500    Fieldwood En Off   100%      UNIT
 WC 507     G02549    Federal      OP 1        4/1/1974         2,500    Fieldwood En Off    50%      UNIT
 WC 507     G10594    Federal       RT        6/1/1989          2,500    Fieldwood En Off   100%      UNIT
  WC 65     G02825    Federal      OP 4       12/1/1974         5,000      Fieldwood En      19%      PROD         [1]
  WC 66     G02826    Federal      OP 2       12/1/1974         3,750      Fieldwood En      25%      PROD         [1]
  WC 67     G03256    Federal      CONT       9/1/1975          5,000      Fieldwood En      17%     TERMIN        [1]
  WC 72     G23735    Federal       RT         7/1/2002         5,000    Fieldwood En Off    75%      PROD
  WC 96     G23740    Federal      OP 1        5/1/2002         5,000          Talos         25%      UNIT
 WD 103     G12360    Federal      OP 1        5/1/1960         1,016      Fieldwood En      19%      PROD         [1]
 WD 121     G19843    Federal      OP 1        8/1/1998         5,000      Fieldwood En      16%      PROD         [1]
 WD 122     G13645    Federal      OP 1        8/1/1992         5,000      Fieldwood En      16%      PROD         [1]
 WD 122     G13645    Federal      OP 2        8/1/1992         5,000      Fieldwood En      16%      PROD         [1]
  WD 27     G04473    Federal      RT B       11/1/1980         5,000         Cox Op         14%      PROD
WD 57, WD
79, WD 80   G01449    Federal        RT       5/1/1966          3,125    Fieldwood En Off   100%      UNIT         [4]
  WD 63     G19839    Federal       OP 1      6/1/1998          5,000     Peregrine O&G      13%     RELINQ
  WD 64     G25008    Federal        RT       5/1/2003          5,000     Peregrine O&G       6%     TERMIN
  WD 73     G01083    Federal       OP 2      6/1/1962          5,000         Cox Op          6%      UNIT
  WD 74     G01084    Federal       OP 1      6/1/1962          5,000         Cox Op          6%      UNIT
WD 79, WD
    80      G01874    Federal        RT       12/1/1968         3,438    Fieldwood En Off   100%      UNIT         [4]
  WD 80     G01989    Federal        RT       8/1/1970          1,875    Fieldwood En Off   100%      UNIT         [4]
  WD 80     G02136    Federal        RT       1/1/1972           938     Fieldwood En Off   100%      UNIT         [4]
  WD 85     G04895    Federal        RT       12/1/1981         2,630    Fieldwood En Off   100%     TERMIN
  WD 85     G04895    Federal       OP 1      12/1/1981         2,630    Fieldwood En Off   100%     TERMIN
                                                                                                                          Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 760 of 766




  WD 86     G02934    Federal        RT       12/1/1974         2,500         SPN Res       100%     TERMIN



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                                                                Le Cur
Block     Lease        Type        Rights     Date Le Eff       Acres       Operator        WI     Lease Status   Note†
                                                                 (Ac)
WD 86    G04243       Federal        RT       1/1/1980          2,500    Fieldwood En Off   100%     TERMIN
WD 86    G04243       Federal       OP 1      1/1/1980          2,500    Fieldwood En Off   100%     TERMIN
WD 86    G04243       Federal       OP 2      1/1/1980          2,500    Fieldwood En Off   100%     TERMIN
WD 86    G04243       Federal       OP 3      1/1/1980          2,500    Fieldwood En Off   100%     TERMIN
WD 90    G01089       Federal       OP 3      6/1/1962          5,000      Fieldwood En      19%      PROD         [1]
SP 42    SL03011      SL- LA         WI           -                -             -          100%       SOP
  -       14519       SL - LA        WI           -                -             -           50%    RELEASED
  -       14520       SL - LA        WI           -                -             -           50%    RELEASED
  -       14914       SL - LA        WI           -                -             -           66%    RELEASED
SP 42    SL16869      SL- LA         WI           -                -             -          100%      PROD
                                                                          Southern Oil of
BS 45    SL19051      SL- LA        ORRI      8/9/2006                       Louisiana       0%       UNIT
BS 53     SL3770      SL- LA         WI                                                     50%     RELEASED
  -      SL17072      SL- LA         WI            -              -              -          38%      ACTIVE
  -      SL18287      SL- LA         WI            -              -              -          44%         -
  -      SL19266      SL- LA         WI            -              -              -          17%      ACTIVE
          Haynes                                                            Fieldwood
  -     Lumber Co.   Onshore         WI       2/1/2017            -          Onshore        63%    TERMINATED
  -       111650     SL - TX         WI                                  TR Offshore, LLC    7%      ACTIVE
  -       115727     SL - TX         WI                                  TR Offshore, LLC    7%      ACTIVE
  -       114988     SL - TX         WI                                  TR Offshore, LLC    7%      ACTIVE
  -       136449     SL - TX         WI            -              -      TR Offshore, LLC    7%      ACTIVE
                                                                            Fieldwood
  -      168986       SL - TX        WI            -              -          Onshore        100%     TERMIN
                                                                            Fieldwood
  -      189098       SL - TX        WI            -              -          Onshore        100%     TERMIN
                                                                            Fieldwood
  -      206882       SL - TX        WI            -              -          Onshore        100%     TERMIN
                                                                                                                          Case 20-33948 Document 1658-9 Filed in TXSB on 06/18/21 Page 761 of 766




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                                                                               Abandoned Properties ROW

      SEGMENT                          ORG                              REC
                  COMPANY NAME                ORG BLOCK    ORG NAME              REC BLOCK     REC NAME      SIZE      PRODUCT       STATUS        ROW NUMBER     FW LEASE         NOTE3
      NUMBER                           AREA                             AREA
                  Fieldwood Energy,
       7912                             EB       160           A         HI        A582          SSTI        12          GAS      Out of Service     G08528        G02647           [2]
                         LLC
                  Fieldwood Energy,
       7923                             EB       165           A         HI        A 582        30 SSTI      12          GAS          Active         G08536       G06280
                         LLC
                 Bandon Oil and Gas,
       10301                            EC       332           A         EC         330         08 SSTI       6          OIL      Out of Service     G14699        G09478           [2]
                          LP
                  Fieldwood Energy,
        44                              EI       175           C         EI         176        12" SSTI       8          OIL      Out of Service     G13445        00438
                         LLC
                  Fieldwood Energy,                         flanged
       1128                             EI       330                     EI         306       14-inch SSTI   14          OIL      Out of Service    G02139A       G02115
                         LLC                                  end
                  Fieldwood Energy,
       7943                             EI       342           C         EI         327         08 SSTI       4          OIL      Out of Service     G08541        G02319           [2]
                         LLC
                  Fieldwood Energy,
       18493                            EI       342           C         EI         343          SSTI         6          GAS      Out of Service     G29108        G02319           [2]
                         LLC
                  Fieldwood Energy
       19960                            EI       342           C         EI         342       Blind Flange    6          OIL      Out of Service                  G02319            [2]
                         LLC                                                                                                                         G29471
                  Fieldwood Energy,
       11923                            EI       53            C         EI         64          22 SSTI      10          G/C      Out of Service     G20539        00479
                         LLC
                  Fieldwood Energy,                                                                                                  Partial
       9211                             EI       53            B         EI         64          22 SSTI       6          G/C                         G12373        00479
                         LLC                                                                                                        Abandon
                  Fieldwood Energy,
       15298                           GA        210           B        GA          239         12 SSTI       8          G/C          Active         G26931       G25524
                         LLC
                  Fieldwood Energy,                                                                                                  Partial
       16077                            HI       130          #2         HI         165       8-inch SSTI     8          BLGH                        G28284       G25579            [1]
                         LLC                                                                                                        Abandon
                  Fieldwood Energy,
       15401                            HI      A 341          B         HI        A 340       30" SSTI      812         G/C          Active         G26938       G25605
                         LLC
                  Fieldwood Energy,
       6669                             HI      A 376          A         HI        A 356        12 SSTI      10          GAS      Out of Service     G05238        G02754
                         LLC
                  Fieldwood Energy                                                           12 SSTI W/PSN
       6669                             HI      A 376      Platform A    HI        A 356                     10          GAS      Out of Service     G05238       G02754
                         LLC                                                                     10882
                  Fieldwood Energy,
       7684                             HI      A 550          A         HI        A 568        20 SSTI      10          GAS      Out of Service     G08276        G04081           [2]
                         LLC
                  Fieldwood Energy,                         Subsea
       6340                             HI      A 568                    HI        A 539        20 SSTI      20          G/C      Out of Service     G04974       G04081            [2]
                         LLC                                 Valve
                  Fieldwood Energy,
       5470                             HI      A356         Valve       HI        A343          HIOS        12          GAS      Out of Service     G04050       G02754
                         LLC


[1]    Lease carries $0 liability
[2]    Represents each ROW in which (i) FWE IV is to acquire solely as to the same 8/8ths undivided interest that FWE IV is to acquire in the related lease referenced above for such ROW. The
       Debtors' remaining interests in such ROW are to be abandoned.


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SEGMENT                         ORG                             REC
            COMPANY NAME               ORG BLOCK   ORG NAME            REC BLOCK    REC NAME      SIZE   PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                          AREA                            AREA
           Fieldwood Energy,
 10882                           HI      A356        10SST       HI      A356        12SSTI       12       GAS     Out of Service     G04051     G02754
                   LLC
           Fieldwood Energy,
 6504                            HI      A595          D         HI       573           B          8       OIL     Out of Service     G28525     G02721
                   LLC
           Fieldwood Energy,                         SSTI                                                             Partial
 14304                          MP        101                   MP        102         Plat A       8      BLKG                        G24687     G22792
                   LLC                              Manifold                                                         Abandon
            Fieldwood Energy
 15810                          MP        29       Well No. 1   MP        118       Platform A     6      BLKG     Out of Service     G28216     G27196      [1]
               Offshore LLC
            Fieldwood Energy
 15818                          MP        77           A        MP        151        18"SSTI       8      GAS      Out of Service     G28221     G04481      [2]
               Offshore LLC
            Fieldwood Energy
 4733                           SM        142          A        SM        127        24 SSTI      10       G/C     Out of Service     G03441     G01216
               Offshore LLC
            Fieldwood Energy
 15106                          SM        146          B        SM        147           A          6      BLKG     Out of Service     G26837     G09546
               Offshore LLC
           Fieldwood Energy,
 15107                          SM        146          B        SM        147           A          4      BLKG     Out of Service     G26838     G09546
                   LLC
           Fieldwood Energy,
 15108                          SM        147          A        SM        146           B          2      LIFT     Out of Service     G26839     G09546
                   LLC
            Fieldwood Energy
 19363                          SM        147          A        SM        130        12 SSTI       6      BLKO     Out of Service     G14093     G06693
               Offshore LLC
            Fieldwood Energy
 19363                          SM        147          A        SM        130        12 SSTI       6      BLKO     Out of Service     G29316     G06693
               Offshore LLC
           Fieldwood Energy,
 10977                          SM        268          A        SM        280          #03         3      BLKG     Out of Service     G28756     G14456
                   LLC
           Fieldwood Energy,
 17499                          SM        269          B        SM        268           A         10      GAS      Out of Service     G28484     G02311
                   LLC
           Fieldwood Energy,                                                                                       Permitted for
 13642                          SM        280          H        SM        268           A         10      BLKG                        G28758     G14456
                   LLC                                                                                             Abandonment
           Fieldwood Energy,
 5427                           SM        281          E        SM        268           A         12      SPLY     Out of Service     G02817     G02600
                   LLC
           Fieldwood Energy,
 5429                           SM        281          C        SM        281        12 SSTI      10      SPLY     Out of Service     G02817     G02600
                   LLC
           Fieldwood Energy,
 6512                           SM        281          C        SM        268           D         10      BLKO     Out of Service     G29131     G02600
                   LLC
          Fieldwood Energy SP
 10268                           SP       60           A         SP        6           F/S        10       OIL     Out of Service     G14679     G02137
                   LLC
           Fieldwood Energy,
 20050                          SS        168        SSTI        SS       168         SSTI         6                 Proposed         G28788                 [2]
                   LLC                                                                                                                            00820
           Fieldwood Energy,
 6748                           SS        169      C Platform    SS       169      18-inch SSTI    6       OIL     Out of Service     G09322      00820      [2]
                   LLC
           Fieldwood Energy,
 12778                          SS        189          A         SS       185        26"SSTI       8       G/C     Out of Service     G22139     G04232
                   LLC
           Fieldwood Energy,
 1138                           SS        204          A         SS       207           A          6       G/O     Out of Service     G13491     G01520
                   LLC




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SEGMENT                         ORG                             REC
           COMPANY NAME                ORG BLOCK   ORG NAME            REC BLOCK   REC NAME   SIZE     PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                          AREA                            AREA
          Fieldwood Energy,
 1137                           SS        207      A Platform    SS       204         A        4         GAS     Out of Service     G13489     G01523
                 LLC
          Fieldwood Energy,
 1147                           SS        207          A         SS       208       F-Pump     12        OIL     Out of Service     G13492     G01523
                 LLC
          Fieldwood Energy,
 17775                          SS        253          C         SS       208       F-Pump     4         OIL     Out of Service    G01691C     G01031
                 LLC
                                                                                                                 Permitted for
          Bandon Oil and Gas,
 18094                           ST       195          B         ST       196        SSTI      6         G/C     Abandonment        G29005     G03593      [2]
                  LP
                                                                                                                   Approved
                                                                                                                 Permitted for
          Bandon Oil and Gas,                       06-inch
 11107                           ST       196                   SS        208         F        6         OIL     Abandonment        G05120     G03593      [2]
                  LP                                 SSTI
                                                                                                                   Approved
           Fieldwood Energy,
 13720                          VK        340       8"SSTI      VK        251         A        8        BLGH         Active         G28221     G04481      [2]
                  LLC
          Bandon Oil and Gas,
 13193                          VR        196          A        VR        206      12 SSTI     8         G/C     Out of Service     G22418     G19760      [2]
                   LP
           Fieldwood Energy,
 18591                          VR        196          A        VR        215         A        4        BLKO     Out of Service     G29137     G19760      [2]
                  LLC
           Fieldwood Energy,
 18588                          VR        215          A        VR        196         A        4         GAS         Active         G29136     G19760      [2]
                  LLC
           Fieldwood Energy,
 17090                          VR        261          A        VR        265         A        8        BLKO     Out of Service     G28347     G03328      [2]
                  LLC
           Fieldwood Energy,
 14609                          VR        272         "A"       VR        250       8" SSTI    4         OIL     Out of Service     G25384     G23829
                  LLC
           Fieldwood Energy,
 14277                          VR        272          A        SM        116      20" SSTI    10        G/C     Out of Service     G25288     G23829
                  LLC
           Fieldwood Energy
 5440                           VR        313          B        VR        313      20 SSTI     10        GAS     Out of Service     G04044     G01172
              Offshore LLC
           Fieldwood Energy,
 15136                          VR        313          B        VR        313       6" SSTI    6         OIL     Out of Service     G03879     G01172
                  LLC
           Fieldwood Energy
 4289                           WC        485          A        WC        509         GP       12        GAS     Out of Service    G02122E     G02220
              Offshore LLC
           Fieldwood Energy
 14251                          WC        72          #1        WC        65          JA       4        BLKG     Out of Service     G25275     G23735
              Offshore LLC
           Fieldwood Energy,
 16088                          WD        122          A        WD        105         E        6         GAS     Out of Service     G28289     G13645
                  LLC
           Fieldwood Energy,
 16089                          WD        122          A        WD        105         E        3         OIL     Out of Service     G28290     G13645
                  LLC
           Fieldwood Energy,
 15960                          WD        90           A        WD        73         SSTI      4         OIL     Out of Service     G28260     G01089
                  LLC
           Fieldwood Energy,
 18649                          VK        826          A        VK        962        UTA       4        UBEH     Out of Service     G29151     G15441
                  LLC
           Fieldwood Energy,
 18904                          VK        826          A        VK        917        SUTA      1         UMB     Out of Service     G29151     G15441
                  LLC




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SEGMENT                       ORG                           REC
          COMPANY NAME               ORG BLOCK   ORG NAME          REC BLOCK   REC NAME     SIZE     PRODUCT      STATUS        ROW NUMBER   FW LEASE   NOTE3
NUMBER                        AREA                          AREA
          Fieldwood Energy,
 18648                        VK        962        PLET     VK        826      A-Nep Spar    6        SERV         Active         G29151     G15441
                 LLC
          Fieldwood Energy,
 14906                        VK        962       SSW #1    VK        826      A Nep Spar    6        BLKO     Out of Service     G25481     G15441
                 LLC
          Fieldwood Energy,
 14907                        VK        962       SSW#1     VK        826          A         10       CSNG     Out of Service     G25481     G15441
                 LLC




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                                                 Abandoned Properties RUE

                                Complex ID   Authority                                          Approval
Area   Block No.   Structure                             FW Lease             Operator                           Associated Assets
                                   No.         No.                                                Date
                                                                          Fieldwood Energy                 EI 63 002,003, EI 62 and 005,
 EI       63          A           21515       G30244      00425                                 12/02/13
                                                                             Offshore LLC                   006, 008, 009, 010 and 011
                                                                          Fieldwood Energy
 EI       63          B           21515       G30244      00425                                 12/02/13      Production from EI 63 A
                                                                             Offshore LLC
                                                                          Fieldwood Energy
 EI       63        C-QTR         21515       G30244      00425                                 12/02/13      Production from EI 63 A
                                                                             Offshore LLC
                                                                          Fieldwood Energy
SM       146          B            1663       G30248     G09546                                 08/21/13       SM 139 B001 & B002
                                                                             Offshore LLC
                                                                          Fieldwood Energy
SM       147          A           23389       G30200     G06693                                 09/12/13   SM 139 B001, B002 & B002D
                                                                             Offshore LLC
                                                                          Fieldwood Energy
WD        86          A           22593       G30173     G04243                                 06/20/13    WD 86 B001, B002 & B005
                                                                             Offshore LLC
                   A-Neptune                                                                                 VK 917 SS001 & VK 962
VK       826                      24235       G30353     G15441          Fieldwood Energy LLC   07/03/18
                     Spar                                                                                            SS001
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